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                                 No. 23-2042

        In the United States Court of Appeals
                for the Federal Circuit
    JANSSEN PHARMACEUTICALS, INC., JANSSEN PHARMACEUTICA NV,
            AND JANSSEN RESEARCH & DEVELOPMENT, LLC,
                        Plaintiffs-Appellees,
                                  V.
                    MYLAN LABORATORIES LTD.,
                       Defendant-Appellant.

   Appeal from the U.S. District Court for the District of New Jersey
               No. 2:20-cv-13103, Hon. Evelyn Padin


             NON-CONFIDENTIAL JOINT APPENDIX


Barbara L. Mullin                      Deepro R. Mukerjee
Aron R. Fischer                        Lance A. Soderstrom
PATTERSON BELKNAP WEBB                 KATTEN MUCHIN ROSENMAN LLP
& TYLER LLP                            50 Rockefeller Plaza
1133 Avenue of the Americas            New York, NY 10020
New York, New York 10036               (212) 940-6330
(212) 336-2000                         deepro.mukerjee@katten.com
bmullin@pbwt.com
afischer@pbwt.com

Counsel for Appellees Janssen          Counsel for Appellant Mylan
Pharmaceuticals, Inc., Janssen         Laboratories Ltd.
Pharmaceutica NV, and Janssen
Research & Development, LLC
                   (Additional counsel on inside cover)
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Andrew D. Cohen                    Eric T. Werlinger
Lachlan S. Campbell-Verduyn        Timothy H. Gray
J. Jay Cho                         KATTEN MUCHIN ROSENMAN LLP
Joyce L. Nadipuram                 1919 Pennsylvania Ave. NW
Collin Y. Hong                        Suite 800
PATTERSON BELKNAP WEBB &           Washington, DC 20006
TYLER LLP                          (202) 625-3500
1133 Avenue of the Americas
New York, New York 10036           Jitendra Malik
(212) 336-2000                     KATTEN MUCHIN ROSENMAN LLP
acohen@pbwt.com                    550 S. Tryon Street – Suite 2900
lcampbellverduyn@pbwt.com          Charlotte, NC 28202
jcho@pbwt.com                      (704)-444-2000
jnadipuram@pbwt.com
chong@pbwt.com                     Jillian M. Schurr
                                   KATTEN MUCHIN ROSENMAN LLP
Counsel for Appellees Janssen      525 W. Monroe Street
Pharmaceuticals, Inc., Janssen     Chicago, IL 60661-3693
Pharmaceutica NV, and Janssen      (312) 902-5200
Research & Development, LLC        jillian.schurr@katten.com

                                   Counsel for Appellant Mylan
                                   Laboratories Ltd.
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                 CONFIDENTIAL INFORMATION STATEMENT

        The following pages of the district court’s post-trial opinion contain

highly confidential information sealed by order of the court: Appx0009

(nonpublic regulatory information related to Mylan’s proposed PP3M

products);        Appx00056           (development            of     Janssen’s       PP3M         product);

Appx00065 (financial and sales information related to Janssen’s PP3M

product); Appx00073 (composition of Mylan’s proposed PP3M products).

Pages Appx14094-14112 contain an excerpt of Mylan’s Abbreviated New

Drug Application with confidential information sealed by order of the court

concerning nonpublic changes to the application.



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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


JANSSEN PHARMACEUTICALS,
INC., JANSSEN PHARMACEUTICA
NV, and JANSSEN RESEARCH &                   Civil Action No. 2:20-cv-13103-EP-
DEVELOPMENT, LLC,                            LDW
                                                          (Consolidated)
                    Plaintiffs,
             v.

MYLAN LABORATORIES LIMITED,

                    Defendant.



                                  FINAL JUDGMENT

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.     This Court has jurisdiction over Plaintiffs Janssen Pharmaceuticals,

Inc., Janssen Pharmaceutica NV, and Janssen Research & Development, LLC

(collectively, “Janssen”); Defendant Mylan Laboratories Limited (“Mylan”)1; and

the subject matter of this action.

      2.     For the reasons set forth in the Court’s Opinion dated May 15, 2023

(D.I. 171), and as reflected in the Court’s Order of the same date (D.I. 172), Final


1
  Pursuant to the Stipulation and Order Dismissing Without Prejudice Defendants
Mylan Pharmaceuticals Inc. and Mylan Institutional LLC and Amending Caption
in the Action to Reflect the Same (D.I. 5), Mylan Pharmaceuticals Inc. and Mylan
Institutional LLC are bound by this Final Judgment, as well as any Judgment,
Order, or decision, including any injunction, rendered as to Mylan in this Action.



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 Judgment is entered in favor of Janssen and against Mylan on all claims and

 counterclaims with respect to infringement and validity of claims 5-7 and 9-14 of

 United States Patent No. 10,143,693 (“the ’693 patent”) and Mylan’s products that

 are the subject of ANDA Nos. 216228, 212290, and 215682.

       3.     Pursuant to 35 U.S.C. § 271(e)(4)(A), the effective date of any approval

 of Mylan’s ANDA Nos. 216228, 212290, and 215682 shall be no earlier than the

 date of expiration of the ’693 patent (currently April 5, 2036).

       4.     In accordance with 21 C.F.R. § 314.107(e), Mylan shall submit a copy

 of this Final Judgment to the FDA within fourteen (14) days of the date of entry of

 this Final Judgment by the Court.

       5.     Pursuant to Fed. R. Civ. P. 54, L. Civ. R. 54.1, and 28 U.S.C. § 1920,

 Janssen may seek its costs, subject to Paragraphs 6 and 7, in an amount to be

 determined by the Clerk of the Court.

       6.     In the event that a party appeals this Final Judgment, any motion for

 attorney fees and/or costs, including any bill of costs or motion that this case is

 exceptional under 35 U.S.C. § 285, shall be considered timely if filed and served

 within 60 days after the expiration of the time to petition for certiorari to the United

 States Supreme Court or, if the appeal is withdrawn or dismissed, within 60 days

 after such withdrawal or dismissal.

       7.     In the event that no party appeals this Final Judgment, any motion for




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 attorney fees and/or costs, including any bill of costs or motion that this case is

 exceptional under 35 U.S.C. § 285, shall be considered timely if filed and served

 within 60 days after the expiration of the time for filing a notice of appeal under Fed.

 R. App. P. 3 and 4.

       8.     This is a final, appealable judgment.

                                   23rd
       IT IS SO ORDERED, on this _____________           May
                                               day of __________, 2023.



                                                ________________________
                                                Hon. Evelyn Padin
                                                United States District Judge




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NOT FOR PUBLICATION

                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY


 JANSSEN PHARMACEUTICALS, INC., et
 al.,

            Plaintiffs,                                                        No. 20cv13103 (EP) (LDW)

            v.                                                                 OPINION

 MYLAN LABORATORIES LTD.,

            Defendant.


Padin, District Judge.

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I.        INTRODUCTION

          This is a Hatch-Waxman Act case. Plaintiffs Janssen Pharmaceuticals, Inc. (“JPI”),

Janssen Pharmaceutica NV (“JPN”), and Janssen Research & Development, LLC (“JRD”),

collectively “Janssen,” manufacture Invega Trinza (“Trinza”), an FDA-approved, three-month

long-acting injectable paliperidone palmitate (PP3M)1 for treating schizophrenia and similar

conditions. Defendant Mylan Laboratories Limited (“Mylan”) seeks to use the Abbreviated New

Drug Application (“ANDA”) process to market a generic version of Trinza. Mylan’s generic and

its label are substantively identical to Trinza and Trinza’s label.

          But this case is not about the Trinza patent, which has expired. Janssen also has an active

patent for a PP3M dosing regimen to reinitiate patients onto PP3M 4 to 9 months after a missed

dose using a one-month long-acting injectable paliperidone palmitate (PP1M), then PP3M (the

“693 Patent” or the “Patent”). Janssen asserts that Mylan’s generic label, if the generic product

comes to market, will inevitably induce health care providers (“HCPs”) to infringe the 693 Patent’s

reinitiation regimen. And Mylan seeks to prove the 693 Patent’s invalidity, arguing that the

Patent’s reinitiation dosing regimen, under various theories, should not (and/or never should have

been) protected by patent law. Mylan’s primary theory was obviousness, i.e., that a person of

ordinary skill in the art (“POSA”) could have formulated the 693 Patent’s claims using information

publicly available before the Patent’s issuance.




1
    Paliperidone Palmitate is abbreviated herein as “PP.”
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       After a bench trial2 and extensive post-trial briefing,3 and having weighed the credible

testimony and other evidence in the record, the Court finds that: (1) Janssen has demonstrated by

a preponderance of the evidence that Mylan will inevitably induce HCPs to infringe the Patent’s

Asserted Claims (defined below); and (2) Mylan has not demonstrated by clear and convincing

evidence that the 693 Patent is obvious or otherwise invalid.4 The Court will therefore enter

judgment against Mylan, and for Janssen, as to the 693 Patent.




2
  Trial was held on November 16 and 30 and December 1, 5, 6, 7, 8, and 9, 2022, and closing
arguments on March 16, 2023. The Court acted as the trier of fact, adopting the standards utilized
by a jury to evaluate credibility and weigh evidence. See Model Jury Charges of the Third Circuit,
§§ 1.5, 1.6, and 1.7. The following witnesses testified for Janssen’s infringement case: for Janssen,
Roger Sommi, University of Missouri-Kansas City Professor of Pharmacy Practice; and for Mylan,
Dr. Steven Berger, Board-Certified forensic and general psychiatrist. Next, for Mylan’s primary
invalidity case: for Mylan, Dr. Laird Forrest, University of Kansas Professor of Pharmaceutical
Chemistry; and for Janssen, Jogarao Gobburu, University of Maryland Professor of Pharmacy
Practice and Science; Steven Little, University of Pittsburgh Professor of Pharmaceutical Sciences,
Immunology, and Bioengineering; and Dr. Sommi. And finally, regarding secondary
considerations: for Mylan, Dr. Jeffery Stec, Berkeley Research Group Managing Director, and
Drs. Berger and Forrest; and for Janssen, Dr. Christian Kohler, University of Pennsylvania School
of Medicine Clinical Director of Neuropsychiatry; and Carla Mulhern, Managing Principal of
Analysis Group.
3
  The Court extends its sincere appreciation to counsel for their professionalism, dedication, and
collegiality during litigation and trial.
4
  This Opinion constitutes the Court’s findings of fact and conclusions of law pursuant to Federal
Rule of Civil Procedure 52(a).
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II.    BACKGROUND

       A.      The Hatch-Waxman Act/ANDAs

       Under the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq., the FDA must

approve all new drugs before distribution in interstate commerce. 21 U.S.C. § 355(a). To secure

new drug approval, an applicant may file a New Drug Application (“NDA”) that includes the

number and expiration date of any patents which claim the drug, or a method of using the drug, if

an infringement claim could reasonably be asserted. Id. § 355(b)(2). “The FDA publishes the

names of approved drugs and their associated patent information in the Approved Drug Products

with Therapeutic Equivalence Evaluations list a/k/a the ‘Orange Book.’” AstraZeneca LP v.

Apotex, Inc., 633 F.3d 1042, 1045 (Fed. Cir. 2010). An applicant seeking approval to market a

generic version of an already-approved drug may file an Abbreviated NDA (“ANDA”), which

“allows an applicant to rely on the safety and efficacy information for the listed drug if the

applicant can show that the generic drug is ‘bioequivalent’ to the listed drug.” Id. (citing 21 U.S.C.

§§ 355(b)(2), 355(j)).

       The Hatch-Waxman Act5 aims to balance two competing policy interests: research and

development of new drugs enabling competitors to bring low-cost generic copies of those drugs to

market rapidly if those drugs are not entitled to patent protection. See Andrx Pharms., Inc. v.

Biovail Corp., 276 F.3d 1368, 1371 (Fed. Cir. 2002). To balance those interests, the Hatch-

Waxman Act provides a means for pharmaceutical companies to resolve patent disputes relatively

quickly. Ideally, it provides for a prompt determination of whether particular drugs made and sold




5
  The more common name for the Drug Price Competition and Patent Term Restoration Act of
1984, Pub. L. No. 98-417, 98 Stat. 1585 (codified at 21 U.S.C. §§ 355, 360(c), 35 U.S.C. §§ 156,
271, 282), as amended by the Medicare Prescription Drug Improvement and Modernization Act
of 2003, Pub. L. No. 108-173, 117 Stat. 2066.
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by brand-name pharmaceutical companies are protected by valid patents. If the patents are held

to be infringed and not invalid, the covered drugs cannot be made and sold by generic

manufacturers until the patents expire. If the patents are held to be invalid or not infringed, the

Act provides for prompt approval of the generic versions of the drugs by the FDA, which regulates

the sale of pharmaceutical drugs in this country.

       The Hatch-Waxman Act creates what is referred to as an “artificial” type of infringement

that allows for the adjudication of the parties’ rights in patents that would be infringed if the ANDA

were issued and the generic product made, used, or sold. See Eli Lilly & Co. v. Medtronic, Inc.,

496 U.S. 661, 676 (1990); Glaxo Grp. Ltd. v. Apotex, Inc., 376 F.3d 1339, 1351 (Fed. Cir. 2004).

In particular, 35 U.S.C. § 271(e)(2)(A) provides that it shall be an act of patent infringement to

submit an ANDA for a drug claimed in a patent or the use of which is claimed in a patent if the

purpose of the ANDA’s submission is to obtain approval to manufacture, use, or sell the patented

drug. If a patent infringement suit is commenced within 45 days of a generic manufacturer

notifying a brand-name manufacturer of the ANDA application, then the FDA may not approve

the ANDA application until the expiration of a 30-month statutory period. Id. § 355(c)(3)(C).6

       B.      Parties, jurisdiction, and standing

       Plaintiffs are JPI, JPN, and JRD (collectively “Janssen”). D.E. 99 (Final Pre-Trial Order

(“FPTO”)) 2 n.1, 6-8.7 JPN owns the entire right, title, and interest in the 693 Patent and JPI holds

New Drug Application (“NDA”) No. 207946 for paliperidone palmitate three-month extended

release injectable suspension (“PP3M”) prescribed and sold under the Trinza trademark. FPTO

11, 14; PTX-2; PTX-3; PTX-4.



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 Unless otherwise indicated, the Court cites to the FPTO’s Stipulations of Fact contained in
Section III. See FPTO 2, et seq.
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       Defendant Mylan Laboratories Limited (“Mylan”) is a generic drug manufacturer who has

filed Abbreviated New Drug Application (“ANDA”) Nos. 212290, 215682, and 216228, seeking

United States Food & Drug Administration (“FDA”) approval to market a generic version of

Janssen’s Invega Trinza Product (“Mylan’s Proposed ANDA Products”). FPTO 5, 33, 38, 43.

       Because this action arises under United States patent laws, this Court exercises subject

matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a); FPTO 1-2. JPN and JPI have

standing to bring this suit. Schwendimann v. Arkwright Advanced Coating, Inc., 959 F.3d 1065,

1072 (Fed. Cir. 2020).

       C.      Background for the invention

               1. Schizophrenia and antipsychotic medications

       Schizophrenia is a serious and disabling mental illness that affects about 1% of the

population. Tr. 175:5-6 (Berger), 870:3-17 (Kohler). Schizophrenia is a type of psychosis, i.e., a

loss of contact with reality with positive symptoms (delusions, hallucinations) and negative

symptoms (alogia, avolition) affecting the ability to manage day-to-day responsibilities,

relationships, education, and employment.         Tr. 54:9-55:6 (Sommi), 176:1-8 (Berger).

Schizophrenia patients are often unemployed, poverty-stricken, homeless, and/or incarcerated. Tr.

58:14-17 (Sommi), 175:9-21 (Berger). The “largest mental health provider for schizophrenics” in

the United States is the prison system. Tr. 902:16-19 (Kohler).

       Schizophrenia has no cure.       Tr. 56:21-22 (Sommi), 176:9-11 (Berger).          Instead,

practitioners aim for symptom improvement and relapse prevention through antipsychotic

medications. Tr. 56:23-57:6, 58:1-13 (Sommi), 176:12-17 (Berger), 871:3-9 (Kohler). First-

generation antipsychotics, like Thorazine (chlorpromazine), were introduced in the 1950s. Tr.

177:10-17 (Berger). They worked by targeting dopamine and came in the form of tablets, then



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liquids, then short-acting injectables, then long-acting injectables. Tr. 59:16-61:20 (Sommi),

177:10-17 (Berger). Long-acting injectable antipsychotics (“LAIAs”) have been available since

at least the 1960s. Tr. 61:16-19 (Sommi).

       Second-generation antipsychotics, which targeted serotonin, emerged in the 1980s with

clozapine; like their first-generation predecessors, as pills, then liquids, then short-acting and long-

acting injections. Tr. 177:18-23 (Berger). Though mitigating some first-generation side effects,

the second-generation antipsychotics caused new, metabolic side effects like weight gain,

increased risk of diabetes, and increased blood glucose. Tr. 60:23-61:9 (Sommi).

       Continuous antipsychotic treatment avoids relapse; with each relapse, schizophrenia

progresses to further loss of brain function and becomes harder to treat. Tr. 68:18-69:5 (Sommi),

871:9-21 (Kohler).

               2. Medication nonadherence

       Nonadherence accompanies the management of all chronic diseases, but is particularly

prevalent and well-documented among schizophrenia patients. Tr. 67:4-9 (Sommi) (noting that

75% of patients over 18-month period stopped taking oral antipsychotics), 182:15-17 (Berger), Tr.

932:15-20 (Kohler), 1034:18-20 (Berger); PTX-97 at 15-16. Among the reasons for medication

nonadherence are side effects associated with antipsychotics. Tr. 72:10-13 (Sommi), 911:1-3

(Kohler). Accordingly, clinicians seek to avoid those side effects. Tr. 873:1-11.

       LAIAs, which reduce the “number of times the patient has to remember to take the

medication,” improve nonadherence. Tr. 1034:24-1035:6, (Berger), 873:19-21 (Kohler); Gopal

Dep. Tr. 176:20-177:4; PTX-97 at 18. LAIAs enhance patient convenience, reduce relapses

(which improves patient prognoses), and reduce caretaker burdens. Tr. 68:13-70:10 (Sommi).

Moreover, because HCPs administer LAIAs, they can more accurately track medication adherence



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and thereby assess patient response. Tr. 70:11-25 (Sommi). Nevertheless, despite LAIA benefits,

HCPs—particularly “younger staff members”—are sometimes reluctant to prescribe them, in part

because “many clinicians lack knowledge about practical issues, … including dose selection,

pharmacokinetics, and what to do when a patient is late for an injection or has persistent symptoms

after starting therapy.” PTX-97 at 17.

               3. Pharmacokinetics, Population Pharmacokinetics, and depot formulations

       Pharmacokinetics is the practice of describing how a given drug will behave in a patient’s

body, i.e., “what the body does to a drug” through absorption, distribution, metabolism, and

excretion—how it enters, how it’s processed, and how it leaves. Tr. 401:23-402:5 (Forrest),

806:23-807:28 (Gobburu). Monitoring pharmacokinetics requires obtaining drug levels by taking

blood samples from patients and measuring drug levels at various points in time. Tr. 807:9-11

(Gobburu). Drug levels are then plotted on a plasma concentration time curve. Tr. 807:11-13

(Gobburu).

       Depot drugs are drug formulations that last in a patient’s body for different amounts of

time. Tr. 400:22-401:5 (Forrest). An individual’s response to a drug—including a depot drug—

is unpredictable due to “genetics, disease, age, gender, body weight, drugs given concomitantly,

and various behavioral and environmental factors.” Tr. 807:5-19 (Gobburu); PTX-1458 at 500.

The response may also vary depending upon a drug’s particle size. Tr. 400:25-401:5 (Forrest).

Population pharmacokinetics (“pop-PK”), used in designing dosing regimens, accounts for these

variations and allows scientists to “understand not only the average … but the spread of the data.”

Tr. 808:21-809:5 (Gobburu). To devise the claimed dosing regimens, the 693 Patent’s inventors




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 Rowland, Malcolm and Tozer, Thomas N., Clinical Pharmacokinetics and Pharmacodynamics:
Concepts and Applications, Fourth Edition (2011), Wolters Kluwer.
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developed a “comprehensive [pop-PK] model” for PP and used that model to simulate various

dosing regimen scenarios. PTX-1 at 17:25-46, 19:55-20:28, Figs. 4A-4C.

       When a patient receives their first injection of a depot drug they have not previously been

administered or are otherwise naïve to, they begin at zero concentration at zero time on a plasma

curve. Tr. 402:18-25 (Forrest). For a typical injectable depot drug, a patient’s plasma curve rises

“very quickly.” Tr. 403:11-19 (Forrest).

       D.      Trinza

       Trinza, approved in May 2015, is a three-month long-acting injectable (“LAI”) formulation

of the second-generation antipsychotic PP. Tr. 73:22-25, 74:8-11 (Sommi). Invega Sustenna was

the one-month, PP1M formulation. Tr. 74:1-3 (Sommi). When Trinza was launched, it was lauded

as “revolutionary.” PTX-2269 at 5. It remains the only LAIA administered once every three

months. Tr. 74:23-75:6 (Sommi).

       When Trinza launched, HCPs had no experience with a three-month dosing regimen. Tr.

74:23-75:2 (Sommi), 874:22-875:1 (Kohler). HCPs had concerns about effectiveness and side

effects; as to the latter, HCPs recognized that any side effects would have to be managed “over a

much longer period of time.” Tr. 875:1-24 (Kohler), Tr. 1058:15-16 (Berger) (acknowledging

reluctance to prescribe Trinza: “We were questioning whether it would really last three months”).

       Trinza has been “very well received,” has “fulfilled [HCP] expectations in providing

effective treatment over a period of at least three months in people who were previously stabilized

… [on] Invega Sustenna,” and has demonstrated a “tolerable side effects profile.” Tr. 876:2-9

(Kohler). Even Mylan’s expert, Dr. Berger, hails it as a “wonderful drug.” Tr. 243:23-24.




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  Daghistani & Rey, Invega Trinza: The First Four-Times-a-Year, Long-Acting Injectable
Antipsychotic Agent, P&T, Vol. 41, No. 4 (Apr. 2016).
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       E.        The patent at issue: the 693 Patent

       The 693 Patent “relates to a method for treating patients who have missed a treatment of

3-month paliperidone palmitate extended-release injectable suspension formulation.” PTX-1 at

1:15-19, 17:16; Tr. 76:17-76:18 (Sommi). The Asserted Claims describe dosing regimens for

administering PP to a patient that had been last administered PP3M 4 to 9 months ago. See PTX-

1 at Claim 5.

                 1. Prosecution History

       On April 5, 2016, Janssen filed the application that became the 693 Patent. FPTO 13. The

application included Claims 1-8. DTX-8 at 40-42.

       On November 1, 2017, the Patent Office Examiner (“Examiner”) conducted prior art

searches on the East and Google Scholar Databases. DTX-8 at 193. The Examiner’s East search

queries included “paliperidone,” “three month,” and the inventor names; the Examiner’s Google

Scholar search terms are not recorded. DTX-8 at 205-06.

       On November 20, 2017, the Examiner rejected claims 1-8 as obvious over the 536

Publication in view of certain prior art, Osborne,10 and on the ground of nonstatutory obviousness-

type “double patenting” over claims 1-16 of U.S. Patent No. 9,439,906 (the “906 Patent”), which

covers PP1M initiating (not re-initiation) dosing regimens. DTX-8 at 196-203. The Examiner did

not reject the claims under 35 U.S.C. § 112, i.e., lack of specification. Id.; Tr. 768:1-11 (Forrest).

       In response to the double patenting rejection, Janssen argued that the 906 Patent concerned

PP1M’s initial dosing regimen, not the subject claims relating to a missed PP3M dosing regimen.




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   Osborne et al., Health-related quality of life advantage of long-acting injectable antipsychotic
treatment for schizophrenia: a time trade-off study, Health and Quality of Life Outcomes 10(35)
(2012): 1-9; DTX-36.
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DTX-8 at 217. In other words, a missed PP3M dosing regimen would not double-patent an initial

PP1M dosing regimen. Id.

       On June 14, 2018, the Examiner conducted updated searches on East and Google Scholar.

Id. 236. Again, the East searches included “paliperidone,” “three month,” and the inventors’

names. Id. 237. On June 27, 2018, the United States Patent and Trademark Office (“PTO”) issued

a Notice of Allowance, concluding that the 693 Patent’s rejected claims are patentable. DTX-8 at

223. The PTO reasoned:

       While the closest prior art of 536 publication teaches a dosing regimen for a patient
       to get back onto PP1M after missed dose of PP1M, the prior art does not teach
       [PP3M] and exact numbers of reinitiation loading doses and maintenance doses and
       their amounts for patients who had been treated with a PP3M and had been last
       administered the PP3M more than 9 months or 4 to 9 months ago as claimed. No
       other prior art was found to teach that when a patient misses a dose of PP3M for
       extended period of time a patient must first be treated and stable on PP1M and then
       a PP3M injection is then given at the time that the patient would have received their
       next PP1M injection as claimed. Thus, the instant claims are novel and non-
       obvious over the prior art.

Id. 229.

       The 693 Patent issued on December 4, 2018.

               2. The Patent Specification

       The 693 Patent’s specification explains that PP3M “offers the prospect of fewer

opportunities for nonadherence than currently available [LAI] formulations, thus reducing relapse

risk as a result of subtherapeutic plasma concentration and its associated negative consequences in

patents with schizophrenia.” PTX-1 at 2:15-19. In other words, PP3M works because there are

fewer chances for the drug to wear off because of a missed dose.

       But missed doses still happen. Id. 2:20-22. “Consequently, there is a need to reinitiate a

dosing regimen for patients who miss their regularly scheduled dose of medication.” Id. 2:22-24.




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“Thus, the objective of the present application is to provide a dosing regimen of [PP] for patients

in need of a treatment who have missed their 3 month (±2 weeks) dose of [PP3M].” Id. 2:24-29.

       The specification summarizes the claimed dosing regimens. Id. 2:32-3:56. It describes a

“dosing regimen for administering an injectable [PP] depot to a patient in need of psychiatric

treatment that has been treated with” PP3M, “wherein said patient misses for a period of between

about four months and about nine months” the “next scheduled maintenance dose” of PP3M. Id.

2:32-42. The claimed dosing regimens “compris[e]” three numbered doses of PP1M or PP3M

corresponding to the Asserted Claims.

       The specification also provides detailed information about PP1M and PP3M formulations

for use in the dosing regimens, including:

   •   Composition for the 1-month and 3-month formulations: the active ingredient (PP), the
       types of inactive ingredients, the concentrations of the ingredients. PTX-1 at 13:49-56,
       13:62-14:3.
   •   Average and preferred particle size ranges for PP1M and PP3M. Id. 9:39-51.
   •   PP1M and PP3M manufacturing instructions. Id. 11:23-29, 11:50-12:35.
   •   Examples of PP1M and PP3M formulations that disclose specific inactive ingredients. Id.
       4:33-39, 13:56-62.
   •   Description of Sustenna and Trinza as commercial embodiments of PP1M and PP3M,
       respectively. Id. 4:18-20, 5:23-25, 5:44-46, 6:63-65.

       F.      The Asserted Claims

       The 693 Patent’s Asserted Claims include independent claim 5 and dependent claims 6-7

and 9-14. All dependent claims depend directly or indirectly from claim 5. See PTX-1 at 21:10-

22:3. As goes claim 5, so go the rest.

       Claim 5 claims a PP3M reinitiation dosing regimen for a patient who had their last dose 4

to 9 months prior:

       A dosing regimen for administering an injectable paliperidone depot to a patient in
       need of treatment for psychosis, schizophrenia or bipolar disorder that has been
       treated with PP3M, wherein said patient had been last administered a PP3M


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       injection 4 to 9 months ago and the next scheduled maintenance dose of PP3M
       should be administered to said patient, comprising:

       (1)     administering intramuscularly in the deltoid muscle of said patient a first
               reinitiation loading dose of PP1M;
       (2)     administering intramuscularly in the deltoid muscle of said patient a second
               reinitiation loading dose of PP1M on about the 4th day to about the 12th day
               after administering of said first reinitiation loading dose; and
       (3)     administering intramuscularly in the deltoid or gluteal muscle of said patient
               a reinitiation dose of PP3M on about the 23rd day to about the 37th day after
               administering the second reinitiation loading dose of PP1M wherein said
               first and second reinitiation loading doses and the reinitiation PP3M dose
               are selected from the table below based on the amount of the missed dose

                    Missed
                    Dose of           Reinitia.tion Doses           Reinitiation Dos~
                    PP3M                  ofPPlM                        ofPPJM

                  175 mg eq.               50 mg eq.                    175 mg eq.
                  _63 rng eq.              75 mg eq.                    263 mg eq_.
                  350mg eq.               100 mg eq.                    350 mg eq.
                   -25 mg eq.             100 mg eq.                     15 mg eq,


       Claims 6-7 depend directly from claim 5 and narrow this method to a specific patient in

need of treatment for psychosis (claim 6) and schizophrenia (claim 7). Id. 21:40-43.

       Claim 9 depends directly from claim 5 and narrows this method to a specific time for

administering the second PP1M reinitiation dose to “about 7 days” after the first PP1M reinitiation

loading dose. Id. 24:49-51.

       Claim 11 depends directly from claim 5 and narrows this method to a specific time for the

administering of the PP3M reinitiation dose to “about 30 days” after the second PP1M reinitiation

loading dose. Id. 21:52-54. Claim 12 depends from claim 11 and narrows this method to a specific

time for administering the PP3M reinitiation dose to “30 days” after the second PP1M reinitiation

loading dose. Id. 21:55-57.




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       Claim 13 depends directly from claim 5 and narrows this method to a specific time for

administering the PP3M reinitiation dose to “about a month” after the second PP1M reinitiation

loading dose. Id. 21:58-60. Claim 14 depends from claim 11 and narrows the method to a specific

time for administering the PP3M reinitiation dose to “a month” after the second PP1M reinitiation

loading dose. Id. 22:1-3.

        The 693 Patent covers Trinza. FPTO 4. In turn, Trinza’s label dosing instructions track

the 693 Patent’s Asserted Claims. Specifically, Trinza’s label instructs HCPs not to administer

the next Trinza dose if a patient missed a dose between 4 and 9 months prior, but to use the

reinitiation regimen shown in the table above. PTX-43 at 5. That table tracks the Asserted Claims.

Tr. 88:14-92:8 (Sommi), Tr. 244:14 (Berger).

       G.      Mylan’s Proposed Labels

       Mylan filed ANDA Nos. 216228, 212290, and 215682 seeking FDA approval to market

and sell Mylan’s Proposed ANDA Products in 273, 410, 546, and 819 mg PP dose strengths. FPTO

33, 38, 43. The proposed labels (“Mylan’s Proposed Labels”) are substantially identical to the

Trinza label. PTX-92 (216228); PTX-162 (212290); PTX-133 (215682). Other than replacing the

Trinza and Sustenna brand names with generic names, the Proposed ANDA Products include the

same text in the “Missed Doses” section. FPTO 25.

       Mylan’s Proposed Labels state: “To manage missed doses on exceptional occasions, refer

to the Full Prescribing Information. (2.3).” PTX-92, PTX-133, PTX -162 at 1; PTX-595 at 5.

Section 2 of Mylan’s Proposed Labels is entitled “Dosage and Administration.” PTX-92, PTX-

133, PTX-162 at 4; PTX-595 at 9. And Section 2.3 is entitled “Missed Doses.” PTX-92, PTX-

133, PTX-162 at 6; PTX-595 at 14. Table 2 of the Proposed Labels’ missed dosing regimen

reproduces (except for the Sustenna name) Claim 5’s PP3M reinitiation regimen using PP1M:



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        Table 2. Re-initiation Regimen After Missing 4 Months to 9 Months of Palipeddone
                         Palmitate Extended-Release Injectable Suspension
     If the Last Dose of 3-     Administer 1-month paliperidone              Then administer 3-month
     Month Paliperidone       palmitate extended-release injectable      paliperidone palmitate extended-
     Palmitate Extended-      suspension, two doses one week apart       release injectable suspension (into
      Release Injectable              (into deltoid muscle)                  deltoid 3 or gluteal muscle)
       Suspension was:             Day 1               Day 8                    1 month after Day 8
            273 mg                78mg                   78 mg                         273 mg
            410mg                 117 mg                 117 mg                        410 mg
            546 mg                156 mg                 156 mg                        546 mg
            819 mg                156 mg                 156 mg                        819 mg
     See Instructions for Use for deltoid injection needle selection based on body weight.

PTX-92, PTX-133, PTX-162 at 7; PTX-595 at 15. On November 15, 2022, Mylan produced to

Janssen an updated proposed label that Mylan had submitted to the FDA. PTX-595; Tr. 103:19-

21.11

III.      ANALYSIS

          A.      INFRINGEMENT: Janssen established that Mylan’s Proposed Labels will
                  induce HCPs to infringe upon the Asserted Claims

          It is “an act of [patent] infringement to submit” an ANDA “for a drug claimed in a patent

or the use of which is claimed in a patent.” 35 U.S.C. § 271(e)(2); see Eli Lilly & Co. v. Medtronic,

Inc., 496 U.S. 661, 678 (1990). In ANDA cases, the infringement analysis “is focused on a

comparison of the asserted patent [claims] against the product that is likely to be sold following

ANDA approval.” Vanda Pharms. Inc. v. West-Ward Pharms. Int’l Ltd., 887 F.3d 1117, 1125

(Fed. Cir. 2018) (cleaned up).

          Janssen contends that Mylan, a generic manufacturer, will induce infringement of the

Asserted Claims rather than directly practice them. “Whoever actively induces infringement of a

patent shall be liable as an infringer.” 35 U.S.C. § 271(b). To establish induced infringement, a

plaintiff must prove (1) direct infringement and (2) that the defendant had the specific intent to



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     Any changes to Mylan’s Proposed Labels did not impact the infringement analysis.
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induce infringement. Vanda, 887 F.3d at 1129. A patentee must prove infringement by a

preponderance of the evidence. Id. at 1125.

        For the reasons detailed below, Janssen has demonstrated by a preponderance of the

evidence that Mylan will induce infringement of the Asserted Claims. Specifically, Janssen

presented evidence that: (1) Mylan’s Proposed Labels expressly instruct HCPs to infringe the

Asserted Claims for patients who last received PP3M 4 to 9 months ago for reinitiation onto PP3M;

(2) some patients will inevitably be reinitiated on PP3M between 4 and 9 months after their last

dose; and (3) this will inevitably lead some HCPs to practice the patented dosing regimens of the

Asserted Claims.

        Conversely, the Court is unpersuaded by Mylan’s counterargument—that there is no

infringement under a “divided infringement” theory and that many patients will not be treated

according to the Asserted Claims. Mylan contends, in substance, that Mylan cannot induce direct

infringement because the steps of the claimed dosing regimens will be carried out by two

independent actors, neither of which is Mylan: the patient, who missed a dose of PP3M and chose

to return for treatment three times, and that patient’s HCP, who would administer the claimed

dosing regimen. Tr. 172:24-173:7 (Berger). For the reasons below, this theory lacks any legal or

factual basis.

                 1. Mylan’s Proposed Labels essentially duplicate Janssen’s and recite each
                    limitation of the Asserted Claims

        In deciding induced infringement, “courts compare[] the wording of the label to the patent

claims.” BTG Int’l Ltd. v. Amneal Pharms. LLC, 352 F. Supp. 3d 352, 394 (D.N.J. 2018), appeal

dismissed in relevant part as moot, 923 F.3d 1063, 1077 (Fed. Cir. 2019). Proposed drug labels

“encompass infringement” if the “label meets the claim limitations of the patent” or the “label

language aligns with the language” of patent claims. Id. at 394-95; see also GlaxoSmithKline LLC

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v. Teva Pharms. USA, Inc., 7 F.4th 1320, 1330 (Fed. Cir. 2021) (affirming induced infringement

where expert “marched through [the] label explaining how it met the limitations of [the] claim”),

reh’g and reh’g en banc denied, 25 F.4th 949 (Fed. Cir. 2022), petition for cert. pending, No. 22-

37 (filed July 11, 2022). Here, Dr. Sommi credibly demonstrated that the missed dose instructions

in Mylan’s Proposed Labels induce infringement of each element of the Asserted Claims.

               a. Claim 5

       Claim 5 claims a dosing regimen. PTX-1 at 21:10-11 (“A dosing regimen for administering

an injectable [PP] depot … .”); Tr. 79:25-80:3, 97:17-21, 116:1-2 (Sommi); Tr. 285:7-9 (Berger).

Mylan’s Proposed Labels likewise set forth a “reinitiation” dosing regimen. PTX-92 at 4, 6-7 (“2

DOSAGE AND ADMINISTRATION”; “2.3 Missed Doses . . . Table 2. Re-initiation Regimen . .

. .”); PTX-133 at 4, 6-7; PTX-162 at 4, 6-7; PTX-595 at 9, 14-15; Tr. 97:17-25 (Sommi).

       Next, Claim 5 also identifies a patient in need of treatment for psychosis, schizophrenia, or

bipolar disorder. PTX-1 at 21:11-12; Tr. 78:10-12, 97:19-98:3 (Sommi). Mylan’s Proposed

Labels also identify a patient in need of treatment for schizophrenia. PTX-92 at 4; PTX-133 at 4;

PTX-162 at 4; PTX-595 at 9; Tr. 97:19-98:3 (Sommi).

       Claim 5 also identifies a patient who has been treated with PP3M and had been last

administered PP3M four to nine months ago. PTX-1 at 21:11-14 (“to a patient … that has been

treated with PP3M, wherein said patient had been last administered a PP3M injection 4 to 9 months

ago and the next scheduled maintenance dose of PP3M should be administered to said patient”);

Tr. 78:10-12, 82:2-8, 125:19-22 (Sommi), 240:25-241:3 (Berger). Again, Mylan’s Proposed

Labels also identify a patient treated with PP3M last administered a dose of PP3M four to nine

months ago. PTX-92 at 6-7; PTX-133 at 6-7; PTX-162 at 6-7; PTX-595 at 14-15; Tr. 97:25-98:3,

106:2-15 (Sommi).



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       Next, Claim 5 identifies the first step of the claimed dosing regimen as “(1) administering

intramuscularly in the deltoid muscle of said patient a first reinitiation loading dose of PP1M.”

PTX-1 at 21:17-18; Tr. 98:4-6, 123:9-12 (Sommi). And Mylan’s Proposed Labels likewise

identify the first reinitiation regimen step as “[a]dminister[ing] 1-month [PP] extended-release

injectable suspension . . . (into deltoid muscle) [on] Day 1 [of the re-initiation regimen].” PTX-92

at 7 (Table 2); PTX-133 at 7; PTX-162 at 7; PTX-595 at 15; Tr. 98:4-8 (Sommi).

       Next, Claim 5 identifies the second step of the claimed dosing regimen as “(2)

administering intramuscularly in the deltoid muscle of said patient a second reinitiation loading

dose of PP1M on about the 4th day to about the 12th day after administering of said first reinitiation

loading dose.” PTX-1 at 21:19-22; Tr. 98:6-9 (Sommi). Mylan’s Proposed Labels likewise

identify the second reinitiation regimen step as “[a]dminister[ing] 1-month [PP] extended-release

injectable suspension . . . (into deltoid muscle) [on] Day 8 [of the reinitiation regimen]” or seven

days after the first reinitiation loading dose of 1-month PP extended-release injectable suspension.

PTX-92 at 7 (Table 2); PTX-133 at 7; PTX-162 at 7; PTX-595 at 15; Tr. 98:6-9 (Sommi).

       Likewise for the third reinitiation regimen step, which Claim 5 identifies as “(3)

administering intramuscularly in the deltoid or gluteal muscle of said patient a reinitiation dose of

PP3M on about the 23rd day to about the 37th day after administering the second reinitiation

loading dose of PP1M.” PTX-1 at 21:23-26; Tr. 98:10-13, 124:21-23 (Sommi). Mylan’s Proposed

Labels also identify the third dosing regimen step as “administer[ing] 3-month [PP] extended

release injectable suspension (into deltoid or gluteal muscle) [on] “1 month after Day 8 [of the

dosing regimen]” or “1 month” after the second reinitiation dose of PP1M. PTX-92 at 7 (Table 2);

PTX-133 at 7; PTX-162 at 7; PTX-595 at 15; Tr. 98:10-13 (Sommi).




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        Claim 5’s table lists the PP1M and PP3M reinitiation dose amounts:


                            MiAAed
                            Do.-e of       Rt>i!tltiatiou Doses       R.eilutiation Oo~es
                             rl'JM               of PPl M                  ofl'PJM
                          L75mgeq.              50 mgeq.                 175 mg e-q.
                          263 mg eq.            7S mg eq.                263 ms eq.
                          350 mg eq,           100 mg eq.                JSO mg eq,
                          5~5 mg oq.           ltkl IIlll, eq,           525 mg eq,



        PTX-1 at 21:31-39; Tr. 98:14-17, 127:3-22 (Sommi). The reinitiation dose amounts are

based on the amount of the missed dose of PP3M. PTX-1 at 21:27-29 (“wherein said first and

second reinitiation loading doses and the reinitiation PP3M dose are selected from the table below

based on the amount of the missed dose”); Tr. 78:24-79:4 (Sommi). Table 2 of Mylan’s Proposed

Labels does the same:

     Table 2. Re-initiation R.-girnen Arter Mhsing 4 Months to 9 Months of faliperitlune
                         Palmitate Extended-Release In jectable Suspension
  If the Last Dose of J-    Administer I-month p aliperidone       Th en administer J-month
  Month Paliperidone pal,nitate ed ended-n lease inj ectable pali1>eridone palmitate extended-
  Palmitate Extended- s us pension, hm doses one week a11art release injectable s us11ension (into
    Release Jnj ect.~ble          /into deltoid muscle)            deltoid' or 11luteol muscle)
     Suspens ion was:          Dnv I               Dn:v8              I month nfter Dnv 8
         273 mg                78 mg               78 mg                     273 m~
         410mg                117mg                117 mg                    410mg
         546 mg               156mg                156 mg                    546mg
         819 ml!              156 lllQ             156 IDQ                   819mQ
 • See Instructions for Use for deltoid injection needle selection based on body weight.

        PTX-92 at 7; PTX-133 at 7; PTX-162 at 7; PTX-595 at 15; Tr. 98:14-17 (Sommi). The

dose amounts of the reinitiation doses are similarly based on the amount of the last dose of PP3M

and track the amounts in claim 5. PTX-92 at 7; PTX-133 at 7; PTX-162 at 7; PTX-595 at 15; Tr.

98:14-17 (Sommi) (“[Y]ou can see that the milligram equivalents in the Claim 5 are exactly the

same as the milligrams of the PP1M and PP3M products.”).




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               b. Claims 6 and 7

       Claim 6 is “[t]he method of claim 5, wherein said patient is in need of treatment for

psychosis.” PTX-1 at 21:40-41; Tr. 100:13-25 (Sommi). Patients with schizophrenia have

psychosis and will therefore be in need of treatment for psychosis. Tr. 100:18-25 (Sommi), 176:8

(Berger) (“Schizophrenia is a type of psychosis.”). Accordingly, Mylan’s Proposed Labels also

identify a patient in need of treatment for psychosis. PTX-92 at 4; PTX-133 at 4; PTX-162 at 4;

Tr. 97:17-98:3, 100:18-101:6 (Sommi).

       Similarly, Claim 7 is “[t]he method of claim 5, wherein said patient is in need of treatment

for schizophrenia.” PTX-1 at 21:42-43; Tr. 100:16-101:6 (Sommi). Mylan’s Proposed Labels

also identify a patient in need of treatment for schizophrenia. PTX-92 at 4; PTX-133 at 4; PTX-

162 at 4; Tr. 97:17-98:3, 100:18-101:6 (Sommi).

               c. Claim 10

       Claim 10 is “[t]he method of claim 9, wherein the second reinitiation dose of PP1M is

administered 7 days after administering said first reinitiation loading dose of PP1M.” PTX-1 at

21:49-51. Claim 10 specifies that the second step of the claimed dosing regimen is seven days

after the first reinitiation loading dose. Tr. 101:7-14 (Sommi). Mylan’s Proposed Labels identify

the second administering step of the re-initiation dosing regimen as “[a]dminister[ing] [PP1M] . .

. (into deltoid muscle) [on] Day 8 [of the re-initiation regimen],” or seven days after Day 1’s first

PP1M reinitiation loading dose. PTX-92 at 7 (Table 2); PTX-133 at 7; PTX-162 at 7; PTX-595 at

15; Tr. 101:10-23 (Sommi).

               d. Claims 11 and 14

       Claim 11 is “[t]he method of claim 5, wherein the reinitiation dose of PP3M is administered

about 30 days after administering said second reinitiation loading dose of PP1M.” PTX-1 at 21:52-



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54. Claim 11 specifies that the claimed dosing regimen’s third step is about 30 days after the

second PP1M reinitiation loading dose. Tr. 102:3-13 (Sommi). Mylan’s Proposed Labels also

identify the third administering step of the reinitiation dosing regimen as “administer[ing] [PP3M

(into deltoid or gluteal muscle)” on “1 month after Day 8 [of the re-initiation dosing regimen]” or

“1 month” after the second PP1M re-initiation dose on Day 8. PTX-92 at 7 (Table 2); PTX-133 at

7; PTX-162 at 7; PTX-595 at 15; Tr. 98:10-13, 101:24-102:22 (Sommi).

       And finally, Claim 14 specifies that the third step of the claimed dosing regimen is about a

month after the second PP1M reinitiation loading dose: “[t]he method of claim 11[,] wherein the

reinitiation dose of PP3M is administered a month after administering said second [PP1M]

reinitiation loading dose.” PTX-1 at 22:1-3; Tr. 102:4-13 (Sommi). As with the other claims,

Mylan’s Proposed Labels also identify the third administering step of the reinitiation dosing

regimen as “administer[ing] [PP3M] (into deltoid or gluteal muscle) [on] “1 month after Day 8 [of

the re-initiation dosing regimen]” or “1 month” after the second PP1M re-initiation dose. PTX-92

at 7 (Table 2); PTX-133 at 7; PTX-162 at 7; PTX-595 at 15; Tr. 98:10-13, 101:24-102:22 (Sommi).

               2. Mylan’s divided infringement defense

       Janssen alleges, in substance, that Mylan’s proposed Trinza generic will inevitably induce

HCPs—those administering the drug to patients—to infringe upon the claimed dosing regimens.

Inherent in Hatch-Waxman/ANDA litigation is an element of copying; generic drug manufacturers

will often simply stipulate to infringement. 21 U.S.C. § 355(j); Novartis Pharm. Corp. v. Teva

Pharm. USA, Inc., No. 05-CV-1887 (DMC), 2009 U.S. Dist. LEXIS 103104, at *56 (D.N.J. Nov.

5, 2009). This makes logical sense; the FDA requires a generic to be bioequivalent (chemically

the same) as the patented substance, with an identical label. Tr. 222:6-20 (Berger).




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       Here, Mylan contends that there will be no direct infringement because the Asserted

Claims’ reinitiation dosing regimen will be carried out by two independent actors: the patient, who

missed a dose of PP3M and chose to return for treatment three times, and that patient’s HCP, who

administers the claimed dosing regimen. Tr. 172:24-173:7 (Berger).                                      This is the “divided

infringement issue.” Tr. 204:7-10 (Berger).

       Mylan’s divided infringement theory posits “seven steps” split between the patient and the

HCP:

                 4 1.    Accordingly, the steps of the claimed method includ? four (4) steps where the
          patient is independently responsible and three (3) steps where the healtl1care professional is
          responsible. Accordingly, the steps and party respo115ible for practicing tl1e steps are as follows:

                 I.     miss a close (patient);
                 2.     return for treatment between 4 to 9 months since last injection
                 (patient);
                 3.     administering intramuscularly first reinitiation dose of PP IM30 (healthcare
                        professional);
                 4.     return for treatment on about the 4th clay to about the 12th clay after
                        first reinitiation loading close (patient);
                 5.     aclmini~tering intramuscularly a second reinitiation loading close of PPIM
                        Q1ealthcare professional);
                 6.     return for n·eatment on about the 23 rd clay to about the 37<h clay after
                        second reinitiation loading close of PPlM (patient); and
                 7.     administering intramuscularly a reinitiation dose of PP3M (healthcare
                        professional).

FPTO, Mylan Contested Facts ¶ 41; Tr. 186:10-188:19; 287:15-20 (Berger).

       In contrast, Janssen’s infringement theory asserts that the Asserted Claims comprise three

steps of administering the three reinitiation doses, numbered as “(1),” “(2),” and “(3)” in the

claims. Tr. 79:5-86:25 (Sommi).
                                               .             .      -
                               ( I} ud111i11isteri11g intnunuseulurly in 1h.: dd luid 111u~ck of
                                  ~id p:11ic111 a fin;t reini1inlillO loodiog d0:;c 11f PPIM:
                               (2) admini.tering iotramu.scularly in the delloid muscle of
                                  said pa1ien1 a second raiuitiation loadjni dose of PP! M
                                  on about the 4th day 10 nbout the 12th day airer
                                  ,1dmini,1cring of st1id first rainitiation loadinl! dose-: and
                               (3} odministcring inlr.imu,o;i;uhirly in thu dchoi<l or gluiCIII
                                 mu:.elc or Silid p:i1icot a rci 11i1i:.1i,1n <lo.,;e i• r PPJM 11 11
                                 about the 23rd day 10 ollout 1Jw 37th day ancr ndmin-
                                 istering the m .'Otld re-initiation loadmg dose o f PPIM
                                 wherein said first ;md s.n.,nd reiwtiation load.in~ doses
                                 and the rcinil iatiou PP3M dose arc selected from the
                                 table l:>dow hast..-d on 1hc nmoun1 of Ilic miss1,.'(! dose


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               a. Mylan’s divided infringement defense fails because it was untimely

       Local Patent Rule 3.6 sets forth disclosure requirements for Hatch-Waxman Act/ANDA

matters, including the disclosure of “Non-Infringement Contentions and Responses” from a “party

opposing an assertion of patent infringement.” L. Pat. R. 3.2A, 3.6(g). “Local Patent Rules exist

to further the goal of full and timely discovery and provide all parties with adequate notice and

information with which to litigate their cases,” as well as to “require parties to crystallize their

theories of the case early in the litigation and to adhere to those theories once they have been

disclosed.” Celgene Corp. v. Hetero Labs Ltd., No. 17-3387, 2021 U.S. Dist. LEXIS 159262, at

*12 (D.N.J. Mar. 29, 2021) (cleaned up).

       Here, Mylan’s divided infringement theory was not disclosed in its contentions, and

appeared improperly for the first time in Mylan’s rebuttal expert report. See, e.g., Chiesi United

States v. Aurobindo Pharma United States, No. 19-18756, 2022 U.S. Dist. LEXIS 20102, at *15-

16 (D.N.J. Jan. 9, 2022) (granting motion in limine precluding testimony on indefiniteness theory

that was not disclosed in contentions); Celgene, 2021 U.S. Dist. LEXIS 159262, at *59 (D.N.J.

Mar. 29, 2021) (striking invalidity theory not raised in contentions because it is “impermissible”

to introduce new theories in an expert report without amendment); Merck Sharp & Dohme Corp.

v. Sandoz, Inc., No. 12-3289 (PGS)(LHG), 2014 U.S. Dist. LEXIS 37002, at *23 (D.N.J. Jan. 6,

2014) (striking portions of expert reports that rely on prior art not disclosed in contentions).

       Janssen argued in pre-trial motions that Mylan did not raise this defense, to Janssen’s

detriment, until too late in the litigation. Indeed, Mylan’s May 26, 2021 Non-Infringement

Contentions, presented two theories, neither of which alleged divided infringement. First, Mylan

asserted that its Proposed Labels would not directly infringe the reinitiation dosing regimen

because Mylan itself does not administer the claimed dosing regimen to the patient; and second,



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that Mylan would not have any control over whether patients are treated with the dosing regimen.

D.E. 81-3.

       Neither of these theories plausibly assert the “seven steps” divided infringement theory that

Mylan actually pursued at trial, despite Mylan’s best efforts—in limine and now after trial—to

shoehorn the theory into its Non-Infringement Contentions. The contentions do not contain the

words “divided infringement,” cite no case law on divided infringement, and do not assert that the

Asserted Claims have seven steps. See id. Rather, the contentions alleged that “Mylan will not

directly or indirectly infringe the Asserted Claims” because “Mylan does not perform the requisite

administering step. … Mylan does not cause, urge, encourage, aid, advise, or otherwise induce any

particular party to practice any particular claim step that Mylan, itself, does not practice, i.e.,

treating a subject having a disorder.” Id. at 4 (emphases added).

       Mylan, in other words, was arguing that Mylan did not infringe or induce infringement,

not—as at trial—that patients acted in concert with HCPs to infringe. Even the most expansive

reading of Mylan’s Non-Infringement Contentions would not reveal any divided infringement

defense. Mylan never sought to amend its Non-Infringement Contentions to add a divided

infringement defense; the first mention appeared in Dr. Berger’s expert report. See D.E. 72-12. It

was therefore untimely. Nevertheless, for the reasons below, it is also unpersuasive on its merits.

                 b. Even if the divided infringement defense had been timely, the Court agrees with
                    Janssen that a single entity (a healthcare provider) performs the claimed
                    reinitiation dosing regimen’s three steps

       The parties dispute whether a patient’s role constitutes a “descriptor of the clinical

situation” (Janssen) or a claimed step (Mylan). As detailed below, the Asserted Claims’ plain

language favors Janssen’s interpretation. The Asserted Claims steps are carried out by a single

actor: an HCP.



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       The heart of the infringement dispute here is whether Mylan’s Proposed Labels will induce

direct infringement. Whether the infringement is direct depends on whether any claimed dosing

regimen steps will be performed by a second actor—like, according to Mylan, the patient missing

a dose and returning for treatment three times. If the HCP is the only actor, Mylan’s Proposed

Labels will induce infringement by the HCP. If the HCP and the patient are dual actors each

performing different claimed steps, there will not be infringement.

       Direct infringement “occurs where all steps of a claimed method are performed by or

attributable to a single entity.” Akamai Techs., Inc. v. Limelight Networks, 797 F.3d 1020, 1022

(Fed. Cir. 2015) (en banc). “Divided infringement” refers to the situation where “no single actor

performs all steps of a method claim.” Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 845 F.3d

1357, 1364 (Fed. Cir. 2017). When the steps of the method are divided among multiple actors, the

claimed method is infringed only if “the acts of one are attributable to the other such that a single

entity is responsible for the infringement.” Id.

       Method-of-treatment claims sometimes have requirements that are not themselves steps of

a claimed method. See, e.g., Pernix Ireland Pain DAC v. Alvogen Malta Operations Ltd., 323 F.

Supp. 3d 566, 576 (D. Del. 2018) (“mild or moderate hepatic impairment” not a claimed step),

aff’d sub nom., Persion Pharm. LLC v. Alvogen Malta Operations Ltd., 945 F.3d 1184 (Fed. Cir.

2019); see also Tr. 28:12-22, 33:9-17 (Mylan’s counsel acknowledges that “passive” diagnoses

like cancer or schizophrenia are not claimed steps).

       The infringement analysis here turns on whether a patient’s missed dose or choice to return

for the claimed reinitiation regimen are “steps” of the Asserted Claims. Janssen limits its

interpretation to the plain language of the Asserted Claims: three reinitiation injections by the HCP,

three steps by one actor. Mylan interprets additional steps: the patient missing a dose and returning



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three times for the injections (four steps), plus the injections (three more steps, for a total of seven).

The Court agrees with Janssen: the injections comprise the only three claimed steps, and an HCP

administers each step. Accordingly, Mylan’s Proposed Labels will induce direct infringement by

a single actor.

        Determining the number of steps in a claimed method is a question of “claim construction.”

In re Biogen ’755 Patent Litig., No. 10cv2734, 2016 U.S. Dist. LEXIS 42608, at *7 (D.N.J. Mar.

28, 2016). “A claim construction analysis must begin and remain centered on the claim language

itself.” Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1116 (Fed.

Cir. 2004)). “When claim language has as plain a meaning on an issue, … leaving no genuine

uncertainties on interpretive questions relevant to the case, it is particularly difficult to conclude

that the specification reasonably supports a different meaning.” Straight Path IP Grp., Inc. v.

Sipnet EU S.R.O., 806 F.3d 1356, 1360 (Fed. Cir. 2015).

        The Asserted Claims “compris[e]” three steps: “administering” the three “reinitiation”

doses that are enumerated (1), (2), and (3) in claim 5 to a schizophrenia patient had had their last

injection four to nine months prior. PTX-1 at 21:17-29 (“(1) administering . . . ; (2) administering

. . . ; (3) administering . . . .”); Tr. 79:5-80:3; 98:4-17, 115:25-116:2, 125:19-22 (Sommi). The

dispute centers on the significance of the requirement that a schizophrenia patient miss a dose and

return for another four to nine months after the missed dose. Janssen calls this a “descriptor of the

clinical situation” in which the claimed dosing regimens are to be administered—not a claimed

step. Tr. 82:1-8 (“It just helps me understand who the patient is that I’m treating.”), 85:10-18,

86:13-18 (“These are instructions for the [HCP]. These are not instructions to patients. … These

are not drugs that are administered by anybody other than a[n HCP].”), 125:19-22 (Sommi).




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        But the meaning here is plain: patients arriving having missed a dose, and HCPs administer

three reinitiation doses. The three administrations are the three claimed steps. See Core Wireless

Licensing S.A.R.L. v. Apple Inc., No. 15-cv-05008, 2016 U.S. Dist. LEXIS 150795, at *14 (N.D.

Cal. Oct. 31, 2016) (distinguishing the claimed steps, which “each start on a separate line with a

gerund . . . demonstrating how the method should be performed,” e.g., storing, inserting, and

sending, from other claim limitations, which “describe the environment in which the method . . .

is practiced,” e.g., “the radio network controller configured to select”); Amag Pharm., Inc. v.

Sandoz, Inc., No. 16-cv-1508, 2017 U.S. Dist. LEXIS 112172, at *71 (D.N.J. July 19, 2017) (“It

is important to remember that the elements, or the body, of a method claim are method steps, which

should usually be verbal (gerundial) phrase, introduced by a gerund or verbal noun (the ‘-ing’ form

of a verb).”).

        It is true, as Mylan argues, that “doses do not miss themselves.” Mylan Resp. Br. 7. But

that does not mean, however, that missing a dose is a claimed step. Although having “been last

administered a PP3M injection 4 to 9 months ago” is a requirement of the Asserted Claims, it is

not a step of the claimed dosing regimens. See, e.g., Orexigen Therapeutics, Inc. v. Actavis Lab’ys,

FL, Inc., 282 F. Supp. 3d 793, 798 (D. Del. 2017) (holding that the act of diagnosing obesity is not

a step of a claimed method of treating obesity “comprising administering [a pair of compounds] to

an individual who has been diagnosed as suffering from overweight or obesity”);12 In re Biogen

‘755 Patent, 2016 U.S. Dist. LEXIS 42608, at *4-8 (“produced by” and “transformed by” were




12
   Orexigen rejected a mirror image of Mylan’s divided infringement argument: that the doctor’s
initial diagnosis of a patient’s obesity was the first claimed step before the patient administered
the drug. But a “plain reading of this claim limitation indicates that the individual will already be
diagnosed prior to the method being performed.” Orexigen, 282 F. Supp. 3d at 812. In other
words, the claimed treatment’s prerequisite (Orexigen’s obesity diagnosis and a missed treatment
here) has already occurred.
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not steps of claimed method because they conveyed action that “‘must have been’ done rather than

what ‘must be’ done). Mylan’s contention that a patient’s missed dose or choice to return for

treatment can be (or are here) claimed steps lacks any precedential or factual support. To the

contrary, there is ample reason to conclude that missing a dose and returning are merely

preconditions to administration.

       The Asserted Claims’ plain language supports this interpretation in a different way. The

dosing regimen is administered “to a patient” who meets certain criteria, including having “been

last administered a PP3M injection 4 to 9 months ago.” PTX-1 at 21:10-16; Tr. 84:22-85:2

(Sommi). The use of past-tense language makes clear that the patient missed a dose and returned

for treatment before the claimed dosing regimens are administered. PTX-1 at 21:13-15 (“wherein

said patient had been last administered a PP3M injection 4 to 9 months ago”).

       Moreover, the Court cannot agree with Dr. Berger that the tenses used in the Asserted

Claims were “irrelevant.” Tr. 286:13-17 (Berger). Elsewhere, he asserted that the passage stating,

“wherein said patient had last been administered PP3M four to nine months ago” was the “present

tense.” Tr. 286:20-24 (Berger). On cross-examination, however, Dr. Berger conceded that the

claim language recites only three steps “in writing,” but stated that the claim language “is not

correct” because there are actually “seven steps.” Tr. 290:1-2, 287:19-20, 297:2-11 (“[F]or any

treatment that[ i]s administered by a health care professional at a health care facility,” patients

“have to show up.”). Dr. Berger took this example to its logical extreme; asked about medications

for overdose treatment, he would consider “the patient overdosing to be the first step in a dosing

regimen for a drug indicated to treat overdose[.]” Tr. 297:12-19. Or in a baking context, the step

preceding mixing eggs with milk would require getting a bowl from the cupboard. Tr. 300:13-19.

The theoretical other steps might be infinite.



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       Nor can the Court agree, as Mylan urges, that the Asserted Claims’ prosecution history

supports Mylan’s divided infringement theory. Mylan points specifically to Janssen’s statement

in the prosecution history that the Asserted Claims “are solely directed to what patients should do

if a dose of PP3M is missed and they desire getting back on the medication.” DTX-8 at 217, 0216;

see also Mylan Resp. Br. 11. This describes what patients should do in the situation where the

patient has missed a dose of PP3M—how they arrive at the point where claimed steps (the HCP’s

administration) begin, not any active role that patients play in the administration.

       Whatever steps Mylan attempts to inject into the Asserted Claims, there are only three

claimed “administering” steps, and therefore only one administering actor: the HCP. Tr. 96:23-

97:7, 139:3-7, 146:10-15 (Sommi); Tr. 291:5-8 (Berger); PTX-92 at 4 (§2.1: “[e]ach injection must

be administered only by a healthcare professional.”); PTX-133 at 4; PTX-162 at 4; PTX-595 at 6;

Tr. 139:3-7 (Sommi). With only one actor, there is no divided infringement. Next, the Court turns

to whether Mylan specifically intends to induce infringement.

               3. Mylan specifically intended to induce infringement

       In ANDA cases, induced infringement requires showing that the proposed labels

“encourage, recommend, or promote infringement.” Vanda, 887 F.3d at 1129. Proposed labels

induce infringement if they either “implicitly or explicitly encourage or instruct users to take action

that would inevitably lead to” infringement. See GlaxoSmithKline, 7 F.4th at 1330. Here, Janssen

proved inducement by presenting evidence that Mylan’s Proposed Labels explicitly instruct HCPs

to practice the Asserted Claims, and inevitably lead HCPs to infringe the Asserted Claims.

               a. The explicit instructions in Mylan’s Proposed Labels establish specific intent

       Whether the Court infers specific intent “depends on how explicitly the instructions suggest

the infringement, any direct evidence, the Court’s fact-finding conclusions and the surrounding



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circumstances.” Acorda Therapeutics Inc. v. Apotex Inc., Civil Action No. 07-4937, 2011 U.S.

Dist. LEXIS 102875, at *47 (D.N.J. Sep. 6, 2011), aff’d, 476 F. App’x 746 (Fed. Cir. 2012).

“Depending on the clarity of the instructions, the decision to continue seeking FDA approval of

those instructions may be sufficient evidence of specific intent to induce infringement.” Eli Lilly

& Co. v. Teva Parenteral Meds., Inc., 845 F.3d 1357, 1368 (Fed. Cir. 2017). “Proposed labeling

that instructs [an] infringing use[] is generally sufficient to support a finding of intentional

inducement.” BTG, 352 F. Supp. 3d at 399 (collecting cases).

       Mylan’s Proposed Labels explicitly instruct HCPs to reinitiate patients onto PP3M in an

infringing manner, by directing HCPs “[t]o manage missed doses.” Mylan’s Proposed Labels

explicitly instruct HCPs to practice the Asserted Claims by directing HCPs to Section 2.3 “[t]o

manage missed doses.” PTX-92 at 1; PTX-133 at 1; PTX-162 at 1; PTX-595 at 5; Tr. 120:5-9

(Sommi); Tr. 260:4-9 (Berger). Under Section 2.3’s subheading, “Missed Dose 4 Months to 9

Months Since Last Injection,” Mylan’s Proposed Labels instruct HCPs that, where the patient last

received a PP3M dose four to nine months ago, “do NOT administer the next dose of [PP3M].

Instead use the re-initiation regimen in Table 2.” PTX-92 at 6-7; PTX-133 at 6-7; PTX-162 at 6-

7; PTX-595 at 14-15. And Table 2, in turn, directs HCPS to perform all three administrating steps

of the claimed re-initiation regimen. PTX-92 at 7; PTX-133 at 7; PTX-162 at 7; PTX-595 at 15.

       Moreover, missed doses and patients returning between 4 and 9 months after a missed dose

are inevitable, meaning that infringement of the claimed reinitiation regimen would be inevitable.

Even Mylan’s expert, Dr. Berger, testified that Trinza/PP3M did not solve nonadherence among

schizophrenia patients. Tr. 182:21-22 (Berger) (“No. It’s still a problem, still a big problem.”);

Tr. 77:9-11, 107:25-108:1 (“So if this were a perfect world, then you wouldn’t have to have a

missed dose section.”), Tr. 119:13-16 (Sommi); Tr. 873:13-874:1, 884:6-7 (Kohler)



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(“[N]onadherence will occur again.”); see also PTX-1 at 2:20-24 (“Even with a drug administered

once every 3 months . . . , patients at times miss their doses of medication.”). Dr. Berger

acknowledged that “more than 50 percent” of Trinza patients have missed a dose, including “20

to 30 percent” returning for an appointment 16 or more weeks (about 4 months) after the missed

dose. Tr. 251:1-14, 262:4-8, 310:12-18 (Berger).13

       Dr. Kohler likewise testified that he had multiple patients who returned for a reinitiation

dose of Trinza between 4 and 9 months after their last dose. Tr. 886:11-14, 888:18-24, 890:1-6

(Kohler).14 Thus, even though the Trinza label advises that missed doses should be avoided, many

patients still miss their PP3M doses, and inevitably return within 4 to 9 months for reinitiation.

       And when they return, it is likewise inevitable that at least some HCPs will follow the

instructions on Mylan’s Proposed Labels. Dr. Kohler testified credibly to having done so. Tr.

886:11-890:1-6 (Kohler). see also PTX-220 at 9 (“The vast majority of patients” were initiated

onto Trinza “based on the prescribing guidelines.”).




13
   On Re-direct, Dr. Berger testified that the “20 to 30%” could “include more than nine months”
after the prior dose. Tr. 310:12-17. But Dr. Berger did not specify what percentage of that 20 to
30% was outside of the claimed 4 to 9-month window. The Court finds, based on Berger’s
testimony and other credible testimony, that at least some percentage of PP3M patients would
inevitably return between 4 to 9 months after their last missed dose.
14
   Mylan objected to Janssen using Dr. Kohler’s testimony to support Janssen’s infringement
argument when he was called only for secondary considerations, and in light of Janssen’s
numerous objections to Mylan’s infringement questions. Mylan Br. 25, n.11; Mylan Resp. Br. 27;
Tr. 909:6-9, 927:19-20, 928:19-24, 929:11-13, 930:21-22, 933:25-934:3 As an initial matter, the
Court notes that its direct infringement findings do not hinge solely on Kohler’s testimony—there
is other evidence in the record, including Dr. Berger’s testimony, of inevitable infringement.
Moreover, the Court agrees with Janssen that it can correct Mylan’s incorrect statement that
“Janssen chose to forego any testimony from a prescribing physician who had or would follow the
claimed missed-dose regimen.” Mylan Br. 25. Having placed the matter at issue by making this
false assertion, Mylan cannot prevent Janssen from pointing out that the statement’s inaccuracy.
And in any event, there is significant “overlap in the proofs required on the issues of validity and
infringement.” P&G v. Nabisco Brands, Inc., 604 F. Supp. 1485, 1492 (D. Del. 1985).
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       Dr. Berger testified that he does not use the claimed missed dose dosing instructions

because providers should not “blindly follow the prescribing information.” Tr. 204:15-23, 231:9-

21 (direct); 261:14-19 (cross). But even if this Court were to accept that testimony as credible, he

nevertheless conceded that he had supervised medical residents who had “tried to reinitiate”

patients on Trinza who had missed a dose between 4 and 9 months ago. Tr. 257:14-25 (supervising

residents who consulted Trinza label when their patients missed PP3M 4-9 months ago); Tr.

264:24-265:4 (equating drug label to a speed limit and admitting that he himself follows the speed

limit); see also Tr. 263:16-19 (Q: [S]ome health care providers do follow label instructions for

patients who have missed a dose of PP3M by 4 to 9 months, right? A: I’m sure they try.”), 263:22-

264:2 (Berger).

       The Court simply cannot credit Dr. Berger’s testimony that not a single HCP would use

the claimed reinitiation dosing regimen. But even if that testimony were credible, the standard is

inevitable infringement, not universal infringement. Dr. Berger concedes that at least some have

attempted it. In other words, upon a patient’s inevitable return between 4 and 9 months after a

missed dose, it is inevitable that an HCP would at least attempt the claimed reinitiation regimen.

       At least one other Mylan witness confirmed as much. Mylan’s Rule 30(b)(6) witness,

Director of the North America Portfolio Development Team, testified that she “would assume

[Mylan’s customers] are going to use [its product] according to the label that’s provided.” Reed

Dep. Tr. 204:12-24. Reed also testified that “[Mylan] would provide the label with the product to

[its] customers and . . . they can use it accordingly.” Reed Dep. Tr. 204:12-24. Because Mylan’s

Proposed Labels instruct HCPs to use the Asserted Claims’ dosing regimens in an infringing

manner, Mylan specifically intends for HCPs to use its Proposed ANDA Products in a way that

infringes the Asserted Claims.



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       The Court is unpersuaded by Mylan’s contention that its Proposed Labels discourage

infringement by warning that missed doses should be avoided. Mylan Br. 28-29. This is

essentially a repackaged version of Mylan’s dual-actor divided infringement theory, rejected

above, that a patient missing a dose is the Asserted Claims’ first step. See Mylan Resp. Br. 24

(“[T]he label expressly discourages taking the first step, counseling that patients should not miss

their doses.”) (emphasis in original).

       Here, the Proposed Labels discourage missed doses, but do not discourage or make optional

the practice of the Asserted Claims (or any claimed steps) in the inevitable situation that doses are

missed. See Tr. 884:4-7 (Kohler) (“[P]eople who go on to [LAIs] for different reasons have been

shown to have a high rate of nonadherence. So nonadherence will occur again.”); 1060:17 (Berger)

(acknowledging that nonadherence is a common occurrence with Trinza); 1092-193 (Mulhern)

(summarizing literature on schizophrenia patient/Trinza nonadherence); BTG Int'l Ltd. v. Amneal

Pharm. LLC, 352 F. Supp. 3d 352, 398 (D.N.J. 2018) (“The only way to follow these labels is to

administer abiraterone, together with prednisone, in specified doses, to a mCRPC patient.”); cf.

Takeda Pharms. USA, Inc. v. West-Ward Pharm. Corp., 72 F. Supp. 3d 539, 547 (D. Del. 2014)

(label instructed that the claimed method itself should be avoided); cf HZNP Meds. LLC v. Actavis

Labs. UT, Inc., 940 F.3d 680, 702 (Fed. Cir. 2019) (one of the claimed steps was optional).

       Nor is the Court persuaded by Mylan’s argument that it does not induce infringement

because its infringing instructions are not found in the “Indications and Usage” section of its

Proposed Labels. There is no such requirement to prove induced infringement. Vanda Pharms.

Inc. v. West-Ward Pharms. Int’l Ltd., 887 F.3d 1117, 1129 (Fed. Cir. 2018) (“When proof of

specific intent depends on the label accompanying the marketing of a drug inducing infringement

by physicians, ‘the label must encourage, recommend, or promote infringement.’”) (cleaned up);



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see also Bayer Schering Pharma AG & Bayer HealthCare Pharm., Inc. v. Lupin, Ltd., 676 F.3d

1316, 1324 (Fed. Cir. 2012) (“[T]he point is that the label, taken in its entirety, fails to recommend

or suggest to a physician that Yasmin is safe and effective for inducing the claimed combination

of effects in patients in need thereof.”) (emphasis added).

               4. Allegedly noninfringing uses do not defeat infringement

       Mylan argues that its Proposed Labels cannot induce infringement because they contain

numerous non-infringing instructions for PP3M. The Court disagrees.

       There is “no legal or logical basis” for limiting induced infringement liability where a

proposed label has substantial noninfringing uses. See Sanofi v. Watson Lab’ys Inc., 875 F.3d 636,

646 (Fed. Cir. 2017). Where a drug label encourages infringement, a defendant “can be liable for

inducing an infringing use of a product even if the product has substantial noninfringing uses.”

Sanofi, 875 F.3d at 646 (citing MGM Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 934 (2005); see

also Vanda, 887 F.3d at 1133 (“[E]ven if the proposed ANDA product has ‘substantial

noninfringing uses,’ [the ANDA applicant] may still be held liable for induced infringement.”);

Eli Lilly, 845 F.3d at 1368-69 (“[A] label that instructed users to follow the instructions in an

infringing manner was sufficient . . . even though the product in question had substantial

noninfringing uses.”). Based on the Court’s finding that Mylan’s Proposed Labels will inevitably

lead HCPs to infringe, Mylan induces infringement whether or not the Proposed Labels also

contain noninfringing uses.

       But Mylan’s arguments also fall short as a factual matter. Dr. Berger cited Mylan’s

Proposed Labels §§ 2.6 and 2.7 as non-infringing alternatives. But as Dr. Berger conceded, these

sections involve switching from PP3M to PP1M injectables (2.6) or PP3M to oral paliperidone

(2.7). Tr. 214:25-215:5, 276:17-277:1, 281:7-9 (Berger). Neither is directed to patients who last



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received PP3M 4 to 9 months ago. Id.; PTX-92 at 8; PTX-133 at 8; PTX-162 at 8; see also PTX-

595 at 17. Thus, while Mylan’s generics may, and likely will, have non-infringing uses, there are

no alternatives or non-infringing uses of the 4 to 9-month clinical presentation addressed by the

Asserted Claims.

       Accordingly, the Court finds that Janssen has demonstrated, by a preponderance of the

evidence, that Mylan’s Proposed Labels will induce infringement of the Asserted Claims.

       B.      OBVIOUSNESS: Mylan failed to prove through clear and convincing
               evidence that the asserted claims of the 693 Patent would have been obvious to
               a persona of ordinary skill in the art (“POSA”)

       In its defense, Mylan asserts that the Asserted Claims are invalid for obviousness, i.e. that

the Asserted Claims would have been obvious to a POSA based on available prior art. The Court

disagrees.

       “A patent for a claimed invention may not be obtained … if the differences between the

claimed invention and the prior art are such that the claimed invention as a whole would have been

obvious before the effective filing date of the claimed invention to a [POSA] to which the claimed

invention pertains.” 35 U.S.C. § 103.

       A party asserting a patent’s obviousness must prove “by clear and convincing evidence

that a skilled artisan would have been motivated to combine the teachings of the prior art references

to achieve the claimed invention, and that the skilled artisan would have had a reasonable

expectation of success in doing so.” Novartis Pharm. Corp. v. W.-Ward Pharm. Int’l Ltd., 923

F.3d 1051, 1059 (Fed. Cir. 2019). Obviousness is a question of law based on underlying facts,

including: (1) the scope and content of the prior art; (2) the differences between the claimed subject

matter and the prior art; (3) the level of ordinary skill; and (4) objective indicia of nonobviousness.

See Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966).



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               1. The PP3M prior art was likely considered by the PTO Examiner

       Having been approved by the Patent Office, the Asserted Claims are generally presumed

valid. 35 U.S.C. § 282(a); Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 110-14 (2011). Mylan

argues, however, that no deference is owed to the PTO’s issuance of a patent because certain PP3M

prior art was not before the PTO’s claim examiner: JAMA,15 the 2014 Press Release,16 and NCT

423.17 Mylan Br. 49-50. Janssen counters that the challenger’s overall burden to demonstrate

invalidity by clear and convincing evidence remains unchanged.

       Both are correct. Mylan is correct that “if the PTO did not have all material facts before

it, its considered judgment may lose significant force.” i4i, 564 U.S. at 111. But this does not

change the challenger’s burden; it simply means that the burden “may be easier to sustain.” Id. Or

phrased differently,

       When new evidence touching validity of the patent not considered by the PTO is
       relied on, the tribunal considering it is not faced with having to disagree with the
       PTO or with deferring to its judgment or with taking its expertise into account. The
       evidence may, therefore, carry more weight and go further toward sustaining the
       attacker's unchanging burden.”

Id. (citing Am. Hoist & Derrick Co. v. Sowa & Sons, Inc., 725 F.2d 1350, 1360 (Fed. Cir. 1984)).

       That said, a dispute about whether prior art was previously before the examiner may be

evaluated by a factfinder in the context of the challenger’s overall burden. i4i, 564 U.S. at 111.

Here, the Court finds that the PTO examiner conducted prior art searches on the East and Google




15
   Berwaerts et al., Efficacy and Safety of the 3-Month Formulation of Paliperidone Palmitate vs
Placebo for Relapse Prevention of Schizophrenia, Journal of the American Medical Association
(“JAMA”) Psychiatry 72(8) (2015). PTX-113.
16
   Janssen Investigational Treatment for Schizophrenia Shows Positive Efficacy, Delays Relapse
(2014). PTX-160.
17
   ClinicalTrials.gov archive, History of Changes for Study: NCT01515423, Study of Paliperidone
Palmitate 3 Month and 1 Month Formulations for the Treatment of Patients With Schizophrenia.
PTX-158.
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Scholar databases. DTX-8 at 193. Although the search terms used on Google Scholar were

apparently not recorded, the Examiner’s search queries on East included “paliperidone,” “three

month,” and the inventor names. Id. 205-06, 236-37. It is therefore likely that the Google Scholar

search would have included any PP3M prior art. See, Tr. 691:2-7 (Forrest) (“assum[ing]” that

Google Scholar would include JAMA).18 However, even if the PTO Examiner did not consider

all of the PP3M prior art, Mylan would nevertheless have failed to meet its burden.

               2. Mylan failed to prove that every element of the Asserted Claims was known in
                  the prior art

       “An obviousness determination generally requires a finding that ‘all claimed limitations

are disclosed in the prior art.’” Univ. of Strathclyde v. Clear-Vu Lighting LLC, 17 F.4th 155, 160

(Fed. Cir. 2021) (quoting PAR Pharm., Inc. v. TWI Pharms., Inc., 773 F.3d 1186, 1194 (Fed. Cir.

2014)). But an “invention is not obvious simply because all of the claimed limitations were known

in the prior art.’” Forest Lab’ys, LLC v. Sigmapharm Lab’ys, LLC, 918 F.3d 928, 934 (Fed. Cir.

2019). Instead, courts ask “whether there is a reason, suggestion, or motivation in the prior art that

would lead one of ordinary skill in the art to combine the references.” Id. (cleaned up). “The

presence or absence of a motivation to combine” and what constitutes “a reasonable expectation




18
   To the extent that Mylan argues that the Court must disregard such evidence, its citation to Sun
Pharma Glob. FZE v. Lupin Ltd., No. 18cv02213, 2021 U.S. Dist. LEXIS 42600 (D.N.J. Mar. 8,
2021), is inapposite. In that matter, the Court excluded testimony about an examiner’s search
history, but did not exclude the fact of the search or the exact query. Id. *8-9. Where there is
documentary evidence in the record, the Court may consider it. See Elan Corp., PLC v. Andrx
Pharm., Inc., No. 98-7164, 2008 U.S. Dist. LEXIS 94525, at *284-85 (S.D. Fla. Aug. 12, 2008)
(finding that “the Examiner presumably found the [prior art], determined that it was unimportant
to the patentability of the [claimed invention], and chose not to cite it as material prior art.”); cf
Comcast Cable Communs., LLC v. Sprint Communs. Co., LP, 203 F. Supp. 3d 499, 547 (E.D. Pa.
2016) (“Expert testimony about the subjective knowledge or state of mind of the examiner is not
admissible in the absence of any support in the record.”) (emphasis added).


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of success” are questions of fact. See Novartis Pharms. Corp. v. West-Ward Pharms. Int’l Ltd.,

923 F.3d 1051, 1059 (Fed. Cir. 2019) (cleaned up).

        In assessing obviousness, factfinders “should be aware . . . of the distortion caused by

hindsight bias and must be cautious of arguments reliant upon ex post reasoning.” KSR Int’l Co.

v. Teleflex Inc., 550 U.S. 398, 421 (2007). “Care must be taken to avoid hindsight reconstruction

by using the patent in suit as a guide through the maze of prior art references, combining the right

references in the right way so as to achieve the result of the claims in suit.” In re NTP, Inc., 654

F.3d 1279, 1299 (Fed. Cir. 2011) (internal quotation marks omitted).

        Here, Mylan has failed to demonstrate that all claimed limitations were disclosed in the

prior art, that a skilled artisan would have reason to combine the prior art references, and that the

skilled artisan would have a reasonable expectation of success from doing so. The Court agrees

with Janssen that Mylan’s obviousness case can best be characterized as a “hindsight combination

of components selectively culled from the prior art to fit the parameters of the patented invention.”

Cheese Sys., Inc. v. Tetra Pak Cheese & Powder Sys., Inc., 725 F.3d 1341, 1352 (Fed. Cir. 2013)

(cleaned up). Mylan’s expert, Dr. Forrest, cherry-picked from the prior art; when one data point

did not lead to the desired conclusion (the Asserted Claims’ reinitiation regimen), he chose another

that did.19



19
  Though the Court details disagreements with Dr. Forrest’s specific findings below, other general
indicia undermined the persuasiveness of his testimony. Prior to his work in this case, Dr. Forrest
had: never seen the 693 Patent, never worked with antipsychotics, no experience with treating
psychotic disorders, never done any work that involved direct patient care, and no experience with
paliperidone. Tr. 676:20-677:11 (Forrest). Mylan’s counsel provided copies of the references and
the specific combinations that he relied on to support obviousness. Tr. 678:14-25 (Forrest). Dr.
Forrest was retained in February 2022. Tr. 679:5-9 (Forrest). On March 9, 2022, weeks after
being retained, Dr. Forrest signed a 189-page expert report that included a technical tutorial of PP;
a description of the 693 Patent; an explanation of the 693 Patent’s prosecution history; a summary
of 15-16 separate references; and a detailed basis for his invalidity opinions on obviousness, non-


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       Neither the PP3M references (JAMA, the 2014 Press Release, and NCT 423) nor the PP1M

references (Invega Sustenna Label, the 536 Publication, the 519 Publication, and Samtani 2009)

disclose or suggest the Asserted Claims’ limitations. Mylan failed to prove that every element of

the Asserted Claims was known in the prior art because, as a whole, they assert a unique

combination of elements: (1) a missed dose regimen for PP3M; (2) administered to a specific

patient population whose last dose of PP3M was 4 to 9 months ago; (3) treating a patient who had

been advanced from PP1M to PP3M with PP1M reinitiation loading doses; and (4) returning the

patient to PP3M treatment without first stabilizing the patient on PP1M for several months. Tr.

538:2-20 (Sommi).

       As an initial matter, an exception to the general rule requiring a challenger to identify all

claim limitations in the prior art is where the POSA’s “common knowledge” may supply a missing

limitation. See Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1361-62 (Fed. Cir. 2016). But that

exception applies only where “the limitation in question [is] unusually simple and the technology

particularly straightforward.” Id. at 1362; accord Koninklijke Philips NV v. Google LLC, 948 F.3d

1330, 1338 (Fed. Cir. 2020). And even then, “‘common sense’…cannot be used as a wholesale

substitute for reasoned analysis and evidentiary support.” Arendi, 832 F.3d at 1362 (concluding

that Board erred in relying on “common sense” based on “conclusory statements and unspecific

expert testimony”); Koninklijke, 948 F.3d at 1338.

       To the extent that Mylan argues that a POSA could have used “common sense” to arrive at

the Asserted Claims’ reinitiation regiment, Dr. Forrest relied entirely upon the prior art without



enablement, lack of written description and indefiniteness. Tr. 679:5-680:2 (Forrest). In that time,
he also “developed a PK model and ran simulations.” Tr. 679:22-680:2 (Forrest). Just a few weeks
later, on March 31, 2022, Dr. Forrest submitted another expert report on invalidity of two separate
patents in a different patent litigation on a different drug involving a completely different disease,
i.e., heart failure. Tr. 680:8-681:12 (Forrest).
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mention of “common sense.” See, e.g., Tr. 474:7-475:15 (Forrest); Forrest Demonstratives Slide

6 (“The prior art renders obvious the asserted claims of the ‘693 patent[.]”); id. at Slide 43 (“The

Approach to Missed Doses for PP3M Was Taught by the Prior Art.”). “Common sense” or

“common knowledge” were not mentioned at trial. To the extent that Dr. Forrest’s testimony

regarding “routine optimization” is meant to represent a POSA’s “common sense,” his testimony

was too vague to supply missing claim limitations.

 But even if the testimony regarding “common sense” had been more robust, “common sense”

cannot be used to lead a POSA to develop missing elements of the claim because the missing

elements are not “unusually simple” or the technology at issue “particularly straightforward.” Tr.

555:16-22 (Sommi) (PP1M pharmacokinetics “were rather complicated and complex and very

different from what we had up until that point … applying simple math probably wasn’t going to

work.”), 848:15-19 (Gobburu) (“If you change the formulation” from PP1M to PP3M, you “cannot

predict the pharmacokinetics of the new formulation.”); see Sanofi-Aventis Deutschland GmbH v.

Glenmark Pharm. Inc., 748 F.3d 1354, 1360 (Fed. Cir. 2014) (“[I]n the medical arts potential

solutions are less likely to be genuinely predictable, as compared with other arts such as the

mechanical devices in KSR.”) (cleaned up). Thus, Mylan has failed to demonstrate obviousness.




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       Dr. Forrest relied primarily on four PP1M prior art references: the Sustenna label,20 the 536

Publication,21 the 519 Publication,22 and Samtani 2009.23 None referenced PP3M; rather, the thrust

of Dr. Forrest’s testimony (and Mylan’s obviousness case) is that PP1M prior art could be

extrapolated to determine the Asserted Claims’ PP3M reinitiation dosing regimen. For the reasons

below, Dr. Forrest’s testimony evidenced hindsight-driven reverse engineering, not obviousness.

Dr. Forrest cherry-picked PP1M data to arrive at his desired conclusion about PP3M.

               a. The Sustenna label

       First, Dr. Forrest extrapolated from the Sustenna Label, PTX-106, to estimate the front end

of the intermediate window (“[m]ore than 6 weeks to 6 months since last injection”) for a PP3M

missed dose regimen. PTX-106 at 4-6 (§ 2.3); Tr. 705:2-5 (Forrest). Dr. Forrest noted that the

front end of the Sustenna intermediate window started at six weeks, or about 1.4 times the one-

month dosing interval of PP1M (30 days). Tr. 707:12-18 (Forrest); Tr. 558:9-10 (Sommi). Dr.

Forrest then applied the 1.4x multiplier to PP3M’s dosing interval (90 days), and calculated 4.2

months (126 days) as the front end of the intermediate missed dose window for PP3M. Tr. 707:12-

18 (Forrest); Tr. 558:9-14 (Sommi). Dr. Forrest concluded that 4.2 months was “approximately”

the 4 months recited in the 693 Patent claims. Tr. 707:23-708:2 (Forrest).




20
   Invega Sustenna Prescribing Information (Rev. 11/2014). PTX-106.
21
   The 536 Publication (US 2011/0105536) is “Dosing Regimen Associated with Long-Acting
Injectable Paliperidone Esters.” PTX-116 at 1. It taught that simulating missed dose scenarios
using PK models could be used to design PP1M missed dose regimens , but does not disclose
PP3M dosing regimens. PTX-116 ¶ [0088]; see also Figs. 2 and 3; Tr. 435:25-436:2 (Forrest).
22
   A patent application publication of US 2009/0163519, “Dosing Regimen Associated with Long-
Acting Injectable Paliperidone Esters,” relating to PP1M PTX-115 at 1;Tr. 414:16-21 (Forrest).
23
    Samtani et al., Population Pharmacokinetics of Intramuscular Paliperidone Palmitate in
Patients with Schizophrenia: A Novel Once-Monthly, Long-Acting Formulation of an Atypical
Antipsychotic, Clin. Pharmacokinet 48(9) (2009): 585-600. PTX-118.
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       The problem with Dr. Forrest’s approach is its inconsistency: when the same extrapolation

arrived at different results, he simply ignored them. As Dr. Forrest admitted, if the same logic

used on the front end were applied to the back end, a POSA would—at least initially—arrive at 18

months on the back end of the window. Tr. 710:13-25 (Forrest); Tr. 558:20-559:7 (Sommi) (back

end of PP1M intermediate window is 6 months, or 6 times the monthly dosing interval; multiplying

the PP3M dosing interval by 6 is 18 months). In other words, the same theory would set the back

of the PP3M intermediate window at 18 months, “about twice as long” as the 9-month back end

recited in the Asserted Claims. Tr. 559:10-13 (Sommi). And the data would refute the theory.

       Dr. Forrest’s credibility was undermined by his evasive responses on cross-examination

when confronted with this inconsistency. Tr. 709:16-711:20 (Forrest) (“Q. Well, applying your

own logic then, you would calculate the back end of the intermediate window for PP3M to be 18

months, right?” A. …Let me say no, that I would need to explain further.”; “Q. At your deposition,

… I asked you the question, ‘And if you applied it to the back end, you would get to about 18

months, or about 540 days.’ You said yeah. You’re replying that, of course, as I discussed in my

report, would see there it would be potentially that long. Right? A. Yes.”). The Court is persuaded

by the testimony of Drs. Sommi and Gobburu, who both explained that a POSA would not have

relied on simple extrapolation of PP1M data to arrive at conclusions about PP3M

pharmacokinetics, or applied the extrapolation so inconsistently. See Tr. 558:15-560:1 (Sommi);

Tr. 813:9-12, 814:16-19 (Gobburu).

               b. 4-5 Half-Life extrapolation theory

       Dr. Forrest posited a different theory based on drug half-life. Tr. 711:22-25 (Forrest). The

premise, relying on the 536 Publication, is that it takes about 4-5 half-lives for a drug to be

completely eliminated. PTX-116 ¶ [0103]. This, the theory goes, would reveal the back end of



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the intermediate window because that is when drug has been essentially eliminated from the

patient’s blood stream. Tr. 712:2-9 (Forrest); Tr. 560:2-21 (Sommi). The Court is persuaded that

a POSA would not have relied on a 4-5 half-life theory, or any theory based on half-life to identify

only one end of the window. Tr. 559:19-560:1, 586:18-24 (Sommi). A POSA would have known

this assumption to be scientifically unreasonable, and instead “would have used the actual data,”

i.e., PP3M’s actual half-life data. Tr. 560:22-24, 563:11-22 (Sommi), 712:12-14 (Forrest).

         However, the half-life of PP3M was not known in the prior art. Tr. 712:25-713:3 (Forrest);

Tr. 560:25-561:3 (Sommi). Instead, Dr. Forrest did what a POSA would not have: assumed that

PP3M’s half-life could be extrapolated from PP3M’s dosing interval (every 3 months). Assuming

the half-life for PP1M was 30 days (based on its dosing interval), Dr. Forrest multiplied that by

three to assume a PP3M half-life of 90 days. Tr. 713:17-20, 717:21-23 (Forrest). That assumption

was wrong: PP3M’s actual half-life, reported after the Patent’s filing date, is approximately 120

to 140 days, or 4-4.5 months. PTX-192 at 6; Tr. 817:24-818:6, 861:8-14 (Gobburu); Shaw Dep.

Tr. 136:9-1224 (“[W]ithout measuring the blood levels, you cannot predict what the half-life of

Mylan’s proposed PP3M is.”).

         There were other issues with this approach beyond its objective inaccuracy. PP1M’s

measured half-life was disclosed in the 519 Publication, which taught that PP1M’s half-life was

“dose-related,” Tr. 562:21-25 (Sommi), increasing “from 25 days (median) after the 25 mg eq.

dose to 40-49 days (median) after the 100 and 150 mg eq. dose, for both injection sites.” PTX-

115 ¶ [0098]; see Tr. 713:14-16 (Forrest). In assuming that PP1M’s half-life was uniformly 30

days, Dr. Forrest ignored the reported, dose-dependent half-life of PP1M. Tr. 563:1-7 (Sommi).




24
     Dr. Andrew Shaw, Mylan’s 30(b)(6) witness.
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       Dr. Forrest relied on an observation in the 536 Publication that “[t]he results in Table 3

showed that, for all depot antipsychotics, the administration interval was in the range of about 1-2

half-life for each product.” PTX-116 ¶ [0103]; Tr. 714:1-5 (Forrest). There are several scientific

flaws with this.

       First, it ignores that PP1M’s actual half-life is not 30 days, but between 25 and 40 to 49

median days depending on dosage. Tr. 717:11-13 (Forrest) (acknowledging as high as 49 days);

PTX-115 (519 Publication) ¶ [0098].

       Second, even if a POSA were to use the 536 Publication’s statement to estimate a half-life

for PP1M, it would teach that the 30-day dosing interval for PP1M would be 1-2 half-lives,

meaning that 1 half-life would be anywhere from 15 to 30 days for PP1M—again, inconsistent

with PP1M’s actual half-life of 25 to 49 days. Tr. 717:6-13 (Forrest); Tr. 561:9-19 (Sommi).

       Third, Dr. Forrest testified on direct that the 536 Publication was “all about paliperidone

palmitate.” Tr. 430:4-6 (Forrest). But the 536 Publication’s half-life observations, set forth in its

Table 3, were expressly not about PP, but “a literature search [that] was conducted to evaluate the

pharmacokinetic characteristics of other long acting injectable antipsychotics.” PTX-116 ¶ [0102]

(emphasis added). The “authors made an observation that there was a relationship between the

administration interval and the half-life” for the products listed in Table 3, which did not include

PP. Tr. 561:11-14 (Sommi). Confronted with this on cross-examination, Dr. Forrest evaded. See

Tr. 713:23-715:10 (Forrest).

       Utilizing these imperfect data points, Dr. Forrest then multiplied the purported 30-day half-

life of PP1M by three and assumed the half-life of PP3M would be about 90 days. Tr. 717:21-23

(Forrest); Tr. 561:9-19 (Sommi). Dr. Forrest then applied his 4-5 half-life theory to calculate the




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back end of the intermediate window for PP3M to be at about 12-18 months. Tr. 464:24-465:6

(Forrest); Tr. 564:8-15 (Sommi).

               c. Dr. Forrest’s JAMA25 “natural jump” theory

       Before trial, Dr. Forrest relied on a PK modeling exercise to identify the back end of the

intermediate missed dose window for PP3M as 9 months. Tr. 720:2-6 (Forrest). But at trial, Dr.

Forrest unveiled a new theory: that a POSA could have used JAMA to arrive at the 9-month target,

and that his PK modeling was only used to validate the conclusion reached under this new theory.

Tr. 509:2-4 (Forrest).

       Dr. Forrest’s JAMA theory relies on the Kaplan-Meier plot of JAMA’s Figure 2A, which

plots interim data analysis. Then, notwithstanding the author’s express conclusion that the plot

shows the median relapse time to be 274 days after randomization, i.e., 12 months since the last

PP3M injection, a POSA would make a “natural jump” backwards, to 180 days after

randomization, i.e., 9 months since the last PP3M injection, as the intermediate window’s back

end. Tr. 465:14-468:22 (Forrest).

       Dr. Forrest’s testimony on this was not credible for a few reasons. First, relying on the

theory requires exclusive reliance on JAMA’s interim analysis to the exclusion of any additional

data collected as part of JAMA’s final analysis, which evidenced a 395-day (16-month) relapse

time after the last PP3M dose. Tr. 703:24-704:4 (Forrest); Tr. 549:9-11 (Sommi); PTX-113 at 4.

Dr. Forrest’s testimony that “JAMA told us to ignore [the final analysis] data” is not credible based

on his own testimony elsewhere that a POSA would “use all the data … at hand.” Tr. 720:1; Tr.

720:10-12 (Forrest) (“You would put the appropriate weight on each one and understand which is



25
  Berwaerts et al., Efficacy and Safety of the 3-Month Formulation of Paliperidone Palmitate vs
Placebo for Relapse Prevention of Schizophrenia, Journal of the American Medical Association
(“JAMA”) Psychiatry 72(8) (2015). PTX-113.
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most relevant, but you would use data that is available.”). Not once could Dr. Forrest credibly

explain why a POSA would use all data in the prior art except for JAMA’s final analysis. Tr.

720:13-721:13 (Forrest).

       That is because a POSA would use all data.         Tr. 547:17-19 (Sommi). JAMA’s interim

analysis was conducted because JAMA was a relapse prevention trial involving schizophrenia

patients who received placebo; because of “a risk of relapse,” interim analysis is conducted for

ethical reasons to determine whether to unblind the study early. Tr. 546:4-547:6 (Sommi). But

“[w]hen they say the study is over, it may take three, four, five, six months to get all the patients

out of the study safely,” during which they are “still collecting data.” Tr. 547:11-16 (Sommi);

PTX-113 at 3 (“Results through the end of the DB phase after early termination of the study (i.e.,

cumulative data including those from before the interim cutoff data) are reported herein as the final

analysis . . . .”). There is no reason, from a POSA’s perspective, not to consider all data available.

       Second, JAMA’s interim (and final) analyses were based on measuring delay of time to

relapse, meaning hospitalization or a PANNS score26 increase. Tr. 543:13-22 (Sommi); Tr. 692:6-

11 (Forrest). Neither is a precise pharmacokinetic outcome measuring PP plasma concentration.

Tr. 543:23-25 (Sommi). More importantly, Dr. Forrest lacks the expertise to opine on clinical

considerations. Tr. 676:23-677:4, 1191:1-2 (“I am not a clinician.”) (Forrest). But Dr. Sommi, a

Board-certified psychiatric pharmacist with extensive clinical psychiatric experience, testified

credibly that a POSA would not have adopted Dr. Forrest’s approach of extrapolating the

intermediate window for a missed dose regimen from JAMA’s relapse data, or at least would have




26
  Positive and Negative Syndrome Scale (PANSS) for Schizophrenia measures the prevalence of
positive and negative syndromes in schizophrenia; for example, self-injury, violent behavior, or
aggression. Tr. 543:15-22 (Sommi).
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incorporated the 395-day relapse datum from the final analysis. Tr. 46:1-50:2, 50:3-51:24, 545:11-

546:3, 547:10-11, 548:16-594:14 (Sommi); PTX-113 at 4.

       Third, Dr. Forrest never adequately explained the “natural jump.” Janssen, however, offers

a plausible explanation: the “jump” was simply Dr. Forrest changing his opinion when confronted

with an inconsistency. At his deposition, Dr. Forrest testified that JAMA directly taught that the

relapse time from randomization27 was 274 days (9 months), i.e., the Asserted Claims’ back end.

Tr. 550:18-20. The problem? Dr. Forrest did not factor in that patients had received a PP3M dose

3 months before randomization, meaning that—using Dr. Forrest’s theory—JAMA actually taught

a 12-month back end.

       And finally, the JAMA theory also suffers from the same selective-application defect

discussed above. Dr. Forrest did not attempt to use JAMA to calculate the front end. Tr. 550:25-

551:2 (Sommi). And for good reason; even if JAMA’s interim data could be used to correctly

discern the intermediate window’s back end (9 months), using the same method would have

revealed a 6-month front end, not the actual 4-month front end borne out by the data and found in

the Asserted Claims.

               d. Samtani 200928

       Dr. Forrest testified that he relied on Samtani 2009 to build PP1M and PP3M PK models,

which he used to run Excel simulations. Tr. 480:1-4, 502:18-23, 722:11-13 (Forrest); Tr. 587:10-

13 (Sommi).    Samtani 2009 “describes the population pharmacokinetic modeling of PP1M

formulation.” Tr. 820:20-23 (Gobburu). Samtani 2009 discloses a PP1M model developed



27
   “Randomization” refers to the time that patients were placed into one of two groups: those
receiving a placebo and those continuing on PP3M. Tr. 548:16-549:3.
28
    “Population Pharmacokinetics of Intramuscular Paliperidone Palmitate in Patients with
Schizophrenia: A Novel Once-Monthly, Long-Acting Formulation of an Atypical Antipsychotic.”
PTX-118 at 1; Tr. 843:11-19 (Gobburu).
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through a pop-PK analysis, based on, and validated with, nearly 16,000 pharmacokinetics samples

from about 1,400 PP1M patients. Tr. 566:21-25 (Sommi); Tr. 724:19-22 (Forrest). Samtani 2009

does not mention PP3M, and thus does not report any PP3M data. Tr. 724:16-18 (Forrest), 820:24-

25 (Gobburu). This theory, too, attempted to extrapolate PP3M’s PK from PP1M data—with the

same result.

                i.      Dr. Forrest selectively utilized just a few parameters influencing PK

        A POSA would not have built a PP3M PK model using PP1M data gleaned from Samtani

2009, nor would they have used the model to simulate dosing scenarios for PP3M. Tr. 573:11-18

(Sommi); Tr. 813:10-12, 814:16-815:1 (Gobburu). But even if a POSA had attempted that,

Samtani 2009 taught that “antipsychotics are rife with inter-patient and intra-patient variability, so

the pop-PK takes lots of different factors into account.” Tr. 567:21-25 (Sommi). Table III in

Samtani 2009 identified 25 such parameters. Tr. 725:2-6 (Forrest); Tr. 821:6-11 (Gobburu).

        Among those parameters, Samtani 2009 concluded that the PP’s PK is mostly influenced

by BMI (body mass index), CLCR (creatinine clearance), INJS (injection site), IVOL (injection

volume), and NDLL (needle length). Tr. 568:9-22 (Sommi), 725:7-14 (Forrest); PTX-118 at 1.

These parameters, and others, explain the “variability between patients” in how they respond to

PP. Tr. 822:3-11 (Gobburu); PTX-145 at 491 (“Substantial differences in response to drugs

commonly exist among patients.”).

        But Dr. Forrest used only 4 of 25 parameters: CL (clearance), Vd (volume of distribution),

Ka shift factor for deltoid injection, and the Ka (absorption rate constant). Tr. 725:15-25 (Forrest);

Tr. 569:10-15 (Sommi). Dr. Forrest ignored “the variability between patients” where “the range

of the blood levels . . . is dictated by whether the patient is a female or is a male . . . [or] is obese

or nonobese.” Tr. 822:3-11 (Gobburu). Dr. Forrest agrees that a POSA would have understood



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this variability. Tr. 724:23-725:1 (Forrest). But a POSA would not have extrapolated PP1M PK

data to PP3M, and if attempting to do so, a POSA would have utilized every parameter known to

influence PP1M PK. Tr. 813:13-16, 821:20-822:11 (Gobburu); cf Tr. 720:1 (Forrest) (“You use

all the data you had at hand.”). Dr. Forrest did not. Tr. 567:12-15 (Sommi), 820:8-10 (Gobburu).

               ii.    Dr. Forrest’s model ignored PP1M’s complex absorption

       Samtani 2009 teaches that “a dual absorption pharmacokinetic model best described the

complex pharmacokinetics of [PP1M].” PTX-118 at 1; Tr. 570:9-12 (Sommi). This reflects

PP1M’s “biphasic” absorption. Tr. 727:19-21 (Forrest); Tr. 570:9-16 (Sommi).             The dual

absorption model “is rather more complex than the simplified [model] that was used by Dr.

Forrest.” Tr. 821:20-822:2 (Gobburu).

       Dr. Forrest acknowledges that a biphasic absorption process has an initial zero-order

component, Tr. 727:22-24 (Forrest), through which “a fraction of the dose f2 is absorbed relatively

quickly.” PTX-118 at 1; Tr. 728:4-6 (Forrest). “[T]he zero order process really talks about where

the concentration goes up really quickly. That’s a burst of concentration.” Tr. 570:17-22 (Sommi).

Following the zero-order process, there is a first-order process that “allows that drug to be given

over a longer period of time.” Tr. 570:23-571:6 (Sommi).

       Forrest admitted that PP3M’s absorption, like PP1M’s, “could also be divided

biphasically.”29 Tr. 728:10-13 (Forrest). But Dr. Forrest’s models focused only on the elimination

phase, using only a simple first-order equation for both PP1M and PP3M. Tr. 728:14-729:7,

742:23-24; Tr. 784:16-19 (Forrest) (“I wasn’t trying to count from the very beginning because

that’s not very important for re-dosing”); Tr. 571:13-19 (Sommi). According to Dr. Forrest, he



29
  Biphasic/dual absorption comprises zero order kinetics, the “burst of concentration” that “goes
up really quickly” after injection, and first order kinetics, the “really … slow absorption that
accounts for why [PP1M or PP3M] could be given every one or three months.” Tr. 570:14-571:6.
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did not include a zero-order absorption “because that was such a minor component.” Tr. 514:19-

21, 729:3-10 (Forrest) (“Yes, 17%”). But, as Dr. Sommi credibly explained, a POSA would have

understood that 17% of the drug being absorbed through the zero-order initial burst was not

“minor,” but “about somewhere between the fifth and the sixth of the dose, … a pretty significant

amount.”    Tr. 571:7-12 (Sommi).       A POSA would have found Dr. Forrest’s approach

“unscientific” because he focuses only on “a sliver of time window and ignor[es] the rest.” Tr.

827:11-15 (Gobburu).

              iii.     Dr. Forrest extrapolates PP3M’s absorption rate (Ka) from PP1M

       For Dr. Forrest’s simple first order model to work, Dr. Forrest needed an absorption rate

constant (“Ka”) for PP3M. Tr. 735:15-18 (Forrest). But PP3M’s Ka was not known in the prior

art. Tr. 574:10-14 (Sommi); Tr. 815:2-7 (Gobburu). So, Dr. Forrest extrapolated PP1M’s Ka from

Samtani 2009’s PP1M model and divided it by three. Tr. 735:19-736:5 (Forrest) (“[PP3M] is

meant to last three times longer, so one third absorption rate is an estimate.”); Tr. 574:15-20

(Sommi); Tr. 815:17-18 (Gobburu).

       But Dr. Forrest’s extrapolation was not reasonable. Samtani 2009’s PP1M Ka was based

on a pop-PK model that accounted for biphasic absorption; it could not be plugged into a simple

first-order model. Tr. 573:15-22, 574:21-575:1 (Sommi). A POSA would have known that “the

pharmacokinetics of PP1M at least were rather complicated and complex and very different from

what we had up until that point in the market. …[S]imple math probably wasn’t going to work.”

Tr. 555:16-22 (Sommi).

       Dr. Gobburu agreed that this approach was “unscientific.” Tr. 802:23-804:7, 813:9-12

(Gobburu) (“The use of [PP1M] data to extrapolate to [PP3M] data is not based on science.”). Tr.

813:10-12 (Gobburu). “If you change the formulation” from PP1M to PP3M, you “cannot predict



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the pharmacokinetics of the new formulation.” Tr. 848:15-19 (Gobburu); Shaw Dep. Tr. at 136:4-

8 (“[W]ithout measuring the blood level, you wouldn’t know in any way . . . what Mylan’s

proposed PP3M PK profile would look like.”). Thus, a POSA would not have had a reasonable

expectation of success in following Dr. Forrest’s approach and extrapolating the absorption

characteristics of PP3M from data about PP1M. Tr. 815:5-20 (Gobburu); Tr. 555:25-556:4

(Sommi).

       But the data undermines that approach’s validity. Dr. Forrest posited a simple equation for

doing so: “the half-life is related to the natural log of two divided by the Ka.” Tr. 489:25-490:1

(Forrest); Forrest Demonstratives Slide 54; see also Tr. 576:3 (Sommi) (“So half-life equals 0.693

divided by Ka.”). Based on the Ka Dr. Forrest used for modeling a PP3M injection in the

gluteal muscle (0.003904), the half-life of PP3M would be 179 days. Tr. 737:25-738:14, 739:18-

22 (Forrest). This is nearly twice as long as the PP3M half-life that he assumed for his 4-5 half-

life theory—90 days. Plugging Dr. Forrest’s PP1M Ka (0.0117) into the same equation reveals

the same issue: a 60-day half-life, twice the 30-day half-life Dr. Forrest assumed in his 4-5 half-

life theory, and more than the longest known half-life of PP1M, i.e., 49 days. Tr. 576:3-577:3,

577:4-9, 593:13-19 (Sommi).

       Dr. Forrest attempted to explain a distinction between half-life for multi-dose versus single-

dose injections. Tr. 738:11-16 (Forrest). But Dr. Gobburu credibly explained that the “half-life

of a drug . . . is constant over single to repeated dosing in patients. So the half-life would remain

the same for paliperidone absorption.” Tr. 818:15-819:14 (Gobburu).

               iv.     Dr. Forrest’s “validation”

       To validate their PP1M pop-PK model, Samtani 2009’s authors used data from two

different clinical studies, “includ[ing] 394 (21.9%) subjects who contributed to 2776 (15%) plasma



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samples.” PTX-118 at 2. Conversely, Dr. Forrest used a handful of median plasma concentration

data points for only one PP1M dose (the 100 mg eq. dose) extracted from Figure 1a of Samtani

2009. Tr. 506:9-22 (Forrest). But as Dr. Gobburu credibly explained, “there is a discordance

between when the actual data … rise up to the peak versus when the [projected concentrations]

raises up to its peak, and the difference in simple terms between the two is about eight days,” or

“more than 25%” of the 28-day cycle. Tr. 825:16-826:17 (Gobburu); Gobburu Demonstratives

Slide 15.

       Dr. Forrest relied on that model to project that plasma concentrations would reach or drop

below the therapeutic window minimum (7.5 ng/mL) at 9 months to set the back end of the dosing

window (as in the Asserted Claims). Tr. 512:25-513:7 (Forrest); Tr. 584:1-7 (Sommi). But again,

Dr. Forrest’s data is selective: he picked only the 350 mg eq. dose of PP3M to simulate in his

model, not the other three (175, 263, and 525 mg eq.). Tr. 740:13-26 (Forrest).

       A POSA would have simulated them all if the doses were known, or at least simulated 525

mg eq., the highest dose. Tr. 580:23-582:12 (Sommi); see also PTX-192 at 55 (“



                                                                                                 ”);

PTX-161 (Samtani 2011), “Dosing and Switching Strategies for Paliperidone Palmitate: Based on

Population Pharmacokinetic Modelling and Clinical Data” (teaching that PP1M’s highest dose had

been used to select PP1M’s reinitiation regimen). The reason for this, as a POSA would know, is

that “people with the highest dose are going to have the highest leftover concentrations.” Tr.

581:5-581:11 (Sommi). “[I]f you don’t get it right . . . and you restart [the regimen], they’ve got

too much left, you run the risk of overshooting your target concentration and you get side effects.”

Tr. 581:12-20 (Sommi).



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       If Dr. Forrest had simulated the highest 525 mg eq. dose, the back end of the dosing

window would have been “at some point in time after the nine months.” Tr. 581:9-11, 584:8-15

(Sommi). Conversely, if Dr. Forrest had simulated a dose smaller than 350 mg eq., the time to

cross the 7.5 ng/mL therapeutic minimum threshold would have been sooner than 9 months. Tr.

584:22-24 (Sommi).

               3. Mylan failed to prove motivation to combine prior art to arrive at the Asserted
                  Claims with a reasonable expectation of success

               a. Mylan did not prove any motivation to treat the 4-9 month missed dose patient
                  population with a reasonable expectation of success

       Dr. Forrest attempted to identify the 4-month front end of the dosing window using

multipliers extrapolated from the Sustenna Label, and JAMA to arrive at the 9-month back end—

neither credibly, as discussed above. A POSA would have had no reasonable expectation of

success in extrapolating in this manner, but would have at least analyzed the front and back end in

the same way. Tr. 558:15-560:1 (Sommi). Dr. Forrest’s inconsistent approaches to the data

evidence his hindsight-driven approach; in other words, not an approach a POSA would have used,

much less one with a reasonable expectation of success. Indeed, Dr. Forrest admitted that this is

tantamount to “guessing.” Tr. 709:11-14 (Forrest).

               b. Mylan did not prove any motivation to use, or a reasonable expectation of
                  success in combining the elements of the prior art

       Even if Mylan could prove that the Asserted Claims were disclosed in the prior art, Mylan

has also failed to prove by clear and convincing evidence that a POSA would have had a motivation

or reason to combine elements of the prior art to arrive at the Asserted Claims’ reinitiation dosing

regimen with a reasonable expectation of success. In re Cyclobenzaprine, 676 F.3d at 1068-69.

       The 693 Patent was the first LAIA that recommended using two different long-acting

injectable formulations to manage a missed dose. Tr. 557:14-17 (Sommi). The Sustenna Label

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instructs to “resume the same dose [of Sustenna] the patient was previously stabilized on.” Tr.

556:19-557:6, 589:18-21 (Sommi); PTX-106 at 5. For PP1M missed doses, patients are reinitiated

with PP1M (not a different formulation), Tr. 704:21-705:5 (Forrest), at the same dose that was

missed (except for the highest dose), Tr. 705:9-13 (Forrest). There was nothing obvious, in other

words, about using a non-PP3M formulation to reinitiate a patient that had been advanced to

PP3M. Tr. 555:5-7 (Sommi); Tr. 741:7-12 (Forrest) (“the prior art just teaches giving PP1M, then

PP3M”).

       Indeed, even Dr. Berger—who has 50 years of clinical experience with antipsychotics, Tr.

159:14-23—agrees with Dr. Sommi, testifying that “before []Trinza came out” (i.e., before the

effective filing date of the 693 Patent), treating a patient who had missed a PP3M dose with PP1M

catch-up doses would have been “a bad idea” that was “unsafe,” “unreasonable,” and/or “unwise.”

Tr. 262:9-263:9, 1048:9-22 (Berger).30

       Dr. Forrest argued that the Asserted Claims’ reinitiation regimen was obvious because a

POSA would have known that PP1M is “faster acting” and “it was known that a PP1M could be

used to load them up with drug pretty rapidly so they would be in steady state range for their repeat

injections.” Tr. 413:20-414:3; Tr. 741:13-18 (Forrest). But Dr. Forrest was unable to point to any

credible evidence that taught that PP1M reaches therapeutic levels any faster than PP3M. Tr.

742:5-11 (Forrest).




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   Dr. Berger later clarified that he did not mean it was unsafe “in all instances,” he nevertheless
reiterated that it was “far safer” and “far wiser” to reinitiate nonnadherent patients directly on
PP3M rather than by using the dosing regimen of the Asserted Claims. Tr. 1043:5-24 (Berger).
In other words, Dr. Berger—who rightly emphasized his 50 years of experience as a psychiatric
practitioner—saw no reason to use PP1M after a patient has been advanced to PP3M, and had no
reasonable expectation of success in doing so. This merely bolsters Janssen’s point that reinitiating
patients who missed PP3M doses with PP1M was not obvious.
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       Dr. Forrest suggested that PP1M is faster-acting because PP3M may include larger particle

sizes that are slower to absorb. Tr. 400:25-401:5, 406:19-407:3, 410:9-12 (Forrest). But that

“would account for the back end of why you can dose this drug for three months,” not what

happens at the initial burst. Tr. 594:16-595:7 (Sommi) (“We don’t know anything about the initial

release.”). Indeed, Dr. Forrest’s flawed modeling suggests identical PP1M and PP3M absorption.

Tr. 592:14-17 (Sommi), 828:15-25 (Gobburu); PTX-100D at 2.

       Dr. Forrest admitted as much. Tr. 745:8-746:3, 746:18-25, 748:6-10 (Forrest); PTX-100D

at 2. And this was true even though his comparison was skewed to favor faster absorption of

PP1M by comparing the projected concentrations following 100 mg eq. of PP1M in the deltoid

muscle versus 350 mg eq. of PP3M in the gluteal. Tr. 596:2-9 (Sommi). But deltoid injections

result in a faster initial plasma concentration rise than gluteal injections, facilitating a more rapid

attainment of therapeutic concentrations. Tr. 726:25-727:2, 747:15-20 (Forrest); Tr. 596:2-4

(Sommi); Tr. 829:6-8 (Gobburu). Dr. Forrest “could have modeled PP1M deltoid to PP3M

deltoid,” but did not. Tr. 596:2-9 (Sommi). If he had, the initial concentration rise for PP3M

“would have been faster,” Tr. 749:10-14 (Forrest), undermining Dr. Forrest’s assumption that

PP1M is “faster acting.” Tr. 829:13-17 (Gobburu).

       As Drs. Gobburu and Sommi explained, since the art lacked PK data about PP3M, a POSA

would have had no reason to believe that PP1M would reach therapeutic concentrations faster than

PP3M when used for reinitiation. Tr. 593:24-594:13 (Sommi); Tr. 827:24-828:10 (Gobburu);

Shaw Dep. Tr. 136:9-12. Nothing in the prior art would have motivated a POSA to use PP1M

after a patient advanced to PP3M. Tr. 598:11-13, 598:16-17 (Sommi). Nor would there have been

any reasonable expectation that PP1M would reach therapeutic levels more rapidly than PP3M.

Tr. 593:24-594:9, 598:18-21 (Sommi). Thus, a POSA relying on Dr. Forrest’s modeling-based



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approach would have had no reason or motivation to reinitiate PP3M patients in an intermediate

time window using PP1M, and, if anything, would have dissuaded from using PP1M. See Tr.

829:13-22 (Gobburu).

       Other prior art bolsters this point. For example, patients missing an injection of Abilify

Maintena, a different LAIA, received a Maintena injection supplemented with oral Abilify. Tr.

590:21-591:9 (Sommi); PTX-168 at 3-4. The Risperdal Consta label, another LAIA, likewise

instructed administration of a missed Risperdal Consta injection supplemented with oral

antipsychotic, and taught using this approach when “there are no data to specifically address

reinitiation of treatment.” Tr. 591:10-18 (Sommi); PTX-187 at 7.

               c. Mylan did not prove any motivation to use, or a reasonable expectation of
                  success in using, PP1M to reinitiate PP3M

       There was also no motivation to use PP3M without first stabilizing the patient for four or

more months on PP1M. Every PP3M reference relied on by Dr. Forrest required patients to be

stabilized on PP1M for at least 4 months before advancing to PP3M. In the placebo-controlled

study—as described in JAMA and the 2014 Press Release—all patients were stabilized on PP1M

for 17 weeks before advancing to PP3M. Tr. 542:3-9, 553:10-15, 645:18-21 (Sommi). Similarly,

in the study that compared PP3M to PP1M—as described in NCT 423—“[e]verybody was given

PP1M” for 17 weeks to be stabilized on PP1M before half the patients advanced to PP3M. Tr.

541:11-18 (Sommi).

       Thus, if a patient who missed a dose of PP3M were given PP1M, there would have been

no reason or motivation to advance them to PP3M without first stabilizing them on PP1M for at

least 17 weeks, since that was the only way PP3M was reportedly used in the prior art. See Tr.

686:2-14 (Forrest).




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               4. Objective indicia of the Asserted Claims’ nonobviousness

       Objective indicia of nonobviousness, or real-world facts related to the invention, also

known as “secondary considerations,” are “essential safeguards that protect against hindsight bias”

in the obviousness analysis. Liqwd, Inc. v. L’Oreal USA, Inc., 941 F.3d 1133, 1136-37 (Fed. Cir.

2019); see also WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1328 (Fed. Cir. 2016) (“The objective

indicia of non-obviousness play an important role as a guard against the statutorily proscribed

hindsight reasoning in the obviousness analysis.”). Long-felt but unmet need for the patented

technology, the commercial success of a product embodying that technology, and skepticism that

the invention will work are all recognized as objective evidence that the claimed inventions are

nonobvious. See Mintz v. Dietz & Watson, Inc., 679 F.3d 1372, 1379-80 (Fed. Cir. 2012)

(collecting cases). Where present, these object indicia “weigh in favor of nonobviousness,

although the lack of such evidence does not weigh in favor of obviousness.” Miles Labs., Inc. v.

Shandon, Inc., 997 F.2d 870 (Fed. Cir. 1993).

       Contrary to Mylan’s contention, there is no “burden-shifting framework” involved in the

consideration of nonobviousness in district court litigation. See In re Cyclobenzaprine, 676 F.3d

at 10777. Objective indicia are “part of the whole obviousness analysis, not just an afterthought.”

Leo Pharm. Prods. Ltd. v. Rea, 726 F.3d 1346, 1357-58 (Fed. Cir. 2013). They “must be

considered in every case where present.” Apple, Inc. v. Samsung Elecs. Co., 839 F.3d 1034, 1048

(Fed. Cir. 2016) (en banc) (emphasis added).

       To support nonobviousness, objective indicia must bear a “nexus” to the Asserted Claims,

i.e., the indicia must be “attributable to the inventive characteristics of the discovery as claimed in

the patent.” In re Cyclobenzaprine, 676 F.3d at 1079 n.6. The determination of nexus is “highly

fact-dependent and, as such [is] not resolvable by appellate-created categorical rules and



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hierarchies as to the relative weight or significance of proffered evidence.” WBIP, 829 F.3d at

1331.

        Here, the real-world evidence confirms that the Asserted Claims would not have been

obvious; rather, the Claims helped fulfill a long-felt clinical need and contributed to Trinza’s

commercial success. The evidence also showed that some HCPs—including Mylan’s expert Dr.

Berger—were skeptical of the Asserted Claims. Thus, the evidence supports nonobviousness.

               a. The Asserted Claims’ dosing regimens helped Trinza fulfill the long-felt but
                  unmet need for a longer, second-generation LAI

        “The existence of a long-felt but unsolved need that is met by the claimed invention is …

objective evidence of non-obviousness.” Millennium Pharms., Inc. v. Sandoz Inc., 862 F.3d 1356,

1369 (Fed. Cir. 2017). “It is reasonable to infer that the need would have not persisted had the

solution been obvious.” WBIP, 829 F.3d at 1332. The need for a “safer, less toxic, and more

effective” alternative to existing antipsychotic therapies has been specifically recognized as a basis

for finding unmet need. Eli Lilly & Co. v. Zenith Goldline Pharms., Inc., 471 F.3d 1369, 1380

(Fed. Cir. 2006).

        LAIAs were developed to address a persistent challenge of treating schizophrenia, patient

non-adherence, by reducing dosing frequency. Tr. 871:24-873:23 (Kohler); 1034:24-1035:6,

1060:17-25 (Berger). Longer dosing intervals increase adherence. Tr. 873:13-23 (Kohler).

        But LAIAs have their disadvantages. First, longer dosing intervals elevate the risk of

sustained and debilitating side effects, including painful muscle contractions and extreme

restlessness. Tr. 872:14-24, 875:9-18 (Kohler). Unlike oral medications, which are metabolized

in days, LAIAs remain in the body for weeks or months, causing side effects to linger and

sometimes requiring additional treatment or hospitalization. Tr. 875:9-24 (Kohler). Thus, though




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proper dosing is always important, dosing long-acting drugs is more important because the side

effects of overdosing will take longer to abate.

       The second disadvantage of LAIAs is that HCPs must administer them. Tr. 874:15-18

(Kohler). Returning for medication frequently can be challenging for patients who must balance

their schizophrenia treatment with the rest of their lives. Tr. 874:16-21 (Kohler). As of 2015,

there were four second-generation LAIAs on the market in the U.S., with dosing intervals ranging

from two weeks to five weeks. Tr. 874:3-10 (Kohler); PTX-089C at 10. Given these relatively

short dosing intervals, there “definitely was a need” at that time for an LAIA with a longer dosing

interval. Tr. 874:13-15 (Kohler).

       Trinza met that need by offering a three-month dosing interval that was more than twice as

long as any LAIA on the market at the time. Tr. 876:5-9 (Kohler). Dr. Kohler testified that Trinza

was “very well received” by the field and that the medication “frees” patients to pursue a “more

independent functioning” lifestyle. Tr. 876:4, 883:24-884:3 (Kohler). Dr. Berger agreed that

Trinza is “a wonderful drug.” Tr. 1058:21-24 (Berger).

       But it is not Trinza’s long-felt but unmet need that matters here, but the Asserted Claims’

missed dosing regimen. Trinza, for all its benefits, did not eliminate nonadherence. Tr. 884:4-7

(Kohler); 1060:17-19 (Berger) (nonadherence remains a “common occurrence”).                   And

nonadherence to a 3-month LAIA presents unique challenges: undertreatment leading to relapse

or overtreatment leading to debilitating side effects further undermining adherence. Tr. 886:4-10

(Kohler). The balance between relapse and side effects is further complicated by clinicians’

“limited knowledge about pharmacokinetics, pharmacodynamics [and] how long the product lasts

to exert clinical efficacy.” Tr. 889:15-17 (Kohler).




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       Enter the Asserted Claims’ missed dosing regimen, which provides “clear instructions

about how to catch a person up to the previously effective treatment regimen” without requiring

experimentation by practitioners with limited pharmacological knowledge. Tr. 884:8-10, 886:4

(Kohler). Trinza would not have met the long-felt need for a longer-acting LAI without the

patented missed dose instructions; clinicians “would have been very reluctant in transferring stable

patients on Invega Sustenna to Invega Trinza.” Tr. 889:21-24 (Kohler).

               b. The Asserted Claims’ dosing regimens have contributed to Trinza’s
                  commercial success

       “When a patentee can demonstrate commercial success, usually shown by significant sales

in a relevant market, and that the successful product is the invention disclosed and claimed in the

patent, it is presumed that the commercial success is due to the patented invention.” Ormco Corp.

v. Align Tech., Inc., 463 F.3d 1299, 1312 (Fed. Cir. 2006). Evidence of commercial success also

requires the patentee to establish this nexus between the claimed invention and the commercial

success of a product or method. Datatreasury Corp. v. Wells Fargo & Co., No. 2:06-CV-072,

2010 U.S. Dist. LEXIS 150694, at *54 (E.D. Tex. Feb. 26, 2010); see Alcon Rsch. Ltd. v. Apotex,

Inc., 687 F.3d 1362, 1371 (Fed. Cir. 2012).

       The analysis becomes more complex in situations like this one, where there is no question

that a product (Trinza) is clearly commercially successful, but the asserted claims are just a portion

of the product. See Ormco., 463 F.3d at 1312 (acknowledging that Invisalign clear orthodontic

system was commercially successful, but finding that Invisalign’s success was not due to the

claimed and novel features, but at least in part to unclaimed features like the aesthetic appeal and

improved comfort of transparent devices without brackets and wire). “It is not necessary, however,

that the patented invention be solely responsible for the commercial success, in order for this factor

to be given weight appropriate to the evidence.” Cont’l Can Co. v. Monsanto Co., 948 F.2d 1264,

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1273 (Fed. Cir. 1991). Rather, nexus is established with evidence that “consumers would be less

likely to purchase [a product] without” the feature enabled by the patented invention. Apple, 839

F.3d at 1054-56 (though many other features contributed to the iPhone’s commercial success and

many iPhone owners did not care about it, the slide-to-unlock feature of the iPhone contributed to

its commercial success, which was relevant to nonobviousness).

                i.      Trinza is a commercial success

       “Invega Trinza’s been a success in the marketplace” by multiple economic metrics. Tr.

1088:17-18 (Mulhern). Trinza has generated more than $2.5 billion in sales since launch. Tr.

1083:16 (Mulhern); Tr. 1160:10-13 (Stec); PTX-089C at 3; PTX-530. Sales have grown

substantially, with an annual compound growth rate of
                                                         -  % since launch, and net sales of $570

million in 2021. Tr. 1083:13-18 (Mulhern); PTX-089C at 3; PTX-530. Mylan does not dispute the

math. Tr. 1160:6-9 (Stec).

       This success is despite a crowded LAIA market: nine second-generation LAIAs introduced

since the early 2000s. Tr. 1084:19-21 (Mulhern). Nevertheless, Trinza has captured the third-

highest share of both treatment days and sales among second-generation LAIAs, representing 8.8%

of the total treatment days and 12.6% of 2021 LAIA revenue. Tr. 1086:1-3; 1086:21-24 (Mulhern);

PTX-089C; PTX-410; PTX-528. Trinza has generated a larger share of revenue than

                                           PTX-089C at 48; PTX-410. Among PP LAIAs, Trinza

accounted for
                -    % of treatment days for patients eligible to switch from Sustenna in 2021;

Janssen is correct that this is particularly notable because Sustenna patients are, by definition,

adequately treated and therefore not required to switch to Trinza. Tr. 1088:1-12 (Mulhern); PTX-

089C at 25-27, 29-30.




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               ii.     There is a nexus between the Asserted Claims and Trinza’s success

       Janssen readily admits that the missed dose instructions are not the sole driver of Trinza’s

commercial success, but argues that the Asserted Claims’ missed dosing instructions contribute

materially to an HCP’s decision to prescribe Trinza because the Claims “enable[] the safe and

effective treatment in the event of a missed dose of Invega Trinza.” Tr. 889:21-24, 892:11-16

(Kohler); 1096:17-20, 1100:2-8, 1101:5-7, 1091:20-21 (Mulhern).

       Given the strong potential for missed doses among psychosis patients, clear instructions

for resuming treatment following a missed dose are important to any LAIA’s safety and long-term

efficacy.   Tr. 884:8-13 (Kohler).     Without such instructions, a clinician would be left to

“experiment” on patients with limited knowledge of the drug’s PK necessary to determine the best

way to resume treatment. Tr. 886:2-10; 890:10-22, 891:23-892:3 (Kohler); PTX-97 at 17. Indeed,

a peer-reviewed paper found that the lack of clear directions for re-initiating after a missed dose

contributes to clinicians’ reluctance to prescribe certain LAIAs in the first instance. PTX-97 at 17.

       Janssen’s own marketing materials reinforce the nexus. Tr. 1092:6-9; 1094:9-1096:12

(Mulhern); PTX-449 at 1; PTX-509 at 62, 64, 66-68, 76; PTX-510 at 45, 47, 49-51, 58; PTX-513

at 75. Janssen presents the missed dose instructions prominently in its marketing materials and

sales training documents, and has even created a “dose illustrator” website to educate clinicians

about the pharmacokinetics of Trinza’s dosing instructions—including the Claims’ missed dose

instructions. Tr. 1095:12-1096:3 (Mulhern); PTX-449.

       Further supporting the nexus is that a significant number of patients miss LAIA doses. Tr.

884:4-7 (Kohler); 1060:17-25 (Berger) (nonadherence is a “common occurrence … It is an

important challenge.”). Thus, HCPs would be very unlikely to switch patients already treated with

one PP product (Sustenna) to another using the same active ingredient (Trinza), unless that second



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product included clear instructions for how to proceed in the event of a missed dose. Tr. 892:11-

23 (Kohler). This further supports that the Asserted Claims “contribute[] to the commercial and

clinical acceptability of switching a stable Invega Sustenna patient to Invega Trinza,” Tr. 1091:18-

24 (Mulhern), and therefore “contribute to the marketplace success of Invega Trinza,” Tr. 1096:17-

20 (Mulhern).

        Moreover, the patient population specifically addressed by the Asserted Claims is

economically significant. Tr. 1161:1-10 (Stec). Dr. Berger testified that more than 50% of his

patients on Trinza miss a regularly schedule dose, and of those, 20 to 30% return more than four

months after their prior dose. Tr. 251:5-14 (Berger). Dr. Kohler testified that 5 of the 70 patients

he has treated with Trinza, or 7%, have missed a dose and returned in the four-to-nine-month

window to resume treatment with Trinza according to the Asserted Claims. Tr. 888:17-21

(Kohler). Both experts’ experiences are consistent with the literature on the frequency of missed

doses. Tr. 1092:24-1094:8 (Mulhern) (between 17 and 24% of patients depending on the study).

        Moreover, the Court is persuaded by Janssen’s argument that the nexus between Trinza’s

commercial success and the Asserted Claims is not limited to sales of doses administered pursuant

to the Asserted Claims’ reinitiation dosing regimen. Mylan’s expert, Dr. Stec, acknowledged that

a claimed invention need not be the primary driver of commercial success. Tr. 1167:18-19 (“[I]t

doesn’t have to be the sole driver[.]”), 1167:23-1168:3 (“Q: If a patent invention contributes but

isn’t necessarily the primary driver, is it still relevant? A. It potentially could be, but you do an

analysis to determine that.”). Here, the regimen adds significant “option value” like an airbag or

other safety feature in a vehicle; though it is not certain, or even probable, that the airbag will ever

be needed, it is a significant purchase factor for many buyers. See Tr. 1100:12-1101:2 (Mulhern).

Thus, the Asserted Claims have contributed to Trinza’s commercial success.



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               c. Skepticism of the Asserted Claims’ efficacy

       Evidence of “[d]oubt or disbelief by skilled artisans regarding the likely success of a

combination or solution” provides evidence that the solution is nonobvious. WBIP, 829 F.3d at

1335. “Concern” that a claimed invention is “risky” is the type of skepticism that “support[s] a

conclusion of nonobviousness.” Neptune Generics, LLC v. Eli Lilly & Co., 921 F.3d 1372, 1377-

78 (Fed. Cir. 2019).

       Clinicians have expressed skepticism that the Asserted Claims’ reinitiation regimen would

successfully re-initiate patients on Trinza. Initially, in service of his non-infringement testimony,

Dr. Berger testified that it was “unsafe” and “unreasonable” and a “bad idea” to follow the Asserted

Claims’ regimen. Tr. 262:9-263:9 (Berger). But later, Dr. Berger, recalled to discuss objective

indicia as part of Mylan’s obviousness case, testified that the Asserted Claims were not unsafe “in

all instances.” Tr. 1043:5-10 (Berger). But Dr. Berger then confirmed again that it is “far safer”

or “far wiser” to ignore Trinza’s FDA-approved label and instead administer the next dose of

PP3M to nonadherent patients who return within 4 to 9 months. Tr. 1043:11-24 (Berger).

       Dr. Berger also recalled that he and his colleagues doubted whether Trinza would provide

the promised therapeutic benefit for the full 3-month dosing interval. Tr. 1058:15-19 (Berger). Dr.

Kohler likewise testified that clinicians doubted Trinza’s long dosing interval, and that the

Asserted Claims’ re-initiation regimen could create a “particular challenge,” due to its requirement

that patients return to their HCP three times in 35 days. Tr. 885:14-18, 889:13-18 (Kohler).

Accordingly, there is ample record in the evidence to support Janssen’s contention that the

Asserted Claims were met with skepticism.




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       C.      INVALIDITY: Mylan failed to establish that the Asserted Claims are invalid

       Mylan’s invalidity challenge requires it to prove “by clear and convincing evidence that a

person of ordinary skill in the art would not be able to practice the claimed invention without

‘undue experimentation.’” Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293, 1309 (Fed. Cir. 2015)

(citation omitted). Dr. Forrest opined, in the alternative to his obviousness arguments, that the

terms “PP1M” and “PP3M” appearing in the Asserted Claims are: not enabled and lack written

description under 35 U.S.C. § 112. In other words, “[i]f the claims aren’t obvious, then [they] are

invalid because they lack enablement” and “[t]hose same claims are, if not obvious, invalid

because they lack sufficient written description.” Tr. 516:1-8, 750:17-751:2 (Forrest). The Court

finds these opinions unpersuasive.

               1. The Asserted Claims are enabled

       “Whether undue experimentation is required is not a single, simple factual determination,

but rather is a conclusion reached by weighing many factual considerations [i.e., the Wands

factors].” Cephalon, Inc. v. Watson Pharms., Inc., 707 F.3d 1330, 1336 (Fed. Cir. 2013) (cleaned

up); In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988). The Wands factors include:

       (1) the quantity of experimentation necessary, (2) the amount of direction or
       guidance presented, (3) the presence or absence of working examples, (4) the nature
       of the invention, (5) the state of the prior art, (6) the relative skill of those in the art,
       (7) the predictability or unpredictability of the art, and (8) the breadth of the claims.

Cephalon, 707 F.3d at 1336 (quoting Wands, 858 F.2d at 737).

       The issue with using Dr. Forrest for both obviousness and non-enablement/written

description is that Dr. Forrest, by virtue of arguing primarily for obviousness (and focusing most




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analysis there), lacked “conviction” about the alternative arguments.31       The arguments are

inherently contradictory.

       But setting that aside, Mylan argues that a POSA could not practice the full scope of the

Asserted Claims without “a lot” of experimentation because (1) the Asserted Claims do not specify

the particle size or preferred excipients and concentrations for PP1M and PP3M and the terms are

therefore very broad, and (2) there are “no working examples” in the 693 Patent. Tr. 516:21-

517:11, 518:3-519:2, 754:6-10 (Forrest). Both are incorrect.

               a. The specification provides enough information to practice the Asserted Claims

       Although the Asserted Claims do not specify the particle size or excipients (and their

concentrations) of PP1M and PP3M, the 693 Patent’s specification does disclose those features,

and others. Tr. 962:13- 963:7 (Little); Tr. 517:23-518:8 (Forrest). Indeed, the 693 Patent contains

“ample information in the specification about all the structural features” of PP1M and PP3M such

that the specification “hand[s] a person of ordinary skill in the art the recipes to make PP3M and

PP1M” for use in the Asserted Claims. Tr. 962:21-963:4 (Little).

       First, the 693 Patent contains the concentration and ingredients, specifically PP1M and

PP3M “recipes” that contain “sufficient information for a POSA to be able to make and use the

claimed invention.” Tr. 963:5-7, 964:14-965:8, 968:24-969:4 (Little); PTX-1 at 13:49-56, 13:62-

14:3.32 Second, The 693 Patent specification also provides the particle size range for PP3M and

PP1M, including preferred particle size ranges. PTX-1 at 9:38-01; Tr. 971:5-22 (Little).



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   The Court is unpersuaded by Dr. Forrest’s explanation that he did not understand the phrase,
“abiding or strong conviction.” Tr. 769:1-20.
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   PP is the “prodrug” referred to in the specification. A POSA would be familiar with the classes
of listed excipients, including wetting agents, suspending agents, and buffers. Tr. 965:12-23
(Little). The 693 Patent specification includes both lists of exemplary excipients and of preferred
excipients for PP1M and PP3M. Tr. 965:14-966:20, 967:7-13 (Little); see, e.g., PTX-1 at 10:1-
30, 13:3-13; 4:33-39; 13:56-61; 14:9-13.
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        Third, the 693 Patent specification also provides general and specific manufacturing

instructions sufficient to enable a POSA to prepare the particles. PTX-1 at 11:14-29; Tr. 978:13-

979:9 (Little). This includes the preferred procedure for adding the surface modifier to the premix,

including the concentration of the surface modifier, PTX-1 at 11:50-56; the types of mills that can

be used as mechanical means to grind down the particles, PTX-1 at 12:1-6; the preferred grinding

media, as well as its density and composition, PTX-1 at 12:24-26; the specific order of steps for

adding the premix, PTX-1 at 11:59-61; and the processing temperatures, PTX-1 at 12:34-35. See

Tr. 979:11-980:19 (Little).

        Fourth, the 693 Patent also contains “preferred” examples of the formulations with

“specific inactive ingredients” and concentrations, down to the “concentration … to put into the

syringe.” Tr. 967:7-968:1, 969:5-21, 982:21-983:8 (Little); PTX-1 at PTX-1 at 4:33-39, 13:56-

62. The 693 Patent also discloses Sustenna as an example of PP1M and Trinza as an example of

PP3M. See PTX-1 at 4:18-19, 5:23-24, 5:44-46, and 6:63-65 (Sustenna); PTX-1 at 5:42-47

(Trinza). Dr. Forrest is therefore incorrect that there are “no working examples” of PP1M or

PP3M.

               b. “PP1M” and “PP3M” are not unduly broad

        The 693 Patent describes PP1M and PP3M’s structural features. Tr. 962:21-963:4 (Little)

(describing structural features as recipes for PP1M and PP3M); Tr. 517:1-6 (Forrest) (“you have

to go to the specification to understand what a PP1M and what a PP3M encompasses”); see also

Tr. 518:3-8, 757:4-8 (Forrest). According to Dr. Forrest, however, the terms PP1M and PP3M

encompass “well over 10 million possible combinations” because the structural features include

“broad” particle size ranges and “long list[s]” of possible excipients. Tr. 518:3-12, 520:3-14

(Forrest).



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       However, a POSA would not view the 693 Patent’s disclosure about PP1M and PP3M as

encompassing 10 million individual formulations. Tr. 980:23-981:6 (Little). It is standard to

describe individual formulations using ranges for particle sizes or ingredients. See Tr. 1030:23-

1031:5 (Little).    But even if the Asserted Claims did encompass millions of individual

formulations, a POSA would “be able to make any one of those formulations … without undue

experimentation.” Tr. 982:8-14 (Little).

       First, formulations typically contain inactive ingredients or excipients that help provide the

correct dosage form for the active ingredient, which provides the pharmacological effect. Tr.

959:14-960:4 (Little). Wetting agents, buffers, and suspending agents are all classes of excipients

included in PP1M and PP3M formulations. Tr. 965:14-23 (Little). Changing or trying different

wetting agents is something that a POSA could do without undue experimentation. Tr. 968:5-20

(Little). A POSA would be familiar with the classes of excipients used in PP1M and PP3M, as

they are “taught this in their education and they know from their experience what the[ese] class[es]

of excipients are and what they do” as well as the “amount that you would use.” Tr. 965:14-21,

966:12-20. (Little). Here, the 693 Patent discloses preferred excipients and concentrations. PTX-

1 at 14:9-13; 13:56-62; Tr. 967:16-968:1 (Little).

       As to particle size, Dr. Forrest could only explain his characterization of the particle size

ranges as “broad” based on a six-fold difference in the PP3M range and 20-fold difference for

PP1M range. Tr. 519:3-15 (Forrest). But that range is easily explainable: it is “very hard to make

particles that are all just one size because [POSAs] start with bigger particles” and “grind them

down” resulting in “a range” of particle sizes. Tr. 420:2-12 (Forrest) Tr. 961:7-15 (Little) (opining

that it is “very common to refer to particle size as a range.”). It is difficult to recreate the exact

same particle size distribution between batches, meaning that “it’s very important to report them



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in terms of a range of particle sizes.” Tr. 972:2-16 (Little). And Dr. Forrest should know: one of

his own patents claims particle size ranges with a 10,000-fold difference. Tr. 761:4-8 (Forrest);

see also Tr. 976:13-16 (Little)

                                                                                  Jindal Dep. Tr.33

42:20-22, 101:20-24, 103:18-104:7.

         Dr. Forrest testified repeatedly that the “different particle sizes and all the different

excipients” for PP1M and PP3M would require “a lot of different experimentation to test all the

possible combinations.” Tr. 517:16-22, 518:9-15, 758:24-759:3. But Dr. Forrest did not proffer

evidence that any experimentation is necessary to make and use PP1M and PP3M in the Asserted

Claims. To the contrary, a specification “gives a recipe to a person of ordinary skill in the art”

such that a POSA would know they “have PP1M” and “have PP3M” by following that recipe

without the necessity for experimentation. Tr. 981:19-982:5 (Little). It is undisputed that changes

to a formulation can affect its properties, i.e., particle size changes can impact pharmacokinetics.

Tr. 848:15-19 (Gobburu); Tr. 1024:18-24 (Little); Tr. 973:1-5 (Little). But there is no evidence

that there are any changes here that impede enablement.

         Most importantly, Mylan failed to show that any particular embodiment of PP3M or PP1M

is not enabled. McRO, Inc. v. Bandai Namco Games Am., Inc., 959 F.3d 1091, 1100 (Fed. Cir.

2020) (reversing summary judgment of non-enablement because “[w]ithout any specific examples,

the district court’s reasoning is too abstract [and] too conclusory”). Dr. Forrest was unable to

identify any specific formulation or explain why it could not be made. Tr. 756:20-757:19, 758:2-

9, 758:10-19, 765:15-19, 766:6-13, 766:14-767:6, 767:7-13 (Forrest).




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     Mylan Director of R&D Shantanu Jindal.
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               c. The Wands factors support enablement

       First, the “amount of direction or guidance presented” and “the presence or absence of

working examples” in the 693 Patent support a finding of enablement. Cephalon, 707 F.3d at 1336

(quoting Wands, 858 F.2d at 737). The “patent’s specification need not ‘describe how to make

and use every possible variant of the claimed invention.’” McRO, 959 F.3d at 1100 (quoting AK

Steel Corp. v. Sollac, 344 F.3d 1234, 1244 (Fed. Cir. 2003)). There is likewise “no requirement

that a specification must disclose what is routine and well known in the art.” Genentech, Inc. v.

Novo Nordisk A/S, 108 F.3d 1361, 1366 (Fed. Cir. 1997). Here, the 693 Patent provides guides a

POSA to make PP1M and PP3M and use them in the Asserted Claims’ dosing regimen, including

a recipe-like disclosure of ingredients, concentrations, and particle size, as well as detailed

manufacturing instructions.

       Second, to the extent that Mylan asserts that “PP1M” and “PP3M” are too broad, the “scope

of the claims must bear a reasonable correlation to the scope of enablement provided by the

specification to persons of ordinary skill in the art.” In re Deuel, 51 F.3d 1552, 1560 (Fed. Cir.

1995) (quoting In re Fisher, 427 F.2d 833, 839 (C.C.P.A. 1970)). Here, as discussed above, the

Asserted Claims are not unduly broad because they are directed to dosing regimens listing specific

formulations, amounts, timing, and injection sites. Nor are “PP1M” or “PP3M” themselves unduly

broad, because a POSA would understand the 693 Patent to limit PP1M and PP3M formulations

to the specific ingredients, concentrations, and particle sizes (or ranges) in the Patent.

       Third, Mylan failed to present any evidence about the quantity of experimentation, which

is relevant to determining whether experimentation is undue. Wands, 858 F.2d at 737. Even if the

terms PP1M and PP3M were understood to encompass tens of thousands of formulations, a POSA

would be able to use the 693 Patent’s specifications, including manufacturing instructions, to make



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any one of those formulations without undue experimentation. See also Cephalon, 707 F.3d at

1339 (“The mere potential need for clinical work, without more, is not dispositive.”); Ortho-

McNeil Pharm., Inc. v. Mylan Lab’ys, Inc., 520 F.3d 1358, 1365-66 (Fed. Cir. 2008) (“Even if

clinical trials informed the anticonvulsively effective amount, this record does not show that

extensive or ‘undue’ tests would be required to practice the invention.”).

       And fourth, Dr. Forrest did not testify that the prior art supported non-enablement. Wands,

858 F.2d at 737. Here his arguments in the alternative simply emphasize the contradiction between

testifying, on the one hand, that the prior art makes the Asserted Claims obvious, and on the other,

that they are not enabled because they are too vague. Dr. Forrest testified that “a lot was known

about [PP]” formulations in the prior art, and that it would have been obvious to make PP1M and

PP3M formulations for use in the Asserted Claims’ reinitiation regimen. Tr. 411:23-412:10

(Forrest). Dr. Forrest also testified that the effects of particle size were “well understood.” Tr.

406:19-407:3, 409:11-410:12 (Forrest). This explicitly contradicts any argument that the prior art

supported non-enablement.

               2. The Asserted Claims do not lack written description

       Mylan also failed to satisfy its burden “to establish by clear and convincing evidence that

the written description requirement was not met, in light of the presumption of validity.” Cordis

Corp. v. Medtronic AVE, Inc., 339 F.3d 1352, 1364 (Fed. Cir. 2003). The test for written

description “is whether the disclosure of the application relied upon reasonably conveys to those

skilled in the art that the inventor had possession of the claimed subject matter as of the filing

date.” Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc).

This “involves ‘an objective inquiry into the four corners of the specification from the perspective




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of a person of ordinary skill in the art.’” Immunex Corp. v. Sandoz, Inc., 964 F.3d 1049, 1063

(Fed. Cir. 2020) (quoting Ariad, 598 F.3d at 1351).

       Here, the entirety of Dr. Forrest’s written description testimony was that there are “no

working examples of a PP3M” and “no structural features of a PP1M or a PP3M,” and that the

inventors therefore “don’t show they possess the entire claimed range.” Tr. 522:13-20 (Forrest).

He added that the 693 Patent incorporates art, such as the 843 Patent that “describes a PP1M that’s

five microns that falls right in the range of what they claimed for PP3M.” Tr. 522:20-23 (Forrest).

       This can be rejected for the reasons discussed above: the 693 Patent specification provides

extensive information about the structural features of PP1M and PP3M including ingredients,

concentrations, particle size, manufacturing information, examples of PP1M and PP3M, and

commercial embodiments. Based on the specification’s disclosure, it was “very clear that the

inventors possessed what was a PP1M formulation and PP3M formulation” within the meaning of

the Asserted Claims. Tr. 985:10-24 (Little).

       Accordingly, based on this and the other analysis above, the Court finds that Mylan has not

sustained its burden of demonstrating obviousness by clear and convincing evidence.

IV.    CONCLUSION

       For the reasons above, the Court finds that Janssen has demonstrated by a preponderance

of the evidence that Mylan’s Proposed Labels will inevitably induce infringement of the 693

Patent. The Court also finds that Mylan has failed to demonstrate by clear and convincing evidence

that the Asserted Claims are invalid. Accordingly, the Court will enter judgment in favor of

Janssen and against Mylan as to the 693 Patent. The parties shall submit a joint proposed

judgment.




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      An appropriate Order, which will be filed on the public docket, accompanies this Opinion.


May 15, 2023
Date                                                             Evelyn Padin, U.S.D.J.




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02)    United States Patent                                                 (10) Paten t N o . :              US 10,143,693 B2
       Gopal e t al.                                                        (45) Date o f Patent:                            D ec . 4 , 2 0 1 8


(54) DOSING REGIMEN FOR MISSED DOSES                                   (58) Field of Classification Search
     FOR LONG-ACTING INJECTABLE                                             None
     PALIPERIDONE ESTERS                                                    See application file for complete search history.

(71) Applicant: JANSSEN PHARMACEUTICALS,                               (56)                      Referencel> Cited
                INC., Titusville, NJ (US)
                                                                                         U.S PATENT IX)CUMENTS
(72) Inventors: Srihari Gopal, Belle Mead, NJ (US);
                Paulien Gerarda Maria Ravenstljn,                             5,158,952 A         10/1992    Janssen et al.
                Waalre (NL); Alberto Russu, Lange                             5,254,556 A         10/1993    Janssen et al.
                Nieuwstraat (BE); Mahcsh Narain                               6,077,843 A          6/2000    Francois et al.
                                                                              6,555,544 82         4/2003    Francois et al.
                Samtani, Flemington, NJ (US)                            2009/0163519 Al            6/2009    Vermeulen et al.
                                                                        2011/0105536 Al            5/20 II   Lewyn-Briscoe et al.
(73) Assignee: Janssen Pharmaceuticals, Inc., Beerse                    20 I 2/0277253 Al         11/2012    Sprogoe et al.
               (BE)
                                                                                     FOREIGN PATENT IX)CUMENTS
( •) Notice:        Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35            BP                   2529757 Bl          8/2014
                                                                       WO        WO 2006/114384 Al              2/2006
                    U .S.C. I 54(b) by O days.

(21) Appl. No.: 15/090,889                                                                  OTHER PUBLICATIONS

(22)   Filed:       Apr. 5, 2016                                       International Seai·ch Repo1t re: PCT/US16/2484 t dated Ma,, 30,
                                                                       20 16.
(65)                  Prior Publication Data                           Osborne et al. "Health-relate,i quality of life advantage of long•
                                                                       acting injectable and antipsychotic a·eat:ment for schizophrenia: a
       US 2017/0281629 Al          Oct. 5, 2017                        time trade-off study". Health and Quality ofLife Outcome, pp. 1-9,
                                                                       2012, 10:35.
                Related U.S. Application Data
(60)   Provisional application No. 62/162,596, filed on May            Primary Examiner - Bong-Sook Baek
       15, 2015, provisional application No. 62/1 44,054,
       filed on Apr. 7, 2015.                                          (57)                          ABSTRACT

(51) Int. C l.                                                         The present appbcation provides a method for treating
     A61K 311519          (2006.01)                                    patients in need of psychiatric treatment, wherein said
     A61K9/00             (2006.01)                                    patient is being treated with the 3-month formulation of
     A61K 9/14            (2006.01)                                    paliperidone palmitate and fails to take the next scheduled
(52) U.S. Cl.                                                          dose of the 3-month formulation of paliperidone palmitate.
     CPC .... .... A61K 311519 (2013.01); A61K 910019
                                             (2013.0 J)                                  29 Claims, 7 Drawing Sheets




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      DOSING REGIMEN FOR MISSED DOSES                                 Paliperidone palmitate is an atypical antipsychotic drng
        FOR LONG-ACTING [ NJECTABLE                                administered by injection. The original fomrnlation of pali-
            PALIPERIDONE ESTERS                                    peridone palmitate was a once-monthly ant·ipsychotic and
                                                                   was approved for the treatment of schizophrenia in adults in
            CROSS-REFERENCE TO RELATED                             numerous countries. The acute and sustained efficacy and
                       APPLICATIONS                                tolerability profile of once-monthly paliperidone palmitate
                                                                   has been demonstrated in clinical studies totalling more than
   This application clainls priority from U.S AppEcation           3800 patients. Continued treatment with once-monthly pali-
No. 62/144,054, filed on Apr. 7, 2015 and Application No.          peridone palmitate in patients who initially responded to it
62/162,596, filed on May I 5, 201 5, each of which is 10 for acute worsening of symptoms resulted in a nearly 4-fold
incorporated herein by reference                                   reduction in relapse risk compared with patients randomized
                                                                   to placebo. A recently developed 3-month formulation offers
                FIELD OF THE INVENTION                             a substantially longer dosi11g interval: injections are admin-
                                                                   istered once every 3 month s. This extended dosing interval
   This invention relates to a method for treating, patients 15 offers the prospect of fewer opportunities for nonadherence
who have missed a treatment of 3-month pa)jperidone                than currently available long acting injectable fom1ulations,
palmitate extended-release injectable suspension fomrnla-          thus reducing relapse risk as a result of subtherapeutic
tion.                                                              plasma concentration and its associated negative conse-
                                                                   quences in patients with schizophrenia.
           BACKGROUND OF THE INVENTION                          20    Even with a drug administered once every 3 lllonths or
                                                                   every 12 weeks (::r:3 weeks) or 13 weeks::r:2, patients at time
   Antipsychotic medications are the mainstay in the treat-        miss their doses of medication. Consequently, there is a need
ment of schizophrenia, schizoaffective disorder, and schizo-       to reinitiate a dosing regimen for patients who miss their
phrenifonn disorders. Antipsychotics were first introduced         regularly scheduled dose of medication. 11rns, the objective
in the mid-I 950s_ These typical or first generation drugs are 25 of the present application is to provide a dosing regimen of
usually eJfective in controlling the positive symptoms of          paliperidone palmitate for patients in need of a treatment
schizophrenia, but are less effective in moderating the nega-      who have missed their 3 month (::r:2 weeks) dose of pali-
tive symptoms or the cognitive impairment associated with          peridone palmitate 3-month extended-release injectable sus-
the disease. Atypical antipsychotks or second generation           pension.
drngs, typified by risperidone and olanzapine, were devel- 30
oped in the 1990s, and are generally characterized by                            SUMMARY OF lBE INVENTION
effectiveness against both the positive and negative symp-
toms associated with schizophrenia.                                   In one embodiment of the present invention there is
   Paliperidone palmitate is the palmitate ester of paliperi-      provided a dosing regimen for administering an injectable
done (9-hydroxy-risperidone), a monoaminergic antagonist 35 paliperidone pallllitate depot to a patient in need of psychi-
that exhibits the characteristic dopamine D2 and serotonin         atric treatmellt that has been treated with a 3-month inject-
(5-hydroxytryptamine type 2A) antagonism of the second             able paliperid.one palmitate depot, wherein said patient
generation, atypical antipsychotic drugs. Paliperidone             misses for a period of between about four months and about
(9-0H risperidone) is the major active metabolite of risperi-      nine months (inclusive e.g. four months or more but nine
done. Extended release (ER) osmotic controlled release oral 40 months or less) the next scheduled maintenance dose of the
delivery (OROS) paliperidone, as a tablet formulation, is          3-month injectable paliperidone palmitate depot, compris-
marketed in the United States (U.S.) for the treatment of          mg:
scbizopluenia and maintenance of effect.                              (I) administering intramuscularly in the deltoid muscle of
   3-montWy Paliperidone palmitate is being developed as a               said patient a first reinitiation loading dose of the
long-acting, intramuscular (i.111.), injectable aqueous nano- 45         monthly i1tjectable pa]iperidone palmitate depot on day
suspension for tbe treatment of schizophrenia aud otber                  oue;
related diseases tlmt are normally treated with antipsychotic         (2) administering intrnmuscularly in the deltoid or gluteal
medications. Because of extreme low water solubility, pali-              muscle of said patient a second reinitiation dose of the
peridone esters such as paliperidone palmitate dissolve                  monthly injectable paliperidone palmitate depot on
slowly after an i .m. injection before being hydrolyzed lo 50            about the 8'" day::r:4 (e.g. 4th day to about 1he 12th day)
paliperidone and made available in the systemic circulation.             after administering of said first reinitiation loading
   Many patients with the mental illnesses achieve symptom               dose; and
stability with available oral antipsychotic medications; how-
ever, it is estimated that up to 75% have difficulty adhering
to a daily oral treatment regimen, i .e. adherence problems. 55                          Administe.r PP1M,
Problems with adherence often result in worsening of symp-                                 two doses (il1to
                                                                                  - - ~d=el=    to=id~t=m="=cl=•}~_ _ Theu administer PPJM
toms, si1boptimal treatment response, frequent relapses and
re-hospitalizations, and an i1mbility to benefit from rehabili-                                              Second       (illto deltoid 0


tative and psychosocial therapies. Once monthly Paliperi-               Missed     Fust Reinitation Reinitation         or gluteal muscle)
done palmitate injection has been developed to provide 60 _ P_P_3_M_d_0_••_ _ _ _no       _ ,_• _ _ _ _       no.
                                                                                                                _ e_ _ _M              _ D_00_•_
                                                                                                                        _•_in_te_n_an_ce
sustained plasma concentrations of paliperidone, which may            175 mg eq.       50 mg eq.            50 mg eq.       175 mg e.q.
greatly enhance compliance with dosing. Paliperidone                  263 mg eq.       75 mg eq.           75 mg eq.        263 mg eq.
palmitate formulated as an aqueous nanosuspension is                  350 mg eq.      100 mg eq.          100 mg eq.        350 mg eq.
                                                                      525 ms eq.      100 mg eq.          100 mg eq.        525 mg eq.
described in U.S. Pat. Nos. 6,077,843 and 6,555,544. In
addition, a dosing regimen of paliperidone palmitate for 65
treating patients is disclosed in US Patent Application Pub-          (3) administer intramuscularly in the deltoid or gluteal
lication No. 20090163519.                                                muscle of said patient the 3-month formulation of

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       paliperidone palmitate in the range of about 175 mg eq.           FIGS. 4A-4C illustrate predicted plasma concentration of
       to about 525 mgeq. on about the 30thday:t7 (e.g. 23rd         PP3M (525 mg eq.). Graphs of moclelecl results of missed
      day 10 about the 37th day) after administering of the          dosing for (A) <4 months. ( B) between 4 to 9 months (C) >9
      second reinitiation dose of monthly injectable paliperi-       months.
      done palmitate.
                                                                                       DETAILED DESCRIPTION
    In another embodiment of the present invention there is
provided a dosing regimen for administering an injectable                3-month paliperidone pallllitate extended-release inject-
paliperidone palmitate depot to a patient in need of psychi-         able suspension is an antipsychotic medication which is the
atric treatment that has been treated with a 3-month inject-         ester of the active ingredient paliperidone. Paliperidone is
                                                                  10
able paliperidone pahnitate depot, wherein said patient              effective for the treatment of psychosis and has been used to
lllisses for a period of more than nine months the next              treat schizophrenia and schizoalfective disorders. Tue
scheduled maintenance dose of the 3-month injectable pali-           3-month paliperidone palmitate extended-release injectable
peridone palmitate depot, comprising:                                suspension suitable for the treatment of psychotic disorders
    (I) adlllinistering intramuscularly in the deltoid muscle of 15 including but not lilllited to schizophrenia and/or schizoaf-
                                                                     fective disorders. It is recommended that the 3-month pali-
      said patient a first reinitiation loading dose of 150 mg
                                                                     peridone palmitate e>,,1ended-release injectable suspension
      eq. of the monthly injectable paliperidone pallllitate         be administrated to patients who have been adequately
      depot;                                                         treated with the I-month paliperidone palmitate extended-
    (2) adlllinistering intramuscularly in the deltoid muscle of     release injectable suspension (e.g. lNVEGA SUSTENNA®)
      said patient a second reinitiation loading dose of I 00 20 for a several months and it is recommended for at least four
       mg eq. the monthly injectable paliperidone palmitate          months.
      depot on about the 4th day to about the 12th day after             3-month paliperidone palmitate extended-release inject-
      adlllinistering of said first reinitiation loading dose;       able suspension preferably will be provided with an
    (3) administering intramuscularly in the deltoid or gluteal      adequate dose of paliperi done pahnitate generaJJy in the
                                                                     range of about 250 mg to about 900 mg of paliperidone
       muscle of said patient a first reinitiation maintenance 25
                                                                     palmitate to provide a sustained therapeutic concentration of
      dose of 50 mg eq. to about 150 mg eq. of the monthly           palipericlone over the three month dosing interval to the
      injectable paliperidone palmitate depot 0 11 about the         patient. Preferably the aqueous extended-release suspension
       23th day to about the 37rd day after administering of         for intramuscular injection will be provided in dose
      said second rei.nitiation loading dose;                        strengths of about 273 mg, 410 mg, 546 mg, and 819 mg
    (4) administering intramuscularly in the d.eltoid or gluteal 30 palipericlone palmitate. The drug product hydrolyzes to the
       muscle of said patient a second reinitiation mainte-          active moiety, paliperidone, resulting in dose strengths of
       nance dose of from about 50 m g eq. to about 150 mg           175 mg eq., 263 mg eq., 350 mg eq., and 525 mg eq. of
      eq. of monthly injectable paliperidone pa Imitate depot        palipericlone, respectively. 3-month palipericlone pahnitate
      on about the 23rd. day to about the 37th day after             extended-release injectable suspension is preferably pro-
                                                                  35 vided in a prefilled syringe (cyclic-olefin-copolymer) pre-
      adlllinistering of the first maintenance additional dose;
                                                                     filled with either 175 mg eq. (0.875 mL), 263 mg eq. (l.315
    (5) adlllinistering intramuscularly in the deltoid or gluteal    mL), 350 mg eq. (1.75 mL), or 525 mg eq. (2.625 mL)
       muscle of said patient a third reinitiation maintenance       paliperidone (as 273 mg, 410 mg, 546 mg, or 819 mg
      dose of from about 50 mg eq. to about 150 mg eq. of            paliperidone palmitate) suspension with a plunger stopper
       monthly injectable paliperidone pallllitate depot on 40 and tip cap (bromobutyl rubber), a backstop, and 2 types of
      about the 23rd day to about the 3 7th day after adlllin-       commercially available needles: a thin walled 22G, 11/2-inch
      istering of the second maintenance dose; and                   safety needle and a thiu walled 22G, 1-incb safety 11eedle.
    (6) adlllinistering intramuscularly in the deltoid or gluteal        3-month paliperidone pallllitate extended-release inject-
       muscle of said patient from about 175 mg eq. to about         able suspension is intended for intramuscular use only. It is
                                                                     not recommended not to administer by any other route. Care
       525 mg eq. of the 3-month fonnulation of paliperidone 45
                                                                     should be taken to avoid inadvertent injection into a blood
       palmitate on about the 23rd day to about the 37th day         vessel. Dose should be administered in a single injection; it
      aft.er administering of the third maintenance dose of          should not be administered in divided injections as this
       monthly injectable palipericlone pahnitate.                   would change the release profile and has not been studied in
    Additional maintenance doses may be administered                 clinical trials. It is preferred that injections be administered
before the read.ministration of the 3-month formulation of 50 slowly, deep into the deltoid or gluteal muscle. 3-month
paliperidone palmitate (e.g. a fourth maintenance close, fifth       palipericlone palmitate extended-release injectable suspen-
maintenance close).                                                  sion is preferred to be administered using only the thin wall
    This and other objects and advantages of the present             needles to reduce the risk of blockage.
invention may be appreciated from a review of the present            Deltoid Injection
                                                                  55 Currently the recommended needle size for adlllinistra-
application.                                                         tion of 3-momh paliperidone palmitate extended-release
                                                                     injectable suspension into the deltoid muscle is detennined
          DETAILED DESCRIPTION OF FIGURES                            by the patient's weight:
                                                                         For patients weighing Jess than 90 kg, the I-inch, 22
    FIG. 1 illustrates the switching from PPlM to PP3M at 60               gauge thin wall needle is recoilllllended.
default week 17:t l Week.                                                For patients weighing 90 kg or more, the 11/ 2-i.nch, 22
    FIGS. 2A-2 B illustrate the dosing windows around the                  gauge thin wall needle is recommended.
regularly scheduled 12-week dosing interval. Graphs of               It is currently preferred that 3-month paliperidone palmitate
modeled results of dosing before regularly scheduled injec-          extended-release injectable suspension be administer into
tions of (A) 525 mg eq. PP3M (B) 175 mg eq. PP3M.                 65 the center of the deltoid muscle. It is also preferred that
    FIG. 3 illustrates the dosing windm,vs for PPIM and              deltoid injections should be alternated between the tv.,·o
PP3M dosing regimen.                                                 deltoid muscles.

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Gluteal Injection                                                  should be administered every 3 months. If needed, dose
   currently, the preferred needle size for administration of      adjustment can be made every 3 months in increments
3-month paliperidone palmitate extended-release injectable         within the range of 273 mg to 819 mg based on individual
suspension into the gluteal muscle is the I ½-mch, 22 gauge        patient tolerability and/or efficacy. Due to the long-acting
thin wall needle regardless of patient weight. It is preferred     nature of 3-month paliperidone palmitate extended-release
that 3-month paliperidonc palmitate extended-release inject-       injectable suspension, the patient's response to an adjusted
able suspension be administered into the upper-outer quad-         dose may not be appar~nt for several months.
rant of the gluteal muscle. It is also preferred that gluteal      Missed Doses
injections should be alternated between the two gluteal            Dosing Window
muscles.                                                        10
                                                                      Missing doses of 3-month paliperidone pahnitate
Incomplete Administration                                          extended-release injectable suspension should be avoided.
   To avoid an incomplete administration of 3-month pali-          However, on exceptional occasions, patients may be given
peridone palmitate extended-release injectable suspension,         the injection up to about 2 weeks before or after the 3-month
it is recollllllended that to ensure that doses are cornpletely    time point.
administered that the syringes be v igorously shaken and/or 15 Missed Dose >3½ Months and < 4 Months Since Last
mechanical agitated to obtain a uniform dispersion of the
                                                                   Injection
suspension, preferably the suspension will be shaken vigor-
                                                                      If more than 3 1/2 months (up to but less than 4 months)
ously for at least I 5 seconds within 5 minutes prior to           have elapsed since the last injection of3-month paliperidone
administration to ensure a homogeneous suspension and              palmitate extended-release injectable suspension, the previ-
ensure the needle does not get clogged during injection.        20
                                                                   ously administered 3-month paliperidone palmitate
   It is preferred that 3-month paliperidone palmitate             extended-release injectable suspension dose should be
extended-release injectable suspension is to be used only
                                                                   administered as soon as possible, then continue with the
after the I-month paliperidone palmitate extended-release          3-month injections following th.is dose.
injectable suspension (e.g. INVEGA SUSTENNA®) has                  Missed Dose Greater than or Equal to 4 Months Up to 9
been established as adequate treatment for at least four 25 Months Since Last Injection
months. In order to establish a consistent maintenance dose,          If between 4 to 9 months have elapsed since the last
it is preferred that at least the last two doses of I-month        injection of 3-month paliperidone palmitate extended-re-
paliperidone palmitate extended-release injectab le suspen-        lease injectable suspension, do NOT achninister the next
sion be the same dosage strength before starting 3-month           dose of 3-month paliperidone palmitate extended-release
paliperidone palmitate extended-release injectable suspen- 30 injectable suspension. lnstead, use the re-initiation regimen
sion.                                                              shown in Table 2.
   The preferred time to init'iate dosing a patient with
3-month paliperidone palmitate extended-release injectable
                                                                                                  TABLE 2
suspension is when the next I-month paliperidone palmitate
dose was to be scheduled with a 3-rnonth paliperidone 35               Re-Initiation Regimen After Missing .t:4 months: up to 9 Months of
palmitate extended-release injectable suspension dose based                           3- Month Extended-Release Injectable
on the previous I-month injection dose as shown in Table 1.                                     Suspension Dose
3-month paliperidone palmitate extended-release injectable            Last 3-                                              Then administer
suspension may be administered up to about 7 days before               Month                                              3-Month Extended
or after the mouth.ly time point of the next scheduled 40 Extended                                                        Release Injectable
                                                                      Re lease             Administer PPIM,                   Suspension
paliperidone palmitate I-month dose.
                                                                                              lnje.:table              two doses one week                    Dose (i.1110 delloid"
                                                                                             Suspension             apart !into deltoid muscle)              or gluteal muscle)
                                  TABLE I
                                                                                                 dose            Day l                   Day 8               l month aftc:r day 8
        Conversion From the Last l•Month Paliperidone Palmitate                    45
 Extended-Release Injectable. Suspension (INVEGA SUST ENNA ®) Dose                           175 mg eq.        50 mg eq.        +      50 mg e.q.       +         175 mg e.q.
   To the: J•Mo11th Palipc:ridone Palm it:ate E xte.nded-Rele.::tse Injt".ctable             263 mg eq.        75 mg eq.        +      75 mg eq.        +         263 mg eq.
    5'uspension (ThrvEGA TRJNZA TM) Dose Using 3.5 as a Multiplier                           350 mg eq.       100 mg eq.        +     100 mg eq.        +         350 mg eq.
                                                                                             525 mg eq.       100 mg eq.        +     100 mg eq.        +         525 mg eq.
                                                          Initiate 3-month
                                                                                        0
     lf tlle last I-Month                              paliperidone palmitate               See lm.truc1ions for Use for dehoid inje-c1ion needle selec1ion based 011 OOcl)• weight.
    P~liperidone PslmitAfe                                exlended-celease         50
 Exlt",nded-Release Inj ectable                       i.1~ectable sus pension at             Missed Dose >9 Months Since Last Injection
   Suspension dose is a.bout:                        about the following dose:                  If more than 9 months have elapsed since the last i1\jection
                50 mg eq.                                           175 mg eq.
                                                                                             of 3-month paliperidone palmitate extended-release inject-
                                                                                             able suspension, re-initiate treatment with the I -month pali-
                                                                                          55 peridone palmitate ex1ended-release injectable suspension
                75 mg eq.                                           263 mg eq.               as described in the prescribing information for that product.
                                                                                             3-month paliperidone palmitate extended-release injectable
               100 mg eq.                                           350 mg eq.               suspension can then be resumed after the patient has been
                                                                                             adequately treated with the I-month paliperidone palmitate
                                                                                          60 extended-release injectable suspension for at least 4 months.
               150 mg eq.                                           525 mg e.q.
                                                                                             I-Month Paliperidone Palmitate Extended-Release Inject-
                                                                                             able Suspension Dosing
Conversicm from the 39 mg \- month palipcridooc J'.l(llmitafe e.xtendcd-rdeasc injectable       The published US drug label for INVEGA SUSTENNA®
s:us.pc,ns.ion was. not ,;tudied
                                                                                             1-rnonth paliperidone palmitate extended-release injectable
     Following the initial 3-month paliperidone palmitate 65 suspension provides the appropriate dosing instructions for
extended-release injectable suspension, 3-month paliperi-                                    such product at various doses. Th.is dosing regimen is also
done pahnitate extended-release injectable suspension                                        generally described in U.S. Patent Application No.

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20090163519 for treating a psychiatric patient using pali-           By way of example, a dosing regimen is provided to
peridone as a paliperidone palmitate ester in I-month sus-        swi1ch pa1ien1s from other injeciable anripsychotic drug to
tained release formulation. To attain a therapeutic plasma         I-month paliperidone palmitate extended-release injectable
level of paliperidone, patients are administered to receive a     suspension comprising administering into the deltoid muscle
first dose of paliperidone palmitate on day I of treatment,       the initial closing regimen comprising a first loading dose of
followed by a second dose between days 4 to 12 (and               about 234 mg of paliperidone palmitate and administering
preferably about day 6 to JO) of treatment, then a third dose     into the deltoid or gluteal muscle the maintenance regimen
between days 29 to about 43 (and preferably from about 33         comprising a 1110111hly mainlenance dose of about 39 to
to about 39) of starting treatment. It is preferred that the      about 234 mg of palperidone palm..itate on about the 23rd
patients will be administered the first dose on day 1, the 10 day to about the 3 7" day after administering of the first
second dose on day 8 after the first dose and the third dose      loading dose.
on day 36 of after the first dose. The first two doses should        For patients who have previously received oral antipsy-
be injected in the deltoid muscle. Thereafter pabperidone         chotic drugs, a switching treatment to !-month paliperidone
palmitate may be administered by injection approximately          palmitate extended-release injectable suspension may com-
once a month (e.g. once every four weeks). To assure a 1s prise an initial dosing regimen and a mo11thly dosing regi-
potential therapeutic plasma level of paliperidone is             men. The initial dosing regimen may comprise administer-
attained, at least the first loading dose of about 150 mg-eq.     ing a first loading dose of I-month paliperidone palmitate
of pabperidone as a paliperidone palmitate ester may be           and administering a second loading dose of I-month paJj-
administered on day I of treatment. To funher assure a            peridone palmitate, and the maintenance dosing regimen
potential therapeutic plasma level of paliperidone is attained 20 may comprise administering a maintenance dose of I-month
by the patient, the first loading dose and the second loading     paliperidone palmitate. The previous oral antipsychotics
dose ranging between from about I 00 mg-eq. to about 150          may be discontinued at the time of initiation of the switching
mg-eq. ofpaliperidone as a paliperidone palmitate ester may       treatment or administration of the first loading dosing of
be administered. To maintain a therapeutic level in the            I-month paliperidone palmitate.
plasma, the subsequent doses thereafter or the maintenance 25        The month ly maintenance dose may be determined based
dose ranging from about 25 mg-eq. to 150 mg-eq. per month         on the condition of the patient ancl/or the severity of the
may be administered. The maintenance dose may be admin-           disease. TI1e preferred first loading dose may range from
istered intramuscularly into the deltoid or gluteal muscle,       about 156 mg to about 234 mg of paliperidone palmitate,
and the gluteal muscle is preferred. Those of ordinary skill      and more preferably about 234 mg. 1l1e preferred second
in the art will understand that the maintenance dose may be 30 loading dose may range from about 78 mg to about 156 mg,
titrated up or down in view of the patients' conditions such      and more preferably about l 56 mg. The preferred monthly
as response to the medication and renal fllllction.               maintenance dose may range from about 39 to about 234
    The models have indicated that th ere may be flexibility in   mg, and more preferably about 117 mg. Subsequently, based
the duration of the second loading dose and the maintenance       on the patient tolerability and/or the drng efficacy, the
dose of the maintenance dosing regimen for the I -month 35 maintenance dose may be further adjusted monthly to
paliperidone palmitate extended-release injectable suspen-        achieve optimal treatment effectiveness. The patients may be
sion. For example, the second loading dose may be admin-          monitored for several months to ensure the full effect of the
istered within the duration of abont the 8'1' day±4 days (or      dose adjustment because of the prolonged-release charac-
about 1 week±4 days) after administering of the. first loading    teristic of paliperidone palmitate.
dose. 111erefore, the secoud loadiJ.1g dose may be admin.is- 40      Based on the pharmacokiuetic simulations, patients pre-
tered from about the 4'" to about the 12'" day after the first    viously stabilized on paliperidone in oral tablets may attain
loading dose of the initial dosing. Similarly, the maintenance    similar paliperidone steady-state exposure during mainte-
dose may be administered within tl1e duratiou of about the        nance treatmeut with paliperidone palmitate intramuscular
30'" day±7 days after administering of the first loading dose.    injection monthly. For example, patients stabilized on oral
1l1erefore, the maintenance dose may be administered from 45 paliperidone of about 3 mg may attain similar paliperidone
about the 23'" day to about the 37t h day after administeri ug    steady-state exposure witl1 the intramuscular injectiou of
of the second loading dose of the initial dosing. 1l1e flexible   paliperidone palmitate of about 39 mg to about 78 mg.
administration timing provides additional treatment benefit       Similarly, patients stabilized on oral paliperidone of about 6
for patients who may require earlier administration or have       mg and about 12 mg may attain similar paliperidone steady-
missed their dose, within a short window, of the scheduled 50 state exposure with the intramuscular i1~ect1on of paliperi-
treatment without affecting the treatment effectiveness.          done palmitate of about I 17 mg and about 234 mg, respec-
    ]be models or simulations also indicate that ! -month         tively. "fllerefore, during the maintenance regimen, the
paliperidone palmitate extended-release injectable suspen-        patients previously stabilized on paliperidone in oral tablets
sion may be administered by intramuscular injection into          may be administered with the appropriate dose of pabperi-
either deltoid or gluteal muscle. The first and second loading 55 done palmitate in injectable formulation corresponding to
dose of the initiation regimen may be administered in the         the stabilized dose of oral paliperidone.
deltoid muscle and the maintenance dose of the maintenance           As used herein, the term "stabilized dose" refers to the
regimen may be administered in either the deltoid or gluteal      dose which is to be administered according the established
muscle. The injection into the deltoid muscle may be deliv-       dosing regimen. Preferably, the stabilized dose may be the
ered by a 1-inch 23-Gauge (G) or 1.5-inch 22-G needle 60 maintenance dose of the monthly maintenance dosing regi-
based on the patient's weight. For the patients whose body        men prior to a missed doi;e.
weights are less than about 90 kg or 200 lb, a I-inch 23-G           Also used herein, the tenns "the first loading dose of the
needle may be used for administration, and for those body         reinitiation regimen", "the first dose of the reinitiation
weights are equal or more than about 90 kg or 200 lb, a           regimen", "the first reinitiation dose" or variant thereof refer
1.5-inch 22-G needle may be used for administration. The 65 10 the dose to be administeied on day 1 when patients return
injection into the gluteal muscle may be delivered by a           to treatment. Similarly, the terms "the second loading dose
1.5-inch 22-G needle for all body weights.                        of the reinitiation regimen", "the second dose of the reini-

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tiation regimen", "the second reinitiation dose" or variant            Useful surface modifiers paliperidone palmitate formula-
thereof refer to the dose to be admin istered after a week after    tions are believed to include those that physically adhere to
the treatment day I ; and the terms •·the maintenance dose of       the surface of the active agent but do not chemically bond
the reinitiation regimen", "the reinitiation maintenance            thereto. Suitable surface modifiers can preferably be
dose" or variant thereof refer to the dose to be administered       selected from known organic and inorganic phannaceutical
monthly after the treatment day 8.                                  excipients. Such excipients inc lude various polymers, low
Extended-Rele-ase Injectable Suspension Formulations                molecular weight oligomers, natural products and surfac-
   Paliperidone esters are psychotic agents belonging to the        tants. Preferred surface modifiers include nonionic and
chemical class of benzisoxazole derivatives, which contains         anionic surfactants. Representative examples of excipients
                                                                 10 include gelatin, casein, lecithin (phosphatides), gum acacia,
a racemic mixture of (+)· and (-)-paliperidone, which are
                                                                    cholesterol, tragacanth, stearic acid, benzalkonium chloride,
described in U.S. Pat. No. 5,254,556 (incorporated herein by
                                                                    calcium stearate, glyceryl monostearate, cetostearyl alcohol,
reference). The chemical name for paliperidone palmitate is
                                                                    cetomacrogol emulsifying wax, sorbitan esters, polyoxyeth-
(±)-3-[2-[4-(6-fluoro-1,2-benzisoxa zol-3-yl)-l-piperidiny l]       ylene alkyl ethers, e.g., macrogol ethers such as cetomac-
ethy1)-6,7,8,9-tetrahydro-2-methyl-4-oxo-4H-pyrido[ 1,2-c) 15 rogol 1000, polyoxyethylene castor oil derivatives, polyoxy-
pyrimidin-9-yl hexadecanoate. The structural formula is:            ethylene sorbitan fatty ac1d esters, e.g., the conunercially
                                                                    available TWEENS™, polyethylene glycols, polyoxyethyl-
        0
                                                                    ene  stearates, colloidal silicon dioxjde, phosphates, sodium
                                                                    dodecyl sulfate, carboxymet.hylcellulose calcium, car-
                                                                 20 boxymethylcellulose sodium, rnethylcellulose, hydroxyeth-
                                                                    ylcellulose, hydroxypropylcellulose, hydroxypropylmethyl-
                                                                    cellulose phtalate, noncrystalline cellulose, magnesium
                                                                    aluminate silicate, triethanolamine, polyvinyl alcohol
                                                                    (PVA) , poloxamers, tyloxapol and polyvinylpyrrolidone
                                                                 25 (PVP). Most of these excipients are described in detail in the
                                                                    Handbook of Pharmaceutical Excipients, published jointly
                                                                    by the American Phannaceutical Association and The Phar-
                                                                    maceutical Society of Great Britain, the Phannaceutical
                                                                    Press, 1986. The surface modifiers are commercially avail-
                                                                 JO able and/or can be prepared by techniques known in the art.
                                                                    Two or more surface modifiers can be used in combination.
   Paliperidone esters may be formulated with phannaceu-
                                                                       Particularly preferred surface modifiers incl ude polyvi-
tical excipients into injectable dosage forms as described in
                                                                    nylpyrrolidone;      tyloxapol; poloxamers,        such as
U.S. Pat. Nos. 5,254,556 and 6,077,843 both of which are
                                                                    PLURONICT" F68, FJ08 and F127 which are block copo-
incorporated herein by reference. lnjectable fonnulations 35 lymers of ethylene oxide and propylene oxide available from
may be formulated in aqueous carriers.                              BASF; poloxamines, such as TETRONICT" 908 (T908)
   Suitable aqueous depot formulations are described in U.S.        which is a tetrafunctional block copolymer derived from
Pat. No. 6,077,843 which is incorporated herein by refer-           sequential addition of ethylene oxide and propylene mode to
ence. The 3-month formulations would have an averages               ethylenediamine available from BASF; dextran; lecithin;
size of Jess than about 20 µm to about 3 lllll. Preferably the 40 Aerosol OT™ (AOT) wl1ich is a dioctyl ester of sodium
particles would have an average particle size (d50) of from         sulfosuccinic acid available from Cytec Industries; DUPO-
about IO fl111 to about 3 1uu; preferably about 9 µm to about       NOLTM P which is a sodium lauryl sulfate available from
4 µm.                                                               DuPont; TRJTONTM X-200 which is an alkyl aryl polyether
   Tue I-month aqueous formulation would preferably be a            sulfonate available from Rohm and Haas; TWEEN™ 20, 40,
nano particle suspension of wherein the nano particles 45 60 and 80 which are polyoxyethylene sorbitan fatty acid
would be of an averages size of less than about 2,000 mn to         esters available from JCJ Speciality Chemicals; SPANTM 20,
about I00 mn. Preferably the nano particles would have an           40, 60 and 80 which are sorbitan esters of fatty acids;
average particle size (d50) of from about 1,600 run to about        ARLACEL™ 20, 40, 60 and 80 which are sorbitan esters of
400 nm and most preferably about 1,400 nm to about 900              fatty acids available from Hercules, Inc.; CARBOWAXTM
nm. Preferably the d90 will be less than about 5,000 nm and 50 3550 and 934 which are polyethylene glycols available from
more preferably less tha n about 4,400 mn.                          Union Carbide; CRODESTATM FII0 which is a mixture of
   As used herein, an effective average particle size (d50) of      sucrose stearate and sucrose distearate available from Croda
less than about 2,000 nm means that at least 50% of the             Inc.; CRODESTA™ SL-40 which is available from Croda,
particles have a iliameter of less than about 2,000 nm when         Inc.; hexyldecyl trimethyl allllllonium chloride (CTAC);
measured by art-known conventional techniques, such as 55 bovine sernm albumin and SA90HCO which is C 18 H17CH2
sedimentation field flow fractionation, photon correlation          (CON(CH3 )CHi{CHOH)4 CHPH)2 . The surface moilifiers
spectroscopy or rusk centrifugation. With reference to the          which have been found to be particularly useful include
effective average particle size, it is preferred that at least      tyloxapol and a poloxamer, preferably, PluronicTM FI 08 and
about 90%, e.g. about 5,000 nm. Mo st preferably, about 90%         PluronicTM F68.
of the particles have a size of less than about 4,400 nm.        60    Pluronic™ Fl08 corresponds to poloxamer 338 and is the
   Suitable aqueous nanoparticle depot I -month fonnula·            polyoxyethylene, polyoxypropylene block copolymer that
tions are described in U.S. Pat. No. 6,555,544 which is             conforms generally to the fonnula HO[CH 2CHPJ.,[CH
incorporated herein by reference. In one embodiment of the          (CH3 )CH2 O),,[CH 2CH2 O)2 H in which the average values of
present invention the formulation would comprise nanopar-           x, y and z are respectively 128, 54 and 128. Other collllller-
ticles, a surfactant, a suspending agent, and optionally one or 65 cial names of poloxamer 338 are Hodag NONIONJCTM
more additional ingredients selected from the group con-            1108-F available from Hodag, and SYNPERONJCfM
sisting of preservatives, buffers and an isotonizing agent.         PE/Fl08 available from !CI Americas.

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    111e optimal relative amotult ofpaliperidone pa Imitate and    take the form of a dispersion mill. Suitable dispersion mills
the surface modifier depends on various parameters. TI1e           include a ball mill. an attritor mill, a vibra1ory mill, a
optimal amount of the surface modifier can depend, for             planetary mill, media mills- such as a sand mill and a bead
example, upon the particular surface modifier selected, the        mill. A media mill is prefe rred due to the relatively shorter
critical micelle concentration of the surface modifier if it       milling Time required 10 p rovide the desired reduction in
forms micelles, the surface area of the antipsychotic agent,       particle size. For media milling, the apparent viscosity of the
etc. The specific surface modifier preferably is present in an     premix preferably is anywhere between about 0.1 Pa·s and
amount of about 0.1 to about I mg per square meter surface         about l Pa·s. For ball milling, the apparenl viscosity of the
area of the paliperidone palmitate. It is preferred in the case    premix preferably is anywhere between about I mPa·s and
of paliperidone palmitate (9-hydroxyrisperidone pabnitate) 10 about JOO mPa·s.
to use PLURONJCTM FI08 as a surface modifier, a relative              The grinding media for the particle size reduc1ion s1ep can
amount (w/w) of both ingredients of approximately 6: I is          be selected from rigid media preferably spherical or par-
preferred.                                                         ticulate in form having an average size less than about 3 mm
    The particles of this invention can be prepared by a           and, more preferably, Jess than about I lllill. Such media
method comprising the steps of dispersing paliperidone 1s desirably can provide the particles of the invention with
palmitate in a liquid dispersion medium and applying               shorter processing times and impart less wear to the milling
mechanical means in the presence of grinding media to              equipment. The selection of the material for the grinding
reduce the particle size of the antipsychotic agent to an          media is believed not to be critical. However, about 95%
effective average particle size. The particles can be reduced      ZrO stabilized with magnesia, zirconium silicate, and glass
in size in the presence of a surface modifier. Alternatively, 20 grinding media provide particles which are acceptable for
the particles can be contact.ed with a surface modifier after      the preparation of pharmaceutical compositions . Further,
attrition.                                                         other media, such as polymeric beads, stainless steel, titania,
    A general procedure for preparing the particles for the        alumina and about 95% ZrO stabilized with yttrium, are
 I-month formulation described herein includes (a) obtaining       useful. Preferred grinding media have a density greater than
paliperidone palmitate in micronized form; (b) adding the 25 about 2.5 g/cm3 and include about 95% ZrO stabilized with
micronized paliperidone palmitate 10 a liquid meditm1 10           magnesia and polymeric beads.
form a premix; and (c) subjecting the premix to mechanical            The attrition time can vary widely and depends primarily
means in the presence of a grinding medium to reduce the           upon the particular mechanical means and processing con-
eJfecti ve average particle size.                                  ditions selected. For rolling mills, processing times ofup to
    The paliperidone palmitale in micronized form may be 30 two days or longer may be required for smaller size par-
prepared using techniques known in the art. It is preferred        ticles.
that The particle size of the micronized paliperidone palmi-          The particles must be reduced in size at a temperantre
tate be less than about I 00 µm as determined by sieve             which does not significantly degrade the antipsychotic
analysis. If the particle size of the micronized paliperidone      agent. Processing 1emperan1res of less than about 30° C. to
palmitate is greater than about JOO iun, then it is preferred 35 about 40° C. are ordinarily preferred. If desired, the pro-
that the particles of paliperidone palmitate be reduced in size    cessing equipment may be cooled with conventional cooling
to less than I00 run.                                              equipment. The method is conveniently carried out under
    The micronized paliperidone palmitate can then be added        conditions of ambient temperature and at processing pres-
to a liquid medillll1 in which it is essentially insoluble 10      sures which are safe and effective for the milling process.
form a premix. The concentration of paliperidone palmitate 40         The surface modifier, if it was oot present in the premix,
in the liquid medium (weight by weight percentage) can             must be added to the dispersion after attrition in an amount
vary widely and depends on the selected antipsychotic              as described for the premix above. Thereafter, the dispersion
agent, the selected surface modifier and other factors. Suit-      can be mixed by, for example, shaking vigorously. Option-
able concentrations of paliperidone palmitate in composi-          ally, the dispersion can be subjected to a sonication step
tions vary from about 0.1% to about 60%, preferably is from 45 using, for example, an ultrasonic power supply.
about 0.5% to about 30%, and more preferably, is approxi-             Aqueous compositions according to tbe present invention
mately 7% (w/v). 11 is currently preferred lo use a concen-        conveniently further comprise a suspending agent and a
tration of about 100 mg eq of paliperidone per ml or about         buffer, and optionally one or more of a preservative and an
 156 mg of paliperidone palmitate per ml.                          isotonizing agent. Particular ingredients may function as two
    A more preferred procedure involves l11e addition of a 50 or more of these agents simultaneously, e .g. behave like a
surface modifier to the premix prior to its subjection to          preservative and a buffer, or belmve like a buffer and an
mechanical means 10 reduce the e:ffective average particle         isotonizing agent.
size. TI1e concentration of the surface modifier (weight by           Suitable suspending agents for use in the aqueous sus-
,,,;eight percentage) can vary from about 0.1% to about 90%,       pensions according to the present invention are cellulose
preferably from about 0.5% to about 80%, and more pref- 55 derivatives, e.g. methyl cellulose, sodium carboxymethyl
erably is approximately 7% (w/v).                                  cellulose and hydroxypropyl methyl cellulose, polyvinylpyr-
    The premix can be used directly by subjecting it to            rolidone, alginates, chitosan, dextrans, gelatin, polyethylene
mechanical means to reduce the effective average particle          glycols, polyoxyethylene- and polyoxy-propylene ethers.
size in the dispersion to less than about 2,000 nm. 11 is          Preferably sodium carboxymethyl cellulose is used in a
preferred that the premix be used directly when a ball mill 60 concentration of about 0.5 to abont 2%, most preferably
is used for attrition. Alternatively, the antipsychotic agent      about l % (w/v).
and, optionally, the surface modifier, can be dispersed in the        Suitable wetting agellts preferred from the listed surfac-
liquid medium using suitable agitation such as, for example,       tant for use in the aqueous suspensions according to the
a roller mill or a Cowles type mixer, until a homogeneous          present invention are polyoxyethylene derivatives of sorbi-
dispersion is achieved.                                         65 tan esters, e.g. polysorbate 20 and polysorbate 80, lecithin,
    1l1e mechanical means applied to reduce the effective          polyoxyethylene- and polyoxypropylene ethers, sodium
average particle size of the antipsychotic conveniently can        deoxycholate. Preferably polysorbate 20 is used in a con-

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centrntion of about 0.5% to about 3%, more preferably about        to very slightly basic (pH 8.5); (d) from about 0.5% to about
0.5% to about 2%, most preferably abom 1.1% (w/v).                 2% (w/v) of a suspending agent; (e) up to about 2% (w/v)
   Suitable buffering agents are salt o f weak acids and should    preservatives; and (f) water q.s. ad 100% . Preferably the
be used in amount sufficient to render the dispersion neutral      aqueous suspension will be made tmder sterile conditions
to very slightly basic (up to the pH value of about 8.5),          and no preservatives will be used. Appropriate methods to
preferably in the pH range of about 7 to about 7.5. Particu-       aseptically prepare palipcridonc palmitate are described in
larly preferred is the use of a mixn.ire of disodium hydrogen      WO 2006/Jl4384 which is hereby incorporated by reference
phosphate (anhydrous) (typically about 0.9% (w/v)) and             herein.
sodium dihydrogen phosphate monohydrate (typically about              The preferred aqueous dosage form contains inactive
0.6% (w/v)). This buffer also renders the dispersion isotonic 10 ingredients that are polysorbate 20, polyethylene glycol
and, in addition, less prone to flocculat.ion of the ester         4000, citric acid monohy<lrate, disodium hydrogen phos-
suspended therein.                                                 phate anhydrous, sodium dihydrogen phosphate monohy-
   Preservatives are antimicrobials and anti-oxidants which        drate, sodium hydrox.ide, and water for injection.
can be selected from the group consisting of benzoic acid,            As used herein, a dose or dosing is expressed as mim-
benzyl alcohol, butylated hydroxyanisole, butylated 15 grams (mg) of paliperidone palmitate. Paliperidone palmi-
hydroxytoluene, chlorbutol, a gallate, a hydroxybenzoate,          tate dosing may also be expressed as mg equiva lents (mg
EDTA, phenol, cWorocresol, metacresol, benzethonium                eq.) of paliperidone with about 39, 78, IJ 7, 156, and 234 mg
chloride, rnyristyl-garnma-piccolini1.1m chloride, phenylmer-      of paliperidone palmitate being equivalent to about 25, 50,
curic acetate and thimerosal. In particular, it is benzyl          75, 100 and 150 mg eq., of paliperidone, respectively. For
alcohol which can be used in a concentration up to about 2% 20 three month depot dosing it is preferred to dose patients with
(w/v), preferably up to about 1.5% (w/v).                          about 175 mg eq. to about 525 mg eq. paliperidone or about
   lsotonizing agents are, for example, sodium chloride,           273 mg to about 819 mg paliperidone palmitate.
dextrose, mannirol, sorbitol, lactose, soditun sulfate. TI1e          The tem1 "antipsychotics" or "antipsychotic drug medi-
suspensions conveniently comprise from about 0% to about           cation" as used herein means any med ication used to
 10% (w/v) isotonizing agent. Mannitol may be used in a 25 decrease or ameliorate tbe symptoms of psychosis in a
concentration from about 0% to about 7% more preferably,           person with a psycho! ic disorder.
however, from about 1% to about 3% (w/v), especially from             The term "psychiatric patient" as used herein, refers lo a
about 1.5% to about 2% (w/v) of one or more electrolytes are       htmrnn, who has been the object of treatment, or experiment
used to render the suspension isotonic, apparently because         for a " mental disorder" and "mental illness" refer to those
ions help to prevent flocculation of the suspended ester. In 30 provided in the Diagnostic and Statistical Manual (DSM
particular, electrolytes of the buffer serve as isotonizing        IV), American Psychological Association (APA). Those of
agent.                                                             ordinary skill in the art will appreciate that paliperidone
   A particularly desirable feature for an injectable depot        esters (e.g. paliperidone palmitate) can be administered to
formulation relates to the ease with which it can be admin-        psychiatric patients for all the known uses of risperidone.
istered. In particular such an injection should be feasible 35 TI1ese mental disorders include, but are not limited to,
using a needle as fine as possible in a span of time which is      schizophrenia; bipolar disorder or other disease states in
as short as possible. This can be accomplished with the            which psychosis, aggressive behavior, anxiety or depression
aqueous suspensions of the present invention by keeping the        is evidenced. Schizophrenia refers to conditions character-
viscosity below about 75 mPa·s, preferably below about 60          ized as schizophrenia, schizoaffective disorder and schizo-
mPa·s. Aqueous suspensions of such viscosity or lower can 40 phrenifonn disorders, in DSM-IV-TR such as category
both easily be taken up in a syringe (e.g. from a vial), and       295.xx. Bipolar Disorder refers to a condition characterized
injected through a fine needle (e.g. a 21G I½ inch, 22G 2          as a Bipolar Disorder, in DSM-IV-TR such as category
inch, 22G I '/4 inch or 23G l iucb needle). The preferred          296.xx including Bipolar I and Bipolar Disorder II. TI1e
needles for injection are 22G 22G I½ inch regular wall and         DSM-IV-TR was prepared by the Task Force on Nomen-
23G I inch regular wall needles.                                45 clature and Statistics of the American Psychiatric Associa-
   Ideally, aqueous suspensions according to the preseDt           tiou, and provides clear descriptions of diagnostic catego-
invention will comprise as much prodmg as can be tolerated         ries. Pathologic psychological conditions, which are
so as to keep the injected volume to a mininnuu, and as little     psychoses or may be associated with psychotic features
of the other ingredients as possible. In particular for the        include, but are not limited to the following disorders that
3-month formulation the composition will be (a) from about 50 have been characterized in. the DSM-IV-TR. Diagnostic and
280 to about 350 mg/mL of prodrug; (b) from about 8 to             Statistical Manual of Mental Disorders, Revised, 3rd Ed.
about 12 mg/mLofwetting agent; (c) from about 16 to about          (1994). The skilled artisan will recognize that there are
22 mg/mL of one or more buffering agents to render the             alternative nomenclatures, nosologies, and classification
neutral to very slightly basic (pH 8.5); (d) from about 65 to      systems for pathologic psychological conditions and that
about 85 mg/mL of a suspending agent; (e) up to about 2% 55 these systems evolve with medical scientific progress.
(w/v) preservatives; and (f) water q.s. ad 100%. Most              Examples of pathologic psychological conditions which
preferably the inactive ingredients in the 3-month fonnula-        may be treated include, but are not limited to, Mild Mental
tion will be polysorbate 20 (about 10 mg/mL), polyethylene         Retardation (317), Moderate Mental Retardation (318.0),
glycol 4000 (about 75 mg/mL), citric acid monohydrate              Severe Mental Retardation (318.J), Profound Mental Retar-
(about 7.5 mglmL), sodium dihydrogen phosphate mono- 60 dation (3 I 8.2), Mental Retardation Severity Unspeciiled
hydrate (about 6 mglmL), sodium hydroxide (about 5.4               (319), Autistic Disorders (299.00), Rett's Disorder (299.80),
mg/mL) and water for injection. In particular, such a com-         Childhood Disintegrative Disorders (299.I 0), Asperger' s
position for the I -month formulation will comprise by             Disorder (299.80), Pervasive Developmental Disorder Not
weight based on the total volume of the composition: (a)           Otherwise Specified (299.80), Attention-Defici t/Hyperactiv-
from about 3% to 20% (w/v) of the prodmg; (b) from about 65 ity Disorder Combined Type (314.01), Attention-Deficit/
0.5% to 2% (w/v) of a wetting agent; (c) one or more               Hyperactivity Disorder Predominately Inattentive Type
buffering agents sufficient to render the composition neutral      (314.00), Attention-Deficit/Hyperactivity Disorder Pre-

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dominately Hyperactive-Impulsive Type (314.01), Atten-          (292.81), Other (or Unknown) Substance-Induced Persisting
tion-Defici1/Hyperactiviry Disorder NOS (31 4.9), Conducl       Dementia (292.82), Other (or Unknown) Substance-Induced
Disorder (Childhood-Onset and Adolescent Type 312.8),           Psychotic Disorder with Delusions (292.11 ), Other (or
Oppositional Defiant Disorder (313.81), Disruptive Behav-       Unknown) Substance-Induced Psychotic Disorder with Hal-
ior Disorder Not Otherwise Specified (3 I 2.9), Solitary        lucinations (292.12), Other (or Unknown) Substance-In-
Aggressive Type (312.00), Conduc1 Disorder, Undifferenti-       duced Mood Disorder (292.84), Other (or Unknown) Sub-
ated Type (312.90), Tourette's Disorder (307 .23), Chronic      stance-Induced Anxiety Disorder (292.89), Other (or
Motor Or Vocal Tic Disorder (307.22), Transient Tic Dis-        Unknown) Substance Disorder Not Otherwise Specified
order (307.21), Tic Disorder NOS (307.20), Alcohol Intoxi-      (292.9), Obsessive Compulsive Disorder (300.3), Post-trau-
cation Delirium (291.0), Alcohol Withdrawal Delirium
                                                             !O matic Stress Disorder (309.81), Generalized Anxiery Disor-
(291.0), Alcohol-lnduced Persisting Dementia (291.2),
                                                                der (300.02), Anxiety Disorder Not Otherwise Specified
Alcohol-Induced Psychotic Disorder with Delusions
(291 .5), Alcohol-Induced Psychotic Disorder with HaUuci-       (300.00), Body Dysmorphic Disorder (300.7), Hypochon-
nations (291.3), Amphetamine or Similarly Acting Sympath-       driasis (or Hypochondriacal Neurosis) (300. 7), Somatization
omimetic Intoxication (292.89), Amphetamine or Similarly 15 Disorder (300.81), Undifferentiated Somatoform Disorder
Acting Sympathomimetic Delirium (292.81 ), Amphetamine          (300.81), Somatoform Disorder Not Otherwise Specified
or Similarly Acting Sympathomimetic Induced Psychotic           (300.81), Intermittent Explosive Disorder (312.34), Klepto-
with Delusions (292.11), Amphetamine or Similarly Acting        mania (31 2.32), Pathological Gambling (3 I 2.31 ), Pyroma-
Sympathomimetic Induced Psychotic with Hallucinations           nia (312.33), Trichotillomania (312.39), and Impulse Con-
(292.12), Cannabis-Induced Psychotic Disorder with Delu- 20 trol Disorder NOS (312.30), Schizophrenia, Paranoid Type,
sions (292.11), Cannabis-Induced P sychotic Disorder with       (295.30), Schizophrenia, Disorganized (295.10), Schizo-
Hallucinations (292.12), Cocaine Intoxication (292.89),         phrenia, Catatonic Type, (295.20), Schizophrenia, Undiffer-
Cocaine Intoxication Delirium (292.81), Cocaine-Induced         entiated Type (295.90), Schizophrenia, Residual Type
Psychotic Disorder with Delusions (292.11), Cocaine-In-         (295.60), Schizophrenifom1 Disorder (295.40), Schizoalfec-
duced Psychotic Disorder \vith Hallucinations (292.12), 25 tive Disorder (295.70), Delusional Disorder (297.1), Brief
Hallucinogen Intoxication (292.89), Hallucinogen Intoxica-      Psychotic Disorder (298. 8), Shared Psychotic Disorder
tion Delirimn (292.81), Hallucinogen-Induced Psychotic          (297.3), Psychoric Disorder Due to a General Med.ical
disorder with Delusions (292.11 ), Hallucinogen-Induced         Condition with Delusions (293.81), Psychotic Disorder Due
Psychotic disorder with Delusions (292.12), Hallucinogen-       to a General Medical Condition with Hallucinations
Induced Mood Disorder (292.84), Hallucinogen-Induced 30 (293.82), Psychotic Disorders Not Otherwise Specified
Anxiery Disorder (292.89), Hallucinogen-Related Disorder
                                                                (298.9), Major Depression, Single Episode, Severe, without
Not Otherwise Specified (292.9), Inhalant Intoxication
                                                                Psychotic Features (296.23), Major Depression, Recurrent,
(292.89), Inhalant Intoxjcation Delirium (292.81), Inhalant-
                                                                Severe, without Psychotic Features (296.33), Bipolar Dis-
Induced Persisting Dementia (292.82), Inhalant-Induced
Psychotic Disorder with Delusions (292.11), Inhalant-In- 35 order, Mixed, Severe, without Psychotic Features (296.63),
duced Psychotic with Hallucinations (292.12), Inhalant-         Bipolar Disorder, Mixed, Severe, with Psychotic Features
Induced Mood Disorder (292.89), Inhalant-Induced Anxiery        (296.64), Bipolar Disorder, Manic, Severe, without Psy-
Disorder (292.89), Inhalant-Related Disorder Not Otherwise      chotic Features (296.43), Bipolar Disorder, Manic, Severe,
Specified (292.9), Opioid Intoxication Delirium (292.81),       with Psychotic Features (296.44), Bipolar Disorder,
Opioid-Induced Psychotic Disorder with Delusions 40 Depressed, Severe, without Psychotic Features (296.53),
(292.11), Opioid Intoxication Delirium (292.81), Opioid-        Bipolar Disorder, Depressed, Severe, with Psychotic Fea-
lnduced Psychotic Disorder with Hallucinations (292.12),        tmes (296.54), Bipolar II Disorder (296.89), Bipolar Disor-
Opioid-Induced Mood Disorder (292.84), Pbeucyclidine            der Not Otherwise Specified (296.80), Personality Disor-
(PCP) or Similarly Acting Arylcyclohexylamine Intoxica-         ders, Paranoid (301.0), Personality Disorders, Schizoid
tion (292.89), Phencyclidine (PCP) or Similarly Acting 45 (301.20), Personality Disorders, Schiz.otypal (301.22), Per-
Arylcyclohexylamiue Intoxication Delirium (292.81 ), Pben-      sonality Disorders, Antisocial (301 .7), ai1d Personality Dis-
cyclidine (PCP) or Similarly Aeling Arylcyclohexylamine         orders, Borderline (301.83). The numbers in parenthesis
Induced Psychotic Disorder with Delusions (292.11 ), Phen-      refer to the DSM-IV-TR categories.
cyclidine (PCP) or Similarly Acting Arylcyclohexylamine            The tem1 "therapeutically etfoctive amount" as used
Induced Psychotic Disorder with Hallucinations (292.12), 50 herein, means that amounl of acti ve compound or phanua-
Phencyclidine (PCP) or Similarly Acting Arylcyclohex-           ceutical agent that elicits the biological or medicinal
ylamine Mood Disorder (292.84), Phencyclidine (PCP) or          response in htm1an that is being sought by a researcher,
Similarly Acting Arylcyclohexylarnine Induced Anxiety           medical doctor or other clinician, which includes alleviation
Disorder (292.89), Phencyclidine (PCP) or Similarly Acting      of the symptoms of the disease or disorder being treated.
Arylcyclohexylamine Related Disorder Not Otherwise 55 Those of skill in the treatment of diseases could easily
Specified (292.9), Sedative, Hypnotic or Anxiolytic Intoxi-     determine the effective amount of paliperidone to administer
cation (292.89), Sedation, Hypnotic or Anxjo[ytic Intoxica-     for the treatment of the d iseases listed above. By way of
tion Delirium (292.81 ), Sedation, Hypnotic or Anxiolytic       example, an effective ammmt of paliperidone for the treat-
Withdrawal De]jrium (292.81), Sedation, Hypnotic or Anxi-       ment of mental disorders would be from about 0.01 mg/kg
olytic Induced Persisting Dementia (292.82), Sedation, Hyp- 60 to about 2 mg/kg body weight per day. For monthly depot
notic or Anxiolytic-lnduced Psychotic Disorder with Delu-       dosing it is preferred to dose patients with about 25 mg-eq.
sions (292.11), Sedation, Hypnotic or Anxiolytic-Induced        to about 150 mg eq. pa]jperidone or about 39 mg to about
Psychotic Disorder with Hallucinations (292.12), Sedation,      234 mg paliperidone palmitate. TI1e amount of paliperidone
Hypnotic or Amdolytic-lnduced Mood Disorder (292.84),           palmitale is provided in sufficient amount to provide the
Sedation, Hypnotic or Anxiolytic-Induced Anxiety Disorder 65 equivalent dose of paliperidone after the palmitic acid
(292.89), Other (or Unknown) Substance Intoxication             moiety is removed from the ester (e.g. 156 mg co rresponds
(292.89), Other (or Unknown) Substance-Induced Deljrilllll      to paliperidone I 00 mg). For three month depot dosing ii is

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preferred to dose patients with about 175 mg eq. to about                               The paliperidone plasma concentration- time profiles
525 mg eq. paliperidone or about 273 mg to about 819 mg                                   were also simulated for the missed dose scenarios when
paliperidone palmitate.                                                                   the third 525 mg eq. PP3M dose was missed and
                                                                                          treatment was reinitiatecl depending on the duration
                                  TABLE 3                                                 since the last close.

Conversion betwe-.en mg PP and mg oq. pali·peridone for PPIM and PPJM                                                    TABLE 4
   PPlM                                                                              Conversion between mg PP and mg eg. p!iliperidone for PPI M !tnd PP3M
   Dose            PPIM Dose            PP3M Dose          PP3M Dose
  (mg PP)      (mg eq. Poliperidone)     (mg PP)       (mg eq. P,.liperidone)   10      PPlM
                                                                                        Dose              PPIM Dose            PP3M Dose        PP3M Dose
   7Smg               50 mg eq.             273 mg          175 mg eq.                 (mg PP)        (mg eq. Paliperidone)     (mg PP)     (mg eq. Poliperidone)
  117 mg              75 mg eq.             410 mg          263 mg eq.
  156mg              100 mg eq.             546 mg          350 mg eq.                   78mg                50 mg cq.             273 mg        175 mgcq.
  234mg              150 mg eq.             Sl 9 mg         525 mg eq.                  117 mg               75 mg eq.             410 mg       263 mg eq.
                                                                                15      156 mg              100 mg eq.             546 mg       350 mg eq.
PP, palipcridone palmihte;                                                              234 mg              150mgcq.               819 mg       525 mg C'.q.
PPJM, PP 3-montb formulation:
PPIM, PP I-month formulation.                                                        PP. palipc-ridonc p:1lmit.a~;
                                                                                     PPJM, PP J.month formul:ition;
  The following non-limiting examples are provided to    PP1M, PP !·month fom,uJ,tico.
further illustrate the present invemion.              20

                        Example 1. Methodology                                                                           TABLE 5
                                                                         Dosing reinitiation regimen for the missed dose simulations
Population Pharmacokinetics Models
   A comprehensive population pharmacokinetics (PK) 25 Ti1ne interval
                                                                   of missed dose Reiniti!i.tion tre1tmem
model was developed for paliperidone palmitate based on
data from previous studies of subjects with schizophrenia.           <4 months Continue PPJM Ql 2W
Briefly, a population PK model was developed, using the             4-9 months b'"1lment reirutiated with 2 PPlM deltoid injections
                                                                                  separated by one week, followed by PP3M dosing QJ2W
first-order conditional estimation method (FOCE), to esti-           >9 months 150 mg eq. PPIM deltoid injection on day I and
mate the population PK parameters of paliperidone after 30                        100 mg eq. PPIM deltoid injection on day 8,
single and multiple dose administration of PP3M. TI1e                             followed by 3 a.dd ition•l PPIM injections, before
population PK model was cons1r11cted using data from a                            continu ing PP3M dosing Q12W
phase-I       (NCT01559272)        and     phase-III     sn1dy
(NCT01529515). The final population PK model was based               Furthermore, paliperidone plasma concentrations versus
on 8990 PK samples from 651 patients.                          35      time after stopping multiple PP3M doses were simu-
   The PPIM and PP3M models were one-compartment                       lated.
models with first-order elimination. In the PP IM absorption      Assessment ofQ12W Vs Q 13W
sub-model, a fraction of the dose entered the central com-           Finally, simulations were also performed to compare
partment relatively quickly via a zero-order process. After a          Ql2W vs Ql3W closing at steady state with PP3M and
certai11 lag time, the remaining fraction of the close entered 40      to demonstrate the impact of actual 3 months closing
the systemic circulation via a first-order process. The PP3M            (13 weeks) on paliperidone levels.
absorption sub-model consisted of 2 saturable absorption          Results:
processes.                                                           In FIG. 1 the switching from PP! M to PP3M at a default
Model Based Simulations                                           of week 17:!:. I week resu lting in:
   1l1e population PK model was used for simulating pre- 45
clefiDed closing regimeDscenarios. Paliperidone plasma con-                              TABLE 6
centrations were simulaled based on the estima1es of the     Window                                             Crn,,, (ng/mL)
final population PK model using profiles from 5000 patients.
The patient population for simulation was built by sampling, + 1 week                               Reference          ll.6
with replacement of demographic data from patients in the 50 50 mg eq. PPIM Switched to 175 mg eq. Modified           102
                                                             PP3M dose
data set used for the development of PPlM' and PP3M          -1 week                                Reference         58.2
models. PK simulations were perfonned in NONMEM              150 mg eq. PPIM Switched to 525 mg eq. Modified          60 2
version 7.3.0 and data management/processing o f NON-        PP3M dose
Jv!EM output was performed using R 3.0.2 (NONMEM User
Guides, Jeon Development solutions, Ellicott City, Md.). 55      As illustrated by FIG. 1 switching from 50 mg eq. PPIM
The population median and 90% prediction interval of the     to 175 mg eq. PP3M at Week 18 instead of Week 17 led to
simulated plasma concentration-time profiles were planed     a decrease in C.,1,, from 11 .6 ng/mL to 10.2 ng/mL, and
and graphically presented to evaluate the outcome.           switching from 150 mg eq. PPlM to 525 mg eq. PP3M at
Dosing Windows and Missed Doses                              Week 16 instead of Week 17 Jed to an increase in C,,,a., from
   Simulations were performed to assess the dosing window 60 58.2 ng/mL to 60.2 ng/mL. These changes in plasma con-
      during:                                                centrations are relatively &mall when a :!:.I week window is
      (i) switching from PPIM (150 or 50 mg eq.) to PP3M     allowed at the time of switching from PPlM to PP3M.
         (525 or 175 mg eq.) at week 17 and with a :1:l week     In FIGS. 2A-28 the PP3M with a 12 week dosing week
         dosing window; and                                  was modeled. In FIG. 2A the -X week simulations were
      (ii) maintenance therapy with PP3M (525 or 175 mg 65 performed with the highei;t PP3M dose strength of 525 mg
         eq.) at regular week 12 and with a :1:I to 3 week   eq. to simulate a worst-case scenario (i.e., largest % increase
         dosing window                                       in Cmax).

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                                 19                                                                    20
                             TA.BLE 7                                                             TABLE 9
                                                                    Re.• initiation regimen after missing ~4 months up to 9 months of PP3M
          525 mg eq. PP3M
                                                                                            Administer PP1M.                 Then administer
                                                                                           two doses one week               PP3M (into deltoid"
          Reference                        56.4                     Lost PPJM         al2:!!!! {into dc:ltoid musdc:l       or glutC'31 m uscle)
          Modified (- I we.ek)             57.1
                                                                       dose         Day l                 Day 8             I momh after day 8
          Modified (-2 week)               58.0
          Modified (-3 we.ek)              58.8
                                                                    175 mg eq.     50 mg eq.     +      50 mg eq.       +       175 mg eq.
                                                               10   263 mg eq.     75 mg eq.     +      75 mg eq.       +       263 mg eq.
                                                                    350 mg eq.    100 mg eq.     +     100 mg e.q.      +       350 mg e.q.
                                                                    525 mg eq.    too mg eq.     +     too mg "'-1-     +       525 mg etl-
   In FIG. 2B) the +X week simulations were performed
with the lowest PP3M dose strength of 175 mg eq. to            PP3M missed for >9 months, treatment reinitiated with
simulate a worst-case scenario (i.e., largest% drop in Cmin) 15   PPJM for 4 months before continuation of PP3M
since the lowest dose has the shortest apparent t½.               QJ2W
                                                               Concentration of~7 .5 ng/mL was maintained up to IO to
                            TABLE 8                               14 months after the di scontinuation of350 and 525 mg
                                                                  eq.PP3M.
            175 mg e.q. PP3M          Cm,• (nglmL)                Paliperidone concentratjon of?.5 ngfmL is associated
                                                          20
                                                                    with 60% 0 2 receptor occupancy, and is thought to
            Reference                     11.0
            Modified ( +l week)           10.3
                                                                    be required for anti psychotic efficacy'. These simu-
            Modified (+2 week)              9.7                     lations therefore support re-injtiation with at least 4
            Modified ( +3 week)             9.0                     months of treatme11t with PPl M (before transitioning
                                                          25        to PP31'vl) if a maintenance dose of PP3M is missed
                                                                    for more than 9 months.
After stabilization on PP3M, administration of 175 mg eq.      Additional simulations also showed a similar outcome
PP3M:                                                        with other dose strengths (data not shown).
  I week later than the scheduled: Cmin decreased by 0.7
    ng/mL                                                3
                                                          0
                                                                    What is claimed is:
                                                                    l. A dosing regimen for administering an injectable pali-
   2 weeks later than the scheduled: C "''" decreased by J.3     peridone pal mitare depot to a patient in need of treatment for
      ng/mL                                                      psychosis, schizophrenia or bipolar disorder that has been
   3 weeks later than the scheduled: C..,,., decreased by 2.0    treated with a 3-month injectable paliperidone pahnitate
      ng/mL                                                   35 depot (PP3M), wherein said patient had been last ad.minis-
                                                                 tered a PP3M injection more than 9 months ago, and the next
After stabilization on PP3M, administration of 525 mg eq.
                                                                 scheduled maintenance dose of the PP3M should be admin-
PP3M,                                                            istered to said patient, comprising:
   I week earlier than scheduled: Cmax increased by 0.7             (I) administering intramuscularly in the deltoid muscle of
      nglmL                                                   40       said patient a first reinitiation loading dose of 150 mg
   2 weeks earlier than scheduled:: Cma., increased by 1.6             eq. of monthly i1liectable paliperidone palmitate depot
                                                                       (PPJM);
      nglmL
                                                                    (2) admiJJisteriJJg intramuscularly in the deltoid muscle of
   3 weeks earlier than the scheduled: c.,= increased by 2 .4          said patient a second reinitiation loading dose of JOO
      nglmL                                                   45       mg eq. of PPl M on about the 4th day to about the 12th
FIG. 2B illustrates the simulations done with 12 weeks with            day after administering said first reiuitiation loading
a maximum possible wiJJdow of +3 weeks. However, 3                     dose;
months is 13 weeks hence the simulations illustrates 3              (3) administering intramuscularly in the deltoid or gluteal
months+2 week window. These changes in plasma concen-                  muscle of said patient a first rein.itiation maintenance
trations are relatively small and justify a ±3 week window 50          dose of 50 mg eq. to about 150 mg eq. of PPJM on
for Ql2W administration of PP3M, which corresponds to a                about the 23th day to about the 37th day after admin-
±2 week window for Ql3 W (i.e. every 3 months) adminjs.                istering said second reinitiation loading dose;
                                                                    (4) administering intramuscularly in the deltoid or gluteal
tration.
                                                                       muscle of said patient a second reinitiation mainte-
   FlG. 4A-4C illustrate the predicted plasma concentration 55         nance dose of from about 50 mg eq. to about 150 mg
of PP3M (525 mg. eq.) at various time intervals. Similar               eq. of PPJM on about the 23rd day to about the 37th
paliperidone plasma outcomes were observed for other                   day after admin.istering of the first rein.itiation mainte-
dosage strengths. SimjJar paliperidone plasma concentration            nance dose;
as before the missed dose was achieved by the following             (5) ad.min.istering intramuscularly in the deltoid or gluteal
reinitiation treatment:                                       60       muscle of said patient a third reinitiation maintenance
   PP3M missed by <4 months, treatment reinitiated with                dose  of from about 50 mg eq. to about 150 mg eq. of
                                                                       PP IM on about the 23rd day to about the 37th day after
      regular PP3M injections
                                                                       administering of the second reiui tiation maintenance
   PP3M missed between 4-9 months, treatment reinitiated               dose; and
      with 2 PPI M deltoid injections separated by one week, 65     ( 6) ad.min.istering intramuscularly in the deltoid or gluteal
      followed by PP3M dosing Ql2W using the regimen                   muscle of said patient from about 175 mg eq. to about
      described in the table below:                                    525 mg eq. of PP3M on about the 23rd day to about the

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                             21                                                                   22
      3 7th day after administering of the last reuutia!lon            14. TI1e method of claim 11 wherein the reinitiation dose
      maimenance dose of monthly i1tjecrable paliperidone           of PP3M is administered a month after administering said
      palmitatc.                                                    second reinitiation loading dose of PPJ M.
   2. TI1e method of claim 1, wherein said patient is in need          15. The method of claim 1 wherein the second reinitiation
of treatment for psychosis.                                         loading dose of PP IM is administered about 7 days after
   3. TI1e method of claim 1, wherein said patient is in need       administering said first reinitiation loading dose of PP! M.
of treatment for schizophrenia.                                        16. The method of claim 15 wherein the second reinitia-
   4. The method of claim 1, wherein said patient is in need        tion loading dose of PP l M is administered 7 days after
of treatment for bipolar disorder.                                  administering said first reinitiation loading dose of PPlM.
   5. A dosing regimen for administering an injectable pali- 10
                                                                       17. The method of claim 1 wherein the first reinitiation
peridone palmitate depot to a patient in need oftreatment for
                                                                    maintenance dose of PPIM is administered about 30 days
psychosis, schizophrenia or bipolar disorder that has been
                                                                    after administering said second reinitiation loading dose of
treated with PP3M, wherein said patient had been last
administered a PP3M injection 4 to 9 months ago and the             PPJM.
next scheduled maintenance dose of PP3M should be admin- 15            18. The method of claim 1 wherein the first reinitiation
istered to said patient, comprising:                                maintenance dose of PPIM is administered 30 days after
   (1) administering intramuscularly in the deltoid muscle of       administering said second reinitiation loading dose of
      said patient a first reinitiation loading dose of PPIM;       PPJM.
   (2) administering intramuscularly in the deltoid muscle of          19. The method of claim 1 wherein the second reinitiation
      said patient a second reinitiation loading dose of PPIM 20 maintenance of PP lM is administered about 30 days after
      on about the 4th day to about the 12th day after              administering said first reinitiation maintenance dose of
      administering ofsaid first reinitiation loading dose; and     PPJM.
   (3) administering intramuscularly in the deltoid or gluteal         20. The method of claim 1 wherein the second reinitiation
      muscle of said patient a reinitiation dose of PP3M on         maintenance of PPIM is administered 30 days after admin-
      about the 23rd day to about the 37th day after admin- 25 istering said first reinitiation maintenance dose of PPJM.
      istering the second reinitiation loading dose of PP! M           21. TI1e method of claim 1 wherein the third reinitiation
      wherein said first and second reinitiation loading doses      maintenance of PP IM is administered about 30 days after
      and the reinitiation PP3M dose are selected from the          administering said second reinitiation maintenance dose of
      table below based on the amount of the missed dose            PPIM.
                                                                 30
                                                                       22. TI1e method of claim 1 wherein the third reinitiation
                                                                    maintenance of PP IM is administered 30 days after admin-
          Missed
         Dose of       Reinitiation Doses     Reinitiation Doses    istering said second reinitia tion maintenance dose of PP l M.
          PP3M              of PP!M               of PP3M              23. TI1e method of claim 1 wherein PP3M is administered
                                                                    about 30 days after administering said last reinitiat"ion main-
        175 mg eq.          50 mg eq.            175 mgeq.       35 tenance of PP l M.
        263 mg eq.          75 mg eq.            263 mg eq.
        350 mg eq.         100 mg eq.            350 mg eq.            24.111e method of claim 1 wherein PP3M is administered
        525 mg eq.         100 mg eq.            525 mg eq.         30 days after administering said last reinitiationmaintenance
                                                                    of PPIM.
                                                                       25. The method of claim 1 wberei11 PP3M is admin.istered
   6. The method of claim 5, wherein said patient is in need 40
o f treatment for psychosis.                                        about a month after administering said last reinitiation
                                                                    maintenance of PPJM.
   7. TI1e method of claim 5, wherein said patient is in ueed
of treatment for schizophrenia.                                        26. The method of claim 1 wherein PP3M is admiuistered
   8. TI1e method of claim 5 , wherein said patient is in need      a month after ad.ministering said last reinitiation mainte-
                                                                    nance of PP l M.
of treatment for bipolar disorder.                               45
   9. The method of clafrn 5 wherein the second reinilial'ion          27. The method of claim 1 further comprisiug adminis-
dose of PPIM is administered about 7 days after adminis-            tering intramuscularly in the deltoid or gluteal muscle of
tering said first reiui tiat.iou loading dose of PP1M.              said patient a fourth reinitiation maintenance dose of from
   10. TI1e method of claim 9 wherein !he second reinitial'ion      about 50 mg eq. to about 150 mg eq. of PP l Mon about the
dose of PP! M is administered 7 days after administering 50 23rd day to about the 37th day after administering the third
said first reinitiation loading dose of PP l M.                     reinitiation maintenance dose.
                                                                       28. The method of claim 27 wherein said fourth rein.ilia-
   11. TI1e method of claim 5 wherein the reinitialion dose of
PP3M is administered about 30 days after administering said         lion maintenance of PPJM is administered about 30 days
second reinitiation loading dose of PP l M.                         after administering said third reinitiation maintenance dose
   12. TI1e method of claim 11 wherein the reinitiation dose 55 of PPIM.
                                                                       29. The method of claim 28 wherein said fourth reinitia-
of PP3M is administered 30 days after administering said
                                                                    tion maintenance of PPIM is administered 30 days after
second reinitiation loading dose of PPIM.
   13. The method of claim 5 wherein the rei11itiation dose of      administering said third reinitiation maintenance dose of
PP3M is administered about a month after administering              PPIM.
said second reinitiation loading dose of PPIM.                                            *   *   *    *




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                                        U.S. District Court
                            District of New Jersey [LIVE] (Newark)
                     CIVIL DOCKET FOR CASE #: 2:20-cv-13103-EP-LDW


 JANSSEN PHARMACEUTICALS, INC et al v MYLAN                               Date Filed 09/23/2020
 LABORATORIES LIMITED et al                                               Date Terminated: 05/23/2023
 Assigned to Judge Evelyn Padin                                           Jury Demand None
 Referred to: Magistrate Judge Leda D. Wettre                             Nature of Suit: 835 Patent - Abbreviated
 Case in other court: Federal Circuit, 23-02042                           New Drug Application(ANDA)
 Cause 15 1126 Patent Infringement                                        Jurisdiction: Federal Question

 Plaintiff
 JANSSEN PHARMACEUTICALS, INC.                       represented by KEITH J. MILLER
                                                                    ROBINSON MILLER LLC
                                                                    IRONSIDE NEWARK
                                                                    110 EDISON PLACE
                                                                    SUITE 302
                                                                    NEWARK, NJ 07102
                                                                    (973) 690-5400
                                                                    Fax: (973) 466-2760
                                                                    Email: kmiller@rwmlegal.com
                                                                    ATTORNEY TO BE NOTICED

 Plaintiff
 JANSSEN PHARMACEUTICA NV                            represented by KEITH J. MILLER
                                                                    (See above for address)
                                                                    ATTORNEY TO BE NOTICED

 Plaintiff
 JANSSEN RESEARCH &                                  represented by KEITH J. MILLER
 DEVELOPMENT, LLC                                                   (See above for address)
                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 MYLAN LABORATORIES LIMITED                          represented by ARNOLD B. CALMANN
                                                                    SAIBER LLC
                                                                    ONE GATEWAY CENTER, 9TH FLOOR
                                                                    SUITE 950
                                                                    NEWARK, NJ 07102
                                                                    973-622-3333
                                                                    Email: abc@saiber.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED


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                                                                       JEFFREY S. SOOS
                                                                       SAIBER LLC
                                                                       ONE GATEWAY CENTER
                                                                       10TH FLOOR
                                                                       NEWARK, NJ 07102-5311
                                                                       (973) 622-3333
                                                                       Fax: (973) 622-3349
                                                                       Email: js@saiber.com
                                                                       ATTORNEY TO BE NOTICED

                                                                       KATHERINE ANN ESCANLAR
                                                                       SAIBER LLC
                                                                       18 COLUMBIA TURNPIKE
                                                                       SUITE 200
                                                                       FLORHAM PARK, NJ 07932
                                                                       973-622-3333
                                                                       Fax: 973-622-3349
                                                                       Email: kae@saiber.com
                                                                       ATTORNEY TO BE NOTICED

 Defendant
 MYLAN PHARAMACEUTICALS, INC.
 TERMINATED: 09/24/2020

 Defendant
 MYLAN INSTITUTIONAL LLC
 TERMINATED: 09/24/2020

 Counter Claimant
 MYLAN LABORATORIES LIMITED                       represented by ARNOLD B. CALMANN
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                       JEFFREY S. SOOS
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

                                                                       KATHERINE ANN ESCANLAR
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED


 V.
 Counter Defendant
 JANSSEN PHARMACEUTICA NV                         represented by KEITH J. MILLER
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

 Counter Defendant
 JANSSEN PHARMACEUTICALS, INC.                    represented by KEITH J. MILLER
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED
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 Counter Defendant
 JANSSEN RESEARCH &                                     represented by KEITH J. MILLER
 DEVELOPMENT, LLC                                                      (See above for address)
                                                                       ATTORNEY TO BE NOTICED


  Date Filed       #   Docket Text
  09/23/2020        1 COMPLAINT against MYLAN INSTITUTIONAL LLC, MYLAN LABORATORIES
                      LIMITED, MYLAN PHARAMACEUTICALS, INC. ( Filing and Admin fee $ 400
                      receipt number ANJDC-11397455), filed by JANSSEN PHARMACEUTICALS, INC.,
                      JANSSEN RESEARCH & DEVELOPMENT, LLC, JANSSEN PHARMACEUTICA
                      NV. (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet)(MILLER, KEITH) (Entered:
                      09/23/2020)
  09/24/2020           Judge Brian R Martinotti and Magistrate Judge Lois H Goodman added (abr, ) (Entered
                       09/24/2020)
  09/24/2020        2 AO120 Patent Form filed. (abr, ) (Entered: 09/24/2020)
  09/24/2020        3 SUMMONS ISSUED as to MYLAN INSTITUTIONAL LLC, MYLAN
                      LABORATORIES LIMITED. Attached is the official court Summons, please fill out
                      Defendant and Plaintiffs attorney information and serve (abr) (Entered 09/24/2020)
  09/24/2020        4 Letter from Keith J. Miller, Esq. to the Hon. Brian R. Martinotti, U.S.D.J. re Proposed
                      Stipulation and Order Dismissing Without Prejudice Certain Defendants. (Attachments: #
                      1 Text of Proposed Order)(MILLER, KEITH) (Entered: 09/24/2020)
  09/24/2020        5 STIPULATION AND ORDER of dismissal as to MYLAN INSTITUTIONAL LLC and
                      MYLAN PHARAMACEUTICALS, INC without prejudice Signed by Judge Brian R
                      Martinotti on 09/24/2020. (jdb) (Entered: 09/24/2020)
  09/25/2020        6 Corporate Disclosure Statement by JANSSEN PHARMACEUTICA NV, JANSSEN
                      PHARMACEUTICALS, INC., JANSSEN RESEARCH & DEVELOPMENT, LLC
                      identifying Johnson & Johnson as Corporate Parent.. (MILLER, KEITH) (Entered:
                      09/25/2020)
  10/01/2020        7 NOTICE of Appearance by ARNOLD B. CALMANN on behalf of MYLAN
                      LABORATORIES LIMITED (CALMANN, ARNOLD) (Entered 10/01/2020)
  10/01/2020        8 NOTICE of Appearance by JEFFREY S. SOOS on behalf of MYLAN LABORATORIES
                      LIMITED (SOOS, JEFFREY) (Entered: 10/01/2020)
  10/01/2020        9 NOTICE of Appearance by KATHERINE ANN ESCANLAR on behalf of MYLAN
                      LABORATORIES LIMITED (ESCANLAR, KATHERINE) (Entered: 10/01/2020)
  10/01/2020       10 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Regarding Application On Consent for the Pro Hac Vice Admission of Deepro R.
                      Mukerjee, Esq., Lance A. Soderstrom, Esq., Jitendra Malik, Ph.D., Esq., and Guylaine
                      Hache, Ph.D., Esq. on Behalf of Mylan Laboratories Limited. (Attachments: # 1
                      Certification of Arnold B. Calmann, Esq., # 2 Declaration of Deepro R. Mukerjee, Esq., #
                      3 Declaration of Lance A. Soderstrom, Esq., # 4 Declaration of Jitendra Malik, Esq., # 5
                      Declaration of Guylaine Hache, Esq., # 6 Text of Proposed Order)(CALMANN,
                      ARNOLD) (Entered: 10/01/2020)
  10/05/2020       11 ORDER granting pro hac vice admission as to Deepro R. Mukerjee, Esq. and Lance A.
                      Soderstrom, Esq Signed by Magistrate Judge Lois H Goodman on 10/05/2020 (jdb)

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                       (Entered: 10/05/2020)
  10/06/2020       12 Notice of Request by Pro Hac Vice Deepro R. Mukerjee, Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11461548.)
                      (CALMANN, ARNOLD) (Entered: 10/06/2020)
  10/06/2020       13 Notice of Request by Pro Hac Vice Lance A. Soderstrom, Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11461578.)
                      (CALMANN, ARNOLD) (Entered: 10/06/2020)
  10/06/2020       14 Notice of Request by Pro Hac Vice Jitendra Malik, Ph.D., Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11461701.)
                      (CALMANN, ARNOLD) (Entered: 10/06/2020)
  10/06/2020       15 Notice of Request by Pro Hac Vice Guylaine Hache, Ph.D., Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11461739.)
                      (CALMANN, ARNOLD) (Entered: 10/06/2020)
  10/06/2020       16 Application and Proposed Order for Clerk's Order to extend time to answer as to
                      Plaintiffs' Complaint.. (CALMANN, ARNOLD) (Entered: 10/06/2020)
  10/06/2020           Pro Hac Vice counsel, GUYLAINE HACHE, DEEPRO R. MUKERJEE, JITENDRA
                       MALIK and LANCE A. SODERSTROM, has been added to receive Notices of
                       Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                       file papers, enter appearances and receive payments on judgments, decrees or orders.
                       (abr, ) (Entered: 10/06/2020)
  10/06/2020           Clerk`s Text Order - The document 16 Application for Clerk's Order to Ext
                       Answer/Proposed Order submitted by MYLAN LABORATORIES LIMITED has been
                       GRANTED. The answer due date has been set for 11/2/2020. (abr, ) (Entered:
                       10/06/2020)
  10/19/2020       17 NOTICE of Change of Address by ARNOLD B. CALMANN (CALMANN, ARNOLD)
                      (Entered: 10/19/2020)
  11/02/2020       18 ANSWER to Complaint , Separate Defenses, COUNTERCLAIM against JANSSEN
                      PHARMACEUTICA NV, JANSSEN PHARMACEUTICALS, INC., JANSSEN
                      RESEARCH & DEVELOPMENT, LLC by MYLAN LABORATORIES LIMITED.
                      (Attachments: # 1 Certificate of Service)(CALMANN, ARNOLD) (Entered: 11/02/2020)
  11/02/2020       19 Corporate Disclosure Statement by MYLAN LABORATORIES LIMITED.
                      (CALMANN, ARNOLD) (Entered: 11/02/2020)
  11/06/2020       20 Letter from Keith J. Miller, Esq. to Hon. Lois Goodman, U.S.M.J. re Pro Hac Vice
                      Admissions. (Attachments: # 1 Declaration of Keith J. Miller, # 2 Declaration of Barbara
                      Mullin, # 3 Declaration of Aron Fisher, # 4 Declaration of Andrew Cohen, # 5 Text of
                      Proposed Order)(MILLER, KEITH) (Entered: 11/06/2020)
  11/09/2020       21 ORDER granting pro hac vice admission as to Andrew D. Cohen, Esq., Barbara Lynn
                      Mullin, Esq., and Aron Fischer, Esq. Signed by Magistrate Judge Lois H. Goodman on
                      11/09/2020. (jdb) (Entered: 11/09/2020)
  11/10/2020       22 Notice of Request by Pro Hac Vice Andrew D. Cohen, Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11630807.)
                      (MILLER, KEITH) (Entered: 11/10/2020)
  11/10/2020       23 Notice of Request by Pro Hac Vice Barbara Lynn Mullin, Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11630842.)
                      (MILLER, KEITH) (Entered: 11/10/2020)

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  11/10/2020       24 Notice of Request by Pro Hac Vice Aron Fischer, Esq. to receive Notices of Electronic
                      Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-11630863.) (MILLER, KEITH)
                      (Entered: 11/10/2020)
  11/10/2020           Pro Hac Vice counsel, REW D. COHEN, BARBARA L. MULLIN and ARON
                       FISCHER, has been added to receive Notices of Electronic Filing. Pursuant to L.Civ.R.
                       101.1, only local counsel are entitled to sign and file papers, enter appearances and
                       receive payments on judgments, decrees or orders. (jem) (Entered: 11/10/2020)
  11/20/2020       25 ANSWER to Counterclaim by All Plaintiffs.(MILLER, KEITH) (Entered: 11/20/2020)
  12/02/2020       26 Corporate Disclosure Statement by MYLAN LABORATORIES LIMITED.
                      (CALMANN, ARNOLD) (Entered: 12/02/2020)
  03/16/2021       27 Order Initial Conference set for 4/21/2021 10:00 AM via Telephone Conference before
                      Magistrate Judge Lois H. Goodman. The Court will provide counsel with dial in
                      information prior to the scheduled conference. Signed by Magistrate Judge Lois H.
                      Goodman on 3/16/2021. (if, ) (Entered: 03/16/2021)
  04/21/2021           Text Minute Entry for proceedings held before Magistrate Judge Lois H. Goodman:
                       Initial Pretrial Conference held on 4/21/2021 via Telephone Conference. (ijf, ) (Entered:
                       04/23/2021)
  04/22/2021       28 Discovery Confidentiality Order filed. Signed by Magistrate Judge Lois H. Goodman on
                      4/22/2021. (abr, ) (Entered: 04/22/2021)
  04/26/2021       29 Letter from Keith J. Miller, Esq. Regarding Application On Consent for the Pro Hac Vice
                      Admission of Lachlan Campbell-Verduyn, Esq., J. Jay Cho, Esq., and A. Robert Quirk,
                      Esq.. (Attachments: # 1 Declaration of Keith J. Miller, Esq., # 2 Declaration of Lachlan
                      Campbell-Verduyn, Esq., # 3 Declaration of J. Jay Cho, Esq., # 4 Declaration of A.
                      Robert Quirk, Esq., # 5 Text of Proposed Order)(MILLER, KEITH) (Entered:
                      04/26/2021)
  05/07/2021       30 PRETRIAL SCHEDULING ORDER: Telephone Conference set for 6/15/2021 at 11:30
                      AM before Magistrate Judge Lois H. Goodman; Final Pretrial Conference set for
                      9/1/2022 10:00 AM before Magistrate Judge Lois H. Goodman; Any motion to amend the
                      pleadings or join new parties must be with leave of Court and filed no later than
                      7/23/2021. Signed by Magistrate Judge Lois H. Goodman on 5/7/2021. (abr, ) (Entered:
                      05/07/2021)
  06/04/2021       31 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Regarding Application (On Consent) for the Pro Hac Vice Admission of Jillian M. Schurr,
                      Esq. on behalf of Mylan Laboratories Limited. (Attachments: # 1 Certification of Arnold
                      B. Calmann, Esq., # 2 Declaration of Jillian M. Schurr, Esq., # 3 Text of Proposed Order)
                      (CALMANN, ARNOLD) (Entered: 06/04/2021)
  06/14/2021       32 TEXT ORDER rescheduling the 6/15/2021 Telephone Conference with Magistrate Judge
                      Lois H. Goodman to 8/16/2021 at 3:00 p.m. So Ordered by Magistrate Judge Lois H.
                      Goodman on 6/14/2021. (ijf, ) (Entered: 06/14/2021)
  06/28/2021       33 TEXT ORDER REASSIGNING CASE. Case reassigned to Judge Zahid N. Quraishi for
                      all further proceedings. Judge Brian R. Martinotti no longer assigned to case. So Ordered
                      by Chief Judge Freda L. Wolfson on 6/28/2021. (jmh) (Entered: 06/28/2021)
  07/01/2021       34 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Requesting Approval of Withdrawal of Pro Hac Vice Attorney, Guylaine Hache, Esq. re
                      11 Order. (CALMANN, ARNOLD) (Entered: 07/01/2021)


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  07/16/2021       35 ORDER granting admission pro hac vice as to Jillian M. Schurr. Signed by Magistrate
                      Judge Lois H Goodman on 7/16/2021 (mg) (Entered 07/16/2021)
  07/16/2021       36 LETTER ORDER granting withdrawal of Guylaine Hache as counsel of record for MLL
                      in this matter. Signed by Magistrate Judge Lois H. Goodman on 7/16/2021. (mg)
                      (Entered: 07/16/2021)
  07/19/2021       37 Notice of Request by Pro Hac Vice Jillian M. Schurr, Esq. to receive Notices of
                      Electronic Filings ( Pro Hac Vice fee $ 150 receipt number ANJDC 12640761 )
                      (CALMANN, ARNOLD) (Entered: 07/19/2021)
  07/19/2021           Pro Hac Vice counsel, JILLIAN M. SCHURR, has been added to receive Notices of
                       Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                       file papers, enter appearances and receive payments on judgments, decrees or orders.
                       (abr, ) (Entered: 07/19/2021)
  07/29/2021       38 JOINT STIPULATION AND ORDER modifying Pretrial Scheduling Order. Signed by
                      Magistrate Judge Lois H Goodman on 7/29/2021 (abr, ) (Entered 07/29/2021)
  08/13/2021       39 TEXT ORDER rescheduling the Telephone Conference scheduled for 8/16/2021 to
                      11/30/2021 at 3:30 p.m. with Magistrate Judge Lois H. Goodman. So Ordered by
                      Magistrate Judge Lois H. Goodman on 8/13/2021. (ijf, ) (Entered: 08/13/2021)
  09/10/2021       40 Letter from Keith J. Miller, Esq. to Hon. Zahid N. Quraishi, U.S.D.J. and Hon. Lois
                      Goodman, U S M J re 38 Stipulation and Order (MILLER, KEITH) (Entered
                      09/10/2021)
  11/29/2021           ATTENTION COUNSEL: The 11/30/2021 Telephone Conference with Magistrate Judge
                       Lois H. Goodman has been rescheduled to 1/3/2022 at 9:30 a.m. The Court will provide
                       counsel with the dial in information prior to the scheduled conferenc. (ijf, ) (Entered:
                       11/29/2021)
  12/03/2021       41 Letter from Keith J. Miller, Esq. to Hon. Lois H. Goodman, U.S.M.J. enclosing
                      application for the pro hac vice admission of Joyce L Nadipuram, Esq (Attachments #
                      1 Declaration of Keith J. Miller, Esq., # 2 Declaration of Joyce L. Nadipuram, Esq., # 3
                      Text of Proposed Order)(MILLER, KEITH) (Entered 12/03/2021)
  12/13/2021       42 ORDER granting pro hac vice admissions as to Joyce L. Nadipuram. Signed by
                      Magistrate Judge Lois H. Goodman on 12/13/2021. (abr, ) (Entered: 12/13/2021)
  12/15/2021       43 Notice of Request by Pro Hac Vice Joyce L Nadipuram, Esq to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-13044233.)
                      (MILLER, KEITH) (Entered 12/15/2021)
  12/15/2021       44 ORDER granting pro hac vice as to Lachlan Campbell-Verduyn, J. Jay Cho, and A.
                      Robert Quirk. Signed by Magistrate Judge Lois H. Goodman on 12/15/2021. (abr, )
                      (Entered: 12/15/2021)
  12/17/2021           Pro Hac Vice counsel, JOYCE L. NADIPURAM, has been added to receive Notices of
                       Electronic Filing Pursuant to L Civ R 101 1, only local counsel are entitled to sign and
                       file papers, enter appearances and receive payments on judgments, decrees or orders. (jal,
                       ) (Entered 12/17/2021)
  01/03/2022           Text Minute Entry for proceedings held before Magistrate Judge Lois H. Goodman:
                       Telephone Conference held on 1/3/2022. (ijf, ) (Entered: 01/04/2022)
  01/04/2022       45 TEXT ORDER by 1/14/2022 each side is to submit an ex parte statement as to their
                      position regarding settlement and whether parties believe a Settlement Conference would
                      be productive Counsel are directed to submit consolidation order as to the three related
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                       cases by 1/24/2022. Telephone Conference set for 4/26/2022 at 11:00 a.m. with
                       Magistrate Judge Lois H. Goodman. Plaintiffs' counsel to initiate the call at that time. So
                       Ordered by Magistrate Judge Lois H. Goodman on 1/4/2022. (ijf, ) (Entered: 01/04/2022)
  01/05/2022       46 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Regarding Application on Consent for the Pro Hac Vice Admission of Joseph Michael
                      Janusz, Esq.. (Attachments: # 1 Certification of Arnold B. Calmann, Esq., # 2 Declaration
                      of Joseph Michael Janusz, Esq., # 3 Text of Proposed Order)(CALMANN, ARNOLD)
                      (Entered: 01/05/2022)
  01/06/2022       47 Letter from Keith J. Miller, Esq. to Hon. Zahid Quraishi, U.S.D.J. re Proposed
                      Consolidation Order. (Attachments: # 1 Text of Proposed Order)(MILLER, KEITH)
                      (Entered: 01/06/2022)
  01/07/2022       48 STIPULATION AND ORDER consolidating cases for all purposes. Signed by Judge
                      Zahid N. Quraishi on 1/7/2022. (abr, ) (Entered: 01/07/2022)
  01/11/2022       49 AMENDED PRETRIAL SCHEDULING ORDER: Trial has been rescheduled to
                      10/3/2022 at 10:00 AM. Signed by Magistrate Judge Lois H. Goodman on 1/11/2022.
                      (abr, ) (Entered: 01/11/2022)
  01/25/2022       50 ORDER granting pro hac vice admissions as to Joseph Michael Janusz, Esq. Signed by
                      Magistrate Judge Lois H. Goodman on 1/25/2022. (abr, ) (Entered: 01/25/2022)
  01/25/2022       51 Notice of Request by Pro Hac Vice Joseph Michael Janusz, Esq. to receive Notices of
                      Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-13137681.)
                      (CALMANN, ARNOLD) (Entered: 01/25/2022)
  01/26/2022           Pro Hac Vice counsel, JOSEPH MICHAEL JANUSZ, has been added to receive Notices
                       of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign
                       and file papers, enter appearances and receive payments on judgments, decrees or orders.
                       (abr, ) (Entered: 01/26/2022)
  03/03/2022       52 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Enclosing Proposed Amended Scheduling Order Extending the Deadlines for the
                      Exchange of Expert Reports re 30 Scheduling Order,. (Attachments: # 1 Text of Proposed
                      Order)(CALMANN, ARNOLD) (Entered: 03/03/2022)
  03/09/2022       53 AMENDED SCHEDULING ORDER extending deadlines for exchange of expert
                      reports. Signed by Magistrate Judge Lois H. Goodman on 3/8/2022. (abr, ) (Entered:
                      03/09/2022)
  04/01/2022       54 NOTICE by MYLAN LABORATORIES LIMITED of Change of Address of Pro Hac
                      Vice Attorney (CALMANN, ARNOLD) (Entered: 04/01/2022)
  04/11/2022       55 TEXT ORDER REASSIGNING CASE. Case reassigned to Judge Georgette Castner for
                      all further proceedings. Judge Zahid N. Quraishi no longer assigned to case. So Ordered
                      by Chief Judge Freda L. Wolfson on 4/11/2022. (dm ) (Entered: 04/11/2022)
  04/26/2022           TEXT Minute Entry for proceedings held before Magistrate Judge Lois H. Goodman:
                       Telephone Conference held on 4/26/2022. (eh, ) (Entered: 04/26/2022)
  04/26/2022       56 TEXT ORDER: Counsel are to report by 4/29/22 on their efforts to resolve the invalidity
                      contentions/expert issue. If they are unable to resolve it, they are to submit a joint letter
                      by 5/6/22. The Court will conduct a Telephone Status Conference on 6/15/2022 at 11:00
                      AM. So Ordered by Magistrate Judge Lois H. Goodman on 4/26/2022. (eh, ) (Entered:
                      04/26/2022)


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  04/27/2022       57 TEXT ORDER: A Status Conference is set for 5/9/2022 at 11:00 AM in Trenton -
                      Courtroom 4E before Judge Georgette Castner. The parties are to submit to the Court a
                      joint status report one week prior to the conference not to exceed 5 pages. So Ordered by
                      Judge Georgette Castner on 4/27/22. (adi, ) (Entered: 04/27/2022)
  05/02/2022       58 TEXT ORDER: Parties' request of a one-day extension of time to submit to the Court on
                      5/3/2022 a joint status report is hereby granted. So Ordered by Judge Georgette Castner
                      on 5/2/2022. (adi, ) (Entered: 05/02/2022)
  05/03/2022       59 Letter from Arnold B. Calmann, Esq. to the Honorable Georgette Castner, U.S.D.J.
                      Regarding Joint Status Report re 57 Order,, Set Hearings, 58 Order. (CALMANN,
                      ARNOLD) (Entered: 05/03/2022)
  05/05/2022       60 Notice of Request by Pro Hac Vice A. Robert Quirk, Esq. to receive Notices of Electronic
                      Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-13390158.) (MILLER, KEITH)
                      (Entered: 05/05/2022)
  05/05/2022       61 Notice of Request by Pro Hac Vice Jay Cho, Esq. to receive Notices of Electronic Filings.
                      ( Pro Hac Vice fee $ 150 receipt number ANJDC-13390175.) (MILLER, KEITH)
                      (Entered: 05/05/2022)
  05/05/2022       62 Notice of Request by Pro Hac Vice Lachlan S. Campbell-Verduyn, Esq. to receive
                      Notices of Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-
                      13390189.) (MILLER, KEITH) (Entered: 05/05/2022)
  05/06/2022           Pro Hac Vice counsel, A. ROBERT QUIRK, JAY J. CHO and LACHLAN CAMPBELL-
                       VERDUYN, has been added to receive Notices of Electronic Filing. Pursuant to L.Civ.R.
                       101.1, only local counsel are entitled to sign and file papers, enter appearances and
                       receive payments on judgments, decrees or orders. (jdg) (Entered: 05/06/2022)
  05/09/2022           Text Minute Entry for proceedings held before Judge Georgette Castner: Status
                       Conference held on 5/9/2022. Not on the record. (adi, ) (Entered: 05/09/2022)
  05/11/2022       63 Consent MOTION to Dismiss (Partial) by All Plaintiffs. Responses due by 5/23/2022
                      (Attachments: # 1 Brief, # 2 Text of Proposed Order)(MILLER, KEITH) (Entered:
                      05/11/2022)
  05/11/2022           Set Deadlines as to 63 Consent MOTION to Dismiss (Partial). Motion set for 6/6/2022
                       before Judge Georgette Castner. Unless otherwise directed by the Court, this motion will
                       be decided on the papers and no appearances are required. Note that this is an
                       automatically generated message from the Clerk`s Office and does not supersede any
                       previous or subsequent orders from the Court. (abr, ) (Entered: 05/11/2022)
  05/26/2022       64 Letter from Arnold B. Calmann, Esq. to the Honorable Georgette Castner, U.S.D.J. and
                      the Honorable Lois H. Goodman, U.S.M.J. Regarding Tutorial and Final Pretrial
                      Conference. (CALMANN, ARNOLD) (Entered: 05/26/2022)
  06/03/2022       65 ORDER granting 63 Motion to Partially Dismiss; Plaintiff;s claims of infringement of
                      claims 1-3 and 15-29 of the 693 Patent based on the Mylan and ANDAs are dismissed
                      with prejudice; Mylan's counterclaims for a declaratory judgment of non-infringement
                      and invalidity as to claims 1-3 and 15-29 of the 693 Patent are dismissed as moot. Signed
                      by Judge Georgette Castner on 6/2/2022. (abr, ) (Entered: 06/03/2022)
  06/06/2022       66 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Regarding Application On Consent for the Pro Hac Vice Admission of Brian Sodikoff,
                      Esq. on Behalf of Defendant Mylan. (Attachments: # 1 Certification of Arnold B.
                      Calmann, Esq., # 2 Declaration of Brian Sodikoff, Esq., # 3 Text of Proposed Order)
                      (CALMANN, ARNOLD) (Entered: 06/06/2022)

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  06/07/2022       67 ORDER granting pro hac vice admissions as to Brian Sodikoff. Signed by Magistrate
                      Judge Lois H. Goodman on 6/7/2022. (abr, ) (Entered: 06/07/2022)
  06/09/2022       68 Notice of Request by Pro Hac Vice Brian Sodikoff, Esq. to receive Notices of Electronic
                      Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-13473518.) (CALMANN,
                      ARNOLD) (Entered: 06/09/2022)
  06/10/2022           Pro Hac Vice counsel, BRIAN SODIKOFF, has been added to receive Notices of
                       Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                       file papers, enter appearances and receive payments on judgments, decrees or orders.
                       (abr, ) (Entered: 06/10/2022)
  06/15/2022           Text Minute Entry for proceedings held before Magistrate Judge Lois H. Goodman:
                       Telephone Conference held on 6/15/2022. (ijf, ) (Entered: 06/21/2022)
  06/21/2022       69 AMENDED PRETRIAL SCHEDULING ORDER: Final Pretrial Conference is
                      adjourned to 9/8/2022 at 12:00 PM before Judge Lois H. Goodman . Counsel are to report
                      on the status of any settlement discussions by no later than 6/17/2022. Signed by
                      Magistrate Judge Lois H. Goodman on 6/21/2022. (jdg) Modified on 6/22/2022 (jmh).
                      (Entered: 06/21/2022)
  06/23/2022       70 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                      Requesting Extension of Time to Submit Joint Dispute Letter Regarding Expert Report re
                      69 Scheduling Order,. (CALMANN, ARNOLD) (Entered: 06/23/2022)
  06/28/2022       71 LETTER ORDER extending deadline to submit joint letter regarding the scope of
                      defendant's expert report to 6/28/2022. Signed by Magistrate Judge Lois H. Goodman on
                      6/28/2022. (abr, ) (Entered: 06/28/2022)
  06/28/2022       72 Letter from Keith J. Miller, Esq. to Hon. Lois Goodman, U.S.M.J. re Infringement
                      Contentions Dispute. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                      Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                      Exhibit 10, # 11 Exhibit A, # 12 Exhibit B, # 13 Exhibit C, # 14 Exhibit D)(MILLER,
                      KEITH)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 06/28/2022)

  07/11/2022       73 TEXT ORDER granting the parties' joint request to extend the deadline for expert
                      discovery to be completed by 8/10/2022. So Ordered by Magistrate Judge Lois H.
                      Goodman on 7/11/2022. (ijf, ) (Entered: 07/11/2022)
  07/12/2022       74 REDACTION to 72 Letter,,, by MYLAN LABORATORIES LIMITED. (Attachments: #
                      1 UNREDACTED Exhibit 1, # 2 REDACTED Exhibit 2, # 3 REDACTED Exhibit 3, # 4
                      UNREDACTED Exhibit 4, # 5 REDACTED Exhibit 5, # 6 REDACTED Exhibit 6, # 7
                      UNREDACTED Exhibit 7, # 8 UNREDACTED Exhibit 8, # 9 UNREDACTED Exhibit
                      9, # 10 UNREDACTED Exhibit 10, # 11 REDACTED Exhibit A, # 12 REDACTED
                      Exhibit B, # 13 UNREDACTED Exhibit C, # 14 REDACTED Exhibit D)(CALMANN,
                      ARNOLD) (Entered: 07/12/2022)
  07/12/2022       75 Joint MOTION to Seal Document 72 Letter,,, by MYLAN LABORATORIES LIMITED.
                      (Attachments: # 1 Declaration of Preston Imperatore in support of Motion to Seal, # 2
                      Exhibit 1 - Index in support of Motion to Seal, # 3 Statement of Keith J. Miller, Esq. in
                      support of Motion to Seal, # 4 Index in support of Motion to Seal, # 5 Text of Proposed
                      Order, # 6 Certificate of Service)(CALMANN, ARNOLD) (Entered: 07/12/2022)

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  07/13/2022           Set Deadlines as to 75 Joint MOTION to Seal Document 72 Letter,,, . Motion set for
                       8/15/2022 before Magistrate Judge Lois H. Goodman. Unless otherwise directed by the
                       Court, this motion will be decided on the papers and no appearances are required. Note
                       that this is an automatically generated message from the Clerk`s Office and does not
                       supersede any previous or subsequent orders from the Court. (abr, ) (Entered:
                       07/13/2022)
  07/28/2022       76 AMENDED PRETRIAL SCHEDULING ORDER: Parties are to file any motion in
                      limine by no later than 45 days before trial. Signed by Magistrate Judge Lois H.
                      Goodman on 7/27/2022. (abr, ) (Entered: 07/28/2022)
  08/04/2022       77 ORDER granting 75 Motion to Seal Document 75 Joint MOTION to Seal Document 72
                      Letter,,, . Signed by Magistrate Judge Lois H. Goodman on 8/4/2022. (mg) (Entered:
                      08/04/2022)
  08/04/2022       78 LETTER ORDER that Janssen's request to strike portions of Dr. Berger's rebuttal report
                      is denied without prejudice; Janssen may file the appropriate motion in limine in
                      accordance with timeline as set by the Court for such motions. Signed by Magistrate
                      Judge Lois H. Goodman on 8/4/2022. (mg) (Entered: 08/04/2022)
  08/09/2022       79 Letter from Keith J. Miller, Esq. to Hon. Georgette Castner, U.S.D.J. re Pretrial Briefs.
                      (MILLER, KEITH) (Entered: 08/09/2022)
  08/19/2022       80 MOTION in Limine Nos. 1-3 by MYLAN LABORATORIES LIMITED. (Attachments: #
                      1 Text of Proposed Order Motion in Limine No. 1, # 2 Text of Proposed Order Motion in
                      Limine No. 2, # 3 Text of Proposed Order Motion in Limine No. 3, # 4 Certificate of
                      Service)(CALMANN, ARNOLD) (Entered: 08/19/2022)
  08/19/2022       81 MOTION in Limine by All Plaintiffs. (Attachments: # 1 Brief, # 2 Declaration of Keith J.
                      Miller, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6 Text of Proposed Order)(MILLER,
                      KEITH) (Entered: 08/19/2022)
  08/19/2022       82 BRIEF in Support filed by MYLAN LABORATORIES LIMITED re 80 MOTION in
                      Limine Nos. 1-3 Motion in Limine No. 1 to Preclude Evidence of a Single Entity Direct
                      Infringer (CALMANN, ARNOLD)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 08/19/2022)

  08/19/2022       83 BRIEF in Support filed by MYLAN LABORATORIES LIMITED re 80 MOTION in
                      Limine Nos. 1-3 Motion in Limine No. 2 to Exclude Evidence of Alleged Commercial
                      Success of Invega Trinza by Ms. Carla Mulhern (CALMANN, ARNOLD)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 08/19/2022)

  08/19/2022       84 BRIEF in Support filed by MYLAN LABORATORIES LIMITED re 80 MOTION in
                      Limine Nos. 1-3 Motion in Limine No. 3 to Preclude Argument, Evidence, or Testimony
                      That Was Not Previously Disclosed Regarding the Prior Art Status of JAMA
                      (CALMANN, ARNOLD)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials


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                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court (Entered 08/19/2022)

  08/19/2022       85 DECLARATION of Jillian M. Schurr, Esq. in Support of Mylan's Motions In Limine
                      Nos. 1-3 re 83 Brief in Support of Motion,, 82 Brief in Support of Motion,, 80 MOTION
                      in Limine Nos. 1-3, 84 Brief in Support of Motion,, by MYLAN LABORATORIES
                      LIMITED. (CALMANN, ARNOLD) (Entered: 08/19/2022)
  08/19/2022       86 Exhibit to 85 Declaration, Exhibits 1 8 to the Declaration of Jillian M Schurr, Esq by
                      MYLAN LABORATORIES LIMITED. (Attachments: # 1 Exhibit 9-16 to the
                      Declaration of Jillian M Schurr, Esq in support of Mylan's Motions in Limine Nos 1 3)
                      (CALMANN, ARNOLD)

                       NOTICE TO COUNSEL Counsel is advised that pursuant to Local Civil Rule 5 3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 08/19/2022)

  08/19/2022           Clerk's Note: Doc. 81 was sealed at the request of counsel. (jr) (Entered: 08/19/2022)
  08/22/2022           Set Deadlines as to 80 MOTION in Limine Nos 1 3, 81 MOTION in Limine Motion set
                       for 9/19/2022 before Judge Georgette Castner. Unless otherwise directed by the Court,
                       this motion will be decided on the papers and no appearances are required Note that this
                       is an automatically generated message from the Clerk`s Office and does not supersede
                       any previous or subsequent orders from the Court (mg) (Entered 08/22/2022)
  08/31/2022       87 Letter from Arnold B. Calmann, Esq. to the Honorable Georgette Castner, U.S.D.J.
                      Regarding Mylan's Motion In Limine No. 3. (CALMANN, ARNOLD) (Entered:
                      08/31/2022)
  09/02/2022       88 NOTICE by MYLAN LABORATORIES LIMITED Pursuant to 35 U.S.C. Section 282
                      (Attachments # 1 Certificate of Service)(CALMANN, ARNOLD) (Entered 09/02/2022)
  09/02/2022       89 BRIEF in Opposition filed by All Plaintiffs re 80 MOTION in Limine Nos. 1-3 (Motion
                      in Limine No. 1) (MILLER, KEITH)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 09/02/2022)

  09/02/2022       90 BRIEF in Opposition filed by All Plaintiffs re 80 MOTION in Limine Nos 1 3 (Motion
                      in Limine No. 2) (Attachments: # 1 Declaration of Keith J. Miller, # 2 Exhibit 1, # 3
                      Exhibit 2)(MILLER, KEITH)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court (Entered 09/02/2022)

  09/02/2022       91 BRIEF in Opposition filed by MYLAN LABORATORIES LIMITED re 81 MOTION in
                      Limine (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(CALMANN,
                      ARNOLD)

                       NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                       consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                       sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                       temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 09/02/2022)


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  09/02/2022        92 DECLARATION of of Jillian M. Schurr, Esq. in Support of Mylan's Opposition to
                       Plaintiffs' Motion In Limine re 91 Brief in Opposition to Motion,, by MYLAN
                       LABORATORIES LIMITED. (Attachments: # 1 Certificate of Service)(CALMANN,
                       ARNOLD) (Entered: 09/02/2022)
  09/08/2022            Text Minute Entry for proceedings held before Magistrate Judge Lois H. Goodman: Final
                        Pretrial Conference held on 9/8/2022. (ijf, ) (Entered: 09/13/2022)
  09/08/2022        94 Minute Entry for proceedings held before Judge Georgette Castner: Technology tutorial
                       presentation held on 9/8/2022. Parties are to submit briefs addressing certain topics by
                       9/19/2022. (Court Reporter, Frank Gable (856-889-4761)) (adi, ) (Entered: 09/14/2022)
  09/12/2022        93 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J.
                       Regarding Application on Consent for the Pro Hac Vice Admission of Christopher W.
                       West, Esq. and Rachel J. Schaub, Esq. on behalf of Mylan. (Attachments: # 1
                       Certification of Arnold B. Calmann, Esq., # 2 Declaration of Christopher W. West, Esq., #
                       3 Declaration of Rachel J. Schaub, Esq., # 4 Text of Proposed Order)(CALMANN,
                       ARNOLD) (Entered: 09/12/2022)
  09/16/2022        95 Letter from Arnold B. Calmann, Esq. to the Honorable Lois H. Goodman, U.S.M.J. on
                       Behalf of the Parties Requesting Extension of Time to File Motion to Seal and Redacted
                       Documents re 83 Brief in Support of Motion,, 82 Brief in Support of Motion,, 89 Brief in
                       Opposition to Motion,, 90 Brief in Opposition to Motion,, 86 Exhibit (to Document),, 91
                       Brief in Opposition to Motion,, 81 MOTION in Limine , 84 Brief in Support of Motion,,.
                       (CALMANN, ARNOLD) (Entered: 09/16/2022)
  09/19/2022        96 TRIAL BRIEF (JOINT) REGARDING LEGAL STANDARDS by JANSSEN
                       PHARMACEUTICA NV, JANSSEN PHARMACEUTICALS, INC., JANSSEN
                       RESEARCH & DEVELOPMENT, LLC. (MILLER, KEITH) (Entered: 09/19/2022)
  09/20/2022            Set/Reset Hearings: Pretrial Motion Hearing re: 80 MOTION in Limine Nos. 1-3 by
                        MYLAN LABORATORIES LIMITED & 81 MOTION in Limine by All Plaintiffs set for
                        9/27/2022 at 11:00 AM in Trenton - Courtroom 4E before Judge Georgette Castner. (adi, )
                        (Entered: 09/20/2022)
  09/21/2022        97 LETTER ORDER granting extension to file motion to seal and redacted documents due
                       9/30/2022. Signed by Magistrate Judge Lois H. Goodman on 9/21/2022. (kht) (Entered:
                       09/21/2022)
  09/21/2022            Set/Reset Hearings: Telephone Conference re: Trial Scheduling set for 9/22/2022 at 01:00
                        PM before Judge Georgette Castner. The dial in information has been provided to the
                        parties. (adi, ) (Entered: 09/21/2022)
  09/22/2022        98 ORDER granting admission pro hac vice as to Christopher W. West. Signed by
                       Magistrate Judge Lois H. Goodman on 9/22/2022. (mg) (Entered: 09/22/2022)
  09/22/2022            Text Minute Entry for proceedings held before Judge Georgette Castner: Trial Scheduling
                        Conference held on 9/22/2022 via telephone. Parties are to meet and confer then submit a
                        revised schedule to the Court by 9/27/22. Not on the record. (adi) (Entered: 09/22/2022)
  09/23/2022        99 FINAL PRETRIAL ORDER. Signed by Magistrate Judge Lois H. Goodman on
                       9/22/2022. (mg) (Entered: 09/23/2022)
  09/23/2022       100 Notice of Request by Pro Hac Vice Christopher W. West, Esq. to receive Notices of
                       Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-13708721.)
                       (CALMANN, ARNOLD) (Entered: 09/23/2022)
  09/23/2022       101 Notice of Request by Pro Hac Vice Rachel J. Schaub, Esq. to receive Notices of
                       Electronic Filings. ( Pro Hac Vice fee $ 150 receipt number ANJDC-13708744.)
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                        (CALMANN, ARNOLD) (Entered: 09/23/2022)
  09/23/2022       102 Letter from Arnold B. Calmann, Esq. to the Honorable Georgette Castner, U.S.D.J.
                       Regarding Mylan's Motion In Limine No. 2 re 83 Brief in Support of Motion,,.
                       (CALMANN, ARNOLD) (Entered: 09/23/2022)
  09/26/2022            Pro Hac Vice counsel, CHRISTOPHER W. WEST and RACHEL J. SCHAUB, has been
                        added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
                        counsel are entitled to sign and file papers, enter appearances and receive payments on
                        judgments, decrees or orders. (kht) (Entered: 09/26/2022)
  09/26/2022            Set/Reset Hearings: Please be advised that the 9/27/2022 Pretrial Motion Hearing has
                        been reset to 9/30/2022 at 11:00 AM via Video Conference before Judge Georgette
                        Castner. (adi, ) (Entered: 09/26/2022)
  09/27/2022       103 ORDER recusing Judge Georgette Castner. Clerk is directed to randomly reassign case.
                       Signed by Judge Georgette Castner on 9/27/2022. (mg) (Entered: 09/27/2022)
  09/28/2022       104 TEXT ORDER REALLOCATING AND REASSIGNING CASE. Case reallocated to
                       Newark and reassigned to Judge Evelyn Padin for all further proceedings. Judge
                       Georgette Castner no longer assigned to case. So Ordered by Chief Judge Freda L.
                       Wolfson on 9/28/2022. (jjc, ) (Entered: 09/28/2022)
  09/28/2022       114 Minute Entry for proceedings held before Judge Evelyn Padin: Status Conference held on
                       9/28/2022. (bt) (Entered: 09/30/2022)
  09/30/2022       105 REDACTION to 81 MOTION in Limine by MYLAN LABORATORIES LIMITED.
                       (Attachments: # 1 REDACTED Brief in Support of Plaintiffs' Motion In Limine, # 2
                       UNREDACTED Declaration of Keith J. Miller, Esq., # 3 REDACTED Exhibit 1, # 4
                       REDACTED Exhibit 2, # 5 REDACTED Exhibit 3, # 6 UNREDACTED Proposed
                       Order)(CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       106 REDACTION to 82 Brief in Support of Motion,, by MYLAN LABORATORIES
                       LIMITED. (CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       107 REDACTION to 83 Brief in Support of Motion,, UNREDACTED BRIEF by MYLAN
                       LABORATORIES LIMITED. (CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       108 REDACTION to 84 Brief in Support of Motion,, by MYLAN LABORATORIES
                       LIMITED. (CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       109 REDACTION to 86 Exhibit (to Document),, by MYLAN LABORATORIES LIMITED.
                       (Attachments: # 1 REDACTED Exhibits 9-16)(CALMANN, ARNOLD) (Entered:
                       09/30/2022)
  09/30/2022       110 REDACTION to 89 Brief in Opposition to Motion,, by MYLAN LABORATORIES
                       LIMITED. (CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       111 REDACTION to 90 Brief in Opposition to Motion,, UNREDACTED BRIEF by MYLAN
                       LABORATORIES LIMITED. (Attachments: # 1 UNREDACTED Declaration of Keith J.
                       Miiler, Esq., # 2 UNREDACTED Exhibit 1, # 3 UNREDACTED Exhibit 2)
                       (CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       112 REDACTION to 91 Brief in Opposition to Motion,, by MYLAN LABORATORIES
                       LIMITED. (Attachments: # 1 REDACTED Exhibit A, # 2 UNREDACTED Exhibit B, #
                       3 UNREDACTED Exhibit C)(CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       113 Joint MOTION to Seal Document 81 MOTION in Limine , 91 Brief in Opposition to
                       Motion,, 84 Brief in Support of Motion,, 86 Exhibit (to Document),, 89 Brief in
                       Opposition to Motion,, 82 Brief in Support of Motion,, by MYLAN LABORATORIES
                                                                                                               13/20
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                         LIMITED. (Attachments: # 1 Declaration of Preston Imperatore, Esq., # 2 Exhibit 1, # 3
                         Declaration of Keith J. Miller, Esq., # 4 Exhibit 2, # 5 Text of Proposed Order)
                         (CALMANN, ARNOLD) (Entered: 09/30/2022)
  09/30/2022       115 LETTER ORDER scheduling an In-Person Conference for 10/20/2022 at 10:30 AM
                       regarding issues and oral argument on the remaining motions in limine. Signed by Judge
                       Evelyn Padin on 9/30/2022. (dam) (Entered: 09/30/2022)
  10/05/2022             Set Deadlines as to 113 Joint MOTION to Seal Document 81 MOTION in Limine, 91
                         Brief in Opposition to Motion, 84 Brief in Support of Motion, 86 Exhibit (to Document),
                         89 Brief in Opposition to Motion, 82 Brief in Support of Motion. Motion set for
                         11/7/2022 before Magistrate Judge Lois H. Goodman. Unless otherwise directed by the
                         Court, this motion will be decided on the papers and no appearances are required. Note
                         that this is an automatically generated message from the Clerk's Office and does not
                         supersede any previous or subsequent orders from the Court. (dam, ) (Entered:
                         10/05/2022)
  10/07/2022       116 REDACTION to 99 Order by All Plaintiffs. (MILLER, KEITH) (Entered: 10/07/2022)
  10/07/2022       117 Joint MOTION to Seal Final Pretrial Order by All Plaintiffs. (Attachments: # 1 Text of
                       Proposed Order, # 2 Statement of Keith J. Miller, # 3 Index to Miller Statement, # 4
                       Declaration of Preston Imperatore, Esq., # 5 Index to Imperatore Declaration)(MILLER,
                       KEITH) (Entered: 10/07/2022)
  10/11/2022             Minute Entry for proceedings held before Judge Evelyn Padin: Scheduling Conference
                         held on 10/11/2022. (bt) (Entered: 10/11/2022)
  10/11/2022       118 ORDER granting 113 Motion to Seal Document 113 Joint MOTION to Seal Document
                       81 MOTION in Limine , 91 Brief in Opposition to Motion,, 84 Brief in Support of
                       Motion,, 86 Exhibit (to Document),, 89 Brief in Opposition to Motion,, 82 Brief in
                       Support of Motion,, . Signed by Magistrate Judge Lois H. Goodman on 10/11/2022. (mg)
                       (Entered: 10/11/2022)
  10/12/2022       119 ORDER granting 117 Motion to Seal. Signed by Magistrate Judge Lois H. Goodman on
                       10/11/2022. (mg) (Entered: 10/12/2022)
  10/20/2022       120 Minute Entry for proceedings held before Judge Evelyn Padin: Motion Hearing held on
                       10/20/2022 re 80 MOTION in Limine Nos. 1-3 filed by MYLAN LABORATORIES
                       LIMITED and 81 MOTION in Limine filed by JANSSEN PHARMACEUTICA NV.
                       Both Motions denied for the reasons and to the extent on the record. (Court Reporter,
                       Sara Killian) (bt) (Entered: 10/21/2022)
  10/21/2022       121 ORDER denying 80 , 81 Parties' Motions in Limine. Signed by Judge Evelyn Padin on
                       10/20/2022. (dam) (Entered: 10/21/2022)
  10/21/2022       122 SEALED STIPULATION AND ORDER. Signed by Judge Evelyn Padin on 10/21/2022.
                       (dam) (Entered: 10/21/2022)
  10/24/2022       123 TEXT ORDER - The parties shall appear for a Zoom settlement conference before
                       Magistrate Judge Leda D. Wettre on October 31, 2022 at 9:30 a.m. Log-in information
                       will be circulated to counsel prior to that date. Clients with full and immediate settlement
                       authority must attend for the duration. Confidential settlement letters, which shall not
                       exceed ten (10) pages absent leave from the Court, shall be sent to
                       LDW_orders@njd.uscourts.gov no later than October 27, 2022. Voluminous exhibits to
                       settlement letters (exceeding 20 pages) will not be reviewed by the Court unless
                       submitted in hard copy that is received by Chambers no later than three business days in
                       advance of the settlement conference. So Ordered by Magistrate Judge Leda D. Wettre on
                       10/24/2022. (rn) (Entered: 10/24/2022)
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  10/26/2022       124 STIPULATION AND ORDER regarding Rule 52(c) Motions. Signed by Judge Evelyn
                       Padin on 10/26/2022. (dam) (Entered: 10/26/2022)
  10/26/2022       125 STIPULATION AND ORDER regarding Authenticity of Documents. Signed by Judge
                       Evelyn Padin on 10/26/2022. (dam) (Entered: 10/26/2022)
  10/31/2022             Minute Entry for proceedings held before Magistrate Judge Leda D. Wettre: Settlement
                         Conference held on 10/31/2022. (LM, ) (Entered: 10/31/2022)
  11/01/2022             Case Reassigned to Magistrate Judge Leda D. Wettre. Magistrate Judge Lois H. Goodman
                         no longer assigned to the case. (ak, ) (Entered: 11/01/2022)
  11/16/2022       127 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial held on
                       11/16/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered: 11/21/2022)
  11/17/2022       126 Transcript of Tutorial held on 9/8/2022, before Judge Georgette Castner. Court
                       Reporter/Transcriber Frank Gable (856-889-4761). NOTICE REGARDING (1)
                       REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter/Transcription Agency due, but not filed, by 12/8/2022. Redacted
                       Transcript Deadline set for 12/19/2022. Release of Transcript Restriction set for
                       2/15/2023. (jdg, ) (Entered: 11/17/2022)
  11/30/2022       128 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 2
                       continued on 11/30/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered:
                       12/01/2022)
  12/01/2022       129 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 3
                       continued on 12/1/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered:
                       12/05/2022)
  12/05/2022       130 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 4
                       continued on 12/5/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered:
                       12/06/2022)
  12/06/2022       131 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 5
                       continued on 12/6/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered:
                       12/07/2022)
  12/07/2022       132 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 6
                       continued on 12/7/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered:
                       12/08/2022)
  12/08/2022       133 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 7
                       continued on 12/8/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered:
                       12/09/2022)
  12/09/2022       134 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial Day 8 on
                       12/9/2022. (Court Reporter, Sara Killian (973-776-3885) (bt) Modified on 3/22/2023 (bt).
                       (Entered: 12/12/2022)
  01/24/2023       135 TRIAL BRIEF --Mylan's Opening Post-Trial Brief-- by MYLAN LABORATORIES
                       LIMITED. (CALMANN, ARNOLD) (Entered: 01/24/2023)


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  01/24/2023       136 Proposed Findings of Fact by MYLAN LABORATORIES LIMITED. (CALMANN,
                       ARNOLD) (Entered: 01/24/2023)
  01/24/2023       137 TRIAL BRIEF (Post-Trial) by JANSSEN PHARMACEUTICA NV, JANSSEN
                       PHARMACEUTICALS, INC., JANSSEN RESEARCH & DEVELOPMENT, LLC.
                       (MILLER, KEITH) (Entered: 01/24/2023)
  01/24/2023       138 Proposed Findings of Fact by JANSSEN PHARMACEUTICA NV, JANSSEN
                       PHARMACEUTICALS, INC., JANSSEN RESEARCH & DEVELOPMENT, LLC.
                       (MILLER, KEITH) (Entered: 01/24/2023)
  01/25/2023       139 AMENDED DOCUMENT by MYLAN LABORATORIES LIMITED. Amendment to
                       136 Proposed Findings of Fact --Corrected Mylan's Proposed Findings of Fact and
                       Conclusions of Law--. (CALMANN, ARNOLD)

                        NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                        consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                        sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                        temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 01/25/2023)

  01/25/2023       140 Letter from Arnold B. Calmann, Esq. to the Honorable Evelyn Padin, U.S.D.J. re 136
                       Proposed Findings of Fact, 139 Amended Document,,. (CALMANN, ARNOLD)
                       (Entered: 01/25/2023)
  02/21/2023       141 TRIAL BRIEF (Plaintiffs' Responsive Post-Trial Brief) by JANSSEN
                       PHARMACEUTICA NV, JANSSEN PHARMACEUTICALS, INC., JANSSEN
                       RESEARCH & DEVELOPMENT, LLC. (MILLER, KEITH) (Entered: 02/21/2023)
  02/21/2023       142 TRIAL BRIEF --Mylan's Post-Trial Responsive Brief-- by MYLAN LABORATORIES
                       LIMITED. (CALMANN, ARNOLD) (Entered: 02/21/2023)
  02/21/2023       143 CERTIFICATE OF SERVICE by MYLAN LABORATORIES LIMITED re 142 Trial
                       Brief (CALMANN, ARNOLD) (Entered: 02/21/2023)
  02/22/2023       144 TEXT ORDER: Closing arguments will be held in person on 3/16/2023 at 1:00 pm in
                       Courtroom 4C in the Martin Luther King Building & U.S. Courthouse 50 Walnut Street
                       Newark, NJ 07102. So Ordered by Judge Evelyn Padin on 2/22/2023. (bt) (Entered:
                       02/22/2023)
  03/06/2023       145 Letter from Arnold B. Calmann, Esq. to the Honorable Leda Dunn Wettre, U.S.M.J.
                       Requesting Extension of Time to File Motion to Seal and Redacted Versions re 142 Trial
                       Brief, 136 Proposed Findings of Fact, 137 Trial Brief, 139 Amended Document,, 141
                       Trial Brief, 138 Proposed Findings of Fact, 135 Trial Brief. (CALMANN, ARNOLD)
                       (Entered: 03/06/2023)
  03/08/2023       146 LETTER ORDER granting 145 Joint Request for a two (2) week extension of time to file
                       the redacted versions and a motion to seal related to the parties' post-trial filings from
                       3/7/2023 to 3/21/2023. Signed by Magistrate Judge Leda D. Wettre on 3/8/2023. (dam)
                       (Entered: 03/08/2023)
  03/16/2023       155 Minute Entry for proceedings held before Judge Evelyn Padin: Bench Trial completed on
                       3/16/2023. (Court Reporter, Sara Killian (973-776-3885) (bt) (Entered: 03/22/2023)
  03/21/2023       147 REDACTION to 137 Trial Brief by All Plaintiffs. (MILLER, KEITH) (Entered:
                       03/21/2023)
  03/21/2023       148 REDACTION to 138 Proposed Findings of Fact by All Plaintiffs. (MILLER, KEITH)
                       (Entered: 03/21/2023)

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  03/21/2023       149 REDACTION to 135 Trial Brief by MYLAN LABORATORIES LIMITED.
                       (CALMANN, ARNOLD) (Entered: 03/21/2023)
  03/21/2023       150 REDACTION to 141 Trial Brief by All Plaintiffs. (MILLER, KEITH) (Entered:
                       03/21/2023)
  03/21/2023       151 REDACTION to 136 Proposed Findings of Fact and Conclusions of Law by MYLAN
                       LABORATORIES LIMITED. (CALMANN, ARNOLD) (Entered: 03/21/2023)
  03/21/2023       152 REDACTION to 139 Amended Document,, Corrected Proposed Findings of Fact and
                       Conclusions of Law by MYLAN LABORATORIES LIMITED. (CALMANN, ARNOLD)
                       (Entered: 03/21/2023)
  03/21/2023       153 REDACTION to 142 Trial Brief --Mylan's Post-Trial Responsive Brief-- by MYLAN
                       LABORATORIES LIMITED. (CALMANN, ARNOLD) (Entered: 03/21/2023)
  03/21/2023       154 Joint MOTION to Seal Document (Post-Trial Briefing) by All Plaintiffs. (Attachments: #
                       1 Statement of Keith J. Miller, Esq., # 2 Index to Miller Statement, # 3 Declaration of
                       Preston Imperatore, Esq., # 4 Index to Imperatore Declaration, # 5 Text of Proposed
                       Order)(MILLER, KEITH) (Entered: 03/21/2023)
  03/22/2023             Set Deadlines as to 154 Joint MOTION to Seal (Post-Trial Briefing). Motion set for
                         4/17/2023 before Magistrate Judge Leda D. Wettre. Unless otherwise directed by the
                         Court, this motion will be decided on the papers and no appearances are required. Note
                         that this is an automatically generated message from the Clerk's Office and does not
                         supersede any previous or subsequent orders from the Court. (dam) (Entered:
                         03/22/2023)
  04/04/2023       156 ORDER granting 154 Unopposed Joint Motion to Seal Portions of the Parties' Post-Trial
                       Briefing. Signed by Magistrate Judge Leda D. Wettre on 4/4/2023. (dam) (Entered:
                       04/04/2023)
  04/28/2023       157 *REDACTED* Transcript of Bench Trial Vol 1 held on November 16, 2022, before
                       Judge Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE
                       REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                       TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                       seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction of
                       this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                       redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file
                       a Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                       Recording`. Redaction Request to Court Reporter due, but not filed, by 5/19/2023.
                       Redacted Transcript Deadline set for 5/30/2023. Release of Transcript Restriction set for
                       7/27/2023. (adc) (Entered: 05/01/2023)
  04/28/2023       158 **SEALED** Transcript of Bench Trial Vol 1 held on November 16, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing. (adc)
                       (Entered: 05/01/2023)
  04/28/2023       159 *REDACTED* Transcript of Bench Trial Vol 2 held on November 30, 2022, before
                       Judge Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE
                       REGARDING (1) REDACTION OF PERSONAL IDENTIFIERS IN
                       TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL: The parties have
                       seven (7) calendar days to file with the Court a Notice of Intent to Request Redaction of
                       this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to
                       redact and seal this Transcript, or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file
                       a Motion to Redact and Seal utilizing the event `Redact and Seal Transcript/Digital
                       Recording`. Redaction Request to Court Reporter: due, but not filed, by 5/19/2023.
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                    Case: 23-2042         Document: 22              Page: 120             Filed: 03/11/2024
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                         Redacted Transcript Deadline set for 5/30/2023. Release of Transcript Restriction set for
                         7/27/2023. (adc) (Entered: 05/01/2023)
  04/28/2023       160 **SEALED** Transcript of Bench Trial Vol 2 held on November 30, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing. (adc)
                       (Entered: 05/01/2023)
  04/28/2023       161 Transcript of Bench Trial Vol 3 held on December 1, 2022, before Judge Evelyn Padin.
                       Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING (1)
                       REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter due, but not filed, by 5/19/2023. Redacted Transcript Deadline set for
                       5/30/2023. Release of Transcript Restriction set for 7/27/2023. (adc) (Entered:
                       05/01/2023)
  04/28/2023       162 Transcript of Bench Trial Vol 4 held on December 5, 2022, before Judge Evelyn Padin.
                       Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING (1)
                       REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter due, but not filed, by 5/19/2023. Redacted Transcript Deadline set for
                       5/30/2023. Release of Transcript Restriction set for 7/27/2023. (adc) (Entered:
                       05/01/2023)
  04/28/2023       163 *REDACTED* Transcript of Bench Trial Vol 5 held on December 6, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING
                       (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter due, but not filed, by 5/19/2023. Redacted Transcript Deadline set for
                       5/30/2023. Release of Transcript Restriction set for 7/27/2023. (adc) (Entered:
                       05/01/2023)
  04/28/2023       164 **SEALED** Transcript of Bench Trial Vol 5 held on December 6, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing. (adc)
                       (Entered: 05/01/2023)
  04/28/2023       165 *REDACTED* Transcript of Bench Trial Vol 6 held on December 7, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING
                       (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal

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                    Case: 23-2042         Document: 22              Page: 121             Filed: 03/11/2024
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                         utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                         Court Reporter due, but not filed, by 5/19/2023. Redacted Transcript Deadline set for
                         5/30/2023. Release of Transcript Restriction set for 7/27/2023. (adc) (Entered:
                         05/01/2023)
  04/28/2023       166 **SEALED** Transcript of Bench Trial Vol 6 held on December 7, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing. (adc)
                       (Entered: 05/01/2023)
  04/28/2023       167 *REDACTED* Transcript of Bench Trial Vol 7 held on December 8, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING
                       (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter due, but not filed, by 5/19/2023. Redacted Transcript Deadline set for
                       5/30/2023. Release of Transcript Restriction set for 7/27/2023. (adc) (Entered:
                       05/01/2023)
  04/28/2023       168 **SEALED** Transcript of Bench Trial Vol 7 held on December 8, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing. (adc)
                       (Entered: 05/01/2023)
  04/28/2023       169 *REDACTED* Transcript of Bench Trial Vol 8 held on December 9, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING
                       (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter due, but not filed, by 5/19/2023. Redacted Transcript Deadline set for
                       5/30/2023. Release of Transcript Restriction set for 7/27/2023. (adc) (Entered:
                       05/01/2023)
  04/28/2023       170 **SEALED** Transcript of Bench Trial Vol 8 held on December 9, 2022, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing. (adc)
                       (Entered: 05/01/2023)
  05/15/2023       171 SEALED OPINION. Signed by Judge Evelyn Padin on 5/15/2023. (dam) (Entered:
                       05/15/2023)
  05/15/2023       172 ORDER directing the parties to submit a joint proposed form of judgment consistent with
                       this Order and the accompanying Opinion within seven (7) days of this Order; directing
                       the parties to submit a joint, proposed redacted version of the Court's Opinion, as well as
                       a statement of reasons as to why each redaction is necessary, within seven (7) days of this
                       Order. Janssen has demonstrated that Mylans Proposed ANDA Products will induce
                       direct infringement of the 693 Patent. Mylan has failed to demonstrate that the Asserted
                       Claims are invalid. Signed by Judge Evelyn Padin on 5/15/2023. (dam) (Entered:
                       05/15/2023)


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  05/23/2023       173 REDACTED OPINION. Signed by Judge Evelyn Padin on 5/15/2023. (dam) (Entered:
                       05/23/2023)
  05/23/2023       174 FINAL JUDGMENT entered in favor of Janssen and against Mylan on all claims and
                       counterclaims with respect to infringement and validity claims 5-7 and 9-14 of the '693
                       patent and Mylan's products that are the subject of ANDA Nos. 216228, 212290, and
                       215682. Signed by Judge Evelyn Padin on 5/23/2023. (dam) (Entered: 05/23/2023)
  05/26/2023       175 NOTICE OF APPEAL to Federal Circuit as to 174 Order of Dismissal, 171 Opinion by
                       MYLAN LABORATORIES LIMITED. Filing fee $ 505, receipt number ANJDC-
                       14347664 The Clerk's Office hereby certifies the record and the docket sheet available
                       through ECF to be the certified list in lieu of the record and/or the certified copy of the
                       docket entries (Attachments # 1 Certificate of Service)(CALMANN, ARNOLD)
                       (Entered: 05/26/2023)
  06/13/2023       176 *REDACTED* Transcript of Jury Trial Vol 9 held on March 16, 2023, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). NOTICE REGARDING
                       (1) REDACTION OF PERSONAL IDENTIFIERS IN TRANSCRIPTS AND (2)
                       MOTION TO REDACT AND SEAL: The parties have seven (7) calendar days to file
                       with the Court a Notice of Intent to Request Redaction of this Transcript to comply with
                       Fed.R.Civ.P.5.2(a) (personal identifiers). Parties seeking to redact and seal this Transcript,
                       or portions thereof, pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal
                       utilizing the event `Redact and Seal Transcript/Digital Recording`. Redaction Request to
                       Court Reporter due, but not filed, by 7/5/2023. Redacted Transcript Deadline set for
                       7/14/2023. Release of Transcript Restriction set for 9/11/2023. (adc) (Entered:
                       06/15/2023)
  06/13/2023       177 **SEALED** Transcript of Jury Trial Vol 9 held on March 16, 2023, before Judge
                       Evelyn Padin. Court Reporter: Sara Killian (973-776-3885). This is the complete
                       unredacted/sealed version of the transcript and is unavailable for public viewing (adc)
                       (Entered: 06/15/2023)
  06/20/2023       178 USCA Case Number 23-2042 for 175 Notice of Appeal (Federal Circuit), filed by
                       MYLAN LABORATORIES LIMITED. (Document Restricted - Court Only) (adc, )
                       (Entered: 06/27/2023)
  08/07/2023       179 NOTICE by All Plaintiffs of Withdrawal of A Robert Quirk as Pro Hac Vice Counsel
                       (MILLER, KEITH) (Entered: 08/07/2023)
  08/07/2023       180 ORDER of Withdrawal as to Pro Hac Vice Attorney A. ROBERT QUIRK. Signed by
                       Magistrate Judge Leda D. Wettre on 8/7/2023. (dam) (Entered: 08/07/2023)



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  RM             ROBINSON
                 MILLERLLC
                                                                       Newark, New Jersey 07102
                                                             Tel: 973.690.5400 Fax: 973.466.2761
                                                                             www.rwmlegal.com

                                                                                    June 28, 2022
VIA CM/ECF
Hon. Lois H. Goodman, U.S.M.J.
United States District Court, District of New Jersey
Clarkson S. Fischer Federal Building & U.S. Courthouse

        Re:    Janssen Pharmaceuticals, Inc. et al v. Mylan Laboratories Ltd. 3:20-cv-13103 –
               Highly Confidential

Dear Judge Goodman:
        This Firm, along with Patterson Belknap Webb & Tyler, represents Plaintiffs Janssen
Pharmaceuticals, Inc., Janssen Pharmaceuticals NV, and Janssen Research & Development, LLC
(collectively, “Janssen”) in the above action. As directed by Your Honor at the June 15, 2022
conference, enclosed on behalf of all parties is a joint letter concerning certain subject matter in
Mylan’s rebuttal expert report on infringement.
Janssen’s Position
    I.       Background of the Dispute
        This is a Hatch-Waxman case involving Janssen’s U.S. Patent No. 10,143,693 (the “693
Patent”), listed in the Orange Book for Janssen’s Invega Trinza® product. Invega Trinza is a long-
acting injectable paliperidone palmitate antipsychotic medication that can be administered every
three months. The Asserted Claims in the 693 Patent (claims 5-7 and 9-14) are to dosing regimens
for treating psychiatric patients who had been receiving a three-month paliperidone palmitate
(“PP3M”) injectable but have missed a dose – and whose last dose was given 4–9 months ago.
The Asserted Claims recite a series of steps that include administering to these patients specific
doses of one-month paliperidone palmitate (“PP1M”) and PP3M, at specific time intervals, by
injection in specific locations. The dosing regimen of the Asserted Claims is set forth in the label
instructions that are provided with Invega Trinza.
        Mylan filed Abbreviated New Drug Applications seeking FDA approval to market generic
versions of all four available dose strengths of Invega Trinza. Mylan copied the label instructions
for Invega Trinza for its proposed generic product, including the missed dose instructions. Janssen
then filed suit alleging induced infringement of the Asserted Claims.
        When Mylan provided its non-infringement contentions over a year ago, it did not dispute
that physicians or other healthcare providers (“HCPs”) would infringe the Asserted Claims by
administering PP3M according to Mylan’s proposed label. Instead, Mylan contended that Mylan
would not directly infringe (because Mylan itself does not administer any drug), and that Mylan
would not induce infringement (despite its copied label instructions), because the label would not
cause HCPs to administer the drug according to the missed dose regimen. See Ex. A at 4-6
(Mylan’s May 26, 2021 Non-Infringement Contentions). Janssen’s position, identified in its
contentions and in its opening expert report on infringement, is that Mylan will indeed induce


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infringement because its proposed label instructs HCPs to practice the Asserted Claims for patients
who have missed a dose of PP3M and whose last dose was 4-9 months ago. This dispute as to
whether Mylan’s label induces infringement by HCPs has been identified for trial.
        The present dispute concerns a different legal theory, which Mylan presented for the first
time in its rebuttal expert report. Mylan’s new theory is that the steps of the Asserted Claims are
divided among multiple actors (i.e., patients and their HCPs), such that there is no direct
infringement by anyone (and therefore no induced infringement by Mylan) under the case law
concerning “divided infringement.”1 This theory was not disclosed in Mylan’s contentions and
relies on a previously-undisclosed claim construction theory that was not addressed during the
scheduled period for claim construction proceedings. See ECF No. 38 (setting claim construction
deadlines between August 16, 2021 and October 12, 2021). Mylan’s “divided infringement”
theory should, accordingly, be stricken as untimely.
    II.      Mylan’s New “Divided Infringement” Theory
        The premise of Mylan’s new “divided infringement” theory is that the act of missing a dose
is a step of the claimed dosing regimen. Based on this premise, Mylan contends that multiple
entities are involved in the performance of the claimed missed dose regimens: (1) the HCPs who
administer the injectables, and (2) the patient who misses the dose. Mylan further contends that
the practice of the claimed dosing regimens does not constitute direct infringement by anyone
because no single actor is responsible for practicing all the steps in the claims. Mylan first
advanced this theory through its expert, Dr. Berger, in his rebuttal expert report on infringement.
Ex. B at ¶¶ 57-65 (Berger Rebuttal Report).
        Mylan’s new theory has no merit because under the plain meaning of the claim language,
missing a dose is not a step of the claimed dosing regimens. Indeed, the Asserted Claims do not
refer to the act of missing a dose at all. Rather, they define the target population to be treated
(patients who “had last been administered a PP3M injection 4 to 9 months ago”), and set forth a
dosing regimen to be administered to these patients. While this target population is a required
element of the claims, akin to contracting a disease or being diagnosed as overweight, it is not a
step of the claimed dosing regimens. See, e.g., Orexigen Therapeutics, Inc. v. Actavis Labs. FL,
Inc., 282 F. Supp. 3d 793, 799, 812 (D. Del. 2017), aff’d in part, rev’d in part sub nom. Nalpropion
Pharmaceuticals, Inc. v. Actavis Labs. FL, Inc., 934 F.3d 1344 (Fed. Cir. 2019) (holding that
diagnosis for overweight or obesity was not step of claim for method of treating overweight or
obesity).2 The steps of the claimed regimens therefore cannot be “divided” among multiple actors.
Although Janssen understands that the present submission is not on the merits of the argument, it


1
  See Akamai Tech., Inc. v. Limelight Networks, 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc).
2
  This is a common and rarely challenged structure for method of treatment claims: the claims
cover a method of treatment for a specific population. For example, Mylan’s U.S. Patent No.
9,949,933 includes claims to a “method of reducing a cholesterol level and/or increasing high-
density lipoprotein levels in a patient at risk of cardiovascular disease, comprising
administering a dosage form to said patient . . . .” Under Mylan’s divided infringement theory,
becoming “at risk of cardiovascular disease” would be the first step of the method of treatment
claim.


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is important to appreciate the unusual logic of Mylan’s position to determine whether this theory
was fairly disclosed and whether Janssen faces prejudice.
    A. Mylan’s divided infringement theory was not disclosed in its non-infringement
        contentions
        As required by Local Patent Rule 3.6, Mylan served its non-infringement contentions on
May 26, 2021. Mylan argued that it does not directly infringe the Asserted Claims because
Mylan itself does not administer the claimed dosing regimen to the patient. See, e.g., Ex. A at 4
(“Because Mylan would never administer any treatment, Mylan cannot directly infringe”).
Mylan also contended that it does not induce infringement because it “does not have control over
whether a subject is actually provided, treated, and/or administered the composition” and does
not “induce any particular party to perform any particular claim step that Mylan itself does not
practice, i.e., administering a claimed composition.” Id. at 5-6.
        Critically, Mylan did not contend (1) that missing a dose was a step of the claimed dosing
regimen or (2) that the Asserted Claims are not directly infringed under a “divided infringement”
theory, because two actors (patient and doctor) are required to perform the steps of the claimed
method. Indeed, Mylan’s contentions include no discussion of missing a dose at all.
         The local patent rules “exist to further the goal of full and timely discovery and provide
all parties with adequate notice and information with which to litigate their case.” Celgene Corp.
v. Hetero Labs, 2021 U.S. Dist. LEXIS 159262, *65 (D.N.J. March 29, 2021) (internal citations
omitted). As this Court has previously explained, “[g]iven the purpose behind the patent local
rules’ disclosure requirements, a party may not use an expert report to introduce new
infringement theories . . . not disclosed in the parties’ infringement contentions. . . .” Id. at *12
(internal citations omitted).
       Mylan did not comply with the contention disclosure requirements of the local rules and
Mylan’s failure to disclose its theory prejudices Janssen. Because of the late disclosure, Janssen
does not have sufficient time to address this novel legal theory through a motion for summary
judgment. Janssen should not be put to the burden of addressing this new position that, if it had
been timely disclosed, would already have been the subject of a summary judgment motion.
   B. Mylan’s divided infringement theory is premised on a claim construction that it
       never advanced
       As noted, Mylan’s divided infringement theory is premised on a claim construction that
makes one of the steps of the claimed dosing regimen “the act of missing a dose” by the patient,
such that (purportedly) “two actors [are] required to perform all of the steps of the claimed
method.” Ex. B at ¶¶ 57-58. If Mylan had advanced this theory in its contentions, as it was
required to do, Janssen could have addressed Mylan’s erroneous claim construction at the
scheduled time. Instead, neither party proposed any terms for the Court to construe during claim
construction or at any time leading up to Dr. Berger’s rebuttal infringement report.
       Janssen could not have anticipated Mylan’s new claim construction. First, as noted
above, Mylan’s claim construction is inconsistent with the plain language of the claim and


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standard approach of construing method-of-treatment claims and could not have been discerned
by Janssen from the oblique language on which Mylan relies. Second, Mylan’s new proposed
claim construction is inconsistent with Mylan’s earlier position regarding the meaning of the
claims. Throughout this litigation, Mylan has consistently relied on the plain meaning of the
claims as a method of treatment for a particular population of patients. For example, Mylan’s
primary expert, Dr. Forrest, opined in his opening expert report on validity that the preamble of
the 693 Patent claims recites a “patient group” being treated by a “method.” Ex. C at ¶¶ 217,
229. Similarly, in its Invalidity Contentions, Mylan described the preamble of the claims as
defining the patient population. Mylan’s Ex. 10 at 46, 63.
       The purpose of contentions is precisely to avoid this situation, where Mylan has
introduced a new infringement theory late in the case that Janssen has not had the opportunity to
address at claim construction or otherwise.
    C. Mylan’s arguments are meritless
        In its submission below, Mylan does not (and cannot) contend that it disclosed a “divided
infringement” theory or an “act of missing a dose” claim construction in its contentions. Instead,
Mylan makes a handful of irrelevant arguments that Janssen briefly addresses here.
         First, Mylan contends that because it “made clear that it was contesting indirect
infringement at least in part because [it] would not induce ‘another’s direct infringement,”
Janssen should have been on notice that Mylan was asserting a “divided infringement” argument.
But Mylan never made a “divided infringement” argument and Janssen had no reason to guess
that it would seek to do so in the future. Mylan’s statement that it would not “induce any
particular party to perform any particular claim step that Mylan itself does not practice, i.e.,
administering a claimed composition” does not disclose Mylan’s present contentions that the “act
of missing a dose” is a claim step, that a patient and a doctor are therefore both required to
perform the steps of the Asserted Claims, or that, as a result, there is no direct infringement of
the Asserted Claims by a single actor. 3
    Second, Mylan argues that Janssen’s contentions and expert reports demonstrate that Janssen
was, in fact, on notice of Mylan’s new theory. But even assuming that Mylan could satisfy its
disclosure obligations by relying on Janssen’s submissions, nothing therein remotely reflects
notice of Mylan’s “divided infringement” theory. Mylan cites two statements from Janssen’s
contentions: “direct infringers under § 271(a) include physicians, other healthcare providers,
and/or patients who administer the Accused Instrumentality,” and, “Mylan’s Proposed Label is
specifically designed to instruct and direct physicians, other healthcare providers and/or patients
to administer Mylan’s proposed generic product.” But these statements simply list out

3
  Chiesi USA, Inc. v. Aurobindo Pharma USA, Inc., No. 19-18756-ZNQ-LHG, 2022 WL 304574,
at *7 (D.N.J. Jan. 9, 2022), on which Mylan relies, is inapposite. There, the Court permitted a
defendant to argue that the plaintiff had failed to present experimental evidence of infringement
because defendant could not have anticipated the evidence plaintiff would rely on. Here, Mylan
is asserting a novel legal theory that it could have disclosed in its contentions.


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individuals who might administer the proposed generic product by following Mylan’s proposed
label. They recognize that anyone who administers the missed dose instructions in Mylan’s
proposed label – whether an HCP or a patient – will directly infringe the Asserted Claims.4
Neither of these statements nor anything else in Janssen’s contentions suggests that Janssen was
on notice of Mylan’s argument that two actors are required to practice the Asserted Claims
because the “act of missing a dose” is a step of the claims.
    Third, Mylan’s argument that Janssen’s expert, Dr. Sommi, opined “that two entities are
required for direct infringement” is equally wrong. In the paragraph cited by Mylan, Dr. Sommi
explains that “for patients who have missed a dose of PP3M, and whose last dose of PP3M was
administered 4 to 9 months ago, Mylan’s Proposed Label instructs healthcare professionals” to
follow the claimed dosing regimen. Dr. Sommi does not state or suggest that the “act of missing
a dose” is a step of the dosing regimen.
    Fourth, Mylan argues that Janssen has delayed in bringing the issue to the Court. In addition
to being irrelevant, this argument is incorrect. Janssen promptly brought the untimeliness of the
theory to Mylan’s attention on May 11, 2022, two days after Mylan served its expert report.
Thereafter, the parties exchanged emails on the issue on May 13 (Mylan), May 18 (Janssen),
May 26 (Mylan), and June 3 (Janssen). The parties met and conferred on June 8 and Janssen
raised the issue at the scheduled June 15, 2022 status conference. See Ex. D.
    Finally, Mylan seeks to change the subject, accusing Janssen of relying on documents in its
expert report that were not timely provided to Mylan. This is, of course, completely irrelevant to
the issue at hand, which concerns Mylan’s failure to disclose a noninfringement theory. In any
event, should Mylan choose to meet and confer with Janssen and pursue this issue, Janssen will
show that its contentions, unlike Mylan’s, were fully compliant with the Local Rules.
    D. Conclusion
    Trial is scheduled to begin on October 3, 2022 – just a few months from now. This is not the
appropriate time to inject new theories into the case. It would be contrary to the Local Rules and
would subvert the ordered schedule for a timely claim construction process to allow Mylan to
introduce new theories now. Janssen would be prejudiced if it is forced to prepare for trial on
this newly disclosed defense. Accordingly, Janssen respectfully requests that the Court strike Dr.
Berger’s opinions on divided infringement as untimely.


Mylan’s Position
    1. Mylan’s Response on the “Background of the Dispute.”

       Under the guise of a discovery dispute, Plaintiffs argue what is essentially an unwarranted
MIL, alleging that Mylan be stripped of one of its non-infringement arguments set forth during the

4
 Although Invega Trinza® is typically administered by healthcare providers, the Asserted
Claims are not limited as to administrator.


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contentions phase. But, the hallmark of contentions is notice, and Plaintiffs have been on notice
of Mylan’s non-infringement positions since the nascent stages of this case. Though they feign
surprise, Plaintiffs obviously were on notice because they put forth substantive responses to
Mylan’s contentions and an infringement theory from its expert that took these into account.
Further, the parties have only begun expert depositions with a single expert (unrelated to
infringement) having been deposed to date. Thus, Plaintiffs will have ample opportunity to attempt
to prove their infringement theory and test the underpinnings of Mylan’s experts’ opinions.

        Plaintiffs devote considerable real estate providing a skewed view of the patent at issue
and the case. The claims of the ’693 patent are not “standard” “method-of-treatment claims” as
Plaintiffs mistakenly suggest. Although the ’693 patent is listed in the Orange Book for Invega
Trinza®, the labeled indication (i.e., treatment of a patient with PP3M who has been treated with
PP1M for at least 4 months) is not covered by the claims. This is not a “common structure for
method of treatment claims” and Plaintiffs’ attempt at analogizing the ’693 claims to those in cases
regarding “contracting a disease” or actively initiating treatment, has no merit. In the ’693 patent
prosecution history, Plaintiffs argued that missing a dose is “required” by the claim limitations.
Ex. 1 at 4, Applicants’ Resp. (“The instant claims are solely directed to what patients should do
if a dose is missed and they [the patient] desires getting back on the medication.” (emphasis
added)).

       Finally, suggesting for the first time that there is a purported claim construction issue only
undermines Plaintiffs’ positions before the patent office, and throughout this litigation to date.5
The claims require no construction. Mylan’s position on non-infringement is clear and Plaintiffs
responded acknowledging those positions and putting forth their infringement theory. The parties
have now moved into expert discovery and their respective experts are addressing those positions.

    2. Mylan’s Contentions Put Plaintiffs on Notice and Complied with the Local Rules.

        Mylan denied that it infringed the claims of the ’693 patent, both directly and indirectly.
Its contentions state, “Mylan does not cause, urge, encourage, aid, advise, or otherwise induce any
particular party to practice any particular claim step that Mylan, itself, does not practice, i.e.,
treating a subject having a disorder.” Ex. A at 4. But, Mylan is not relying on that isolated

5
  Plaintiffs now take the position that “missing a dose is not a step of the claimed dosing
regimens”; yet Janssen has listed the ’693 patent in the Orange Book for Invega Trinza® with
Use Codes that solely speak to “reinitiation” of treatment “following a missed dose.” Based on
Plaintiffs’ new arguments, Mylan reserves the right to seek leave to amend its Answer to add a
Delisting Counterclaim. Further, this also goes against what Janssen’s fact witnesses and expert
have testified to date. See Ex. 2, Sommi Report at ¶¶ 60, 43; Ex. 3, Dep. Tr. of A. Russu at
25:14-16 (“Q: When it says ‘fails to take the next scheduled dose,’ who is that referring to? A:
The said patient, in my understanding.”); Ex. 4, Dep. Tr. of S. Gopal at 80:16-22 (“Q: And
certainly you can’t force a patient to come into an office at any given time for treatment? A: That
is correct.”). If a patient does not miss a dose, there is no infringement. Likewise, if a patient
does not return for treatment within 4 to 9 months of the last dose, there is no infringement.


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contention alone. Mylan also put Plaintiffs on notice of their burden that a single party must
directly infringe for there to be indirect infringement, including by reiterating the proper legal
standard that “[d]irect infringement requires that a single party’s activities meet all the limitations
claimed. To infringe a claim comprising a series of steps, ‘a person must have practiced all steps’
of the claim.” Id. at 4-5 (quoting Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1317 (Fed.
Cir. 2009)).6 And, again, Mylan stated that it “does not and will not directly instruct physicians or
anyone else to practice, much less infringe, the Asserted Claims.” Ex. A at 6. As such, even at
the nascent stages of this litigation, Mylan made clear that it was contesting indirect infringement
because it—at the very least—would not induce “another’s” direct infringement: “Rather, the
patentee must prove that the alleged infringer knowingly induced another to commit an infringing
act, i.e., the alleged infringer’s sale of its product would actively and knowingly aid and abet
another’s direct infringement.” Id. at 5. Plaintiffs were well aware.7

        Plaintiffs’ Infringement Contentions evidence that Plaintiffs not only understood Mylan’s
position, they even responded to it. That alone demonstrates that Plaintiffs were on notice of
Mylan’s arguments. To be clear, Mylan is not relying on Plaintiffs’ contentions to meet its burden
under the Local Rules. See Ex. 6 at 1. Mylan met it on its own. And, noting Plaintiffs’ contentions
only puts an exclamation point on that as it further demonstrates that Plaintiffs were on notice of
Mylan’s position of non-infringement and what Plaintiffs must prove to establish infringement.
For example, in responding to Mylan, Plaintiffs set forth that it was “Mylan[’s] conten[tion] that
it will not induce infringement of the Asserted Claims because it . . .‘does not cause, urge,
encourage, aid, advise, or otherwise induce any particular party to practice any particular claim
step that Mylan, itself, does not practice.’” Ex. 5, Plaintiffs’ Infringement Contentions at 6
(emphasis added). Plaintiffs addressed the purported direct infringers, contending that “Mylan’s
Proposed Label is specifically designed to instruct and direct physicians, other healthcare
providers, and/or patients to administer Mylan’s proposed generic product to patients who have
missed a dose of its proposed generic product in accordance with the dosing regimens recited in
the Asserted Claims.” Id. (emphasis added). This undermines Plaintiffs’ newfound “divided
infringement” position and is exactly what the parties are addressing—whether two actors are
needed (divided infringement) or one (not divided infringement) under Plaintiffs’ theory of
infringement. That was an issue at the outset of the litigation, and remains one now.


6
  This alone moots Plaintiffs’ argument that Mylan only “alleged lack of inducement, which
implicitly assumed the Asserted Claims would be directly infringed.” Mylan never “assumed”
direct infringement—Mylan specifically contended there would be no direct infringement which
is a prerequisite for Plaintiffs to establish induced infringement. DSU Med. Corp. v. JMS Co.,
Ltd., 471 F.3d 1293, 1303 (Fed. Cir. 2006).
7
  Plaintiffs’ position phrases factual and legal issues unrelated to the present dispute as if those
are uncontested. For example, Plaintiffs state that Mylan “copied the label” of Invega Trinza and
posit it almost as a choice of Mylan’s, but Mylan has simply sought FDA approval of a generic
version of PP3M and its label is in compliance with FDA regulations and guidelines under the
Hatch-Waxman Act. Mylan disputes other aspects of Plaintiffs’ position, but limits this response
to the current dispute.


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    3. Mylan has the Right to Point Out Plaintiffs’ “Absence of Evidence” in a Rebuttal Report.

        To establish induced infringement (Plaintiffs’ sole theory) Plaintiffs must establish direct
infringement, and direct infringement requires a single actor meet all claim limitations. Plaintiffs
contend that “Mylan’s Proposed Label is specifically designed to instruct and direct physicians,
other healthcare providers and/or patients to administer Mylan’s proposed generic product to
patients who have missed a dose of its proposed generic product in accordance with the dosing
regimens recited in the Asserted Claims.” Ex. 5 at 6. While Plaintiffs’ expert, Dr. Sommi, did not
articulate the standard for direct infringement, he did mimic Plaintiffs’ contention, stating that “the
infringement inquiry considers whether the proposed label instructs healthcare professionals
and/or patients to use the product in accordance with a patent claim.” Ex. 2 at ¶ 60. However, Dr.
Sommi also opines that, for example, independent claim 5 requires a missed dose by a patient
followed by administering Mylan’s product by only a healthcare professional. Id. at ¶¶ 72, 44.
Dr. Sommi takes a different opinion from Plaintiffs’ contentions, stating that two actors are
required for direct infringement and never once suggesting (as Plaintiffs did in their responsive
infringement contentions) that the patient could both miss a dose and then self-administer their
next dose after their last dose was given 4-9 months ago.8 Mylan and its expert have every right
to point out and address these differing positions.

        A recent decision from this Court is instructive. In Chiesi USA, Inc. v. Aurobindo Pharma
USA, Inc., Case No. 19-18756-ZNQ-LHG, 2022 WL 304574, at *7 (D.N.J. Jan. 9, 2022), the
defendant failed to disclose a non-infringement theory in its contentions under the Local Patent
Rules. That already separates that case from the one here, since Mylan did disclose its non-
infringement theory. Regardless, in deciding the MIL, Judge Quraishi held that while “[t]he Local
Patent Rules require an ANDA opponent opposing infringement to speak first by articulating its
theories of non-infringement” this Court has been “reluctant to elevate form over substance.” Id.
The Court continued “[i]t is notable that the ‘affirmative evidence’ [plaintiff] hopes to preclude is
testimony from [defendant’s expert] regarding a perceived absence of evidence…[t]he Court also
recognizes that, as a practical matter, amending to add an evidence-deficiency contention like this
one would logically be complicated by [defendant] waiting for [plaintiff] to disclose its evidence.”
Id. (emphasis in original). Again, Mylan did put Plaintiffs on notice of its non-infringement theory.
Plaintiffs responded in their contentions. But even if that were not the case, Mylan is permitted to
point out Plaintiffs’ “absence of evidence” in expert discovery. And as a final note, the Court in
Chiesi also found “there is less prejudice9 to [plaintiff] given the narrow nature of the non-

8
  Dr. Sommi also utilizes the fact that more than one actor is required to practice the claimed
methods in order to tout the purported benefit of Invega Trinza® over oral medications that
require self-administration. Ex. 2 at ¶ 23. To utilize the requirement of two actors to tout
purported benefits to avoid invalidity, then turnaround and argue that only one actor is required
to ensnare Mylan’s proposed generic product is improper.
9
  Plaintiffs have not—because they cannot—set forth any showing that they are prejudiced by
Mylan’s timely and adequately disclosed position on non-infringement. Huertas v. Cap. One
Bank, N.A., Case No. 17-cv-1891-RMB-AMD, 2019 WL 6254933, at *4 (D.N.J. Aug. 1, 2019)
(“mere conclusory assertions of prejudice will not suffice”). Yet still, Plaintiffs are asking the


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infringement theory, and that [plaintiff] had the opportunity to depose [the expert] and can cross-
examine him on this issue at trial.” Id.

    4. Plaintiffs Delayed Raising this “Issue.”

         Plaintiffs did not raise the issue with the Court until the June 15th teleconference. That cuts
against Plaintiffs’ concocted timeliness “issue” given that the parties were at an impasse as of May
18th. Ex. 6 at 1 (5/18 email from C-V, Lachlan). Knowing that the case is on an expedited schedule
and with several upcoming expert depositions, Plaintiffs’ delay is inexcusable. What is more is
that the remedy Plaintiffs now seek is considerably different from the one Plaintiffs’ initially raised
with Mylan. Mylan’s counsel reached out to Plaintiffs’ counsel to confirm per the scheduling
order that reply reports are limited to secondary considerations and that there would be no reply
infringement report following ambiguity in prior correspondence when amending the schedule.
See Ex. 7 at 2 (4/14 email from S, Lance). Plaintiffs’ response was that they could not “confirm
[their] position on reply reports until [they] see [Mylan’s] rebuttal report” and that they “reserve
[their] right to pursue a reply if there is a need to do so.” Id. at 1 (4/18 email from C-V, Lachlan).
Mylan served its rebuttal expert report of Dr. Berger on May 9th, and not once have Plaintiffs raised
the need for a reply report, instead opting to try for the extreme sanction of entirely striking
paragraphs from Dr. Berger’s report. That is the case despite still having the opportunity to depose
Dr. Berger (see Chiesi, at *7) and further underscores the impropriety of these litigation tactics.

    5. Plaintiffs First Raised “Claim Construction” During the Parties’ Initial Exchange.

        Plaintiffs never once raised an issue of any alleged “newly” advanced claim construction
prior to the parties’ agreed upon initial exchange for this Joint Letter. It was never mentioned
during the parties’ meet and confer, the Court’s June 15th teleconference, nor during the parties’
email communications on this issue. At best, this appears to be an oversight on Plaintiffs’ part
during its many conversations with Mylan; at worst, it is evidence of Plaintiffs now trying to
manufacture “prejudice” where none exists. Setting that aside though, Plaintiffs are again
mistaken because there is no “new claim construction” being proposed by Mylan. 10 The claims

Court to exclude critical evidence, which would violate the Third Circuit’s directive and impose
“an extreme sanction” that may not be “imposed absent a showing of willful deception or
‘flagrant disregard’ of a court order”. Meyers v. Pennypack Woods Home Ownership Assn., 559
F.2d 894, 905 (3d Cir. 1977). None are present here.
10
   Plaintiffs also cite to Mylan’s Invalidity Contentions (Ex. 10), completely out of context, relying
on portions regarding Claim 1 (which as noted below were dropped on the eve of rebuttal reports) as
Mylan “defining” the patient population. Rather, Mylan’s discussion regarding the preamble of the
claims is that it is non-limiting as to “an efficacy requirement” as nothing in the phrase “in need
of treatment” requires efficacy. Ex. 10 at 43-4. Mylan’s Invalidity Contentions served
concurrently with its Non-Infringement Contentions explicitly state: “The claim language and
specification make clear that the focus of the alleged invention is not on a new way of actually
treating the underlying condition, but rather the focus is on patient behavior (e.g., a missed
dose).” Id. at 93-4. Mylan specifically stated that it was applying the plain and ordinary meaning
of the claims. Id. at 43.


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have an ordinary meaning that Plaintiffs acknowledged in prosecuting the patent, in their
infringement contentions, and even through their own expert in his infringement report for
example, Plaintiffs state that the “Asserted Claims do not refer to the act of missing a dose at all”,
but Plaintiffs’ expert disagrees, describing asserted claim 5 based on “when a regularly scheduled
dose of PP3M is missed”. Dr. Berger’s report responds directly to Dr. Sommi, but it also
specifically states that he was “not asked to offer (nor do[es he] offer) an opinion directed to any
claim construction” and that “he has been informed by counsel that unless some other reason exists,
i.e., a claim construction order, a claim term should be accorded its plain and ordinary meaning as
understood by a POSA when read in context of the specification and prosecution history.” Ex. B
at ¶¶ 19-20. Claim construction is not a prerequisite for the Court to weigh and consider the
evidence in assessing direct and indirect infringement–both of which Mylan has contested since
the earliest stages of litigation.

     6. Plaintiffs Would Have the Court Mandate a Stricter Standard for Mylan Than Plaintiffs.

         Mylan has litigated this case on the merits since the beginning. If any party has wavered
in its positions, it has been Plaintiffs.11 In the midst of expert discovery, Mylan received a
document production of highly relevant and previously requested (during fact discovery), but
unproduced, documents just days before Plaintiffs served their rebuttal expert reports relying
heavily on such documents. Ex. 8 (5/5 email from Q, Rob). In a baffling narrative, Plaintiffs take
the position that while “nothing in the Local Rules or case law requires that every piece of
‘information or data’ to be presented at trial be cited in [Janssen’s] contentions,” somehow the
same rules and law do not apply to Mylan. See Ex. 6 at 1. Plaintiffs would have the Court rule
that even though those “piece[s] of ‘information and data’” were responsive to requests by Mylan
not only in RFPs, but during the deposition of Plaintiffs’ Rule 30(b)(6) deponent, Plaintiffs were
not under the same disclosure requirements as Mylan. Rather, Plaintiffs take the position that their
burden of disclosure should be less than that of Mylan. Further, Plaintiffs find no apparent
prejudice because “Mylan had (and still has) every opportunity to explore these issues through fact
and expert discovery” even though fact discovery closed three (3) months prior in February. Id.
What is good for Plaintiffs, should be good for Defendant as it goes without saying that Janssen
still has “every opportunity to explore” Dr. Berger’s expert report in expert discovery. That is why
Mylan believes these “disputes” can be addressed in the normal course of expert discovery. But
should the Court disagree, Mylan respectfully submits that Plaintiffs should be held to the same
standard and the portions of Plaintiffs’ expert reports relying on late produced documents be
struck.

        We thank Your Honor for her kind consideration.

11
   One example is after Mylan and its experts expended significant time defending against
arguments regarding claims 1-3 and 15-29, Plaintiffs decided to unilaterally drop those claims
just days short of the deadline for rebuttal expert reports. ECF No. 63. Plaintiffs were adamant
in their desire to get the claims dismissed “by Monday” (the due date of rebuttal reports) and that
if no agreement was reached then they requested that “the parties agree that Janssen will hold its
Claim 1 reports in abeyance and put them in only if the parties cannot agree.” Ex. 9, at 1.


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              MILLER LLC


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                                                   Respectfully,

                                                   s/Keith J. Miller
                                                     Keith J. Miller
Encl.
cc: All Counsel of Record (w/encl.) (via CM/ECF)




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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


JANSSEN PHARMACEUTICALS, INC.,                  Civil Action No. 3:20-cv-13103-ZNQ-
JANSSEN PHARMACEUTICA NV, and                   LHG
JANSSEN RESEARCH & DEVELOPMENT
LLC,

                                Plaintiffs,
                     v.

MYLAN LABORATORIES LIMITED,

                                Defendant.



           OPENING EXPERT REPORT OF ROGER W. SOMMI, JR., PHARM.D.
             REGARDING INFRINGEMENT OF U.S. PATENT NO. 10,143,693




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             HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

I, Roger W. Sommi, Jr. declare as follows:

I.         QUALIFICATIONS

               1.      I am a Pharmacist with more than 35 years of experience participating in

collaborative treatment, teaching, and conducting clinical research of outcomes associated with

drug treatment of patients with schizophrenia and other psychiatric disorders. I am board

certified in Psychiatric Pharmacy by the Board of Pharmaceutical Specialties and a Fellow of the

American College of Clinical Pharmacy. The following is a summary of my background and

qualifications. Additional information is provided in my curriculum vitae, a copy of which is

attached as Exhibit A to this report.

               2.      I am currently Professor of Pharmacy Practice at the University of

Missouri-Kansas City (“UMKC”) School of Pharmacy and Professor of Psychiatry at the UMKC

School of Medicine.

               3.      I have my Bachelor of Science degree in Pharmacy from the University of

Wisconsin-Madison in 1983, my Doctor of Pharmacy degree from the University of Utah in

1985, and completed a two-year Clinical Sciences Fellowship in Psychiatric Pharmacotherapy at

the University of Texas-Austin and Austin State Hospital in 1987.

               4.      In August 1985, I began my academic career as a Clinical Instructor at the

University of Texas-Austin College of Pharmacy, where I worked until August 1987.

               5.      In October 1987, I joined the faculty at UMKC School of Pharmacy as an

Assistant Professor of Pharmacy Practice, a position that I held until September 1993. From

September 1993 to September 2003, I served as Associate Professor of Pharmacy Practice. In

September 2003, I assumed my current position as Professor of Pharmacy Practice at the school.

Since May 2014, I have served as Vice Chair of the Division of Pharmacy Practice and


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           HIGHLY CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

Administration and Associate Dean at UMKC School of Pharmacy.

               6.      In February 1988, I joined the faculty at UMKC School of Medicine as an

Assistant Professor of Psychiatry and stayed in that position until September 1993. From

September 1993 to September 2003, I served as Associate Professor of Psychiatry. In September

2003, I assumed my current position as Professor of Psychiatry at the school.

               7.      I have been in practice, seeing patients in an interprofessional treatment

team setting (i.e., physicians, resident physicians, nurse practitioners, nurses, psychologists,

social workers, and psychiatry technicians), for the past 37 years. My practice has revolved

around assessing patients, identifying drug-related problems and making recommendations for

treatment. We have multiple learners in the clinical environment as well. I spend significant

time annually training psychiatrists, pharmacists, nurse practitioners, physician assistants and

other psychiatric professionals on the proper use of psychiatric medicines, including long-acting

injectable antipsychotics (“LAIAs”) like Invega Sustenna® and Invega Trinza®. One of the

specific areas that I teach is the pharmacokinetics of psychiatric medication generally and LAIAs

specifically. I have given multiple national and regional trainings on the use of psychiatric

medications generally, and LAIAs in particular.

               8.      I have been the Research Director of the Psychopharmacy Research and

Education Program at UMKC School of Pharmacy and the Center for Behavioral Medicine since

August 1988. My clinical research focuses on outcomes associated with drug treatment of

patients with schizophrenia and other psychiatric disorders, with a specific focus on the use of

antipsychotic medications. I have presented the results of my research, including on outcomes

associated with psychiatric drug treatment, at numerous national meetings. I have published

dozens of papers in peer-reviewed scientific journals. Many of those papers pertain to


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psychiatric drug treatment. I have received approximately 60 grants and contracts as primary

investigator. I have also served as primary investigator of approximately 31 research initiatives.

In the course of my career, I have supervised approximately 50 post-doctoral residents and 19

post-doctoral research fellows and supervised the research projects for the postdoctoral program.

               9.       As a trained psychiatric pharmacist, I am regularly involved with the

treatment of psychiatric patients (including patients with schizophrenia). That involves

consulting with patients and their prescribers to make choices about drug treatment. Over my

career, I estimate I have been personally involved with treatment decisions of several thousand

psychiatric patients, many of whom were diagnosed with schizophrenia.

               10.      By way of example, I have been affiliated with the Southwest Missouri

Psychiatric Rehabilitation Center (SWMPRC), an inpatient facility for patients with severe

mental illness, for over 20 years. As part of my work with SWMPRC, I convene and chair

meetings of the psychiatrists and nurse practitioners at the facility, interview patients, discuss

treatment options and medication management, and prepare multi-page assessments and

recommendations for the clinical team. I have done and continue to do similar work in other

psychiatric settings.

               11.      I have participated in a number of clinical trials during the course of my

career, including as a principal investigator. These include clinical trials of LAIAs, specifically

Invega Sustenna®, Zyprexa Relprevv® and Aristada®.

               12.      I have served as an advisor to multiple pharmaceutical companies on the

development of their drugs, including LAIAs. Additionally, I have been invited to be a

promotional speaker for many of these companies over the years—including most of the current

manufacturers of LAIAs—starting with Haldol-D® and progressing through Risperdal Consta®,


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Invega Sustenna, Abilify Maintena and Aristada.

                 13.    I have been asked by Janssen Pharmaceuticals, Inc., Janssen

Pharmaceutica NV, and Janssen Research & Development LLC to provide certain expert

opinions in this case. I am being compensated for my time spent working on this case at a rate of

$400 per hour, plus expenses. My compensation is not dependent on the outcome of this case.

II.        SUMMARY OF OPINIONS TO BE EXPRESSED

                 14.    I have been asked by Janssen’s counsel to opine on whether Mylan

Laboratories Limited (“Mylan”) infringes Claims 1-3, 5-7, and 9-29 of U.S. Patent

No. 10,143,693 (the “693 Patent”).

                 15.    It is my opinion that the use of Mylan’s proposed generic versions of

Invega Trinza in accordance with Mylan’s proposed prescribing information would infringe

Claims 1-3, 5-7, and 9-29 of the 693 Patent.

                 16.    In forming my opinions for this case, I have relied upon the documents

cited in this declaration, including those listed in Exhibit B. My opinions further applied—and I

relied upon in forming my opinions for this case—my education, knowledge, and experience.

                 17.    I will be prepared to testify at trial as to the matters discussed in this

report, as well as matters I may discuss in response to any expert report submitted by Mylan. In

my testimony, I may provide additional explanations or clarifications of the opinions expressed

in my reports, and I may use documents, illustrations, examples, or visual aids that are not

included in either report.

III.       BACKGROUND

A.         The Treatment of Schizophrenia

                 18.    Schizophrenia is a debilitating illness that affects approximately 1% of the


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From:             Campbell-Verduyn, Lachlan (x2295)
To:               Soderstrom, Lance A.; Schurr, Jillian M.; Quirk, Rob (x2204); Mukerjee, Deepro R.; Malik, Jitty; El-Khoury, Dawn
                  S.; Arnie Calmann; Jeffrey Soos; Katherine A. Escanlar
Cc:               "Keith Miller"; jquinn@rwmlegal.com; Michael Gesualdo; _cg Trinza
Subject:          RE: Janssen Pharmaceuticals Inc. et al. v. Mylan Laboratories Ltd. (No. 3:20-cv-13103)
Date:             Monday, April 18, 2022 9:57:44 AM


EXTERNAL EMAIL – EXERCISE CAUTION
Lance,

We can’t confirm our position on reply reports until we see your rebuttal report. We reserve
our right to pursue a reply if there is a need to do so.

Thank you,

Lachlan

From: Soderstrom, Lance A. <lance.soderstrom@katten.com>
Sent: Monday, April 18, 2022 10:21 AM
To: Campbell-Verduyn, Lachlan (x2295) <lcampbellverduyn@pbwt.com>; Schurr, Jillian M.
<jillian.schurr@katten.com>; Quirk, Rob (x2204) <rquirk@pbwt.com>; Mukerjee, Deepro R.
<deepro.mukerjee@katten.com>; Malik, Jitty <jitty.malik@katten.com>; El-Khoury, Dawn S.
<dawn.el-khoury@katten.com>; Arnie Calmann <ACalmann@saiber.com>; Jeffrey Soos
<JSoos@saiber.com>; Katherine A. Escanlar <KEscanlar@saiber.com>
Cc: 'Keith Miller' <KMiller@rwmlegal.com>; jquinn@rwmlegal.com; Michael Gesualdo
<MGesualdo@rwmlegal.com>; _cg Trinza <Trinza@pbwt.com>
Subject: RE: Janssen Pharmaceuticals Inc. et al. v. Mylan Laboratories Ltd. (No. 3:20-cv-13103)


I  Caution: External Email!  I

Lachlan –

Sure. My email of March 3rd to Andrew may have unnecessarily injected ambiguity as we think the
scheduling order is clear. And I just want to make sure there is no “surprise” down the road by
pointing to my March 3rd email. Please confirm.

Thank you,

Lance A. Soderstrom
Partner & National Co-Chair, Patent Litigation

Katten
Katten Muchin Rosenman LLP
50 Rockefeller Plaza | New York, NY 10020-1605
direct +1.212.940.6330 mobile +1.810.252.4827
lance.soderstrom@katten.com | katten.com



                                                                                             Exhibit 7 - Page 1
                                                     Appx00369
            Case: 23-2042         Document: 22         Page: 140       Filed: 03/11/2024

From: Campbell-Verduyn, Lachlan (x2295) <lcampbellverduyn@pbwt.com>
Sent: Monday, April 18, 2022 10:17 AM
To: Soderstrom, Lance A. <lance.soderstrom@katten.com>; Schurr, Jillian M.
<jillian.schurr@katten.com>; Quirk, Rob (x2204) <rquirk@pbwt.com>; Mukerjee, Deepro R.
<deepro.mukerjee@katten.com>; Malik, Jitty <jitty.malik@katten.com>; El-Khoury, Dawn S.
<dawn.el-khoury@katten.com>; Arnie Calmann <ACalmann@saiber.com>; Jeffrey Soos
<JSoos@saiber.com>; Katherine A. Escanlar <KEscanlar@saiber.com>
Cc: 'Keith Miller' <KMiller@rwmlegal.com>; jquinn@rwmlegal.com; Michael Gesualdo
<MGesualdo@rwmlegal.com>; _cg Trinza <Trinza@pbwt.com>
Subject: RE: Janssen Pharmaceuticals Inc. et al. v. Mylan Laboratories Ltd. (No. 3:20-cv-13103)

EXTERNAL EMAIL – EXERCISE CAUTION
Lance,

Can you please explain why you are seeking our position on this issue at this time?

Thank you,

Lachlan

From: Soderstrom, Lance A. <lance.soderstrom@katten.com>
Sent: Thursday, April 14, 2022 11:04 AM
To: Campbell-Verduyn, Lachlan (x2295) <lcampbellverduyn@pbwt.com>; Schurr, Jillian M.
<jillian.schurr@katten.com>; Quirk, Rob (x2204) <rquirk@pbwt.com>; Mukerjee, Deepro R.
<deepro.mukerjee@katten.com>; Malik, Jitty <jitty.malik@katten.com>; El-Khoury, Dawn S.
<dawn.el-khoury@katten.com>; Arnie Calmann <ACalmann@saiber.com>; Jeffrey Soos
<JSoos@saiber.com>; Katherine A. Escanlar <KEscanlar@saiber.com>
Cc: 'Keith Miller' <KMiller@rwmlegal.com>; jquinn@rwmlegal.com; Michael Gesualdo
<MGesualdo@rwmlegal.com>; _cg Trinza <Trinza@pbwt.com>
Subject: RE: Janssen Pharmaceuticals Inc. et al. v. Mylan Laboratories Ltd. (No. 3:20-cv-13103)


I  Caution: External Email!  I

Lachlan –

We are in receipt of your letter but had a closing argument yesterday in a separate matter, so have
not had the chance to respond. That said, we expect to provide our response early next week. Also,
while I think it’s clear from the Amended Scheduling Order Extending Deadlines for Exchange of
Expert Reports, I want to make sure that all parties understand the only reply reports being
submitted on June 3rd will be from us (i.e., there will not be a reply infringement report). Please let
us know by Monday if you disagree.

Thanks,


                                                                           Exhibit 7 - Page 2
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         Exhibit A




                      Appx00484
           Case: 23-2042          Document: 22    Page: 142    Filed: 03/11/2024




Arnold B. Calmann (abc@saiber.com)               Deepro R. Mukerjee
Jeffrey Soos (js@saiber.com)                     Lance A. Soderstrom
Katherine A. Escanlar (kae@saiber.com)           KATTEN MUCHIN ROSENMAN LLP
SAIBER LLC                                       575 Madison Avenue
18 Columbia Turnpike, Suite 200                  New York, NY 10022-2585
Florham Park, NJ 07932                           Telephone: (212) 940-6330
(973) 622-3333 (telephone)                       Facsimile: (212) 940-8776
(973) 622-3349 (facsimile)                       deepro.mukerjee@katten.com
                                                 lance.soderstrom@katten.com
Jitendra Malik, Ph.D.
KATTEN MUCHIN ROSENMAN LLP                       Guylaine Haché, Ph.D.
550 S. Tryon Street, Suite 2900                  KATTEN MUCHIN ROSENMAN LLP
Charlotte, NC 28202-4213                         525 West Monroe Street
Telephone: (704) 444-2000                        Chicago, IL 60661-3693
jitty.malik@katten.com                           Telephone: (312) 902-5200
                                                 guylaine.hache@katten.com

Attorneys for Defendant
Mylan Laboratories Limited



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


JANSSEN PHARMACEUTICALS, INC.,
JANSSEN PHARMACEUTICA NV, and
JANSSEN RESEARCH & DEVELOPMENT,
LLC,
                                                  Civil Action No. 3:20-cv-13103-BRM-LHG
                    Plaintiffs,

             v.
                                                           CONFIDENTIAL
MYLAN LABORATORIES LIMITED,

                    Defendant.


           DEFENDANT MYLAN LABORATORIES LIMITED’S INITIAL
                  NON-INFRINGEMENT CONTENTIONS




                                         Appx00485
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       Pursuant to Local Patent Rules (L. Pat. R.) 3.3 and 3.6, and the Scheduling Order (ECF

No. 30), Defendant Mylan Laboratories Ltd. (“Mylan”) hereby submits the following Non-

Infringement Contentions to Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica NV and

Janssen Research & Development, LLC (collectively, “Plaintiffs”) concerning U.S. Patent No.

10,143,693 (“the ’693 patent”). In their Disclosures of Asserted Claims, Plaintiffs state that they

are asserting claims 1-3, 5-7 and 9-29 of the ’693 patent.

       Mylan reserves the right to supplement, amend, or otherwise modify these contentions as

discovery proceeds, including based on information obtained through fact and expert discovery,

or upon further investigation. Mylan further reserves the right to supplement, amend, or otherwise

modify these contentions in accordance with any modification to the Scheduling Order entered by

the Court; in response to any supplements or amendments to Plaintiffs’ Disclosure of Asserted

Claims; in response to Plaintiffs’ forthcoming Infringement Contentions and Response to

Invalidity Contentions; or in response to any claim construction ruling by the Court regarding the

’693 patent; or after any decision by this Court or the United States Court of Appeals for the

Federal Circuit that bears on the construction or validity of the ’693 patent. In addition, to the

extent that Plaintiffs advance a claim construction position different than Mylan’s current

understanding of a claim term (or Plaintiffs’ positions concerning such claim term) and/or after

the Court construes the claims as a matter of law, Mylan expressly reserves the right to modify

these Non-Infringement Invalidity Contentions. Mylan therefore reserves the right to supplement,

amend, or otherwise modify these contentions in accordance with the Local Patent Rules or any

other applicable Rules or by order of this Court or as appropriate. Mylan also provides these

disclosures without waiving any claim of privilege or work-product immunity.




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       These contentions are made pursuant to Federal Rule of Evidence 502. To the extent these

contentions contain any information that may be protected from discovery under the attorney-

client privilege, the attorney work-product immunity or any other applicable privilege or

immunity, such disclosure is inadvertent and does not, nor is it intended to, constitute a waiver of

any such privilege or immunity. The information set forth in these contentions is provided without

waiving: (1) the right to object to the use of any statement for any purpose, in this action or any

other, on the grounds of privilege, relevance, materiality, or any other appropriate grounds; (2) the

right to object to any request involving or relating to the subject matter of the statements herein;

or (3) the right to revise, correct, supplement, or clarify any of the statements provided below at

any time.

       These contentions should not be taken as an indication of Mylan’s position with regard to

the proper construction of any claim term. Rather, Mylan has made reasonable assumptions, to the

extent necessary and appropriate, as to the meaning of claim terms for the purpose of these

contentions only and have used those meanings to prepare these contentions. To the extent that

Mylan determines that a different meaning is appropriate for any claim term, they will assert that

meaning in connection with the claim construction proceedings, and Mylan reserves the right to

amend these contentions as a result of the Markman hearing and/or decision, or any other

subsequent clarification or alteration of the meaning of claim terms.

       As discussed in more detail below, at this early stage of the litigation, Mylan submits the

following non-infringement contentions:

            •    In light of prior art and other documents (produced as Bates numbers (MYL-

                 PP3M055716-6063), and as set forth in detail in Mylan’s Initial Invalidity

                 Contentions Pursuant to L. Pat. R. 3.3 and 3.6, served concurrently herewith, each




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                       of the Asserted Claims is invalid. Accordingly, because the Asserted Claims are

                       invalid, Mylan’s proposed product, as described in ANDA 212290 (“Mylan’s

                       ANDA Product”) cannot infringe any of the Asserted Claims.

                  •    Moreover, Mylan will not directly or indirectly infringe the Asserted Claims, either

                       literally or under the doctrine of equivalents. As discussed in detail below, the

                       Asserted Claims recite “administering” and Mylan does not perform the requisite

                       administering step. Because Mylan would never administer any treatment, Mylan

                       cannot directly infringe the Asserted Claims. Mylan does not cause, urge,

                       encourage, aid, advise, or otherwise induce any particular party to practice any

                       particular claim step that Mylan, itself, does not practice, i.e., treating a subject

                       having a disorder. Accordingly, Mylan cannot be liable for direct or induced

                       infringement of any of the Asserted Claims.

I.      WRITTEN BASIS UNDER L. PAT. R. 3.6(e)

        A.        An Invalid Claim Cannot Be Infringed

             It is axiomatic that an invalid claim cannot be infringed. As set forth in detail in Mylan’s

     Initial Invalidity Contentions Pursuant L. Pat. R. 3.6(c), served concurrently herewith, each of the

     Asserted Claims is invalid. Because the Asserted Claims are invalid, Mylan cannot infringe any

     of the Asserted Claims.

        B.        Mylan Will Not Infringe the Asserted Claims of the ’693 Patent

             1.        Mylan Will Not Directly Infringe the Asserted Claims

             Direct infringement requires that a single party’s activities meet all the limitations as

     claimed. To infringe a claim comprising a series of steps, “a person must have practiced all steps”

     of the claim. Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1317 (Fed. Cir. 2009). Here, the

     Asserted Claims require administering the claimed composition.


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       Mylan does not, and would never, directly administer Mylan’s ANDA Product to a patient.

Therefore, Mylan does not perform the requisite administering step of the Asserted Claims.

Accordingly, Mylan will not directly infringe any of the Asserted Claims.

       2.      Mylan Will Not Indirectly Infringe the Asserted Claims under 35 U.S.C. §
               271(b)

       Mylan will not induce infringement of the Asserted Claims under 35 U.S.C. § 271(b).

“[I]nduced infringement under § 271(b) requires knowledge that the induced acts constitute patent

infringement.” Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766, (2011). Moreover,

induced infringement requires that the accused infringer engage in “culpable conduct, directed to

encouraging another’s infringement, not merely that the inducer had knowledge of the direct

infringer’s activities.” DSU Med Corp. v. JMS Co., Ltd, 471 F.3d. 1293, 1306 (Fed Cir. 2006) (en

banc) (citing Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936-37 (2005));

see also Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1364 (Fed. Cir. 2003) (“mere

knowledge of possible infringement by others does not amount to inducement”).

       The Federal Circuit has held that “the intent requirement for inducement requires more

than just intent to cause the acts that produce direct infringement.” DSU, 471 F.3d at 1306. Rather,

the patentee must prove that the alleged infringer knowingly induced another to commit an

infringing act, i.e., the alleged infringer’s sale of its product would actively and knowingly aid and

abet another’s direct infringement. See id. at 1305; see also MEMC Elec. Materials, Inc. v.

Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005); ACCO Brands, Inc. v.

ABA Locks Mfg. Co., Ltd., 501 F.3d 1307, 1312 (Fed. Cir. 2007).

       Here, Mylan does not have control over whether a subject is actually provided, treated,

and/or administered the composition. Moreover, Mylan does not cause, urge, encourage, aid,

advise, or otherwise induce any particular party to practice any particular claim step that Mylan,



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       itself, does not practice, i.e., administering a claimed composition. Therefore, Mylan cannot

       infringe such non-practiced limitations in the Asserted Claims.

              Similarly, Mylan’s manufacture, use, sale, offer to sell, or importation into the United

       States of Mylan’s ANDA Product will not induce infringement of the Asserted Claims because

       Mylan lacks the specific intent necessary to induce infringement of the claims. DSU, 471 F.3d at

       1306 (inducement of infringement requires specific intent to cause direct infringement). Mylan

       does not and will not directly instruct physicians or anyone else to practice, much less infringe, the

       Asserted Claims. Thus, Mylan does not have the requisite specific intent required to induce

       infringement.

              Additionally, Mylan will not infringe claims 27-29 because Mylan’s Label for its ANDA

       Product will not instruct physicians or anyone else to administer “intramuscularly in the deltoid or

       gluteal muscle of said patient a fourth reinitiation maintenance dose of . . . PP1M.”

 II.      CLAIM CHARTS UNDER L. PAT. R. 3.6(e)

              A chart relevant to the ’693 patent, setting forth the information required under Local

       Patent Rule 3.6(e), is attached as Exhibit A. Mylan reserves the right to modify, supplement, or

       amend this disclosure based on any claim construction ordered by the Court, further discovery, or

       in view of Plaintiffs’ contentions.

III.      CONCLUSION

              For at least the reasons set forth above, and in light of at least the references discussed

       herein, Mylan asserts that the Asserted Claims are not infringed by Mylan’s ANDA Product.

       Mylan reserves the right to supplement and/or revise these contentions as necessary and

       appropriate, including as provided under the Local Patent Rules or any other applicable Rules or

       order of the Court.




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Date: May 26, 2021

                                         /s/ Guylaine Hache

                                         Arnold B. Calmann (abc@saiber.com)
                                         Jeffrey Soos (jsoos@saiber.com)
                                         Katherine A. Escanlar (kae@saiber.com)
                                         SAIBER LLC
                                         One Gateway Center, 10th Floor
                                         Newark, NJ 07102-5311
                                         Telephone: (973) 622-3333
                                         Facsimile: (973)-286-2465

                                         Deepro R. Mukerjee
                                         Lance A. Soderstrom
                                         KATTEN MUCHIN ROSENMAN LLP
                                         575 Madison Avenue
                                         New York, NY 10022-2585
                                         Telephone: (212) 940-6330
                                         Facsimile: (212) 940-8776
                                         deepro.mukerjee@katten.com
                                         lance.soderstrom@katten.com

                                         Jitendra (“Jitty”) Malik Ph.D.
                                         KATTEN MUCHIN ROSENMAN LLP
                                         550 S. Tryon Street, Suite 2900
                                         Charlotte, NC 28202-4213
                                         Telephone: (704) 444-2000
                                         jitty.malik@katten.com

                                         Guylaine Haché, Ph.D.
                                         KATTEN MUCHIN ROSENMAN LLP
                                         525 West Monroe Street
                                         Chicago, IL 60661-3693
                                         Telephone: (312) 902-5200
                                         guylaine.hache@katten.com


                                         Attorneys for Defendant
                                         Mylan Laboratories Limited




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                                          Exhibit A

                    Text of Claim                          Reasons for Non-Infringement

1   A dosing regimen for administering an             This claim is invalid under 35 U.S.C. §§
    injectable paliperidone palmitate depot to a      102, 103, 112 and 101. Accordingly,
    patient in need of treatment for psychosis,       because this claim is invalid, Mylan
    schizophrenia or bipolar disorder that has        cannot infringe this claim.
    been treated with a 3-month injectable
    paliperidone palmitate depot (PP3M),              Additionally, Mylan cannot be held liable
    wherein said patient had been last                for direct infringement of this claim. This
    administered a PP3M injection more than 9         claim pertains to a dosing regimen
    months ago, and the next scheduled                comprising the step of administering the
    maintenance dose of the PP3M should be            claimed composition. Because Mylan will
    administered to said patient, comprising:         not directly administer its ANDA Product
                                                      to a patient, Mylan cannot directly infringe
    (1) administering intramuscularly in the          this claim.
    deltoid muscle of said patient a first
    reinitiation loading dose of 150 mg eq. of        Moreover, Mylan cannot be held liable for
    monthly injectable paliperidone palmitate         indirect or induced infringement. Mylan
    depot (PP1M);                                     does not cause, urge, encourage, aid,
                                                      advise, or otherwise induce any particular
    (2) administering intramuscularly in the          party to practice any particular claim step
    deltoid muscle of said patient a second           that Mylan, itself, does not practice, i.e.,
    reinitiation loading dose of 100 mg eq. of        administering the claimed composition.
    PP1M on about the 4th day to about the 12th       Mylan does not and will not directly
    day after administering said first reinitiation   instruct physicians or anyone else to
    loading dose;                                     practice, much less infringe, the claimed
                                                      dosing regimen. Therefore, Mylan cannot
    (3) administering intramuscularly in the          infringe such non-practiced limitations.
    deltoid or gluteal muscle of said patient a       Thus, Mylan does not have the requisite
    first reinitiation maintenance dose of 50 mg      specific intent required to induce
    eq. to about 150 mg eq. of PP1M on about          infringement.
    the 23th day to about the 37th day after
    administering said second reinitiation
    loading dose;

    (4) administering intramuscularly in the
    deltoid or gluteal muscle of said patient a
    second reinitiation maintenance dose of from
    about 50 mg eq. to about 150 mg eq. of
    PP1M on about the 23rd day to about the
    37th day after administering of the first
    reinitiation maintenance dose;

    (5) administering intramuscularly in the
    deltoid or gluteal muscle of said patient a


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    third reinitiation maintenance dose of from
    about 50 mg eq. to about 150 mg eq. of
    PP1M on about the 23rd day to about the
    37th day after administering of the second
    reinitiation maintenance dose; and

    (6) administering intramuscularly in the
    deltoid or gluteal muscle of said patient from
    about 175 mg eq. to about 525 mg eq. of
    PP3M on about the 23rd day to about the
    37th day after administering of the last
    reinitiation maintenance dose of monthly
    injectable paliperidone palmitate.

2   The method of claim 1, wherein said patient      This claim is invalid under 35 U.S.C. §§
    is in need of treatment for psychosis.           102, 103, 112 and 101. Accordingly,
                                                     because this claim is invalid, Mylan
                                                     cannot infringe this claim.

                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

3   The method of claim 1, wherein said patient      This claim is invalid under 35 U.S.C. §§
    is in need of treatment for schizophrenia.       102, 103, 112 and 101. Accordingly,
                                                     because this claim is invalid, Mylan
                                                     cannot infringe this claim.

                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

5   A dosing regimen for administering an            This claim is invalid under 35 U.S.C. §§
    injectable paliperidone palmitate depot to a     103, 112 and 101. Accordingly, because
    patient in need of treatment for psychosis,      this claim is invalid, Mylan cannot
    schizophrenia or bipolar disorder that has       infringe this claim.
    been treated with PP3M, wherein said
    patient had been last administered a PP3M        Additionally, Mylan cannot be held liable
    injection 4 to 9 months ago and the next         for direct infringement of this claim. This
    scheduled maintenance dose of PP3M               claim pertains to a dosing regimen
    should be administered to said patient,          comprising the step of administering the
    comprising:                                      claimed composition. Because Mylan will
                                                     not directly administer its ANDA Product
    (1) administering intramuscularly in the         to a patient, Mylan cannot directly infringe
    deltoid muscle of said patient a first           this claim.
    reinitiation loading dose of PP1M;



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    (2) administering intramuscularly in the      Moreover, Mylan cannot be held liable for
    deltoid muscle of said patient a second       indirect or induced infringement. Mylan
    reinitiation loading dose of PP1M on about    does not cause, urge, encourage, aid,
    the 4th day to about the 12th day after       advise, or otherwise induce any particular
    administering of said first reinitiation      party to practice any particular claim step
    loading dose; and                             that Mylan, itself, does not practice, i.e.,
                                                  administering the claimed composition.
    (3) administering intramuscularly in the      Mylan does not and will not directly
    deltoid or gluteal muscle of said patient a   instruct physicians or anyone else to
    reinitiation dose of PP3M on about the 23rd practice, much less infringe, the claimed
    day to about the 37th day after administering dosing regimen. Therefore, Mylan cannot
    the second reinitiation loading dose of PP1M infringe such non-practiced limitations.
    wherein said first and second reinitiation    Thus, Mylan does not have the requisite
    loading doses and the reinitiation PP3M dose specific intent required to induce
    are selected from the table below based on    infringement.
    the amount of the missed dose

         Missed
         Dose of     Reinitiation Doses     Reinitiation Doses
         PP3M            ofPPlM                 of PP3M

        175 mg eq.       50 mg eq.             175 mg eq.
        263 mg eq.       75 mg eq.             263 mg eq.
        350 mg eq.      100 mg eq.             350 mg eq.
        525 mg eq.      100 mg eq.             525 mg eq.



6   The method of claim 5, wherein said patient                  This claim is invalid under 35 U.S.C. §§
    is in need of treatment for psychosis.                       103, 112 and 101. Accordingly, because
                                                                 this claim is invalid, Mylan cannot
                                                                 infringe this claim.

                                                                 Additionally, Mylan will not directly or
                                                                 indirectly infringe this claim for the same
                                                                 reasons as claim 5.

7   The method of claim 5, wherein said patient                  This claim is invalid under 35 U.S.C. §§
    is in need of treatment for schizophrenia.                   103, 112 and 101. Accordingly, because
                                                                 this claim is invalid, Mylan cannot
                                                                 infringe this claim.

                                                                 Additionally, Mylan will not directly or
                                                                 indirectly infringe this claim for the same
                                                                 reasons as claim 5.

9   The method of claim 5 wherein the second                     This claim is invalid under 35 U.S.C. §§
    reinitiation dose of PP1M is administered                    103, 112 and 101. Accordingly, because
    about 7 days after administering said first                  this claim is invalid, Mylan cannot
    reinitiation loading dose of PP1M.                           infringe this claim.




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                                                         Additionally, Mylan will not directly or
                                                         indirectly infringe this claim for the same
                                                         reasons as claim 5.

10   The method of claim 9 wherein the second            This claim is invalid under 35 U.S.C. §§
     reinitiation dose of PP1M is administered 7         103, 112 and 101. Accordingly, because
     days after administering said first reinitiation    this claim is invalid, Mylan cannot
     loading dose of PP1M.                               infringe this claim.

                                                         Additionally, Mylan will not directly or
                                                         indirectly infringe this claim for the same
                                                         reasons as claim 5.

11   The method of claim 5 wherein the                   This claim is invalid under 35 U.S.C. §§
     reinitiation dose of PP3M is administered           103, 112 and 101. Accordingly, because
     about 30 days after administering said              this claim is invalid, Mylan cannot
     second reinitiation loading dose of PP1M.           infringe this claim.

                                                         Additionally, Mylan will not directly or
                                                         indirectly infringe this claim for the same
                                                         reasons as claim 5.

12   The method of claim 11 wherein the                  This claim is invalid under 35 U.S.C. §§
     reinitiation dose of PP3M is administered 30        103, 112 and 101. Accordingly, because
     days after administering said second                this claim is invalid, Mylan cannot
     reinitiation loading dose of PP1M.                  infringe this claim.

                                                         Additionally, Mylan will not directly or
                                                         indirectly infringe this claim for the same
                                                         reasons as claim 5.

13   The method of claim 5 wherein the                   This claim is invalid under 35 U.S.C. §§
     reinitiation dose of PP3M is administered           103, 112 and 101. Accordingly, because
     about a month after administering said              this claim is invalid, Mylan cannot
     second reinitiation loading dose of PP1M.           infringe this claim.

                                                         Additionally, Mylan will not directly or
                                                         indirectly infringe this claim for the same
                                                         reasons as claim 5.

14   The method of claim 11 wherein the                  This claim is invalid under 35 U.S.C. §§
     reinitiation dose of PP3M is administered a         103, 112 and 101. Accordingly, because
     month after administering said second               this claim is invalid, Mylan cannot
     reinitiation loading dose of PP1M.                  infringe this claim.




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                                                      Additionally, Mylan will not directly or
                                                      indirectly infringe this claim for the same
                                                      reasons as claim 5.

15   The method of claim 1 wherein the second         This claim is invalid under 35 U.S.C. §§
     reinitiation loading dose of PP1M is             102, 103, 112 and 101. Accordingly,
     administered about 7 days after                  because this claim is invalid, Mylan
     administering said first reinitiation loading    cannot infringe this claim.
     dose of PP1M.
                                                      Additionally, Mylan will not directly or
                                                      indirectly infringe this claim for the same
                                                      reasons as claim 1.

16   The method of claim 15 wherein the second        This claim is invalid under 35 U.S.C. §§
     reinitiation loading dose of PP1M is             102, 103, 112 and 101. Accordingly,
     administered 7 days after administering said     because this claim is invalid, Mylan
     first reinitiation loading dose of PP1M.         cannot infringe this claim.

                                                      Additionally, Mylan will not directly or
                                                      indirectly infringe this claim for the same
                                                      reasons as claim 1.

17   The method of claim 1 wherein the first          This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance dose of PP1M is         102, 103, 112 and 101. Accordingly,
     administered about 30 days after                 because this claim is invalid, Mylan
     administering said second reinitiation           cannot infringe this claim.
     loading dose of PP1M.
                                                      Additionally, Mylan will not directly or
                                                      indirectly infringe this claim for the same
                                                      reasons as claim 1.

18   The method of claim 1 wherein the first          This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance dose of PP1M is         102, 103, 112 and 101. Accordingly,
     administered 30 days after administering         because this claim is invalid, Mylan
     said second reinitiation loading dose of         cannot infringe this claim.
     PP1M.
                                                      Additionally, Mylan will not directly or
                                                      indirectly infringe this claim for the same
                                                      reasons as claim 1.

19   The method of claim 1 wherein the second         This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance of PP1M is              102, 103, 112 and 101. Accordingly,
     administered about 30 days after                 because this claim is invalid, Mylan
     administering said first reinitiation            cannot infringe this claim.
     maintenance dose of PP1M.




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                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

20   The method of claim 1 wherein the second        This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance of PP1M is             102, 103, 112 and 101. Accordingly,
     administered 30 days after administering        because this claim is invalid, Mylan
     said first reinitiation maintenance dose of     cannot infringe this claim.
     PP1M.
                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

21   The method of claim 1 wherein the third         This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance of PP1M is             102, 103, 112 and 101. Accordingly,
     administered about 30 days after                because this claim is invalid, Mylan
     administering said second reinitiation          cannot infringe this claim.
     maintenance dose of PP1M.
                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

22   The method of claim 1 wherein the third         This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance of PP1M is             102, 103, 112 and 101. Accordingly,
     administered 30 days after administering        because this claim is invalid, Mylan
     said second reinitiation maintenance dose of    cannot infringe this claim.
     PP1M.
                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

23   The method of claim 1 wherein PP3M is           This claim is invalid under 35 U.S.C. §§
     administered about 30 days after                102, 103, 112 and 101. Accordingly,
     administering said last reinitiation            because this claim is invalid, Mylan
     maintenance of PP1M.                            cannot infringe this claim.

                                                     Additionally, Mylan will not directly or
                                                     indirectly infringe this claim for the same
                                                     reasons as claim 1.

24   The method of claim 1 wherein PP3M is           This claim is invalid under 35 U.S.C. §§
     administered about 30 days after                102, 103, 112 and 101. Accordingly,
     administering said last reinitiation            because this claim is invalid, Mylan
     maintenance of PP1M.                            cannot infringe this claim.




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                                                    Additionally, Mylan will not directly or
                                                    indirectly infringe this claim for the same
                                                    reasons as claim 1.

25   The method of claim 1 wherein PP3M is          This claim is invalid under 35 U.S.C. §§
     administered about a month after               102, 103, 112 and 101. Accordingly,
     administering said last reinitiation           because this claim is invalid, Mylan
     maintenance of PP1M.                           cannot infringe this claim.

                                                    Additionally, Mylan will not directly or
                                                    indirectly infringe this claim for the same
                                                    reasons as claim 1.

26   The method of claim 1 wherein PP3M is          This claim is invalid under 35 U.S.C. §§
     administered a month after administering       102, 103, 112 and 101. Accordingly,
     said last reinitiation maintenance of PP1M.    because this claim is invalid, Mylan
                                                    cannot infringe this claim.

                                                    Additionally, Mylan will not directly or
                                                    indirectly infringe this claim for the same
                                                    reasons as claim 1.

27   The method of claim 1 further comprising       This claim is invalid under 35 U.S.C. §§
     administering intramuscularly in the deltoid   102, 103, 112 and 101. Accordingly,
     or gluteal muscle of said patient a fourth     because this claim is invalid, Mylan
     reinitiation maintenance dose of from about    cannot infringe this claim.
     50 mg eq. to about 150 mg eq. of PP1M on
     about the 23rd day to about the 37th day       Additionally, Mylan will not directly or
     after administering the third reinitiation     indirectly infringe this claim for the same
     maintenance dose.                              reasons as claim 1. Mylan will further not
                                                    infringe this claim because Mylan’s Label
                                                    for its ANDA Product will not instruct
                                                    physicians or anyone else to administer
                                                    “intramuscularly in the deltoid or gluteal
                                                    muscle of said patient a fourth reinitiation
                                                    maintenance dose of from about 50 mg eq.
                                                    to about 150 mg eq. of PP1M on about the
                                                    23rd day to about the 37th day after
                                                    administering the third reinitiation
                                                    maintenance dose.”

28   The method of claim 27 wherein said fourth     This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance of PP1M is            102, 103, 112 and 101. Accordingly,
     administered about 30 days after               because this claim is invalid, Mylan
     administering said third reinitiation          cannot infringe this claim.
     maintenance dose of PP1M.



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                                                    Additionally, Mylan will not directly or
                                                    indirectly infringe this claim for the same
                                                    reasons as claim 1. Mylan will further not
                                                    infringe this claim because Mylan’s Label
                                                    for its ANDA Product will not instruct
                                                    physicians or anyone else to administer
                                                    “intramuscularly in the deltoid or gluteal
                                                    muscle of said patient a fourth reinitiation
                                                    maintenance of PP1M is administered
                                                    about 30 days after administering said
                                                    third reinitiation maintenance dose of
                                                    PP1M.”

29   The method of claim 28 wherein said fourth     This claim is invalid under 35 U.S.C. §§
     reinitiation maintenance of PP1M is            102, 103, 112 and 101. Accordingly,
     administered 30 days after administering       because this claim is invalid, Mylan
     said third reinitiation maintenance dose of    cannot infringe this claim.
     PP1M.
                                                    Additionally, Mylan will not directly or
                                                    indirectly infringe this claim for the same
                                                    reasons as claim 1. Mylan will further not
                                                    infringe this claim because Mylan’s Label
                                                    for its ANDA Product will not instruct
                                                    physicians or anyone else to administer
                                                    “intramuscularly in the deltoid or gluteal
                                                    muscle of said patient a fourth reinitiation
                                                    maintenance of PP1M is administered 30
                                                    days after administering said third
                                                    reinitiation maintenance dose of PP1M.”




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 26, 2021, I served via electronic mail on counsel of record a
true and correct copy of the foregoing.



                                                             By: /s/ Guylaine Hache
                                                                     Guylaine Hache




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                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


          CHAMBERS OF                                                  CLARKSON S. FISHER U.S. COURTHOUSE
       LOIS H. GOODMAN                                                       402 EAST STATE STREET
 UNITED STATES MAGISTRATE JUDGE                                                     ROOM 7050
                                                                                TRENTON, NJ 08608
                                                                                   609-989-2114




                                                                   August 4, 2022



                                      LETTER ORDER


       Re:      JANSSEN PHARMACEUTICALS, INC., et al. v. MYLAN
                LABORATORIES LTD.
                Civil Action No. 20-13103 (GC) (LHG)

Dear Counsel:

        Presently before the Court is the parties’ joint letter concerning Defendant Mylan
Laboratories Ltd.’s (“Mylan”) rebuttal expert report (“Joint Letter”) [Docket Entry No. 72].
Specifically, Plaintiffs Janssen Pharmaceuticals, Inc., Janssen Pharmaceuticals NV, and Janssen
Research & Development, LLC (collectively, “Janssen”) ask the Court to strike the opinions of
Mylan’s rebuttal expert, Dr. Steven Berger, M.D., as to divided infringement.
        Janssen argues that Mylan failed to disclose this theory in Mylan’s non-infringement
contentions and that Janssen should not be forced to prepare for trial—currently scheduled for
October 3, 2022—on this newly disclosed theory. Joint Letter at 3–5. Janssen would therefore
suffer prejudice if the Court does not grant the relief sought. Joint Letter at 3–4. Mylan
disputes Janssen’s characterizations and maintains, inter alia, that Mylan adequately provided
notice of its non-infringement positions to Janssen and that Janssen is now attempting to allege
prejudice where none exists. Joint Letter at 5–9. The Court should deny Janssen’s request,
which Mylan asserts is an unwarranted motion in limine disguised as a discovery issue. Joint
Letter at 5–7.
        After reviewing the Joint Letter and considering the parties’ arguments, this Court finds
that the issue relates to trial admissibility, not discovery. Specifically, Janssen seeks the
exclusion of this theory from Mylan’s case at trial. Therefore, the undersigned finds that this
issue would be more appropriately presented as a motion in limine. This is particularly so, given
the timing of the letter request and the proximity of trial.



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        Accordingly, it is ORDERED that Janssen’s request to strike portions of Dr. Berger’s
rebuttal report is denied without prejudice at this time. Janssen may file the appropriate motion
in limine in accordance with the timeline as set by the Court for such motions.


       IT IS SO ORDERED.




                                                     LOIS H. GOODMAN
                                                     United States Magistrate Judge




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            IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW JERSEY



JANSSEN PHARMACEUTICALS, INC.,
JANSSEN PHARMACEUTICA NV,
and JANSSEN RESEARCH &
                                       Civil Action No. 3:20-cv-13103
DEVELOPMENT, LLC,
                                        (GC) (LHG)
                Plaintiffs,
   v.
                                       FILED UNDER SEAL
MYLAN LABORATORIES LIMITED,
             Defendant.




             PLAINTIFFS’ MOTION IN LIMINE
   TO EXCLUDE MYLAN’S DIVIDED INFRINGEMENT DEFENSE




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                               INTRODUCTION
      This action arises out of Mylan’s applications to the FDA to market generic

versions of Janssen’s Invega Trinza®, a long-acting paliperidone palmitate

antipsychotic medication that is administered every three months (also called

“PP3M”). Janssen alleges that Mylan infringes Claims 5-7 and 9-14 (the “Asserted

Claims”) of its U.S. Patent No. 10,143,693 (“693 Patent”), which cover dosing

regimens that allow patients who have missed a dose of PP3M to return to

treatment. Both Janssen’s label for Invega Trinza® and Mylan’s label for its

proposed generic include instructions for the claimed missed dose dosing regimen.

      Mylan does not dispute the basic facts of infringement: that it copied

Janssen’s label for its proposed generic product (including the claimed dosing

regimen) and that following the missed dose dosing regimens on Mylan’s proposed

label would infringe the Asserted Claims. Instead, Mylan asserts that, despite

copying Janssen’s patented dosing regimen, it does not infringe the Asserted

Claims under a strained theory of “divided infringement.” Under this theory,

Mylan argues that the steps of the claimed dosing regimens include the “act” of

missing a dose, which can only be performed by the patient. As a result, the theory

goes, there is no single actor who practices the claimed method of treatment as

required for infringement, because it is a doctor who administers the claimed

dosing regimen but a patient who missed the dose.

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      Mylan’s divided infringement theory is both meritless and untimely.

Janssen therefore moves for an order excluding any testimony on this late-

disclosed theory.

      Divided infringement is inapplicable to the Asserted Claims. The plain

language of the claims simply does not include the “act” of missing a dose.

Rather, the preamble of the Asserted Claims defines the condition of the patient

(having missed a scheduled dose of PP3M) who receives the claimed method of

treatment. Thereafter, the Asserted Claims set out three steps of the claimed

regimens. Mylan’s theory transforms a patient’s condition requiring treatment into

an active step of the treatment. Mylan’s interpretation of method of treatment

claims is entirely unsupported by law, contrary to the plain language of the claims,

and would make it virtually impossible for any method of treatment claim to be

infringed. The Court should preclude Mylan from introducing testimony on this

baseless and futile theory, which will only waste the Court’s, the parties’, and the

witnesses’ time.

      Furthermore, Mylan’s divided infringement theory was not disclosed in a

timely fashion. It was not disclosed in Mylan’s infringement contentions, as

expressly required by the local patent rules, or during the time scheduled for

raising claim construction disputes. Mylan introduced this new theory for the first

time in its rebuttal expert report on infringement, without seeking leave to amend


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its contentions, in violation of this Court’s local rules. Courts in this district

regularly preclude testimony on this basis alone and the Court should do the same

here.

I.      BACKGROUND

        This is a Hatch-Waxman case involving Janssen’s 693 Patent, listed in the

Orange Book for Janssen’s Invega Trinza® product. Invega Trinza is a long-

acting injectable paliperidone palmitate antipsychotic medication that can be

administered once every three months, providing sustained treatment for patients

while reducing opportunities for non-adherence. Nevertheless, PP3M patients do

miss their regularly scheduled dose from time to time. The 693 Patent solves the

problem of how to return such patients to PP3M treatment. The Asserted Claims

recite the steps to be taken to reinitiate a psychiatric patient treated with PP3M,

whose last dose of PP3M was 4-9 months ago. Those steps are administering to

these patients two specific doses of one-month paliperidone palmitate (“PP1M”)

and PP3M, at specific time intervals, by injection in specific locations, then

resuming treatment with PP3M. These same steps are set forth in the missed dose

instructions in the Invega Trinza prescribing information.

        Mylan’s proposed prescribing information copies the Invega Trinza missed

dose instructions nearly verbatim. Janssen alleges that, by including such

instructions in its label, Mylan has induced infringement of the Asserted Claims.


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      When Mylan provided its non-infringement contentions over a year ago, it

did not dispute that healthcare providers (“HCPs”) would infringe the Asserted

Claims by administering PP3M according to Mylan’s proposed label. Instead,

Mylan contended that Mylan itself would not directly infringe (because Mylan

itself does not administer any drug), and that Mylan would not induce infringement

(despite its copied label instructions), because the label would not cause HCPs to

administer the drug according to the missed dose regimen. See Ex. 1 at 4-6

(Mylan’s May 26, 2021 Non-Infringement Contentions). In its contentions, Mylan

never disputed (as it does now) that a HCP following its proposed label would

directly infringe the Asserted Claims.

      Mylan has since introduced a new theory of non-infringement in the rebuttal

infringement report of its expert, Dr. Steven Berger. Dr. Berger opined that a HCP

following the label would not directly infringe because infringement is “divided”

between the HCP who administers the dosing regimen and the patient who misses

a dose. Mylan’s theory is premised on a previously undisclosed construction of the

claims that improperly reads the condition for treatment into the steps for

treatment. Janssen promptly raised the untimeliness of the theory (and its lack of

merit) first with Mylan and then with Judge Goodman, who ordered submission of

a joint letter, attached here as Exhibit 2. Judge Goodman denied Janssen’s request

without prejudice to renewal as a motion in limine. Dkt. 78 at 1.


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II.   DIVIDED INFRINGEMENT IS NOT APPLICABLE TO THE
      693 PATENT

      “Divided infringement” refers to the situation where “no single actor

performs all steps of a method claim.” Eli Lilly & Co. v. Teva Parenteral Meds.,

Inc., 845 F.3d 1357, 1364 (Fed. Cir. 2017) (emphasis added). “Divided

infringement” is a defense to direct infringement. But if a single actor does

perform all of the steps of a method claim, then there is no divided infringement.

Applied to the Hatch-Waxman context, that means that where the label for the

proposed ANDA product directs a single actor to perform all steps of a claimed

method of treatment, infringement is not divided. In such a case, the single actor

infringes directly and any party that induces that infringement by instructing that

actor to perform the claimed method is liable for induced infringement. See

Orexigen Therapeutics, Inc. v. Actavis Labs. FL, Inc., 282 F. Supp. 3d 793, 811-

12, 818 (D. Del. 2017) (rejecting argument that divided infringement applied to

method of treatment claim), aff’d in part, rev’d in part sub nom. Nalproprion

Pharms., Inc., v. Actavis Labs. FL, Inc., 934 F.3d 1344 (Fed Cir. 2019).

      Here, the only steps of the Asserted Claims are the steps of administering

PP1M or PP3M; they do not include the step of a patient missing a dose. It is

undisputed that a single actor (the HCP) performs all administering steps. Mylan’s

divided infringement theory reads into the Asserted Claims the “act of missing a

dose,” contrary to the express language of the claim and its plain and ordinary

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meaning. Mylan’s divided infringement argument and associated expert testimony

should therefore be excluded as irrelevant under Federal Rule of Evidence 402 and

as a waste of time and source of undue delay under Rule 403.

      A.     A Patient “Missing a Dose” Is Not a Step In the Dosing
             Regimen Claimed in the 693 Patent
      The relevant inquiry is whether the act of “missing a dose” is a step of the

Asserted Claims (rather than merely a description of the object of the steps of the

Asserted Claims). The law is clear that the steps of a method claim are actions that

must be “carried out” for infringement to occur. Limelight Networks, Inc. v.

Akamai Techs., Inc., 572 U.S. 915, 921 (2014). Thus, identifying the “steps” of a

method claim simply means identifying what actions the patent teaches. As with

any question of claim interpretation, the identification of the claim steps is a

question of law and the claim terms “are generally given their ordinary and

customary meaning.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir.

2005) (en banc) (internal quotation marks omitted).

             1.     The Structure and Grammar of the Asserted Claims
                    Make Clear that “Missing a Dose” Is Not a Claim
                    Step

      A method claim typically consists of: (i) a preamble that describes the

conditions in which the method is practiced, and (ii) the body of the claim. See

AMAG Pharms., Inc. v. Sandoz, Inc., No. 16-cv-1508, 2017 WL 3076974 (D.N.J.

July 19, 2017); see also Microprocessor Enhancement Corp. v. Texas Instruments,

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Inc., 520 F.3d 1367, 1374 (Fed. Cir. 2008) (“Method claim preambles often recite

the [conditions] in which the claimed method is practiced.”). Structure and

grammar provide clues to distinguish the method steps from the condition;

generally, “the body, of a method claim [consists of] methods steps, which should

usually be verbal (gerundial) phrase[s], introduced by a gerund or verbal noun (the

“-ing” form of a verb).” AMAG, 2017 WL 3076974, at *25.

      Even putting aside the preamble, the grammar and structure of a method

claim can distinguish steps from conditions. See Core Wireless Licensing S.A.R.L.

v. Apple, Inc. No. 15-cv-5008, 2016 WL 6427850 (N.D. Cal. Oct. 31, 2016). In

Core Wireless, the claim at issue included three separately indented clauses that

began with gerunds describing actions to be taken with a core network element

identifier: “storing,” “inserting,” and “sending.” Id. at *3-4. The “sending” clause

also included an extensive description of the type of radio network to which the

core network element identifier was to be sent. Id. at *4. The defendant argued

that the “sending” clause contained several additional claim steps requiring

configuring the receiving radio network in a certain way. Id. The court rejected

this interpretation: “the claim’s grammar and indentation support [plaintiff’s]

argument that [the receiving network parameters] describe an environment and not

separate steps.” Id. at *5. “The three steps identified by [plaintiff] each start on a

separate line with a gerund, a verb that acts as a noun, demonstrating how the


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method should be performed.” Id. at *5.

      The distinction between method steps and the conditions for their

performance also applies to method of treatment claims. Specifically, a method of

treatment claim’s description of the conditions for using the method often defines a

particular population of patients to whom the drug administering steps are directed.

For example, in Orexigen, there was no divided infringement in a method of

treating obesity “comprising administering [a pair of compounds] to an individual

who has been diagnosed as suffering from overweight or obesity.” 282 F. Supp. 3d

at 798. Defendants argued, similar to Mylan here, that diagnosing obesity was a

step of the claimed method, and that infringement was therefore divided between

the doctor (who diagnoses) and the patient (who self-administers this medicine).

Id. at 812. The court rejected this argument: “a plain reading of this claim

limitation indicates that the individual will already be diagnosed prior to the

method being performed. The method itself requires only the single step of

administering the drug.” Id.

      Under this case law, it is clear that a patient “missing a dose” of PP3M is not

a step of the claimed method. First, the grammar and structure of claim 5 (the only

independent claim asserted) establishes that the only steps in the claim are

“administering” PP1M and PP3M in certain doses, at certain intervals, to certain

patients:


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                    5. A dosing regimen for administering an injectable pali-
                 peridone palmitate depot to a patient in need of treatment for
                 psychosis, schizophrenia or bipolar disorder that has been
                 treated with PP3M, wherein said patient had been last
                 administered a PP3M injection 4 to 9 months ago and the
                 next scheduled maintenance dose of PP3M should be admin-
                 istered to said patient, comprising:
                    (1) administering intramuscularly in the deltoid muscle of
                       said patient a first reinitiation loading dose of PPlM;
                    (2) administering intramuscularly in the deltoid muscle of
                       said patient a second reinitiation loading dose of PP 1M
                       on about the 4th day to about the 12th day after
                       administering of said first reinitiation loading dose; and
                    (3) administering intramuscularly in the deltoid or gluteal
                       muscle of said patient a reinitiation dose of PP3M on
                       about the 23rd day to about the 37th day after admin-
                       istering the second reinitiation loading dose of PPl M
                       wherein said first and second reinitiation loading doses
                       and the reinitiation PP3M dose are selected from the
                       table below based on the amount of the missed dose


                          Missed
                          Dose of      Reinitiation Doses        Reinitiation Doses
                           PP3M            of PPlM                   of PP3M

                         175 mg eq.        50 mg eq.                175 mg eq.
                         263 mg eq.        75 mg eq.                263 mg eq.
                         350 mg eq.       100 mg eq.                350 mg eq.
                         525 mg eq.       100 mg eq.                525 mg eq.



693 Patent, col. 21. As in AMAG, Core Wireless, and Orexigen, the claim steps

here are identified with a verbal noun (i.e., a gerund): “administering.” The three

instances of “administering” are separately enumerated and indented, delineating

what specific steps must be carried out to perform the method. The claim recites

no other active steps.

      By contrast, there is no reference to a patient “missing a dose” at all. Rather,

the condition that a patient has missed a regularly scheduled 3-month dose of

PP3M is set out in the preamble: “wherein said patient [i.e., in need of treatment

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for schizophrenia] had last been administered a PP3M injection 4 to 9 months

ago.” This preamble provides even stronger structural evidence than in AMAG,

Core Wireless, or Orexigen because claim 5 here sets out the conditions for using

the method separately from the enumerated claim steps. Under the plain language

of the claims, the time when a patient “had last been administered” PP3M is a

condition of the patient, not an action to be carried out. It is therefore not a step in

the claimed methods of treatment.

             2.     The Purpose of the Asserted Claims Confirms That
                    the Plain and Ordinary Meaning Does Not Include
                    Missing a Dose as a Claim Step

      The purpose of the Asserted Claims, as set forth in the patent itself,

reinforces the plain and ordinary meaning established by the clear structure and

grammar of the claim. As the preamble describes, the subject matter of claim 5 is

“a dosing regimen.” It would stretch the meaning of “a dosing regimen” far

beyond its ordinary and customary meaning to conclude that the fact that patient

had last received PP3M 4 to 9 months ago is a step in the regimen. Taken together,

the structure, grammar, and ordinary meaning of claim 5 (and the claims that

depend from it) all establish that the steps of the claimed method are the three

enumerated “administering” steps only. A patient “missing a dose” is not a step of

the claimed method.

             3.     Construing “Missing a Dose” to be a Claim Step


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                   Leads to Absurd Results
      Mylan’s argument that “missing a dose” is a step in the claimed method

defies common sense. Consider, for example, a method of treating cigarette

addiction. Under Mylan’s logic, the patient’s smoking of cigarettes would be a

step of that method. Likewise, a patient becoming addicted to narcotics would be a

step in a claim to methods for treating addiction or overdose. And a patient’s

genetics, diet, and exercise would be steps in a method for treating obesity. Taking

Mylan’s theory to its logical extreme, a patient developing cancer would be a step

in the method of treatment for cancer.

      Indeed, Mylan’s infringement expert, Dr. Steven Berger, acknowledged that

this was Mylan’s logic. Dr. Berger testified at deposition that under his analysis of

methods of treatment, patient overdosing would be the first step in the method of

treatment claim for treating overdose, and that such a claim would therefore be

subject to a divided infringement defense:

      Q. Would you consider overdosing to be the first step in a dosing regimen
      for a drug indicated to treat overdose?

      A. Yes.

      Q. And you would consider a patient to be the only person who is carrying
      out that step of the dosing regimen for overdose medication?

      ...
      A. If a person intentionally overdoses, the answer is yes. If the person is in
      a bar and doesn’t know that someone put something in his drink and he


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      overdoses without knowing, I can’t say that the patient is the one who
      performs the first step.

Ex. 3 at 190:25-192:4 (Berger Tr.) (objections omitted).

      Furthermore, because Mylan’s divided infringement theory is untethered

from the language of the claims, under Mylan’s logic, such claims include

potentially infinite additional steps and actors. And Dr. Berger has embraced this

logic to its implausible extreme:

      Q. Okay. So let’s go one step at a time. You’d agree that Claim 5 states that
      the first step of a dosing regimen is “administering intramuscularly in the
      deltoid muscle of said patient a first re-initiation loading dose of PP1M,”
      correct?

      A. I agree that it says that, but that’s not correct. . . . Because the first step is
      to evaluate the patient.

Id. at 130:17-131:5 (objections omitted).

      Q. [A]t the conclusion of this process of evaluation, the prescriber will then
      make an overall judgment about what course of treatment to proceed with
      the patient, correct?

      A. Or recommend, yes. . . There’s another step between that and this. And
      that is that the patient has to cooperate and consent.

Id. at 135:18-136:1.

      Q. And, in this case, turning back to Claim 5, the recipe to follow is stated as
      a series of steps, correct?

      A. Correct.

      ...



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      Q. And the second step is administering intramuscularly in the deltoid
      muscle a second re-initiation loading dose of PP1M on about the 4th day to
      about the 12-day after administering the first loading dose? Correct?

      A. That’s what it says, but it’s incorrect. It’s incomplete.

      …

      Q. Okay. So what’s . . . incorrect about the second step, what I asked you
      about the second step?

      A. Because all of those things that happened before the first reinitiation step
      have to happen again. And there’s an additional step that has to happen and
      that is that the patient has to show up.

Id. at 139:23-:141:13.

      All in all, Dr. Berger reads at least four additional steps for the patient into

Claim 5:

           Regardless of what the label says what it says – the guidance in the label
           does not infringe because there’s six steps that have to be covered in
           order to comply with Janssen’s label. The prescriber is responsible for
           three of those steps. And the patient is responsible for three of those
           steps- actually four of those steps. The patient has to, No. 1, miss a
           dose, No. 2 has to come back in between month 4 and month 9 and agree
           to be treated once again. Step No. 3 has to come back a week later and
           do the same thing and No. 4 has to come back a month later and do the
           same thing. The patient has to miss the dose and show up for the next
           three doses in order to comply with Janssen's package insert.
Id. at 165:20-166:12.

      None of these steps appears in the language of the claims and yet Dr. Berger

views them as critical to infringement. Mylan’s theory and interpretation of the

claim render the claim language meaningless and fly in the face of the cardinal rule


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of claim construction that gives primacy to the plain language of the claims. The

Court should reject the construction of the claims that Mylan’s divided

infringement theory implicitly invokes. See, e.g., Cytologix Corp. v. Ventana Med.

Sys., 424 F.3d 1168, 1172 (Fed. Cir. 2005) (“[T]he district court has considerable

latitude in determining when to resolve issues of claim construction.”); Trimed,

Inc. v. Arthrex, Inc., No. 18-cv-666, 2021 WL 1174532, at *6 (D. Del. Mar. 29,

2021) (collecting cases where “the Federal Circuit has repeatedly upheld a district

court’s decision to revisit claim construction as the case progresses”).

       B.    All of the Steps of the Claimed Method are Performed By a
             Single Actor

       As explained above, the Asserted Claims include only three steps. All three

steps consist of administering a long-acting injectable form of paliperidone

palmitate. It is undisputed that both claim 5 and Mylan’s ANDA product label

instruct the same actor—a patient’s healthcare provider—to perform all three

injections. Thus, Mylan’s ANDA product label instructs the performance of all

steps of the claimed method by a single actor and there is no divided infringement

issue in this case. Since there is no divided infringement issue presented by the

693 patent, Mylan’s divided infringement defense is irrelevant and should be

precluded under Federal Rules of Evidence 402 and 403.

III.   MYLAN FAILED TO TIMELY DISCLOSE ITS DIVIDED



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          INFRINGEMENT ARGUMENT
          The Court need not reach the merits of Mylan’s theory to decide the instant

motion. Mylan’s divided infringement defense is untimely. Mylan simply did not

disclose any theory of non-infringement based on divided infringement in its

contentions as required by the Local Rules. (Nor did Mylan raise the underlying

claim interpretation issue during the scheduled time for claim construction.) The

law in this district is clear: Mylan was bound by the local rules to disclose its non-

infringement theories in its contentions or move to amend its contentions to add

new theories. Mylan did neither. Its divided infringement theory should therefore

be struck.

          A.    Mylan’s Divided Infringement Theory Was Not Disclosed in
                Its Non-Infringement Contentions or During Claim
                Construction
          As required by Local Patent Rule 3.6, Mylan served its non-infringement

contentions on May 26, 2021. They were just five pages long, and presented two

theories of non-infringement: that Mylan does not directly infringe the Asserted

Claims because Mylan itself does not administer the claimed dosing regimen to the

patient; and that Mylan does not indirectly infringe the claims because it does not

have any control over whether patients are treated with the dosing regimen. Ex. 1

at 4-6.




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      As alleged support for this new theory, Mylan hangs its hat on its contention

that it does not “induce any particular party to perform any particular claim step

that Mylan itself does not practice, i.e., administering a claimed composition.”

That does not raise its theory of divided infringement. Until Dr. Berger’s rebuttal

expert report, Mylan never contended that (1) missing a dose was a step of the

claimed dosing regimen, or (2) that two actors (patient and doctor) are therefore

required to perform the steps of the claimed dosing regimen. Mylan’s contentions

include no discussion of missing a dose or of the patient’s role in the dosing

regimen, whatsoever.

      In fact, Mylan does not dispute that it failed to disclose the divided

infringement theory in its contentions. Mylan claims instead that Janssen should

have been on notice because Mylan “made clear that it was contesting indirect

infringement at least in part because [it] would not induce another’s direct

infringement.” Ex. 2 at 7. But Mylan’s statement that it would not “induce any

particular party to perform any particular claim step that Mylan itself does not

practice, i.e., administering a claimed composition” does not disclose Mylan’s

present contentions that the “act of missing a dose” is a claim step, that




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infringement is “divided” between a patient and a doctor, or that, as a result, there

is no direct infringement of the Asserted Claims. 1

      B.     The Court Should Strike Mylan’s Divided Infringement
             Defense

      Courts in this district routinely preclude testimony or strike theories that

were not disclosed in contentions. See, e.g., Chiesi United States v. Aurobindo

Pharma United States, No. 19-cv-18756, 2022 WL 304574, at *4-5 (D.N.J. Jan. 9,

2022) (granting motion in limine precluding testimony on indefiniteness theory

that was not disclosed in contentions); Merck Sharp & Dohme Corp. v. Sandoz,

Inc., No. 12-cv-3289, 2014 WL 997532, at *9 (D.N.J. Jan. 6, 2014) (striking

portions of expert reports that rely on prior art not disclosed in contentions);

Celgene Corp. v. Hetero Labs, No. 17-cv-3387, 2021 WL 3701700, at *17 (D.N.J.

June 15, 2021) (striking invalidity theory “not set out in Defendants’ invalidity

contentions” because it is “impermissible” to introduce new theories in an expert

report without amendment).

      The local patent rules and their disclosure requirements “exist to further the

goal of full and timely discovery and provide all parties with adequate notice and




1
 If Mylan had advanced this theory in its contentions, as it was required to do,
Janssen could have addressed Mylan’s erroneous claim construction on which the
theory is premised at the scheduled time. But neither party proposed any terms for
the Court to construe during claim construction or any time thereafter.

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information with which to litigate their case” as well as to “require parties to

crystallize their theories of the case early in the litigation and to adhere to those

theories once they have been disclosed.” Celgene Corp. 2021 WL 3701700, at *19

(internal citations omitted). As this Court has previously explained, “[g]iven the

purpose behind the patent local rules’ disclosure requirements, a party may not use

an expert report to introduce new infringement theories . . . not disclosed in the

parties’ infringement contentions. . . .” Id. at *12 (internal citations omitted)

(emphasis added).

      The Chiesi case is directly on point. There, the plaintiff moved to preclude

testimony on the defendant’s indefiniteness theory because it was not disclosed in

contentions and appeared for the first time in a rebuttal expert report. 2022 WL

304574, at *4-5. The defendant argued that the theory was encompassed in one of

its contentions, and that regardless, the plaintiff was put on notice by the rebuttal

expert report and “implicitly . . . by virtue of the questions they posed” during

depositions. Id. at *4.

      The Court granted plaintiff’s motion in limine and precluded defendant from

arguing indefiniteness at trial. It held that “[i]t is beyond question” that the

defendant was “duty bound by the Local Patent Rules to disclose” its theories in

contentions and had not done so. Id. at *14-15. The Court added that “the ‘notice’




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[the defendant] purport[ed] to have effected . . . is irrelevant to its compliance with

the Rules.” Id. at *16.

       The same is true here. Mylan failed to disclose its divided infringement

theory in its contentions, and has instead tried to argue that Janssen was on notice

despite that failure, citing portions of Janssen’s contentions and expert reports.

Ex. 2 at 7-8. In fact, Janssen’s submissions do not remotely reflect notice of

Mylan’s divided infringement theory, which would have been impossible because

Mylan disclosed no such theory until its rebuttal expert report. But in any event,

Janssen’s submissions are irrelevant to Mylan’s failure to comply with the local

rules. Mylan was “required to amend [its] contentions to the extent an expert

report set out a new theory . . . not previously set out in [its] . . . contentions.”

Celgene, 2021 WL 3701700, at *2. Amendments under Local Patent Rule 3.7 are

“made only by order of the Court upon a timely application for good cause.” L.

Pat. R. 3.7 (emphasis in original). Mylan improperly seeks to shift Mylan’s burden

of seeking leave to amend its contentions to Janssen by forcing Janssen to make

this motion.

       For the aforementioned reason, Janssen respectfully requests that the Court

preclude any testimony on Mylan’s untimely and irrelevant divided infringement

theory.




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Dated: August 19, 2022
                                 /s/ Keith J. Miller
                                 Keith J. Miller
                                 Michael J. Gesualdo
                                 Justin T. Quinn
                                 ROBINSON MILLER LLC
                                 One Newark Center, 19th Floor
                                 Newark, New Jersey 07102
                                 (973) 690-5400 (Telephone)
                                 kmiller@rwmlegal.com
                                 mgesualdo@rwmlegal.com
                                 jquinn@rwmlegal.com

                                 Barbara L. Mullin (admitted pro hac vice)
                                 Aron R. Fischer (admitted pro hac vice)
                                 Andrew D. Cohen (admitted pro hac vice)
                                 PATTERSON BELKNAP WEBB &
                                 TYLER LLP
                                 1133 Avenue of the Americas
                                 New York, NY 10036
                                 (212) 336-2000 (Telephone)
                                 bmullin@pbwt.com
                                 afischer@pbwt.com
                                 acohen@pbwt.com

                                 Attorneys for Plaintiffs Janssen
                                 Pharmaceuticals, Inc., Janssen
                                 Pharmaceutica NV, and Janssen Research
                                 & Development, LLC




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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                             :
JANSSEN PHARMACEUTICALS, INC.,                               :     Civil Action No. 3:20-cv-13103
JANSSEN PHARMACEUTICA NV, and                                :     GC-LHG (consolidated)
JANSSEN RESEARCH & DEVELOPMENT,                              :
LLC,                                                         :         FINAL PRETRIAL ORDER
                    Plaintiffs,                              :
     -v-                                                     :             CONFIDENTIAL
MYLAN LABORATORIES LIMITED,                                  :
                    Defendant.                               :             [Filed Under Seal]

              This matter having come before the Court for a pretrial conference pursuant to Fed. R.

       Civ. P. 16; and

Keith J. Miller                                     Barbara L. Mullin (pro hac vice)
ROBINSON MILLER LLC                                 Aron Fischer (pro hac vice)
Ironside Newark                                     Andrew D. Cohen (pro hac vice)
110 Edison Place, Suite 302                         PATTERSON BELKNAP WEBB & TYLER
Newark, NJ 07102                                    LLP
(973) 690-5400                                      1133 Avenue of the Americas
                                                    New York, NY 10036
                                                    (212) 336-2000

       having appeared for plaintiffs, and

Arnold B. Calmann                                   Deepro R. Mukerjee (pro hac vice)
Jeffrey Soos                                        Lance A. Soderstrom (pro hac vice)
Katherine A. Escanlar                               KATTEN MUCHIN ROSENMAN LLP
SAIBER LLC                                          50 Rockefeller Plaza
One Gateway Center, 10th Floor                      New York, NY 10020-1605
Newark, NJ 07102-5311                               (212) 940-8800
(973) 622-3333


       having appeared for defendant; the following Final Pretrial Order is hereby entered:

  I.      JURISDICTION (set forth specifically).

               This is a consolidated action brought pursuant to the patent laws of the United States,
       Title 35, United States Code and the Hatch-Waxman Amendments to the Federal Food, Drug,
       and Cosmetic Act, see 21 U.S.C. § 355(j). This Court has original jurisdiction over the subject
                                                   1

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3. The infringement and validity of the Asserted Claims of the 693 Patent is governed by Title
   35 of the United States Code as amended by the America Invents Act (“AIA”).

4. The 693 Patent is listed in the U.S. Food and Drug Administration’s (“FDA”) publication
   “Approved Drug Products with Therapeutic Equivalence Evaluations” (the “Orange Book”) in
   connection with Janssen’s Invega Trinza® (3-month paliperidone palmitate extended-release
   injectable suspension) product.

5. By letters dated August 14, 2020, July 2, 2021, and September 8, 2021, Mylan informed
   Janssen that it had submitted to the FDA Abbreviated New Drug Application (“ANDA”)
   Nos. 212290, 215682, 216228, respectively, pursuant to 21 U.S.C. § 355(j), seeking FDA
   approval to engage in the commercial manufacture, use, sale, offer for sale in, and/or
   importation into the United States of generic 3-month paliperidone palmitate extended-release
   injectable suspension products (“Mylan’s Proposed ANDA Products”) prior to the expiration
   of the 693 Patent.

       B. Parties

6. Plaintiff JPI is a corporation organized and existing under the laws of the Commonwealth of
   Pennsylvania, having its principal place of business at 1125 Trenton-Harbourton Road,
   Titusville, New Jersey 08560.

7. Plaintiff JPN is a corporation organized and existing under the laws of Belgium, having its
   principal place of business at Turnhoutseweg, 30, B-2340 Beerse, Belgium.

8. Plaintiff JRD is a limited liability company organized and existing under the laws of New
   Jersey, having its principal place of business at 920 Route 202 South, Raritan, New Jersey
   08869.

9. Defendant Mylan is a corporation operating and existing under the laws of India with a
   principal place of business at Plot No. 564/A/22, Road No. 92, Jubilee Hills 500034,
   Hyderabad, India.

       C. The Patent-In-Suit

10. The 693 Patent titled “Dosing Regimen for Missed Doses For Long-Acting Injectable
    Paliperidone Esters” issued on December 4, 2018.

11. JPN is the owner of the entire right, title, and interest in and to the 693 Patent, as issued.

12. The 693 Patent names Srihari Gopal, Paulien Gerarda Maria Ravenstijn, Alberto Russu, and
    Mahesh Narain Samtani as joint inventors.

13. The 693 Patent issued from U.S. Application No. 15/090,889, filed on April 5, 2016. The 693
    Patent claims the benefit of Provisional Application No. 62/162,596, filed on May 15, 2015
    (the “’596 Provisional”), and Provisional Application No. 62/144,054, filed on April 7, 2015
    (the “’054 Provisional”).

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        Mylan objects to Dr. Little’s testimony to the extent he attempts to opine on matters outside
the scope of his Rule 26 expert report, anything outside his experience or purported area of
expertise and to testimony objectionable under one or more of Fed. R. Evid. 702, 703, 401, 402
and 403. Mylan further objects to the extent Dr. Little attempts to opine or testify on legal issues
that are beyond his experience and knowledge.

               3. Jogarao V.S. Gobburu, Ph.D

        Mylan objects to Dr. Gobburu’s testimony to the extent he attempts to opine on matters
outside the scope of his Rule 26 expert report, anything outside his experience or purported area
of expertise and to testimony objectionable under one or more of Fed. R. Evid. 702, 703, 401, 402
and 403. Mylan further objects to the extent Dr. Gobburu attempts to opine or testify on legal
issues that are beyond his experience and knowledge.

               4. Christian G. Kohler, M.D.

        Mylan objects to Dr. Kohler’s testimony to the extent he attempts to opine on matters
outside the scope of his Rule 26 expert report, anything outside his experience or purported area
of expertise and to testimony objectionable under one or more of Fed. R. Evid. 702, 703, 401, 402
and 403. Mylan further objects to the extent Dr. Kohler attempts to opine or testify on legal issues
that are beyond his experience and knowledge.

        Mylan objects to the testimony of Dr. Kohler to the extent he intends to rely on undisclosed
materials that were relevant to his analysis in this case, including individuals he spoke with about
prescription habits with respect to Invega Trinza®.

               5. Carla S. Mulhern

        Mylan objects to Ms. Mulhern’s testimony based on her methodology and analysis. Mylan
further objects to Ms. Mulhern’s testimony to the extent she attempts to opine on matters outside
the scope of her Rule 26 expert report, anything outside her experience or purported area of
expertise and to testimony objectionable under one of more of Fed. R. Evid. 702, 703, 401, 402,
and 403. Mylan further objects to the extent Ms. Mulhern attempts to opine or testify on legal
issues that are beyond her experience and knowledge.

       C. Mylan’s experts are:

               1. Steven Berger, M.D.


               Reno, Nevada 89509

        Dr. Berger is an expert in the field of psychiatry and treatment of patients with psychotic
disorders, including patients with schizophrenia, psychosis, and/or schizoaffective disorder, and
in the management of care of such patients with antipsychotics. Dr. Berger had at least the
qualifications of a person of ordinary skill in the art at the time of the invention. His testimony
will be commensurate with the scope of his expert reports, his deposition, and as necessary to

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respond to the testimony and evidence offered by Plaintiffs’ experts regarding infringement and
secondary considerations of non-obviousness.

        Dr. Berger obtained his M.D. degree from the University of Michigan Medical School in
1972 and completed his residency in 1975 at the Psychosomatic and Psychiatric Institute, Michael
Reese Hospital in Chicago, Illinois. Dr. Berger has been a practicing psychiatrist continuously for
49 years. His clinical experience includes evaluating and treating patients in numerous settings
including private office practice, state hospital outpatient clinics, state hospital inpatient,
community mental health centers, corrections (jails and prisons), private forensic psychiatry
practice, and state hospital forensic practice.

        Dr. Berger currently practices medicine full-time at Lakes Crossing Center Forensic
Hospital and Northern Nevada Adult Mental Health Services (NNAMHS). His work for
NNAMHS includes working at various locations such as Dini Townsend Psychiatric Hospital,
Mental Health Court Clinic, and the Adult Outpatient Clinic. For the last 46 years, Dr. Berger has
also maintained a private practice in forensic psychiatry. The majority of his time, roughly eighty
(80) percent, is spent treating patients. Dr. Berger has extensive experience treating patients with
schizophrenia that spans more than four (4) decades. He has experience treating patients with
long-acting injectable (LAI) antipsychotics since the 1970s and has used in his clinical practice
LAIs such as fluphenazine, risperidone, aripiprazole, and paliperidone palmitate (including Invega
Sustenna® and Invega Trinza®). Throughout his career as a treating psychiatrist, Dr. Berger has
become an expert in the standard of care for treatment of patients with schizophrenia and the
reentry of patients following lapses in prescription regimens.

        Dr. Berger is certified by (i) the American Board of Psychiatry and Neurology in Psychiatry
and in Forensic Psychiatry; (ii) the National Board of Physicians and Surgeons in Psychiatry and
Forensic Psychiatry; (iii) the American Board of Forensic Psychiatry, C/P American Academy of
Psychiatry and the Law; and (iv) the Nevada Division of Public and Behavioral Health as a
Certified Evaluator of Competency to Stand Trial. In addition to his clinical experience, Dr. Berger
has held several academic appointments throughout his career, including a currently maintained
position as a Volunteer Clinical Professor in the Department of Psychiatry and Behavioral Sciences
at the University of Nevada, Reno School of Medicine. He has also authored a book and book
chapter regarding establishment of a forensic psychiatric practice in addition to publication of
several articles.

        Dr. Berger is expected to testify regarding the opinions and underlying facts set forth in his
expert reports in this case, including, inter alia, his background and experience, Mylan’s non-
infringement position, the lack of any secondary considerations, including inter alia, unexpected
results, long-felt but unmet need, and/or industry praise, and in rebuttal to any opinions and/or
evidence offered or expressed by Plaintiffs’ witnesses.

               2. Laird Forrest, Ph.D.

               Department of Pharmaceutical Chemistry, School of Pharmacy
               University of Kansas, Lawrence, KS 66047

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                                            Appx01038
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1                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,                   CIVIL ACTION NUMBER:
     LLC,
5
               Plaintiffs,                             2:20-cv-13013-EP-LHG
6    vs.

7    MYLAN LABORATORIES LIMITED,                       ORAL ARGUMENT
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9
               Defendants.
10   ________________________________
     MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
11   50 Walnut Street
     Newark, New Jersey 07101
12   October 20, 2022
     Commencing at 1:00 p.m.
13
     B E F O R E:          THE HONORABLE EVELYN PADIN,
14                         UNITED STATES DISTRICT JUDGE

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                   United States District Court
                      District of New Jersey
                                  Appx01105
         Case: 23-2042     Document: 22   Page: 190   Filed: 03/11/2024

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1    it's carried out, but it's carried out by two different

2    entities that are not under the same control but are acting

3    independently, then there's no infringement.           There's no direct

4    infringement and if there's no direct infringement, there's no

5    induced infringement.      So that's the legal framework Mylan is

6    relying on.

7              So what they're arguing now -- and part of our motion

8    is that they weren't arguing it at the beginning of the case --

9    but they're now arguing that there's no infringement of the

10   Asserted Claims of the '693 patent because the steps of the

11   claimed dosing regimen are performed by two entities acting

12   independently.      They say the patient misses a dose, that's one

13   step, and a health care provider administers the injections --

14   the claimed dosing regimen -- those are other steps.             And

15   according to Mylan, because the patient and the healthcare

16   provider are allegedly acting independently, there's no

17   infringement.

18             So the key concept behind their defense here is --

19   the premise is that the patient missing a dose is a step of the

20   claim method.    That's the dispute between the parties and I'll

21   get into it a little bit later in the presentation, but it's

22   really important to emphasize that the dispute is not whether

23   having missed a dose is a requirement or limitation of the

24   claim.   It's a patent law distinction that's very important.

25   There's no dispute that having missed a dose is a requirement
                   United States District Court
                      District of New Jersey
                                 Appx01109
         Case: 23-2042   Document: 22   Page: 191     Filed: 03/11/2024

                                                                             55

1    to determine the admissibility of evidence without the benefit

2    of the context of trial.    The rationale underlying pretrial

3    motions in limine does not apply in a bench trial, where it is

4    presumed that a judge will disregard inadmissible evidence and

5    rely only on competent evidence.

6              Without a jury, the need of an advanced ruling to

7    exclude testimony is superfluous and unnecessary because the

8    judge is presumably competent to disregard what he or she

9    thinks should not have been heard or to discount it for

10   practical and sensible reasons.      Without a jury, there's little

11   risk of prejudice or confusion, particularly because the Court

12   may later disregard testimony in whole or in part where

13   necessary.   In fact, Courts are advised to deny motions in

14   limine in non-jury cases.    I cite 9 Charles A. Wright & Arthur

15   R. Miller, Federal Practice and Procedures Civil, 3d § 2411

16   (2008). The more prudent course in a bench trial is to resolve

17   all evidentiary doubts in favor of admissibility.

18             I will deny both motions in limine, docketed entries

19   80 and 81.   Neither experts will be excluded and the parties

20   may introduce evidence and arguments regarding a single entity

21   infringement theory as in Janssen's case or divided

22   infringement defense in Mylan's case.          Those denials are with

23   prejudice with one exception:      Janssen has argued that Mylan's

24   divided infringement defense should be barred because it was

25   untimely declared under the local rules.          The parties may renew
                  United States District Court
                     District of New Jersey
                                Appx01159
         Case: 23-2042    Document: 22   Page: 192    Filed: 03/11/2024

                                                                               56

1    their arguments as to that particular issue only in their

2    post-trial briefs.

3              Okay?     Other issues that we need to resolve?            I want

4    to make sure everybody agreed to the stipulation that we had

5    submitted and signed earlier so that I can sign it and file it

6    under seal.    That's not a problem, right?        Okay.    We'll do

7    that.

8              I would like to confirm the scheduling that everybody

9    provided on October 14, 2022 via email so we could confirm the

10   scheduling order and that will also be under seal.

11             So the way that I have it, November 16th, we have

12   opening presentations on infringement.          That's 30 minutes for

13   each side.    Correct?

14             MR. MUKERJEE:     That's correct, Your Honor.

15             MR. MILLER:     That's correct.

16             THE COURT:     November 16, Dr. Sommi, the plaintiff's

17   witness on infringement, will be testifying for approximately

18   three hours.

19             Correct?

20             MS. MULLINS:     That's correct, Your Honor.

21             THE COURT:     On November 30th, Dr. Berger, the

22   defendant's witness on non-infringement will be testifying for

23   approximately three hours.

24             Right?     November 30th, your witness?

25             MR. MUKERJEE:     Correct, Your Honor.
                   United States District Court
                      District of New Jersey
                                Appx01160
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Case 2:20-cv-13103-EP-LDW Document 121 Filed 10/21/22 Page 1 of 1 PageID: 4946




 NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 JANSSEN PHARMACEUTICALS, INC.,
 et al.,

        Plaintiffs,                                    Civil Action No. 20cv13103 (EP) (LHG)

 v.                                                    ORDER

 MYLAN LABORATORIES LIMITED,

        Defendant.



        The parties having each moved in limine to, and the Court having heard oral argument,

 and for the reasons and to the extent set forth on the record on October 20, 2022,

        IT IS, on this 20th day of October, 2022,

        ORDERED that the pending motions in limine (D.E.s 80, 81) are DENIED.



                                                      __________________
                                                      Evelyn Padin, U.S.D.J.




                                           Appx01165
         Case: 23-2042     Document: 22    Page: 194   Filed: 03/11/2024


                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


JANSSEN PHARMACEUTICALS,
INC., JANSSEN PHARMACEUTICA
                                          Civil Action No. 2:20-cv-13103-EP-
NV, and JANSSEN RESEARCH &
                                          LDW
DEVELOPMENT, LLC,
                                                       (Consolidated)
                 Plaintiffs,
           v.
                                             HIGHLY CONFIDENTIAL –
                                                FILED UNDER SEAL
MYLAN LABORATORIES LIMITED,
                                             Document Electronically Filed
                 Defendant.



                MYLAN’S OPENING POST-TRIAL BRIEF

Arnold B. Calmann (abc@saiber.com)        Deepro R. Mukerjee
Jeffrey Soos (jsoos@saiber.com)           Lance A. Soderstrom
Katherine A. Escanlar                     KATTEN MUCHIN ROSENMAN
(kescanlar@saiber.com)                    LLP
SAIBER LLC                                50 Rockefeller Plaza
One Gateway Center, 9th Floor             New York, NY 10020-1605
Newark, NJ 07102                          Telephone: (212) 940-8800
(973) 622-3333 (telephone)                Facsimile: (212) 940-8776
(973) 622-3349 (facsimile)                deepro.mukerjee@katten.com
                                          lance.soderstrom@katten.com
Jitendra Malik, Ph.D.
Joseph M. Janusz                          Brian Sodikoff
KATTEN MUCHIN ROSENMAN                    Jillian M. Schurr
LLP                                       Rachel Schaub
550 S. Tryon Street, Suite 2900           KATTEN MUCHIN ROSENMAN
Charlotte, NC 28202-4213                  LLP
Telephone: (704) 444-2000                 525 West Monroe Street
jitty.malik@katten.com                    Chicago, IL 60661-3693
joe.janusz@katten.com                     Telephone: (312) 902-5200
                                          brian.sodikoff@katten.com
Attorneys for Defendant                   jillian.schurr@katten.com
Mylan Laboratories Limited                rachel.schaub@katten.com




                                 Appx01166
            Case: 23-2042     Document: 22     Page: 195    Filed: 03/11/2024


any of his residents have ever been able to follow the information provided in the

Trinza® label with respect to a patient who has missed a dose and returns for

treatment four to nine months after his/her last PP3M injection. See FOF ¶ 282.

And nothing at trial—let alone on cross-examination—undermined Dr. Berger’s

testimony in this regard.

      Against Dr. Berger’s uncontroverted testimony, it is telling that Janssen

chose to forego any testimony from a prescribing physician who had or would

follow the claimed missed-dose regimen. Instead, Janssen sought testimony from

a healthcare professional who does not have prescribing rights for the drug at issue:

Dr. Sommi, a pharmacist.11 For his part, Dr. Sommi testified that his clinical work,

outside of clinical trials,12 involves “giv[ing] some verbal recommendations to the

nurse practitioner and the psychiatrist about what could be done in terms of

managing, what [he] thinks is going on with that patient from a medication point

of view, and then [he] prepare[s] a written report . . . that goes into the patient’s

record.” FOF ¶ 282 (quoting Tr. 49:22-50:2 (Sommi)).




11
   While Dr. Kohler testified for Janssen on secondary considerations, Janssen did
not ask Dr. Kohler to testify on infringement and objected to any Mylan questioning
on that topic. FOF ¶ 62; see also FOF ¶ 64.
12
   And as Dr. Sommi testified, in the case of clinical trials, these are patients who
are different from those in the real-world because in clinical trials they are “all
patients who were actively engaged in wanting to get injections.” FOF ¶ 282; Tr.
648:11-13 (Sommi).
                                          25

                                      Appx01199
           Case: 23-2042     Document: 22     Page: 196    Filed: 03/11/2024


developing a PP3M product would use the known techniques from PP1M and apply

them in the same way. KSR, 550 U.S. at 416. That is exactly what Dr. Forrest did.

FOF ¶ 384-85.

      The four-to-nine month patient population: It should not go unnoticed

that, for the purposes of infringement, Janssen does everything it can to argue that

the four-to-nine month portion of the preamble is simply a “clinical descriptor” of

who the claimed methods are applied to. Yet, for invalidity, Janssen transforms

that time frame into the proverbial golden goose, arguing that that no POSA would

be able to determine that claim element absent thousands of clinical data points.

FOF ¶ 50. That cannot be; Janssen cannot have it both ways. But, if Janssen is

correct that this is not a step of the claim but remains an element that Mylan must

prove is invalid, the prior art would have led a POSA to this four-to-nine month

window. See Section III.B.5.

      Using PP1M after a patient advanced to PP3M: Janssen’s argument here,

again, overreaches in the required proofs. Mylan concedes that no prior art

disclosed exactly what is claimed in the ’693 patent. But that is not the test for

obviousness. The test is whether a POSA would have been led by the prior art to

the claimed subject matter. Here, the prior art taught that the FDA approved PP1M

as a dosage that could be used as loading doses for a patient that missed a previous

maintenance dose and was at risk of drug concentration dipping below the previous

steady state. FOF ¶ 370. Whether the previous maintenance dose was a PP3M or
                                        66

                                     Appx01240
            Case: 23-2042      Document: 22     Page: 197     Filed: 03/11/2024


PP1M is immaterial. The point of using PP1M as a loading dose is to get the

patient’s drug concentration back to a steady state as quickly as possible. FOF ¶

369. And the prior art taught that that could be done with two PP1M doses, one

week apart. FOF ¶¶ 349, 351, 353. Moreover, general pharmacokinetic knowledge

teaches using a faster-acting injectable for loading doses. FOF ¶¶ 151, 171. As

such, a POSA would expect that a PP1M formulation would be faster-acting than a

PP3M formulation due to its smaller particle sizes. Id.

      Using PP3M without stabilizing with four or more months of PP1M:

Janssen spent little time on this purported deficiency in the prior art. That too is not

surprising. The JAMA prior art taught that for, initiating a patient, one would be

stabilized with four or more months of PP1M. FOF ¶ 365. But a POSA certainly

would not treat a patient that has drug in his or her body already in the same way.

FOF ¶ 384. Instead, a POSA would know from the PP1M Prior Art that, in such a

situation, two successive reinitiation loading doses of PP1M, one week apart, would

return a patient to steady state. FOF ¶¶ 349, 351, 353. So treating a patient as naïve

after four or more months of PP1M administration would not make sense to, or be

advanced by, a POSA. FOF ¶ 161. Further, courts do not look to prior art in the

“narrow, rigid” manner Janssen seeks to forward here. KSR, 550 U.S. at 420. “It

is common sense that familiar items may have obvious uses beyond their primary

purposes” and the initiation regimen for PP3M taught by JAMA—which uses

PP1M to stabilize patients for a period of four months prior to their maintenance
                                          67

                                       Appx01241
           Case: 23-2042   Document: 22    Page: 198   Filed: 03/11/2024




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


JANSSEN PHARMACEUTICALS, INC.,
JANSSEN PHARMACEUTICA NV, and
JANSSEN RESEARCH &
DEVELOPMENT LLC,                             Civil Action No. 2:20-cv-13103
                                              (EP)(LDW)
                       Plaintiffs,
   v.                                        FILED UNDER SEAL

MYLAN LABORATORIES LTD.,

                       Defendant.




                 PLAINTIFFS’ OPENING POST-TRIAL BRIEF




14117856


                                     Appx01260
             Case: 23-2042      Document: 22      Page: 199     Filed: 03/11/2024




GlaxoSmithKline, 744 F.3d at 731 (distinguishing case “where the claim covered

particle sizes before and after formulation into tablets, but the specification ad-

dressed only pre-formulation size”).

       Finally, to the extent that Mylan contends there are insufficient examples to

demonstrate written description, Mylan is incorrect.

           There is no requirement that the disclosure contain either exam-
           ples or an actual reduction to practice; rather the critical inquiry is
           whether the patentee has provided a description that in a definite
           way identifies the claimed invention in sufficient detail that a per-
           son of ordinary skill would understand that the inventor was in
           possession of it at the time of filing.
Alcon, 745 F.3d at 1190-91 (internal quotation marks omitted). FOF 386-87. The

inventors described PP1M and PP3M in sufficient detail to demonstrate they pos-

sessed the invention at the time. FOF 288. Mylan’s cursory written description

case failed to meet its burden of proving invalidity by clear and convincing evi-

dence.

V.     MYLAN’S DIVIDED INFRINGEMENT DEFENSE SHOULD BE
       STRICKEN
       Mylan’s divided infringement defense is untimely and should be stricken for

the reasons set forth in Janssen’s motion in limine (D.E. 81), which the Court de-

nied without prejudice to raise the timeliness objection in post-trial briefing. (Oct.

20, 2022 Hr’g Tr. 55:25-56:2.) In order to pursue this undisclosed theory, Mylan

was “required to amend [its] contentions,” Celgene Corp. v. Hetero Lab’ys Ltd.,


                                             83
14117856
                                         Appx01359
            Case: 23-2042      Document: 22      Page: 200     Filed: 03/11/2024




No. 17-cv-3387 (ES)(MAH), 2021 WL 3701700, at *2 (D.N.J. June 15, 2021),

which would have required an Order of the Court following a showing of good

cause. L. Pat. R. 3.7. Mylan sought no such amendment, so its divided infringe-

ment theory must be struck for lack of timely disclosure under the Local Patent

Rules. See Chiesi USA, Inc. v. Aurobindo Pharma USA, Inc., No. 19-cv-18756

(ZNQ)(LHQ), 2022 WL 304574, at *4-5 (D.N.J. Jan. 9, 2022); accord Merck

Sharp & Dohme Corp. v. Sandoz, Inc., No. 12-cv-3289 (PHS)(LHG), 2014 WL

997532, at *9 (D.N.J. Jan. 6, 2014).

       The prejudice and waste caused by Mylan’s failure to follow the Local Pa-

tent Rules was evident at trial, where Mylan unveiled a “seven step” interpretation

of the Asserted Claims that had never been disclosed during discovery. See supra

at 12-20; FOF 63-65. Disputes over the number of steps in a method claim “fit[]

squarely within the claim construction framework” and should have been ad-

dressed pretrial. In re Biogen, 2016 WL 7340311, at *5. But because Mylan failed

to follow the pretrial schedule, the parties and the Court are now in the position of

having to litigate and resolve this issue at trial and in post-trial briefing. The entire

purpose of pretrial disclosure rules is to avoid this outcome. See, e.g., Bristol-My-

ers Squibb Co. v. Apotex, Inc., No. 10-cv-5810 (MLC)(LHG), 2013 WL 11897791,

at *2 (D.N.J. Feb. 28, 2013). Janssen respectfully requests that the Court enforce

the Local Patent Rules by striking Mylan’s untimely divided infringement defense.


                                           84
14117856
                                       Appx01360
           Case: 23-2042    Document: 22   Page: 201     Filed: 03/11/2024

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1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,                   CIVIL ACTION NUMBER:
     LLC,
5
                Plaintiffs,                            2:20-cv-13013-EP-LHG
6    vs.

7    MYLAN LABORATORIES LIMITED,                       BENCH TRIAL VOL. 1
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9
               Defendants.
10   ________________________________
     MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
11   50 Walnut Street
     Newark, New Jersey 07101
12   November 16, 2022
     Commencing at 10:00 a.m.
13
     B E F O R E:          THE HONORABLE EVELYN PADIN,
14                         UNITED STATES DISTRICT JUDGE

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                   United States District Court
                      District of New Jersey
                                  Appx01863
         Case: 23-2042    Document: 22   Page: 202   Filed: 03/11/2024

                                                                                 8

1    degree of side effects and these can be debilitating.               These

2    can be Parkinsonian-like movements, muscle contractions, facial

3    involuntary contractions.     This, itself, the side effects of

4    the treatment, can be a strong deterrent to actually getting

5    treatment and there is a stigma associated with those side

6    effects.

7               For various safety and tolerability reasons, for many

8    patients, second generation antipsychotics are a better choice.

9    These act a little bit differently than first generation

10   antipsychotics.     They do carry a risk of side effects, but they

11   tend to be not as severe.     The second generation drugs also

12   seem to work a little bit better in controlling the symptoms of

13   schizophrenia.

14              So the very first second generation long-acting

15   antipsychotic was actually Janssen's Risperdal Consta product.

16   That was brought to market in 2003 and requires an injection

17   every two weeks.

18              In 2009, Janssen released Invega Sustenna, and that's

19   a paliperidone palmitate correlation of one once-a-month

20   maintenance formulation or PP1M.

21              Then in 2015, Invega Trinza was released.           That's

22   also a paliperidone palmitate.       It was the first and is still

23   the only three-month long-acting antipsychotic on the market,

24   or PP3M.

25              More recently, in 2021, Invega Hafyera was released,
                 United States District Court
                    District of New Jersey
                                Appx01870
         Case: 23-2042    Document: 22   Page: 203   Filed: 03/11/2024

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1    and that's a six-month paliperidone product.

2              The products we're going to be talking about for the

3    most part in this case are Invega Sustenna or PP1M and Invega

4    Trinza or PP3M.     These are both depot or long-acting

5    paliperidone palmitate formulations.        The way they work, just

6    very generally, is that they are injected and when they're

7    injected into the body, they form a depot or repository.

8    Active drug is then released.       And for these drugs, at

9    different rates, at different times, but it's released into the

10   body, and the drug is absorbed into the plasma or into the

11   bloodstream where it is ultimately -- I have my man doing this.

12             THE COURT:     I'm following you.

13             MS. MULLIN:     -- where it is ultimately simultaneously

14   circulated, distributed, metabolized and ultimately excreted.

15   These four things, absorption, distribution, metabolism and

16   excretion, these all affect how much drug is in the patient's

17   bloodstream at any point in time.       That's important because it

18   tells you how much drug is available for any therapeutic effect

19   at any given point in time.

20             The idea with these long-acting injectables is if you

21   take your injections on time, if you show up about every month

22   for Invega Sustenna, if you show up about every three months

23   for Invega Trinza, then your plasma concentrations of drug are

24   going to stay in the therapeutic range and everything is going

25   to be fine.
                   United States District Court
                      District of New Jersey
                                Appx01871
          Case: 23-2042   Document: 22   Page: 204   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                              45

1                            (DIRECT EXAMINATION)

2    BY MS. MULLIN:

3    Q.   Dr. Sommi, could you please introduce yourself to the

4    Court?

5    A.   Sure.   My name is Roger Sommi.      I am a pharmacist by

6    training.    I'm a psychiatric pharmacist by specialty.             I'll

7    start I graduated in 1983 with a bachelor's degree in pharmacy.

8    Got interested in psychiatric pharmacy and treating psychiatric

9    patients when I was there and decided let's go do a Doctor of

10   Pharmacy degree, which I received at the University of Utah.

11   And I also did a residency in hospital pharmacy at the

12   University of Utah hospitals and then went on to the -- I

13   continued my work with mentally ill folks and wanted to learn

14   how to do research and take care of those patients at a higher

15   level and went to the University of Texas at Austin where I

16   completed a fellowship in psychiatric pharmacy.           And I've been

17   on the faculty of University of Missouri-Kansas City School of

18   Pharmacy since then.

19   Q.   Dr. Sommi, for our court reporter, I'm going to ask you to

20   slow down just a little bit.

21   A.   Okay.   Usually it's not my forte of speaking fast.

22   Q.   You referred to the University of Missouri-Kansas City.

23   For short, can we refer to that as UMKC?

24   A.   We all do.

25   Q.   Thank you.
                  United States District Court
                     District of New Jersey
                                Appx01907
          Case: 23-2042   Document: 22   Page: 205   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                               46

1                Are you Board Certified?

2    A.   I am Board Certified in psychiatric pharmacy, yes.

3    Q.   Can you briefly describe your teaching experience at UMKC?

4    A.   So I teach anywhere from pre-pharmacy students through the

5    first year pharmacy all the way through the end.           Importantly,

6    I teach in a capstone course called pharmacotherapy, and

7    pharmacotherapy is where we teach our students how to take care

8    of patients.   It's a three-semester course.         We talk about

9    patients, patient characteristics, drug therapy for those

10   patients.    I teach the psychiatric sessions -- the psychiatric

11   lectures.

12               I also teach in the clinical setting.         We have

13   students that come to the hospital for their clerkships.              These

14   are -- they would come to our psychiatric facility where the

15   students would learn how to take care of patients who have

16   psychiatric illness.

17   Q.   Can you describe just in a little more detail your

18   responsibilities for the clinical instruction?

19   A.   Sure.   So at the hospital, over the course of my career in

20   the hospital, we have students from many disciplines.               We've

21   got medical students, nursing students, social work students,

22   physical therapy, occupational therapy, pharmacy students

23   obviously.   We -- so for instance, with the medical students,

24   we have a weekly meeting with the medical students to talk

25   about drug therapy, going over general principles of drug
                  United States District Court
                     District of New Jersey
                                Appx01908
          Case: 23-2042     Document: 22   Page: 206   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                            47

1    therapy for all of the major psychiatric illnesses with the

2    pharmacy students.      Speaking with the pharmacy students, we

3    meet with them every day.       We take them to rounds as we see

4    patients.   So then from a student perspective, we would be

5    interacting with the students professionally.

6                At the hospital, we also have a psychiatry residency

7    program.    These are physicians who graduated medical school and

8    they're in their four-year training program to become

9    psychiatrists.       Our group of psychiatric pharmacists provides a

10   semester-long psychopharmacology course.           I teach in that

11   course.    I teach the pharmacodynamics and pharmacokinetics and

12   then, you know, other miscellaneous topics depending on the

13   year, who wants to do what with the psychiatry residents.

14               We also have a psychiatry pharmacy residency program.

15   This is where we're teaching students who are post graduate

16   year two pharmacists.       They already have their Pharm D degree,

17   they've done a year of residency, and now they want to learn

18   how to take care of patients who are mentally ill.              So we have

19   a residency program.       We have two residents at the hospital in

20   Kansas City for behavioral medicine.

21               I also work with Fulton State Hospital, which is a

22   couple hours away, with their resident and teach them about all

23   different kinds of psychiatric medicines.

24   Q.   Are you still on the faculty at UMKC?

25   A.   At this point, I am.
                  United States District Court
                     District of New Jersey
                                  Appx01909
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                  DIRECT - R. SOMMI, M.D. - MULLIN                          48

1    Q.   Do you have any teaching responsibilities outside of UMKC?

2    A.   Sure.   So there's a few highlights.        One is twice a month

3    we have an interprofessional online teaching.          It's called the

4    ECHO program.    The ECHO program basically is where we're

5    connecting with other health care professionals.           There's a

6    team of us, psychiatrists.      We have psychologists,

7    psychiatrists, got peer support specialists, myself as the

8    pharmacist, and we interact with people.         We've got people that

9    connect from Connecticut to our Zoom meeting, and we present

10   cases.   We do a little bit of a didactic presentation that

11   happens twice a month.     It's going to continue to be ongoing.

12              I do some training with local law enforcement.

13   There's a program called Crisis Intervention Team, and the

14   Crisis Intervention Team is law enforcement that's specifically

15   trained to do a week-long training to -- the initial concept

16   was to reduce the number of people who were killed by law

17   enforcement.

18              So I go in, my section, I give them a primer on, you

19   know, psychopharmacology.     And we do a little bit of

20   pharmacokinetics actually when we talk about overdoses and what

21   you need to worry about from a pharmacokinetic point of view

22   for an overdose and then we talk about how to manage and what

23   do you need to be worried about when you're working with

24   somebody who's taking medicine in the community.

25              Then I also do lots of national presentations over
                  United States District Court
                     District of New Jersey
                                Appx01910
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                  DIRECT - R. SOMMI, M.D. - MULLIN                                49

1    the course of my career at various pharmacies, psychiatry,

2    nursing, general kinds of conferences.

3    Q.   Outside of UMKC and your responsibilities there, are you

4    involved in any patient care?

5    A.   Yes.   So patient care has evolved over the years.                I have

6    taken care of patients as inpatients and taken care of patients

7    as outpatients.      More recently, most of the care that we

8    provide to our patients has been in our clinical trial work.

9    So when we have patients who are enrolled in our studies and we

10   give them the experimental medication, they come and see me

11   once a week or once every other week.            It depends on what the

12   protocol says we should be doing.

13               I also have a consultant practice at a place called

14   Southwest Missouri Psychiatric Rehabilitation Center.                  This is

15   a rural mental health center, 27, 28 beds.            We meet once a

16   month.   Actually, I'm going to meet tomorrow.            What they do is

17   they identify patients that are struggling for whatever reason,

18   whether it be -- and many times, the reason is we're not sure

19   what to do with their medications, and so I run the meeting.

20   So tomorrow, we'll probably do it by telemedicine with me and

21   the patient there.

22               So I do the interview, I ask all the questions, and

23   in the end, I give some verbal recommendations to the nurse

24   practitioner and the psychiatrist about what could be done in

25   terms of managing, what I think is going on with that patient
                  United States District Court
                     District of New Jersey
                                 Appx01911
           Case: 23-2042   Document: 22     Page: 209   Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                             50

1    from a medication point of view, and then I prepare a written

2    report and send that and that goes into the patient's record.

3    Q.    You mentioned clinical trials.

4                What kind of clinical trials have you been involved

5    in?

6    A.    So clinical trials have been the main support of our

7    research program.     When I came to UMKC 35 years ago, as an

8    assistant professor, the expectation is you develop a research

9    program to support your work and so we've had a continuously

10   funded clinical trials program for 35 years.             It's now not

11   funded because of my pending retirement, but we won't go into

12   that.

13               But we've got -- most of my work almost exclusively

14   has to do with drugs for the treatment of schizophrenia.               I've

15   worked with drugs that still don't have a name.              I've worked

16   with drugs that failed.      I've worked with drugs that came to

17   the market.    We work with lots of different drugs as new

18   formulations came along.      We got the regular quick-acting

19   injections.    We got the melty tabs, the orally disintegrating

20   tablets.    We've worked with those.        We've worked with a number

21   of long-acting injectables.          We've worked with drugs that are

22   add-ons for cognitive improvement.          We've done lots of

23   different things.

24               Most recently, sort of towards the end of my career,

25   I came to UMKC wanting to do work with drug treatment of
                   United States District Court
                      District of New Jersey
                                 Appx01912
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                   DIRECT - R. SOMMI, M.D. - MULLIN                           51

1    tardive dyskinesia.    I ended my career actually doing work when

2    drug treatment within for tardive dyskinesia because there's

3    new drugs for that.

4    Q.   You mentioned tardive dyskinesia, so now you've got to

5    explain it, please.

6    A.   Okay.    So tardive dyskinesia is a -- so the word "tardive"

7    means delayed in onset and "dyskinesia" means unusual movement.

8    So it's movements that are delayed in onset typically months to

9    years after a person begins taking their antipsychotic

10   medication.

11              When I was in training, I was impressed with the

12   range of movements.    We had patients who rocked and, you know,

13   but oral facial dyskinesias are really pretty prominent in

14   tardive dyskinesia.    You see tongue protrusion and lip smacking

15   and excessive blinking.     It can affect your diaphragm.           It can

16   affect your breathing.     It can affect your ability to put your

17   clothes on.    It can affect your ability to eat.

18              So that's what I started my career doing and actually

19   ended my career finding -- working with a drug that actually

20   works.

21   Q.   You mentioned clinical trials.

22              Just to be clear, were any of those clinical trials

23   involving antipsychotics?

24   A.   Almost all of those were.

25   Q.   Were they Janssen drugs or drugs by other manufacturers?
                   United States District Court
                      District of New Jersey
                                Appx01913
          Case: 23-2042   Document: 22     Page: 211   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                            52

1    A.   Some of Janssen's, but a lot by other companies.

2    Q.   Has any of your research ever been published?

3    A.   Sure, a lot of it has been published.

4    Q.   Is there any particular publication that stands out in

5    your mind?

6    A.   Well, so there's a study that I was proud to be a part of.

7    I was the only pharmacist principal investigator in this

8    particular study.    This is a study called the CATIE study.

9    CATIE stands for Clinical Antipsychotic Treatment Intervention

10   Effectiveness, which it sounds complicated but actually is very

11   simple.    It was a -- we always wanted to have a study that

12   compared drugs we have had.         So luckily, we never had those

13   studies.   That was going to be the evidence.           Is there any drug

14   that is better than any other drug on the market?              This was the

15   study that was going to set out to prove it.

16              So I was one of 150 investigative sites.             We enrolled

17   patients into the study.     And so it's a multicenter kind of

18   trial, and to date, there's been at least 350 publications that

19   have come from that data set.        It's a very, very rich source of

20   information about treating folks who have schizophrenia.

21              Yeah, so that group of publications, that particular

22   study is sort of what I think of as the most important work

23   that I've ever done.

24   Q.   Can you estimate how many patients you've been personally

25   involved with in treatment?
                  United States District Court
                     District of New Jersey
                                Appx01914
          Case: 23-2042   Document: 22   Page: 212   Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                          53

1    A.   Thousands.

2    Q.   Dr. Sommi, in front of you, there should be a binder where

3    we can also bring up on the screen, but if I could direct your

4    attention to what's been marked as Plaintiffs' Exhibit 128A.

5               Go to the next page.

6               You do have a screen in front of you.          Can you see

7    that, Dr. Sommi?

8    A.   I can.

9    Q.   Do you recognize that document?

10   A.   It's the first page of a relatively recent curriculum

11   vitae.

12   Q.   Your curriculum vitae?

13   A.   Mine, yes.

14   Q.   Can I also then -- I'd like to direct your attention to

15   two paragraphs in the final pretrial order that was filed with

16   the Court, paragraphs 49 and 50, if we could bring those up.

17              This is in the stipulated facts, and paragraphs 49

18   and 50 involve the definition of a person of ordinary skill in

19   the art or POSA.

20              Do you understand that?

21   A.   I do.

22   Q.   Do you consider yourself to be qualified under either or

23   both definitions of a POSA?

24   A.   I do.

25              MS. MULLIN:    Your Honor, at this time, we proffer Dr.
                   United States District Court
                      District of New Jersey
                                Appx01915
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                  DIRECT - R. SOMMI, M.D. - MULLIN                              54

1    Roger Sommi as an expert witness in pharmacy in the treatment

2    of patients with psychiatric disorders, including treating

3    psychotic disorders such as schizophrenia with antipsychotics.

4               THE COURT:     No objection?

5               So noted.

6               MS. MULLIN:     Thank you.

7    BY MS. MULLIN:

8    Q.   Dr. Sommi, let's talk about schizophrenia.

9               Can you give us just a general description?               What is

10   schizophrenia?

11   A.   So schizophrenia is considered to be one of the psychotic

12   disorders.   It affects about 1% of the population.            It's about

13   equal males to females.      There isn't any particular group

14   that's left out of the spectrum of schizophrenia.             The core

15   symptoms are positive, negative symptoms, cognitive symptoms,

16   mood symptoms, and all of those play together to effect the

17   person's ability to be successful in employment and education

18   and relationships and just day-to-day functioning.

19   Q.   Can you give us some examples of positive symptoms?

20   A.   So positive symptoms are things that are sort of added.

21   So these are delusions, which are false beliefs, oftentimes

22   paranoid delusions, persecutory delusions.          They can be

23   hallucinations.      In schizophrenia, typically we see auditory

24   hallucinations, but you can see all five senses.            Those would

25   be the positive symptoms.
                  United States District Court
                     District of New Jersey
                                 Appx01916
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                  DIRECT - R. SOMMI, M.D. - MULLIN                               55

1    Q.   Can you give us some examples of what would be considered

2    negative symptoms?

3    A.   So negative symptoms are where we're taking things away,

4    so alogia, poverty of speech; avolition, poverty of movement.

5    So they're withdrawn, they don't talk very much, they are not

6    engaged in relationships.

7    Q.   Is there a standard reference for defining schizophrenia?

8    A.   For the Diagnostic and Statistical Manual, or DSM, is

9    where you find the diagnostic criteria.

10   Q.   In terms of the symptoms, are they generally short term,

11   long term, when someone has schizophrenia?

12   A.   So schizophrenia is oftentimes referred to as a

13   neuro-progressive or neurodegenerative disease, depending on

14   how you're looking at it.     So you'd have some prodromal

15   syndrome -- prodromal symptoms that in some of the folks can

16   occur.   Looking back, they really start in high school and then

17   they progress into their 20s when they have their first

18   psychotic break.

19   Q.   Before somebody has their first psychotic break, are there

20   generally signs that the person is ultimately going to develop

21   schizophrenia?

22   A.   Again, it's mostly looking back.           So if you look back, you

23   can say oh, yeah, that was -- so you made the reference in your

24   opening statement to in high school, it's 1%.            If you had

25   graduated with a class of 300, that's three students.                 Looking
                  United States District Court
                     District of New Jersey
                                Appx01917
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                    DIRECT - R. SOMMI, M.D. - MULLIN                               56

1    back now, you could probably put your finger on the people who

2    went on to develop schizophrenia.         These are the kids who were

3    withdrawn; they were a little bit different from everybody

4    else.    They didn't perform well in school academically.

5    Q.     Can families of the patient be blindsided by the

6    diagnosis?

7    A.     Sure.   I have a friend and he is my age, in high school,

8    his brother -- so this is the family that had the golden touch,

9    right?    Father did very well in the insurance business.              When

10   my friend went to medical school, his brother gets accepted to

11   MIT.

12                I lose track of the family and come back and meet

13   with them again, you know, ten years later.             I find that the

14   brother, the younger brother that was going to MIT now lives

15   with dad because he has schizophrenia.            He had a psychotic

16   break during his first semester at MIT.

17   Q.     So what's it like for the family and friends of a patient

18   or a person with schizophrenia?

19   A.     It's devastating.     They lose the person that they had

20   hoped for.

21   Q.     Is there a cure?

22   A.     There's no cure.

23   Q.     So what do health care professionals try to do?

24   A.     Well, so if you're in my pharmacotherapy class and I'm

25   giving you the lecture on schizophrenia and I talk about what's
                    United States District Court
                       District of New Jersey
                                  Appx01918
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                  DIRECT - R. SOMMI, M.D. - MULLIN                                59

1    independent apartment, they may be employed.             But those are

2    typically people who are engaged in treatment and stay on the

3    medicine.

4    Q.   Is there any burden on society?

5    A.   Sure.   You know, you have the -- these folks who are way

6    less employed.       They have a dependence on Medicaid and

7    Medicare, typically, to pay for their treatments.               They're on

8    disability to a greater extent than the general population.

9    Right?   So we talked about 1% of the population with

10   schizophrenia and they make way -- a way bigger percent of the

11   patients on disability.       Right?     So there isn't this one-to-one

12   relationship, so 1% of people on disability have schizophrenia.

13   It's more percentages than that.

14   Q.   So I want to then go back and talk about treatment.               Okay?

15   A.   Sure.

16   Q.   Can you briefly describe the antipsychotics that are

17   available or have been available?

18   A.   All right.      So the first antipsychotic to the market that

19   everybody knows is Thorazine.         All right.     Chlorpromazine came

20   in the '50s, sparked the creation of this group of

21   antipsychotics that we call the first generation of

22   antipsychotics.      And so what we learned about schizophrenia and

23   the treatment of schizophrenia from Thorazine is that if you

24   look at the pharmacology of Thorazine, it decreases or blocks

25   dopamine and dopamine receptors.          And so there was this push to
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                     District of New Jersey
                                  Appx01921
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                 DIRECT - R. SOMMI, M.D. - MULLIN                            60

1    find other drugs that blocked dopamine receptors and there was

2    a bunch of them, right, and the last one being Haldol that came

3    and -- well, Haldol wasn't actually the last one.             Melinda was

4    the last one, but that's besides the point.

5              All right.    So we've got this group of drugs; their

6    primary target is dopamine.        So the challenges with the

7    first-generation drugs is they weren't all that different from

8    each other pharmacologically.       And secondly, they had a high

9    incidence of what we call extrapyramidal side effects or EPS.

10   And so these are acute dystonic reactions, which are spasms

11   that occur early on in treatment.

12             We have pseudoparkinsonism, which is so named because

13   the pathophysiology and the symptoms look very much the same.

14   These are the tremors that people have, they feel stiff, slowed

15   down, they look depressed even though they aren't depressed.

16             Akathisia, which is this feeling of inner

17   restlessness that when you cause that, can lead to suicide in

18   the worst case because they just feel like they can't get away

19   from themselves.    And then, finally, the tardive dyskinesia,

20   which I talked about before.

21             So there was a goal then to find a set of drugs or a

22   different pharmacologic mechanism to sort of mitigate against

23   that.   Right?   So the second generation antipsychotics all came

24   to the market, at least the early ones came to the market with

25   this idea that if we had some kind of serotonin activity, that
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                  DIRECT - R. SOMMI, M.D. - MULLIN                            61

1    that, in and of itself, will mitigate against this

2    extrapyramidal kind of side effects.          And, in fact, that's what

3    we observed.    Right?   Way less of all those things.           So we went

4    on happily and started treating these folks.

5               The reward we got for that is, at least the early

6    drugs in the second generation class had problems with

7    metabolic side effects, weight gain, changes in lipids, risk

8    for diabetes, increases in blood glucose.           And so we sort of

9    traded tardive dyskinesia for this metabolic problem.

10              And then the more recent ones have sort of tried to

11   get away from that.      Right?     And so now we have drugs that are

12   pretty metabolically neutral and don't have any extrapyramidal

13   effects.   What we didn't get in that is a drug that's more

14   effective.   The patients tolerate it better, and so they take

15   it, but it's not curing any more people.

16   Q.   Okay.   Just focusing then on long-acting injectable

17   antipsychotics, how long have they been around?

18   A.   Since the '60s.

19   Q.   And what were the --

20   A.   Like me.

21   Q.   -- first -- what were the first long-acting injectable

22   antipsychotics?

23   A.   So the two long-acting inject -- first generation

24   antipsychotics are Haldol decanoate and Prolixin decanoate and

25   they're still on the market and they continue to currently be
                  United States District Court
                     District of New Jersey
                                 Appx01923
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                  DIRECT - R. SOMMI, M.D. - MULLIN                                 62

1    used.

2    Q.   Are they first or second generation?

3    A.   Those are first generation drugs.           Not to get down too

4    much into the details, but these are drugs that are designed

5    with a sesame oil base.     Right?     So the molecules, Haldol

6    decanoate and Prolixin decanoate are dissolved in sesame oil

7    and then injected into the patient.        The challenge with that is

8    that you have to inject using a specific method so the oil

9    doesn't leak back out of the hole.        That's more painful.

10               And then when you -- after you've injected and all

11   the drug's been released from that site, that sesame oil stays

12   there and creates a nodule in the patient, you know, underneath

13   the skin in the muscle of that patient.

14               So those are -- and we knew that there were long --

15   lots of complaints about it, and so there was an opportunity

16   there in the market to create something that didn't have all

17   those problems.

18   Q.   When did second generation long-acting injectables come to

19   the scene?

20   A.   If I could look at your slide again, I would know the date

21   that Risperdal Consta came out.        2006?     Is that right?       2004?

22   Q.   Would you agree with me, 2009?

23   A.   2009?

24   Q.   Yes.

25   A.   Yeah.   So Risperdal Consta was the first second generation
                  United States District Court
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                   DIRECT - R. SOMMI, M.D. - MULLIN                        63

1    drug to come to the market and the advances there were that it

2    was an aqueous or water-based suspension.         All right?

3                So a suspension is where you've got little particles,

4    kind of like a snow globe.      Right?   You suspend it up and those

5    particles stay floating long enough for you to inject it into

6    the patient and then the water just dissipates because it's

7    just water.    So the water goes away, but then those little

8    particles stay at the site of injection and then slowly

9    dissolve.    That's the process.

10               THE COURT:   No nodule?

11               THE WITNESS:   No nodules, right.      And less painful

12   because you don't have that extra little strategy for the

13   injection.

14   BY MS. MULLIN:

15   Q.   Dr. Sommi, is it possible that Risperdal Consta came on

16   the market in 2003, since I've been corrected?

17   A.   I said '04.     I'm just pointing out I was closer than you

18   were.

19   Q.   So are all oral antipsychotics also available in

20   long-acting injectable form?

21   A.   No.

22   Q.   How many of them are or are not?

23   A.   Well, so if we look at molecules, right, so we've got the

24   Haldol and the Prolixin.     We've got Risperdal Consta, which is

25   risperidone.    Risperidone, when it's in the body, the
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                      District of New Jersey
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                  DIRECT - R. SOMMI, M.D. - MULLIN                             64

1    metabolite, right, when it gets metabolized, it creates

2    paliperidone.    So risperidone and paliperidone are not quite

3    interchangeable, but they're related.           Right?   So we have our

4    risperidone, paliperidone series.       I like to lump them into

5    that series.    And then you have the aripiprazole.            Right?   You

6    have the Abilify Maintena, you have Aristada.            And then you

7    have olanzapine or Zyprexa pamoate.

8               So then you also have another risperidone injection

9    called Perseris that's on the market.

10   Q.   So in terms of how many orals compared to how many

11   injectables, do you have any idea what that ratio is?

12   A.   No, but it's pretty low.       You have aripiprazole,

13   olanzapine, risperidone, and paliperidone.           You've got four

14   molecules versus about 13, 14.

15   Q.   Thirteen or 14 being the oral medicines?

16   A.   Just the second generation orals, yeah.

17   Q.   Okay.   So in terms of your experience, over 40 years, has

18   there been any change in attitude or acceptance for long-acting

19   injectables?

20   A.   Well, when I -- as I tell a story about my mom, who was a

21   nurse, and she -- I never liked the oral formulation of

22   amoxicillin, you know, the bubble gum suspension.              Not my deal.

23   I still to this day don't like bubble gum.           But I was also the

24   kid that got strep throat a lot.       And my mom would say to me:

25   You either take the bubble gum or we're going to take you back
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                     District of New Jersey
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                   DIRECT - R. SOMMI, M.D. - MULLIN                              67

1    Interaction Effectiveness Study.        Effectiveness is sort of this

2    notion that effectiveness of a drug is its real-world use.

3                So in the CATIE study, we had one outcome.               You were

4    either taking your medicine or you stopped taking your

5    medicine.   Right?    And no surprise, I mean, everybody was put

6    on oral; long-acting injectables was not a part of this.                Over

7    the course of 18 months, 75% of patients had stopped taking

8    their medicine.      No surprise, right?     And there wasn't any drug

9    that was any better, right?

10               And so the effectiveness really tells us about, you

11   know, real-world things.      Relapse prevention, either you

12   relapse or you haven't relapsed.        That's an effectiveness

13   measurement.    Right?    And that's in contrast to efficacy.

14   Efficacy is the ability of a drug to reduce symptoms as rated

15   on a rating scale.

16   Q.   Can you explain the rating scales that are used?

17   A.   Well, so, for antipsychotics drugs, the primary rating

18   scales that we use are the Positive and Negative Syndrome Scale

19   or the PANNS.

20   Q.   Would that be PANSS in all caps?

21   A.   That would be the one.

22               And then BPRS, which is the Brief Psychiatric Rating

23   Scale, BPRS.    So both of these have structured clinical

24   interviews.    They talk about, you know, anywhere -- when I do

25   them, they're anywhere from an hour-and-a-half- to three-hour
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                                 Appx01929
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                   DIRECT - R. SOMMI, M.D. - MULLIN                            68

1    interviews.    Depends on the patient and how talkative they are.

2    But then we rate on a Likert scale, right, on a scale of one to

3    seven, how delusional is this person, how educated is this

4    person, how excited is this person, how much anxiety do they

5    have, and you come up with a score and then you do that at

6    baseline and a drug study and it gives you a score and it tells

7    you a little bit about the severity of their illness.               And then

8    you watch that score go down over the course of time and that's

9    how we rate efficacy.

10   Q.   How long have those scales, the PANSS, the BPRS scales,

11   been used?

12   A.   Longer than I've been around, so quite a while.

13   Q.   Just very briefly, are there advantages to using

14   long-acting injectables?

15   A.   Sure.    So from the overall perspective, when you look at

16   real-world studies, long-acting injections, patients on

17   long-acting injections have less relapse.         They have less

18   relapse.   If you believe in the neurodegenerative,

19   neuroprogressive concept of schizophrenia, the more relapses

20   you have, more progression you have.

21              So, in theory, we should be able to show over the

22   course of time with long-acting injections, that we're losing

23   less and less and less brain.

24              There's a psychiatrist that I have worked with over

25   the years that said every time a patient has a -- a patient
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                      District of New Jersey
                                Appx01930
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                  DIRECT - R. SOMMI, M.D. - MULLIN                         69

1    with schizophrenia has a relapse, it's like scooping out a

2    teaspoon of brain and tossing it out because when the brain has

3    psychosis, it's overexcited and you have cell death.

4               And so if we can prevent some of that, then certainly

5    the prognosis would be better.       Another advantage from a

6    patient perspective is convenience.       I only have to take a shot

7    once a month, I only have to take a shot, you know, however

8    often that particular drug is.       Right?     Once a month, once

9    every three months, once every two months, whatever it is.           So

10   convenience for the patient.

11              From a caregiver point of view, the advantage of

12   long-acting injections is less discussions about medication.

13   Right?    Because oftentimes, a caregiver is the person who's

14   responsible for giving the oral medicine and there's a

15   conversation that happens:      It's time for your medicine; I

16   don't want to take my medicine.       Okay, well, look, we've been

17   through this before.     Well, today, I want to take my medicine;

18   tomorrow, I don't.    You know, so there's this conversation.

19   That's -- the medicine's twice a day, that's 60 conversations a

20   month, right, that you've got to have with that patient.

21              With the long-acting injections, that's once a month,

22   once every two months, three months, six months, whatever, you

23   know, the product they happen to be taking.           So less care giver

24   burden.

25              From a clinician point of view, I know that the
                  United States District Court
                     District of New Jersey
                                Appx01931
         Case: 23-2042     Document: 22   Page: 225   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                             70

1    patients are getting their medicine because the medicine has to

2    be given by a health care professional.          Right?    So somebody

3    has to give that patient.      If they don't show up, then I can be

4    alerted or the physician can be alerted that, yes, in fact,

5    this patient is late for their dosing; go out and find them.

6                I also -- I make better decisions with long-acting

7    injections because I know that they're actually taking the

8    medicine.    Right?   So I'll give you this scenario that I'm

9    often faced with, and then when I ask the question, people are

10   like, I don't know.     Right?

11               So this is the scenario:      The patient's taking the

12   medicine -- or prescribed the medicine.          They don't respond or

13   they have a partial response, so they get a little bit better

14   but not enough better, and so then they tried something else.

15   So they up the dose and they started adding medicines.

16               And then I asked the question:        Has anybody checked

17   the pharmacy fill rates?      No.    So I go check the pharmacy and,

18   in fact, the patient hasn't shown up to pick up any of these

19   medicines that we have increased the dose, changed the

20   medicine, augmented therapy, and I'm like, well, we didn't do

21   anything because the patient didn't take any medicine.               Right?

22               So we make better clinical decisions about how the

23   patient is responding to the medicine when they're given it by

24   injection.   It's just easier for us as clinicians to make those

25   decisions.
                  United States District Court
                     District of New Jersey
                                 Appx01932
            Case: 23-2042   Document: 22   Page: 226   Filed: 03/11/2024

                    DIRECT - R. SOMMI, M.D. - MULLIN                             74

1    Q.     Very briefly, what is Invega Sustenna?          Very briefly.

2    A.     Invega Sustenna is the one-month formulation of

3    paliperidone palmitate.

4    Q.     Do you have experience treating patients with Invega

5    Sustenna?

6    A.     We have quite a few patients currently on Invega Sustenna,

7    yes.

8    Q.     And Invega Trinza -- again, very briefly -- can you just

9    tell us what Invega Trinza is?

10   A.     It's the three-month formulation of paliperidone

11   palmitate.

12   Q.     And do you have any experience treating patients with

13   Invega Trinza?

14   A.     We have some patients that are currently on Trinza.

15   Q.     Do you do any teaching related to second generation

16   long-lasting antipsychotics, including Invega Sustenna and

17   Invega Trinza?

18   A.     Yeah, I've done national presentations on long-lasting

19   injections.     I've trained a pharmacy resident on long-acting

20   injections, the pharmacokinetics and pharmacodynamics.                And

21   then we also teach the psychiatry residents on how to use

22   long-acting injections.

23   Q.     Prior to Invega Trinza coming to market, did you have any

24   experience with a long-acting injectables antipsychotic that

25   was dosed every three months?
                    United States District Court
                       District of New Jersey
                                  Appx01936
          Case: 23-2042   Document: 22   Page: 227    Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                            75

1    A.   There wasn't any prior to that, so no experience prior to

2    Trinza.

3    Q.   Excuse my interruption.

4    A.   That's all right.

5    Q.   Are there any others on the market today?

6    A.   Not that I'm aware of.

7    Q.   Does that three-month dosing interval impact patient care

8    in any way?

9    A.   Sure.    You know, we talk about the advantage of one

10   decision a month, one injection a month.          That goes to four

11   decisions a year, four injections a year.          So, yes, some

12   advantages for the patient and the system.

13   Q.   Is adherence an issue for patients on Invega Trinza or on

14   Invega Trinza?

15   A.   Yes.    We still see patients who miss doses.          I mean, it's

16   not a magic bullet for the compliance issue or adherence issue.

17   Q.   Is adherence a choice?

18   A.   Adherence can be a choice.       Right?    So the -- you know, as

19   I talked about, there's lots of different reasons that

20   patients, you know, stop taking their medicine.            There's lots

21   of different reasons that patients decide to stop taking their

22   medicine or miss a dose.     Could be they get incarcerated.

23   That's not their decision necessarily.          It could be that they

24   become an inpatient and we screw up as health professionals.

25   You know, we say it's supposed to be this day and then we don't
                   United States District Court
                      District of New Jersey
                                Appx01937
          Case: 23-2042   Document: 22   Page: 228    Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                        76

1    give it that day for whatever reason.

2    Q.   If we could turn then, there's a document marked as

3    Plaintiffs' Exhibit 1 in your book.       It's the '693 patent.      And

4    I'd like to focus our attention on that for a moment.

5               Okay?

6    A.   Sure.

7    Q.   We can bring it up on the screen.          All right.

8               Have you reviewed the '693 patent for purposes of

9    providing expert testimony in this case?

10   A.   I have.

11   Q.   And for the record, when we're referring to the '693

12   patent, is that Patent 10,143,693?

13   A.   It is.

14   Q.   Okay.    So then just very generally, Dr. Sommi, what's the

15   subject matter of the '693 patent?

16   A.   So the '693 patent is instructions surrounding a dosing

17   regimen for missed doses of long-acting paliperidone palmitate.

18   And more specifically, the PP3M product.

19   Q.   Does the '693 patent discuss the issue of adherence?

20   A.   It does.

21   Q.   And, Dr. Sommi, I should ask, did you help prepare some

22   slides to assist with your testimony?

23   A.   I did.

24   Q.   And do you have the slide controls in your own hand?

25   A.   I do.
                   United States District Court
                      District of New Jersey
                                Appx01938
          Case: 23-2042     Document: 22   Page: 229   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                            88

1    A.   Sure.

2    Q.   Before you start, do these instructions have any

3    significance to health care providers?

4    A.   Yes.    I mean, we look at them as guidance.           It's the first

5    place we look.       If we don't know -- if you don't know if

6    something is drug related or how do I dose this drug or what

7    should I do, you turn first to the label because the company

8    has as much information as anybody else about their drug.             And

9    if it's in the label, then that's where you start.

10   Q.   If somebody misses a dose, what's one of the first things

11   the health care professional will look to?

12   A.   Well, if it's a dose of Invega Trinza, you would look to

13   the label.

14   Q.   Can we see how the Invega Trinza label matches up to claim

15   5, if it does, of the '693 patent?

16   A.   Sure.

17               You want me to run through it?

18   Q.   Yes, please.

19   A.   So this is a -- so the Claim 5 talks about a dosing

20   regimen of paliperidone palmitate.         So the label talks about

21   dosing and administration, under number 2, of paliperidone

22   palmitate.   And this is a reinitiation dose.           We're starting

23   the patient back on the medicine.         That's why it's called

24   reinitiation.

25               In patients in need of treatment for schizophrenia,
                  United States District Court
                     District of New Jersey
                                  Appx01950
            Case: 23-2042   Document: 22     Page: 230   Filed: 03/11/2024

                    DIRECT - R. SOMMI, M.D. - MULLIN                         89

1    psychosis, bipolar disorder, in the patent claim and in the

2    Invega Trinza label, it talks about the indication for the

3    treatment of schizophrenia, so directly consistent with

4    schizophrenia in the claim.

5                 And then it's for patients that have been treated

6    with PP3M that were last administered an injection four to nine

7    months ago in the claim.

8                 And then in the missed dose section, it is doses -- a

9    dose four to nine months since their last injection, so that's

10   consistent both in the 2.3 wording, as well as in the table.

11                So the first step of the claim talks about

12   administering in the deltoid, the first reinitiation dose of

13   PP1M.    And in the table, it talks about what happens on day

14   one.    So the patient comes in, this is what you're going to do

15   on day one.     And then it talks about, in the claim, what you

16   should do between day four and day 12 with a PP1M deltoid

17   injection.     And in the label, it talks about day eight.

18   There's another deltoid injection of Invega Sustenna, which is

19   the one-month PP1M product.           Day eight is exactly halfway

20   between four and 12.

21                Then, finally, step three in the claim talks about

22   administering a reinitiation dose of PP3M on the 23rd to 37th

23   day.    And in the label, it talks about administering Invega

24   Trinza, which is the PP3M product, either in the deltoid or

25   gluteal, one month after the second injection of the PP1M
                    United States District Court
                       District of New Jersey
                                  Appx01951
          Case: 23-2042   Document: 22     Page: 231   Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                            90

1    product, and 30 days is about halfway between 23 and 37.

2               It goes on to talk about the missed dose.             So the

3    left-hand part of the claim is talking about what dose was

4    missed of PP3M, and this was the what was the last dose of PP3M

5    administered, right, of the Trinza and then you see something

6    weird happen, you get the 175 and 273.

7    Q.   Dr. Sommi, so the Claim 5 refers to 175 milligram

8    equivalents, right?

9    A.   Right.

10   Q.   And the table in the Invega Trinza label talks about

11   milligrams, 273 milligrams?

12   A.   Right.

13   Q.   Can you explain how they're related?

14   A.   So there's different units, milligram equivalents versus

15   milligrams, and this really has to do with the manufacturing

16   process to a certain extent.        I know you're really happy

17   there's a molecule up on the screen.

18              This is what paliperidone looks like.            In the

19   manufacturing process, we esterify or we add this 16-chain

20   palmitate ester.     The importance of that is the molecule gets

21   bigger.   When the molecule gets bigger, it weighs more, so its

22   molecular weight is larger.         But it still only has one

23   paliperidone molecule attached to it.

24              So then when we inject it into a patient, you have

25   these enzymes called esterases that chop the ester back off and
                   United States District Court
                      District of New Jersey
                                Appx01952
           Case: 23-2042   Document: 22   Page: 232   Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                       91

1    let paliperidone be the molecule that runs around in the body.

2                So when we talk about milligram equivalence, the

3    milligram equivalence table, you notice that there are -- that

4    the dose or the amount, if you will, for paliperidone palmitate

5    is bigger because of bigger molecules, so it takes more

6    milligrams.    So if I inject 273 milligrams of PP3, I get

7    175 milligrams of paliperidone.

8                Does that make sense?

9                So when the drug products were approved, the FDA said

10   "We want you to label these by the molecular weight of the

11   paliperidone palmitate."      So that's why there's this difference

12   in these tables.      So there's a conversion between paliperidone

13   palmitate and paliperidone.

14   Q.    Dr. Sommi, excuse me for interrupting.

15               Is that conversion set forth in the '693 patent

16   anywhere?

17   A.    Yes, it's in Table 3 of the '693 patent.

18   Q.    Did you go back, then, to Claim 5 and compare it to the

19   Invega Trinza label to see if the tables for dose amounts match

20   up?

21   A.    So if we convert in the Invega Trinza label all of the

22   paliperidone palmitate milligrams to their milligram

23   equivalents, highlighted here in blue, you see that the blue

24   lines up exactly with the table in claim 5.

25               So Claim 5 has a missed dose of 175 milliequivalents
                   United States District Court
                      District of New Jersey
                                 Appx01953
          Case: 23-2042   Document: 22   Page: 233   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                       92

1    and in blue, 273 milligrams of PP3M delivers 175

2    milliequivalents of paliperidone.       The blue in here lines up

3    perfectly with the table in claim 5.

4    Q.   Just to be clear, because I'm not sure the blue is going

5    to be part of the official record, do all of the dose amounts

6    match up between the table in claim 5 in the '693 patent and

7    the table 2 with the Invega Trinza label?

8    A.   They do.

9    Q.   Dr. Sommi, for Invega Trinza, who gives these injections?

10   A.   All of the injections have to be given by a health care

11   professional.

12   Q.   Has the FDA approved self-administration?

13   A.   No.

14   Q.   If a health care professional was presented with a patient

15   who was in need of treatment for schizophrenia, who had their

16   last dose of PP3M four to nine months ago, and they followed

17   the missed dose instructions in the Invega Trinza label, would

18   they infringe the '693 patent?

19   A.   If they followed Invega Trinza and gave Invega Trinza,

20   would they infringe?

21   Q.   Mm-hmm.

22   A.   They would be following.       I don't know that -- it's

23   Janssen's product.    I mean, I don't think they would be --

24   Q.   Let me change the question a little bit.

25   A.   Yeah.
                  United States District Court
                     District of New Jersey
                                Appx01954
           Case: 23-2042   Document: 22   Page: 234   Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                             93

1    Q.    Let's say there could be infringement somehow.            In other

2    words, do they match up?      Do the instructions in Invega

3    Trinza's label instruct you to do each and every step in the

4    same circumstances as Claim 5 of the '693 patent?

5    A.    They do.

6    Q.    If a patient then, if they miss a dose of PP3M four to

7    nine months ago, and they come back into the clinic, who decide

8    whether or not you're going to follow the missed dose regimen?

9    A.    Their health care providers.

10   Q.    Do you ever provide guidance to health care practitioners

11   on what to do when a patient misses a dose of Invega Trinza?

12   A.    With Invega Trinza, we start with the label.            We follow

13   it.   So there's more than just this one guidance, but -- or

14   instruction, but we follow the instructions.           We try to figure

15   out, well, when was the last dose given and what do we do.            If

16   there's something weird about that patient, then we do

17   something different.

18   Q.    Is it the exception or the rule that health care

19   professionals would follow the missed dose instructions if a

20   patient presented who had their last PP3M dose four to nine

21   months ago?

22   A.    I think most health care practitioners, at least that I

23   work with, would start here and would end up following for most

24   patients.

25               MS. MULLIN:    So now if we can -- I'm going to put up,
                   United States District Court
                      District of New Jersey
                                 Appx01955
          Case: 23-2042   Document: 22   Page: 235   Filed: 03/11/2024

                   DIRECT - R. SOMMI, M.D. - MULLIN                        98

1    with an injection four to nine months ago, and then the Mylan

2    label includes the four to nine months since the last

3    injection.

4               And then you have the three steps of the claim.          The

5    first step is the administration into the deltoid on day one of

6    a PP1M product and then a second step of the claim is

7    administration of a PP1M product on day eight in the Mylan

8    label, similar to the Trinza label, and that is between the

9    fourth and twelfth day.

10              Then the third step of the claim is the re-initiation

11   dose of PP3M on or about the 23rd to 37th day, either deltoid

12   or gluteal.    And, again, you see the same thing one month after

13   the second injection of the PP1M product.

14              Then the tables line up.      And, again, if you put the

15   milligram equivalents in there, you can see that the milligram

16   equivalents in the Claim 5 are exactly the same as the

17   milligrams of the PP1M and PP3M products.

18   Q.   Did you do this analysis for all three of Mylan's proposed

19   labels?

20   A.   I did.

21              Do you want to hear all three the same way?

22   Q.   For the record, yes, please.

23   A.   Okay.    Similarly, for the 350 milligram equivalent label,

24   which is Plaintiffs' Exhibit 62, you can see the highlighting

25   is exactly the same as the highlighting that I did for the
                   United States District Court
                      District of New Jersey
                                Appx01960
          Case: 23-2042   Document: 22   Page: 236   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                       99

1    lower dose label.    And then if you look at the label for the

2    525-milligram, this is Plaintiffs' Exhibit 133, the

3    highlighting, again, is exactly the same.         There's no

4    differences.

5    Q.   Dr. Sommi, I think you said Plaintiffs' Exhibit 62.

6                Should that be 162?

7    A.   It should be 162, yes.

8    Q.   So you referred to highlighting.

9                Since highlighting might not be in the record, are

10   you referring to a comparison between the patent Claim 5 and

11   Mylan's proposed generic labels?

12   A.   I am.

13   Q.   Is the analysis the same for all three of Mylan's proposed

14   labels with respect to the comparison to Claim 5?

15   A.   Yes.

16   Q.   So then in your opinion, Dr. Sommi, do Mylan's proposed

17   label for all three of its ANDAs encourage, recommend or

18   promote infringement of Claim 5?

19   A.   Yes.    So a health care professional would follow the

20   guidance in Mylan's label and it aligns nicely with Claim 5 and

21   so, yes, they would infringe.

22   Q.   Is it inevitable that health care professionals will

23   infringe Claim 5 of the '693 patent if they follow the missed

24   dose instructions in Mylan's label?

25   A.   Yes.
                   United States District Court
                      District of New Jersey
                                Appx01961
          Case: 23-2042   Document: 22     Page: 237   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                          100

1    Q.   Are there exceptions to that where people would not follow

2    the missed dose instructions in Mylan's label?

3    A.   Yes, certainly.     There would be patients that don't, for

4    whatever reason, fit or are somewhat different.

5    Q.   Let me ask one more time, just to be clear.

6                In your opinion, do Mylan's proposed labels for those

7    three ANDAs encourage, recommend or promote infringement of

8    Claim 5?

9    A.   Yes.

10   Q.   Okay.   We have some dependent claims as well that we've

11   looked at, right, Dr. Sommi?

12   A.   Sure.

13   Q.   So referring to the '693 patent claims, 6 and 7, can you

14   tell us what they describe and whether or not Mylan's label

15   will induce infringement of those claims as well?

16   A.   So Claims 6 and 7 refer to the diagnoses.             So it's a

17   method of Claim 5.    This is the '693 patent, Claims 6 and 7,

18   of Plaintiffs' Exhibit 1.     This is where a patient is in need

19   of treatment for psychosis, and Claim 7, in need of treatment

20   for schizophrenia.    And when you look at that in relationship

21   to the proposed labels, you see that the indication is for the

22   treatment of schizophrenia.         So that lines up nicely with Claim

23   7.   And as we talked about earlier, schizophrenia is a --

24   patients with schizophrenia have psychosis, so they would be in

25   need of treatment for psychosis.
                  United States District Court
                     District of New Jersey
                                Appx01962
          Case: 23-2042   Document: 22    Page: 238   Filed: 03/11/2024

                  DIRECT - R. SOMMI, M.D. - MULLIN                         103

1    A.   Yes, a health care professional following those

2    instructions would infringe.        That's right.     So the labels

3    would infringe.

4    Q.   In your opinion, is it inevitable that Mylan's

5    instructions will lead at least some health care professionals

6    to infringe Claims 6, 7, 10, 11 and 14 of the '693 patent?

7    A.   Yes.

8    Q.   Do you have any doubt about that, Dr. Sommi?

9    A.   I have no doubt.

10   Q.   I'm going to ask one more time, Dr. Sommi, just so we make

11   sure we got it.

12               In your opinion, do Mylan's proposed labels for its

13   proposed ANDAs encourage, recommend or promote infringement of

14   Claims 6, 7, 10, 11 and 14?

15   A.   Yes.

16   Q.   Dr. Sommi --

17               MS. MULLIN:   I'm sorry, Your Honor, we don't have a

18   copy of this for you, but we'll get you one.

19               Yesterday we received from Mylan a new submission to

20   the FDA.    We got this yesterday afternoon.        I'll represent that

21   to the Court and to you.

22   BY MS. MULLIN:

23   Q.   Do you understand, Dr. Sommi, that there's a

24   back-and-forth process between Mylan and the FDA where Mylan is

25   seeking approval to market its generic PP3M products?
                  United States District Court
                     District of New Jersey
                                Appx01965
          Case: 23-2042   Document: 22   Page: 239   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                       111

1    A.   So I get approached.     I talk with drug companies about

2    ongoing work that they've got going, and we make an agreement.

3    The university wants me to be engaged in clinical research,

4    research in my area of research, and so they encourage me --

5    with specific studies, they encourage me to do research.

6    Q.   For those clinical studies, the universities received

7    hundreds of thousands if not millions of dollars in

8    compensation for the work you've done for Janssen, Alkermes,

9    and others, correct?

10   A.   Yes.

11   Q.   You've also been a promotional speaker with respect to

12   Invega Sustenna, correct?

13   A.   I have.

14   Q.   Do you know how much you've been paid for those

15   promotional speaking engagements?

16   A.   I couldn't tell you off the top of my head.

17   Q.   You've never been involved in any studies or engaged in

18   any capacity by a drug manufacturer with respect to a generic

19   drug product, right?

20   A.   I have not.

21   Q.   Okay.

22               If we look at the '693 patent -- it's PTX1 in your

23   earlier binder; it's DTX1 in the binder you have.            We had hoped

24   to have some joint exhibits to avoid this, but unfortunately,

25   we weren't able to reach agreement on that.          But other one,
                  United States District Court
                     District of New Jersey
                                Appx01973
          Case: 23-2042   Document: 22   Page: 240   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                     120

1    approved by the FDA, correct?

2    A.   Yes.

3    Q.   Missed doses occur on exceptional occasions, according to

4    Janssen, right?

5    A.   It says, "To manage missed doses on exceptional occasions,

6    then refer to 2.3."

7    Q.   Right.   So to manage missed doses on those exceptional

8    occasions, right?    That's what the label says?

9    A.   That's what the label says.

10   Q.   Okay.    Let's go back to the '693 patent, DTX1.

11               You opine that it provides dosing regimens for

12   reinitiating patients onto PP3M after missing a dose of PP3M

13   depending on how much time has elapsed since the patient's last

14   dose of PP3M, right?

15   A.   Right.

16   Q.   And you consider a patient to have missed a dose when they

17   don't show up for their appointment, right?

18   A.   Sure.

19   Q.   A doctor that is aware of a patient missing a dose would

20   encourage the patient to come get his or her shot as soon as

21   possible, right?

22   A.   That would be good practice.

23   Q.   I think earlier today you mentioned that if you knew, you

24   might go out and find them if they miss a dose?

25   A.   Sure.
                   United States District Court
                      District of New Jersey
                                Appx01982
          Case: 23-2042    Document: 22   Page: 241   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                           121

1    Q.   So just to put this in perspective, first, a patient's

2    diagnosed with schizophrenia, right?

3               I'm sorry I didn't hear an audible --

4    A.   I'm sorry.      Are you making this a step of the claim or --

5    Q.   No, I'm just asking you generally.

6               So generally, the patient first is diagnosed with

7    schizophrenia.

8    A.   Patient comes in my practice, has schizophrenia.

9    Q.   So you would diagnose the patient as having schizophrenia?

10   A.   Sure.

11   Q.   Then that patient is treated with PP3M.

12   A.   Correct.

13   Q.   For example, right?

14   A.   Okay.

15   Q.   To be treated with PP3M, a patient needs at least four

16   months of PP1M, right?

17   A.   Right.

18   Q.   Then the question, at least for discussion today and we'll

19   get into the claim as well, becomes whether that patient will

20   be adherent or not, right?

21   A.   Right.

22   Q.   So let's actually look at the Asserted Claims.

23              MR. SODERSTROM:     Scott, if we could pull up claim

24   five.   I think it's at DTX1.0.       Yeah, perfect.      And maybe if

25   you can even extend it so that -- oh, you might have to pull it
                   United States District Court
                      District of New Jersey
                                 Appx01983
          Case: 23-2042   Document: 22   Page: 242   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                      122

1    from the next column with the chart as well.

2    BY MR. SODERSTROM:

3    Q.   Let's just start with the basics here, Doctor.

4               If the patient does not miss a dose, there cannot be

5    infringement of Claim 5, right?

6    A.   No infringement.

7    Q.   Even after missing a dose, if a patient does not return

8    for treatment between four to nine months after his or her PP3M

9    dose, there's no infringement, right?

10   A.   No infringement.

11   Q.   You'll agree with me -- and I think you may have testified

12   to this, but I just want to be sure that I have it in the

13   record -- but no health care provider is going to tell a

14   patient to miss a dose, right?

15   A.   Correct.

16   Q.   And I think in your opinion, one of the single most

17   important things health care professionals treating patients

18   with schizophrenia can do is try to get them to stay on their

19   medication, right?

20   A.   Right.

21   Q.   In your practice, you've never counseled a provider to

22   tell a patient to miss a dose, right?

23   A.   Well, so we tell patients to take a dose later if they've

24   got side effects, for instance, in terms of managing potential

25   consequences of getting the dose wrong.         We may say well, come
                   United States District Court
                      District of New Jersey
                                Appx01984
          Case: 23-2042   Document: 22   Page: 243   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                         123

1    in at four months or do whatever, but yeah, generally you don't

2    tell people to miss a dose.

3    Q.   Again, in your deposition you were far more unequivocal.

4    You said "Yeah, no."

5                Is that right?

6    A.   Yes.

7    Q.   Let's say, though, that a patient does miss a dose and

8    elects to come back between four to nine months.           Okay?

9                Claim 5 then says to administer intramuscularly in

10   the deltoid muscle of said patient a first reinitiation loading

11   dose of PP1M, right?

12   A.   Right.   That's the first step of the claim.

13   Q.   For the injections discussed in Claim 5, a patient cannot

14   self-administer those, right?

15   A.   Correct.

16   Q.   So that administration would be done by someone other than

17   a patient, a health care provider?

18   A.   Well, it would be a health care provider, yes.            Right.

19   Q.   And then this patient that has shown he or she was prone

20   to nonadherence or certainly has missed a dose needs to come

21   back four to 12 days later for another shot under the second

22   administration limitation, right?

23   A.   Right.   So we would schedule the patient to come in a week

24   later for that second dose.

25   Q.   And that patient has to show up between four and 12 days,
                   United States District Court
                      District of New Jersey
                                  Appx01985
          Case: 23-2042   Document: 22   Page: 244   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                     124

1    right?

2    A.   Correct.

3    Q.   If the patient doesn't show up between four to 12 days for

4    the second administration, there can be no infringement, right?

5    A.   No infringement.

6    Q.   As you previously put it, the patient has to return for

7    that second injection to get most of the way there for

8    infringement, right?

9    A.   Ask the question again.

10   Q.   Sure.

11               As you previously testified, the patient has to

12   return for that second injection to get most of the way there

13   for infringement, right?

14   A.   Okay.

15   Q.   Is that right?

16   A.   Yes.

17   Q.   If the patient does show up and is administered a second

18   reinitiation loading dose of PP1M, then that same patient who

19   did not adhere at first would need to show up again 23 to 37

20   days later for a reinitiation dose of PP3M, right?

21   A.   That's the third step of the claim that would require that

22   third dose to be administered 23 to -- on the 23rd or 37th day

23   after the second reinitiation loading dose.          Right.

24   Q.   Just to make sure I have it right, that same patient who

25   did not adhere -- that's why we're here in the first place --
                  United States District Court
                     District of New Jersey
                                Appx01986
          Case: 23-2042    Document: 22    Page: 245   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                         125

1    did not adhere, would need to show up again 23 to 37 days later

2    for a reinitiation dose of PP3M, right?

3    A.   That's correct.

4    Q.   So it's the patient that perhaps is prone to missing doses

5    that has to show up multiple times after the first dose under

6    Claim 5, right?

7    A.   Well, it doesn't say anything about missing multiple

8    doses.

9    Q.   I'm sorry.      Missed a dose.     I can rephrase it.       At least

10   one dose.

11               So it's a patient that perhaps is prone to missing a

12   dose that has to show up multiple times after the first dose

13   under Claim 5, right?

14   A.   Well, the patient could have missed a dose for a lot of

15   different reasons.     Could have been they got incarcerated,

16   could have been they were traveling, could have been they -- we

17   scheduled it incorrectly.      It could have been a lot of

18   different reasons why the patient missed the dose.

19               What the claim says is if you're faced with a

20   situation where a patient shows up and the last dose that they

21   were given was four to nine months ago, then you do those three

22   things.

23               MR. SODERSTROM:    Scott, can you pull up from the

24   transcript page 101, lines four through seven?

25
                  United States District Court
                     District of New Jersey
                                 Appx01987
          Case: 23-2042   Document: 22   Page: 246   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                      126

1    BY MR. SODERSTROM:

2    Q.   Dr. Sommi, at your deposition, I asked you, "So it's the

3    patient that perhaps is prone to missing doses, has to show up

4    a bunch of times after that first dose, right?"

5               You answered, "Correct."

6               That was the question I asked and the answer you

7    provided, right?

8    A.   Right.

9               MR. SODERSTROM:    Now, if we look back at the claim,

10   Scott.

11   BY MR. SODERSTROM:

12   Q.   If we look at part two, if the patient missed a dose and

13   then came back between four to nine months for their first

14   injection but then missed the second reinitiation dose, is

15   there a separate dosing regimen for that person?

16   A.   So is your question what do you do with that person then?

17   Q.   It's actually more simple.       It's just is there a separate

18   dosing regimen for a person that came back on day one but then

19   missed the second reinitiation loading dose?

20   A.   No.

21   Q.   That's just something that a clinician would be able to

22   deal with, right?

23   A.   That would be the situation we would face, right.

24   Q.   That's because Claim 5 really deals with that patient who

25   misses between four to nine months and returns for all three
                   United States District Court
                      District of New Jersey
                                Appx01988
          Case: 23-2042   Document: 22   Page: 247   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                      130

1    patient misses a dose and shows up a day after nine months

2    since his or her last dose, right?

3    A.   Correct.

4    Q.   So we've discussed a number of different situations, and

5    you'll agree with me that to infringe Claim 5, the patient

6    would have to miss a dose between four and nine months after

7    their last dose, receive the three injections guided by the

8    table of their previous dose, right?

9    A.   Right.

10              MR. SODERSTROM:    Scott, can we pull up Plaintiffs'

11   slide five from the Sommi slides?

12   BY MR. SODERSTROM:

13   Q.   This is one of the slides that you created and walked

14   through earlier, right?

15   A.   Right.

16   Q.   I just want to make sure that at least I understand that

17   based on the testimony you just gave, if a patient misses a

18   dose, there can be -- I'm sorry.

19              If a patient does not miss a dose, there can be no

20   infringement of Claim 5, right?

21   A.   Correct.

22   Q.   If a patient does not return for treatment between four to

23   nine months since last injection, there can be no infringement,

24   right?

25   A.   Correct.
                   United States District Court
                      District of New Jersey
                                Appx01992
          Case: 23-2042    Document: 22   Page: 248   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                       131

1    Q.   If a patient does return between four to nine months since

2    the last injection, but does not return for treatment on about

3    the fourth day to about 12th day after first reinitiation

4    loading dose, no infringement, right?

5    A.   Right.

6    Q.   If a patient returns for treatment between four to nine

7    months, gets the first loading dose, gets the second

8    reinitiation loading dose between the fourth and 12th day but

9    does not return for treatment on about the 23rd day to about

10   the 37th day after first reinitiation loading dose, there's no

11   infringement of Claim 5, right?

12   A.   Correct.

13   Q.   That's just based on the standard language that's used in

14   claim five in determining infringement, right?

15   A.   So the language is if they don't get the first, second, or

16   third doses according to the schedule and they haven't

17   missed -- they don't fit the profile of the patient, then --

18   and the health care provider doesn't follow the instructions as

19   listed there, steps one, two, three, they don't do any one of

20   those things.    If the patient is not that patient, then they

21   don't infringe.      It's pretty straightforward.

22   Q.   I agree.

23              In this case, you have not provided any records of

24   any patients actually missing a dose or showing back up between

25   four and nine months after their last dose and receiving the
                   United States District Court
                      District of New Jersey
                                 Appx01993
          Case: 23-2042   Document: 22   Page: 249   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                           132

1    three injections as provided in claim five, right?

2    A.   That would be a HIPAA violation, actually.

3    Q.   To be clear, we haven't gone through any hurdles to be

4    able to prove that here.     You have not shown any evidence,

5    correct?

6    A.   Correct.

7    Q.   And you have no idea what percentage of patients that miss

8    their dose return for treatment four to nine months after their

9    last dose of PP3M, right?

10   A.   No, I have not.

11   Q.   But the doctor will know about the patient missing a dose

12   when the patient doesn't show up for his or her appointment,

13   right?

14   A.   So physicians have access to the medical record.               They can

15   look up when the last injection was given.

16   Q.   So the doctor will know if the patient misses an

17   appointment?

18   A.   When the patient doesn't show up for their appointments,

19   then that's a pretty good indication that they're going to miss

20   a dose.

21   Q.   And the doctor would want to get the patient back on his

22   or her treatment as soon as possible, right?

23   A.   Correct.

24   Q.   You've never administered Invega Sustenna, correct?

25   A.   I have not.
                  United States District Court
                     District of New Jersey
                                Appx01994
          Case: 23-2042   Document: 22   Page: 250   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                      136

1    A.   Okay.

2    Q.   And, again, much like what we just looked at here, the

3    information provides under administration instructions that

4    "Paliperidone palmitate extended-release injectable suspension

5    should be administered once every three months."

6               Right?

7    A.   That's what it says.

8    Q.   And if we look just above that, in the indications and

9    usage section, do you see where it says that "Extended-release

10   paliperidone palmitate is indicated for treatment of

11   schizophrenia in patients after being treated with one month

12   paliperidone palmitate PP1M for at least four months"?

13              Right?

14   A.   Correct.

15   Q.   There's nothing in this indication and usage section that

16   talks about missed doses, right?

17   A.   There is nothing there.

18   Q.   And so given that the indications and usage section says

19   nothing about a missed dose and Claim 5 is directed to a missed

20   dose, there can be no infringement based solely on the

21   indications and usage section of the label, right?

22   A.   Right.

23   Q.   Instead, the indication requires that the patient has been

24   adequately treated with PP1M for at least four months, right?

25   A.   That's what the indications and usage section says.
                   United States District Court
                      District of New Jersey
                                Appx01998
          Case: 23-2042   Document: 22   Page: 251   Filed: 03/11/2024

                CROSS - R. SOMMI, M.D. - SODERSTROM                      142

1    A.   They often do, yes.

2    Q.   They need to, right?

3    A.   Yeah, they need to.

4    Q.   Now, you've opined in this case that no matter what,

5    regardless of a patient's condition, you're going to start by

6    following the prescribing information, right?

7    A.   Right.

8    Q.   You were engaged by Janssen as an expert in this matter

9    sometime in 2021; is that right?

10   A.   A little over a year ago, yeah.

11   Q.   In April of 2018, you gave a presentation in Indianapolis

12   titled "Examining the pharmacokinetics and pharmacodynamics of

13   long-acting injectable antipsychotics, How to best

14   individualize treatment."

15              Right?

16   A.   I did.

17   Q.   And you're aware that that presentation was posted on the

18   Internet at powerpak.com in May of 2018, right?

19   A.   I am.

20   Q.   Let's take a look at DTX-214.

21              These are the slides that you used for that

22   presentation; is that correct?

23   A.   They appear to be.

24   Q.   I'm sorry?

25   A.   They appear to be.
                   United States District Court
                      District of New Jersey
                                Appx02004
          Case: 23-2042   Document: 22   Page: 252   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                     143

1    Q.   And the audience for this presentation was a group of

2    pharmacists like yourself who practice primarily or exclusively

3    in psychiatric studies, right?

4    A.   Correct.

5    Q.   One of the slides at DTX-214.0045 has a quick case

6    summary.

7                You created this slide, correct?

8    A.   I did.

9    Q.   It says that a patient missed a dose of a once-a-month LAI

10   and says "What should you do?"

11               Right?

12   A.   That's what it says, yes.

13   Q.   And on the next slide, you ask the audience "What would

14   you do?" with five possible options:        Restabilize her on oral

15   meds, then switch back to LAI; give her an injection of her

16   usual dose plus oral overlap; give her a higher dose of her

17   usual LAI antipsychotic; switch LAI antipsychotics; or unsure.

18               Right?

19   A.   Yes.   This is an audience response question just to gauge

20   what they would do.

21   Q.   Right.

22               But here, you did not say to always start by

23   following the prescribing information, right?

24   A.   That wasn't the intent of the question.

25   Q.   That wasn't even an option you suggested to this group of
                   United States District Court
                      District of New Jersey
                                Appx02005
          Case: 23-2042   Document: 22    Page: 253   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                      144

1    pharmacists in 2018, was it?

2    A.   Right.    Well, this is a teaching technique.

3    Q.   So you would not teach them to follow the --

4    A.   No --

5    Q.   -- prescribing information?

6    A.   That's not what I said.        This is a teaching technique

7    where you ask the audience what they would do and then you can

8    talk about the answers that they gave.

9    Q.   And after polling the audience, your statement to the

10   attendees about what a health care provider should do is that

11   any one of those options is good, right?

12   A.   I don't know.    You listened to it.        So I'm sure if that's

13   what I said, that's what I said.

14               I'm sorry you had to listen to the whole thing to get

15   to there.

16   Q.   I've spent hours of my life doing worse things.

17               So at least in 2018, you are not saying that no

18   matter what, regardless of a patient's condition, you're just

19   going to start by following the prescribing information, right?

20   A.   Right.    So I'm not -- so, again, if you go back to the

21   previous slide, I'm not talking about any specific drug.

22   Right?   So that's why there isn't anything specific.

23   Q.   Well --

24   A.   These are all of the options for all of the long-acting

25   injections.
                   United States District Court
                      District of New Jersey
                                Appx02006
          Case: 23-2042   Document: 22    Page: 254   Filed: 03/11/2024

                 CROSS - R. SOMMI, M.D. - SODERSTROM                      145

1    Q.   But when you were talking about specific drugs and

2    packages, you said the problem with package inserts is that

3    they do not consider what the patient looks like and that's a

4    problem, right?

5    A.   I did.

6    Q.   And that's why, despite telling me that no matter what,

7    you'll start with the label, in reality -- and as you told me

8    at your deposition -- whether to reinitiate is actually a

9    decision by the health care provider, depending on the status

10   of the patient.

11               Right?

12   A.   That's right.    The health care provider makes that

13   decision.

14   Q.   And you're aware that as of 2018, Trinza had been on the

15   market for roughly three years, correct?

16   A.   Okay.

17               MR. SODERSTROM:   Thank you, Doctor.

18               THE WITNESS:   Sure.

19               MS. MULLIN:    Shouldn't be more than an hour and a

20   half, Dr. Sommi.     Just kidding.

21                          (REDIRECT EXAMINATION)

22   BY MS. MULLIN:

23   Q.   Okay.    Is Mylan's generic product on the market?

24   A.   It is not.

25   Q.   Have you seen any commercial advertisement, websites, or
                   United States District Court
                      District of New Jersey
                                 Appx02007
          Case: 23-2042   Document: 22   Page: 255   Filed: 03/11/2024

                 REDIRECT - R. SOMMI, M.D. - MULLIN                      148

1                THE COURT:    I'll allow it.

2                MS. MULLIN:   Thank you.

3    BY MS. MULLIN:

4    Q.   In your opinion, Dr. Sommi, will each of Mylan's proposed

5    labels inevitably lead some health care professionals to

6    infringe the Asserted Claims for the '693 patent?

7    A.   Yes.

8                MS. MULLIN:   At this point, I would just like to move

9    for admission of some exhibits.       During his testimony,

10   Dr. Sommi referred to -- and I can ask -- can the Court excuse

11   the witness?

12               THE COURT:    Yes, we're done with you.       You're

13   excused.

14               MS. MULLIN:   He'll be back.

15               (Witness excused.)

16               MS. MULLIN:   I would like to move for admission of

17   Plaintiffs' Exhibit 1, which is the '693 patent, Plaintiffs'

18   Exhibit 43, Plaintiffs' Exhibit 92, Plaintiffs' Exhibit 133,

19   Plaintiffs' Exhibit 162 and Plaintiffs' Exhibit 128A, as well

20   as -- we'll have to get you an exhibit-marked copy of

21   Plaintiffs' Exhibit 595, which is the document that was

22   produced yesterday.

23               I'd also like to move for admission of Plaintiffs'

24   Exhibit 2, Plaintiffs' Exhibit 3, and Plaintiffs' Exhibit 4,

25   which relate to the stipulation on ownership.
                  United States District Court
                     District of New Jersey
                                 Appx02010
           Case: 23-2042    Document: 22   Page: 256     Filed: 03/11/2024

                                                                              151

1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,                   CIVIL ACTION NUMBER:
     LLC,
5
                Plaintiffs,                            2:20-cv-13013-EP-LHG
6    vs.

7    MYLAN LABORATORIES LIMITED,                       BENCH TRIAL VOL. 2
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9
               Defendants.
10   ________________________________
     MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
11   50 Walnut Street
     Newark, New Jersey 07101
12   November 30, 2022
     Commencing at 10:00 a.m.
13
     B E F O R E:          THE HONORABLE EVELYN PADIN,
14                         UNITED STATES DISTRICT JUDGE

15

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25
                   United States District Court
                      District of New Jersey
                                  Appx02054
          Case: 23-2042    Document: 22   Page: 257   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                          159

1    professional work experiences?

2    A.   Yes, it does.

3    Q.   All right.      So let's go through some of those experiences.

4                What is your highest level of education?

5    A.   Medical doctor, University of Michigan, 1972.

6    Q.   Dr. Berger, you received your medical degree in 1972; is

7    that correct?

8    A.   Yes.

9    Q.   And as a medical doctor, do you have a field of specialty?

10   A.   Yes.   My field of specialty within medicine is psychiatry,

11   subspecialty is forensic psychiatry, and my area of expertise

12   is schizophrenia.     Over my career, about half of my patients

13   have carried a diagnosis of schizophrenia.

14   Q.   So I'm going to ask you a little bit about those patients

15   that you've treated with schizophrenia and specifically what

16   you just testified to, about half of your patients being

17   afflicted with schizophrenia.

18               Before I do, do you consider yourself to be a

19   practicing psychiatrist?

20   A.   Well, I am a practicing psychiatrist.          I introduce myself

21   as a medication manager, yes.

22   Q.   And how long have you been a practicing psychiatrist?

23   A.   Fifty years and two months.

24   Q.   That's a fairly impressive amount of time.

25               If you don't mind me asking, what motivates you to
                  United States District Court
                     District of New Jersey
                                 Appx02062
          Case: 23-2042    Document: 22   Page: 258   Filed: 03/11/2024

                    S. Berger - DIRECT - Mukerjee                         162

1    earlier, that about half of the patients you've seen or treated

2    over your career have been afflicted with schizophrenia.

3                Do you recall that?

4    A.   Yes.

5    Q.   Okay.   And if we were to put a number for the Court to how

6    many unique patients you've seen or treated that have been

7    afflicted with schizophrenia, what would that be?

8                And let me put a caveat to that question to you.

9                What I mean by unique patients is just unique

10   patients that you are seeing and then treating for the first

11   time.   I'm not including patients that you might be seeing on a

12   recurring basis.     How many would you say that would be?

13   A.   I'd estimate about 10,000 unique psychiatric patients over

14   my career.

15   Q.   And in your treatment of those patients, do you prescribe

16   medications?

17   A.   Yes, I do.      As I said, I call myself a medication manager.

18   Q.   So then bringing the issues a little bit closer to what

19   this case entails, do you have any experience prescribing

20   paliperidone palmitate?

21   A.   Yes, a lot.

22   Q.   Do you have any experience prescribing Invega Sustenna?

23   A.   Yes, a lot of experience.

24   Q.   So since you've prescribed Invega Sustenna, could you just

25   briefly describe in your own words, what is Invega Sustenna?
                  United States District Court
                     District of New Jersey
                                 Appx02065
          Case: 23-2042     Document: 22   Page: 259   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                           163

1    A.   Sure.   Invega Sustenna is a medication used to treat

2    schizophrenia.       It's a long-acting injection intended to last

3    about a month.       It's a monthly treatment for schizophrenia.

4    Q.   Is it a paliperidone palmitate formulation?

5    A.   Yes, it is.

6    Q.   Okay.   And really bringing it to the issues of this case,

7    do you have any experience with prescribing Invega Trinza?

8    A.   Yes, I have experience with that also.

9    Q.   You've actually prescribed Invega Trinza?

10   A.   A lot of times, yes.

11   Q.   Okay.   So the same question.

12               If you could briefly just explain, what is Invega

13   Trinza in your own words?

14   A.   It's the three-month equivalent of Invega Sustenna, the

15   one-month preparation.

16   Q.   So we're going to talk at some point about just

17   prescribing informations in general, but without putting

18   anything up, do you know what Invega Trinza is actually

19   indicated for?

20   A.   Yes.    It's indicated for the treatment of schizophrenia.

21   Q.   And Invega Trinza is also a paliperidone palmitate

22   formulation; is that correct?

23   A.   Yes.

24   Q.   Okay.   Just so the record is clear then, what is the

25   difference between Sustenna and Trinza?
                   United States District Court
                      District of New Jersey
                                  Appx02066
          Case: 23-2042    Document: 22   Page: 260     Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                            174

1    would be called a change in the treatment plan and the health

2    care professional doesn't have control over that anyway.

3                Point B, there are two places in the package insert

4    that say missed doses should be avoided.            That's the exact

5    opposite of encouraging a patient to miss a dose.               It

6    encourages the patient to stay on the dose, get the dose at the

7    scheduled times.

8                The fourth point, standard of care, is an important

9    one to me as a prescribing physician.            Standard of care drives

10   treatment decisions; the package insert does not.               The

11   physician is required to examine the patient and determine,

12   according to the standard of care, the treatment that's

13   indicated for that patient at that time.            That decision is

14   driven by the standard of care, not by the label.

15   Q.   All right.      Thank you for that, Dr. Berger.

16               You said prescribing information.

17               Is that sometimes referred to as the label?

18   A.   Yes.

19   Q.   Okay.   So if I use prescribing information or label

20   interchangeably, will you understand what I'm referring to?

21   A.   Yes.

22   Q.   Okay.   All right.

23               So you just summarized your opinions, and I

24   appreciate that.     And before we go into, though, the details of

25   those opinions, I want to do a little bit of background on just
                  United States District Court
                     District of New Jersey
                                 Appx02077
          Case: 23-2042    Document: 22   Page: 261   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                             175

1    schizophrenia itself, much like what plaintiffs' expert did as

2    well.

3                What is schizophrenia?

4                And with that, why don't we go to your slide two.

5    A.   Schizophrenia is a serious mental illness.            It affects

6    about 1% of the world's population, commonly starts before age

7    25, and once it starts, it's there for the rest of the person's

8    life.

9    Q.   And does schizophrenia impact patients' lives, or those

10   patients that are afflicted with schizophrenia?

11   A.   Yes, a huge impact.      Ordinarily, people with schizophrenia

12   function at a lower level than the people in society who don't

13   have schizophrenia.     It's common for schizophrenics to be

14   unemployed because they don't have the mental stability to hold

15   down employment and, therefore, they're usually in poverty,

16   often homeless.      They usually live either with relatives or in

17   a group home or even at a homeless shelter, and sometimes under

18   a bridge.   They're often in jail or prison because their

19   behavior gets them in trouble.        And, unfortunately, they also

20   often die by suicide.      About 10% of schizophrenic patients die

21   by suicide.

22   Q.   Yes, it is indeed a tragic affliction.

23               What about psychosis?      Because I think during this

24   trial, the term psychosis, at least, will be battered around.

25   What does psychosis refer to?
                   United States District Court
                      District of New Jersey
                                 Appx02078
          Case: 23-2042    Document: 22    Page: 262   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                            176

1    A.   Psychosis is loss of contact with reality.             It's commonly

2    manifested as hallucinations like hearing things that are not

3    there or having ideas, thinking that things are happening when

4    they're not happening.      Like the aliens are listening in on my

5    thoughts.

6    Q.   Is there any relationship between psychosis and

7    schizophrenia?

8    A.   Yes.   Schizophrenia is a type of psychosis.

9    Q.   So then keeping the focus just on schizophrenia, is there

10   currently a cure for schizophrenia?

11   A.   No, no cure.

12   Q.   So if there's no cure for schizophrenia, is schizophrenia

13   at least treatable?

14   A.   Well, yes.      And that's the purpose of all these

15   medications, to treat schizophrenia, to reduce the symptoms or

16   hopefully eliminate the symptoms so that a person can live a

17   more normal life than without medications.

18   Q.   So you mentioned medications.

19               What type of medications are used to treat

20   schizophrenia?

21   A.   A group of medications called antipsychotic medications.

22   Q.   And that treatment with medications, is that the same for

23   any and all patients that are afflicted with schizophrenia?

24   A.   No.    Each patient is unique.       Each patient has his own

25   symptoms, his own situation.         For instance, is he homeless or
                  United States District Court
                     District of New Jersey
                                 Appx02079
          Case: 23-2042   Document: 22     Page: 263   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                               177

1    does he live with relatives.        Each patient has his own response

2    to treatment, how much the medication reduces the symptoms.

3    Each patient has his own set of side effects, and side effects

4    can be either desirable side effects or undesirable side

5    effects.

6    Q.   Thank you, Dr. Berger.         Let's go to slide three.

7               So I see a lot there on that slide, Dr. Berger, and

8    I'm not even going to pretend to try to decipher that.                So what

9    are you trying to show the court with this slide?

10   A.   This slide shows a progression of the development and use

11   of antipsychotic medication.        It starts on the left with

12   Thorazine chlorpromazine in 1952, first as a tablet and then it

13   and the other medications are gradually introduced, started as

14   tablets, and then became liquids, and then become introduced as

15   short-acting injectable medications, and then long-acting

16   injectable medications.     So those are the blue ones on the left

17   side of the screen.

18              The green ones on the right side of the screen called

19   second generation or atypical antipsychotic medications began

20   in 1988 with clozapine and Clozaril.          Again, it started with

21   pills, and then liquids, and then short-acting injections, and

22   then long-acting injections.        And as you can see, a lot of them

23   were introduced after clozapine in 1988.

24   Q.   And so bringing it to the particular drug at issue here,

25   Invega Trinza, is Invega Trinza an antipsychotic medication?
                  United States District Court
                     District of New Jersey
                                Appx02080
          Case: 23-2042   Document: 22   Page: 264   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                         182

1    opinions?

2    A.   Yes.

3    Q.   Okay.

4                Did anybody else rely on this article?

5    A.   Yes, I noticed that Dr. Sommi referenced this article in

6    his opening report.

7    Q.   So plaintiff's infringement expert relied on this article

8    as well?

9    A.   Yes.

10   Q.   Okay.   And to your knowledge, though, did Dr. Sommi opine

11   in any way about patients making a conscious decision to not

12   comply with their medication regimen?

13   A.   I saw nothing about that in Dr. Sommi's testimony or his

14   report.

15   Q.   You talked about nonadherence and compliance.

16               Is patient nonadherence still a problem today?

17   A.   Yes, a big problem.

18   Q.   You said that you have no issues with the drug Trinza,

19   correct?

20   A.   Yes, that's correct.

21   Q.   Has Trinza solved issues of patient nonadherence?

22   A.   No.    It's still a problem, still a big problem.

23   Q.   So then, bringing it to the patent, let me ask you this --

24   and it might sound like a bit of an odd question -- but does

25   the phenomenon of patient nonadherence still occur despite the
                  United States District Court
                     District of New Jersey
                                Appx02085
          Case: 23-2042   Document: 22   Page: 265   Filed: 03/11/2024

                    S. Berger - DIRECT - Mukerjee                           186

1    Q.   Okay.   I see to the right of the claim, you have a number

2    of text boxes, correct?

3    A.   Yes.

4    Q.   Okay.

5                You have also done that color coding or that color

6    designation with those text boxes, yellow and the lighter shade

7    of blue?

8    A.   Yes.

9    Q.   Okay.

10               What are you signifying there in those text boxes to

11   the right of the claim?

12   A.   Those are the parts of the claim that correlate to the

13   seven boxes I have on the right.

14   Q.   Got it.

15               So, do you mind then just walking through those text

16   boxes for the Court and keeping in mind your color coding

17   itself and what that signifies?

18   A.   Sure.   So the first box says miss a dose.          The patient

19   does that.   The patient does that on his own volition without

20   any input from the health care professional.          He misses it

21   either because he forgets or because he decides not to do it.

22   Then the second box shows that then the patient desires to

23   resume treatment, desires to continue treatment, and indeed

24   comes back in to continue treatment exactly four to nine months

25   after the last dose of -- the last dose of PP3M.
                  United States District Court
                     District of New Jersey
                                Appx02089
            Case: 23-2042     Document: 22   Page: 266   Filed: 03/11/2024

                     S. Berger - DIRECT - Mukerjee                                187

1    Q.     Okay.

2                 So underneath that now, now we see the lighter shade

3    of blue text box.

4                 What are you signifying there?

5    A.     That's what's done by the health care professional.              So

6    when the patient comes back in after four to nine months, the

7    health care professional then does something.              He examines the

8    patient, determines according to the standard of care the

9    indicated treatment, and treats the patient.              According to this

10   regimen, he treats the patient with a dose of PP1M,

11   reinitiation loading dose.

12   Q.     Okay.   And underneath that again, you have a yellow text

13   box.    Same question again, more recordkeeping exercise.

14                What are you signifying there?

15   A.     The next yellow box is the next thing the patient does.

16   After that first office visit, then the patient comes back in

17   four to 12 days later, again, because the patient decides to of

18   his own accord, no input from the health care professional, he

19   comes back in.         That's the patient action.

20   Q.     Then that follows another text box that's in the lighter

21   shade of blue, correct?

22   A.     Correct.

23   Q.     And you're signifying what there?

24   A.     So when the patient comes back in after four to 12 days,

25   the health care professional does the same thing, evaluates the
                    United States District Court
                       District of New Jersey
                                    Appx02090
          Case: 23-2042   Document: 22   Page: 267    Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                                188

1    patient, determines according to the standard of care the

2    indicating treatment, and provides treatment.           According to

3    this regimen, that treatment is the second reinitiation loading

4    dose of PP1M.

5    Q.   So keeping with the exercise that we've just engaged in

6    then, what does the text box that follow, what does that

7    signify?

8    A.   Next is the third yellow box.       So after that, the next

9    thing that happens is the patient decides of his own accord to

10   come back in 23 to 37 days later of his own accord, meaning

11   also of his own decision.     It's his action.        The health care

12   professional doesn't do that; the patient does that.                 The

13   patient comes back in.

14   Q.   To round it out then, the final text box that's in the

15   shade of blue, what are you signifying there?

16   A.   The last blue box, the patient then -- the health care

17   professional then does the same thing.          He examines the

18   patient, treats the patient according to the standard of care,

19   and in this regimen, that means administering a dose of PP3M.

20   Q.   All right.

21              So, let me ask you this question -- and truthfully,

22   Dr. Berger, you may be asked this question on cross, but even

23   for my purposes I'd like to know.

24              You have in that first text box miss a dose.

25              Where in the claim does it say miss a dose?
                  United States District Court
                     District of New Jersey
                                Appx02091
          Case: 23-2042    Document: 22   Page: 268   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                              189

1    A.   In the text on the left, the first yellow highlighted

2    section that says wherein said patient had been last

3    administered a PP3M injection four to nine months ago.               It says

4    the patient was administered the medication, the patient was

5    supposed to get the medication, and he didn't.            Why didn't he?

6    Because the patient missed the dose.         Patient action; patient

7    missed the dose.

8    Q.   And PP3M is a three-month formulation; is that correct?

9    A.   Yes, as I said earlier.

10   Q.   All right.      So Dr. Berger, on this slide itself, you just

11   walked us through several steps that you've outlined there.

12   I'm going to confront a criticism that plaintiffs had.

13               Did you rewrite any of the language of Claim 5 to

14   arrive at your opinion regarding those steps?

15   A.   No.

16   Q.   Now, Dr. Berger, you've read Dr. Sommi's trial testimony,

17   correct?

18   A.   Yes.

19   Q.   Dr. Sommi says that that limitation that you've

20   highlighted there in the yellow on the claim -- so I'm just

21   focused on that first yellow highlight of the claim -- that

22   says wherein said patient had been last administered a PP3M

23   injection four to nine months ago.

24               Do you see that?

25   A.   Yes.
                  United States District Court
                     District of New Jersey
                                 Appx02092
            Case: 23-2042     Document: 22   Page: 269     Filed: 03/11/2024

                     S. Berger - DIRECT - Mukerjee                                   190

1    Q.     Okay.   So Dr. Sommi says that that very same limitation,

2    the one that you highlighted there, well, that's not a step,

3    that's not an action that anyone does.              That's simply a -- I'm

4    sorry.    I'm going to quote it -- "a descriptor of the clinical

5    situation."

6                 Do you agree with that opinion?

7    A.     No, I do not agree with that opinion.

8    Q.     Why not?

9    A.     What Dr. Sommi is describing is that the patient has

10   schizophrenia.         The patient doesn't choose to have

11   schizophrenia.         He doesn't decide to have schizophrenia.            He

12   doesn't go to the store and pick out schizophrenia to put on,

13   like, a jacket.        It's something that happens.          It happens to

14   him.    He's the victim of schizophrenia.

15                This claim says the patient misses the dose.                 The

16   patient is already on the medication; he misses his next dose;

17   that's the something the patient does.              The patient decides to

18   do or it happens because the patient does something else.                   He

19   forgets to do it.        It's patient action, patient decision, and

20   entirely within the patient's control.

21                Having schizophrenia isn't within his control.

22   Missing the dose is within his control.

23   Q.     To your knowledge, has Dr. Sommi ever treated a patient

24   with schizophrenia?

25   A.     Well, Dr. Sommi is a pharmacist.             He doesn't treat
                    United States District Court
                       District of New Jersey
                                    Appx02093
          Case: 23-2042    Document: 22   Page: 270   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                          191

1    patients.

2    Q.   Since we're talking about actions of two actors, can PP3M

3    be self-administered?      In other words, can the patient just do

4    it him or herself?

5    A.   No, this medication is not intended to be

6    self-administered.

7    Q.   So Dr. Berger, I'm going to pose a hypothetical to you.

8                All right?

9                Say I had a claim -- and assume right now for my

10   hypothetical purposes, don't worry about the specification,

11   don't worry about anything there, okay?          Just isolate it to a

12   claim -- say the claim said a method for treating

13   schizophrenia by administering a therapeutically effective

14   amount of PP3M.      Say it stopped right there.

15               In your opinion, if that was the claim -- and be it

16   as it may, that's not the real world, but I'm posing this

17   hypothetical -- if the claim stopped right there, would your

18   opinion be that that claim called for patient action?

19   A.   No.    What you described calls for action on the part of

20   the health care professional.        It says what the health care

21   professional does, not what the patient does.

22   Q.   All right.      Thank you for that, Dr. Berger.

23               With respect to your opinion here, though, regarding

24   the claim requiring two actors, is that opinion supported

25   elsewhere in the patent?
                  United States District Court
                     District of New Jersey
                                 Appx02094
          Case: 23-2042   Document: 22   Page: 271   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                         202

1    Q.   And by how far would the Michigan player be outside the

2    window?

3    A.   One day outside the window.

4    Q.   Let's move on to now the Michigan State guy, patient B.

5                What are you showing regarding patient B?

6    A.   Patient B is an identical patient, but he comes back for

7    his injection exactly four months after the last injection.

8    Q.   So now, would patient B actually fall within the four to

9    nine month missed dose window of the Asserted Claims?

10   A.   Yes, he does.

11   Q.   Okay.   Now, you mentioned that patient B and patient A are

12   identical.   By that, do you mean the clinical considerations

13   with respect to those patients?

14   A.   Yes.

15   Q.   Okay.   So I want to know clinically speaking what you

16   would do for each of these patients?        And again, assuming then

17   they present identical clinical considerations, except for the

18   fact that patient A came one day before and patient B came one

19   day later.   How would you treat patient A and B?          These

20   patients, they're identical in every respect, except for the

21   fact that A came one day before.

22   A.   I would treat them -- as a psychiatrist with over 50

23   years' experience, I would treat them -- assuming that the

24   standard of care indicates they should stay on paliperidone

25   palmitate -- I would treat them both with PP3M injections.
                  United States District Court
                     District of New Jersey
                                Appx02105
          Case: 23-2042   Document: 22   Page: 272   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                           203

1    Q.   So then if I'm understanding that correctly, you would --

2    regardless of the fact that they're one day apart, you would

3    prescribe both patient A and B the previously missed dose of

4    PP3M?

5    A.   That's correct.     I have slides that illustrate this

6    analogy.

7    Q.   We can get into that.

8                Again, you would do that despite the fact that

9    there's this one-day disparity between the two patients.

10               Is that correct?

11   A.   Yes.

12   Q.   Why?

13   A.   Both patients have proven themselves to be nonadherent.

14   They both have shown that they don't come back for their doses

15   when they're supposed to.      It is wiser and safer to treat them

16   both with a medication that protects them from the symptoms of

17   schizophrenia for three months than to treat them with a

18   medication that protects them for only one month.            That's why.

19   Q.   So would you ever consider or take into account what the

20   patient's response is to the medication prior to coming back?

21   A.   Well, sure.     And that's required by the standard of care.

22   The health care professional has to evaluate the patient, and

23   that includes evaluating the reason why the dose was missed in

24   the first place.

25               Should I give examples or go on?
                  United States District Court
                     District of New Jersey
                                Appx02106
          Case: 23-2042   Document: 22   Page: 273    Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                          204

1    Q.   No, I think that's fine.

2                Let me ask you this question because I think you've

3    outlined your position there.

4                We're going to talk a lot about the prescribing

5    information on the label when it comes to your opinions

6    regarding specific intent.

7                In connection, though, with your opinions here at

8    this time on the divided infringement issue, have you reviewed

9    the prescribing information for Invega Trinza?

10   A.   Yes.

11   Q.   Okay.   And had you actually reviewed that prescribing

12   information even prior to your participation in this particular

13   matter?

14   A.   Yes, of course.

15   Q.   So keeping with that clinical hypothetical that we were

16   talking about, the patients being one day apart, and that's

17   part of the reason I wanted to move into this particular part.

18               If a provider were to blindly follow the prescribing

19   information for the Invega Trinza, how would that prescriber

20   treat patient A and patient B?      How would those patients be

21   reinitiated if the practitioner were to just blindly follow the

22   label, again, keeping with the hypothetical that these patients

23   are one day apart?

24   A.   So the animated slide shows this.          Patient A would be

25   treated with an injection of PP3M.       Patient B would be treated
                  United States District Court
                     District of New Jersey
                                Appx02107
          Case: 23-2042   Document: 22   Page: 274   Filed: 03/11/2024

                    S. Berger - DIRECT - Mukerjee                        210

1                Scott, I'd like to point Dr. Berger to Section 1.

2    BY MR. MUKERJEE:

3    Q.   Dr. Berger, I have Section 1 blown up.

4                What is Section 1 in Mylan's proposed prescribing

5    information?

6    A.   It's the section of the prescribing information that

7    describes the indications and usage of Mylan's ANDA products.

8    Q.   Have you reviewed this section in its entirety?

9    A.   Yes.

10   Q.   Is this the actual indication that the drug would be

11   marketed for?

12   A.   Yes, the treatment of schizophrenia.

13   Q.   In your opinion, does this section -- the section that

14   outlines what the drug is actually indicated for and how it'll

15   be used -- does that infringe upon or do any of the indications

16   that are set forth here infringe upon Claim 5?

17   A.   No, they do not infringe.

18               MR. MUKERJEE:   Your Honor, for my oft praise of

19   recordkeeping exercises, I'm going to try to keep the

20   examination limited to Claim 5 because that is, of course, the

21   independent claim.

22               As Dr. Berger has testified to, the other Asserted

23   Claims all depend from Claim 5.       So whatever limitations there

24   are there flow through to the Dependent Claims.

25   BY MR. MUKERJEE:
                  United States District Court
                     District of New Jersey
                                 Appx02113
            Case: 23-2042   Document: 22   Page: 275   Filed: 03/11/2024

                     S. Berger - DIRECT - Mukerjee                         214

1    yes.

2    Q.     Okay.

3                  So then is it fair to say prior to being initiated on

4    PP3M, a patient had to at least have four monthly doses of

5    PP1M?

6    A.     That's the common practice, yes.

7    Q.     In your professional opinion, in your clinical opinion, if

8    a patient is non-adherent on PP3M, does it make sense to switch

9    a patient back to a medication they previously adhered to,

10   PP1M?

11   A.     Yes, that makes sense.

12   Q.     Let's go to Section 2.17.

13                 Dr. Berger, I think you know my -- my mantra now.

14                 Have you reviewed Section 2.7?

15   A.     Yes.

16   Q.     What is Section 2.7?

17   A.     It's a section of a label that describes switching a

18   patient from PP3M to Invega -- to paliperidone tablets.

19   Q.     Paliperidone tablets.

20                 So a patient is on PP3M.     This section deals with

21   then switching that patient from the long-acting depot

22   injection of paliperidone palmitate to now an oral tablet

23   formulation; is that correct?

24   A.     Yes.

25   Q.     With the use of Mylan's ANDA products, in accordance with
                    United States District Court
                       District of New Jersey
                                  Appx02117
          Case: 23-2042    Document: 22   Page: 276   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                          217

1    you have a table in Section 2.7 that's setting forth a four- to

2    nine-month timeframe window, correct?

3    A.   Yes, four to nine months is included in this table.

4    Q.   Would that be infringing?

5    A.   No, this section does not infringe the claims.

6    Q.   So if a patient came to you, Dr. Berger, after being on

7    PP3M or you put that patient on PP3M and comes back within four

8    to nine months, is switching to a tablet an option that you

9    would consider clinically?

10   A.   Yes, certainly one of the many options.

11   Q.   Going back then to Dr. Sommi, who you are rebutting here,

12   you've just outlined sections in the label that are

13   non-infringing.

14               Did Dr. Sommi provide any analysis regarding

15   non-infringing uses in his opinions at all?

16   A.   I saw none in his testimony or in his report.

17   Q.   All right.      Thank you for that, Dr. Berger.

18               I want to go to your point about no encouragement or

19   control.

20               Let's go -- now, earlier you testified that

21   prescribers have no control over whether their patients return,

22   nor do they know when the patient will return for treatment; is

23   that correct?

24   A.   Yes.

25   Q.   Do you recall that testimony?
                  United States District Court
                     District of New Jersey
                                 Appx02120
          Case: 23-2042   Document: 22   Page: 277   Filed: 03/11/2024

                   S. Berger - DIRECT - Mukerjee                         231

1               In your 50 years of experience -- and granted, Trinza

2    has been around since 2015 -- do you ever recall having a

3    patient who had schizophrenia, misses his or her dose of PP3M,

4    returns between a four- to nine-month window, not one day

5    before, not one day less, and you treated them exactly in

6    accordance to the table that we just saw in that linear

7    fashion?   Do you ever recall doing that?

8    A.   I recall that I have never done that.

9    Q.   Okay.   Just for argument's sake, again, knowing that you

10   have never encountered that, if that were to occur, in your

11   opinion, would that be exceptional?

12   A.   If I were to follow the table?

13   Q.   No.   Just having that situation itself, the patient

14   missing a dose of PP3M, coming back within four to nine months

15   and then following that particular regimen, if that were to

16   occur, would that be exceptional?

17   A.   Yes, it certainly would be exceptional.          Uncommon.

18   Q.   Dr. Berger, Dr. Sommi has testified -- and you might even

19   get this on cross -- that it's inevitable that a prescriber

20   would infringe that one lone section of -- one lone portion of

21   Section 2.3 in the entirety of the prescribing information.

22              Do you agree with that opinion, that it is inevitable

23   that someone would infringe?

24   A.   No, I don't agree with that.

25   Q.   Why not?
                  United States District Court
                     District of New Jersey
                                Appx02134
          Case: 23-2042   Document: 22   Page: 278   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                           244

1    Trinza label says about dosing a patient who last received a

2    dose of Trinza between four and nine months ago, right?

3    A.   I am familiar with what it says, yes.

4    Q.   Dr. Berger, the instructions on the Invega Trinza label

5    for dosing a patient who last received Trinza four to nine

6    months ago are the same as the dosing regimen in Claim 5 of the

7    '693 patent, right?

8    A.   It's not an instruction.

9    Q.   But my question is, is the Invega Trinza label the same as

10   Claim 5 of the '693 patent?

11   A.   That wasn't your question.

12   Q.   Well, my question now is, is the Invega Trinza label the

13   same as Claim 5 of the '693 patent?

14   A.   The table is the same as in the prescribing information.

15   Q.   Well, when I asked you at your deposition, you said yes,

16   right?

17   A.   I don't know.    You'll have to show me my deposition.

18   Q.   Let's go to page 150 of the transcript.

19              MR. MUKERJEE:    Your Honor, I'm sorry, how is this

20   impeachment?   The witness just testified --

21              MR. FISCHER:    Well, I just asked him what he said and

22   he said "You'll have to show me."

23              MR. MUKERJEE:    But that's right.      It's not right,

24   Aron.    This isn't proper impeachment.

25              MR. FISCHER:    He gave a different answer from what he
                  United States District Court
                     District of New Jersey
                                Appx02147
          Case: 23-2042    Document: 22   Page: 279   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                           245

1    gave in his deposition.

2               THE COURT:     I'll allow it.

3    BY MR. FISCHER:

4    Q.   Dr. Berger, this is at line 12 of page 150.

5               "Question:     And the Invega Trinza label is the same

6    as Claim 5 of the '693 patent, right?

7               "Answer:    That's my understanding, yes."

8               Did I ask you that question and did you give that

9    answer, Dr. Berger?

10   A.   When you asked me this question, you were referring to the

11   table and my answer was in regard to that.          When I said that's

12   my understanding, that was my understanding of what you were

13   asking.

14   Q.   Okay.

15              The question was did I ask you that question and did

16   you give that answer?

17   A.   The text speaks for itself.        I'm explaining why it says

18   that.

19   Q.   Thank you, but if you could, just answer the question,

20   too, please.

21              The question is did I ask you that question and did

22   you give that answer?

23   A.   The text speaks for itself.        Yes, that's what it says.

24   Q.   You also reviewed a label for Mylan's proposed ANDA

25   product; is that right?
                  United States District Court
                     District of New Jersey
                                 Appx02148
          Case: 23-2042   Document: 22   Page: 280   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                          251

1                Isn't it true, Dr. Berger, that in your experience, a

2    large percentage of patients who are on Invega Trinza miss

3    doses?

4    A.   Yes.

5    Q.   And you've estimated that more than 50% of the patients on

6    Trinza that you've treated are noncompliant, correct?

7    A.   I did say that, yes.

8    Q.   Okay.   And of the patients that miss doses, you

9    estimated -- you've estimated that about 20 to 30% of them come

10   back for another appointment 16 or more weeks later, right?

11   A.   I don't remember the numbers, but, yes, I probably said

12   that.

13   Q.   And is that correct?

14   A.   Yes, I think that is correct.

15   Q.   Okay.   Now, Dr. Berger, a couple weeks back, when we were

16   delivering opening statements on infringement -- I'd like to go

17   to the next slide.

18               My colleague, Ms. Mullin, referred to your deposition

19   testimony where you said that more than -- that it would be

20   fair to say that more than 50% of the patients on Trinza that

21   I've treated are noncompliant.

22               And then in their opening statement, Mylan's counsel

23   said that this was misleading.       They said --

24               MR. MUKERJEE:   Your Honor, Dr. Berger wasn't there

25   and he hasn't laid any foundation whether he's reviewed the
                  United States District Court
                     District of New Jersey
                                 Appx02154
          Case: 23-2042   Document: 22    Page: 281   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                                257

1    testified that he didn't recall whether he was asked.                So

2    that's what impeachment is.

3                MR. MUKERJEE:   It's not.

4                THE WITNESS:    Is there a question?

5    BY MR. FISCHER:

6    Q.   Yes.   Did I ask you that question and did you give that

7    answer?

8    A.   I have to explain my answer.

9    Q.   Can you answer the question first, please?

10   A.   I'm under oath to tell the truth.

11   Q.   It's a yes-or-no question.

12   A.   The text says what it says.        The text says that.          I agree

13   that the text says that.

14   Q.   So now I'll ask a question, a different question, which is

15   isn't it true that you have supervised residents who

16   reinitiated patients on Trinza who have last seen Trinza at

17   least four months ago and fewer than nine months ago?

18   A.   It is true that I have supervised residents who have tried

19   to reinitiate patients, yes.        I'm not saying that they were

20   successful and they went through all the steps.

21   Q.   The residents that you have supervised who re-initiate

22   patients according to the Trinza label specifically, that was

23   for patients who last received Trinza between four and nine

24   months ago, correct?

25   A.   Yeah, they tried but they were unsuccessful.
                  United States District Court
                     District of New Jersey
                                 Appx02160
          Case: 23-2042   Document: 22   Page: 282   Filed: 03/11/2024

                     S. Berger - CROSS - Fischer                         258

1    Q.   And you didn't come -- there have been times when they

2    re-initiated patients on Trinza, right?

3    A.   Well, for instance, they re-initiated the first

4    re-initiation loading dose, but not the second.

5    Q.   Did they re-initiate patients on Trinza according to the

6    label?

7    A.   According to the label, they tried but they were

8    unsuccessful.

9    Q.   Okay.    And you testified differently at your deposition,

10   didn't you?

11   A.   Well, you didn't let me finish in the deposition.

12   Q.   Did I interrupt you in your deposition?

13   A.   I don't remember, but the text says that we didn't get to

14   that part.

15              MR. FISCHER:    I apologize.     I have to impeach again

16   because he's giving a different answer.

17   BY MR. FISCHER:

18   Q.   Didn't I ask you the question "Have you supervised

19   residents who re-initiated patients on Trinza according to the

20   instructions on the Trinza label after a patient had last

21   received Trinza at least four months ago and fewer than nine

22   months ago?" and didn't you answer "There have been times,

23   yes"?

24   A.   I'm clarifying for you what re-initiating means in this

25   particular sentence.
                   United States District Court
                      District of New Jersey
                                Appx02161
          Case: 23-2042   Document: 22     Page: 283   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                             259

1    Q.   You're testifying differently than you testified at your

2    deposition, right?

3    A.   I'm clarifying it.

4    Q.   All right.

5                So let's take a look at what Mylan's label

6    instructions say about missed doses.          This is --

7                MR. FISCHER:    I guess now we'll have to close the

8    Court?

9                MR. MUKERJEE:    Right.     Thank you.     Thanks.

10               So, Your Honor, in keeping with --

11               THE COURT:   Okay, gentlemen.

12               Sir, step out.

13               And if there's anyone else who is not related to

14   either of the represented parties or court --

15               Court personnel may remain.

16               MR. MUKERJEE:    Your Honor, thank you again.

17               THE COURT:   You're welcome.

18               MR. FISCHER:    May I proceed?

19               THE COURT:   Yes, please.

20   BY MR. FISCHER:

21   Q.   So this is PTX-162.      It's in your binder.         We'll put it on

22   the screen as well.      This is Mylan's proposed label for PP3M.

23               On the first page, at the bottom left, it refers to

24   missed doses, right?

25   A.   Yes.
                  United States District Court
                     District of New Jersey
                                  Appx02162
          Case: 23-2042    Document: 22   Page: 284   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                           261

1    A.   That's what it says.

2    Q.   So the label's making a conditional statement here, right?

3    A.   If -- yes.      "If" is a conditional statement.

4    Q.   So it's saying don't miss doses, but if you do miss doses,

5    go to table two, right?

6    A.   That's what it says.

7    Q.   And then table two, as we've discussed, is the same

8    re-initiation regimen as found in Claim 5 of the '693 patent,

9    correct?

10   A.   It's a description of the doses and the timing of the

11   re-initiation regimen, yes.

12   Q.   That's the same as the patent?

13   A.   Yes.

14   Q.   Now, Dr. Berger -- and I think you mentioned this again on

15   direct -- you said that in your practice -- it may have been

16   the last question you were asked on direct, actually -- you

17   said you don't follow the recommendations in table two for

18   patients who come back four to nine months after their last

19   dose, right?

20   A.   I testified that it has not happened in my recollection in

21   my practice.

22   Q.   Though it has happened with the residents under your

23   supervision, right?

24   A.   No, it has not.

25   Q.   Okay.   Despite what you said at your deposition?
                  United States District Court
                     District of New Jersey
                                 Appx02164
            Case: 23-2042     Document: 22   Page: 285   Filed: 03/11/2024

                      S. Berger - CROSS - Fischer                                 262

1    A.     I clarified -- I tried to clarify.

2    Q.     Okay.

3    A.     But you wouldn't let me.

4    Q.     So, for patients who come back between four and nine

5    months since their last dose of Trinza, your recommendation is

6    just to give them another dose of PP3M, right?

7    A.     Well, that has been my practice and my recommendation,

8    yes.

9    Q.     And that's because you think it's undesirable to ask a

10   patient who's already shown themselves to be noncompliant by

11   missing a dose to come back for multiple re-initiation doses of

12   PP1M, right?

13   A.     I have to explain.       Not undesirable.      It's unsafe and it's

14   unreasonable because these are noncompliant patients and they

15   don't do that.         So the dose regimen cannot be followed when the

16   patient doesn't show up, even if it's a re-initiation dosage

17   schedule.      If the patient doesn't show up, it can't be done.

18   That's what I'm saying that this patent calls for.                It calls

19   for something that can't be done.

20   Q.     So it's your view, if I understand you correctly, that the

21   instructions in Claim 5 of '693 patent are unreasonable and

22   unsafe.

23                Is that right?

24   A.     That's my testimony, yes.

25   Q.     So before Invega Trinza came out, if someone had showed
                     United States District Court
                        District of New Jersey
                                    Appx02165
          Case: 23-2042   Document: 22   Page: 286   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                          263

1    you the missed dose instructions of Claim 5 and said, is this a

2    good idea for how to dose a patient who had their last dose

3    four to nine months ago, you would have said it was a bad idea,

4    right?

5    A.   Yes.

6    Q.   You would have said it was unreasonable, right?

7    A.   Yes.

8    Q.   You would have said it was unsafe?

9    A.   Yes.

10   Q.   You would have said don't do it, right?

11   A.   I would have said be guided by the standard of care, not

12   by the package insert.

13   Q.   This is with no package insert.

14   A.   What's the question?

15   Q.   I'll withdraw the question.

16               Dr. Berger, some health care providers do follow

17   label instructions for patients who have missed a dose of PP3M

18   by four to nine months, right?

19   A.   I'm sure they try.

20   Q.   And you're sure they do, right?

21   A.   No.

22   Q.   Well, when you say they try, they administer the doses

23   called for by the -- by Claim 5, correct?

24   A.   I'm sure there are instances in which they try, but if the

25   patient doesn't show up, the regimen cannot be implemented.
                  United States District Court
                     District of New Jersey
                                Appx02166
          Case: 23-2042   Document: 22   Page: 287     Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                                 264

1    Q.   Sometimes the patient will show up, right?

2    A.   Sometimes patients show up, yes.

3    Q.   And sometimes the patient will be in a facility where they

4    don't have to show up because they're already there, right?

5    A.   That sometimes happens, yes.       But even in that case, the

6    patient may still refuse it.

7    Q.   And patient has to agree to get the injection, right?

8    A.   Yes.

9    Q.   That's true of almost all drugs, right?

10   A.   Yes.   Only in emergencies can a medication be given

11   without a patient's consent.

12   Q.   Now, at your deposition, you compared the label

13   instructions to the speed limit.

14               Do you remember that?

15   A.   Yes.

16   Q.   So, the label instructions are the speed limit telling you

17   what the government wants you to -- how fast the government

18   wants you to drive, right?

19   A.   Now, you'll remember that in my deposition, I said no,

20   those are not instructions, there are no instructions here.

21   Q.   Well, they're like the speed limit, right?

22   A.   It's not an instruction.

23   Q.   Is it like the speed limit?

24   A.   Yeah, it's like the speed limit.           It's guidance.        This is

25   what somebody thinks is a good idea.
                  United States District Court
                     District of New Jersey
                                Appx02167
          Case: 23-2042   Document: 22   Page: 288   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                                 287

1    here was in the present tense?

2    A.   I'm saying that the claim is in the present tense.              The

3    claim talks about what happens.       Obviously if we're talking

4    about one point in time, there's some things that happened in

5    the past, some things that happened in the future, but this

6    claim talks about a patient missing a dose.          That's part of

7    this claim.   That's exactly what this claim is about.              Even the

8    file history says that.

9    Q.   Okay.    The language of the claim says it happened four to

10   nine months ago, right?

11   A.   The claim says, "Wherein said patient had last been

12   administered a PP3M injection four to nine months ago."              That's

13   what the claim says.

14   Q.   Okay.

15              And then what the claim says is that there are three

16   steps for administering a paliperidone palmitate injection to

17   such a patient, right?

18              That's what the claim says?

19   A.   The claim lists three steps in writing; however, as I

20   testified, there are seven steps to this claim.

21   Q.   Just focusing for now on what the claim says.

22   A.   Okay.

23   Q.   It says that step one is administering intramuscularly in

24   the deltoid muscle of said patient a first re-initiation

25   loading dose of PP1.
                   United States District Court
                      District of New Jersey
                                Appx02190
          Case: 23-2042   Document: 22   Page: 289   Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                              297

1    Q.   But -- I'll move on.

2                Isn't it true patients for any treatment that's

3    administered by a health care professional at a health care

4    facility have to show up?

5    A.   Under ordinary circumstances, yes.

6    Q.   That's your opinion about Trinza, right?          That they have

7    to show up for their doses?

8    A.   Of course.

9    Q.   And then it's also true of any other injectable that's

10   administered by health care professionals, right?

11   A.   Under ordinary circumstances, yes.

12   Q.   Dr. Berger, you're familiar with medications that are

13   indicated for treating patients who have been overdosed, right?

14   A.   Yes.

15   Q.   And you would consider the patient overdosing to be the

16   first step in a dosing regimen for a drug indicated to treat

17   overdose, right?

18   A.   If the package insert says the patient has to overdose and

19   then come in for treatment, yes, I would consider that.

20   Q.   And then assuming that the patient voluntarily overdosed,

21   then it would be the patient who carried out that step of the

22   dosing regimen, right?

23   A.   Yes.   If the patient was doing what the package insert

24   told him to do, then yes.

25   Q.   I want to go back briefly to your seven-step theory.           I
                  United States District Court
                     District of New Jersey
                                Appx02200
          Case: 23-2042   Document: 22   Page: 290    Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                           298

1    want to go back to your demonstrative.          Actually, we'll go

2    here, to Claim 5 with the seven steps.

3               Now, there's a couple of steps missing here, aren't

4    there, Dr. Berger?

5    A.   You'll have to tell me what you mean.

6    Q.   Well, in your opinion, isn't the first step of Claim 5 to

7    evaluate the patient?

8    A.   Specifically talking about Claim 5, no.           The first step is

9    the patient misses the dose.

10   Q.   Then the next step is to evaluate the patient, right?

11   A.   The next step is the patient has to show up four to nine

12   months later so that the health care professional can evaluate

13   the patient.

14   Q.   There's a step here for evaluating a patient that's

15   missing from your seven-step theory, right?

16   A.   I don't understand.

17   Q.   Well, you testified at your deposition that one of the

18   steps of Claim 5 was to evaluate the patient, right?

19   A.   Steps three, five and seven include the health care

20   professional evaluating the patient and determining the

21   indicated treatment.     And if the patient agrees, then treating

22   the patient.

23   Q.   So let's look at your deposition at 130, 19.             It's

24   actually the passage we looked at a minute ago.

25              I asked you, "You'd agree that Claim 5 states that
                  United States District Court
                     District of New Jersey
                                Appx02201
          Case: 23-2042   Document: 22   Page: 291    Filed: 03/11/2024

                    S. Berger - CROSS - Fischer                             299

1    the first step of the dosing regimen is administering

2    intramuscularly in the deltoid muscle of said patient a first

3    re-initiation loading dose of PP1M?"

4                You said, "I agree it says that, but that's not

5    correct."

6                Then I said, "Okay.     So why is that not correct?"

7                You said, "The first step is to evaluate the

8    patient."

9                Do you recall that?

10   A.   That was referring to step number three.           What I'm now

11   calling step number three, what you're calling step number one.

12   Q.   Then there's another step where the patient has to

13   cooperate and consent, right?

14   A.   Well, that's part of the process.          It isn't listed as a

15   step, but it's part of the process.

16   Q.   It's part of the process for all methods of treatment,

17   right, for the patient to cooperate and consent?

18   A.   Yes.

19   Q.   There's a lot of other things that have to happen for this

20   dosing regimen of Claim 5 to be given, right?

21   A.   A lot of steps have to happen in the process of any

22   medical procedure, yes.

23   Q.   That's your opinion here, is that there are a lot of steps

24   that have to occur.

25               In order for this dosing regimen to be given, a lot
                  United States District Court
                     District of New Jersey
                                Appx02202
          Case: 23-2042    Document: 22   Page: 292   Filed: 03/11/2024

                  S. Berger - REDIRECT - Mukerjee                             310

1    unsuccessful in implementing that regimen?

2    A.   So if the resident presents to the patient as

3    re-initiation regimen and recommends it, the patient agrees,

4    they start it out, the patient has to return for the second

5    re-initiation loading dose, and then the patient has to return

6    for the re-initiation PP3M dose, and if the patient doesn't do

7    that, Claim 5 doesn't apply because it wasn't completed.

8    That's what I was referring to.

9    Q.   Okay.   And I think you also said that about 20 to 30% of

10   Trinza patients return more than 16 weeks, right?             And that

11   that would include patients -- well, let me ask you this:

12               Do you recall that?      Do you recall on cross actually

13   saying that 20 or 30% of Trinza patients returned more than 16

14   weeks after their PP3M injection?

15   A.   Yes.

16   Q.   So that time period you talked about, more than 16 weeks,

17   would that -- could that include more than nine months then?

18   A.   Yes.

19   Q.   Okay.   And the claim, though, wouldn't cover that, right?

20   It wouldn't cover more than nine months, would it?

21   A.   Correct.

22               MR. MUKERJEE:    Okay.    Now, counsel asked you

23   questions on, I believe, PTX-0135 to 0046.          Okay.     And that is

24   in your binder.      But maybe we could just pull up PTX-135.        And

25   I'm -- specifically, Scott, I'm going to 0046.
                  United States District Court
                     District of New Jersey
                                 Appx02213
Case: 23-2042       Document: 22           Page: 293       Filed: 03/11/2024
                                                                       381

     1                     UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
     2   ________________________________

     3   JANSSEN PHARMACEUTICALS, INC.,
         JANSSEN PHARMACEUTICA NV,
     4   JANSSEN RESEARCH & DEVELOPMENT,        CIVIL ACTION NUMBER:
         LLC,
     5
                  Plaintiffs,                   2:20-cv-13013-EP-LHG
     6   vs.

     7   MYLAN LABORATORIES LIMITED,            BENCH TRIAL VOL. 3
         MYLAN PHARMACEUTICALS INC.,
     8   and MYLAN INSTITUTIONAL LLC,

     9
                   Defendants.
    10   ________________________________
         MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
    11   50 Walnut Street
         Newark, New Jersey 07101
    12   December 1, 2022
         Commencing at 10:03 a.m.
    13
         B E F O R E:     THE HONORABLE EVELYN PADIN,
    14                    UNITED STATES DISTRICT JUDGE

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25
                     United States District Court
                        District of New Jersey

                                Appx02352
Case: 23-2042       Document: 22           Page: 294       Filed: 03/11/2024

                    L. Forrest - DIRECT - Soderstrom                    412

     1   non-prodrug oral form.   So a lot was known about it and a lot

     2   was known about how you could control depot injections and

     3   affect their absorption rate.    So much was known about

     4   paliperidone palmitate's basic pharmacokinetics, about the

     5   effects of particle size, and then target exposure efficacy, so

     6   the therapeutic window, the blood concentrations that you want

     7   shoot for at steady state to effectively treat patients, that

     8   was well understood from various art on the PP1M formulation,

     9   such as the '519, the '536, and the Sustenna label that I'll

    10   talk about more further later.

    11            It was known that the PP1M could be used to treat

    12   schizophrenia.   It was known that you needed missed -- or that

    13   missed dose regimens were useful.   It was known that those

    14   could be useful, and it was useful to have alternative

    15   regimens, depending on how long it had been since a patient

    16   last had a dose.   You know, how long they missed had their dose

    17   by.

    18            And then it was known that if patients fell in an

    19   intermediate or middle window where, you know, they didn't have

    20   so much drug in their body that you could just put them right

    21   back on their maintenance doses and ignore the fact that they

    22   had missed part of a dose, you had this window where you need

    23   to do something to reinitiate them, but they still had some

    24   drug in their body, so you didn't want to treat them like

    25   they're naive.   You didn't need to put them through a whole
                    United States District Court
                       District of New Jersey

                                  Appx02383
Case: 23-2042       Document: 22           Page: 295       Filed: 03/11/2024

                    L. Forrest - DIRECT - Soderstrom                     425

     1   The present application provides a method for treating patients

     2   in need of psychiatric treatment, wherein said patient misses a

     3   stabilized dose of a monthly maintenance regimen of

     4   paliperidone palmitate.

     5   Q.   Who is the applicant of the '536 publication?

     6   A.   Janssen.

     7   Q.   And so like the '519 publication, did Janssen provide

     8   windows with respect to a patient missing a dose of a monthly

     9   paliperidone palmitate formulation?

    10   A.   Yes, they do.

    11   Q.   And before we jump into each one, at a high level, do you

    12   recall what those windows are?

    13   A.   Yes, there were three windows in it.   Essentially, the

    14   same windows, although they expanded the limits a little bit,

    15   but a first window, a second window and a third window.   And

    16   then it provides reinitiation regimens for those.    And the

    17   first window was up to six weeks since they missed a dose, so

    18   four to six weeks since their last dose.    And I think we'll

    19   discuss the others in more detail, or I have the slides for the

    20   others in more detail.

    21            MR. SODERSTROM:     Yeah, let's actually pull up the

    22   exhibit, Scott, if we could.   Maybe go to DTX-97.0011.   And if

    23   we highlight Paragraph 42.   It's in the right column there.

    24   BY MR. SODERSTROM:

    25   Q.   Dr. Forrest, is this the first window that you were just
                    United States District Court
                       District of New Jersey

                                   Appx02396
Case: 23-2042        Document: 22          Page: 296       Filed: 03/11/2024

                     L. Forrest - DIRECT - Soderstrom                     426

     1   referring to?

     2   A.   Yes, a method for reinitiation providing for patients that

     3   missed a dose more than four weeks and less than six weeks ago

     4   where you administer a deltoid first loading, a second -- or

     5   you administer a first deltoid and then continue administering

     6   deltoid or gluteal muscle maintenance doses on about the 23rd

     7   to 37th day.    So, essentially, to break it down, they're just

     8   saying continue your maintenance dosing as soon as possible is

     9   what this distills down to.

    10             MR. SODERSTROM:   Scott, can you blow up paragraph 43?

    11   BY MR. SODERSTROM:

    12   Q.   Dr. Forrest, can you explain what Janssen discussed at

    13   paragraph 43 of its '536 publication?

    14   A.   Yes, it's a bit longer here, so I'll partially summarize

    15   here.   But wherein more than six weeks but less than six months

    16   have elapsed since the patient received a last dosing of

    17   paliperidone palmitate, the reinitiation regimen may comprise a

    18   first loading dose, a second loading dose, and a maintenance

    19   dose.

    20             And that first loading dose should be administered as

    21   soon as possible, about a week later, into the deltoid.    And

    22   then there should be a second loading dose about a week after

    23   that.   And then you should resume the monthly maintenance

    24   dosing a month later.   And then -- and I'm briefly paraphrasing

    25   because I believe I have some slides in more detail here, but
                     United States District Court
                        District of New Jersey

                                  Appx02397
Case: 23-2042       Document: 22           Page: 297       Filed: 03/11/2024

                    L. Forrest - DIRECT - Soderstrom                    427

     1   those first two loading doses, their strength depends on their

     2   previously stabilized dose that they were stabilized on before

     3   they missed, except for the high strength, in which case you

     4   would use one strength below that to reinitiate them with

     5   before you put them on maintenance dosing.

     6   Q.   And I just want to pause briefly because you spoke about

     7   loading doses and using those to get into your steady state for

     8   an initiation dosing regimen.    Here, it's talking about loading

     9   doses again, but with respect to a reinitiation regimen.    Can

    10   you just explain what the purpose of the loading dose is here

    11   with respect to a reinitiation dosing regimen?

    12   A.   Well, it doesn't matter if you're completely naive and you

    13   have no drug in your body or if you just have a shortage of

    14   drug in your body because you've missed a dose for a while.

    15   For you to achieve steady state rapidly with your normal

    16   maintenance dosing, you've got to replace that drug that should

    17   be there, you know, that foundation that you should have from

    18   previous dosings.   You know, even if you're naive, for example,

    19   where you have none.

    20            So the purpose of the loading dose is just get your

    21   plasma levels up rapidly to get you into that steady state

    22   range quickly so that the normal maintenance doses can maintain

    23   you in the steady state range.

    24   Q.   If we go to paragraph 45, and it might split across the

    25   bottom of DTX-9711 and on to DTX-9712.
                    United States District Court
                       District of New Jersey

                                 Appx02398
Case: 23-2042          Document: 22        Page: 298        Filed: 03/11/2024

                       L. Forrest - DIRECT - Soderstrom                   428

     1            Dr. Forrest, can you explain what's being disclosed

     2   by Janssen at paragraph 45 of their '536 publication?

     3   A.   So when more than six months have elapsed since the

     4   patient received the last dosing of paliperidone palmitate, the

     5   reinitiation regimen may comprise a first loading dose, a

     6   second loading dose, and a maintenance dose.     The first loading

     7   dose may be administered as soon as possible, the second dose

     8   about the eighth day, but then they say down later that that

     9   can be about the seventh day plus or minus two days, so about a

    10   week later.    And the maintenance dosing may be administered on

    11   about the 30th day after the first loading dose.    But again,

    12   down below that, they say that's plus or minus seven days.    So

    13   about a month after the second loading dose.

    14            Essentially, this is -- because of the dosings, this

    15   is essentially the naive initiation procedure they're using

    16   here.

    17   Q.   And so do I have it right that in both Janssen's '519

    18   publication and Janssen's '536 publication, there were three

    19   windows to consider when a patient misses a dose?

    20   A.   Yes, you do.

    21   Q.   Separate from these windows of a patient missing a dose --

    22            MR. SODERSTROM:     And perhaps we go back to the slides

    23   here, Scott, slide 29.

    24   BY MR. SODERSTROM:

    25   Q.   Do you know what an administration interval is?
                       United States District Court
                          District of New Jersey

                                   Appx02399
Case: 23-2042        Document: 22           Page: 299       Filed: 03/11/2024

                     L. Forrest - DIRECT - Soderstrom                    443

     1   you would understand it.   For those two doses, the first one as

     2   soon as possible and the second one in the deltoid one week

     3   later, are those equivalent to what you were describing earlier

     4   as reinitiation loading dosages?

     5   A.   Yes, it is.

     6   Q.   Now, if we move to the next slide, did you create a slide

     7   showing how the timing of the patient missing a maintenance

     8   dose impacts the dosing for the three different pieces of prior

     9   art from Janssen that we've discussed at this point?

    10   A.   Yes, I did.

    11   Q.   Can you just walk us through that slide?

    12   A.   So, all three of them give essentially the same, though

    13   there's slight differences in numbers, but they all give

    14   essentially the same three windows and regimens.   So the first

    15   window of four to six weeks since the last injection, just

    16   resume.   Go back to whatever dose was previously administered

    17   and resume monthly injections.

    18             Then there's a second window of six weeks to six

    19   months since the last injection, and you have a modified or

    20   reinitiation loading dose regimen here.    You give a deltoid

    21   immediately, a second deltoid a week later, and then deltoid or

    22   gluteal shots a month after that of their normal, stabilized

    23   monthly dosage regimen.    The strength of medication you use for

    24   those two first two injections or loading injections or

    25   reinitiation loading injections depends on what their
                     United States District Court
                        District of New Jersey

                                   Appx02414
Case: 23-2042         Document: 22         Page: 300       Filed: 03/11/2024

                      L. Forrest - DIRECT - Soderstrom                    444

     1   stabilized missed dose was.

     2               Then there's a third window where it's been six or

     3   more months since their last injection and you restart the

     4   patient.    You treat them as if they were essentially naive.

     5   Q.   So these three pieces of prior art that we've discussed at

     6   this point were focused on a PP1M formulation or formulations;

     7   is that fair?

     8   A.   Yes.

     9   Q.   Was there any prior art at all discussing dosing regimens

    10   for PP3M?

    11   A.   There was prior art on dosing regimens for PP3M but not on

    12   the reinitiation.

    13   Q.   Let's go to the next slide, which shows portions of

    14   DTX-026.    Are you familiar with what DTX-026 is, Dr. Forrest?

    15   A.   Yes, it's what I refer to as the JAMA study.

    16   Q.   What does JAMA discuss, at a high level?

    17   A.   Well, JAMA was a -- what they call a double blind placebo

    18   controlled study of relapse in patients that was to evaluate

    19   the efficacy and the safety of a three-month formulation of

    20   paliperidone palmitate versus placebo in treating patients that

    21   had been previously dosed or stabilized on a once-monthly

    22   paliperidone palmitate.

    23   Q.   And what did JAMA say regarding the effectiveness and

    24   safety of the PP3M formulation that was part of the study?

    25   A.   They found that the PP3M was both safe and effective.
                      United States District Court
                         District of New Jersey

                                   Appx02415
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     1   Q.   Let's go to the next slide.

     2            Actually, before we do that, can you explain to me in

     3   the bottom right, we discussed this a bit during yesterday's

     4   opening, but can you explain what this eTable One dosing

     5   administration schedule from DTX-26.0067 shows?

     6   A.   Well, it shows that you should first initiate a patient on

     7   PP1M before giving them maintenance doses of a PP3M, and it

     8   provides a dosing regimen for doing this with a PP1M product,

     9   which is the loading steps, and then they do stabilize on this

    10   one just because they're also finding what is an effective dose

    11   in the patient.   Then, they then continue with PP3M doses, and

    12   the PP3M dose is based upon their PP1M dose.

    13   Q.   If we go to the next slide, this is a table that we're

    14   becoming more and more familiar with as well, eTable Two,

    15   conversion between PP1M and PP3M doses from DTX- 26.0068.

    16            What does that show?

    17   A.   Well, so this shows how to convert between a PP1M and a

    18   PP3M dosage form.   So, while it's not threefold exact

    19   difference between them, they show that you use a dose of PP3M

    20   that is 3.5 fold your dose of PP1M.   Meaning, the PP1M dose

    21   would be one divided by 3.5 of the PP3M dose.   So it provides a

    22   conversion factor table here between PP3M and PP1M doses, and

    23   it does this both in terms of milligrams of paliperidone

    24   palmitate and in terms of milligram equivalents of

    25   paliperidone.
                    United States District Court
                       District of New Jersey

                                 Appx02416
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     1   A.   Yes.

     2   Q.   Do you recall also looking at the patent office's

     3   rejection earlier today over the '906 patent which was directed

     4   to an initiation regimen for PP1M?

     5   A.   Yes.

     6   Q.   JAMA did disclose as we just looked --

     7               MR. SODERSTROM:   And Scott, if you could, go back to

     8   slide 32.

     9   BY MR. SODERSTROM:

    10   Q.   JAMA did disclose an initiation regimen to get onto PP3M,

    11   right?

    12   A.   Yes, it did.

    13               MR. SODERSTROM:   I have a few -- two, three,

    14   relatively short references, Your Honor, that I was thinking

    15   maybe we would go to and it would be a good stopping point, if

    16   that works for you and Dr. Forrest?

    17               THE COURT:   That's fine.

    18               MR. SODERSTROM:   Let's move to slide 34 and another

    19   publication.

    20   BY MR. SODERSTROM:

    21   Q.   This next slide shows an excerpt from DTX-021.

    22               Dr. Forrest, do you know what this document is?

    23   A.   Yes, this is what I called the NCT-423.    So when a company

    24   or even a hospital, a sponsor -- or a sponsor sponsors a

    25   clinical study, they register it with clinicaltrials.gov to
                      United States District Court
                         District of New Jersey

                                   Appx02420
Case: 23-2042         Document: 22         Page: 303        Filed: 03/11/2024

                      L. Forrest - DIRECT - Soderstrom                  462

     1   Q.   So it's the same for both the timing of the injection and

     2   the location of the injection?

     3   A.   Yes.

     4   Q.   Now, I want to go back to our discussion that we had a

     5   little bit earlier before lunch about half-lives.

     6               Based on the prior art, how long would a POSA expect

     7   a half-life of PP3M to be?

     8   A.   Well, they would expect, and based on, you know, the prior

     9   art, that the half-lives were -- there are one to two

    10   half-lives of administration intervals.     So they would expect

    11   it to be about the same as the length of time the depot lasts

    12   between injection.   So for a PP3M, they would expect it to be

    13   about 90 days, like it was about a month for the PP1M.

    14   Q.   So if a POSA were to consider missed dose information for

    15   a PP3M formulation, how does that half-life impact what the

    16   timing aspect of that window might be?

    17   A.   Well, you would look at the windows and understand that

    18   there'd be a similar relationship subject to some routine

    19   optimization, but similar relationship in when those windows

    20   would begin and end, as there was for the earlier PP1M dosage

    21   form.

    22   Q.   So based on half-lives and administration intervals that

    23   you just referenced -- let's start with the front end -- how

    24   would a POSA use those in determining the stating point of a

    25   middle window with respect to devising a PP3M regimen?
                      United States District Court
                         District of New Jersey

                                  Appx02433
Case: 23-2042          Document: 22        Page: 304        Filed: 03/11/2024

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     1   A.   Well, they'd understand that the goal is to get a patient

     2   back so that the regular maintenance dosing will get them

     3   within the equilibrium range really quickly.     And we knew from

     4   the older dosage form if the patient missed a dose by about a

     5   half of a half-life -- which in this case was two weeks, six

     6   weeks since the last injection -- they're getting to the point

     7   where you need to think about a loading dose because they lost

     8   enough drug from their body that you can't just jump back in

     9   and resume.

    10            The whole idea is you want to give the maintenance

    11   dose and they'll be within the therapeutic steady state window.

    12   You don't want them to have to take time to get back to the

    13   steady state quickly because it's bad not to be steady state.

    14   You want to be steady state.    So you take a similar approach.

    15   It's around one-half, 1.4, something like that.    So similar --

    16   so about a multiplier of that.    And you'd end up with about 126

    17   days, actually, which is just over four months.

    18            Well, yeah, for half-life, it's about 4.2 months,

    19   four and a half months, in that range.

    20   Q.   If a POSA were looking to determine the end of a middle

    21   window for a potential PP3M formulation, how would they go

    22   about doing that using half-lives?

    23   A.   They would know that a patient would be essentially naive.

    24   They wouldn't have any drug left in their body after about four

    25   or five half-lives.    So that's an important consideration.
                       United States District Court
                          District of New Jersey

                                   Appx02434
Case: 23-2042          Document: 22        Page: 305        Filed: 03/11/2024

                       L. Forrest - DIRECT - Soderstrom                   464

     1            And they also look at the -- you know, the past

     2   formulation of PP1M, where it was six months.    So five

     3   half-lives after their missed dose.    And they look again and

     4   they'd see -- you know, this is when you feel they're

     5   essentially naive, that they've essentially got all the drug

     6   out of their body by 18 months.    You also think about the other

     7   prior art, if that's too long or not.    So you'd also look at

     8   other art, too.

     9            You'd be concerned -- especially in the back end --

    10   there's such a risk that the person may not get up to steady

    11   state quickly.    You don't want to risk that.   So you would look

    12   at prior art, too, in addition to what you knew about the

    13   half-lives.

    14   Q.   For example, what did the prior art '536 publication teach

    15   regarding administration intervals and half-lives?

    16   A.   Well, it taught the administration intervals were similar

    17   to half-lives, so they're about equal.

    18   Q.   Did they say anything as to when one might expect a drug

    19   to be eliminated from the body based on the number of

    20   half-lives?

    21   A.   They taught that after four to five half-lives, that

    22   essentially all the drug had been eliminated from the patient's

    23   body.

    24   Q.   So with that information, how would a POSA go about

    25   devising when the end window might be for a middle window after
                       United States District Court
                          District of New Jersey

                                   Appx02435
Case: 23-2042          Document: 22        Page: 306         Filed: 03/11/2024

                       L. Forrest - DIRECT - Soderstrom                  465

     1   a patient misses a dose?

     2   A.   Well, they would look at those data and they would say

     3   that, well, I know here by four or five half-lives, so

     4   somewhere between 12 and 18 months in there that people are

     5   essentially naive and they have no drug left in their body at

     6   that point.

     7   Q.   Was there other prior art that you also considered?

     8   A.   Well, as I said, there was a lot known about PP3M already

     9   and the real danger is a patient relapsing.      You want to

    10   prevent that.    You also look at a lot of other prior art that

    11   was known about a PP3M to see if your estimates made sense or

    12   not, that you initially made.    You don't want a patient to

    13   relapse.

    14   Q.   If we go to the next slide, one of the criticisms from

    15   Plaintiff's expert is that in his opinion -- I'll quote it --

    16   "JAMA's discussion of the clinical results states, 'Patients at

    17   risk from sudden discontinuation from treatment could,

    18   therefore, benefit from three-month paliperidone palmitate

    19   providing protection from relapse for up to one year after the

    20   last dose'."    And teaches away, in his opinion, from utilizing

    21   the claimed missed dose reinitiation dosing regimen for the

    22   four to nine months patient population specified in Claim 5.

    23              Do you agree with that, Dr. Forrest?

    24   A.   No, I don't.    You would actually not just look at that

    25   statement, but you would also look at the graph that they were
                       United States District Court
                          District of New Jersey

                                   Appx02436
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                      L. Forrest - DIRECT - Soderstrom                     466

     1   basing part of this off of.   This is figure two from the DTX-26

     2   here.

     3             What figure two is, it's actually a plot of what

     4   portion of patients had relapsed when they put them on the

     5   placebo part of this study of the paliperidone palmitate.

     6             To understand the way this worked, the patients got a

     7   dose of PP3M, and then when they were supposed to come back in

     8   three months later, they either got placebo, so it was just a

     9   lipid injection with no drug in it, or they got the PP3M.

    10   They're looking to see how long before patients relapse.     So

    11   really, it was simulating a missed dose and times of missed

    12   dosing.

    13             You look at this and one thing I'd caution, just

    14   because it's a little difficult to read, but you see there's

    15   days down here at the bottom?   So that's days since they missed

    16   injection.   I mean, since they missed a maintenance dose.

    17             We've been really talking today about time since they

    18   had their last dose.   So what you actually have to do is add 90

    19   days to all these numbers down at the bottom to really

    20   understand it.

    21             So if we look here and we see protection from relapse

    22   for up to one year, that would be about 274 days on this graph.

    23   So a year minus three months approximately.

    24             And you see there that actually just over 50% of

    25   patients have actually relapsed at that point.   There's this
                      United States District Court
                         District of New Jersey

                                  Appx02437
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                     L. Forrest - DIRECT - Soderstrom                    467

     1   yellow band around that that goes up and down, and this is

     2   called a confidence interval.   So one issue with any clinical

     3   study is you're trying to understand how the whole world will

     4   respond, all potential patients, but you can't measure all

     5   potential patients.

     6              So you do a study, you have a limited number, and you

     7   build what is called a confidence interval.    So you feel that

     8   the true average is somewhere in between that band there.     And

     9   if you look at this one, you see that that band may be all the

    10   way down from 20 to 70%, so as much as 80% of patients might

    11   have fell already by a year.    And even if you look at their

    12   actual data down here, you see that a huge number of patients

    13   had dropped out of the study by a year due to failure or other

    14   reasons.   We knew they were -- you don't know all the full

    15   reasons, but a large number dropped out.   So there's less than

    16   10% of the starting patients even left at that point, and then

    17   you know that a great deal of them will relapse.

    18              So a POSA doesn't want to risk -- we know they're

    19   definitely now I mean, possibly as many as 80% of patients are

    20   naive at this point by 12 months.   Remember, the goal is to get

    21   them back to equilibrium, steady state as quickly as possible.

    22   You need to consider when do I need to switch from this

    23   modified lower reinitiation regimen to just treating them as if

    24   they're completely naive.

    25              The natural jump there is -- well, let's look at an
                     United States District Court
                        District of New Jersey

                                 Appx02438
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                      L. Forrest - DIRECT - Soderstrom                     468

     1   administration interval before this.    We can jump back on here

     2   to 180 days, which is actually nine months, and we see now here

     3   that somewhere around 70%, perhaps -- it's a little hard to

     4   draw over to the line around here.    But maybe 60 to 70% of

     5   patients are still being effectively treated, but you're just

     6   touching on that edge where there's -- the study has some

     7   variability.   We know it could be the median.   There's a 5%

     8   chance the median could be at 50% right there already at nine

     9   months.

    10               This is a natural point where you know most

    11   patients -- you know, over half the patients are still being

    12   treated.    They still obviously have some drug in their body.

    13   You look at this as a point -- around nine months is what I

    14   would see from JAMA, if I'm thinking in terms of administration

    15   intervals, is when I need to start thinking about treating

    16   patients.   Beyond this, I need to start thinking about treating

    17   them as naive, because definitely after nine months, most of

    18   them have failed, possibly as many as 80%.

    19   Q.   Based on your review of the prior art we just discussed,

    20   including JAMA, a POSA would put an endpoint to a middle window

    21   of a three-month formulation at what time?

    22   A.   Nine months.

    23               MR. SODERSTROM:   Scott, can we pull up Plaintiff's

    24   opening slide 31 from yesterday?

    25   BY MR. SODERSTROM:
                      United States District Court
                         District of New Jersey

                                  Appx02439
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     1   for treating schizophrenia from the Sustenna label.

     2   Q.    Let's go to the next slide, Claim 10 of the '693 patent.

     3             What does that claim cover?

     4   A.    This is a method claim wherein the second reinitiation

     5   dose of PP1M is administered seven days after the first

     6   reinitiation dose of PP1M.

     7   Q.    Is it your opinion that that claim is obvious?

     8   A.    Yes, it is.   The seven days or about a week was taught

     9   also in the prior art we discussed between the two initiation

    10   doses.

    11   Q.    Just for clarification, which prior art are you referring

    12   to?

    13   A.    I said initiation.    I meant reinitiation.   This was the

    14   '519, the '536, the Sustenna label.

    15   Q.    Then the next slide, in the last Dependent Claims -- no,

    16   they are the last ones.

    17             Claims 11 and 14 of the '693 patent, what do those --

    18   what are those directed to?

    19   A.    Well, the first one says where the reinitiation dose of

    20   the PP3M is administered 30 days after the second reinitiation

    21   loading dose of PP1M.   And Claim 14 basically just says the

    22   same thing, except now it says a month after administering the

    23   second reinitiation dose.

    24   Q.    Is it your opinion that those claims are obvious as well?

    25   A.    Yes, they're obvious.   It was obvious from the same prior
                     United States District Court
                        District of New Jersey

                                    Appx02448
          Case: 23-2042     Document: 22   Page: 311   Filed: 03/11/2024

                                                                           528

1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,               CIVIL ACTION NUMBER:
     LLC,
5             Plaintiffs,
     vs.                                           2:20-cv-13103-EP-LHG
6

7    MYLAN LABORATORIES LIMITED,                   BENCH TRIAL VOL. 4
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9              Defendants.
     ________________________________
10   MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
     50 Walnut Street
11   Newark, New Jersey 07101
     December 5, 2022
12   Commencing at 10:00 a.m.

13   B E F O R E:         THE HONORABLE EVELYN PADIN,
                          UNITED STATES DISTRICT JUDGE
14

15

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25
                 United States District Court
                    District of New Jersey
                                  Appx02584
          Case: 23-2042     Document: 22   Page: 312   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                                544

1    Q.   And for anybody following along later, this is slide 14 of

2    your demonstrative deck, right, Dr. Sommi?

3    A.   Right.

4    Q.   Okay.

5               So Dr. Forrest relied on JAMA for a couple different

6    purposes, right?

7    A.   Right.

8    Q.   So if we go back to the slide, Dr. Forrest's slide 15,

9    which happens to also be our slide 15, magically, if we go back

10   to that, and focusing on the last two bullet points, now that

11   we've looked specifically at NCT423 and JAMA, does anything in

12   those references suggest going in the other direction, that is

13   going back to PP1M after a patient had already been advanced to

14   PP3M?

15   A.   No.

16   Q.   So in terms of what's taught by the PP3M prior art, JAMA

17   and NCT423, how does that compare to Claim 5 of the '693

18   patent?

19   A.   So we don't get -- there's nothing in there about a missed

20   dose regimen for PP3M.       There's nothing that identifies the

21   four- to nine-month population, there's nothing about going

22   back to PP1 after you've advanced a patient to PP3M.                  And

23   there's nothing that says that you don't stabilize the patient

24   on four or more months of PP1M before going to PP3M.

25   Q.   So the other purpose or other reason that Dr. Forrest
                   United States District Court
                      District of New Jersey
                                  Appx02600
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                          Sommi - DIRECT - Mullin                          545

1    relied on JAMA was to look at figure 2A, right?

2    A.   Right.

3    Q.   Do you have that?

4    A.   Yes.

5    Q.   That's on our slide 17.

6                Now, Dr. Forrest suggested that you could use

7    figure 2A from JAMA to somehow identify the back end of that

8    intermediate window, meaning that nine-month date for PP3M,

9    right?

10   A.   That's what he's suggesting.

11   Q.   Do you agree with Dr. Forrest that a POSA would have

12   adopted his approach that he testified about for extrapolating

13   a missed dose window from figure 2A of the JAMA reference?

14   A.   No.

15   Q.   Let's start -- is figure 2A, does that reflect an interim

16   or a final analysis?

17   A.   So this is the interim analysis for JAMA.

18   Q.   Did JAMA provide the same kind of graph for the final

19   analysis?

20   A.   They did, right below this one.

21   Q.   Do you recall that Dr. Forrest testified that a POSA would

22   rely on the interim analysis in JAMA and not the final

23   analysis?

24   A.   I do.

25   Q.   What was your reaction to that?
                   United States District Court
                      District of New Jersey
                                  Appx02601
          Case: 23-2042     Document: 22   Page: 314   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                                546

1    A.   I was kind of astounded that he would make that statement,

2    that you wouldn't say that you would actually use all the data

3    from a study.

4    Q.   So can you explain to us then, what is the significance of

5    an interim analysis in a placebo versus active drug study?

6    A.   Right.   So when we're doing relapse prevention trials in

7    patients with schizophrenia, we put them on a placebo.                And

8    when we put somebody on placebo, they no longer get their

9    medicine.   And we know that there's a risk of relapse, and so

10   when there's a risk of relapse, we have to do this -- we create

11   a committee that tries to manage that because we don't want

12   people to relapse any more than is necessary.            So from an

13   ethical point of view, you take a peek at the data at the

14   prescribed time --

15   Q.   Do you recall the prescribed time?

16   A.   That was after 42 relapses.

17               All right.     So you take all the relapses that

18   happened in the studies -- and they felt from a statistical

19   point of view that once the 42nd patient had relapsed, let's

20   look at the data and if the study is positive, that's good

21   enough.   We don't have to keep people on placebo and allow

22   those to relapse because relapse is a bad thing.

23   Q.   Does that mean that at that point, the study stops at the

24   interim analysis?

25   A.   Well, so on the 42nd relapse, that's when the data
                   United States District Court
                      District of New Jersey
                                  Appx02602
          Case: 23-2042     Document: 22   Page: 315   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                          547

1    committee gets together, they do the analysis, they make a

2    decision.   Once the decision is made, then they -- if the study

3    is positive, then they send the message out to the

4    investigators saying the study is positive, it's time to get

5    all your patients figured out and patients come in over the

6    course of the year.

7                We don't just take 160 patients and suddenly put them

8    on the drug.   They're in over a period of time, so these people

9    are working their way through the study.

10               So as an investigator -- I mean, I've done this many,

11   many, times.   When they say the study is over, it may take

12   three, four, five, six months to get all the patients out of

13   the study safely.

14   Q.   And during that additional time, are you still collecting

15   data?

16   A.   We're still collecting data.

17   Q.   Would a POSA disregard that additional data and try to

18   extrapolate it?

19   A.   I certainly wouldn't.

20   Q.   Let's go back then to figure 2A from JAMA.

21               Okay.    What does JAMA teach explicitly about the

22   median time to relapse and what did Dr. Forrest testify he

23   would extrapolate to use in his theories?

24   A.   Right.    So the -- so JAMA had the end point of the time to

25   median relapse for 50% of the population.           So that was 42
                   United States District Court
                      District of New Jersey
                                  Appx02603
          Case: 23-2042     Document: 22   Page: 316   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                               548

1    relapses.    Right?    And that's -- so these are what are called

2    Kaplan-Meier survival curves.         And so a perfect drug, the line

3    would go all the way across one, nobody ever relapses.                But as

4    the person relapses, that line goes down and every relapse

5    makes the line go down further.

6                And so once that line crosses 50% -- so we know the

7    blue line never crosses 50% -- but the placebo line, the

8    orangey line crosses 50% at 274 days, so they reported the

9    median relapse at 50% is 274 days.

10   Q.   When you say "they reported," who reported that the median

11   relapse was 274 days?

12   A.   The authors of JAMA.

13   Q.   And what did Dr. Forrest testify at trial last week he

14   would extrapolate?

15   A.   He used the figure of 180 days.

16   Q.   Okay.    It's a little bit confusing about the timing and

17   the significance of what 274 days actually means.

18               So can you explain to us what 274 days means in the

19   context of Claim 5 of the '693 patent, meaning what's the time

20   from the last dose of PP3M?

21   A.   Right.   So let's go back to this scheme where I have all

22   the injections.

23               All right.     So the text to Claim 5 talks about since

24   the last injection.      All right.     And so Dr. Forrest is using

25   the placebo group as the example for the missed dose.                 But when
                   United States District Court
                      District of New Jersey
                                  Appx02604
          Case: 23-2042     Document: 22     Page: 317   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                              549

1    you look at where the time, where the clock starts running in

2    the data analysis, it's right where the blue -- the first blue

3    and gold syringe is, right?           That's time zero on 2A.

4               But their last injection was three months prior to

5    that, so we need to account for that time, that three months.

6    Right?   And so when we look at the interim and final analysis,

7    you see that the median time to relapse for the interim

8    analysis is 274 days, which is about nine months, plus the

9    three months, or about 12 months.           And then for the full

10   analysis, it's 395 days, which is about 13 months, plus the

11   three months, you get to 16 months.

12              So using that strategy, one would have concluded it's

13   somewhere between 12 and 16 months since the last injection.

14   And that teaches away from nine months.

15   Q.   If a POSA assumed, as Dr. Forrest does, that the JAMA

16   publication could be used to suggest anything in terms of

17   developing a missed dose regimen for PP3M, what would it

18   suggest?

19   A.   That you're going to go for 12 to 16 months.                You wouldn't

20   have -- the back end whereby somewhere between 12 to 16 months.

21   It would teach away from the claim of nine months, the back end

22   of the claim of nine months.

23   Q.   And again, the 274 days, which calculates to be at least

24   12 months, the time that the author said was the median time to

25   relapse, and based on actual clinical data, did Dr. Forrest use
                  United States District Court
                     District of New Jersey
                                  Appx02605
          Case: 23-2042     Document: 22     Page: 318   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                               550

1    that and rely on that in his testimony?

2    A.   He did not.

3    Q.   All right.      Let's see now.       If we go back to figure 2A.

4               I want to go back to make sure that we got everything

5    on the transcript right.

6    A.   Okay.

7    Q.   When you said -- when you testified a minute ago that if

8    you could take anything away from the JAMA publication, that it

9    would teach 12 to 16 months as the back end, then you said

10   something about it -- something away or --

11   A.   It teaches away from nine months.

12   Q.   I think it got transcribed as takes away.               No problem.

13              Okay.     All right.       So if we go back to figure 2A of

14   JAMA, using this figure -- okay -- what did Dr. Forrest testify

15   that the POSA would extrapolate to be the median time to

16   relapse?

17   A.   One hundred eighty days.

18   Q.   That was his trial testimony.           What did he testify in his

19   deposition?

20   A.   Two hundred seventy-four days.

21   Q.   Now, would a POSA have used Dr. Forrest's approach to

22   extrapolate the back end of this intermediate missed dose

23   window for PP3M from figure 2A of JAMA?

24   A.   No.

25   Q.   Did Dr. Forrest attempt to use figure 2A of JAMA to
                   United States District Court
                      District of New Jersey
                                  Appx02606
           Case: 23-2042     Document: 22    Page: 319   Filed: 03/11/2024

                           Sommi - DIRECT - Mullin                             551

1    extrapolate the front end of the dosing window for PP3M?

2    A.    No.

3    Q.    What would happen, what would have happened if he had

4    tried to do the same kinds of extrapolation for the front end

5    of the missed dose window?

6    A.    Well --

7                MR. SODERSTROM:      Objection, Your Honor.

8                I don't believe that Dr. Sommi has ever opined on

9    this particular equation as an expert before.

10               MS. MULLIN:      He's showing what Dr. Forrest did not

11   do.   He didn't know what Dr. Forrest was going to say until his

12   testimony.    I think it's fair to point out that in his

13   testimony, Dr. Forrest was selectively applying different

14   theories all over the place.           So he used one theory to get to

15   this end of the four- to nine-month window.              He disregarded

16   that theory for something else and he used a different theory

17   to try to get to the other window and he disregarded it for

18   other purposes.       I think that's fair --

19               MR. SODERSTROM:      I think that's a different question

20   than what Dr. Sommi would do in interpreting, I suppose, a

21   front end of a window that he has never opined on.                And I

22   suppose if it's in his expert report --

23               MS. MULLIN:      Well, I suppose if Dr. Forrest's expert

24   report -- if he did this analysis that he was going to come to

25   testify at trial, then Dr. Sommi would have responded to that.
                   United States District Court
                      District of New Jersey
                                   Appx02607
          Case: 23-2042     Document: 22   Page: 320   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                            552

1               MR. SODERSTROM:      I think -- and we'll talk about this

2    later --

3               THE COURT:      I'm going to interject.       I'm going to

4    overrule you.    I'm going to allow him to testify.

5               MS. MULLIN:      Thank you, Your Honor.

6    BY MS. MULLIN:

7    Q.   What would happen if Dr. Forrest had used the same

8    analysis to estimate the front end of the intermediate dosing

9    window for PP3M, the one that is in his extrapolation theory

10   for the back end in figure 2A?

11   A.   Well, I'm not sure what Dr. Forrest would have concluded,

12   but if I looked at it, I would say you're basing the whole

13   notion of establishing the window when somebody relapses, you

14   would have to at least look at the period of time when there's

15   almost no difference, right, which is about -- if you look at

16   the -- Your Honor, if you look at -- over there, I'm going

17   to -- there we go.      Right around here is -- and I'm sorry for

18   the shakiness, but it's -- you know, you would have to be about

19   90 days or three months out, right, before you start seeing a

20   significant amount of relapse.         And then you add the three

21   months to that and say, okay, so probably around six months

22   would be the open -- would be the first window.

23              But that's how I would look at it.           I wouldn't do

24   that, but if I was going to do -- if I were -- if I was going

25   to do it, I would say, you know, you're good to go for at least
                  United States District Court
                     District of New Jersey
                                  Appx02608
          Case: 23-2042     Document: 22   Page: 321   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                           553

1    six months.

2    Q.   Okay.    The final reference for PP3M that Dr. Forrest

3    relied on was the 2014 press release, right?

4    A.   Yes.

5    Q.   And what is that generally directed to?

6    A.   It's a press release about the JAMA study.             It's just that

7    the study was stopped because it became -- it was a positive

8    study.

9    Q.   Does JAMA or -- I'm sorry.         Forgive me.

10               Does the 2014 press release suggest anything about

11   whether or not patients have to be stabilized with Invega

12   Sustenna prior to receiving PP3M?

13   A.   It does.    It mentions that the study subjects were first

14   stabilized on Sustenna and then -- which is PP1M -- before

15   moving to PP3M.

16   Q.   So does this add anything to the JAMA or NCT423 references

17   we've already discussed?

18   A.   No.

19   Q.   Okay.    So let's see if we could wrap up the three

20   references that mention PP3M that Dr. Forrest relied on, okay?

21   And that's the NCT423, JAMA and the 2014 press release.

22   A.   Right.

23   Q.   Do you recall him relying on any other references that

24   mentioned PP3M?

25   A.   No.
                   United States District Court
                      District of New Jersey
                                  Appx02609
          Case: 23-2042     Document: 22   Page: 322   Filed: 03/11/2024

                          Sommi - DIRECT - Mullin                          584

1                So can you continue to explain what Dr. Forrest did?

2    A.   So with what he was saying -- sorry.

3                What he was saying was at what point in time after

4    the injection do you reach this threshold of 7.5 nanograms per

5    mill and that was the threshold that he used.            And this was his

6    attempt to validate all of the previous findings and he found

7    that it was about nine months.

8    Q.   Okay.

9                If he had simulated the 525 mg equivalent dose of

10   PP3M, where would you expect if you could make any -- expect

11   anything with reasonable expectation that it was right, where

12   would you think that that line --

13   A.   When would it cross the 7.5-milligram --

14   Q.   That's correct.

15   A.   It would be at some point in time after the nine months.

16   Q.   So following Dr. Forrest's analysis, if he actually

17   simulated the 525 mg equation dose, could he have said a ha,

18   that's what gets me to nine months?

19   A.   I don't know how he would do that.

20   Q.   Would it be something past nine months?

21   A.   Yes.

22   Q.   If he had done the smaller doses of PP3M, would it be

23   sooner than nine months?

24   A.   Yes.

25               MS. MULLIN:     Okay.
                  United States District Court
                     District of New Jersey
                                  Appx02640
            Case: 23-2042   Document: 22    Page: 323   Filed: 03/11/2024

                       Sommi - CROSS - Soderstrom                           619

1                 Is that right?

2    A.     I didn't opine on that.        I don't have the -- I'm not a

3    lawyer, so I don't know what all that means.

4    Q.     Okay.   Well, we went through this at your deposition.

5                 You'll agree that a good number of paragraphs in the

6    '693 patent are identical or nearly identical to paragraphs

7    from the '536 publication, right?

8    A.     I remember reading all of those word for word.

9    Q.     If you need to again, but for recordkeeping's sake today,

10   I do want to walk through a few of those.

11                For example, under the background of the invention,

12   if you look at paragraphs three through six of the '536

13   publication at DTX-97.0008, those are nearly identical to the

14   paragraphs from column one, line two to line 67 of the '693

15   patent, right?

16   A.     Do you want me to review these like I did in my deposition

17   or would -- because I did highlight the differences?

18   Q.     If you recall what those differences were to the extent

19   there were any from the deposition, then you could point those

20   out.    If you recall your ultimate conclusion from your

21   deposition, that's fine, too.

22   A.     Yeah, I mean there are minor differences between the two.

23   Q.     Minor differences, you just mean two or three words here

24   or there; is that fair?

25   A.     So for instance, on 005, it talks about paliperidone
                    United States District Court
                       District of New Jersey
                                   Appx02675
          Case: 23-2042   Document: 22   Page: 324   Filed: 03/11/2024

                     Sommi - CROSS - Soderstrom                           620

1    palmitate and then 45, it specifies three month paliperidone

2    palmitate.   I think that's consistent all the way through.

3    Q.   Largely the same though, is that right?

4    A.   Largely the same.

5    Q.   And then in paragraph nine of the '536 publication, the

6    last line provides the objective of the application to provide

7    a dosing regimen of paliperidone palmitate for patients who

8    have missed the monthly maintenance or stabilized dosing

9    regimen of paliperidone palmitate, right?

10   A.   Well, I would say that the words there are the same, but

11   the scope of the 009 paragraph seems to be a little bit bigger

12   than just the missed dose.

13   Q.   Fair enough.    I appreciate that.

14              But I'm really just looking at that last line of

15   paragraph nine of the '536 publication and comparing that to

16   column two, lines 25 through 29 of the '693 patent, and they

17   say the same except one is for patients who miss PP3M, one is

18   for patients who miss PP1M, right?

19   A.   Yeah, I would agree that the objective of coming up with a

20   missed dose regimen is in both.

21   Q.   Just a few others.     I won't belabor this.        But if we look

22   at paragraphs 50 and 51 of the '536 publication at DTX-97.12,

23   this is identical or nearly identical to columns nine, lines

24   eight through 35 on the '693 patent, right?

25   A.   The molecule?    What am I looking at?       The paliperidone
                  United States District Court
                     District of New Jersey
                                Appx02676
          Case: 23-2042   Document: 22   Page: 325   Filed: 03/11/2024

                     Sommi - CROSS - Soderstrom                          621

1    esters are a psychotic agent?

2    Q.   That's right.    Paragraphs 50 through 51 of the '536

3    publication and from the '693 patent, lines eight through 35.

4    A.   I would agree with that.       I'm not going read it to Sara.

5    Q.   We went through a number of these at your deposition.          You

6    would not be surprised that there are a number of paragraphs

7    between the '536 publication and the '693 patent that are

8    nearly identical, right?

9    A.   I would agree.

10   Q.   And that is because both the '536 publication and '693

11   patent relate to paliperidone palmitate long-acting injections

12   and what to do when a patient misses a dose, right?

13   A.   Sure.

14   Q.   All right.

15              Looking at the '536 publication at DTX-97.0011 and,

16   in particular, paragraphs 42 through 47, this describes what to

17   do when a PP1M patient misses a dose and was last administered

18   a dose four to six weeks ago, six weeks to six months ago, and

19   more than six months ago, right?

20   A.   Right.   Those are the three embodiments.

21   Q.   Of the '536 publication, right?

22   A.   Of the '536 publication.

23   Q.   So again, it's split into three windows, just like the

24   '693 patent was, right?

25   A.   I don't know about just like.       I don't know if I agree
                   United States District Court
                      District of New Jersey
                                Appx02677
          Case: 23-2042   Document: 22   Page: 326   Filed: 03/11/2024

                     Sommi - CROSS - Soderstrom                          622

1    with that, but they are split into three windows.

2    Q.   That's all I'm trying to say.       There are three windows in

3    the '536 publication with respect to patients on PP1M missing a

4    dose, and there's three windows in the '693 patent with respect

5    to PP3M patients missing a dose, right?

6    A.   Right.

7    Q.   So if we look at paragraph 43, first, this is addressing a

8    patient that misses a dose and was last administered one

9    between six weeks to six months ago, right?

10   A.   Yes.

11   Q.   It says in here that the reinitiation regimen may comprise

12   a first loading dose, a second loading dose, and a maintenance

13   dose, right?

14   A.   Right.

15   Q.   Then in the middle of the paragraph, 43, there at this

16   prior art tells a POSA that the first dose and the second dose

17   may depend on the stabilized dose prior to the missed dose,

18   right?

19   A.   That's what it says.

20   Q.   And then just at the bottom there, there's another

21   example.    It starts with by way of another example, in here,

22   this Janssen prior art is disclosing that for a missed dose

23   that would have been 234 milligrams, that the first and second

24   reinitiation doses should be 156 milligrams.

25               Right?
                   United States District Court
                      District of New Jersey
                                Appx02678
          Case: 23-2042   Document: 22   Page: 327   Filed: 03/11/2024

                      Sommi - CROSS - Soderstrom                          641

1    Q.   If we turn to DTX-8.82, this is an information disclosure

2    statement that Janssen submitted with respect to the '693

3    patent, right?

4    A.   Right.

5    Q.   The applicant listed some U.S. and foreign patent

6    documents first, and then at the bottom box, there's non-patent

7    literature documents, right?

8    A.   Right.

9    Q.   The only one there is Osborne; is that correct?

10   A.   Yes.

11   Q.   There's no mention of the Sustenna label, right?

12   A.   No.

13   Q.   There's no JAMA?

14   A.   There's no JAMA?     You mean --

15   Q.   There's no article -- the JAMA article that --

16   A.   The one we referred to as JAMA?

17   Q.   I'm sorry?

18   A.   The one that we referred to as JAMA?

19   Q.   Yes, fair point.

20               There's not the article that we've referred to as

21   JAMA listed in that information disclosure statement, right?

22   A.   I don't think JAMA was even published at that point.           Yes,

23   it was.    No.

24   Q.   You do understand that JAMA is prior art in this case?

25   A.   Yes, I was looking at 2012.       I was thinking JAMA started
                   United States District Court
                      District of New Jersey
                                Appx02697
          Case: 23-2042   Document: 22   Page: 328   Filed: 03/11/2024

                      Sommi - CROSS - Soderstrom                         663

1    back-end window, right?

2    A.   Sure.   So then you reject this whole hypothesis.

3    Q.   All right.

4               Under your hypothesis, you were asked today from

5    looking at JAMA where you would start and end potentially a

6    middle window and you testified that you would start in at

7    least six months and go to 12 to 16 months.

8               Do you recall?

9    A.   That I would do that?

10   Q.   Your counsel asked you, in reading JAMA, were you -- if

11   you were to interpret JAMA to provide an end spot for the

12   middle window, where would it be?       And you testified probably

13   12 to 16 months.

14              Do you recall that?

15   A.   So the question had to do with if you accepted all the

16   assumptions that Dr. Forrest does in terms of using that data,

17   and you use all the data, you would come up with a -- and you

18   use the end points that the authors used and not one that you

19   thought was different or made you feel better or something,

20   then you come up with 12 months, the nine months plus three

21   months, or 16 months, the 13 months plus the three months.

22   Q.   And then you said on the front end, in your opinion, with

23   the same caveats you just provided, it would start at six

24   months, right?

25   A.   Well, if you look at, as we just did a little bit ago, the
                  United States District Court
                     District of New Jersey
                                 Appx02719
          Case: 23-2042   Document: 22   Page: 329   Filed: 03/11/2024

                      Sommi - CROSS - Soderstrom                         664

1    relapse rates, when do people start to relapse, it's a few

2    months after randomization, which is a few months after three

3    months.   So three months plus a few months, you could do your

4    own interpretation, six months, five months.          Doesn't get you

5    to four months.

6    Q.   No, but if it was five or six months to 12 to 16 months,

7    as you've just discussed, that would -- there's overlap with a

8    portion of the four- to nine-month window from Claim 5, right?

9    A.   It doesn't get you to four months.

10   Q.   My question is, it would overlap, right?

11   A.   Sure.

12              MR. SODERSTROM:    I don't have anything further.

13              THE COURT:    Thank you.    Any redirect?

14                           (REDIRECT EXAMINATION)

15   BY MS. MULLIN:

16   Q.   Very brief, Dr. Sommi.

17              I don't know if we have it ready to go, but I think

18   Mr. Soderstrom pointed you to paragraph 62 of your opening --

19   or of your expert report that was responsive to invalidity

20   issues.

21              Do you recall that he started the day pretty much

22   there?

23   A.   Okay.

24   Q.   He pointed you to the statement where you said that you

25   relied on Dr. Gobburu's opinions, right?
                  United States District Court
                     District of New Jersey
                                 Appx02720
          Case: 23-2042     Document: 22   Page: 330   Filed: 03/11/2024

                                                                           669

1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,               CIVIL ACTION NUMBER:
     LLC,
5             Plaintiffs,
     vs.                                           2:20-cv-13103-EP-LHG
6

7    MYLAN LABORATORIES LIMITED,                   BENCH TRIAL VOL. 5
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9              Defendants.
     ________________________________
10   MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
     50 Walnut Street
11   Newark, New Jersey 07101
     December 6, 2022
12   Commencing at 10:00 a.m.

13   B E F O R E:         THE HONORABLE EVELYN PADIN,
                          UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20

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24

25
                 United States District Court
                    District of New Jersey
                                  Appx02768
          Case: 23-2042    Document: 22   Page: 331   Filed: 03/11/2024

                        Forrest - CROSS - Mullin                          685

1    nine-month target patient population?

2    A.   Only as obvious, not as anticipating it.

3    Q.   So I understand that you also had extrapolation theories

4    and we will get to those.      But trying to shortcut going through

5    all the prior art references individually, I'm going to ask

6    just one more time.

7               Okay?

8    A.   Okay.

9    Q.   In your direct testimony, did you identify any prior art

10   reference as disclosing the four-to-nine-month target patient

11   population?

12   A.   Not directly.

13   Q.   In your direct testimony, did you identify any prior art

14   reference as disclosing using PP1M after a patient had been

15   advanced to PP3M?

16   A.   Not directly.

17   Q.   In your direct testimony, did you identify any prior art

18   reference as disclosing using PP3M without first stabilizing

19   the patient on PP1M for at least a few months?

20   A.   I'm sorry.      You said without -- let me make sure I

21   understood that question correctly.

22   Q.   Sure.

23              In your direct testimony, did you identify any prior

24   art reference as disclosing giving a dose of PP3M without first

25   stabilizing the patient on PP1M for at least a few months?
                   United States District Court
                      District of New Jersey
                                 Appx02784
          Case: 23-2042   Document: 22   Page: 332   Filed: 03/11/2024

                      Forrest - CROSS - Mullin                           686

1    A.   Yes, the prior art disclosed PP1M prior to PP3M.

2    Q.   The prior art disclosed PP1M prior to PP3M, but my

3    question is did the prior art disclose giving PP3M without

4    first stabilizing the patient on PP1M for at least a few

5    months?

6    A.   Okay.   I'm sorry.    I misunderstood.

7               Yes, they were stabilized on PP1M first.

8    Q.   There was no reference -- prior art reference -- that you

9    relied on in your direct as disclosing giving PP3M without

10   first stabilizing the patient on PP1M for at least a few

11   months.

12              Did I understand that correctly?

13   A.   Correct.    They were stabilized or given paliperidone

14   palmitate prior to the PP3M.

15   Q.   Okay.

16              Now, in your direct testimony, you put a lot of

17   emphasis on the JAMA reference, right?

18   A.   That was part of the art I analyzed.

19   Q.   You testified that the fact that Janssen didn't provide

20   JAMA to the patent office impacted your analysis a great deal.

21              Do you recall that testimony?

22   A.   Yes, I recall it, as I said, that I considered that part

23   of -- let me raise my microphone.       I'm bending down to speak.

24              THE COURT:    Can I take a minute?      I'm having issues

25   with my --
                  United States District Court
                     District of New Jersey
                                Appx02785
          Case: 23-2042   Document: 22     Page: 333     Filed: 03/11/2024

                       Forrest - CROSS - Mullin                               697

1    Q.   Okay.    JAMA tells us that the median patient will relapse

2    12 months after their last dose of PP3M, right?

3    A.   It tells us a range of patients and confidence interval

4    about that.   The median was, yeah, about 274 days since that

5    missed dose, which would be about 12 months since they had

6    their last dose.

7               As I explained during my direct, too, there's quite a

8    confidence interval around that, too.             But the median is there.

9    Q.   Dr. Forrest, at your deposition, page 164, line 21, to

10   165, line four, I asked you the question, "But what this is

11   telling us is that the median patient will relapse 12 months

12   after their last dose of PP3M."

13              And you answered, "Right"?

14   A.   Yes, that's what we've just been saying.              Nine months

15   since their last -- 12 months since their last dose, nine

16   months since a missed dose.         That's the reason I said I think

17   we got confused back and forth in your deposition, but I think

18   you summarized.

19   Q.   We were confused during your deposition, but last week

20   when you were testifying, you put up your slide 40 -- you could

21   look at that -- and you testified about how you could look at

22   figure 2A from JAMA and that there was a natural jump from 274

23   days back to 180 days, right?

24   A.   Well, it's an interval.        As I said during my direct

25   testimony, 274 days, which is a year, we see that up to 80% of
                   United States District Court
                      District of New Jersey
                                Appx02796
          Case: 23-2042   Document: 22   Page: 334   Filed: 03/11/2024

                      Forrest - CROSS - Mullin                                698

1    the patients, anywhere from 30 to 80% of the patients have

2    relapsed, and that's quite problematic, and so a POSA wouldn't

3    want to wait that long.     It would be much more in line to look

4    at dosing interval before this, before the median, and actually

5    it's very similar to what they did in the Sustenna label, too,

6    when they were figuring it when did their own Kaplan-Meier plot

7    there, too.   So you look, you know, at a dosing interval before

8    you have possibly over half your patients failing.

9    Q.   That 180-day number that you testified about in trial did

10   not appear in your expert report or your deposition, right?

11   A.   I don't -- well, 180?      Well, I discussed nine months, I

12   believe, and how one arriving at this would come at nine

13   months.   So as I said, there was quite a bit of confusion

14   during our deposition when we were talking about the days

15   because at one point we were -- it's two ships sailing in the

16   night where I was talking about months, you were talking about

17   other months.    That's the reason I'm trying to clarify.           I

18   think we reached that point at the end.

19   Q.   Let me ask you point blank:       Did you put that 180-day

20   number in your expert report or deposition?

21   A.   One hundred eighty month number, I said nine months.               That

22   is 180 days when you use a 30-month day.

23   Q.   Let's back up, Dr. Forrest.

24              When we were at your deposition, you told me that 274

25   days was the median time to relapse and that would be the time
                   United States District Court
                      District of New Jersey
                                Appx02797
          Case: 23-2042   Document: 22   Page: 335   Filed: 03/11/2024

                      Forrest - CROSS - Mullin                               699

1    that you would start over de novo, right?         The patient's

2    essentially naive to the drug.

3               That's what you told me in your deposition, right?

4    A.   Well, okay, again, we're switching here whether -- I said

5    that was the whole point during the deposition.           There was

6    confusion when we were talking about nine months since the

7    missed dose and nine months since the last dose.           That's why I

8    was trying to clarify for you.

9    Q.   Right.   You were confused and latched on to that

10   nine-month dose.     After we took a break, you came back and said

11   well, actually, the time to relapse is twelve months.

12              Is that what happened during deposition, Dr. Forrest?

13   A.   No, I believe you were asking me the questions on that and

14   then you were switching back and forth with a figure, also.

15   And as I said, there was just a problem with the discussion of

16   how that was going, and then we worked it out.           It's that we

17   just had -- it could be a little confusing, you know, as I told

18   you, explaining to others what they're displaying here in JAMA

19   because they're interested in time to missed doses, and they

20   draw this summary conclusion here on 12 months, but then they

21   actually, as I said, a POSA would actually look at the real

22   data that was here, and as I tried to explain in my direct, you

23   need to recall to add 90 days to all those.          So, that was the

24   whole point I was trying to clarify for you.

25   Q.   At your deposition, you added 90 days to 274 days, and in
                   United States District Court
                      District of New Jersey
                                Appx02798
           Case: 23-2042   Document: 22   Page: 336   Filed: 03/11/2024

                       Forrest - CROSS - Mullin                           710

1    56.

2    BY MS. MULLIN:

3    Q.    At your deposition, page 248, line nine to 249, line

4    seven, I asked you the question, "And if you applied it to the

5    back end, you would get to about 18 months, or about 540 days."

6                 You said yeah.

7                 You're replying that, of course, as I discussed in my

8    report, would see there it would be potentially that long.

9                 Right?

10   A.    Yes.   Then I explained JAMA.

11   Q.    You have to optimize that 18 months, right?

12   A.    It's looking at all the available prior art.

13   Q.    You'll agree with me at least that if we applied the logic

14   that you use for the front end window of the reinitiation

15   period to the back end window, we would end up with a back end

16   window date of 18 months, right?

17   A.    In a void of not having JAMA, yes, you could arrive up to

18   that.

19   Q.    I'm asking you just arriving at that.         We've talked about

20   JAMA, I'm sure you'll talk about it more on redirect.

21                The question is:    If you used the same logic that you

22   applied to estimate the front end of the missed dose window and

23   you applied that exact same logic to the back end, what you

24   would get for the back end would be 18 months, right?

25   A.    In a void, yes.
                   United States District Court
                      District of New Jersey
                                   Appx02809
          Case: 23-2042   Document: 22   Page: 337   Filed: 03/11/2024

                      Forrest - CROSS - Mullin                                720

1    points.   You use all the data you had at hand.

2                And then during my early -- when I wrote my reports,

3    there was a question if JAMA would even be allowed and I also

4    discussed that there's other ways even without JAMA you could

5    get some of these data, such as just a PK modeling is another

6    approach.    I said you could use also PK modeling.

7    Q.   Did I just hear you say that you would use all the data

8    available?

9    A.   You would use -- yes, quite a bit of the data available.

10   You would put the appropriate weight on each one and understand

11   which is most relevant, but you would use data that is

12   available.

13   Q.   But you would not use the final analysis from JAMA?            You

14   would disregard any additional data there and rely on the

15   interim results, right?

16   A.   Because JAMA told us to ignore that data -- I'm sorry --

17   those data.

18   Q.   Is there actually a place in JAMA where JAMA says ignore

19   any data that we collected and analyzed and concluded to extend

20   the PP3M protection from relapse even much longer?            Did JAMA

21   say just ignore that, everybody, or did they report it?

22   A.   You report all the data from your trials, but then you

23   tell what you need to actually look at.         And they told us the

24   data you should analyze is the interim analysis.

25   Q.   Did they say the data you should analyze is the interim
                   United States District Court
                      District of New Jersey
                                Appx02819
          Case: 23-2042   Document: 22   Page: 338   Filed: 03/11/2024

                      Forrest - CROSS - Mullin                           741

1    Q.   Okay.    So let's go back for a second because in the

2    claimed dosing regimen, I think this is showing slide 32, after

3    a patient received a dose of PP3M, if they come back within

4    four to nine months, the first step of the claimed missed dose

5    regimen is give them PP1M, right?

6    A.   That is correct.

7    Q.   And I asked you at least four times in your deposition if

8    there was any prior art directed to giving a dose of PP1M after

9    a patient had been advanced to PP3M and you couldn't identify

10   any, right?

11   A.   As I said, the prior art just teaches giving PP1M, then

12   PP3M.

13   Q.   So you have given the opinion that a POSA developing a

14   treatment for a patient that missed a dose of PP3M would give

15   them PP1M because it might be a faster-acting formulation,

16   right?

17   A.   It's faster acting and it's an approved product that had a

18   known -- could be used to initiate a patient and reinitiate.

19   Q.   Well, when I asked you at your deposition, at least six

20   different times, whether anything in the prior art demonstrated

21   that PP1M reaches therapeutic levels any faster than PP3M, you

22   could not identify anything, right?

23   A.   Well, we didn't finish that line of questioning before you

24   ended the deposition, but it did not -- if your question is did

25   anything identify PP1M could be used -- or PP3M could be used
                   United States District Court
                      District of New Jersey
                                Appx02840
          Case: 23-2042   Document: 22   Page: 339   Filed: 03/11/2024

                  Forrest - REDIRECT - Soderstrom                          776

1    A.   The Kaplan-Meier curve.

2    Q.   For JAMA?

3    A.   Yes.

4                MR. SODERSTROM:   It's at six, I believe, Scott.

5                THE WITNESS:   It would be the top one.

6                I hope, Your Honor, most of this has been clear, the

7    way I'm trying to explain this.       The graph is difficult.

8                THE COURT:   Don't worry about me.

9                THE WITNESS:   But, you know, as I explained numerous

10   times at 12 months, which would be if you follow that line that

11   says 274 days, the median patients have failed.

12               And as I said, a POSA would want to look well before

13   that, at dosage before that, before the median patient failed,

14   and they'd understand this for multiple methods, such as I

15   discussed modeling.      But also the Sustenna label, too, they

16   would understand it from this.       Because if you looked at it as

17   I was describing to opposing counsel in the Sustenna label,

18   they have a Kaplan-Meier plot and it, too, in figure one of the

19   label, if Scott could --

20               MR. SODERSTROM:   Scott, are you able to pull up

21   DTX-25.46 to 47?     Actually, we could start with 47.         DTX-25.47.

22               THE WITNESS:   So this is the same study.         They also

23   did a missed dose study.      They plotted the data upside down.

24   Instead of starting from 100 and, you know, reporting which

25   fraction of patients were still good, they reported which
                  United States District Court
                     District of New Jersey
                                 Appx02875
          Case: 23-2042   Document: 22   Page: 340   Filed: 03/11/2024

                  Forrest - REDIRECT - Soderstrom                          777

1    fraction failed.     So just understand you have to flip it on its

2    head.

3               But you see here that at 163 days since they

4    randomized, which, this case, you need to add 30.            I'm sorry.

5    That's where it gets confusing because it was 30 days since

6    they missed their dose, because this is the Sustenna, the PP1M

7    product.   Well, you see that, you know, at 193 days, based on

8    that, this is where most patients failed.         The study looked one

9    dosage interval before that, which was six months in this case,

10   when they placed that you should start to treat patients in de

11   novo.

12              And so if you apply that same logic when looking at

13   the PP3M, the JAMA, again you see the median fails at the point

14   in time, 274 days, which is equivalent to 12 months in its case

15   since patients had their last dose.       So you look one dosage

16   interval before that and you get nine months in this case when

17   you start to think about putting patients on a stronger

18   reinitiation regimen, which would be treating them as de novo.

19              So it's the same logic there, too.

20   BY MR. SODERSTROM:

21   Q.   Just one more question to be sure.

22              If we go to 25.46, Scott, just the page before that

23   describes this study.

24              Do you see the line during the double blind phase,

25   patients were randomized to either the same dose of Invega
                  United States District Court
                     District of New Jersey
                                Appx02876
          Case: 23-2042   Document: 22   Page: 341   Filed: 03/11/2024

                  Forrest - REDIRECT - Soderstrom                          778

1    Sustenna they received during the stabilization phase --

2    A.   Yes.

3    Q.   -- or to placebo; is that right?

4    A.   That's correct.

5    Q.   Does that mean that prior to the randomization point at

6    time zero, the patients were receiving some dose of Invega

7    Sustenna?

8    A.   They were stabilized, yes.

9    Q.   Counsel also asked you questions regarding the front end

10   of what we've referred to as the middle window being 4.2 under

11   the calculation that you provided.

12               Do you recall that?

13   A.   Yes, sir.

14   Q.   You mentioned during that discussion that the start of

15   that window, one would have more confidence I suppose in that

16   number than the back end window.       You asked to explain that.      I

17   don't think you had the opportunity to do so.

18               Can you explain what you meant by that?

19   A.   A slight overshoot would not be problematic for a patient.

20   I mean, for example, some of Samtani's later studies, like the

21   2011 and '12, I believe, he also published on the PP1M, they

22   actually looked at 150 150 regimens there.         And the fact that

23   the patient went slightly over was not problematic.            They also

24   saw in the '563 publication when patients went briefly over the

25   maximum dose, it wasn't too problematic.         They tried to
                  United States District Court
                     District of New Jersey
                                Appx02877
          Case: 23-2042   Document: 22   Page: 342   Filed: 03/11/2024

                   Forrest - REDIRECT - Soderstrom                       779

1    maintain them within the window.       The real danger in all these

2    was underdosing a patient and them relapsing.

3    Q.   You were also asked questions in same sort of line about a

4    POSA reaching 4.2 as the beginning of the window and 18 as the

5    back end of the window and you said that that could be true, I

6    think you said in a void or vacuum; is that right?

7    A.   Yes, that's correct.

8    Q.   Let's put the rest of your testimony aside for a minute.

9               4.2 to 18 months overlaps with four to nine months,

10   right?

11   A.   Yes, it does.

12   Q.   You were asked questions on slide 13.         I don't have these

13   in electronic form, so perhaps if you have it with you from

14   your cross binder there --

15   A.   Yes, it's large print.

16   Q.   Sorry?

17   A.   It's large print.

18   Q.   The question was, at the effective filing date, a

19   half-life of PP3M was not known, and you said that it wasn't

20   explicitly known and you said that you would like to explain

21   that, but didn't get an opportunity.

22              Can you explain what you meant by that?

23   A.   The '536 discusses a great deal about the dosing and

24   half-lives, and they determined this journalization based upon

25   all products, and they use this knowledge in designing their
                   United States District Court
                      District of New Jersey
                                Appx02878
          Case: 23-2042   Document: 22   Page: 343    Filed: 03/11/2024

                  Forrest - REDIRECT - Soderstrom                                  780

1    dosage forms.    So when they were designing their regimens too,

2    they relied in part in this knowledge that depots generally

3    have a half-life similar or administration interval similar to

4    one to two half-lives for the products.         It's general knowledge

5    that they accepted and that they applied to their product too.

6    Q.   And then we had some questions about the '536 publication

7    being all about paliperidone palmitate.

8                MR. SODERSTROM:   And, Scott, I don't know if you're

9    able to pull up the direct Forrest slides, slide 25.                 Go one

10   back.   Go one forward.    You were right.

11   BY MR. SODERSTROM:

12   Q.   Dr. Forrest, this is the abstract for the '536

13   publication; is that right?

14   A.   Yes.

15   Q.   Does it reference any other drug aside from paliperidone

16   palmitate?

17   A.   Yes, it -- this is part of what I was trying to clarify,

18   that -- when I said it was all about the claimed subject matter

19   and the predominance of the teachings.          But it also teaches

20   minor uses like switching from other drugs, and it teaches all

21   that table three information we also talked about.

22   Q.   Then if we just look at the title of that slide, and you

23   might not be able to see it there, but the title of the '536

24   patent was with respect to -- perhaps you're able to blow that

25   up, Scott -- a dosing regimen associated with long-acting
                  United States District Court
                     District of New Jersey
                                Appx02879
          Case: 23-2042     Document: 22   Page: 344   Filed: 03/11/2024

                                                                           793

1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,               CIVIL ACTION NUMBER:
     LLC,
5             Plaintiffs,
     vs.                                           2:20-cv-13103-EP-LHG
6

7    MYLAN LABORATORIES LIMITED,                   BENCH TRIAL VOL. 6
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9              Defendants.
     ________________________________
10   MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
     50 Walnut Street
11   Newark, New Jersey 07101
     December 7, 2022
12   Commencing at 10:00 a.m.

13   B E F O R E:         THE HONORABLE EVELYN PADIN,
                          UNITED STATES DISTRICT JUDGE
14

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25
                 United States District Court
                    District of New Jersey
                                  Appx02930
          Case: 23-2042     Document: 22    Page: 345   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                           869

1               MR. COHEN:      No, that's not controversial and I'll ask

2    Dr. Kohler what opinions he's providing today after he's been

3    qualified as an expert.

4               THE COURT:      Go ahead.

5    BY MR. COHEN:

6    Q.   Dr. Kohler, what opinions are you prepared to provide

7    today?

8    A.   I'm prepared to speak on the importance of the missed dose

9    instructions for Invega Trinza and the real world perspective

10   and benefits of treating with Invega Trinza.

11   Q.   Dr. Kohler, were you asked in this case to provide and are

12   you here to provide today any opinion as to whether or not the

13   claims of the '693 patent are valid or infringed?

14   A.   No, I'm not.

15              MR. COHEN:      Your Honor, I apologize.

16              The record might have been unclear based on the prior

17   proffer.   We move to qualify Dr. Kohler as an expert in the

18   subject matters that I stated.

19              MR. MUKERJEE:      Subject to what I said, we have no --

20              THE COURT:      We have an agreement, gentlemen?

21              MR. MUKERJEE:      Yes.

22   BY MR. COHEN:

23   Q.   Let's start with schizophrenia.

24              We heard a lot about it in trial, but I want to give

25   you an opportunity to tell us in your own words your
                  United States District Court
                     District of New Jersey
                                  Appx03006
          Case: 23-2042     Document: 22   Page: 346   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                                 870

1    perspective on the illness, its care, the patients who you see

2    and the doctors that they deal with.

3    A.   Very briefly, schizophrenia is a condition that affects

4    about 1% of the population in terms of lifetime prevalence.                  It

5    has its onset during late adolescence and early adulthood,

6    which are very important for a person's individuation and

7    functioning.

8               The importance in treating people with schizophrenia

9    early in the illness is to treat them to improvement, if not

10   remission and recovery.       That can be attained within the first

11   let's say, five years, max ten years of illness.             If that is

12   not achieved, then the illness runs in chronic and overtime

13   deteriorating course with a limited life expectancy.                  Even

14   though schizophrenia has, as I said, a 1% lifetime prevalence,

15   it's considered to be under the 12 most disabling conditions

16   worldwide.

17   Q.   In terms of doctors and patients with schizophrenia, how

18   does the disease affect that relationship?

19   A.   People who have schizophrenia may come to treatment in

20   different settings:      Inpatient settings, outpatient settings.

21   It's important to forge a relationship and a plan for effective

22   treatment.   And effective treatment in schizophrenia, really

23   the single-most important treatment is medication treatment.

24   There are other very important elements of treatment that --

25   but they depend on medication treatment to effectively control
                  United States District Court
                     District of New Jersey
                                  Appx03007
          Case: 23-2042     Document: 22   Page: 347   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                               871

1    symptoms.

2    Q.   Is there a cure for schizophrenia?

3    A.   There's no cure for schizophrenia.           The medications in

4    particular, antipsychotics medications, affect brain systems

5    that use dopamine as a neurotransmitter and they attempt to

6    reestablish a certain balance in the brain system that has been

7    gotten out of whack or out of balance and, therefore, produces

8    the psychosis symptoms.

9    Q.   Is it important for patients suffering from schizophrenia

10   to take their medicine?

11   A.   It's very important for people to take their medicines,

12   and many people early in the course of illness respond very

13   well to antipsychotic treatment, only to stop treatment

14   prematurely and suffer a relapse.         And with repeated relapses,

15   what happens is increasing disability and chronicity of

16   illness.

17   Q.   Those relapses, are the consequences of those permanent?

18   A.   They are.       People will respond less well to medications,

19   people will have more side effects, and people, not necessarily

20   as the result of treatment, will experience functional

21   impairment and cognitive impairment.

22   Q.   Do patients with schizophrenia in your experience

23   generally adhere to their treatment regimens?

24   A.   Adherence is a problem in all areas of medicine.                 It is a

25   particular issue in the area of schizophrenia in that we know
                  United States District Court
                     District of New Jersey
                                  Appx03008
          Case: 23-2042     Document: 22   Page: 348   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                              872

1    that about 50% of people with, let's say, first episode

2    schizophrenia stop medications within one year of being started

3    on medications, but it remains a problem throughout the whole

4    course of illness.

5    Q.   So why would a patient with schizophrenia stop taking a

6    medicine that's working?

7    A.   There are different reasons.         One is that the person

8    disagreed that they have an illness.          One is that the person

9    responds well to treatment and thinks they, therefore, no

10   longer need medication.       They don't understand.        That's similar

11   to a hypertension.      If let's say blood pressure is normal, that

12   still means we have to take anti-hypertensive medication, so

13   they stop antipsychotics and experience a relapse.

14              Another is side effects, in that people, especially

15   those who are younger, experience medication side effects that

16   are called acute extrapyramidal symptoms.           The classic ones are

17   painful muscle contractions in the neck, throat.             The person

18   may end up in the emergency room.         It's very uncomfortable,

19   distressing.   Obviously a person may be reluctant to continue

20   with medication.

21              Another side effect is the experience of restlessness

22   in that a person cannot sit or lie still.           Again, a particular

23   side effects in the course of early illness that can lead to

24   suicidality.

25   Q.   If a patient experienced side effects from a medicine, how
                  United States District Court
                     District of New Jersey
                                  Appx03009
          Case: 23-2042     Document: 22   Page: 349   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                          873

1    does that relate to their willingness to continue treatment in

2    the future?

3    A.   In particular, a patient who has limited agreement about

4    taking medication, it affects their assessment of the risk

5    benefit of taking medications and, therefore, they will feel

6    that the medication is too risky to continue taking.

7    Q.   Is it important in the treatment of patients with

8    schizophrenia to avoid potential side effects from over

9    treatment?

10   A.   It is.

11   Q.   Is adherence any better -- we've heard a lot about

12   long-acting injectables in this trial.

13              Is patient adherence to medication better with

14   long-acting injectables than once-a-day pills?

15   A.   We have to consider that patients who are good candidates

16   for long-acting injectables are those who have shown for

17   different reasons not to be able to take oral medications on a

18   regular basis.       Therefore, they would do poorly if just

19   considered with all medication.         By taking long-acting

20   injectable medication, they are afforded a medication that

21   lasts for a longer period of time.         It doesn't take away the

22   issue of non-adherence.       They still have an opportunity to miss

23   the medication.

24   Q.   Do patients on long-acting injectable antipsychotics still

25   nevertheless miss the regularly scheduled doses?
                   United States District Court
                      District of New Jersey
                                  Appx03010
          Case: 23-2042     Document: 22   Page: 350     Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                              874

1    A.   Yes, that is correct.

2    Q.   Let's talk about Invega Trinza.          That's why we're here.

3               We want to focus your attention right around the time

4    Invega Trinza was approved, May 2015.

5               Were any of the long-acting injectable antipsychotics

6    available prior to Trinza in once-every-three-month dosages?

7    A.   No, they were not.       There were several first-generation

8    antipsychotics.      Haldol and Prolixin.         There was Risperdal

9    Consta, Invega Sustenna, and Abilify Maintena.               These were

10   products that were given every two weeks to max five weeks.

11   Q.   The products that were available before Trinza were

12   available every two to five weeks.

13              In your opinion, was there a need for longer acting

14   injectable antipsychotics?

15   A.   There definitely was a need.         Even though that one-month

16   formulation covers the person for a one-month period, there's

17   still the task of presenting either to the doctors or nurse's

18   office or pharmacy.      And in particular, for patients who do

19   well on long-acting injectables and who have other activities

20   and responsibilities to pursue in life, a product that lasts

21   for longer than three months is of benefit.

22   Q.   And now when Trinza was first approved, again, we're

23   talking about May 2015 -- how was it received by the field?

24   A.   When Invega was first approved, as a field, we had no

25   experience with a product that would last three months, if not
                  United States District Court
                     District of New Jersey
                                  Appx03011
          Case: 23-2042     Document: 22   Page: 351   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                          875

1    longer.    We had some concerns about the amount of medication

2    necessary to treat a person for three months, whether the

3    product would remain effective for three months and longer and

4    also whether there could be -- because of the large amount of

5    medication -- side effects that would emerge within maybe

6    several weeks that we then would have to manage over the course

7    of three months.      And if they were severe, obviously the person

8    would not continue taking Invega Trinza.

9    Q.   Are potential side effects a bigger concern for products

10   that last three months than products that are intended to last

11   for shorter time periods?

12   A.   Yes.   And let's say we have an oral medication where a

13   person experiences side effects.         Half-life of these

14   medications is typically short, so within several days, we

15   could expect that the side effects would subside for the most

16   part.   If we're dealing with a three-month product, then we're

17   faced with managing side effects over a much longer period of

18   time.

19   Q.   Can you -- once you give them a dose of three-month

20   product, can you take the dose out if they're experiencing side

21   effects?

22   A.   No.    We would have to administer medications to counter

23   the side effects.      In more extreme cases, people would need to

24   be hospitalized.

25   Q.   We've had about seven years of experience with Invega
                  United States District Court
                     District of New Jersey
                                  Appx03012
          Case: 23-2042     Document: 22   Page: 352   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                            884

1    to functional improvement and hopefully a more independent

2    functioning.   The three-month formulation frees them up to

3    pursue these activities.

4                However, we have to consider that people who go on to

5    long-acting injectables for different reasons have been shown

6    to have a high rate of nonadherence.          So nonadherence will

7    occur again.

8                In the setting of missed dose or nonadherence, if you

9    wish, we have to have clear instructions about how to catch a

10   person up to the previously effective treatment regimen.              We're

11   not talking about people who are inherently unstable and who

12   will be rehospitalized.       We're talking about people where the

13   continuation of Invega Trinza is necessary.

14   Q.   How do the missed dose instructions contribute to your

15   ability to use Invega Trinza with such patients?

16   A.   The missed dose instructions are divided into three time

17   periods.    One that allows them to continue the previous Invega

18   Trinza dose and having knowledge that based on what Janssen has

19   found with respect to its studies, as well as what the FDA has

20   approved, that the medication will continue to exert its

21   efficacy.

22               The second time period is a period where there's some

23   very specific instructions about how to catch a person up to

24   previous treatment, which now includes going back to Invega

25   Sustenna.
                  United States District Court
                     District of New Jersey
                                  Appx03021
          Case: 23-2042     Document: 22   Page: 353   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                          886

1    Invega Trinza.

2               So as a physician, I have the obligation to weigh

3    risks and benefits of continued treatment.           What that means is

4    I do not want to experiment and undertreat the person and

5    therefore the person may experience relapse.            So I want to use

6    the best available information to maintain the personal

7    treatment.

8               On the flip side, I could err on the side of over

9    administration, and now the person will have side effects which

10   may preclude the person from continuing with medication.

11   Q.   Now, have you treated or been involved in the treatment of

12   a patient on Invega Trinza who had missed a dose and came back

13   four to nine months after their previous dose?

14   A.   Yes, I have.

15   Q.   We heard earlier at this trial Dr. Berger testify that

16   he's never used the four to nine month instructions and that he

17   had residents who attempted to, but were unsuccessful at using

18   it --

19              MR. MUKERJEE:      Objection, Your Honor.

20              Dr. Berger's testimony that this Court has heard has

21   all been related to non-infringing.         This expert has already

22   testified he's not offering opinions on infringement and he's

23   not offering opinions on invalidity.          He may debate what

24   exactly these opinions are.

25              THE COURT:      I want everybody to calm down.
                  United States District Court
                     District of New Jersey
                                  Appx03023
            Case: 23-2042     Document: 22   Page: 354   Filed: 03/11/2024

                            Kohler - DIRECT - Cohen                            888

1    any foundation that he's reviewed that transcript.                So, in the

2    absence of that --

3                 THE COURT:      The way I'm going to frame it is

4    Dr. Berger was a treating psychiatrist and he's giving an

5    example of what he -- he's giving an example of it.                I'm going

6    to allow it because it's only an example.

7                 MR. MUKERJEE:      Okay.

8                 MR. COHEN:      Thank you, Your Honor.

9    A.     I believe the question was whether I was able to return

10   people to treatment within the four to nine month period using

11   the Invega Trinza missed dose instructions, and the answer is

12   yes.

13   BY MR. COHEN:

14   Q.     How many patients have you been involved with the

15   treatment of using Invega Trinza?

16   A.     I estimate that I've treated about 70 patients with Invega

17   Trinza.

18   Q.     How many of those patients have you treated according to

19   the four to nine month missed dose instructions on the label?

20   A.     I've treated about five patients.

21   Q.     Have you ever returned a patient to Invega Trinza who had

22   missed a dose in a manner that did not accord with the Invega

23   Trinza label?

24   A.     No, I cannot recall that.

25   Q.     In your opinion, is it common for other health care
                    United States District Court
                       District of New Jersey
                                    Appx03025
          Case: 23-2042     Document: 22     Page: 355    Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                              889

1    professionals to rely on the missed dose instructions on the

2    Invega Trinza label?

3    A.   In my experience, other health care providers rely on the

4    missed dose instructions.

5    Q.   Now, let's go back in time to when you were first

6    considering whether or not to use Invega Trinza, whether or not

7    to adopt it as part of your practice.

8               Did the missed dose instructions at that time that

9    were reflected on the Invega Trinza label, and in particular,

10   the four to nine month dose instruction, did they play any role

11   in your consideration of whether or not to adopt Invega Trinza

12   in your practice?

13   A.   Yes, they did and for these two reasons, one is that

14   again, we are dealing with a three-month product that we as

15   clinicians have really limited knowledge about,

16   pharmacokinetics, pharmacodynamics, how long the product lasts

17   to exert clinical efficacy.           So it was very important to have

18   information if there's a missed dose.

19              And the other reason is that Invega Sustenna did have

20   or does have missed dose instructions.              Same with the other

21   second generation, long-acting injectables.               And therefore, if

22   this were missing in Invega Trinza, I would have been very

23   reluctant in transferring stable patients on Invega Sustenna to

24   Invega Trinza.       Now I'm -- yeah.

25   Q.   You can continue if you weren't finished.
                  United States District Court
                     District of New Jersey
                                  Appx03026
          Case: 23-2042     Document: 22   Page: 356   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                           890

1    A.   No.    I just wanted to make a point about, again, when we

2    look at five patients out of 70 patients, we're not looking at

3    a large number, but these are people who were candidates for

4    continued Invega Trinza treatment.         The treatment nonadherence,

5    of course, is a lot.       With a long-acting injectable, of course

6    it's a lot higher in Invega Sustenna.

7    Q.   So what would the risks be if you were faced with treating

8    a patient who had missed a dose of Invega Trinza and you didn't

9    have the label instructions on how to reinitiate such patients?

10   A.   The risks would be that while I'm aware that this product

11   will likely last, or be in the body for longer than three

12   months, I do not know how to catch a person up to treatment.

13   Would I put the person back on oral medication?             Now, the

14   people on long-acting injectables already have had a poor

15   experience with oral medications.         Would I go treat the person

16   with Invega Trinza without knowing whether that would

17   sufficiently maintain the person?         Or would I try to put

18   together some regimen of Invega Sustenna which, again, we have

19   never used a shorter acting long-acting injectable to catch up

20   to a missed dose of a long-acting injectable so that we have --

21   as clinicians, we have no experience doing that.

22   Q.   Are you aware of any scientific literature that expresses

23   similar concerns about patients who have missed a dose and how

24   to treat them?

25   A.   Yes.
                  United States District Court
                     District of New Jersey
                                  Appx03027
          Case: 23-2042     Document: 22   Page: 357   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                          891

1    Q.   Do we have a slide about that paper as well?

2    A.   Yes, I do.

3               MR. COHEN:      Can we go to the next slide, please?

4    BY MR. COHEN:

5    Q.   What was the general purpose of the -- first, can you

6    identify the paper for us?

7    A.   This is a review paper published in the journal of

8    clinical psychiatry in 2016 with the first author being

9    Christoph Correll.      That includes eight experts in the field of

10   schizophrenia and antipsychotic medications.

11              The particular focus of this article was on

12   long-acting injectables, and the reason why the authors felt

13   that penning this paper was important is because we know that

14   in the United States, long-acting injectables are vastly

15   underused in the population of schizophrenia, and they looked

16   at the extant literature on what is known about long-acting

17   injectables, and as part of that, they looked at why

18   psychiatrists are reluctant to prescribe long-acting

19   injectables.

20   Q.   What did this group of eight experts in the field report

21   about why physicians are reluctant to use long-acting

22   injectables and how that pertains to missed dose instructions?

23   A.   In their opinion -- and I would agree with that -- is that

24   many clinicians really lack knowledge about practical issues

25   with respect to long-acting injectables, including which dose
                  United States District Court
                     District of New Jersey
                                  Appx03028
          Case: 23-2042     Document: 22   Page: 358   Filed: 03/11/2024

                          Kohler - DIRECT - Cohen                          892

1    to select, pharmacokinetics, and what to do when a patient is

2    late and experiences a missed dose or has persistent symptoms

3    after starting therapy.

4    Q.   So how does what the authors say in this paper relate to

5    your opinion that the missed dose instructions are important to

6    clinicians?

7    A.   Again, it supports that I, as a clinician, am giving

8    information that improves my confidence that I can continue

9    treatment with Invega Trinza rather than experimenting to catch

10   up after a missed dose.

11   Q.   Dr. Kohler, would you be using Invega Trinza as often as

12   you use it today if it came out without missed dose

13   instructions on the label?

14   A.   As I described before, I would have been really reluctant

15   in continuing patients who were improved on Invega Sustenna on

16   Invega Trinza.       I would have remained with the Invega Sustenna

17   product.   At some point, but throughout the past seven years,

18   I'm sure I would have used Invega Trinza; however, one has to

19   consider I'm in a setting where we're very interested in using

20   all medications that are available to see what is the impact in

21   patients who we treat, the benefit.         I think that in the

22   overall community of psychiatrists, the hesitancy to adopt a

23   product would have been greater than mine.

24   Q.   Now to be clear, are the missed dose instructions the only

25   reason that you would be -- that you're using Invega Trinza
                   United States District Court
                      District of New Jersey
                                  Appx03029
          Case: 23-2042   Document: 22   Page: 359   Filed: 03/11/2024

                      Kohler - CROSS - Mukerjee                          893

1    today?

2    A.   No, absolutely not.     I mean the upfront benefits of Invega

3    Trinza really are the effectiveness of treatment and tolerable

4    side effects.

5    Q.   But in your opinion, would Invega Trinza be as widely used

6    as it is today if it lacked missed dose instructions?

7    A.   I don't think it would be as widely used.

8               MR. COHEN:    No further questions, Your Honor.

9               MR. MUKERJEE:    Your Honor, in light of the kind of

10   scope of the background information, if I could ask for just

11   about five minutes because I might just retool my cross a

12   little bit.

13              THE COURT:    Take your five minutes.

14              MR. MUKERJEE:    You'll be happy.

15              THE COURT:    We'll be back.

16              (Time noted: 1:51 p.m.)

17              (Recess taken)

18              (Time noted: 2:01 p.m.)

19              THE COURTROOM DEPUTY:      All rise.

20              THE COURT:    Please be seated.

21              MR. MUKERJEE:    Thank you, Your Honor, for that time.

22   It'll inure hopefully to the Court's benefit because what I was

23   trying to do is cut things, not add.

24                            (CROSS-EXAMINATION)

25   BY MR. MUKERJEE:
                   United States District Court
                      District of New Jersey
                                 Appx03030
          Case: 23-2042   Document: 22   Page: 360   Filed: 03/11/2024

                      Kohler - CROSS - Mukerjee                          909

1    Q.   And that was your answer, correct?

2    A.   That was my answer, yes.

3    Q.   Okay.   Now, using Trinza for the treatment of bipolar

4    disorder, well, that would be an off-label use, correct?

5               MR. COHEN:    Objection, Your Honor.

6               This goes to infringement and Mr. Mukerjee made a big

7    objection about Dr. Kohler testifying about what he thought was

8    about infringement.     It's unfair to be asking questions about

9    infringement.

10              MR. MUKERJEE:    All I'm asking him is if you use

11   Trinza for bipolar disorder, is it in the label or is it not.

12              THE COURT:    But that's a different question than what

13   you posed, so I'm going to sustain the objection.

14   BY MR. MUKERJEE:

15   Q.   Okay.   If you use Trinza for bipolar disorder, would that

16   be on the label?

17   A.   That would be off-label use.

18   Q.   That would be off-label, okay.

19              And on the topic -- just on off-label use, you've

20   prescribed drugs outside of what information is contained in

21   the label in your own practice, correct?

22              MR. COHEN:    Objection, Your Honor.

23              Off-label use, Mr. Mukerjee is asking questions about

24   infringement, which are outside the scope of his direct

25   testimony.
                  United States District Court
                     District of New Jersey
                                Appx03046
          Case: 23-2042     Document: 22    Page: 361   Filed: 03/11/2024

                      Kohler - CROSS - Mukerjee                             927

1    Q.   Okay.

2                Dr. Kohler, may I proceed then?          Are you --

3    A.   Yes.

4    Q.   Okay.

5                Looking at each of these three doses -- so I'm

6    talking about day one, day eight and a month out -- you agree

7    they could be adjusted based on the clinical presentation of

8    the patient, correct?

9    A.   The way I understand the label is that the recommendation

10   is not to adjust according to clinical situation.

11   Q.   But you agree they could be adjusted based on clinical

12   presentation of the patient, correct?

13   A.   That would be an off-label use.

14   Q.   Again, Dr. Kohler, that's not my question.

15               You agree that they could be adjusted based on the

16   clinical presentation of the patient, correct?

17               MR. COHEN:     Objection.

18               Asked and answered.

19               And also, this appears to be infringement

20   cross-examination, not what Dr. Kohler testified about.

21               MR. MUKERJEE:     The entire -- if there is any --

22               THE COURT:     I believe he said it would be an

23   off-label use.       That's how he answered your question.

24               MR. MUKERJEE:     Right.

25
                  United States District Court
                     District of New Jersey
                                  Appx03064
          Case: 23-2042   Document: 22   Page: 362   Filed: 03/11/2024

                      Kohler - CROSS - Mukerjee                                928

1    BY MR. MUKERJEE:

2    Q.   I think my question right now, though, is that you agree

3    that they could be adjusted based on clinical presentations of

4    the patient?

5                Again, there are no tricks here, Dr. Kohler.            I'm

6    asking you questions really literally that you were asked in

7    your deposition.

8                MR. COHEN:   Objection.

9                Asked and answered.

10               MR. MUKERJEE:   I don't know if he answered that

11   question, Your Honor.

12               THE COURT:   I'll overrule.     Let him answer the

13   question.

14   A.   My answer would be yes.

15   Q.   You personally, Dr. Kohler, you wouldn't blindly follow

16   the reinitiation regimen without assessing whether the patient

17   is even eligible for the regimen, correct?

18               MR. COHEN:   Objection, Your Honor.

19               This is outside the scope of the direct and directly

20   inherent language from Mylan's infringement case, blindly

21   following the label.

22               Mr. Mukerjee objected to my line of questioning

23   vociferously that he believed we were going into infringement.

24   This is absolutely unfair to go to infringement.

25               MR. MUKERJEE:   Your Honor, this is from deposition
                  United States District Court
                     District of New Jersey
                                 Appx03065
          Case: 23-2042   Document: 22   Page: 363   Filed: 03/11/2024

                      Kohler - CROSS - Mukerjee                          929

1    testimony that I'm quoting that was part of the question that

2    he answered and I can put it up.

3               But again, his testimony is to discuss the real world

4    implications of Invega Trinza.       And the real world implications

5    about following this particular dosage regimen, putting aside

6    the fact that out of the thousands of patients, there's only

7    five times that he's done it.       But his proffer was the real

8    world implications.     This is a real world implication.

9    BY MR. MUKERJEE:

10   Q.   If you have a patient now --

11              MR. COHEN:    Your Honor, I maintain my objection.       It

12   goes to infringement.     It's irrelevant to the issues Dr. Kohler

13   testified to on direct.

14              And, furthermore, it's irrelevant that he testified

15   at his deposition.    Counsel asked wide-ranging questions at his

16   deposition and the scope here is what Dr. Kohler presented on

17   direct examination.

18              THE COURT:    I'm going to sustain the objection.

19              MR. MUKERJEE:    Okay.

20   BY MR. MUKERJEE:

21   Q.   Okay.   So going to your real world implications, you're

22   familiar with the Invega Trinza label, right?

23   A.   I am.

24   Q.   In your practice, again, just bringing it to the real

25   world, you've reviewed it?
                  United States District Court
                     District of New Jersey
                                Appx03066
          Case: 23-2042   Document: 22   Page: 364   Filed: 03/11/2024

                      Kohler - CROSS - Mukerjee                           930

1    A.   Yes, I have.

2    Q.   Your testimony is that you follow it, correct?

3    A.   Yes.

4    Q.   Okay.    Now, you agree, though, in that section of the

5    label -- and you've reviewed this section, correct?

6    A.   Yes.

7    Q.   You agree that there's nothing in this missed dose section

8    that speaks to a section where the patient doesn't return for

9    the day 8 second reinitiation dose; isn't that right?

10   A.   That is correct.

11   Q.   And that is the situation that can happen in the real

12   world; isn't that true?

13   A.   That can happen.

14   Q.   Okay.    This section is also -- and the section that you've

15   reviewed here, this section is also silent about the situation

16   where the patient doesn't return one month after the day eight

17   injection.

18               You agree there's nothing in the missed dose section

19   that speaks to this, correct?

20   A.   Correct.

21               MR. COHEN:   Objection, Your Honor.       This line of

22   questioning is, again, continuing to be about infringement.

23   It's not --

24               THE COURT:   Overruled.

25               Continue.
                   United States District Court
                      District of New Jersey
                                Appx03067
          Case: 23-2042   Document: 22    Page: 365     Filed: 03/11/2024

                      Kohler - REDIRECT - Cohen                             939

1    windows?

2    A.   I can talk about the importance.            I think when you're

3    talking about the benefit of the time windows --

4    Q.   You haven't distinguished between those time windows in

5    any way, correct?

6               As to purported benefits, you haven't distinguished

7    between them, correct?

8               You haven't offered any opinions in this case

9    distinguishing any one of those windows as having any

10   preferential benefit over the other; isn't that right?

11   A.   I don't know if I did or if I didn't in my report.

12   Q.   Okay.

13              So sitting here today, you don't recall giving that

14   opinion; is that fair?

15   A.   I don't recall giving that opinion before.

16              MR. MUKERJEE:    Okay.

17              I have no further questions, Your Honor.

18              THE COURT:    Redirect?

19              MR. COHEN:    Thank you, Your Honor.

20              And based on Mr. Mukerjee's representation that none

21   of his testimony will be used out of context to support Mylan's

22   non-infringement defense, I only have very few questions.

23                           (REDIRECT EXAMINATION)

24   BY MR. COHEN:

25   Q.   Dr. Kohler, you were asked a couple of questions about the
                  United States District Court
                     District of New Jersey
                                 Appx03076
          Case: 23-2042     Document: 22   Page: 366   Filed: 03/11/2024

                                                                           943

1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,               CIVIL ACTION NUMBER:
     LLC,
5             Plaintiffs,
     vs.                                           2:20-cv-13103-EP-LHG
6

7    MYLAN LABORATORIES LIMITED,                   BENCH TRIAL VOL. 7
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9              Defendants.
     ________________________________
10   MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
     50 Walnut Street
11   Newark, New Jersey 07101
     December 8, 2022
12   Commencing at 9:53 a.m.

13   B E F O R E:         THE HONORABLE EVELYN PADIN,
                          UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20

21

22

23

24

25
                 United States District Court
                    District of New Jersey
                                  Appx03125
            Case: 23-2042   Document: 22   Page: 367   Filed: 03/11/2024

                       Berger - DIRECT - Mukerjee                          1038

1    A.     Yes, they do.

2    Q.     So if I were to highlight the portion of the label that

3    aligns with the asserted claims, what portion would that be?

4    A.     Section 2.3.

5    Q.     And even then, would it be all of Section 2.3, Dr. Berger?

6    A.     No, only the portion that addresses four to nine months

7    since last injection.

8    Q.     The portion that's been blown up and is highlighted in

9    green?

10   A.     Yes, that's correct.

11   Q.     Okay.   So the portion that you've highlighted there,

12   that's the portion that actually aligns with the claims; is

13   that right?

14   A.     Yes.

15   Q.     Okay.

16                 Now, do the Asserted Claims cover any other portion

17   of the Trinza label?

18   A.     No, they don't.

19   Q.     Okay.

20                 MR. MUKERJEE:   Scott, if you could highlight the rest

21   of the pages then, just in red.

22   BY MR. MUKERJEE:

23   Q.     And so the indication of the medication itself is now in

24   red.

25                 Do you agree, Dr. Berger?
                    United States District Court
                       District of New Jersey
                                   Appx03220
            Case: 23-2042   Document: 22   Page: 368   Filed: 03/11/2024

                       Berger - DIRECT - Mukerjee                           1043

1    you?

2    A.     It means doubt.

3    Q.     It means a doubt?

4    A.     Yes.

5    Q.     Well, then, to that end, you've previously testified that

6    it's unsafe to follow the missed dose regimen.

7                  Do you recall that?

8    A.     I do recall that.

9    Q.     So would it be unsafe in all instances, Dr. Berger?

10   A.     No, not in all instances.

11   Q.     Could you further explain that?

12   A.     Sure.   So there are adherent patients and there are

13   nonadherent patients.       An adherent patient who is known to be

14   adherent, I think that it is safe or wise or permissible to go

15   ahead and use that reinitiation regimen in Claim 5 because the

16   patient is likely to do those steps in the claim.              Whereas with

17   a nonadherent patient, a patient who's known to be nonadherent,

18   he's unlikely to come back for the second reinitiation loading

19   dose and unlikely to come back for the reinitiation dose of

20   PP3M.    So it's far safer -- and maybe wiser is a better word --

21   it's far wiser to use a three-month injection for that

22   nonadherent patient, cover the symptoms for three months, than

23   to use a one-month injection that covers the symptoms for only

24   one month.

25   Q.     Thank you.
                    United States District Court
                       District of New Jersey
                                  Appx03225
          Case: 23-2042   Document: 22   Page: 369   Filed: 03/11/2024

                       Berger - CROSS - Fischer                              1048

1                MR. MUKERJEE:   Your Honor, you sustained the

2    objection already.

3                THE COURT:   Let's move on.

4                MR. FISCHER:    Okay.

5    BY MR. FISCHER:

6    Q.   Dr. Berger, all of your testimony today in your view is

7    consistent with your testimony from last week?

8    A.   Yes.

9    Q.   Have you attempted to change or modify any of your

10   testimony from last week today?

11               MR. MUKERJEE:   Objection, Your Honor.

12               MR. FISCHER:    I just want to know whether he did.          If

13   the answer is no, then we could move on.

14               MR. MUKERJEE:   He's changed -- I don't even

15   understand.   He's changed it -- this is cross.          If there's

16   something he thinks he wants --

17               THE COURT:   I think it's a fair question.         He can ask

18   that.

19               Go ahead.

20   A.   I've clarified what I meant when I said unsafe.                I

21   clarified it to -- perhaps a better word would have been

22   unwise.

23   BY MR. FISCHER:

24   Q.   Dr. Berger, you said a couple times that you've been

25   practicing for over 50 years at this point, correct?
                   United States District Court
                      District of New Jersey
                                 Appx03230
          Case: 23-2042    Document: 22     Page: 370   Filed: 03/11/2024

                       Berger - CROSS - Fischer                                1058

1    with this.

2               So finish this off.

3               MR. FISCHER:     Thank you, Your Honor.          I just hope

4    that if anyone looks into whether I fulfilled my promise to be

5    short, we account for the length of the speaking objections.

6    BY MR. FISCHER:

7    Q.   So the question, Dr. Berger, is in fact you had some

8    reluctance to prescribe Trinza when it first came out, correct?

9               THE COURT:     He already answered that question.

10              Move on.

11   BY MR. FISCHER:

12   Q.   Your colleagues were similarly reluctant to prescribe

13   Trinza when it first came out, right?

14   A.   Not reluctant.     No, I wasn't reluctant and my colleagues

15   were not reluctant.     We were -- we were questioning whether it

16   would really last three months.

17   Q.   Well, the question is:          Did you have any reluctance to

18   prescribe it when it came out?

19   A.   Oh, that question.      Sure.

20              It didn't stop me from prescribing it.

21   Q.   Right.   So now that Trinza has been around, you've

22   concluded that it's indeed a wonderful drug, correct?

23   A.   I thought it was a wonderful drug when it first came out.

24              And I still do.

25   Q.   Thank you.
                   United States District Court
                      District of New Jersey
                                 Appx03240
         Case: 23-2042    Document: 22   Page: 371   Filed: 03/11/2024

                              PROCEEDINGS                                1067

1    secondary considerations, of course.        But with noninfringement,

2    the way we tried this case to you, at least that was done, that

3    was finished, right, plaintiffs' burden.         It was finished and

4    then we moved on to the invalidity segment.

5              MS. MULLIN:     Your Honor, I agree that both parties in

6    cross-examination have frankly had some difficulty trying to

7    elicit testimony about things like long felt need and whether

8    or not the missed dose instructions contributed to the success

9    of the product.     It's been hard to do that without coming close

10   to what seems like infringement issues.         That's just the nature

11   of this case.   So both parties have objected to using testimony

12   elicited in the secondary considerations context for purposes

13   of infringement.    Okay?   That's what happened yesterday and

14   that was what was going on here today.

15             The issue that I'm talking about is quite different.

16   Secondary considerations are directly related to obviousness,

17   and Dr. Berger has confirmed today what Dr. Sommi said, that it

18   would not be obvious for someone to give first a dose of PP1M

19   to a patient that had missed a dose of PP3M.          That's different.

20   So we could agree we won't use it for infringement, but I think

21   it's totally fair to game to use it for obviousness,

22   particularly when the limits on cross-examination were based on

23   testimony that was elicited on cross-examination.

24             What Dr. Berger said today was in response to his own

25   counsel's questioning.      I don't see any reason why we should be
                 United States District Court
                    District of New Jersey
                                 Appx03249
          Case: 23-2042     Document: 22   Page: 372   Filed: 03/11/2024

                                                                           1070

1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
2    ________________________________

3    JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN PHARMACEUTICA NV,
4    JANSSEN RESEARCH & DEVELOPMENT,               CIVIL ACTION NUMBER:
     LLC,
5             Plaintiffs,
     vs.                                           2:20-cv-13103-EP-LHG
6

7    MYLAN LABORATORIES LIMITED,                   BENCH TRIAL VOL. 8
     MYLAN PHARMACEUTICALS INC.,
8    and MYLAN INSTITUTIONAL LLC,

9              Defendants.
     ________________________________
10   MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
     50 Walnut Street
11   Newark, New Jersey 07101
     December 9, 2022
12   Commencing at 10:00 a.m.

13   B E F O R E:         THE HONORABLE EVELYN PADIN,
                          UNITED STATES DISTRICT JUDGE
14

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                 United States District Court
                    District of New Jersey
                                  Appx03289
          Case: 23-2042     Document: 22   Page: 373   Filed: 03/11/2024

                      Mulhern - DIRECT - Quirk                                   1100

1    Sustenna patients that move over, that are switched over to

2    Invega Trinza.       I think this also confirms my understanding of

3    the nexus here because we understand from Dr. Kohler that a key

4    contributor to a physician's decision to switch a patient who

5    is otherwise stable on Invega Sustenna to Invega Trinza is the

6    confidence that's provided by the missed dosing instructions in

7    the label, given the problem of nonadherence in this

8    marketplace.

9    Q.   You mentioned Dr. Kohler.         He testified that he had only

10   administered the four to nine month missed dose regimen to five

11   of his patients.

12              Does your nexus analysis only apply to patients who

13   received a dose pursuant to the regimen?

14   A.   No, not at all.       I mean, I think an important thing to

15   remember here is there is value to having the option.                 All

16   doctors know that nonadherence is a problem, so they need to

17   have comfort that they know what to do and how do treat a

18   patient who would be nonadherent.         I think from an economic

19   perspective what we say is there's an option value, the fact

20   that a feature can have value even if it's not used.

21              Use is often a poor proxy for value.            I think a great

22   example is the airbag in an automobile.           So I wouldn't buy a

23   car without an airbag, even though I've never used one and I

24   hope never to use one.

25              So I think use is often a poor proxy for value.                  The
                  United States District Court
                     District of New Jersey
                                  Appx03319
          Case: 23-2042   Document: 22   Page: 374   Filed: 03/11/2024

                      Mulhern - DIRECT - Quirk                           1101

1    important thing is the extent to which it affects the purchase

2    decision.

3    Q.   What is your overall conclusion regarding commercial

4    success?

5    A.   My overall conclusion is that Invega Trinza has been a

6    success in the marketplace and the Asserted Claims of the '693

7    patent have contributed to that success, so there is a nexus.

8                MR. QUIRK:   No further questions at this time.

9                             (CROSS-EXAMINATION)

10               MR. SODIKOFF:   Good morning, Your Honor.

11   BY MR. SODIKOFF:

12   Q.   Brian Sodikoff for Mylan.

13               Good morning, Ms. Mulhern.

14               I'd just like to ask you some questions about your

15   testimony there.     Just for the record, Trinza was approved in

16   May of 2015 and then commercially launched in June of 2015.

17               Is that your understanding?

18   A.   Yes, it is.

19   Q.   You understand that here Janssen's asserting that Mylan

20   infringes Claim 5 to 7 and 9 to 14 of the '693 patent, correct?

21   A.   Yes, that's right.

22   Q.   I think you said this in your opening -- or in your

23   direct, but the Asserted Claims don't cover the active

24   ingredient paliperidone palmitate molecule itself, right?

25   A.   That's consistent with my understanding.
                  United States District Court
                     District of New Jersey
                                 Appx03320
            Case: 23-2042          Document: 22     Page: 375   Filed: 03/11/2024

Case 2:20-cv-13103-EP-LDW Document 175 Filed 05/26/23 Page 1 of 2 PageID: 9133




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 JANSSEN PHARMACEUTICALS,
 INC., JANSSEN PHARMACEUTICA
 NV, and JANSSEN RESEARCH &
 DEVELOPMENT, LLC                                 Civil Action No. 3:20-cv-13103-EP-
                                                  LDW
                     Plaintiffs,                               (Consolidated)
              v.
                                                      Document Electronically Filed
 MYLAN LABORATORIES LIMITED,

                     Defendant.

                               NOTICE OF APPEAL

       NOTICE is hereby given that Mylan Laboratories Limited, Defendant in the

 above-captioned case, hereby appeals to the United States Court of Appeals for the

 Federal Circuit from the final judgment entered on May 23, 2023 (Dkt. No. 174),

 and all other judgments, rulings, opinions, decisions, and orders merged therein. See

 Fed. R. App. P. 3(c)(4). This includes, but is not limited to, the District Court’s

 findings of fact and conclusions of law entered on May 15, 2023. (Dkt. No. 171.)

 Dated: May 26, 2023                     Respectfully submitted,

                                          SAIBER LLC
                                          Attorneys for Defendant
                                          Mylan Laboratories Limited

                                          s/ Arnold B. Calmann__________________
                                          Arnold B. Calmann (abc@saiber.com)
                                          Jeffrey Soos (jsoos@saiber.com)
                                          Katherine A. Escanlar
                                          (kescanlar@saiber.com)


                                         Appx03625
         Case: 23-2042    Document: 22   Page: 376   Filed: 03/11/2024

Case 2:20-cv-13103-EP-LDW Document 175 Filed 05/26/23 Page 2 of 2 PageID: 9134




                                   One Gateway Center, 9th Floor
                                   Newark, NJ 07102
                                   (973) 622-3333 (telephone)
                                   (973) 622-3349 (facsimile)

                                   Deepro R. Mukerjee
                                   Lance A. Soderstrom
                                   KATTEN MUCHIN ROSENMAN LLP
                                   50 Rockefeller Plaza
                                   New York, NY 10020-1605
                                   Telephone: (212) 940-8800
                                   Facsimile: (212) 940-8776
                                   deepro.mukerjee@katten.com
                                   lance.soderstrom@katten.com

                                   Jitendra Malik, Ph.D.
                                   Joseph M. Janusz
                                   KATTEN MUCHIN ROSENMAN LLP
                                   550 S. Tryon Street, Suite 2900
                                   Charlotte, NC 28202-4213
                                   Telephone: (704) 444-2000
                                   jitty.malik@katten.com
                                   joe.janusz@katten.com

                                   Brian Sodikoff
                                   Jillian M. Schurr
                                   KATTEN MUCHIN ROSENMAN LLP
                                   525 West Monroe Street
                                   Chicago, IL 60661-3693
                                   Telephone: (312) 902-5200
                                   brian.sodikoff@katten.com
                                   jillian.schurr@katten.com

                                   Attorneys for Defendant
                                   Mylan Laboratories Limited




                                    2
                                 Appx03626
          Case: 23-2042      Document: 22    Page: 377   Filed: 03/11/2024

Case 2:20-cv-13103-EP-LDW Document 175-1 Filed 05/26/23 Page 1 of 2 PageID: 9135




  Arnold B. Calmann (abc@saiber.com)        Deepro R. Mukerjee
  Jeffrey Soos (jsoos@saiber.com)           Lance A. Soderstrom
  Katherine A. Escanlar                     KATTEN MUCHIN ROSENMAN
  (kescanlar@saiber.com)                    LLP
  One Gateway Center, 9th Floor             50 Rockefeller Plaza
  Newark, NJ 07102                          New York, NY 10020-1605
  (973) 622-3333 (telephone)                Telephone: (212) 940-8800
  (973) 622-3349 (facsimile)                Facsimile: (212) 940-8776
                                            deepro.mukerjee@katten.com
  Jitendra Malik, Ph.D.                     lance.soderstrom@katten.com
  Joseph M. Janusz
  KATTEN MUCHIN ROSENMAN                    Brian Sodikoff
  LLP                                       Jillian M. Schurr
  550 S. Tryon Street, Suite 2900           KATTEN MUCHIN ROSENMAN
  Charlotte, NC 28202-4213                  LLP
  Telephone: (704) 444-2000                 525 West Monroe Street
  jitty.malik@katten.com                    Chicago, IL 60661-3693
  joe.janusz@katten.com                     Telephone: (312) 902-5200
                                            brian.sodikoff@katten.com
  Attorneys for Defendant                   jillian.schurr@katten.com
  Mylan Laboratories Limited

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

  JANSSEN PHARMACEUTICALS,
  INC., JANSSEN PHARMACEUTICA
  NV, and JANSSEN RESEARCH &                Civil Action No. 3:20-cv-13103-EP-
  DEVELOPMENT, LLC                          LDW
                                                         (Consolidated)
                    Plaintiffs,
             v.                                CERTIFICATE OF SERVICE

  MYLAN LABORATORIES LIMITED,                   Document Electronically Filed

                    Defendant.




                                   Appx03627
            Case: 23-2042     Document: 22     Page: 378    Filed: 03/11/2024

Case 2:20-cv-13103-EP-LDW Document 175-1 Filed 05/26/23 Page 2 of 2 PageID: 9136




       ARNOLD B. CALMANN hereby certifies as follows:

       I am an attorney-at-law of the State of New Jersey and a member of the firm

 of Saiber LLC, attorneys for Defendant Mylan Laboratories Limited (“Defendant”)

 in the above matter. I hereby certify that, on this 26th day of May, 2023, I caused a

 copy of Defendant’s Notice of Appeal and this Certificate of Service, to be served

 on counsel of record by CM/ECF and electronic mail.

                                        /s Arnold B. Calmann
                                        ARNOLD B.CALMAN




                                        2
                                      Appx03628
         Case: 23-2042
Case 3:20-cv-13103-GC-LHGDocument:
                           Document2240 Page: 379 Filed:
                                        Filed 09/10/21   03/11/2024
                                                       Page 1 of 1 PageID: 228




                                                                                         Ironside Newark

RM               ROBINSON
                 MILLERLLC
                                                                               110 Edison Place, Suite 302
                                                                               Newark, New Jersey 07102
                                                                     Tel: 973.690.5400 Fax: 973.466.2761
                                                                                      www.rwmlegal.com

                                                       September 10, 2021

VIA ECF
Hon. Zahid N. Quraishi, U.S.D.J.
Hon. Lois H. Goodman, U.S.M.J.
Clarkson S. Fischer Building
United States District Court
District of New Jersey
402 East State Street
Trenton, New Jersey 08608

       Re:     Janssen Pharmaceuticals, Inc., et al. v. Mylan Laboratories Limited, et al.
               Civil Action No. 3:20-cv-13103 (ZNQ)(LHG)

Dear Judge Quraishi and Magistrate Judge Goodman:

        This Firm, along with Patterson Belknap Webb & Tyler, LLP, represents the Plaintiffs
Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica NV, and Janssen Research & Development,
LLC, in the above-captioned matter. As the Court is aware, Paragraph 6 of the July 20, 2021 Joint
Stipulation and Order Regarding Scheduling on (D.E. 38) required the parties to file a Joint Claim
Construction and Pre-Hearing Statement by September 10, 2021. I am writing on behalf of all
parties to advise Your Honor that the parties have determined that there are no claim terms that
need to be construed in this lawsuit and that therefore there is no need for the parties to file a Joint
Claim Construction and Pre-Hearing Statement or for the Court to schedule Markman briefing or
a Markman hearing.1

       We thank the Court for its kind consideration of this submission. Should Your Honor have
any questions, we are available at the Court’s convenience.


                                                       Respectfully,

                                                       s/ Keith J. Miller


1
  There are certain terms that MLL maintains are indefinite. MLL reserves its right to raise the
indefiniteness arguments disclosed in MLL’s Invalidity Contentions at trial. Janssen will not use
the parties’ agreement not to engage in Markman proceedings as a basis to object to MLL’s
raising at trial the indefiniteness defenses that are disclosed in MLL’s Invalidity Contentions.




                                             Appx03691
          Case: 23-2042                  Document: 22                     Page: 380                     Filed: 03/11/2024


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                                                                                                US01 0143693B2


02)     United States Patent                                               (IO) Patent No.:                    US 10,143,693 B2
        Gopal et al.                                                       (45) Date of Patent:                                Dec. 4, 2018

(54)    DOSCNG REGIMEN FOR MISSED DOSES                                (58)     Field of Classification Search
        FOR LONG-ACTING INJECTABLE                                              None
        PALIPERIDONE ESTERS                                                     See application file for complete search history.

(71) Applicant: JANSSEN PHARMACEUTICALS,                               (56)                       References Cited
                INC., Titllsville, NJ (US)
                                                                                          U.S. PATENT DOCUMENTS
(72)    Inventors: Srihari Gopal, Belle Mead, NJ (US);
                   Paulien Gcrarda Maria Ravcnstijn,                         5,158,952 A           I 0/ I992   Janssen et al.
                   Waalre (NL); Alberto Russu, Lange                         5,254,556 A           10/1993     Janssen et al .
                                                                             6,077,843 A             6/2000    Francois et al.
                   Nieuwstraat (BE); Mahesh Narain                           6,555,544 B2           4/2003     Francois el al .
                   Samtani, Flemington, NJ (US)                         2009/01635 19 Al             6/2009    Vermeulen el al.
                                                                        20 11/0105536 Al             5/20 11   Lewyn-Briscoe et al.
(73)    Assignee: Janssen Pharmaceuticals, Inc., Beerse                 2012/0277253 Al            11/2012     Sprogoe et al.
                  (BE)
                                                                                      FOREIGN PATENT DOCUMENTS
( •) Notice:        Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35            EP               2529757 Bl               8/2014
                                                                       WO        WO 2006/ 114384 Al              2/2006
                    U .S.C. 154(b) by O days.

(21)    Appl. No.: 15/090,889                                                               OTHER PUBLICAflONS

(22)    Filed:      Apr. 5, 2016                                       International Search Report re: PCT/US 16/24841 dated Mar. 30,
                                                                       2016.
(65)                   Prior Publication Data                          Osborne et al. " Health-related quality of li fe advantage of long-
                                                                       acting injectable and antipsychol.ic treatment for schizophrenia: a
        US 2017/0281629 A l        Oct. 5, 2017                        time trade-off sntdy". Health and Quality ofLife Outcome, pp. 1-9,
                                                                       2012, 10:35.
                 Related U.S. Application Data
(60)    Provisional application No. 62/162,596, filed on May           Primary Examiner - Bong-Sook Baek
        15, 2015, provisional application No. 62/144,054,
        filed on Apr. 7, 20 15.                                        (57)                          ABSTRACT

(5 1)   Int. Cl.                                                       The present application provides a method fo r treating
        A61K 31/519            (2006.01)                               patients in need of psychiatric treatment, wherein said
        A61K 9/00              (2006.01)                               patient is being treated with the 3-month formulation of
        A61K 9/14              (2006.01)                               paliperidone palmitate and fai ls to take the next scheduled
(52)    U.S.CI.                                                        dose of the 3-month formu lation of paliperidone palmitate.
        CPC ......... . A61K 311519 (2013.01); A61K 9/0019
                                                  (2013.01)                               29 Claims, 7 Drawing Sheets




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   Case: 23-2042      Document: 22                      Page: 381            Filed: 03/11/2024




U.S. Patent        Dec. 4, 2018             Sheet 1 of 7                              US 10,143,693 B2



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U.S. Patent        Dec. 4, 2018          Sheet 2 of 7                                 US 10,143,693 B2



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   Case: 23-2042      Document: 22                          Page: 383                 Filed: 03/11/2024




U.S. Patent        Dec. 4, 2018               Sheet 3 of 7                                   US 10,143,693 B2



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                                                           FIG. 3



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      DOSING REG[MEN FOR MISSED DOSES                                  Paliperidone palmitate is an atypical antipsychotic dmg
        FOR LONG-ACTING INJECTAULE                                 administered by injection. The original fonnulation of pali-
            PALIPERIDONE ESTERS                                    peridone palmitate was a once-monthly antipsychotic and
                                                                   was approved for the treatment of schizophrenia in adults in
            CROSS-REFERENCE TO RELATED                             numerous countries. The acute and sustained efficacy and
                       APPLICATIONS                                tolerability profile of once-monthly paliperidone palmitate
                                                                   has been demonstrated in clinical studies totalling more than
   This application claims priority from U.S. Application          3800 patients. Continued treatment with once-monthly pali-
No. 62/ 144,054, filed on Apr. 7, 2015 and Application No.         peridone palmitate in patients who initially responded to it
62/ 162,596, filed on May 15, 2015, each of which is 10 for acute worsening of symptoms resulted in a nearly 4-fo ld
incorporated herein by reference                                   reduction in relapse risk compared with patients randomized
                                                                   to placebo. A recently developed 3-month formulation offers
                FIELD OF THE INVENTION                             a substantially longer dosing interval: injections are admin-
                                                                   istered once every 3 months. "111is extended dosing interval
   This invention relates to a method for treating patients 15 offers the prospect of fewer opportunities for nonadherence
who have missed a treatment of 3-month paliperidone                than currently available long acting injectable fomrn lations,
palmitate extended-release injectable suspension fonnula-          thus reducing relapse risk as a result of subtherapeutic
tion.                                                              plasma concentration and its associated negative conse-
                                                                   quences in patients with schizophrenia.
           BACKGROUND OF THE INVENTION                          20     Even with a dmg administered once every 3 months or
                                                                   every 12 weeks (:t3 weeks) or 13 weeks:t2, patients at time
   Antipsychotic medications are the mainstay in the treat-        miss their doses of medication. Consequently, there is a need
ment of schizophrenia, schizoaffective disorder, and schizo-       to reinitiate a dosing regimen for patients who miss their
phrenifom1 disorders. Antipsychotics were first introduced         regularly scheduled dose of medication. Thus, the objective
in the mid-l 950s. These typical or first generation dmgs are 25 of the present application is to provide a dosing regimen of
usually effective in controlling the positive symptoms of          paliperidone palmitate for patients in need of a treatment
schizophrenia, but are less effective in moderating the nega-      who have missed their 3 month (:t2 weeks) dose of pali-
tive symptoms or the cognitive impairment associated with          peridone palmitate 3-month extended-release injectable sus-
the disease. Atypical antipsychotics or second generation          pension.
dmgs, typified by risperidone and olanzapine, were <level- 30
oped in the 1990s, and are generally characterized by                             SUMMARY OF THE INVENTION
effectiveness against both the positive and negative symp-
toms associated with schizophrenia.                                    In one embodiment of the present invention there is
   Paliperidone palmitate is the palmitate ester of paliperi-      provided a dosing regimen for administering an injectable
done (9-hydroxy-risperidone), a monoaminergic antagonist 35 paliperidone palmitate depot to a patient in need of psychi-
that exhibits the characteristic dopamine D2 and serotonin         a tric treatment that has been treated with a 3-month inject-
(5-hydroxytryptamine type 2A) antagonism of the second             a ble paliperidone palmitate depot, wherein said patient
generation, atypical antipsychotic drugs. Pa liperidone            misses for a period of between about four months and about
(9-OH risperidone) is the major active metabolite of risperi-      nine months (inclusive e.g. four months or more but nine
done. Extended release (ER) osmotic controlled release oral 40 months or less) the next scheduled maintenance dose of the
delivery (OROS) paliperidone, as a tablet formulation, is          3-month injectable paliperidone palmitate depot, compris-
marketed in the United States (U.S.) for the treatment of          ing:
schizophrenia and maintenance of effect.                               (I) administering intramuscularly in the deltoid muscle of
   3-monthly Paliperidone palmitate is being developed as a               said patient a first reinitiation loading dose of the
long-acting, intramuscular (i.m.), injectable aqueous nano- 45            monthly injectable paliperidone palmitate depot on day
suspeusion for the treatment of schizophrenia and other                   one;
related diseases that are normally treated with antipsychotic          (2) administering intramuscularly in the deltoid or glute.al
medications. Because of extreme low water solubility, pali-               muscle of said patient a second reinitiation dose of the
peridone esters such as paliperidone palmitate dissolve                   monthly injectable paliperidone palmitate depot on
slowly after an i.m. injection before being hydrolyzed to 50              about the 8'" day:t4 (e.g. 4th day to about the 12th day)
pal iperidone and made available in the systemic circulation.             after administering of said first reinitiation loading
   Many patients with the mental illnesses achieve symptom                dose; and
stability with available oral antipsychotic medications; how-
ever, it is estimated that up to 75% have difficulty adhering
to a daily oral treatment regimen, i.e. adherence problems. 55                             Administer PPlM,
Problems with adherence often result in worsening of symp-                                  two doses (into
                                                                                   _ _ _d~e~lt~ oi~d~m~u~sc~l~e)~ - - Then administer PP3M
toms, suboptimal treatment response, frequent relapses and
re-hospitalizations, and an inability to benefit from rehabili-                                               Second       (into dehoid
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tative and psychosocial therapies. Once monthly Paliperi-                Missed     First Reinitation Reinitation        or gluteal muscle)
done palmitate injection has been developed to provide 60              PP3M  dose         Dose                  Dose     Maintenance  Dose
sustained plasma concentrations ofpal iperidone, which may             175 mg eq.       50 mg eq.           50 mg eq.        175 mg eq.
greatly enhance compliance with dosing. Paliperidone                   263 mg eq.       75 mg eq.           75 mg eq.       263 mg eq.
palmitate formulated as an aqueous nanosuspension is                   350 mg eq.      100 mg  eq.         100   mg  eq.    350  mg cq.
                                                                       525 mg eq.      100 mg eq.          100 mg eq.       525 mg eq.
described in U.S. Pat. Nos. 6,077,843 and 6,555,544. In
addition, a dosing regimen of paliperidone palmitate for 65
treating patients is disclosed in US Patent Application Pub-           (3) administer intramuscularly in the deltoid or gluteal
lication No. 20090163519.                                                 muscle of said patient the 3-month fonnulation of




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      paliperidone palmitate in the range of about 175 mg eq.         FIGS. 4A-4C illustrate predicted plasma concentration of
      to about 525 mg eq. on about the 30th day±7 (e.g. 23rd      PP3M (525 mg eq.). Graphs of modeled results of missed
      day to about the 37th day) af1er administering of the       dosing for (A) <4 months. (B) between 4 to 9 months (C) >9
      second reinitiation dose of monthly injectable paliperi-    months.
      done palmitate.
                                                                                    DETAILED DESCRIPTION
   In another embodiment of the present invention there is
provided a dosing regimen for administering an injectable             3-month paliperidone palmitate extended-release inject-
paliperidone pa Imitate depot to a patient in need of psychi-     a ble suspension is an antipsychotic medication which is the
atric treatment that has been treated with a 3-month inject-      ester of the active ingredient paliperidone. Paliperidone is
able paliperidone palmitate depot, wherein said patient 10 effective for the treatment of psychosis and has been used to
misses for a period of more than nine months the next             treat schizophrenia and schizoaffective disorders. The
scheduled maintenance dose of the 3-month injectable pali-        3-month paliperidone palmitate extended-release injectable
peridone palmitate depot, comprising:                             suspension suitable for the treatment of psychotic disorders
   (1) administering intramuscularly in the deltoid muscle of 15 including but not limited to schizophrenia and/or schizoaf-
                                                                  fective disorders. It is recommended that the 3-month pali-
      said patient a first reinitiation loading dose of 150 mg
                                                                  peridone palmitate extended-release injectable suspension
      eq. of the monthly injectable paliperidone palmitate        be administrated to patients who have been adequately
      depot;                                                      treated with the I-month paliperidone palmitate extended-
   (2) administering intramuscularly in the deltoid muscle of     release injectable suspension (e.g. lNVEGA SUSTENNA®)
      said patient a second reinitiation loading dose of I 00 20 fo r a several months and it is reconunended for at least four
      mg eq. the monthly injectable paliperidone palmitate        months.
      depot on about the 4th day to about the 12th day after          3-month paliperidone palmitate extended-release inject-
      administering of said first reinitiation loading dose;      a ble suspension preferably will be provided with an
   (3) administering intramuscularly in the deltoid or gluteal    adequate dose of paliperidone palmitate generally in the
      muscle of said patient a first reinitiation maintenance 25 range of about 250 mg to about 900 mg of paliperidone
                                                                  palmitate to provide a sustained therapeutic concentration of
      dose of 50 mg eq. to about 150 mg eq. of the monthly        paliperidone over the three month dosing interval to the
      injectable paliperidone palmitate depot on about the        patient. Preferably the aqueous extended-release suspension
      23th day to about the 37rd day after administering of       fo r intramuscular injection will be provided in dose
      said second reinitiation loading dose;                      strengths of about 273 mg, 410 mg, 546 mg, and 819 mg
   (4) administering intramuscularly in the deltoid or gluteal 30 paliperidone palmitate. The drug product hydrolyzes to the
      muscle of said patient a second reinitiation mainte-        active moiety, paliperidone, resulting in dose strengths of
      nance dose of from about 50 mg eq. to about 150 mg          175 mg eq., 263 mg eq., 350 mg eq., and 525 mg eq. of
      eq. of monthly injectable paliperidone palmitate depot      paliperidone, respectively. 3-month paliperidone palmitate
      on about the 23rd day to about the 37th day after 35 extended-release injectable suspension is preferab ly pro-
                                                                  vided in a prefilled syringe (cyclic-olefm-copolymer) pre-
      administering of the first maintenance additional dose;
                                                                  filled with either 175 mg eq. (0.875 mL), 263 mg eq. (1.3 15
   (5) administering intramuscularly in the deltoid or gluteal    mL), 350 mg eq. (I .75 mL), or 525 mg eq. (2.625 mL)
      muscle of said patient a third reinitiation maintenance     paliperidone (as 273 mg, 4IO mg, 546 mg, or 819 mg
      dose of from about 50 mg eq. to about 150 mg eq. of         paliperidone palmitate) suspension with a plunger stopper
      monthly injectable paliperidone palmitate depot on 40 a nd tip cap (bromobutyl rubber), a backstop, and 2 types of
      about the 23rd day to about the 37th day afler admin-       commercially available needles: a thin walled 22G, I ½-inch
      istering of the second maintenance dose; and                safety needle and a thin walled 22G, I-inch safety needle.
   (6) administering intramuscularly in the deltoid or gluteal        3-month paliperidone palmitate extended-release inject-
      muscle of said patient from about 175 mg eq. to about       a ble suspension is intended for intramuscular use only. It is
      525 mg eq. of the 3-month formulation of paliperidone 45 not recommended not to administer by any other route. Care
                                                                  should be taken to avoid inadvertent injection into a blood
      palmitate on about the 23rd day to about the 37th day       vessel. Dose should be administered in a single injection; it
      after administering of the third maintenance dose of        should not be administered in divided injections as this
      monthly iajectable paliperidone palmitate.                  would change the release profile and has not been studied in
   Additional maintenance doses may be administered               clinical trials. It is preferred that injections be administered
                                                               50
before the readministration of the 3-month formulation of         slowly, deep into the deltoid or gluteal muscle. 3-month
paliperidone palmitate (e.g. a fom1h maintenance dose, fifth      paliperidone palmitate extended-release injectable suspen-
maintenance dose).                                                sion is preferred to be administered using only the thin wall
   TI1is and other objects and advantages of the present          needles to reduce the risk o f blockage.
invention may be appreciated from a review of the present         Deltoid Injection
                                                               55     Currently the reconunended needle size for administra-
application.                                                      tion of 3-month paliperidone palmitate extended-release
                                                                  injectable suspension into the deltoid muscle is determined
         DETAILED DESCRIPTION OF FIGURES                          by the patient's weight:
                                                                      For patients weighing less than 90 kg, the ] -inch, 22
   FIG. 1 illustrates the switching from PPI M to PP3M at 60            gauge thin wall needle is recommended.
default week I 7±1 Week.                                              For patients weighing 90 kg or more, the 11/2-inch, 22
   FIGS. 2A-2B illustrate the dosing windows around the                 gauge thin wall needle is recommended.
regularly scheduled 12-week dosing interval. Graphs of            lt is currently preferred that 3-month paliperidone palmitate
modeled results of dosing before regularly scheduled injec-       extended-release injectable suspension be administer into
tions of (A) 525 mg eq. PP3M (B) 175 mg eq. PP3M.              65 the center of the deltoid muscle. It is also preferred that
   FIG. 3 illustrates the dosing windows for PP I M and           deltoid injections should be alternated between the two
PP3M dosing regimen.                                              deltoid muscles.




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Gluteal Injection                                                 should be administered every 3 months. If needed, dose
   Currently, the preferred needle size for administration of     adjustment can be made every 3 months in increments
3-month paliperidone palmitate extended-release injectable        within the range of 273 mg to 819 mg based on individual
suspension into the gluteal muscle is the 11/2-inch, 22 gauge     patient tolerability and/or efficacy. Due to the long-acting
thin wall needle regardless of patient weight. It is preferred    nahrre of 3-month paliperidone palmitate extended-release
that 3-month paliperidone palmitate extended-release inject-      injectable suspension, the patient' s response to an adjusted
able suspension be administered into the upper-outer quad-        dose may not be apparent for several months.
rant of the gluteal muscle. It is also preferred that gluteal     Missed Doses
inj ections should be alternated between the two gluteal          Dosing Window
muscles.                                                       10
                                                                     Missing doses of 3-month paliperidone palmitate
Incomplete Administration                                         extended-release injectable suspension should be avoided.
   To avoid an incomplete administration of 3-month pali-         However, on exceptional occasions, patients may be given
peridone palmitate extended-release injectable suspension,        the injection up to about 2 weeks before or after the 3-month
it is recommended that to ensure that doses are completely        time point.
administered that the syringes be vigorously shaken and/or 15 Missed Dose >3 1/2 Months and <4 Months Since Last
mechanical agitated to obtain a uniform dispersion of the         Injection
suspension, preferably the suspension will be shaken vigor-          If more than 3½ months (up to but less than 4 months)
ously for at least 15 seconds within 5 minutes prior to           have elapsed since the last injection of3-monlh paliperidone
administration to ensure a homogeneous suspension and             palmitate extended-release injectable suspension, the previ-
ensure the needle does not get clogged during injection.       20
                                                                  ously administered 3-month paliperidone palmitate
    It is preferred that 3-month paliperidone palmitate           extended-release injectable suspension dose should be
extended-release injectable suspension is to be used only         administered as soon as possible, then continue with the
after the I-month paliperidone palmitate extended-release         3-month injections following this dose.
injectable suspension (e.g. INVEGA SUSTENNA®) has                 Missed Dose Greater than or Equal to 4 Months Up to 9
been established as adequate treatment for at least fo ur 25 Months Since Last Inj ection
months. In order to establish a consistent maintenance dose,         If between 4 to 9 months have elapsed since the last
it is preferred that at least the last two doses of I-month       injection of 3-month paliperidone palmitate extended-re-
paliperidone palrnitate extended-release injectable suspen-       lease injectable suspension, do NOT administer the next
sion be the same dosage strength before starting 3-month          dose of 3-month paliperidone palmitate extended-release
paliperidone palmitate extended-release injectable suspen- 30 injectable suspension. Instead, use the re-initiation regi men
sion.                                                             shown in Table 2.
   The preferred time to initiate dosing a patient with
3-month paliperidone palmitate extended-release injectable
                                                                                                TABLE 2
suspension is when the next I-month paliperidone palmitate
dose was to be scheduled with a 3-month paliperidone 35               Re-Initiation Regimen After Missing ~4 months up to 9 Months of
palmitate extended-release injectable suspension dose based                          3-Month Extended-Release Injectable
on the previous I-month injection dose as shown in Table I.                                   Suspension Dose
3-month pal iperidone palmitate extended-release injectable           Last 3-                                            Then administer
suspension may be administered up to about 7 days before              Month                                            3-Month Extended
or after the monthly time point of the next scheduled 40 Extended                                                      Release Injectable
paliperidone palmitate I-month dose.                                 Release              Administer PPlM,                 Suspension
                                                                                   IJ1jectable              two doses one w eek                   Dose (i_nto deltoid"
                                                                                  Suspension             aQart !into deltoid musclel              or gluteal muscle)
                               TABLE I
                                                                                      dose             Day I                  Day 8              1 montJ1 after day 8
       Conversion From the Last !-Month Paliperidone Palmitate             45
 Extended-Release Injectable Suspension (INVEGA SUSTE A®) Dose                    175 mg eq.         50 mg eq.       ➔      50 mg eq.       ➔         175 mg eq.
   To the 3-Month Paliperidone Pahnitate Extended-Release Injectable              263 mg eq.         75 mg eq.       ➔      75 mg eq.       ➔         263 mg eq.
   Suspension (INVEGA TRINZA TM) Dose Using 3.5 3S a Multiplier                   1'-:0 mg eq.     100 mg eq.        ➔     100 mg eq.       ➔         1-iO mg eq.
                                                                                  525 mg eq.       100 mg eq.        ➔     100 mg eq.       ➔         525 mg eq.
                                                    Initiate 3-month
      If the last I-Month                        paliperidone palmitate         .,Sec I.nstructions for Use for deltoid injection needle selection based on body weight.
   Paliperidone Palmitare                           extended-release       50
 Extended-Release Injectable                    injectable suspension at                  Missed Dose >9 Months Since Last Injection
  Suspension dose is about                     about the following dose:                     lfmore than 9 months have elapsed since the last injection
            50 mg eq.                                           175 mg eq.
                                                                                          of 3-month paliperidone palmitate extended-release inject-
                                                                                          able suspension, re-initiate treatmenl with the I -month pali-
                                                                                       55 peridone palmitate extended-release injectable suspension
            75 mg eq.                                           263 mg eq.                as described in the prescribing information fo r that product.
                                                                                          3-month paliperidone palmitate extended-release injectable
           100 mg eq.                                           350 mg eq.                suspension can then be resumed after !he patient has been
                                                                                          adequately treated with the I -month paliperidone palmitate
                                                                                       60 extended-release injectable suspension for at least 4 months.
           150 mg eq.                                           525 mg eq.
                                                                                          I-Month Paliperidone Palmitate Extended-Release Injecl-
                                                                                          a ble Suspension Dosing
Conversion from the 39 mg 1-rr.onth palipcridonc palmitate extended-release injectable       The published US dmg label for INVEGA SUSTENNA®
suspension was not studied.
                                                                                          I-month paliperidone palmitate extended-release injectable
    Following the initial 3-month paliperidone palmitate 65 suspension provides the appropriate dosing instructions for
extended-release injectable suspension, 3-month paliperi-                                 such producl al various doses. This dosing regimen is also
done palmitate extended-release injectable suspension                                     generally described in U.S. Patent Application No.




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20090163519 for treating a psychiatric patient using pali-           By way of example, a dosing regimen is provided to
peridone as a paliperidone palmitate ester in ] -month sus-       switch patients from other injectable antipsychotic drug to
tained release formulation. To attain a therapeutic plasma        ]-month paliperidone palmitate extended-release injectable
level of paliperidone, patients are administered to receive a     suspension comprising administering into the deltoid muscle
first dose of paliperidone palmitate on day l of treatment,       the initial dosing regimen comprising a first loading dose of
followed by a second dose between days 4 to 12 (and               about 234 mg of paliperidone palmitate and administering
preferably about day 6 to l 0) of treatment, then a third dose    into the deltoid or gluteal muscle the maintenance regimen
between days 29 to about 43 (and preferably from about 33         comprising a monthly maintenance dose of about 39 to
to about 39) of starting treatment. It is preferred that the      about 234 mg of paliperidone pa lmitate on about the 23rd
patients will be administered the first dose on day l , the 10 day to about the 37th day after administering of the first
second dose on day 8 after the first dose and the third dose      loading dose.
on day 36 of after the first dose. The first two doses should        For patients who have previously received oral antipsy-
be injected in the deltoid muscle. Thereafter paliperidone        chotic dmgs, a switching treatment to I -month paliperidone
palmitate may be administered by injection approximately          palmitate extended-release injectable suspension may com-
once a month (e.g. once every four weeks). To assure a 15 prise an initial dosing regimen and a monthly dosing regi-
potential therapeutic plasma level of paliperidone is             men. The initial dosing regimen may comprise administer-
attained, at least the first loading dose of about 150 mg-eq.     ing a first loading dose of ]-month paliperidone palmitate
of paliperidone as a paliperidone palmitate ester may be          and administering a second loading dose of ]-month pali-
administered on day I of treatment. To further assure a           peridone palmitate, and the maintenance dosing regimen
potential therapeutic plasma level ofpaliperidone is attained 20 may comprise administering a maintenance dose of ] -month
by the patient, the first loading dose and the second loading     paliperidone palmitate. The previous oral antipsychotics
dose ranging between from about 100 mg-eq. to about 150           may be discontinued at the time of initiation of the switching
mg-eq. ofpaliperidone as a paliperidone palmitate ester may       treatment or administration of the first loading dosing of
be administered. To maintain a therapeutic level in the           ] -month paliperidone palmitate.
plasma, the subsequent doses thereafter or the maintenance 25        The monthly maintenance dose may be determined based
dose ranging from about 25 mg-eq. to 150 mg-eq. per month         on the condition of the patient and/or the severity of the
may be administered. TI1e maintenance dose may be admin-          disease. The preferred first loading dose may range from
istered intramuscularly into the deltoid or gluteal muscle,       about I 56 mg to about 234 mg of paliperidone palmitate,
and the gluteal muscle is preferred. Those of ordinary skill      and more preferably about 234 mg. The preferred second
in the art will understand that the maintenance dose may be 30 loading dose may range from about 78 mg to about 156 mg,
titrated up or down in view of the patients' conditions such      and more preferably about 156 mg. The preferred monthly
as response to the medication and renal fonction.                 maintenance dose may range from about 39 to about 234
    The models have indicated that there may be flexibility in    mg, and more preferably about 117 mg. Subsequently, based
the duration of the second loading dose and the maintenance       on the patient tolerability and/or the drug efficacy, the
dose of the maintenance dosing regimen for the I-month 35 maintenance dose may be further adjusted monthly to
paliperidone palmitate extended-release injectable suspen-        achieve optimal treatment effectiveness. The patients may be
sion. For example, the second loading dose may be admin-          monitored for several months to ensure the full effect of the
istered within the duration of about the 8th day±4 days (or       dose adjustment because of the prolonged-release charac-
about l week±4 days) after administering of the first loading     teristic of paliperidone palm.itate.
dose. Therefore, the second loading dose may be adminis- 40          Based on the phannacokinetic simulations, patients pre-
                                           th
tered from about the 4"' to about the 12 day after the first      viously stabilized on paliperidone in oral tablets may attain
loading dose of the initial dosing. Similarly, the maintenance    similar paliperidone steady-state exposure during mainte-
dose may be administered within the duration of about the         nance treatment with paliperidone palmitate intramuscular
    th
30 day±7 days after administering of the first loading dose.      injection monthly. For example, patients stabilized on oral
Therefore, the maintenance dose may be administered from 45 paliperidone of about 3 mg may attain similar paliperidone
about the 23'" day to about the 37th day after administering      steady-state exposure with the intramuscular injection of
of the second loading dose of the initial dosing. 1be flexi ble   paliperidone palmitate of about 39 mg to about 78 mg.
administration timing provides additional treatment benefit       Similarly, patients stabilized on oral paliperidone of about 6
for patients who may require earlier administration or have       mg and about 12 mg may attain similar paliperidone steady-
missed their dose, within a short window, of the scheduled 50 state exposure with the intramuscular injection of paliperi-
treatment without affecting the treatment effectiveness.          done palmitate of about I I 7 mg and about 234 mg, respec-
    The models or simu lations also indicate that I-month         tively. Therefore, during the maintenance regimen, the
paliperidone palmitate extended-release injectable suspen-        patients previously stabilized on paliperidone in oral tablets
sion may be administered by intramuscular injection into          may be administered with the appropriate dose of paliperi-
either deltoid or gluteal muscle. The first and second loading 55 done palmitate in injectable form ulat ion corresponding to
dose of the initiation regimen may be administered in the         the stabi lized dose of oral paliperidone.
deltoid muscle and the maintenance dose of the maintenance           As used herein, the term "stabilized dose" refers to the
regimen may be administered in either the deltoid or gluteal      dose which is to be administered according the established
muscle. The injection into the deltoid muscle may be deliv-       dosing regimen. Preferably, the stabilized dose may be the
ered by a ]-inch 23-Gauge (G) or l.5-inch 22-G needle 60 maintenance dose of the monthly maintenance dosing regi-
based on the patient's weight. For the patients whose body        men prior to a missed dose.
weights are less than about 90 kg or 200 lb, a ] -inch 23-G          Also used herein, the terms "the first loading dose of the
needle may be used for administration, and for those body         reinitiation regimen", " the first dose of the reinitiation
weights are equal or more than about 90 kg or 200 lb, a           regimen", "the first reinitiation dose" or variant thereof refer
I .5-inch 22-G needle may be used for administration. The 65 to the dose to be administered on day I when patients return
injection into the gluteal muscle may be del ivered by a          to treatment. Similarly, the terms "the second loading dose
l .5-inch 22-G needle for all body weights.                       of the reinitiation regimen", "the second dose of the reini-




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tiation regimen", "the second reinitiation dose" or variant             Usefol surface modifiers paliperidone palmitate formula-
thereof refer to the dose to be administered after a week after     tions are believed to include those that physically adhere to
the treatment day I ; and the terms "the maintenance dose of        the surface of the active agent but do not chemically bond
the reinitiation regimen", "the reinitiation maintenance            thereto. Suitable surface modifiers can preferably be
dose" or variant thereof refer to the dose to be administered       selected from known organic and inorgan..ic phannaceutical
monthly after the treatment day 8.                                  excipients. Such excipients include various polymers, low
Extended-Release Injectable Suspension Formulations                 molecular weight oligomers, natural products and surfac-
    Paliperidone esters are psychotic agents belonging to the       tants. Preferred surface modifiers include nonionic and
chemical class of benzisoxazole derivatives, which contains         anionic surfactants. Representative examples of excipients
a racemic mixture of(+)- and (- )-paliperidone, which are 10 include gelatin, casein, lecithin (phospbatides), gum acacia,
                                                                    cholesterol, tragacanth, stearic acid, benzalkonium chloride,
described in U.S. Pat. No. 5,254,556 (incorporated herein by
                                                                    calcium stearate, glyceryl monostearate, cetostearyl alcohol,
reference). ·n 1e chemical name for paliperidone palmitate is
                                                                    cetomacrogol emulsifying wax, sorbitan esters, polyoxyeth-
(:t)-3-(2-(4-( 6-fluoro-1 ,2-benzisoxazol-3-y1)-1-piperidinyI)      ylene alkyl ethers, e.g., macrogol ethers such as cetomac-
ethyl)-6, 7,8,9-tetrahydro -2-methyl-4-oxo-41-1-pyrido[ 1,2-c) 15 rogol I 000, polyoxyethylene castor oil derivatives, polyoxy-
pyrimidin-9-yl hexadecanoate. The stmctural formula is:             ethylene sorbitan fatty acid esters, e.g., the commercially
                                                                    available TWEENS™, polyethylene glycols, polyoxyethyl-
         0
                                                                    e ne stearates, colloidal silicon dioxide, phosphates, sodium
                                                                    dodecyl sulfate, carboxymethylcellulose calcium, car-
                                                                 20 boxymethylcellulose sodium, methylcellulose, hydroxyeth-
                                                                    ylcellulose, hydroxypropylcellulose, hydroxypropylmethyl-
                                                                    cellulose phtalate, noncrystalline cellulose, magnesium
                                                                    aluminate silicate, triethanolamine, polyvinyl alcohol
                                                                    (PVA), poloxamers, tyloxapol and polyvinylpyrrolidone
                                                                 25 (PVP). Most of these excipients are described in detail in the
                                                                    Handbook of Pharmaceutical Excipients, published jointly
                                                                    by the American Phannaceutical Association and The Phar-
                                                                    maceutical Society of Great Britain, the Phannaceutical
                                                                    Press, I 986. D1e surface modifiers are conunercially avail-
                                                                 30 able and/or can be prepared by techniques known in the art .
                                                                    Two or more surface modifiers can be used in combination.
    Paliperidone esters may be fonuulated with pharmaceu-
                                                                        Particularly preferred surface modifiers include polyvi-
tical excipients into injectable dosage forms as described in
                                                                    nylpyrrolidone;            tyloxapol; poloxamers,            such     as
U.S. Pat. Nos. 5,254,556 and 6,077,843 both of which are            PLURONIC™ F68, Fl08 and Fl27 which are block copo-
incorporated herein by reference. Injectable formulations 35 lymers of ethylene oxide and propylene oxide available from
may be fommlated in aqueous carriers.                               BASF; poloxamines, such as TETRONJCTM 908 (T908)
    Suitable aqueous depot formulations are described in U.S.       which is a tetrafunctional block copolymer derived from
Pat. No. 6,077,843 which is incorporated herein by refer-           sequential addition of ethylene oxide and propylene oxide to
ence. D1e 3-month formulations would have an averages               e thylenediamine available from BASF; dextran; lecithin;
size of less than about 20 run to about 3 run. Preferably the 40 Aerosol QTfM (AOT) which is a dioctyl ester of sodium
particles would have an average particle size ( d50) of from        sulfosuccinic acid available from Cytec Industries; DUPO-
about JO rm1 to about 3 µm; preferably about 9 rm1 to about         NOL™ P which is a sodium lauryl sulfate available from
4 fllll.                                                            DuPont; TR.JTONTM X-200 which is an alkyl aryl polyether
    The I-month aqueous formulation would preferably be a           sulfona te available from Rohm and Haas; TWEENTM 20, 40,
nano particle suspension of wherein the nano particles 45 60 and 80 which are polyoxyethylene sorbitan fatty acid
would be of an averages size of less than about 2,000 nm to         esters available from !Cl Speciality Chem..icals; SPANTM 20,
about I 00 nm. Prefe.rably the nano particles would have an         40, 60 and 80 which are sorbitan este.rs of fatty acids;
average particle size (d50) of from about 1,600 nm to about         ARLACEL™ 20, 40, 60 and 80 which are sorbitan esters of
400 nm and most preferably about 1,400 nm to about 900              fatty acids available from Hercules, Inc.; CARBOWA.X™
11111. Preferably the d90 will be less than about 5,000 nm and 50 3550 and 934 which are polyethylene glycols available from
more preferably less than about 4,400 nm.                           Union Carbide; CRODESTA™ Fl 10 which is a mixture of
    As used herein, an effecti ve average particle size (d50) of    sucrose stearate and sucrose distearate available from Croda
less than about 2,000 nm means that at least 50% of the             Inc.; CRODESTA™ SL-40 which is available from Croda,
particles have a dian1eter of less than about 2,000 mu when         Inc.; hexyldecyl trimethyl ammonium chloride (CTAC);
measured by art-known conventional techniques, such as 55 bovine serum albumin and SA901-ICO which is C 18 l-1 17Cl-1 2
sedimentation field flow fractionation, photon correlation          (CON(Cl-13 )Cl-l,(Cl-1O1-1)4 CH,Ol-1)2 . The surface modifiers
spectroscopy or disk centrifogation. With reference to the          which have been found to be particularly useful include
effective average particle size, it is preferred that at least      tyloxapol and a poloxamer, preferably, Pluronic™ FI 08 and
about 900/o, e.g. about 5,000 nm. Most preferably, about 90%        Pluronic™ F68.
of the particles have a size of less than about 4,400 nm.        60     Pluronic™ Fl08 corresponds to poloxan1er 338 and is the
    Suitable aqueous nanoparticle depot I-month fommla-             polyoxyethylene, polyoxypropylene block copolymer that
tions are described in U.S. Pat. No. 6,555,544 which is             conforms generally to the fomm la HO[Cl-1 2 Cl-12 Olx(Cl-l
incorporated herein by reference. In one embodiment of the          (Cl-1 3 )Cl-1 2 O]y[Cl-1 2 Cl-1 2 O], 1-1 in which the average values of
present invention the formulation would comprise nanopar-           x, y and z are respectively 128, 54 and 128. Other commer-
ticles, a surfactant, a suspending agent, and optionally one or 65 cial names of poloxamer 338 are 1-lodag NONIONJC"M
more additional ingredients selected from the group con-            1108-F avai lable from 1-lodag, and SYNPERONJC"M
sisting of preservatives, buffers and an isoton..izing agent.       PE/Fl08 available from JCJ Americas.




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   1l1e optimal relative amount of paliperidone palmitate and      take the form of a dispersion mill. Suitable dispersion mills
the surface modifier depends on various parameters. The            include a ball mill, an allritor mill, a vibratory mill, a
optimal amount of the surface modifier can depend, for             planetary mill, media mills- such as a sand mill and a bead
example, upon the particular surface modifier selected, the        mill. A media mill is preferred due to the relatively shorter
critical micelle concentration of the surface modifier if it       milling time required to provide the desired reduction in
forms micelles, the surface area of the anti psychotic agent,      particle size. For media milling, the apparent viscosity of the
etc. The specific surface modifier preferably is present in an     premix preferably is anywhere between about 0.1 Pa·s and
amount of about 0.1 to about I mg per square meter surface         about I Pa·s. For ball milling, the apparent viscosity of the
area of the paliperidone palmitate. It is preferred in the case    premix preferably is anywhere between about 1 mPa·s and
of paliperidone palmitate (9-hydroxyrisperidone palmitate) 10 about JOO mPa·s.
to use PLURONJCrMF108 as a surface modi fier, a relative              The grinding media for the particle size reduction step can
amowll (w/w) of both ingredients of approximately 6: 1 is          be selected from rigid media preferabl y spherical or par-
preferred.                                                         ticulate in form having an average size less than about 3 mm
   The particles of this invention can be prepared by a            and, more preferably, less than about I mm. Such media
method comprising the steps of dispersing paliperidone 15 desirably can provide the particles of the invention with
palmitate in a liquid dispersion medium and applying               shorter processing times and impart less wear to the milling
mechanical means in the presence of grinding media to              equipment. The selection of the material for the grinding
reduce the particle size of the antipsychotic agent to an          media is believed not to be critical. However, about 95%
effective average particle size. The particles can be reduced      ZrO stabilized with magnesia, zirconium silicate, and glass
in size in the presence of a surface modifier. Alternatively, 20 grinding media provide particles which are acceptable for
the particles can be contacted with a surface modifier after       the preparation of pharmaceutical compositions. Further,
anrition.                                                          other media, such as polymeric beads, stainless steel, titania,
   A general procedure for preparing the particles for the         alumina and about 95% ZrO stabilized with ynrium, are
I-month formulation described herein includes (a) obtaining        useful. Preferred grinding media have a density greater than
paliperidone palmitate in micronized form; (b) adding the 25 about 2.5 g/cm3 and include about 95% ZrO stabilized with
micronized paliperidone palmitate to a liquid medium to            magnesia and polymeric beads.
form a premix; and (c) subjecting the premix to mechanical            The attrition time can vary widely and depends primarily
means in the presence of a grinding medium to reduce the           upon the particular mechanical means and processing con-
effective average particle size.                                   ditions selected. For rolling mills, processing times of up to
   The paliperidone palmitate in micronized fo m1 may be 30 two days or longer may be required for smaller size par-
prepared using techniques known in the art. It is preferred        ticles.
that the particle size of the micronized paliperidone palmi-          Tbe particles must be reduced in size at a temperature
tate be less than about I 00 µm as determined by sieve             which does not significantly degrade the antipsychotic
analysis. If the particle size of the micronized paliperidone      agent. Processing temperanires of less than about 30° C. to
palmitate is greater than about 100 µm, then it is preferred 35 a bout 40° C. are ordinarily preferred. If desired, the pro-
that the particles of paliperidone palmitate be reduced in size    cessing equipment may be cooled with conventional cooling
to less than 100 µm.                                               equipment. The method is conveniently carried out under
   The micronized paliperidone palm itate can then be added        conditions of ambient temperature and at processing pres-
to a liquid medium in which it is essentially insoluble to         sures which are safe and eflect:ive for the milling process.
form a premix. The concentration of paliperidone palmitate 40         The surface modifier, if it was not present in the premix,
in the liquid medium (weight by weight percentage) can             must be added to the dispersion after anrition in an amount
vary widely and depends on the selected antipsychotic              as described for the premix above. Thereafter, the dispersion
agent, the selected surface modifier and other fac tors. Suit-     can be mixed by, for example, shaking vigorously. Option-
able concentrations of paliperidone palmitate in composi-          ally, the dispersion can be subjected to a sonication step
tions vary from about 0. J% to about 60%, preferably is from 45 using, for example, an ultrasonic power supply.
about 0.5% to about 30%, and more preferably, is approxi-             Aqueous compositions according to the present invention
mately 7% (w/v). It is currently preferred to use a concen -       con veniently further co1nprise a suspending agent and a
tration of about 100 mg eq of paliperidone per ml or about         buffer, and optionally one or more of a preservative and an
I 56 mg of paliperidone palmitate per ml.                          isotoniziug agent. Particular ingredients may fonction as two
   A more preferred procedure involves the addition of a 50 or more of these agents simultaneously, e.g. behave like a
surface modifier to the premix prior to its subjection to          preservative and a buffer, or behave like a buffer and an
mechanical means to reduce the effective average particle          isotoniziug agent.
size. 'CTle concentration of the surface modifier (weight by          Suitable suspending agents for use in the aqueous sus-
weight percentage) can vary from about 0.1% to about 90%,          pensions according to the present invention are cellulose
preferably from about 0.5% to about 80%, and more pref- 55 derivatives, e.g. methyl cellulose, sodium carboxymethyl
erably is approximately 7% (w/v).                                  cellulose and hydroxypropyl methyl cellulose, polyviuylpyr-
   1l1e premix can be used directly by subjecting it to            rolidone, alginates, chitosan, dextrans, gelatin, polyethylene
mechanical means to reduce the effective average particle          glycols, polyoxyethylene- and polyoxy-propylene ethers.
size in the dispersion to Jess than about 2,000 nm. It is          Preferably sodium carboxymethyl cellulose is used in a
preferred that the premix be used direct ly when a ball mill 60 concentration of about 0.5 to about 2%, most preferably
is used for anrition. Alternatively, the antipsychotic agent       about 1% (w/v).
and, optionally, the surface modifier, can be dispersed in the        Suitable wetting ageuts preferred from the listed surfac-
liquid medium using suitable agitation such as, for example,       tant for use in the aqueous suspensions according to the
a roller mill or a Cowles type mixer, until a homogeneous          present invention are polyoxyethylene derivatives of sorbi-
dispersion is achieved.                                         65 tan esters, e.g. polysorbate 20 and polysorbate 80, lecithin,
   The mechanical means applied to reduce the effective            polyoxyethylene- and polyoxypropylene ethers, sodium
average particle size of the antipsychotic conveniently can        deoxycholate. Preferably polysorbate 20 is used in a con-




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centration of about 0.5% to about 3%, more preferably about       to very slightly basic (pH 8.5); (d) from about 0.5% to about
0.5% to about 2%, most preferably about 1.1 % (w/v).              2% (w/v) of a suspending agent; (e) up to about 2% (w/v)
   Suitable buffering agents are salt ofweak acids and shonld     preservatives; and (1) water q.s. ad 100%. Preferably the
be used in amount sufficient to render the dispersion ne utral    aqueous suspension will be made under sterile conditions
to very slightly basic (up to the pH value of about 8.5),         and no preservatives will be used. Appropriate methods to
preferably in the pH range of about 7 to about 7.5. Particu-      aseptically prepare paliperidone palniitate are described in
larly preferred is the use of a mixture of disodium hydrogen      WO 2006/1I 4384 which is hereby incorporated by reference
phosphate (anhydrous) (typically about 0.9% (w/v)) and            herein.
sodium dihydrogen phosphate monohydrate (typically about             The preferred aqueous dosage form contains inactive
0.6% (w/v)). Tbis buffer also renders the dispersion isotonic 10 ingredients that are polysorbate 20, polyethylene glycol
and, in addition, less prone to flocculation of the ester         4000, citric acid monohydrate, disodium hydrogen phos-
suspended therein.                                                phate anhydrous, sodium dihydrogen phosphate monohy-
   Preservatives are antimicrobials and anti-oxidants which       drate, sodium hydroxide, and water for injection.
can be selected from the group consisting of benzoic acid,           As used herein, a dose or dosing is expressed as milli-
benzyl alcohol, butylated hydroxyanisole, butylated 15 grams (mg) of paliperidone palmitate. Paliperidone palmi-
hydroxytoluene, chlorbutol, a gallate, a hydroxybenzoate,         tate dosing may also be expressed as mg equivalents (mg
EDTA, phenol, chlorocresol, metacresol, benzethonium              eq.) of paliperidone with about 39, 78, II 7, I 56, and 234 mg
chloride, myristyl-gamma-piccolinium chloride, phenylmer-         of paliperidone palmitate being equivalent to about 25, 50,
curic acetate and thimerosal. In particular, it is benzyl         75, JOO and 150 mg eq., of paliperidone, respectively. For
alcohol which can be used in a concentration up to about 2% 20 three month depot dosing it is preferred to dose patients with
(w/v), preferably up to about I .5% (w/v).                        about J75 mg eq. to about 525 mg eq. paliperidone or about
   lsotonizing agents are, for example, sodium chloride,          273 mg to about 819 mg paliperidone palmitate.
dextrose, mannitol, sorbitol, lactose, soditun sulfate. 'TT1e        The term "antipsychotics" or "antipsychotic drug medi-
suspensions conveniently comprise from about 0% to about          cation" as used herein means any medication used to
10% (w/v) isotonizing agent. Mam1itol may be used in a 25 decrease or ameliorate the symptoms of psychosis in a
concentration from about 0% to about 7% more preferably,          person with a psychotic disorder.
however, from about I% to about 3% (w/v), especially from            The term "psychiatric patient" as used herein, refers to a
about l .5% to about 2% (w/v) of one or more electrolytes are     human, who has been the object of treatment, or experiment
used to render the suspension isotonic, apparently because        fo r a "mental disorder" and " mental illness" refer to those
ions help to prevent flocculation of the suspended ester. In 30 provided in the Diagnostic and Statistical Manual (DSM
particular, electrolytes of the buffer serve as isotonizing       IV), American Psychological Association (APA). Those of
agent.                                                            ordinary skill in the art will appreciate that paliperidone
   A particularly desirable feature for an injectable depot       esters (e.g. paliperidone pa Imitate) can be adniitiistered to
formulation relates to the ease with which it can be admin-       psycliiatric patients for all the known uses of risperidone.
istered. In particular such an injection should be feasible 35 These mental disorders include, but are not limited to,
using a needle as fine as possible in a span of time which is     schizophrenia; bipolar disorder or other disease states in
as short as possible. Tiiis can be accomplished with the          which psychosis, aggressive behavior, anxiety or depression
aqueous suspensions of the present invention by keeping the       is evidenced. Scliizophrenia refers to conditions character-
viscosity below about 75 mPa·s, preferably below about 60         ized as schizophre1iia, schizoaJfective disorder and schizo-
mPa·s. Aqueous suspensions of such viscosity or lower can 40 phrenifom1 disorders, in DSM-IV-TR such as category
both easily be taken up in a syringe (e.g. from a vial), and      295.xx. Bipolar Disorder refers to a condition characterized
injected through a fine needle (e.g. a 21G l ½ inch, 22G 2        as a Bipolar Disorder, in DSM-IV-TR such as category
inch, 22G 1¼ inch or 23G 1 inch needle). 111e preferred           296.xx including Bipolar I and Bipolar Disorder II. The
needles for injection are 22G 22G I ½ inch regular wall and       DSM-IV-TR was prepared by the Task Force on Nomen-
23G I inch regular wall needles.                               45 clani.re and Statistics of the American Psychiatric Associa-
   Ideally, aqueous suspensions according to the present          tion, and provides clear descriptions of diagnostic catego-
invention w ill con1prise as nu1ch prodn1g as can be tolerated    ries. Pathologic psychological conditions, which are
so as to keep the injected volume to a mitiimum, and as little    psychoses or may be associated with psychotic features
of the other ingredients as possible. In particular for the       include, but are not limited to the following disorders that
3-month formulation the composition will be (a) from about 50 have been characterized in the DSM-IV-TR. Diagnostic and
280 to about 350 mg/mL of prodrng; (b) from about 8 to            Statistical Manual of Mental Disorders, Revised, 3rd Ed.
about I 2 mg/mLofwetting agent; (c) from about l 6 to about       (I 994). The skilled artisan will recognize that there are
22 mg/mL of one or more buffering agents to render the            alternative nomenclani.res, nosologies, and classification
neutral to very slightly basic (pH 8.5); (d) from about 65 to     systems fo r pathologic psychological conditions and that
about 85 mg/mL of a suspending agent; (e) up to about 2% 55 these systems evolve with medical scientific progress.
(w/v) preservatives; and (1) water q.s. ad 100%. Most             Examples of pathologic psychological conditions which
preferably the inactive ingredients in the 3-month fonnu la-      may be treated include, but are not limited to, Mild Mental
tion will be polysorbate 20 (about IO mg/mL), polyethylene        Retardation (3 I 7), Moderate Mental Retardation (3 I 8.0),
glycol 4000 (about 75 mg/mL), citric acid monohydrate             Severe Mental Retardation (318.1 ), Profound Mental Retar-
(about 7.5 mg/mL), sodium dihydrogen phosphate mono- 60 dation (3 18.2), Mental Retardation Severity Unspecified
hydrate (about 6 mglmL), sodium hydroxide (about 5.4              (3 J 9), Autistic Disorders (299.00), Rett's Disorder (299.80),
mg/mL) and water for injection. In particular, such a com-        Childhood Disintegrative Disorders (299.l 0), Asperger's
position for the I -month fonnu lation will comprise by           Disorder (299.80), Pervasive Developmental Disorder Not
weight based on the total volume of the composition: (a)          Otherwise Specified (299.80), Attention-Deficit/Hyperactiv-
from about 3% to 20% (w/v) of the prodrng; (b) from about 65 ity Disorder Combit1ed Type (314.01 ), Attention-Deficit/
0.5% to 2% (w/v) of a wetting agent; (c) one or more              Hyperactivity Disorder Predoniinately Inattentive Type
buffering agents sufficient to render the composition neutral     (314.00), Attention-Deficit/Hyperactivity Disorder Pre-




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dominately Hyperactive-Impulsive Type (3 14.0 1), Atten-       (292.8 1), Other (or Unknown) Substance-Induced Persisting
tion-Deficit/Hyperactivity Disorder NOS (314.9), Conduct       Dementia (292.82), Other (or Unknown) Substance-Induced
Disorder (Childhood-Onset and Adolescent Type 312.8),          Psychotic Disorder with Delusions (292.1 I), Other (or
Oppositional Defiant Disorder (3 13.81), Disruptive Behav-     Unknown) Substance-Induced Psychotic Disorder with Hal-
ior Disorder Not Otherwise Specified (312.9), Solitary 5 lucinations (292. 12), Other (or Unknown) Substance-In-
Aggressive Type (312.00), Conduct Disorder, Undifferenti-      duced Mood Disorder (292.84), Other (or Unknown) Sub-
ated Type (3 12.90), Tourette's Disorder (307.23), Chronic     stance-Induced Anxiety Disorder (292.89), Other (or
Motor Or Vocal Tic Disorder (307.22), Transient Tic Dis-       Unknown) Substance Disorder Not Otherwise Specified
order (307.21 ), Tic Disorder NOS (307.20), Alcohol Intoxi-    (292.9), Obsessive Compulsive Disorder (300.3), Post-trau-
cation Delirium (291.0), Alcohol Withdrawal Delirium 10
                                                               matic Stress Disorder (309.81), Generalized Anxiety Disor-
(29 1.0), Alcohol-Induced Persisting Dementia (291.2),
                                                               der (300.02), Anxiety Disorder Not Otherwise Specified
Alcohol-Induced Psychotic Disorder with Delusions
                                                               (300.00), Body Dysmorphic Disorder (300.7), Hypochon-
(29 1.5), Alcohol-Induced Psychotic Disorder with Halluci-
nations (291.3), Amphetamine or Similarly Acting Sympath-      driasis (or Hypochondriacal Neurosis) (300.7), Somatization
omimetic Intoxication (292.89), Amphetamine or Similarly 15 Disorder (300.81), Undifferentiated Somatofom1 Disorder
Acting Sympathom.imetic Delirium (292.81), Amphetamine         (300.81), Somatoform Disorder Not Otherwise Specified
or Similarly Acting Sympathomimetic Induced Psychotic          (300.8 I), lntennittent Explosive Disorder (3 12.34), Klepto-
with Delusions (292.11), Amphetamine or Similarly Acting       mania (312.32), Pathological Gambl ing (3 12.31 ), Pyroma-
Sympathomimetic Induced Psychotic with Hallucinations          nia (3 I 2.33), Trichotillomania (312.39), and Impulse Con-
(292.12), Cannabis-Induced Psychotic Disorder with Delu- 20 trol Disorder NOS (1 12.10), Schizophrenia, Paranoid Type,
sions (292.1I), Cam1abis-Induced Psychotic Disorder with       (295.30), Schizophrenia, Disorganized (295. 10), Schizo-
Hallucinations (292. 12), Cocaine Intoxication (292.89),       phrenia, Catatonic Type, (295.20), Schizophrenia, Undiffer-
Cocaine Intoxication Delirium (292.81), Cocaine-Induced        entiated Type (295.90), Schizophrenia, Residual Type
Psychotic Disorder with Delusions (292.11), Cocaine-In-        (295.60), Schizophreniform Disorder (295.40), Schizoaffec-
duced Psychotic Disorder with Hallucinations (292.12), 25 tive Disorder (295.70), Delusional Disorder (297. 1), Brief
Hallucinogen Intoxication (292.89), Hallucinogen Intoxica-     Psychotic Disorder (298.8), Shared Psychotic Disorder
tion Delirium (292.81), Hallucinogen-Induced Psychotic         (297 .3), Psychotic Disorder Due to a General Medical
disorder with Delusions (292. l J), Hallucinogen-Induced       Condition with Delusions (293.81 ), Psychotic Disorder Due
Psychotic disorder with Delusio11S (292.12), Hallucinogen-     to a General Medical Condition with Hallucinations
Induced Mood Disorder (292.84), Hallucinogen-Induced 30 (293.82), Psychotic Disorders Not Otherwise Specified
Anxiety Disorder (292.89), Hallucinogen-Related Disorder       (298.9), Major Depression, Single Episode, Severe, without
Not Otherwise Specified (292.9), Inhalant Into xication
                                                               Psychotic Features (296.23), Major Depression, Recurrent,
(292.89), Inhalant Intoxication Delirium (292.81), Inhalant-
Induced Persisting Dementia (292.82), Inhalant-Induced         Severe,   without Psychotic Features (296.33), Bipolar Dis-
Psychotic Disorder with Delnsions (292. JJ ), Inhalant-In- 35 order, Mixed, Severe, without Psychotic Features (296.63),
duced Psychotic with Hallucinations (292.12), Inhalant-        Bipolar Disorder, Mixed, Severe, with Psychotic Features
Induced Mood Disorder (292.89), Inhalant-Induced Anxiety       (296.64), Bipolar Disorder, Manic, Severe, without Psy-
Disorder (292.89), Inhalant-Related Disorder Not Otherwise     chotic Features (296.43), Bipolar Disorder, Manic, Severe,
Specified (292.9), Opioid Intoxication Delirium (292.81),      with Psychotic Features (296.44), Bipolar Disorder,
Opioid-Induced Psychotic Disorder with Delusions 40 Depressed, Severe, without Psychotic Features (296.53),
(292.1 1), Opioid Intox.ication Delirium (292.81), Opioid-     Bipolar Disorder, Depressed, Severe, with Psychotic Fea-
Induced Psychotic Disorder with Hallucinations (292.12),       tmes (296.54), Bipolar II Disorder (296.89), Bipolar Disor-
Opioid-Induced Mood Disorder (292.84), Phencyclidine           der Not Otherwise Specified (296.80), Personality Disor-
(PCP) or Sim.ilarly Acting Arylcyclohexylamine Intoxica-       ders, Paranoid (301.0), Personality Disorders, Schizoid
tion (292.89), Phencyclidine (PCP) or Similarly Acting 45 (301.20), Personality Disorders, Schizotypal (301.22), Per-
Arylcyclohexylamine Intoxication Delirium (292.81), Phen-      sonality Disorders, Antisocial (301.7), and Personality Dis-
cyclidine (PCP) or Similarly Acting Arylcyclohexylarnine       orders, Borderline (301.83). The numbers in parenthesis
Induced Psychotic Disorder with Delusions (292.1 J), Phen-     refer to the DSM-IV-TR categories.
cyclidine (PCP) or Similarly Acting Arylcyclohexylamiue           The term "therapeutically effective amount" as used
Induced Psychotic Disorder with Hallucinations (292.12), 50 herein, means that amount of active compound or pham1a-
Phencyclidine (PCP) or Similarly Acting Arylcyclohex-          ceutical agent that elicits the biological or medicinal
ylamine Mood Disorder (292.84), Phencyclidine (PCP) or         response in human that is being sought by a researcher,
Similarly Acting Arylcyclohexylamine Jndnced Anxiety           medical doctor or other clinician, which includes alleviation
Disorder (292.89), Phencyclidine (PCP) or Similarly Acting     of the symptoms of the disease or disorder being treated.
Arylcyclohexylamine Related Disorder Not Otherwise 55             Those of skill in the treatment of diseases could easily
Specified (292.9), Sedative, Hypnotic or Anxiolytic Intoxi-    determ.ine the effective amount of paliperidone to adm.in.ister
cation (292.89), Sedation, Hypnotic or Anxiolytic Intoxica-    fo r the treatment of the diseases listed above. By way of
tion Del irium (292.81), Sedation, Hypnotic or Anxiolytic      example, an effective amount of paliperidone for the treat-
Withdrawal Delirium (292.81), Sedation, Hypnotic or Anxi-      ment of mental disorders would be from about O.DJ mg/kg
olytic Induced Persisting Dementia (292.82), Sedation, Hyp- 60 to about 2 mg/kg body weight per day. For monthly depot
notic or Anxiolytic-Induced Psychotic Disorder with Delu-      dosing it is preferred to dose patients with about 25 mg-eq.
sions (292.11 ), Sedation, Hypnotic or Anxiolytic-lnduced      to about 150 mg eq. paliperidone or about 39 mg to about
Psychotic Disorder with Hallucinations (292.J 2), Sedation,    234 mg paliperidone palmitate. The amount of paliperidone
Hypnotic or Auxiolytic-lnduced Mood Disorder (292.84),         palmitate is provided in sufficient amount to provide the
Sedation, Hypnotic or Aux.iolytic-Indnced Anxiety Disorder 65 equivalent dose of paliperidone after the palmitic acid
(292.89), Other (or Unknown) Substance Intoxication            moiety is removed from the ester (e.g. 156 mg corresponds
(292.89), Other (or Unknown) Substance-Induced Delirium        to paliperidone I 00 mg). For three month depot dosing it is




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preferred to dose patients with about 175 mg eq. to about                            The paliperidone plasma concentration- time profiles
525 mg eq. paliperidone or about 273 mg to about 819 mg                                were also simulated for the missed dose scenarios when
paliperidone palmitate.                                                                the third 525 mg eq. PP3M dose was missed and
                                                                                       treatment was reinitiated depending on the duration
                                 TABLE 3                                               since the last dose.

Conversion between mg PP a.nd mg eg. paliperidone for PPl M and PP3M                                                 TABLE 4
   PPlM                                                                           Conversion between mg PP and mg eg . pa.liperidone for PPI M a.nd PP3M
    Dose          PPl M Dose           PP3M Dose         PP3M Dose
  (mg PP)     (mg eq. Paliperidonc)     (mg PP)      (mg eq. Paliperidonc)           PPIM
                                                                                     Dose              PPIM Dose            PP3M Dose        PP3M Dose
   78 mg             50 mg eq.             273 mg        175 mg eq.                 (mg PP)       (mg eq. Pa.liperidone)     (mg PP)     (mg eq. Paliperidone)
  117 mg             75 mg eq.             410 mg        263 mg eq.
  156 mg            100 mg eq.             546 mg        350 mg eq.                  78 mg               50 mg eq.              273 mg       175 mg eq.
  234 mg            150 mg eq.             819 mg        525 mg eq.                 117 mg               75 mg eq.              410 mg       263 mg eq.
                                                                             15     156 mg              100 mg eq.              546 mg       350 mg eq.
PP, paliperidone palmitatc;                                                         234 mg              150 mg eq.              819 mg       525 mg eq.
PP3M, PP 3-mouth formulation;
PP IM, PP 1-mooth formulation.                                                    PP, palipcridone palmitate;
                                                                                  PP3l\1, PP 3-month fonnulation;
   The following non-limiting examples are provided to    PPIM, pp I-month fonnulation.
further illustrate the present invention.              20

                       Example I. Methodology                                                                        TABLE 5
                                                                                           Dosing reinitiation regimen for tJ1e missed dose simulations
Population Pharmacokinetics Models
   A comprehensive population phannacokinetics (PK) 25 Time interval
                                                                   of missed dose Reinitiation treatment
model was developed for paliperidone pahnitate based on
data from previous studies of subjects with schizophrenia.           <4 months    Continue PP3M Ql 2W
Briefly, a population PK model was developed, using the             4-9 months treatment rcinitiated w ith 2 PPIM deltoid injections
                                                                                  separated by one week, followed by PP3M dosing Q1 2W
first-order conditional estimation method (FOCE), to esti-           >9 months 150 mg eq. PP lM deltoid injection on day l and
mate the population PK parameters of paliperidone after 30                        100 mg eq. PPlM deltoid injection on day 8,
single and multiple dose administration of PP3M. The                              followed by 3 additional PPI M injections, before
population PK model was constmcted using data from a                              continuing PP3M dosing Q12W
phase-I      (NCT0l 559272)        and     phase-Ill     study
(NCT015295 15). The final population PK model was based              Furthermore, paliperidone plasma concentrations versus
on 8990 PK samples from 65 I patients.                         35       time after stopping multiple PP3M doses were simu-
   T11e PPIM and PP3M models were one-compartment                       lated.
models with first-order elimination. In the PPJM absorption       Assessment of Q12W Vs Ql3W
sub-model, a fraction of the dose entered the central com-           Finally, simulations were also performed to compare
partment relatively quickly via a zero-order process. After a           Ql2W vs Q13W dosing at steady state with PP3M and
certain lag time, the remaining fraction of the dose entered 40         to demonstrate the impact of acnial 3 months dosing
the systemic circulation via a first-order process. The PP3M            (13 weeks) on paliperidone levels.
absorption sub-model consisted of 2 saturable absorption          Results:
processes.                                                           In FIG. 1 the switching from PPJM to PP3M at a defaul t
Model Based Simulations                                           of week 17±1 week resulting in:
   T11e population PK model was used for simulating pre- 45
defined dosing regimen scenarios. Paliperidone plasma con-                                       TABLE 6
centrations we.re si1nulated based o n the estiniates of the                      Window                                                        C,.;n (ng/m L)
final population PK model using profiles from 5000 patients.
Tbe patient population for simulation was built by sampling, + 1 week                                Reference      11.6
with replacement of demographic data from patients in the 50 50
                                                             PP3M
                                                                 mg eq. PP! M Switched to 175 mg cq. Modified
                                                                    dose
                                                                                                                    10.2
data set used for the development of PP! M4 and PP3M         -1 week                                 Reference      58.2
models. PK simulations were performed in NONMEM              150 mg eq. PP!M Switched to 525 mg eq. Modified        60.2
version 7.3.0 and data management/processing of NON-         PP3M dose
MEM output was perfonned using R 3.0.2 (NONMEM User
Guides, Icon Development solutions, Ellicott City, Md.). 55      As illustrated by FIG. l switching from 50 mg eq. PPJM
Tbe population median and 90% prediction interval of the     to 175 mg eq. PP3M at Week I 8 instead of Week 17 led to
simulated plasma concentration-time profiles were plotted    a decrease in C.,;,, from 11.6 ng/mL to 10.2 ng/mL, and
and graphically presented to evaluate the outcome.           switching from 150 mg eq. PPIM to 525 mg eq. PP3M at
Dosing Windows and Missed Doses                              Week 16 instead of Week 17 led to an increase in C.,= from
   Simulations were performed to assess the dosing window 60 58.2 ng/mL to 60.2 ng/mL. These changes in plasma con-
      during:                                                centrations are relatively small when a ±1 week window is
      (i) switching from PPIM (150 or 50 mg eq.) to PP3M     allowed at the time of switching from PP IM to PP3M.
          (525 or 175 mg eq.) at week 17 and with a ±1 week      In FIGS. 2A-2B the PP3M with a 12 week dosing week
          dosing window; and                                 was modeled. In FIG. 2A the - X week simulations were
      (i i) maintenance therapy with PP3M (525 or 175 mg 65 performed with the highest PP3M dose strength of 525 mg
          eq.) at regular week 12 and with a ±1 to 3 week    eq. to simulate a worst-case scenario (i.e., largest % increase
          dosing window                                      in Cmax).




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                            TABLE 7                                                               TABLE 9
                                                                    Re•initiat.ion regimen aft.er missing .?4 months up to 9 months of PPJM
         525 mg eq. PP3M
                                                                                           Administer PP1M,                Then administer
                                                                                          two doses one week              PP3M (into deltoid"
          Reference                       56.4                      Last PP3M          a12art (into deltoid muscle}       or gluteal muscle)
          Modified (-1 week)              57.1
                                                                       dose          Day I               Day 8            l month after day 8
          Modified (-2 week)              58.0
          Modified (- 3 week)             58.8
                                                                    175 mg eq.     50 mg eq.     +     50 mg eq.      +       175 mg eq.
                                                              10    263 mg eq.     75 mg eq.     +     75 mg eq.      +       263 mg eq.
                                                                    350 mg eq.    100 mg eq.     +    100 mg eq.      +       350 mg eq.
                                                                    525 mg eq.    100 mg eq.     +    100 mg eq.      +       525 mg eq.
   In FIG. 28) the +X week simulations were performed
with the lowest PP3M dose strength of 175 mg eq. to            PP3M missed for >9 months, treauuent reinitiated with
simula te a worst-case scenario (i.e., largest % drop in Cmin) 15 PP! M for 4 months before continuation of PP3M
since the lowest dose has the shortest apparent t ½.              Ql2W
                                                               Concentration of;,; 7 .5 ng/mL was maintained up 10 IO to
                           TABLE 8                                14 monlhs after the discontinuation of350 and 525 mg
                                                                  eq.PP3M.
            175 mg eq. PP3M           Cm,,, (nglmL)       20      Paliperidone concentration of 7.5 ng/mL is associated
                                                                    wilh 60% D2 receptor occupancy, and is thought to
            Reference                      11.0
            Modified (+I week)             10.3
                                                                    be required for antipsychotic efficacy5 . These simu-
            Modified (+2 week)               9.7                    lations therefore support re-initiation with at least 4
            Modified (+3 week)               9.0                    monlhs oftreauuent with PPIM (before transitioning
                                                          25        to PP3M) if a maintenance dose of PP3M is missed
                                                                    for more than 9 months.
After stabilization on PP3M, administration of 175 mg eq.      Additional simulations also showed a similar outcome
PP3M:                                                        with other dose strengths (data not shown).
  1 week later than the scheduled: Cmin decreased by 0. 7
    ng/mL                                                 30        What is claimed is:
                                                                    1. A dosing regimen for administering an injectable pali-
   2 weeks later than the scheduled: C,.,;,, decreased by 1.3    peridone palmitate depot to a patient in need of treatment for
      ng/mL                                                      psychosis, schizophrenia or bipolar disorder that has been
   3 weeks later than the scheduled: C.,;,, decreased by 2.0     treated with a 3-month injectable paliperidone palmitate
      ng/mL                                                   35 depot (PP3M), wherein said patient had been last adminis-
                                                                 tered a PP3M injection more than 9 months ago, and the next
After stabil ization on PP3M, administration of 525 mg eq.
                                                                 scheduled maintenance dose of the PP3M should be admin-
PP3M,                                                            istered to said patient, comprising:
   I week earlier 1han scheduled: Cmax increased by 0. 7            (I ) administering intramuscularly in lhe deltoid muscle of
      ng/mL                                                   40       said patient a first reinitiation loading dose of 150 mg
   2 weeks earlier than scheduled: C.,a., increased by 1.6             eq. of monthly injectable paliperidone palmitate depot
      ng/mL                                                            (PP  IM);
                                                                    (2) administering intramuscularly in the deltoid muscle of
   3 weeks earlier than the scheduled: Cmax increased by 2.4           said patient a second reinitiation loading dose of I 00
      ng/mL                                                   45        mg eq. of PPJM on about the 4th day to about the 12th
FIG. 28 illustrates the simulations done with 12 weeks with            day after administering said first reinitiation loading
a maximum possible window of +3 weeks. However, 3                      dose;
months is I 3 weeks hence the simulations illustrates 3             (3) administering intramuscularly in the deltoid or gluteal
months+2 week window. These changes in plasma concen-                   muscle of said patient a first reinitiation maintenance
trations are relatively small and justify a :t3 week window 50         dose of 50 mg eq. to about 150 mg eq. of PPI M on
for Ql2W administration of PP3M, which corresponds to a                about the 23th day to about the 37th day after admin-
                                                                        istering said second reinitiation loading dose;
:t2 week window for Ql3W (i.e. every 3 months) adminis-
                                                                    ( 4) administering intramuscularly in the deltoid or gluteal
!ration.
                                                                        muscle of said patienl a second reinitiation mainte-
   FIG. 4A-4C illustrate the predicted plasma concentration 55          nance dose of from about 50 mg eq. to about 150 mg
of PP3M (525 mg. eq.) at various time inlervals. Similar               eq. of PP! M on about the 23rd day to about the 37th
paliperidone plasma outcomes were observed for other                   day after administering of the first reinitiation mainte-
dosage strengths. Similar paliperidone plasma concentration             nance dose;
as before the missed dose was achieved by the following             (5) administering intramuscularly in the deltoid or gluteal
reini1iation treatment:                                       60        muscle of said patient a third reinitiation maintenance
   PP3M missed by <4 months, treatment reinitiated with                dose of from about 50 mg eq. to about 150 mg eq. of
                                                                       PP! M on about the 23rd day to about the 37th day after
      regular PP3M injections
                                                                       administering of the second rein.itiation maintenance
   PP3M missed between 4-9 months, treatment reinitiated               dose; and
      with 2 PP IM deltoid injections separated by one week, 65     (6) administering intramuscularly in the deltoid or gluteal
      followed by PP3M dosing Ql2W using the regimen                    muscle of said patient from about 175 mg eq. to about
      described in the table below:                                     525 mgeq. of PP3M on about the 23rd day to about the




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       37th day after administering of the last re1rntiat1on            14. The method of claim 11 wherein the reinitiation dose
       maintenance dose of monthly injectable paliperidone           of PP3M is administered a month after administering said
       palmitate.                                                    second reinitiation loading dose of PPIM.
   2. The method of claim 1, wherein said patient is in need            15. The method of claim 1 wherein the second reinitiation
of treatment for psychosis.                                          loading dose of PP I M is administered about 7 days after
   3. The method of claim 1, wherein said patient is in need         administering said first reinitiation loading dose of PP IM.
of treatment for schizophrenia.                                         16. The method of claim 15 wherein the second reinitia-
   4. The method of claim 1, wherein said patient is in need         tion loading dose of PP I M is admi11istered 7 days after
of treatment for bipolar disorder.                                   administering said first reinitiation loading dose of PPIM.
   5. A dosing regimen for administering an injectable pali- 10         17. 111e method of claim 1 wherein the first reinitiation
peridone palmitate depot to a patient in need of treatment for
                                                                     maintenance dose of PP IM is administered about 30 days
psychosis, schizophrenia or bipolar disorder that has been
treated with PP3M, wherein said patient had been last                after administering said second reinitiation loading dose of
administered a PP3M injection 4 to 9 months ago and the              PP l M.
next scheduled maintenance dose of PP3M should be admin- 15             18. The method of claim 1 wherein the first reinitiation
istered to said patient, comprising:                                 maintenance dose of PP IM is administered 30 days after
   (I) administering intramuscularly in the deltoid muscle of        administering said second reinitiation loading dose of
       said patient a first reinitiation loading dose of PP! M;      PP IM.
   (2) administering intramuscularly in the deltoid muscle of           19. The method of claim 1 wherein the second reinitiation
       said patient a second reinitiation loading dose of PPIM 20 maintenance of PP! M is admi nistered ahout ".\0 days after
       on about the 4th day to about the 12th day after              administering said first reinitiation maintenance dose of
       administering of said first reinitiation loading dose; and    PP IM.
   (3) administering intramuscularly in the deltoid or gluteal          20. The method of claim 1 wherein the second reinitiation
       muscle of said patient a reinitiation dose of PP3M on         maintenance of PP IM is administered 30 days after admin-
       about the 23rd day to about the 37th day after admin- 25 istering said first reinitiation maintenance dose of PPIM.
       istering the second reinitiation loading dose of PPIM            21. The method of claim 1 wherein the third reinitiation
       wherein said first and second reinitiation loading doses      maintenance of PP IM is administered about 30 days after
       and the reinitiation PP3M dose are selected from the          administering said second reinitiation maintenance dose of
       table below based on the amount of the missed dose            PPIM.
                                                                  30
                                                                        22. The method of claim 1 wherein the third reinitiation
                                                                     maintenance of PP IM is administered 30 days after admin-
           Missed
          Dose of      Reinitiation Doses      Reinitiation Doses    istering said second reinitiation maintenance dose of PP IM.
           PP3M            of PPlM                 of PP3M              23. The method of claim 1 wherein PP3M is administered
                                                                     about 30 days after administering said last reinitiation main-
         175 mg eq.        50 mg eq.              175 mgeq.       35
        263 mg eq.         75 mg eq.              263 mg eq.
                                                                     tenance of PP IM.
        350 mg eq.        100 mg eq.              350 mg eq.            24. The method of claim 1 wherein PP3M is administered
        525 mg eq.        100 mg eq.              525 mg eq.         30 days after administering said last reinitiation maintenance
                                                                     of PPIM.
   6. The method of claim 5, wherein said patient is in need 40         25. The method of claim 1 wherein PP3M is administered
of treatment for psychosis.                                          about a month after administering said last reinitiation
   7. The method of claim 5, wherein said patient is in need         maintenance of PPIM.
of treatment for schizophrenia.                                         26. The method of claim 1 wherein PP3M is administered
   8. The method of claim 5, wherein said patient is in need         a  month   after administering said last reinitiation mainte-
of treatment for bipolar disorder.                                   nance of PP IM.
                                                                  45
   9 . The method of claim 5 wherein the second reinitiation            27. The method of claim 1 further comprising adminis-
dose of PPIM is administered about 7 days after adminis-             tering intramuscularly in the deltoid or gluteal muscle of
tering said first reinitiation loading dose of PP I M.               said patient a fourth reinitiation maintenance dose of from
   10. The method of claim 9 wherein the second reinitiation         about 50 mg eq. to about 150 mg eq. of PP! M on about the
dose of PP IM is administered 7 days after administering 50 23rd day to about the 37th day after administering the third
said first reinitiation loading dose of PPl M.                       reinitiation maintenance dose.
   11. The method of claim 5 wherein the reinitiation dose of           28. The method of claim 27 wherein said fourth reinitia-
PP3M is administered about 30 days after administering said          tion maintenance of PPlM is administered about 30 days
second reinitiation loading dose of PP 1M.                           after administering said third reinitiation maintenance dose
   12. The method of claim 11 wherein the reinitiation dose 55 of PPIM.
of PP3M is administered 30 days after administering said                29. The method of claim 28 wherein said fourth reinitia-
second reinitiation loading dose of PPlM.                            tion maintenance of PPlM is administered 30 days after
   13. The method of claim 5 wherein the reinitiation dose of        administering said third reinitiation maintenance dose of
PP3M is administered about a month after administering               PP IM.
said second reinitiation loading dose of PP IM.                                           • • • • •




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                                                                                                                                           PTX-0043
   HIGHLIGHTS OF PRESCRIBING INFORMATION                                              ------------------------------CONTRAINDICATIONS-------- - - - - - - - - -
   These highlights do not include all the info rmation needed to use                 Known hypersensitivity to palipcridonc, risperidone, or to any cxcipients in
   INVEGA TRINZAT" safely and effectively. Sec full prescribing                       the formulation (4)
   information for lNVEGA TR!Nl,A"".
                                                                                      - - - - - · · · · ••WARNINGS ANO PRECAUTION<>-----
   INVEGA TRINZAT" (palipcridone pahnitate) extended-release
                                                                                      • Cerebrovascular Adverse Reactions, lnc/uding Stroke, in Elderly Patients
   injectable suspension, for intramuscu]ar use
                                                                                        with Dementia.Related Psychosis: Increased incidence o f cerebrovascular
   Initial U.S. App rnval: 2006                                                         adverse reactions (e.g. stroke. transient ischemic attack, including
    WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS                                    fatalities). INYEGA TRINZATM is not approved for use in patients with
               WITH DEMENTIA-RELATED PSYCHOSIS                                          dementia.related psychosis (5 .2)
        See full /Jt"escribing i11for111mion for complete boxed waming.               • Neuroleplic lvfalignam Syndrome: Manage with immediate discontinuation
      Elderly patients with dementia-related psychosis treated with                     of drug and close monitoring (5.3)
      antipsycbotic drugs arc at an incrcasc>d risk of death. (5.1)                   • QT Prolongation: Avoid use with drugs that also increase QT interval and
      INVEGA T RI 'ZA,.., is not approved for use in patients with                      in patients with risk factors for prolonged QT interval (5.4)
      dementia-related psychosis. (5.l)                                               • Tardive Dyskinesia: Discontinue drug if clinically appropriate (5.5)
                                                                                      • Metabolic Changes: Atypical antipsychotic drugs have been associated
                                                                                        with metabolic changes that may increase cardiovascular/cerebrovascular
   - -----------INDICATIONS ANO USAGE----------                                         risk. These metabolic changes include:
   INYEGA TRINZArn, a 3-month injection, is an atypical antipsychotic
                                                                                           o Hyperglycemia and Diabetes Mellitus : Monitor for symptoms of
   indicated for the treatment o f schizophrenia in patients afler they have been
                                                                                               hyperglycemia including polydipsia, polyuria, polyphagia, and
   adequately treated with I NYEGA SUSTENNA., (I •month paLipcridone
                                                                                               weakness. Monitor glucose regularly in patients with diabetes or at
   palmitate extended•release injectable suspension) for at least four months. ( l)
                                                                                               risk for diabetes. (5.6)
                                                                                           o Dyslipidemia: Undesirable alterations have been observed. (5.6)
    -----··DOSAGE ANO ADMINISTRATION•-----                                                 o Weight Gain: Significant weight gain has been reported. Monitor
   • Use INVEGA TRfNZAlM only afler the patient has been adequately treated                    weight gain. (5.6)
     with the I •month paliperidone palmi late extended•release injectable
                                                                                      • Orthostalic Hypotension and Syncope: Use with caution in patients with
     suspension for at least four months. (2.2)                                         known cardiovascular or cerebrovascular disease and patients predisposed
   • INVEGA TRINZA1.M should be administered once every 3 months. (2. 1)                to hypotension (5.7)
   • For intramuscular injection only. (2.1)                                          • Leukopenia, Ne111ropenia, and Agranulocytosis: Monitor complete blood
   • Each injection must be administered only by a health care professional.            count in patients with a history of a clinically significant low white blood
     (2.1)                                                                              cell count (WBC) or a drug•induced leukopenia/neutropenia. Consider
   • For deltoid injection: For patients weighing less than 90 kg, use the l •inch      discontinuation if clinically significant decLinc in WBC in the absence of
     22 gauge thin wall needle. For patients weighing 90 kg or more, use the            other causative factors (5.8)
      l h •inch 22 gauge thin wall needle.                                            • Hyperprolactinemia: Prolactin elevations occur and persist during chronic
   • For gluteal injection: Regardless of patient weight, use the ! h •inch             administration (5.9)
     22 gauge thin wall needle.                                                       • Potential for Cognitive and Motor Impairment: Use caution when
   • Prior to administration, shake the prefilled syringe vigorously for at least       operating machinery (5.10)
      l 5 seconds within 5 minutes prior to ad1ninistration to ensure a               • Seizures: Use cautiously in patients with a history of seizures or with
     homogeneous suspension. (2. 1)                                                     conditions that lower the seizure threshold (5.11)
   • Initiate INVEGA TRINZATM when the next !•month paliperidone
     palmitate dose is scheduled with an INVEGA TRINZA'"'' dose based on              - - - - - · · · ······ADVERSE REACTIONS•······------
     the previous I-month injection dose as shown below. (2.2)                        Thc most common adverse reactions (incidence ::: 5% and occurring at least
                                                                                      twice as often as placebo) were injection site reaction, weight increased,
     INVEGA TRINZATM Doses for Adult Patients Adc-quately                             headache, upper respiratory tract infection, akathisia, and parkinsonism. (6)
     Treated with INVEGA SUSTEJ",r'iA~
                                               Initiate                               To report SUSPECTED ADVERSE REACTIONS, contact Janssen
              If the Last Dose of
                                       INVEGA TRINZATM at                             Pharmaceuticals, Inc. at 1.soo.JANSSE ' (1•800.526•7736) or FDA at
          INVEGA SUSTENNA® is:
                                         the Followin!! Dose:                         1· 800· FDA•1088 or 11,,vw.fda.gm,/medwatch
                     78mg                       273 mg
                     117 mg                     4 10mg                                - -- - - ············DRUG INTERACTIONS•···························
                     156mg                      546 mg                                Strong CYP3A4/P-glycoprotein (P-gp) inducers: Avoid using a strong inducer
                     234 mg                     819mg           I                     of CYP3A4 and/or P-gp (e.g., carbamazepine, rifampin, St John·s Wort)
     Conversion from the INYEGA SUSTENNA
                                     "
                                           ~ 39 mg dose was not                       during a dosing interval for IN'VEGA TRINZAni. If administering a strong
     studied.                                                                         inducer is necessary, consider managing the patient using paliperidone
                                                                                      extended release tablets. (7.2, 12.3)
   • Missed Doses: Missing doses of l NYEGA TRI zAr" should be avoided.
     To manage missed doses on exceptional occasions, refer to the Full               -----···USE IN SPECIFIC POPULATIONS•······················
     Prescribing Information. (2.3)                                                   Pregnancy: May cause extrapyramidal mid/or withdrawal symptoms in
   • Moderate to severe renal impairment (creatinine clearance < 50 m.Umin):          neonates with third trimester exposure. (8.1)
     11''\IEGA TRINZA,.,., is not recommended . (2.5)
   • Mild renal impairment (crcatinine clearance <! 50 mUmin to < 80 mUmin):
     Adjust dosage and stabilize the patient using INYEGA SlJSTEN A®, then            See 17 for PATIENT COUNSEL! G INFORMATION and rDA•approved
     transition to INVEGA TRINZAn-,. See above table. (2.5)                           patient labeling.

   - - - --uOSAGE FORMS ANO STRENGTHS······················                                                                                        Rc,,iscd: 05/2015
   Extended•release injectable suspension: 273 mg. 410 mg, 546 mg, or 819 mg
   (3)




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           FULL PRESCRIBING INFORMATION

                        WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS
                               WITH DEMENTIA-RELATED PSYCHOSIS

           •   Elderly patients with dementia-related psychosis treated with antipsychotic drugs are at
               an increased risk of death /see Warnings and Precautions (5.1)/.
           •   INVEGA TRINZA™ is not approved for use in patients with dementia-related
               psychosis {see Wamings and Precautions (5.1)].

           1 INDICATIONS AND USAGE
           INVEGA TRINZA™ (paliperidone palmitate), a 3-month injection, is indicated for the treatment
           of schizophrenia in patients after they have been adequately treated with INVEGA SUS TENNA®
           (1-month paliperidone palmitate extended-release injectable suspension) for at least four months
           [see Dosage and Administration (2.2) and Clinical Studies (14)}.

           2 DOSAGE AND ADMINISTRATION
           2.1 Administration Instructions
           JNVEGA TRJNZATM should be administered once every 3 months.

           Each injection must be administered only by a health care professional.

           Parenteral drug products should be inspected visually for foreign matter and discoloration prior
           to administration. It is important to shake the syringe vigorously for at least 15 seconds to
           ensure a homogeneous suspension. Inject INVEGA TRINZATM within 5 minutes of shaking
           vigorously [see Dosage and Administration (2.8)}.

           INVEGA TRINZA™ is intended for intramuscular use only. Do not administer by any other
           route. Avoid inadvertent injection into a blood vessel. Administer the dose in a single injection;
           do not administer the dose in divided injections. Inject slowly, deep into the deltoid or gluteal
           muscle.

           INVEGA TRINZATM must be administered using only the thin wall needles that are provided in
           the INVEGA TRJNZA™ pack. Do not use needles from the I-month paliperidone palmitate
           extended-release injectable suspension pack or other commercially-available needles to reduce
           the risk of blockage.

           Deltoid Injection
           The recommended needle size for administration of INVEGA TRINZATM into the deltoid
           muscle is determined by the patient's weight:

           •   For patients weighing less than 90 kg, the I-inch, 22 gauge thin wall needle is recommended.

                                                                                                           3

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           •   For patients weighing 90 kg or more, the 1½-inch, 22 gauge thin wall needle is
               recommended.

           Administer into the center of the deltoid muscle. Deltoid injections should be alternated between
           the two deltoid muscles.

           Gluteal Injection
           Regardless of patient weight, the recommended needle size for administration of INVEGA
           TRlNZA™ into the gluteal muscle is the 1½-inch, 22 gauge thin wall needle. Administer into the
           upper-outer quadrant of the gluteal muscle. Gluteal injections should be alternated between the
           two gluteal muscles.

           Incomplete Administration
           To avoid an incomplete administration of INVEGA TRlNZA™, ensure that the prefiUed syringe
           is shaken vigorously for at least 15 seconds within 5 minutes prior to administration to
           ensure a homogeneous suspension and ensure the needle does not get clogged during
           injection [see Dosage and Administration (2.8)].

           However, in the event of an incompletely administered dose, do not re-inject the dose remaining
           in the syringe and do not administer another dose ofINVEGA TRINZA™. Closely monitor and
           treat the patient with oral supplementation as clinically appropriate until the next scheduled 3-
           month injection ofINVEGA TRINZA™.

           2.2     Schizophrenia
           Adults
           INVEGA TRlNZA TM is to be used only after JNVEGA SUSTENNA® (I-month paliperidone
           palmitate extended-release injectable suspension) has been established as adequate treatment for
           at least four months. In order to establish a consistent maintenance dose, it is recommended that
           the last two doses of INVEGA SUSTENNA® be the same dosage strength before starting
           INVEGA TRJNZATM_

           lnitiate INVEGA TRINZA™ when the next I-month paliperidone palmitate dose is scheduled
           with an INVEGA TRlNZA™ dose based on the previous I-month injection dose, using the
           equivalent 3.5-fold higher dose as shown in Table l. INVEGA TRINZA™ may be administered
           up to 7 days before or aHer the monthly time point of the next scheduled paliperidone palmitate
           I -month dose.




                                                                                                           4

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                  Table 1. INVEGA TRINZA TM Doses for Adult Patients Adequately Treated
                           with INVEGA SUSTENNA®
                             If the Last Dose of      Initiate INVEGA TRINZATM at the
                        INVEGA SUSTENNA® is:                     Following Dose:
                                    78mg                              273 mg
                                    117 mg                           4 10 mg
                                    156 mg                           546mg
                                   234 mg                             819 mg
                  Convers.ion from the lNVEGA SUSTENNA® 39 mg dose was not studied.



           Following the initial INVEGA TRINZA™ dose, INVEGA TRINZA™ should be administered
           every 3 months. If needed, dose adjustment can be made every 3 months in increments within the
           range of 273 mg to 819 mg based on individual patient tolerability and/or efficacy. Due to the
           long-acting nature of INVEGA TRINZA™, the patient's response to an adjusted dose may not
           be apparent for several months [see Clinical Pharmacology (12.3)).

           2.3     Missed Doses
           Dosing Window
           Missing doses of INVEGA TRINZA™ should be avoided. If necessary, patients may be given
           the injection up to 2 weeks before or after the 3-month time point.

           Missed Dose 3½ Months to 4 Months Since Last Injection
           If more than 3½ months (up to but less than 4 months) have elapsed since the last injection of
           INVEGA TRINZA™, the previously administered INVEGA TRINZA™ dose should be
           administered as soon as possible, then continue with the 3-month injections following this dose.

           Missed Dose 4 Months to 9 Months Since Last Injection
           If 4 months up to and including 9 months have elapsed since the last injection of IN VEGA
           TRINZA™, do NOT administer the next dose of INVEGA TRINZA™. Instead, use the re-
           initiation regimen shown in Table 2.




                                                                                                          5

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               Table 2. Re-initiation Re1!imen After Missin11: 4 Months to 9 Months of INVEGA TRINZATM
                                                                                                 Then administer INVEGA
                                              Administer INVEGA SUSTENNA®, two
                                                                                                 TRINZATM (into deltoid" or
                  If the Last Dose of        doses one week a1>art (into deltoid muscle)
               INVEGA TRINZATM was:                                                                   gluteal muscle)

                                                    Day 1                    Day8                    1 month after Day 8

                        273 mg                      78mg                     78 mg                         273 mg

                        410 mg                     117 mg                   117 mg                         410 mg

                        546 mg                     156 mg                   156 mg                         546 mg

                        819 mg                     156 mg                   156 mg                         819 mg

           a See Instructions for Use for deltoid injection needle selection based on body weight.



           Missed Dose Longer than 9 Months Since Last Injection
           If more than 9 months have elapsed since the last injection ofINVEGA TRINZATM, re-initiate
           treatment with the 1-month paliperidone palmitate extended-release injectable suspension as
           described in the prescribing infom1ation for that product. INVEGA TRINZATM can then be
           resumed after the patient has been adequately treated with the I-month paliperidone palmitate
           extended-release injectable suspension for at least 4 months.

           2.4    Use with Risperidone or with Oral Paliperidone
           Since paliperidone is the major active metabolite of risperidone, caution should be exercised
           when INVEGA TRINZATM is coadministered with risperidone or oral paliperidone for extended
           periods of time. Safety data involving concomitant use of INVEGA TRINZATM with other
           antipsychotics is limited.

           2.5 Dosage Adjustment in Renal Impairment
           INVEGA TRINZATM has not been systematically studied in patients with renal impairment [see
           Clinical Pharmacology (J 2. 3)}. For patients with mild renal impairment (creatinine clearance
           2: 50 mL/min to < 80 mL/min [Cockcroft-Gault Fonnula], adjust dosage and stabilize the patient
           using the I-month paliperidone palmitate extended-release injectable suspension, then transition
           to INVEGA TRINZATM [see Table 1, Dosage and Administration (2.2}}. [See also Use in
           Specific Populations (8.6) and Clinical Pharmacology (12.3)}

           INVEGA TRINZATM is not recommended in patients with moderate or severe renal impairment
           (creatinine clearance < 50 mL/min) [see Use in Specific Populations (8.6) and Clinical
           Pharmacology (J 2.3}}.




                                                                                                                              6

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           2.6 Switching from INVEGA TRINZA ™ to the 1-Month Paliperidone Palmitate
                Extended-Release Injectable Suspension
           For switching from INVEGA TRINZA™ to INVEGA SUSTENNA® (I-month paliperidone
           palmitate extended-release injectable suspension), the I-month paliperidone palmitate extended-
           release injectable suspension should be started 3 months after the last lNVEGA TRINZATM
           dose, using the equivalent 3.5-fold lower dose as shown in Table 3. The I-month paliperidone
           palmitate extended-release injectable suspension should then continue, dosed at monthly
               intervals.

                                 Table 3. Conversion From INVEGA TRINZA™ to INVEGA SUSTENNA®
                                                                   Initiate" INVEGA SUSTENNA®
                                          If the Last Dose of
                                                                   3 Months Later at the Following
                                       INVEGA TRINZATM is:
                                                                                Dose:
                                                273 mg                                     78 mg
                                                4 10 mg                                   117 mg
                                                546 mg                                    156 mg
                                                819 mg                                    234mg
                                • The initiation dosing as described in tbe prescribing information for
                                INVEGA SUSTENNA® is not required.

           2.7 Switching from INVEGA TRINZA™ to Oral Paliperidone Extended-Release
                 Tablets
           For switching from INVEGA TRINZA™ to oral paliperidone extended-release tablets, the daily
           dosing of the paliperidone extended-release tablets should be started 3 months after the last
           INVEGA TRINZATM dose and transitioned over the next several months following the last
           INVEGA TRINZA™ dose as described in Table 4. Table 4 provides dose conversion regimens
           to allow patients previously stabilized on different doses of INVEGA TRJNZATM to attain
           similar paliperidone exposure with once daily paliperidone extended-release tablets.

               Table 4. INVEGA TRINZA™ Doses and Once-Daily Pali1>eridone Extended-Release Conversion Regimens
               Needed to Attain Similar Paliperidone Exposures
                                                                 Weeks Since Last INVEGA TRINZATM Dose

                                                      3 months to             Longer than 18 weeks
                                                                                                          Longer than 24 weeks
                                                        18 weeks                  to 24 weeks
                        Last
                   INVEGA TRINZATM                           Doses of oral pali1>eridone extended-release tablets
                             Dose
                            273 mg                        3 mg                         3 mg                      3 mg

                            41 0 mg                       3 mg                         3 mg                      6 mg

                            546 mg                        3 mg                         6mg                       9 mg

                            819 mg                        6mg                          9mg                       12 mg




                                                                                                                                 7


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           Dispose properly




           Dispose of the syringe and unused needle in an approved sharps container.




                                       Thin wall safety needles are designed
                                       specifically for use with INVEGA
                                       TRINZA™. Unused needle
                                       should be discarded and not saved
                                       for future use.




           3 DOSAGE FORMS AND STRENGTHS
           INVEGA TRINZA TM is available as a white to off-white aqueous extended-release injectable
           suspension for intramuscular injection in dose strengths of 273 mg, 41 0 mg, 546 mg, and 8 19 mg
           paliperidone palmitate.

           4 CONTRAINDICATIONS
           INVEGA TRINZATM is contraindicated in patients with a known hypersensitivity to either
           paliperidone or risperidone, or to any of the excipients in the INVEGA TRINZA™ formulation.
           Hypersensitivity reactions, including anaphylactic reactions and angioedema, have been
           observed in patients treated with risperidone and paliperidone. Paliperidone palmitate is
           converted to paliperidone, which is a metabolite ofrisperidone.




                                                                                                         16

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               Table 6.    Change in Fasting Lipids from the Long-Term Maintenance Trial with INVEGA TRINZATM in
                           Sub.iects with Schizo1lhrcnia
                                                 O1len-Label Phase                   Double-Blind Phase
                                                     (relative to                        (relative to
                                                01len-label baseline)              double-blind baseline)
                                              Paliperidone Palmitate•        Placebo               INVEGA TRINZATM
                                                                Mean change from baseline (mg/dL)
           Cholesterol                             n=400                        o=l20                         11=138
           Change from baseline                     0.5                          -0.4                           0.9
           LDL                                     n=396                        n=119                         n=138
           Change from baseline                     l.l                          -0.4                           1.1
           HDL                                     n=397                        n=l19                         n=138
           Change from baseline                     -0.2                         -0.5                          -1.3
           Triglycerides                           11=400                       n=l20                         n=l38
           Change from baseline                      0.1                         -2.0                          5.1
                                                                 Proportion of Patients with Shifts
           Cholesterol Normal to                      2.0%                         3.9%                          1.4%
           High
           (<200 mg/dL to ~40                       (8/400)                       (5/128)                      (2/148)
           mg/clL)
           LDL Normal to High                         0.3%                         0.8%                           0%
           (<100 mg/dL to 2:160                     ( 1/396)                      (l/127)                      (0/148)
           mg/clL)
           HDL Normal to Low                          8.6%                         9.4%                         13.5%
           (2:40 mg/dL to <40                      (34/397)                      (12/127)                     (20/148)
           mg/dL)
           Triglycerides Normal                       4.5%                         1.6%                         8.1 %
           to High
           (<150 mg/dL to 2:200                    (18/400)                       (2/128)                     (12/148)
           mg/clL)
           • During the open-label phase, subjects received several doses of the 1-month paliperidone palmitate extended-
              release injectable suspension followed by a single dose of INVEGA TRINZA™ [see Clinical Studies (14)}.



           Weight Gain
           Weight gain has been observed with atypical antipsychotic use. Clinical monitoring of weight is
           recommended.

           Data on mean changes in body weight and the proportion of subjects meeting a weight gain
           criterion of ~ 7% of body weight from the long-term maintenance trial with INVEGA
           TRINZA™ in subjects with schizophrenia are presented in Table 7.




                                                                                                                            22

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               Table 7. Change in Body Weight (kg) and the Proportion ofSnbjects with 2: 7% Gain in Body Weight from
                        the Long-Term Maintenance Trial with INVEGA TRINZATM in Sub_iects with Schizol)hrenia
                                            011cn-Label Phase                             Double-Blind Phase
                                               (relative to                                   (relative to
                                           011en-label baseline)                         double-blind baseline)
                                         Paliperidone Palmitate•                Placebo                INVEGA TRINZATM
                                                   n=466                         n=142                         11=157
           Weight (kg)                              1.42                         -1.28                            0.94
           Change from baseline
           Weight Gain 2: 7%                       15.2%                          0.7%                            9.6%
           increase from baseline

           • During the open-label phase, subjects received several doses of the I -month paliperidone palmitate extended-
              release injectable suspension followed by a single dose ofINVEGA TRTNZATM [see Clinical Studies (14)].



           5.7 Orthostatic Hypotension and Syncope
           Paliperidone can induce orthostatic hypotension and syncope in some patients because of its
           alpha-adrenergic blocking activity. In the long-term maintenance trial, syncope was reported in
           < l % (1 /506) of subjects treated with the I-month paliperidone palmitate extended-release
           injectable suspension during the open-label phase; there were no cases reported during the
           double-blind phase in either treatment group. In the long-term maintenance trial, orthostatic
           hypotension was reported as an adverse event by < l % (l/506) of subjects treated with the
           I-month paliperidone palmitate extended-release injectable suspension and < 1% (1 /379) of
           subjects after receiving a single-dose ofINVEGA TRINZATM during the open-label phase; there
           were no cases reported during the double-blind phase in either treatment group.

           INVEGA TRINZATM should be used with caution in patients with known cardiovascular disease
           (e.g., heart failure, history of myocardial infarction or ischemia, conduction abnormalities),
           cerebrovascular disease, or conditions that predispose the patient to hypotension
           (e.g., dehydration, hypovolemia, and treatment with antihypertensive medications). Monitoring
           of orthostatic vital signs should be considered in patients who are vulnerable to hypotension.

           5.8 Leukopenia, Neutropenia, and Agranulocytosis
           In clinical trial and/or postmarketing experience, events of leukopenia and neutropenia have been
           reported temporally related to antipsychotic agents, including INVEGA TRINZA™.
           Agranulocytosis has also been reported.

           Possible risk factors for leukopenia/neutropenia include pre-existing low white blood cell count
           (WBC)/absolute neutrophil count (ANC) and history of drug-induced leukopenia/neutropenia. In
           patients with a history of a clinically significant low WBC/ANC or a drug-induced
           leukopenia/neutropenia, perform a complete blood count (CBC) frequently during the first few


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           Paliperidone palmitate showed no genotoxicity in the in vitro Ames bacterial reverse mutation
           test and mouse lymphoma assay. Paliperidone was not genotoxic in the in vitro Ames bacterial
           reverse mutation test, mouse lymphoma assay and the in vivo rat bone marrow micronucleus test.

           Impairment of Fertility
           No fertility studies were conducted with the 3-month paliperidone palmitate extended-release
           injectable suspension.

           ln a rat fertility study orally administered paliperidone increased pre- and post-implantation
           losses and slightly decreased the number of live embryos at doses up to 2.5 mg/kg/day, a dose
           which is 2 times the MRHD of 12 mg on mg/m2 basis. This dose also caused slight maternal
           toxicity but there was no effect on the percentage of treated female rats that became pregnant.
           Pre- and post- implantation losses, the number of live embryos and maternal toxicity were not
           affected at 0.63 mg/kg/day, a dose, which is half of the MRHD of 12 mg/day of orally
           administered paliperidone on mg/m2 basis. The fertility of male rats was not affected at oral
           doses of paliperidone of up to 2.5 mg/kg/day, which are up to 2 times the MRHD of 12 mg on
           mg/m2 basis, although sperm count and sperm viability studies were not conducted with
           paliperidone.

           In a sub-chronic study in Beagle dogs with risperidone, which is extensively converted to
           paliperidone in dogs and humans, all doses tested 0.31 to 5.0 mg/kg/day, which are 0.6 to
           l 0 times the MRHD of 16 mg on mg/m2 basis, resulted in decreases in serum testosterone and
           decreases in sperm motility and concentration. Serum testosterone and sperm parameters
           partially recovered, but remained decreased at the last observation two months after treatment
           was discontinued.

           13.2 Animal Toxicology and/or Pharmacology
           Injection site toxicity was assessed in minipigs injected intramuscularly with the 3-month
           paliperidone palmitate extended-release injectable suspension at doses up to 819 mg, which is
           equal to the MRHD. Injection site inflammatory reactions were greater and more advanced than
           reactions to the ]-month paliperidone palmitate extended-release injectable suspension.
           Reversibility of these findings was not examined.

           14 CLINICAL STUDIES
           The efficacy of INVEGA TRINZATM for the treatment of schizophrenia in patients who have
           been adequately treated for at least 4 months with INVEGA SUSTENNA® (I-month
           paliperidone palmitate extended-release injectable suspension) was evaluated in a long-term
           double-blind, placebo-controlled randomized-withdrawal trial designed to evaluate time to
           relapse involving adult subjects who met DSM-IV-TR criteria for schizophrenia.


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           Patients could enter the study with acute symptoms (if previously treated with oral
           antipsychotics) or be clinically stable (if treated with long-acting injectable antipsychotics
           [LAI]). All patients who previously received oral antipsychotics received the paliperidone
           palmitate I-month initiation regimen (deltoid injections of 234 mg and 156 mg one week apart),
           while those patients switching from LAJ medication were treated with the ]-month paliperidone
           palmitate extended-release injectable suspension in place of the next scheduled injection.
           Specifically:

           •   For patients entering the study who were already being treated with the 1-month paliperidone
               palmitate extended-release injectable suspension, their dosing remained unchanged. Patients
               who were currently receiving the 39 mg dose of ]-month paliperidone palmitate were not
               eligible to enroll in the study.

           •   Patients entering the study who were being treated with 25 mg, 37.5 mg, or 50 mg of
               RISPERDAL CONSTA® (risperidone long-acting injection) were switched to 78 mg,
               11 7 mg, or 156 mg, respectively, of the I-month paliperidone palmitate administered in the
               deltoid muscle.

           •   Patients entering the study who were being treated with any other LAI product were switched
               to 234 mg of the I-month paliperidone palmitate administered in the deltoid muscle.

           This study consisted of the following three treatment periods:

           •   A 17-week flexible-dose open-label period with the 1-month paliperidone palmitate (first
               part of a 29-week open-label stabilization phase). A total of 506 patients entered this phase of
               the study. Dosing of the I-month paliperidone palmitate was individualized based on
               symptom response, tolerability, and previous medication history. Specifically, the dose could
               be adjusted at the week 5 and 9 injections and the injection site could be deltoid or gluteal.
               The week 13 dose had to be the same as the week 9 dose. Patients had to be clinically stable
               at the end of this period before receiving INVEGA TRINZA™ at the week 17 visit. Clinical
               stability was defined as achieving a PANSS total score <70 at week 17. The PANSS is a
               30-item scale that measures positive symptoms of schizophrenia (7 items), negative
               symptoms of schizophrenia (7 items), and general psychopathology (16 items), each rated on
               a scale of l (absent) to 7 (extreme); total PANSS scores range from 30 to 210.

           •   A 12-week open-label treatment period with INVEGA TRINZATM (second part of a 29-week
               open-label stabilization phase). A total of 379 patients received a single-dose of INVEGA
               TRINZA™ which was a 3.5 multiple of the last dose of the I-month paliperidone palmitate.
               Patients had to remain clinically stable before entry into the next period (double-blind).


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               Clinical stability was defined as achieving a PANSS total score <70 and scores of :S 4 for
               seven specific PANSS items.

           •   A variable length double-blind treatment period. In this period, 305 stabilized patients were
               randomized 1:1 to continue treatment with INVEGA TRINZA™ or placebo until relapse,
               early withdrawal, or the end of study. Patients were randomized to the same dose of
               INVEGA TRINZA™ they received during the open-label phase (i.e., 273 mg, 410 mg,
               546 mg, or 819 mg) or to placebo administered every 12 weeks. The numbers(%) of patients
               entering double-blind on each of the dose levels were 6 (4%) for 273 mg, 15 (9%) for
               410 mg, 78 (49%) for 546 mg, and 61 (38%) for 819 mg.

           The primary efficacy variable was time to first relapse. Relapse was pre-defined as emergence of
           one or more of the following: psychiatric hospitalization, 2: 25% increase (if the baseline score
           was > 40) or a IO-point increase (if the baseline score was :S 40) in total PANSS score on two
           consecutive assessments, deliberate self-injury, violent behavior, suicidal/homicidal ideation, or
           a score of 2: 5 (if the maximum baseline score was :S 3) or 2: 6 (if the maximum baseline score
           was 4) on two consecutive assessments of the specific PANSS items.

           A pre-planned interim analysis showed a statistically significantly longer time to relapse in
           patients treated with INVEGA TRINZA™ compared to placebo, and the study was stopped early
           because efficacy was demonstrated. The most common reason for relapse observed across both
           treatment groups was increase in the PANSS total score value, followed by psychiatric
           hospitalization.

           Twenty-three percent (23%) of patients in the placebo group and 7.4% of patients in the
           INVEGA TRINZATM group experienced a relapse event. The time to relapse was statistically
           significantly longer in patients randomized to the INVEGA TRINZATM group than compared to
           placebo-treated patients. A Kaplan-Meier plot of time to relapse by treatment group is shown in
           Figure 4.

           An examination of population subgroups did not reveal any clinically significant differences in
           responsiveness on the basis of gender, age, or race.




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           Figure 4: Kaplan-Meier Plot of Cumulative Proportion of Patients with Relapse• Over Time - Interim Analysis.

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                                                                                                  - - INVEGA TRINZA (N=148)
                                                                                                  -         Placebo (N=135)
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                   0..



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                                 28      56       84   112    140   168   196   224   252   280       308    336   364   392   420
                                                                Time (days) since Randomization


           • The median time to relapse in the placebo group was 274 days. The median time to relapse in the INVEGA
           TRINZATM group could not be estimated due to low percentage (7.4%) of subjects with relapse.

           16      HOW SUPPLIED/STORAGE AND HANDLING
           INVEGA TRINZATM is available as a white to off-white sterile aqueous extended-release
           suspension for intramuscular injection in dose strengths of 273 mg, 4 IO mg, 546 mg, and 8 I 9 mg
           paliperidone palmitate. The kit contains a prefilled syringe and 2 safety needles (a thin walled
           22G, 1-inch safety needle and a thin walled 22G, l ½-inch safety needle).

           273 mg paliperidone palmitate kit (NDC 50458-606-01)

           410 mg paliperidone palmitate kit (NDC 50458-607-01)

           546 mg paliperidone palmitate kit (NDC 50458-608-01)

           819 mg paliperidone palmitate kit (NDC 50458-609-01)

           Storage and Handling
           Store at room temperature 20°C to 25°C (68°F to 77°F); excursions between 15°C and 30°C
           (59°F and 86°F) are permitted.

           17     PATIENT COUNSELING INFORMATION
           Advise the patient to read the FDA-approved patient labeling (Patient Information).

           Neuroleptic Malignant Syndrome (NMS)
           Counsel patients about a potentially fatal side effect referred to as Neuroleptic Malignant
           Syndrome (NMS) that has been reported in association with administration of antipsychotic

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                                                                                                                                                                                                                            PTX-0089C

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                                                                                                                          EXHIBIT 3

                                             SUMMARY OF THE PATENT-IN-SUIT AND OTHER PATENTS RELATED TO INVEGA TRINZA OR PALIPERIDONE PALMITATE


   Patent-in-Suit                                                                                                                                                                                  Issuance by FDA Orange Book for Invega Trinza
     Patent Number            Title            Filing Date      Issue Date     Expiration Date        Related U.S. Applications                              Abstract                       2015   2016      2017     2018      2019       2020      2021
[1] U.S. 10,143,693 Dosing Regimen for         Apr. 5, 2016    Dec. 4, 2018     Apr. 5, 2036 Prior Publication: US 2017/0281629       The present application provides a method for                                               X          X        X
                    Missed Doses for                                                           A1 filed Oct. 5, 2017. Related         treating patients in need of psychiatric treatment,
                    Long-Acting                                                                provisional applications: No.          wherein said patient is being treated with the 3-
                    Injectable Paliperidone                                                    62/162,596 and No. 62/144,054, filed   month formulation of paliperidone palmitate and
                    Esters                                                                     on May 15, 2015 and Apr. 7, 2015,      fails to take the next scheduled dose of the 3-
                                                                                               respectively.                          month formulation of paliperidone palmitate.

   Other Patents Related to Invega Trinza Or Paliperidone Palmitate                                                                                                                                Issuance by FDA Orange Book for Invega Trinza
     Patent Number            Title           Filing Date    Issue Date        Expiration Date       Related U.S. Applications                             Abstract                         2015   2016      2017     2018      2019       2020      2021
[2] U.S. 5,254,556 3-Piperidinyl-1,2-       Aug. 19, 1992 Oct. 19, 1993         Oct. 27, 2012 Division of Ser. No. 422,847, Oct. 17, The invention relates to [certain] alkanoic acid
                     Benziosoxazoles                                                           1989, Pat. No. 5,158,952, which is a esters [], pharmaceutically acceptable acid
                                                                                Apr. 27, 2013 continuation-in-part of Ser. No.       addition salts thereof, and enantiomeric forms
                                                                                  (*PED)       267,857, Nov. 7, 1988, abandoned.     thereof, which are useful in the treatment of warm-
                                                                                                                                     blooded animals suffering from psychotic
                                                                                                                                     diseases.

[3]   U.S. 6,077,843   Aqueous Suspensions    May 12, 1997     Jun. 20, 2000   May 12, 2017                                           The present invention is concerned with a                     X         X         X
                       of 9-                                                                                                          pharmaceutical composition suitable as a depot
                       Hydroxyrisperidone                                      Nov. 12, 2017                                          formulation for administration via intramuscular
                       Fatty Acid Esters                                         (*PED)                                               or subcutaneous injection, comprising:
                                                                                                                                      (1) as an active ingredient a therapeutically
                                                                                                                                      effective amount of a 9-hydroxyrisperidone fatty
                                                                                                                                      acid ester or a salt, or a stereoisomer or a
                                                                                                                                      stereoisomeric mixture thereof and
                                                                                                                                      (2) a pharmaceutically acceptable carrier; wherein
                                                                                                                                      the pharmaceutically acceptable carrier is water
                                                                                                                                      and the active ingredient is suspended therein; and
                                                                                                                                      with a process of preparing such a composition.
                                                                                                                                      The invention further concerns such a
                                                                                                                                      pharmaceutical composition for use as a
                                                                                                                                      medicament in the treatment of schizophrenia, non-
                                                                                                                                      schizophrenic psychoses, behavioral disturbances
                                                                                                                                      associated with neurodegenerative disorders, e.g.
                                                                                                                                      in dementia, behavioral disturbances in mental
                                                                                                                                      retardation and autism, bipolar mania, depression,
                                                                                                                                      anxiety.




    Notes & Sources:
 * PED refers to pediatric exclusivity expiration date. See https://www.fda.gov/drugs/development-approval-process-drugs/frequently-asked-questions-patents-and-exclusivity (viewed 4/20/2022).
    Orange Book Issuances from FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 35th Edition, 2015, at ADA 164-165; FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 36th Edition, 2016, at ADA 165;
      FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 37th Edition, 2017, at ADA 176-177; FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 38th Edition, 2018, at ADA 197;
      FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 39th Edition, 2019, at ADA 198-199; FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 40th Edition, 2020, at ADA 211-212;
      FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 41st Edition, 2021, at ADA 227; FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 42nd Edition, 2022, at ADA 226.
    U.S. Patent No. 5,254,556 covers the paliperidone compound but was not listed in the Orange Book for Invega Trinza as it expired prior to Invega Trinza's launch.
[1] From U.S. Patent No. 10,143,693; https://patents.google.com/patent/US10143693B2/en?oq=10%2c143%2c693 (viewed 4/12/2022); FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations,"
      42nd Edition, 2022, at ADA 226.
[2] From U.S. Patent No. 5,254,556; https://patents.google.com/patent/US5254556A/en (viewed 4/25/2022); FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 32nd Edition, 2012, at ADA 148-149.
[3] From U.S. Patent No. 6,077,843; https://patents.google.com/patent/US6077843A/en (viewed 4/14/2022); FDA, "Approved Drug Products with Therapeutic Equivalence Evaluations," 36th Edition, 2016, at ADA 165.


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                                                                               EXHIBIT 10

                                                    FDA–APPROVED ANTIPSYCHOTIC MEDICATIONS


                                                                                                          Indications                       Route of Administration
                                                               Date of First Available                  Schizoaffective
           Brand Name                   Molecule                Approval as Generic       Schizophrenia    Disorder            Other        Oral    Injection   Other
                [A]                       [B]                      [C]         [D]             [E]            [F]               [G]         [H]        [I]       [J]
        Long-Acting
          Typical
   [48] Prolixin Decanoate Fluphenazine Decanoate                6/20/1972       X              X                                                      X
   [49] Haldol Decanoate Haloperidol Decanoate                   1/14/1986       X              X                                                      X

          Atypical
   [50] Risperdal Consta   Risperidone                          10/29/2003                      X                                X                     X
   [51] Invega Sustenna    Paliperidone Palmitate                7/31/2009                      X               X                                      X
   [52] Zyprexa Relprevv   Olanzapine Pamoate                   12/11/2009                      X                                                      X
   [53] Abilify Maintena   Aripiprazole                          2/28/2013                      X                                X                     X
   [54] Invega Trinza      Paliperidone Palmitate                5/18/2015                      X                                                      X
   [55] Aristada           Aripiprazole Lauroxil                 10/5/2015                      X                                                      X
   [56] Aristada Initio    Aripiprazole Lauroxil                 6/29/2018                      X                                                      X
   [57] Perseris           Risperidone                           7/27/2018                      X                                                      X
   [58] Invega Hafyera     Paliperidone Palmitate                8/30/2021                      X                                                      X


         Notes & Sources:
     [C] All approval dates come from the "Drugs@FDA: FDA Approved Drug Products" database, available at https://www.accessdata.fda.gov/scripts/cder/daf/.
           For molecules with different forms, which have different approval dates, the earliest approval date is used.
[E]-[G] Includes only indications specifically referenced in the "Indications and Usage" section of the FDA labels.
[D][44] Generic oral Aripiprazole is available (see [30]), but there is no generic version containing the sensor technology present Abilify Mycite.
  [J][1] Rectal Suppository.
  [J][4] Rectal Suppository.
  [J][5] Rectal Suppository.
 [J][21] Rectal Suppository.
 [J][45] Transdermal System.
     [1] From https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=010571 (viewed 7/11/2019);
           https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=040101 (viewed 8/8/2019);
           https://www.accessdata.fda.gov/drugsatfda_docs/label/2005/010571s096lbl.pdf (viewed 6/27/2019).
     [2] From https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=010775 (viewed 6/21/2019);
           https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=011213 (viewed 6/21/2019);
           https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=040226 (viewed 6/24/2019);
           https://www.accessdata.fda.gov/drugsatfda_docs/label/2002/10775s311213s24lbl.pdf (viewed 4/22/2021).


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                                                                                                                                 PTX-0092
   HIGHLIGHTS OF PRESCRIBING INFORMATION                                         •     Mild renal impairment (creatinine clearance ~ 50 ml/min to < 80
   These highlights do not include all the infonnation needed to use                   ml/min): Adjust dosage and stabilize the patient using 1-month
   PALIPERIDONE PALMITATE EXTENDED-RELEASE INJECTABLE                                  paliperidone palmitate extended-release injectable suspension,
   SUSPENSION safely and effectively. See full prescribing                             then transition to 3-month paliperidone palmitate extended-release
   information for PALIPERIDONE PALMITATE EXTENDED-                                    injectable suspension. See above table. (2.5)
   RELEASE INJECTABLE SUSPENSION.
                                                                                 --------------------DOSAGE FORMS AND STRENGTHS----------------------
   PALIPERIDONE         PALMITATE     extended-release           injectable      Extended-release injectable suspension: 273 mg, or 410 mg (3)
   sus pension, for intramuscular use
   Initial U.S. Approval: 2006                                                         - - - - ----CONTRAINDICATIONS- - - - - - - -
                                                                                 Known hypersensitivity to paliperidone, risperidone, or to any
       WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS                          excipients in paliperidone palmitate extended-release injectable
              WITH DEMENTIA-RELATED PSYCHOSIS                                    suspension. (4)
       See full prescribing information for complete boxed warning.                     - - -WARNINGS AND PRECAUTIONS-------------------------
                                                                                 •   Cerebrovascular Adverse Reactions, Including Stroke, in Elderly
   Elderly patients with dementia-related psychosis treated with                     Patients with Dementia-Related Psychosis: Increased incide nee of
   antipsychotic drugs are at an Increased risk of death.                            cerebrovascular adverse reactions (e.g. stroke, transient ischemic
   Paliperidone palmitate is not approved for use in patients with                   attack, including fatalities). Paliperidone palmitate extended-release
   dementia-related psychosis. (5.1 l                                                injectable suspension is not approved for use in patients with
                                                                                     dementia-related psychosis (5.2)
       - - - ----RECENT MAJOR CHANGES-----------------------------               •   Neuroleptic Malignant Syndrome: Manage with immediate
   Warnings and Precautions (5.3, 5.5)                   2/2021                      discontinuation of drug and close monitoring (5.3)
                                                                                 •   QT Prolongation: Avoid use with drugs that also increase QT
   --------------------------INDICATIONS AND USAGE-----------------                  interval and in patients with risk factors for prolonged QT interval
   Paliperidone palmitate extended-release injectable suspension, a 3-               (5.4)
   month injection, is an atypical antipsychotic indicated for the treatment
                                                                                 •    Tardive Dyskinesia: Discontinue drug if clinically appropriate (5.5)
   of schizophrenia in patients after they have been adequately treated
   with 1-month paliperidone palmitate extended-release injectable               •   Metabolic Changes: Atypical antipsychotic drugs have been
                                                                                     associated with metabolic changes that may increase
   suspension for at least four months. (1)
                                                                                     cardiovascular/cerebrovascular risk. These metabolic changes
                                                                                     include:
   ----------------------DOSAGE AND ADMINISTRATION---- - - -
                                                                                     o Hyperglycemia and Diabetes Melli/us: Monitor for symptoms of
    • Use 3-month paliperidone palmitate extended-release injectable
                                                                                         hyperglycemia including polydipsia, polyuria, polyphagia, and
       suspension only after the patient has been adequately treated with
                                                                                         weakness. Monitor glucose regularly in patients with diabetes or
       lhe 1-monlh paliperidone palmitate extended-release injectable
                                                                                        at risk for diabetes. (5.6)
       suspension for at least four months. (2.2)
                                                                                     o Dyslipidemia: Undesirable alterations have been observed. (5.6)
    • Paliperidone palmitate extended-release injectable suspension                  o Weight Gain: Significant weight gain has been reported. Monitor
       should be administered once every 3 months. (2.1)                                 weight gain. (5.6)
    • For intramuscular injection only. (2.1)                                    •   Orthostatic Hypotension and Syncope: Use with caution in patients
    • Each injection must be administered only by a healthcare                       with known cardiovascular or cerebrovascular disease and patients
       professional. (2.1)                                                           predisposed to hypotension (5. 7)
    • For deltoid injection: For patients weighing less than 90 kg , use the     •   Leukopenia, Neutropenia, and Agranulocytosis: Monitor complete
       1-inch 22 gauge thin wall needle. For patients weighing 90 kg or              blood count in patients with a history of a clinically significant low
       more, use the 1½-inch 22 gauge thin wall needle.                              white     blood     cell    count    (WBC) or a           drug-induced
    • For gluteal injection: Regardless of patient weight, use the1 ½-inch           leukopenia/neutropenia. Consider discontinuation if clinically
       22 gauge thin wall needle.                                                    significant decline in WBC in the absence of other causative factors
    • Prior to administration, shake the prefilled syringe vigorously for at         (5.9)
       least 15 seconds within 5 minutes prior to administration to ensure a     •   Hyperpro/actinemia: Prolactin elevations occur and persist during
       homogeneous suspension. (2.1)                                                 chronic administration (5.10)
    • Initiate 3-month paliperidone palmitate when the next 1-month              •   Potential for Cognitive and Motor Impairment: Use caution when
       paliperidone palmitate dose is scheduled with a 3-month                       operating machinery (5.11)
       paliperidone palmitate dose based on the previous 1-month                 •   Seizures: Use cautiously in patients with a history of seizures or
       injection dose as shown below. (2.2)                                          with conditions that lower the seizure threshold (5.12)
       3-Month Paliperidone Palmitate Extended-Release Injectable                      -----------ADVERSE REACTIONS-----------------------------
    Suspension Doses for Adult Patients Adequately Treated with 1-               The most common adverse reactions (incidence ~ 5% and occurring at
        Month Paliperidone Palmitate Extended-Release Injectable                 least twice as often as placebo) were injection site reaction, weight
                               Suspension                                        increased, headache, upper respiratory tract infection, akathisia, and
                                         Initiate 3-Month Paliperidone           parkinsonism. (6)
        If the Last Dose of 1-Month       Palmitate Extended-Release
    Paliperidone Palmitate Extended-      Injectable Suspension at the           To report SUSPECTED ADVERSE REACTIONS, contact Mylan at
    Release Injectable Suspension is:            Followina Dose:                 1-877-446-3679 (1-877-4-INFO-RX) or FDA at 1-800-FDA-1088 or
                    78 ma                             Lr3 ma                     www.fda.gov/medwatch.
                   11 r ma                            410 ma
                   156 ma                             546 ma                          - - - - ------DRUG INTERACTIONS- - - - - - - --------------
                   234ma                              819 ma                     Strong CYP3A4/P-g/ycoprotein (P-gp) inducers: Avoid using a strong
   Conversion from the palipendone palm1tate extended-release                    inducer of CYP3A4 and/or P-gp (e.g., carbamazepine, rifampin, St
   injectable suspension 39 mg dose was not studied.                             John's Wort) during a dosing interval for paliperidone palmitate
                                                                                 extended-release injectable suspension. If administering a strong
   •     Missed Doses: Missing doses of paliperidone palmitate extended-         inducer is necessary, consider managing the patient using paliperidone
         release injectable suspension should be avoided. To manage              extended release tablets. (7.2, 12.3)
         missed doses on exceptional occasions, refer to the Full
         Prescribing Information. (2.3)                                          --------------------USE IN SPECIFIC POPULATIONS---------------------------
   •     Moderate to severe renal impairment (creatinine clearance < 50          Pregnancy: May cause extrapyramidal and/or withdrawal symptoms in
         mUmin): Paliperidone palmitate extended-release injectable              neonates with third trimester exposure. (8.1)
         suspension is not recommended. (2.5)




                                                                                                  I I
                                                                        Page 1 of 54
                                                                                                        Exhibit
                                                                                                        PTX-092
Outside Attorney's Eyes Only                                                                                                           MYL-PP3M079352
                                                                                                                                 PTX-0092_0001
                                                                      Appx10238
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           FULL PRESCRIBING INFORMATION

                  WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS WITH
                               DEMENTIA-RELATED PSYCHOSIS

           Elderly patients with dementia-related psychosis treated with antipsychotic drugs are at
           an increased risk of death. Paliperidone palmitate is not approved for use in patients
           with dementia-related s chosis. see Warnin sand Precautions 5.1 .

           1 INDICATIONS AND USAGE

           Paliperidone palmitate extended-release injectable suspension, a 3-month injection, is indicated
           for the treatment of schizophrenia in patients after they have been adequately treated with I -
           month paliperidone palmitate extended-release injectable suspension for at least four months
           [see Dosage and Administration (2.2) and Clinical Studies (J 4)).

           2 DOSAGE AND ADMINISTRATION

           2.1 Administration Instructions

           Paliperidone palmitate extended-release injectable suspension should be administered once every
           3 months.

           Each injection must be administered only by a healthcare professional.

           Parenteral drug products should be inspected visually for foreign matter and discoloration prior
           to administration. lt is important to shake the syringe vigorously for at least 15 seconds to
           ensure a homogeneous suspension. Inject paliperidone palmitate extended-release
           injectable suspension within 5 minutes of shaking vigorously [see Dosage and Administration
           (2.8)}.

           Paliperidone palmitate extended-release injectable suspension is intended for intramuscular use
           only. Do not administer by any other route. Avoid inadvertent injection into a blood vessel.
           Administer the dose in a single injection; do not administer the dose in divided injections. Inject
           slowly, deep into the deltoid or gluteal muscle.

           Paliperidone palmitate extended-release injectable suspension must be administered using only
           the thin wall needles that are provided in the 3-month paliperidone palmitate extended-release
           injectable suspension pack. Do not use needles from the I-month paliperidone palmitate
           extended-release injectable suspension pack or other commercially-available needles to reduce
           the risk of blockage.

           Deltoid Injection

           The recommended needle size for administration of paliperidone palmitate extended-release
           injectable suspension into the deltoid muscle is determined by the patient's weight:

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                                                                                                  PTX-0092 0004
                                                    Appx10241
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          • For patients weighing less than 90 kg, the I-inch, 22 gauge thin wall needle is recommended.
          • For patients weighing 90 kg or more, the I ½-inch, 22 gauge thin wall needle is recommended.

           Administer into the center of the deltoid muscle. Deltoid injections should be alternated between
           the two deltoid muscles.

           Gluteal Injection

           Regardless of patient weight, the recommended needle size for administration of paliperidone
           palmitate extended-release injectable suspension into the gluteal muscle is the 1½-inch, 22 gauge
           thin wall needle. Administer into the upper-outer quadrant of the gluteal muscle. Gluteal
           injections should be alternated between the two gluteal muscles.

           Incomplete Adm.inistration

           To avoid an incomplete administration of paliperidone palmitate extended-release injectable
           suspension, ensure that the preftlled syringe is shaken vigorously for at least 15 seconds within
           5 minutes prior to administration to ensure a homogeneous suspension and ensure the
           needle does not get clogged during injection [see Dosage and Administration (2.8)}.

           However, in the event of an incompletely administered dose, do not re-inject the dose remaining
           in the syringe and do not administer another dose of paliperidone palmitate extended-release
           injectable suspension. Closely monitor and treat the patient with oral supplementation as
           clinically appropriate until the next scheduled 3-month injection of paliperidone palmitate
           extended-release injectable suspension.

           2.2 Schizophrenia

           Adults

           3-month paliperidone palmitate extended-release injectable suspension is to be used only after 1-
           month paliperidone palmitate extended-release injectable suspension has been established as
           adequate treatment for at least four months. In order to establish a consistent maintenance dose,
           it is recommended that the last two doses of ]-month paliperidone palmitate extended-release
           injectable suspension be the same dosage strength before starting 3-month paliperidone palmitate
           extended-release injectable suspension.

           Initiate 3-month paliperidone palmitate extended-release injectable suspension when the next I-
           month paliperidone palmitate dose is scheduled with a 3-month paliperidone palmitate dose
           based on the previous I-month injection dose, using the equivalent 3.5-fold higher dose as shown
           in Table 1. Paliperidone palmitate extended-release injectable suspension may be administered
           up to 7 days before or after the monthly time point of the next scheduled paliperidone palmitate
           I -month dose.




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            Table 1. 3-Month Paliperidone Palmitate Extended-Release Injectable Suspension Doses
            for Adult Patients Adequately Treated with I-Month Paliperidone Palmitate Extended-
                                           Release Injectable Suspension
              If the Last Dose of I-Month Paliperidone        Initiate 3-Month Paliperidone Palmitate
                      Palmitate Extended-Release              Extended-Release Injectable Suspension
                        In_jectable Suspension is:                      at the Following Dose:
                                   78 mg                                        273 mg
                                  117 mg                                        410 mg
                                  156 mg                                        546 mg
                                  234 mg                                        819 mg
           Conversion from the paliperidone palmitate extended-release injectable suspension 39 mg dose
           was not studied.

           Following the initial paliperidone palmitate extended-release injectable suspension dose,
           paliperidone palmitate extended-release injectable suspension should be administered every 3
           months. If needed, dose adjustment can be made every 3 months in increments within the range
           of 273 mg to 819 mg based on individual patient tolerability and/or effi.cacy. Due to the long-
           acting nature of paliperidone palmitate extended-release injectable suspension, the patient's
           response to an adjusted dose may not be apparent for several months [see Clinical Pharmacology
           (12.3)).

           2.3 Missed Doses

           Dosing Window

           Missing doses of paliperidone palmitate extended-release injectable suspension should be
           avoided. If necessary, patients may be given the injection up to 2 weeks before or after the 3-
           month time point.

           Missed Dose 3½ Months to 4 Months Since Last Injection

           If more than 3½ months (up to but less than 4 months) have elapsed since the last injection of
           paliperidone palmitate extended-release injectable suspension, the previously administered
           paliperidone palmitate extended-release injectable suspension dose should be administered as
           soon as possible, then continue with the 3-month injections following this dose.

           Missed Dose 4 Months to 9 Months Since Last Injection

           If 4 months up to and including 9 months have elapsed since the last injection of paliperidone
           palmitate extended-release injectable suspension, do NOT administer the next dose of
           paliperidone palmitate extended-release injectable suspension. Instead, use the re-initiation
           regimen shown in Table 2.




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               Table 2. Re-initiation Regimen After Missing 4 Months to 9 Months of Paliperidone
                                 Pa]mitate Extended-Release Injectable Suspension
           If the Last Dose of 3-     Administer 1-month paliperidone               Then administer 3-month
           Month Paliperidone       palmitate extended-release injectable       paliperidone palmitate extended-
           Palmitate Extended-      suspension, two doses one week apart        release injectable suspension (into
            Release Injectable              (into deltoid muscle)                   deltoid" or gluteal muscle)
              Suspension was:            Dav 1               Day 8                     1 month after Dav 8
                   273 mg                78 mg               78 mg                            273 mg
                   4 10 mg              117 mg               117 mg                           410 mg
                   546 mg               156 mg               156 mg                           546 mg
                   819 mg               156 mg               156 mg                           819 mg
            See Instructions for Use for deltoid injection needle selection based on body weight.

           Missed Dose Longer than 9 Months Since Last Injection

           If more than 9 months have elapsed since the last injection of paliperidone palmitate extended-
           release injectable suspension, re-initiate treatment with the 1-month paliperidone palmitate
           extended-release injectable suspension as described in the prescribing infonnation for that
           product. 3-month paliperidone palmitate extended-release injectable suspension can then be
           resumed after the patient has been adequately treated with the I-month paliperidone palmitate
           extended-release injectable suspension for at least 4 months.

           2.4 Use with Risperidone or with Oral Paliperidone

           Since paliperidone is the major active metabolite of risperidone, caution shou ld be exercised
           when paliperidone palmitate extended-release injectable suspension is coadministered with
           risperidone or oral paliperidone for extended periods of time. Safety data involving concomitant
           use of paliperidone palmitate extended-release injectable suspension with other antipsychotics is
           limited.

           2.5 Dosage Adjustment in Renal Impairment

           Paliperidone palmitate extended-release injectable suspension has not been systematically
           studied in patients with renal impairment [see Clinical Pharmacology (12.3)/. For patients with
           mild renal impairment (creatinine clearance ~ 50 mL/min to < 80 mL/min [Cockcroft-Gault
           Formula]), adjust dosage and stabi lize the patient using the 1-month paliperidone palmitate
           extended-release injectable suspension, then transition to 3-month paliperidone palmitate
           extended-release injectable suspension [see Table 1, Dosage and Administration (2.2)}. [See also
           Use in Specific Populations (8. 6) and Clinical Pharmacology (12. 3)j

           Paliperidone palmitate extended-release injectable suspension is not recommended in patients
           with moderate or severe renal impairment (creatinine clearance < 50 mL/min) [see Use in
           Specific Populations (8.6) and Clinical Pharmacology (12.3)].




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                          819 mg                       6mg                    9mg             12 mg
           2.8 Instructions for Use


                         Administer every 3 months



                          Shake syringe vigorously for at least 15 seconds



           For intramuscular injection only. Do not administer by any other route.

           Important

           Paliperidone palmitate extended-release injectable suspension should be administered by a
           healthcare professional as a single injection. DO NOT divide dose into multiple injections.

           Paliperidone palmitate extended-release injectable suspension is intended for intramuscular use
           only. Inject slowly, deep into the muscle taking care to avoid injection into a blood vessel.

           Read complete instructions prior to use.

           Dosing

           This medication should be administered once every 3 months.

           Preparation

           Peel off tab label from the syringe and place in patient record.

           3-month Paliperidone palmitate extended-release injectable suspension requires longer and more
           vigorous shaking than I-month paliperidone palmitate extended-release injectable suspension.
           Shake the syringe vigorously, with the syringe tip pointing up, for at least 15 seconds within 5
           minutes prior to administration (see Step 2).

           Thin Wall Safety Needle Selection

           Thin wall safety needles are designed to be used with paliperidone palmitate extended-release
           injectable suspension . Therefore, it is important to only use the needles provided in the
           palipeddone palmitate extended-release injectable suspension kit.




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                                                 [i] :Mylan®
                                                Manufactured for:
                                             Mylan Institutional LLC
                                           Morgantown, WV 26505 U.S.A.

                                                 Manufactured by:
                                            Mylan Laboratories Limited
                                                 Bangalore, India
                                                                                                 JUNE 2021

                                          PATIENT INFORMATION
                                             Paliperidone Palmitate
                                        (pal" ee per' i done pawl' mi tate)
                                     Extended-Release Injectable Suspension

           What is the most important information I should know about paliperidone palmitate
           extended-release injectable suspension?

           Paliperidone palmitate extended-release injectable suspension can cause serious side
           effects, including:

          • Increased risk of death in elderly people who are confused, have memory loss and have
            lost touch with reality (dementia-related psychosis). Paliperidone palmitate extended-release
            injectable suspension is not for treating dementia-related psychosis.

           What is paliperidone palmitate extended-release injectable suspension?

           Paliperidone palmitate extended-release injectable suspension is a prescription medicine given
           by injection by a healthcare professional and used to treat schizophrenia.

           3-month paliperidone palmitate extended-release inj ectable suspension is used in people who
           have been treated with paliperidone palmitate extended-release injectable suspension l time a
           month injections for at least 4 months.

           It is not known if paliperidone palmitate extended-release injectable suspension 1s safe and
           effective in children under 18 years of age.

           Who should not receive paliperidone palmitate extended-release injectable suspension?

          Do not receive paliperidone palmitate extended-release injectable suspension if you:
          • are allergic to paliperidone palmitate, risperidone, or any of the ingredients in paliperidone
            palmitate extended-release injectable suspension. See the end of this Patient Infonnation leaflet
            for a complete list of ingredients in paliperidone palmitate extended-release injectable
            suspens10n.

           What should I tell my healthcare provider before receiving paliperidone palmitate
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           extended-release injectable suspension?

           Before you receive paliperidone palmitate extended-release injectable suspension, tell your
           healthcare provider about all your medical conditions, including if you:
            • have had Neuroleptic Malignant Syndrome (NMS)
            • have or have had heart problems, including a heart attack, heart failure, abnormal heart
               rhythm, or long QT syndrome
            •  have  or have had low levels of potassium or magnesium in your blood
            •  have   or have had uncontrolled movements of your tongue, face, mouth, or jaw (tardive
                dyskinesia)
            • have or have had kidney or liver problems
            • have diabetes or have a family history of diabetes
            • have had a low white blood cell count
            • have had problems with dizziness or fainting or are being treated for high blood pressure
            • have or have had seizures or epilepsy
            • have any other medical conditions
            • are pregnant or plan to become pregnant. It is not known if paliperidone palmitate extended-
               release injectable suspension will harm your unborn baby.
               o If you become pregnant while taking paliperidone palmitate extended-release injectable
                   suspension, talk to your healthcare provider about registering with the National
                   Pregnancy Registry for Atypical Antipsychotics. You can register by calling 1-866-961-
                   2388         or         visit       http://womensmentalhealth.org/clinical-and-research-
                   programs/pregnancyregistry/.
               o Infants born to women who are treated with paliperidone palmitate extended-release
                   injectable suspension may experience symptoms such as tremors, irritability, excessive
                   sleepiness, eye twitching, muscle spasms, decreased appetite, difficulty breathing, or
                   abnormal movement of arms and legs. Let your healthcare provider know if these
                   symptoms occur.
            • are breastfeeding or plan to breastfeed. Paliperidone palmitate extended-release injectable
               suspension can pass into your breast milk. Talk to your healthcare provider about the best
                way to feed your baby if you receive paliperidone palmitate extended-release injectable
               suspension.

           Tell your healthcare provider about all the medicines you take, including prescription and over-
           the-counter medicines, vitamins, and herbal supplements.

           Know the medicines you take. Keep a list of them to show to your healthcare provider or
           pharmacist when you get a new medicine.

           How will I receive paliperidone palmitate extended-release injectable suspension?

          •   Follow your paliperidone palmitate extended-release injectable suspension treatment schedule
              exactly as your healthcare provider tells you to.
          •   Your healthcare provider will tell you how much paliperidone palmitate extended-release
              injectable suspension you will receive and when you will receive it.
          •   Paliperidone palmitate extended-release injectable suspension is given as an injection by your
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CLINICAL PSYCHIATRY
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                            VOLUME 77 • 2016 • SUPPLEMENT 3
                            SUPPLEM ENT TO THE JOURNAL OF CU NI CAL PSYCHIATRY




                   The Use of Long-Acting
                  Injectable Antipsychotics
                      in Schizophrenia:
                   Evaluating the Evidence
                 Part 1: Efficacy and Safety of LAls . ... ... . . . . .. 4

                 Part 2: Practical Considerations and
                 Recommendations Regarding LAI Use....... 16




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                                                                                             Long-Acting Injectable Antipsychotics in Schizophrenia




                                     Dose                Dosage                           Maintenance       Oral      Time to              Postinjection
Antipsychotic               Base    Interval        Strengths/Forms      Starting Dose        Dose    Supplementation Peak    Steady State Observation
Fluphenazine                 Oil     Varies    25 and 100 mg/ml          Varies,         Varies,             No        2--4 d    2-3mo          No
decanoate81                                    ampoules/vials/syringes   12.5 mg         12.5-1 00 mg
Haloperidol decanoate82      Oil     4 wk      SO and 100 mg/ml          Varies,         Varies,             No        6-7 d     2-3mo          No
(Haldol and others)                            ampoules                  50 mg           300 mg
Risperidone                Water     2wk       25, 37.5, SO mg           25 mg           25mg               3wk       4-6wk     1.5-2 mo        No
microspheres83                                 vial kits                                 (25-50 mg)
                                                                                                                                                                    •
(Risperdal Consta)
                                                                                                                                                                ....,
                                                                                                                                                                 G>
Olanzapine pamoate84
(Zyprexa Relprevv)

Paliperidone palmitate
                           Water 2or4wk 210,300,405 mg
                                        vial kits

                           Water Monthly 78, 117, 156,234 mg
                                                                         Varies,
                                                                         up to 300 mg/
                                                                         2wk
                                                                         150mg
                                                                                         Varies,
                                                                                         up to 300 mg/
                                                                                         2 wk
                                                                                         75mg
                                                                                                             No


                                                                                                             No
                                                                                                                         4d


                                                                                                                         13d
                                                                                                                                      3mo


                                                                                                                                    7-11 mo
                                                                                                                                                   At least 3
                                                                                                                                                    hours

                                                                                                                                                      No
                                                                                                                                                                ·-.c"'
lAl85                                    prefilled syringes              (day l ) +      (25-150 mg)                                                             G>
(lnvega Sustenna)                                                        100mg
                                                                         (day8)                                                                                  3
Paliperidone palmitate     Water     Once      273,410,546,819 mg        Depending       Varies,             No        30-33 d     Continues          No         ~
l Al86                               every     prefilled syringes        on once-        273-819mg                                steady state                   C
(lnvega Trinza)                      3 mo                                monthly dose                                             at equivalent
                                                                                                                                      dose
                                                                                                                                                                 ru
Aripiprazole               Water Monthly 300,400 mg                      400mg           400mg              2 wk        5-7 d     400:4-8mo;          No         C
monohydrate87                            vial kits and dual-                             (300--400 mg)                            300: 3-4 mo                    0
(Ability Maintena)
Aripiprazole lauroxil 88
                                         chamber syringe
                           Water Monthly 441 ,662,882 mg                 Varies,         Varies,            3wk          4d         4-6mo             No
                                                                                                                                                                u.
(Aristada)                         (or 6 prefilled syringes              441-882 mg      441-882 mg                                                             C
                                 weekly:
                                 882 mg)
                                                                                                                                                                a.
'Data from package inserts of each antipsychotic and Citrome.   10                                                                                              "O
                                                                                                                                                                ....,
                                                                                                                                                                 G>
side effects including sedation, extrapyramidal symptoms                              Differences in AE rates between antipsychotic drugs may                   .c
(EPSs), weight gain, metabolic disturbance, and prolactin
elevation.90 However, a simple division of FGAs and SGAs
                                                                                   be quantified using number needed to harm (NNH). NNH
                                                                                   answers the question "How many patients would you need to                    ·-°'
                                                                                                                                                                 1 ..

                                                                                                                                                                 ~
in terms of side effect profiles is today generally seen as                        treat with Intervention Ai nstead oflntervention B before you
simplistic and misleading, although in the past it was                             would expect to encounter one additional outcome of interest
advocated. Adverse events (AEs) may contribute to p oor                            that you would like to avoid?" In general, NNH values < 10                    0
treatment adherence and increased long- term morbidity,                            for medication versus placebo denote potentially com mon                      V
and they may limit the maximal level of functional recov-
ery that patients can achieve.9 1.92 Importantly, patients and
                                                                                   AEs that can be expected to be seen frequently in day-to-day
                                                                                   clinical practice. 94- 96 As shown in Supplementary eTable 2,                 "'
                                                                                                                                                                ·-
                                                                                                                                                                .c
                                                                                                                                                                ....,
physicians may differ in their perceptions of the importance
of AEs. The roundtable participants felt that patients are
                                                                                   NNH versus placebo can help to determine how often we
                                                                                   can expect to encounter important adverse outcomes such
                                                                                                                                                                ....,
more likely to respond to the subjective distress produced
by side effects, whereas clinicians typically focus more on
                                                                                   as weight gain 2': 7%, somnolence, or akathisia with different
                                                                                   atypical antipsychotics.97,98
                                                                                                                                                                 "'0.
                                                                                                                                                                 0
the objective severity of the AE and how this affects patient                         Overall, treatm ent discontinuation rates have generally
safety and risk. All of these issues should be addressed                           been similar fo r patients treated with LAI antipsychotics                   ....,
                                                                                                                                                                 0
through sh ared decision-making and psychoeducational                              versus the same oral agent. 99 The most common AEs with
approach.93                                                                        LAls are summarized in Supplementary eTable 3.82- 88
    Comparison of adverse events associated with anti-                                Considerations in choosing an LAI. Practical issues that


                                                                                                                                                                ·--
psychotic drugs. AEs associated with LAis generally                                can help in selecting among LAis are summarized in Table 5.97
follow the known AE profiles of the oral molecule. In a                               Summary and conclusions. Information about adverse
large meta-analysis of 15 antipsych otics in schizophrenia,                        event differences among LAis comes largely from indirect
                                                                                                                                                                ....,
                                                                                                                                                                -
antipsychotics were ranked by 5 different AE domains                               comparisons and spontaneously reported AEs. The available
(sedation, EPSs, weight gain, prolactin elevation, and QTc                         data suggest that LAis vary considerably in their propensity
elevation). Results indicated small to large differences in                        to cause certain adverse effects, including weight gain, EPSs,
adverse events among antipsychotics90 that should be taken                         and prolactin elevation. This information can b e used to help
into consideration also when choosing among LA Is. A more                          guide the selection of LAis.
recent meta-analysis of 16 RCTs (n =4,902) showed that of
119 reported adverse events, LAls and oral antipsychotics                          Implications of Study Design
did not differ significantly, aside from akinesia, low-density                        LAis have been examined using several study design
lipoprotein cholesterol change, anxiety (higher with LAis),                        strategies-RCTs, mirror-image studies, and cohort studies-
and prolactin change (lower with LAis). 93•                                        each of which has strengths and limitations. 18•73•77

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Correll et al



 Consideration                                                                         Selecting a Long-Acting Injectable Antipsychotic (LAI)
 Is the patient demonstrating adequate efficacy and tolerability           • Switching to the corresponding LAI formulation is relati vely simple
 on oral fluphenazine, haloperidol, risperidone, paliperidone,             • For patients receiving oral risperidone, paliperidone pa Imitate may be
 olanzapine, or aripiprazole?                                                considered for convenience
                                                                           • For patients receiving oral fluphenazine or haloperidol, potential
                                                                             disad vantages should be weighted for using concomitant oral
                                                                             anticholinergic agents for the management of motor adverse effect s, which
                                                                             adds complexity to the regimen and may interfere with memory and other


                                                                                                                                                            ..,•
                                                                             cognitive functions
 Is the patient being treated acutely, and is the patient averse to        • Consider LAI antipsychotics that do not require oral supplementation,            (IJ
 using oral medications?

 Are weight gain and metabolic adverse effects a concern for this
 individual patient?
                                                                             w here the clinical trials have demonstrated acute efficacy (either
                                                                             paliperidone palmitate or olanzapine pamoate)
                                                                           • Consider aripiprazole LAI, paliperidone palmitate, or risperidone
                                                                             microspheres among the second-generation antipsycho tics, in that order
                                                                                                                                                            ·-.Q"'
                                                                                                                                                              (IJ
                                                                           • A first-generation LAI antipsychotic may also be considered in t his case
 Is prolactin elevatio n a clinical concern for this individual patient?   • Consider aripiprazole LAI                                                        ~
                                                                           • Avoid paliperidone palmitate, risperidone microspheres, or first-generation
                                                                             LAI antipsychotics
                                                                                                                                                              ~
 Is cost the primary concern?                                              • First-generation LAI anti psychotics may be the only option
                                                                                                                                                              C
 Are any of the following people or entities not enrolled in t he          • Olanzapine pamoate cannot be used
                                                                                                                                                              RS
 Olanzapine Pamoate Patient Care Program: patient, prescriber,                                                                                                C
 health care facility, pharmacy?                                                                                                                              0
                                                                                                                                                            LI.
    RCTs are usually considered the "gold standard" for com-
paring the efficacy and safety of different treatments. However,
                                                                                   patient populations, LAls are associated with a larger mag-
                                                                                   nitude of improvement on outcomes, such as relapses,
                                                                                                                                                            C
                                                                                                                                                            0.
explanatory RCTs are most likely not the optimal study design                      hospitalizations, and all-cause discontinuation. 100
                                                                                                                                                            -0
for the comparison ofLAis with oral anti psychotics. Strengths
of RCTs include objective rating of patient outcomes and the
                                                                                      Summary and conclusions. LAis have been studied in
                                                                                   RCTs, mirror-image studies, and coh ort studies, each of                  ..,
                                                                                                                                                              (IJ

elimination of biases on the part of investigators, including                      which has its own strengths and limitations. Therefore,                  .c
expectations about the different treatments. However, this
approach may not be the best way to study interventions with
                                                                                   different methodological issues must be considered in th e
                                                                                   design and interpretation of clinical studies examining the              ·-en
                                                                                                                                                              :r...
                                                                                                                                                              ~
potential adherence benefits, as patients enrolled in RCTs                         effects ofLAis, creating a full picture only when viewed from
may differ from the general patient population in important                        these different angles.
ways, including higher levels of motivation or willingness to                                                                                                 0
comply with instructions. RCT patients may also have less                          Effect of LAls on Adherence and Costs                                      V
severe disease than many of those seen in typical practice.
In addition, the trial itself, with reminders for appointments,
                                                                                      Medication nonadherence in schizophrenia. Studies have
                                                                                  demonstrated that approximately one-third of patients with                ·-.c..,"'
more comprehensive assessments, payments for participation,
free medication, and so on, can impact adh erence rates.
                                                                                  schizophrenia are poorly adherent to oral medications at any
                                                                                  time, whether this is evaluated using reports from patients,
                                                                                                                                                             ..,
    Mirror-image studies examine patients who are switched
from one medication to another, comparing pretreatment
                                                                                  family members, other caregivers, or clinicians. 101- 104 More
                                                                                  importantly, nonadherence is even higher when patien ts
                                                                                                                                                              "'0Q.
                                                                                  are followed over time. For example, in a study105 of more
with posttreatment study periods. This design is more reflec-
tive of actual clinical practice than an RCT. Expectation bias is
inherent in the design of a mirror-image study and may affect
                                                                                  than 34,000 patients with schizophrenia in the Veterans
                                                                                  Health Administration, approximately one-third were non-
                                                                                                                                                             ..,0
the main outcome. 1n mi rror-image studies of LAls, patients                      adherent in any one year, but more than 60% of patients were                ta
have been switched from oral antipsychotics to LAis, but no                       n onadherent at some point during the 4-year study, where                   en
                                                                                                                                                            ·--
studies have examined reversing this switching sequence.                          nonadherence was defined as an entire year with a medica-                   (IJ
This design is also subject to potential time or cohort effects                   tion possession ratio < 0.8. Consistent nonadherence across
(eg, changing h ospitalization practices over time).
    1n cohort studies, patient selection bias is reduced com-
pared with other study types. However, the selection of
                                                                                  all 4 years of the study was noted for 18% of the patients.
                                                                                  This suggests that medication adherence is suboptimal but
                                                                                  also varies over the long-term treatment course. Detection
                                                                                                                                                            ·--..,
medication in open studies may introduce bias by improving                        of nonadherence in clinical practice is often challenging,
adherence. More importantly, patients selected for treatment                      and adherence assessed by patient self-report or physician
with LAis in cohort studies may be categorically different                        judgment may be markedly lower than adherence measured
than those treated with oral antipsychotics, including having                     using quantitative techniques, such as pill counting, phar-
greater severity of illness and less illness insight or psychoso-                 macy records, or blood anti psychotic level tests. 106 Potential
cial support. Therefore, it is important to identify and adjust                   clinical consequences of undetected medication nonadher-
for confounding factors. One analysis of outcomes from LAI                        ence include unnecessary anti psychotic medication or dosage
studies found that as study designs shift toward real-world                       changes, addition of concomitant medications, and labeling

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                                                                          Long-Acting Injectable Antipsychotics in Schizophrenia

JJat,~tsiJsltmtJ lPstal l ~ tA\ ~el~rf~f?Jucrisb1~itfl~fw91'1xi ~ l 'trWJtt»c~ s, ~1!1
study 108 that examined functional outcomes associated with medical claims data during l year before and after initiating
treatment adherence in patients with schizophrenia found         LAI therapy. After a switch fro m oral to LAI antipsycho tics,
th at nonadherent patients had higher rates of several adverse   mean costs decreased for some outcomes (eg, inpatient ser-
outcomes, including psychiatric h ospitalization (26.8% vs vices, other nonrnedication services) but increased for others
14. l % for nonadherent vs adherent patients, respectively),     (eg, outpatient psychiatry, medication costs). A mirror-image
emergency care (10% vs 6%), arrest (8.4% vs 3.5%), violent study performed with patients treated in public hospitals in
behaviors (10.8% vs 4.8%), being the victim of a crime (IS.I% Hong Kong114 found that switching from oral to LAI therapy
vs 7.8%), and substance m isuse (31 .l % vs 2 I .5%).108         was associated with significantly lower total medical costs            •
    Poor treatmen t adherence is usually considered the pri-     driven largely by lower hospitalization costs, although ou tpa-    ....,
                                                                                                                                     G>
mary clinical indication for LAI use, yet studies have reported
that fewer than 20% of patients with schizophrenia receive
                                                                 tient department and pharmacy costs significantly increased
                                                                 during the LAI treatment period. By contrast, a mirror-image
                                                                                                                                    ·-.c"'
LAis, even when there is evidence of recent poor treatment study conducted in the United Kingdom,115 which included
adherence.'10•109                                                predominantly patients with schizophrenia, reported that
                                                                                                                                     G>
    Health care costs. Studies have examined how the use of in th e year following LAI therapy initiation, total health              3
LA!s affects overall health care cost of patients with schizo-   care costs significantly increased along with inpatient bed         ~
phrenia. One study110 compared treatment costs for patients days, although the number of inpatient admissions declined.              C
with schizophrenia or schizoaffective disorder who were          These unexpected results may be partially explained by the          ru
randomized to either risperidone LAI (n = 187) or the phy- high level of illness severity reflected in the large propor-             C
sician's ch oice of an oral an tipsych otic (n = 182). Overall,  tion of study patients who started LAI therapy as inpatients.       0
mean quarterly outpatient medication costs were higher for       In a study conducted in Sweden,116 investigators modeled           u.
patients randomized to LAI ($3,028) than oral medication         per-patient costs associated with several sequences of LAI         C
($1,9 13; P= .003), although total treatment costs did not or oral antipsychotics, including total costs associated with
differ significantly between the two treatments ($14,916 vs medical care, institutional care, and indirect costs. Treatment
                                                                                                                                    a.
$13,980; P=.73) . Health care utilization and costs have also strategies that used LAis had lower total I-year treatment            "O
been compared among propensity score-matched adults with         costs than strategies that included oral anti psychotic therapy.   ....,
                                                                                                                                     G>
schizophrenia in the Veterans Health Administration system A strategy of paliperidone palmitate LAI followed by olan-               .c
who initiated use of either LAI or oral anti psychotics. During zapine LAI for patients with relapses was considered not only
the 12-month follow- up period, patients treated with LAI cost-effective but also cost-saving for the health care system            ·-°'
                                                                                                                                     1 ..

                                                                                                                                     ~
compared to oral antipsychotics had significantly lower aver-    as a whole, compared with other anti psychotic strategies.
age inpatient costs, higher average pharmacy costs, and similar      A prospective observational study117 that recruited and
total health care costs. 111                                     followed adults with schizophrenia from 10 European                 0
    A recent Medicaid health care utilization study 112 in the countries provides additional support for h ealth care sav-           V
United States compared health care utilization and treatment ings related to LAI therapy. Among outpatients who were
costs for hospitalized patients with schizophrenia who had       previo usly medication nonadherent, those who initiated            ·-
                                                                                                                                     "'
                                                                                                                                    .c
                                                                                                                                    ....,
been on short-duration LA I treatment (defined as 30- 79
days; n = 2,856) versus longer-term LAI treatment(?. 180 days;
                                                                 FGA LAis were sign ificantly more likely to be medi ca-
                                                                 tion adherent (55%) th an th ose who initiated FGA oral
                                                                                                                                    ....,
n = 2,838). The longer-term LAI patients had sign ificantly agents (39%) during the 18-month follow-up period. The
lower levels of some health care utilization measures, including total schizophrenia-related treatment costs of the patients
                                                                                                                                     "'0
                                                                                                                                     0.
mean number of hospitalizations and mean length of hospital treated with LAis were only one-half of those incurred by
stay. Mean total hospital payments were 26% lower for patients the patients treated with oral anti psychotics. Finally, a study     ....,
                                                                                                                                     0
in the long-term LAI group than those in the short-term LAI conducted in Canada 118 compared health care resource use
group, suggesting that the economic benefit of LAI therapy during 1 year before and after ini tiation of LAI treatment in
may increase over time. Lin and colleagues 113 compared real-    1,992 patients with schizophrenia or schizoaffective disorder.


                                                                                                                                    ·--
world health care costs and medication adherence between Overall I-year costs associated with health care utiliza-
patients with schizophrenia who initiated LAI (n = 394) versus tion were significantly lower after a switch to LAI therapy
oral antipsychotics (n = 2,61 O) using medical claims data from  ($27,234 vs $16,987 for the preinitiation vs the postinitiation
                                                                                                                                    ....,
                                                                                                                                    -
commercially insured patients. Schizophrenia- related hospital year; P < .001).
costs decreased by a mean of $5,98 1 in the LAI group and           Summary and conclusions. Nonadherence in patients
increased by a mean of $758 for patients who received oral with sch izophrenia is common and difficult to detect.
anti psychotics (P < .001). Mean outpatient cost increased by Although LAis may provide one method to help improve
$134 versus $568 for the LAI and oral anti psychotic groups,     treatment adherence, only a minority of medication nonad-
respectively (P= .023). The mean drug cost was $4,132 with       herent patients receive them. Significant reductions in health
LA ls versus $2,562 with oral agents (P < .001). Similar out-    care utilization or costs associated with schizophrenia have
comes were observed in patients with Medicare coverage.          been demonstrated in some studies of LAI antipsychotics,
    The impact of LAI use on health care costs has also been although other studies have not demonstrated these effects
examined in several international studies. A mirror-image and showed cost-neutrality or even greater cost.

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PART 2: PRACTICAL CONSIDERATIONS AND RECOMMENDATIONS REGARDING LAI USE

When to Consider LAI Treatment:                                    often overestimate the treatment adherence of their own
Patient Eligibility and Selection                                  patients, and they may have concerns about suggesting LA ls
    Guidelines for LAI use. Several sch izophrenia manage-         to their patients because of beliefs about stigmatization or
ment guidelines, including those by the American Psychiatric       coercion. 125•128
Association, recognize LAis as a treatment option but usually          Although several studies suggested possible benefits of
                                                                   LA ls in first-episode schizophrenia,43•74•75 surveys of clini-
                                                                                                                                       ..,(IJ•
only when nonadherence to oral medication has resulted in
repeated schizophrenia relapses or when LAI is preferred by        cians have shown that many psychiatrists regard LAis as
the patient. 119 - 122 However, even when guidelines recom-
mend LAis as an option if preferred by the patient, many
                                                                   inappropriate for first-episode patients. 128•129 In a study
                                                                   conducted in the United Kingdom, approximately one-third
                                                                                                                                      ·-"'
                                                                                                                                      .Q
patients may not be aware that LAis are available.                 of psychiatrists thought that LAis were always inappropri-           (IJ
    Patient and mental health provider perceptions of LAis.        ate for first-episode patients, whereas in a German study
The use of LAis in clinical practice may depend to a large         approximately 70% of psychiatrists thought that LAis were            ~
degree on provider and patient attitudes, which are closely        inappropriate for a first episode. 128•129 In many cases, physi-     ~
related to previous and current experiences. In a survey of        cian beliefs and perceptions about LAis may prevent patients         C
attitudes about LAis among patients with schizophrenia             from learning that LAis are a potential option. 130•131 For          RS
shortly before hospital discharge, acceptance of LAI therapy       example, in a study of communication patterns in the offer           C
was 73% among patients who were c urrent users of LAls             ofLAls made by psychiatrists to patients with schizophrenia          0
(n = 60), 45% among past users of LAis (n = 95), and 23%           at 10 health clinics, psychiatrists generally presented LA Is in   LI.
among LAI-naive patients (n= 145). 123 These data show             a negative light, resulting in only 11 of 33 LAI recommenda-       C
that patients are more likely to favor their current treatment.    tions (33%) being accepted by patients. 132 However, during        0.
Similar findings were reported in a study of outpatients with      a postvisit interview, during which LAis were presented in
                                                                                                                                      -0
schizophrenia or schizoaffective disorder in the United King-
dom. 124 Perceptions about LAI use may also differ among
                                                                   a more positive light and with more information, 27 of the
                                                                   28 patients (96%) who declined the initial recommendation           ..,(IJ
h ealth care providers. In a survey in the United Kingdom, 125     changed their mind, stating that they actually would be will-      .c
most psychiatrists (91 %) felt that LAis were as efficacious
as oral medicati ons and improve patient adherence (8 1%)
                                                                   ing to try LAI treatment.
                                                                       Other obstacles to LAI use include service barriers (eg,       ·-:enr...
                                                                                                                                        ~
and prevent relapse (94%); however, despite this, 48% felt         lack of community nurses to administer injections, failure to
that depot medications are stigmatizing, and 69% believed          consider partnering with primary care providers to admin-
LAI antipsychotics are Jess acceptable to patients. However,       ister maintenance LAI treatment) and financial barriers              0
psychiatrists' knowledge about LAis was positively associ-         (eg, higher acquisition costs, payer reluctance to cover LAis        V
ated with more favorable attitudes (r=0.39, P < .001). When
these data were compared to data from a survey of nurses
                                                                   unless there is clear documentation of nonadherence, clini-
                                                                   cian and payer failure to consider the total costs associated      ·-.c..,"'
in the United Kingdom, the nurses were significantly more
likely than the psychiatrists to characterize LAis as coercive,
                                                                   with treating the illness). 123,125
                                                                       What patient and illness factors should influence LAI
                                                                                                                                       ..,
compromising of patient autonomy, or more bothersome to
prescribe and monitor than oral medication. 126
                                                                   use? Several factors may favor the use of LAI therapy in
                                                                   patients with schizophrenia:
                                                                                                                                        "'Q.
                                                                                                                                        0
    Why are psychiatrists reluctant to use LAis? Despite the
high rate of nonadherence and the consequences of poor
                                                                       • Willingness by clinicians to consider LA I treatment
                                                                       • Early-phase or first-episode schizophrenia, as these
                                                                                                                                       ..,0
adherence among patients with schizophrenia, many psy-
                                                                         patients usually have the most to gain by remaining
chiatrists remain reluctant to use LAI antipsychotics. Most                                                                             RS
psychiatrists say that they are interested in using LAI antipsy-
                                                                         in remission and the most to lose through relapse              en
                                                                                                                                      ·--
                                                                         (eg, in terms of education or employment)                      (IJ
chotics only if they can be clearly shown to be superior to oral
                                                                       • A history of nonadherence with oral medication
agents. For example, in a survey of 106 German psychiatrists,
                                                                       • Risk factors that are associated with increased risk
most favored an LAI only if it was associated with an absolute
decrease in relapse rate of 10% compared with oral therapy. 127
    In addition, many clinicians lack knowledge about prac-
                                                                         of poor adherence, such as younger age, comorbid
                                                                         substance misuse, or lack of insight
                                                                       • Factors that suggest a high risk of relapse and that
                                                                                                                                      ·--..,
tical issues in the use of LAis, including dose selecti on,
                                                                         relapse is associated with significant clinical risk,
pharmacokinetics, and what to do when a patient is late for
                                                                         such as a history of psychosis associated with vul-
an injection or has persistent symptoms after starting therapy.
                                                                         nerability, self-harm, or aggression or a histor y of
Younger staff members may have little or no experience with
                                                                         violence
FGA LAis. Many clinicians mistakenly believe that LAis are
                                                                       • Preference of LAI by the patient
associated with a greater side effect burden than oral agents,
among other misconceptions abo ut LAI treatment. Clini-               Conversely, LAis may be less suitable for some patients,
cian attitudes may also be a barrier to LAI use. Physicians        including those who demonstrate intolerance to or inefficacy

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                                                                          Long-Acting Injectable Antipsychotics in Schizophrenia

!1 {~     iU~gfplol 19. el?a!?i~ l olhi~eJ;1g g yric9J~g~~J!!2fm~ll efi!PcllieWSci~~jl~,y,
oral therapy, have a strong preference for oral therapy, or and society as a whole. In some cases, stakeholder groups may
require chronic anticoagulation therapy. Furthermore, cost have differing interests and concerns. For example, in a survey
considerations may limit access to LAis in certain states or of perceptions about medication use, patients with schizo-
settings.                                                         phrenia were less likely to agree that the good things about
    What factors should influence LAI selection? As the effi- medication outweigh the bad (6 1% of patients) than were
cacy of different LAis is generally similar, side effect profiles psychiatrists (81 %) or family members (80%)_ i 3o Stakeholder
are often a key consideration when selecting an LAI. How- groups may also differ in their attitudes toward other issues,
ever, few studies have directly compared side effect profiles of such as medication cost, access to care, and reimbursement.            •
different LAls in the treatment of schizophrenia. Rubio and          Patient-centered medicine. The concept of patient-             ....,
                                                                                                                                     G>
colleagues 133 compared risperidone LAI and zuclopenthixol centered medicine provides one approach that can help
decanoate in patients with schizophrenia and substance optimize LAI treatm ent and find a balance between the
                                                                                                                                    ·-.c"'
misuse. Over 6 months of follow- up, risperidone LAI was concerns and considerations of patients and physicians.
                                                                                                                                     G>
associated with fewer EPSs as well as more improvement on Patient-centered medicine seeks to focus attention first on
the Positive and Negative Syndrome Scale and better adher- the needs and concerns of the patient, rather than the physi-             3
ence to a substance use managemen t plan. McEvoy and cian, and to consider social and economic factors. 134 Several                  ~
colleagues78 compared haloperidol LAI and paliperidone LAI steps may help to maximize alignment of treatment goals                   C
in patients with schizophrenia, reporting greater weight gain between patient and provider. The clinician should take a              ru
and prolactin elevation but less akathisia with paliperidone thorough history and listen carefully to the patient's account          C
LAI, although changes in glucose and lipid parameters and and beliefs. The patient should be given time to make his or               0
in the overall rate of EPS were similar between the two treat- her views known and to ask questions. Consideration of the           u.
ment groups. Finally, Naber and colleagues80 examined use patient's past positive and negative treatment experiences is             C
of aripiprazole LAI and paliperidone LAI in patients with critical to developing a successful treatment plan. The clini-
schizophrenia, reporting that aripiprazole LAI was associ- cian should be flexible, adjusting treatment when appropriate
                                                                                                                                    a.
ated with numerically fewer adverse events and treatm ent to make sure the patient has a voice in his or her care. How-             "O
discontinuations and significantly greater improvement in ever, the clinician should not agree to a treatment plan that is          ....,
                                                                                                                                     (U
interviewer-rated quality of life scores.                         not clinically indicated or that could result in patient harm.    .c
    In the absence of an extensive body of research compar- Patient-centered care relies heavily on collaboration between
ing the safety profiles of different LAis, it is reasonable to the provider, the patient, the patient's family members, and         ·-°'
                                                                                                                                     1 ..

                                                                                                                                     ~
extrapolate from the oral formulation of the same drug. other caregivers as well as a broader support network, such
Meta-analysis has quantified the relative risk of a range of as close friends or clergy. Patients should be encouraged to
side effects using data from RCTs of oral antipsychotics.90 be involved in all aspects of planning, delivery, and evalu-             0
Cost is often an important consideration in treatment selec- ation of their health services, with particular emphasis on             V
tion, with acquisition costs ofSGA LAis higher than those of empowering patients and family members to make effective
FGA LAis. Finally, the patient's current oral regimen is also decisions. 135                                                        ·-
                                                                                                                                     "'
                                                                                                                                    .c
                                                                                                                                    ....,
an important consideration. If the patient is well stabilized on     Education. Psychoeducation for patients about schizo-
one oral medication, switching to a different medication in a phrenia and the benefits and risks of its treatment is clearly a
                                                                                                                                    ....,
LAI form ulation might be associated with a risk of relapse or critical part of this process and may be especially important
new adverse effects. In such cases, there would be an argu- in making decisions about the use of LAis. Psychoeduca-
                                                                                                                                     "'0.
                                                                                                                                     0
ment for using the same antipsychotic in LAI form, assuming tion should also reinforce the concept that the patient is "an
this was available.                                               expert" by experience and that the patient should be involved     ....,
                                                                                                                                     0
    Summary and conclusions. Schizophrenia treatment in the development of the treatment plan. Education should
guidelines generally emphasize nonadherence and relapse also include a plan to improve adherence, crisis management,
with oral antipsychotic agents as the most important reasons and prevention of relapses and suicide.


                                                                                                                                    ·--
for LAI use. Barriers to LAI use in current practice include         Likewise, education about the potential benefits of LAis
clinicians' lack of knowledge and negative attitudes about should also be provided to clinicians and the health care
LA!s, resource issues, and cost. Those who might benefit team. 136 Health care providers should be able to anticipate
                                                                                                                                    ....,
                                                                                                                                    -
from LAis include first-episode patients and patients early and address issues that patients have about LA!s. The first
in the course of psychosis as well as patients with known poor step in this educational process is to acknowledge concerns
adherence, high risk of nonadherence, lack of insight, and the about using LAis. An overview of the benefits and limitations
potential for significant consequences associated with relapse. of LAis should be followed by detailed education about LAI
                                                                  therapy and its most appropriate uses. Team members are
Best Practices to Maximize LAI Acceptability                      often the fi rst line of contact to identify patients for whom
and Experience for Stakeholders                                   LAls may improve outcomes and to educate those patients
    The appropriate use of antipsychotics is a concern not and their families about this treatment option.
only for patients and physicians but also for many additional        There is also a need to educate clinicians regarding practi-
stakeholder groups, including family and friends, employers, cal issues associated with the dosing and switching of LA!s

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                                                                                                                                           PTX-0106

    HIGHLIGHTS OF PRESCRIBING INFORMATION
    These hi&hli&hts do not include all the information needed to use
    INVEGA• SUSTENNA• safely and dl'ec:tivdy. See full prescribing                    -------CONTRAINDICA TIONS-------
    information for INVEGA• SUSTENNA•.                                                Known hypersensitivity to palipcridone, rispcridonc, or to any excipicnts in
                                                                                      the formulation (4)
    INVEGA• SUSTENNA• (paliperidone palmitate) extended-release
    injectable suspension, for intramuscular use                                      ------WARNINGS AND PRECAUTIONS-----
    Initial U.S. Approval: 2006
                                                                                      • Cerebrovascular Adverse Reactions, Including Stroke, in Elderly Patients
     WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS                                   with Dementia-Related Psychosis: Increased incidence of cercbrovascular
             WITH DEMENTIA-RELATED PSYCHOSIS                                            adv•~• reactions (el stroke, transi~t iscbemic attack, including
           Su full prescribing information for complete boxed warning.                  fatabttes). INVEGA SUSTENNA• ts not approved for use in patients
         Elderly patients with dementia-rt.lated psychosis trt.ated with                with dementia-related psychosis (S.2)
         antipsychotic drui:s are at an inueased ri•k of death. (5.1)                 • Neuroleptic Malignant Syndrome: Manage with immediate discontinuation
         INVEGA• SUSTENNA• is not approved for use in patients with                     of drug and close monitoring (S.3)
         dementia-related psychosis. (5.1)                                            • QT Prolongation: Avoid use with drugs that also increase QT interval and
                                                                                        in patients with risk factor, for prolonged QT interval (S.4)
                                                                                      • Tardive Dyskinesia: Discontinue drug if clinically appropriate (S.S)
   - - -----RIECENT MAJOR CHANGES------
   lndications and Usage, Schizoaffcctivc Disorder (1.2)                              • Metabolic Changes: Atypical antipsycbotic drugs have been associated
                                                         11/2014
                                                                                        with metabolic changes that may increase cardiovascular/ccrebrovascular
   --------INDICATIONS AND USAGE-------                                                 risk. These metabolic changes include:
                                                                                           o Hyperglycemia and Diabetes Me//itus: Monitor for symptoms of
   INVEGA• SUSTENNA• is an atypical antipsychotic indicated for
                                                                                              hyperglycemia including polydipsia, polyuria, polypbagia, and
   • Treatment ofschizophrcniL (I.I)
                                                                                              weakness. Monitor glucose regularly in patients with diabetes or at
   • Treatment of schizoaffectivc disorder as monothcrapy and as an adjunct to                risk for diabetes. (S.6)
     mood stabilizers or antidepressants. (1.2)
                                                                                           o Dyslipidtmla: Undesirable alterations have been observed. (5.6)
                                                                                           o Weight Gain: Significant weight gain bas been reported. Monitor
   -----.nOSAGE AND ADMINISTRATION- - -- -                                                    weight gain. (S.6)
   • For intramuscular injection only. (2.1)
                                                                                      • Orthostatic Hypotension and Syncope: Use with caution in patients with
   • Each injection must be administered only by a health care professional.            known cardiovascular or cercbrovascular disease and patients predisposed
     (2.1)                                                                              to bypotension (S. 7)
   • For deltoid injection, use I-inch 23G needle for patients weighing less than     • Leukopenia, Neutropenia, and Agranulocytosis: Monitor complete blood
     90 kg or I ½-inch 22G needle for patients weighing 90 kg or more. For              count in patients with a history of a clinically significant low white blood
     gluteal injection, use I ½-inch 22G needle regardless of patient weight.           cell count (WBC) or a drug-induced Jcukopenia/neutropcnia. Consider
     (2.1)                                                                              discontinuation if clinically significant decline in WBC in the absence of
                                                                                        other causative factor, (S.8)
                        Initiation Dosing            Monthly               Maximum    • Hyperprolactinemia: Prolactin elevations occur and persist during chronic
                             (deltoid)          Mainte.nance Dose•         Monthly      administration (S.9)
      Indication                                (deltoid or gluteal)                  • Potential for Cognitive and Motor Impairment: Use caution when
                        Day 1       Day8                                    Dose
                                                                                        operating 11'.Ulcbincry (5.10)
    Schizophrenia                                                                     • Seizures: Use cautiously in patients with a history of seizures or with
                       234mg       156mg            39-234 mg'              234 mg      conditions that lower the seizure threshold (S. J I)
        (2.2)

    Scbizoaffcctive                                                                   -------ADVERSE REACTIONS-------
                      234mg 156mg                   78-234 mg'              234 mg    Tbe most common adverse reactions (incidence :!: S¼ and occurring at least
    disorder (2.2)                                                                    twice as often as placebo) were injection site reactions, somnolence/sedation,
            . .                             . .                                       dizziness, akathisia, and cxtrapyrarnidal disorder. (6)
       Administered S wcckJ after the first IDJCClton.
     • The recommended maintenance dose for treatment of schizophrenia is
     117 mg. Some patients may benefit from lower or higher maintenance               To report SUSPECTED ADVERSE REACTIONS, contact Janssen
     doses within the additional available strengths (39 mg, 78 mg, I S6 mg, and      Pharmaceuticals, Inc. at 1-800-JANSSEN (1-800-526-7736) or FDA at
     234 mg).                                                                         1-800-FDA-1088 or www.fda.gov/medwatcb
     ' Adjust dose based on tolerability and/or efficacy using available strengths.
     The 39 mg strength was not studied in the long-term schizoaffectivc              - - - - - - --DRUG INTERACTIONS--- - - -
     disorder study.                                                                  • Drugs that may cause orthostatic hypotcnsion: An additive effect may
                                                                                        occur when co-administered with INVEGA• SUSTENNA•. (7.1)
   • For patients naTve to oral paliperidone or oral or injectable risperidone,       • Strong CYP3A4/P-glycoprotein (P-gp) inducers: It may be necessary to
     establish tolerability with oral pali~eridone or oral rispcridone prior to         increase the dose of!NVEGA• SUSTENNA• wben a strong inducer of
     initiating treatment with INVEGA SUSTENNA•. (2.2)                                  both CYP3A4 and P-gp (e.g., carbamazcpinc, rifampin, St John's wort) is
   • Missed Doses: To manage either a missed second initiation dose or a                co-administered. Conversely, on discontinuation of the strong inducer, it
     missed monthly maintenance dose, refer to the Full Prescribing                     may be necessary to decrease the dose of!NVEGA• SUSTENNA•. (7.2,
     Information. (2.3)                                                                 12.3)
   • Moderate to severe renal impairment (creatininc clearance < SO mIJmin):
     INVEGA• SUSTENNA• is not recommended. (2.S)                                      - - - - -USE IN SPECIFIC POPULATIONS- - - - -
   • Mild renal impairment (creatininc clearance :2c SO mIJmin to< 80 mIJmin):
     Administer I S6 mg on treatment day I and 11 7 mg one week later, both           • Pregnancy: Based on animal data, may cause fetal harm. (8.1)
     administered in the deltoid muscle. Follow with monthly injections of 78         • Nursing Mother,: Discontinue drug or nursing, taking into consideration
     mg in either the deltoid or gluteal muscle. (2.S)                                  the importance of drug to the mother. (8.3)
                                                                                      See 17 for PATIENT COUNSELING INFORMATION ■nd FDA-
   -----OOSAGE FORMS AND STRENGTHS- - - - -                                           approved patient labelini:.
   Extended-relcasc injectable suspension: 39 mg, 78 mg, 117 mg, I S6 mg, or
   234 mg (3)                                                                                                                                      Revised: 11/2014




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Reference ID: 3657038                                                                                   EXPERTS_MYL_000184


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          2.2    Schizophrenia and Schizoaffective Disorder
          For patients who have never taken oral paliperidone or oral or injectable risperidone, it is
          recommended to establish tolerability with oral paliperidone or oral risperidone prior to initiating
          treatment with INVEGA® SUSTENNA®.

          The recommended dosing of INVEGA® SUSTENNA® for each approved indication is displayed
          in Table 1. The recommended initiation of INVEGA® SUSTENNA® is with a dose of 234 mg on
          treatment day 1 and 156 mg one week later, both administered in the deltoid muscle. Following
          the second initiation dose, monthly maintenance doses can be administered in either the deltoid
          or gluteal muscle.

          Table 1. Recommended Dosing of INVEGA• SUSTENNA• for Adults with Schizophrenia or Scbizoaffective
                   Disorder
                                      Initiation Dosing          Monthly               Maximum Monthly
                 Indication                (deltoid)         Maintenance Dose•                 Dose
                                          Day 1          Day8               (deltoid or gluteal)
                                                                                39-234 mgb                      234mg
                Schizophrenia            234mg          156 mg


           Schizoaffective disorder      234mg          156mg                   78-234 mg°                      234mg

          • Administered 5 weeks after the first injection.
          t.rhe recommended maintenance dose for treatment of schizophrenia is 117 mg. Some patients may benefit from
              lower or higher maintenance doses within the additional available strengths (39 mg, 78 mg, 156 mg, and
              234 mg).
          0
            Adjust dose based on tolerability and/or efficacy using available strengths. The 39 mg strength was not studied in
              the long-term schizoaffective disorder study.

          Adjustment of the maintenance dose may be made monthly. When making dose adjustments, the
          prolonged-release characteristics of INVEGA® SUSTENNA® should be considered [see Clinical
          Pharmacology (12.3)}, as the full effect of the dose adjustment may not be evident for several
          months.

          2.3      Missed Doses
          Avoiding Missed Doses
          It is recommended that the second initiation dose of INVEGA® SUSTENNA® be given one
          week after the first dose. To avoid a missed dose, patients may be given the second dose 4 days
          before or after the one-week time point. Similarly, the third and subsequent injections after the
          initiation regimen are recommended to be given monthly. To avoid a missed monthly dose,
          patients may be given the injection up to 7 days before or after the monthly time point.




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           Management of a Missed Second Initiation Dose
           If the target date for the second INVEGA® SUSTENNA® injection (one week ± 4 days) ts
          missed, the recommended reinitiation depends on the length of time which has elapsed since the
          patient's first injection. In case of a missed second initiation dose follow the dosing instructions
          provided in Table 2.

           Table 2. Manae:ement of a Missed Second Initiation Dose.
             TIMING OF MISSED SECOND                                                DOSING
                    INITIATION DOSE

           Less than 4 weeks since first injection   Administer the second initiation dose of 156 mg in the deltoid
                                                     muscle as soon as possible.
                                                     I. It is recommended to administer a third injection of 117 mg in
                                                        either the deltoid or gluteal muscle 5 weeks after the first injection
                                                        (regardless of the timing of the second injection).
                                                     2. Thereafter, resume regular monthly dosing in either the deltoid or
                                                        gluteal muscle.
          4 to 7 weeks since first injection         Resume dosing with two injections of 156 mg in the following
                                                     manner:
                                                         I. Administer a deltoid injection as soon as possible.
                                                        2. Administer a second deltoid injection I week later.
                                                        3. Thereafter, resume regular monthly dosing in either the
                                                            deltoid or gluteal muscle.
          More than 7 weeks since first injection    Restart dosing with recommended initiation (see Section 2.2,
                                                     Table 1):
                                                         I. Administer a 234 mg deltoid injection on Day I.
                                                         2. Administer a 156 mg deltoid injection I week later.
                                                         3. Thereafter, resume regular monthly dosing in either the
                                                              deltoid or gluteal muscle.


          Management of a Missed Maintenance Dose
          In case of a missed maintenance dose follow the dosing instructions provided in Table 3.

           Table 3. Manaeement of a Missed Maintenance Dose.
                   TIMING OF MISSED                                                 DOSING
                  MAINTENANCE DOSE

          4 to 6 weeks since last injection          Resume regular monthly dosing as soon as possible at the patient's
                                                     previously stabilized dose, followed by injections at monthly
                                                     intervals.
          More than 6 weeks to 6 months since        Resume the same dose the patient was previously stabilized on
          last injection                             (unless the patient was stabilized on a dose of 234 mg, then the first
                                                     2 injections should each be 156 mg) in the following manner:
                                                          I. Administer a deltoid injection as soon as possible.


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                                                        2.   Administer a second deltoid injection I week later at the same
                                                             dose.
                                                        3.   Thereafter, resume administering the previously stabilized
                                                             dose in the deltoid or gluteal muscle I month after the second
                                                            injection.
          More than 6 months since last injection   Restart dosing with recommended initiation (see Section 2.2,
                                                    Table 1):
                                                        I. Administer a 234 mg deltoid injection on Day 1.
                                                        2. Administer a 156 mg deltoid injection I week later.
                                                        3.   Thereafter, resume administering the previously stabilized
                                                             dose in the deltoid or gluteal muscle I month after the second
                                                             injection.



          2.4 Use with Oral Paliperidone or with Risperidone
          Concomitant use of INVEGA® SUSTENNA® with oral paliperidone or oral or injectable
          risperidone has not been studied. Since paliperidone is the major active metabolite of
          risperidone, consideration should be given to the additive paliperidone exposure if any of these
          medications are coadministered with INVEGA® SUSTENNA®.

          2.5 Dosage Adjustments
          Renal Impairment
          INVEGA® SUSTENNA® has not been systematically studied in patients with renal impairment
          [see Clinical Pharmacology (12.3)). For patients with mild renal impairment (creatinine
          clearance ~ 50 mIJmin to < 80 mIJmin [Cockcroft-Gault Formula]), initiate INVEGA®
          SUSTENNA® with a dose of 156 mg on treatment day 1 and 117 mg one week later. Administer
          both doses in the deltoid muscle. Thereafter, follow with monthly injections of 78 mg in either
          the deltoid or gluteal muscle [see Use in Specific Populations (8. 6) and Clinical Pharmacology
          (12.3)).

          INVEGA® SUSTENNA® is not recommended in patients with moderate or severe renal
          impairment (creatinine clearance < 50 mIJmin) [see Use in Specific Populations (8. 6) and
          Clinical Pharmacology (12.3)).

          Coadministration with Strong CYP3A4/P-glycoprotein (P-gp) Inducers
          It may be necessary to increase the dose of INVEGA® SUSTENNA® when a strong inducer of
          both CYP3A4 and P-gp (e.g., carbamazepine, rifampin, St John's wort) is co-administered.
          Conversely, on discontinuation of the strong inducer, it may be necessary to decrease the dose of
          INVEGA® SUSTENNA® [see Drug Interactions (7.2) and Clinical Pharmacology (12.3)}.



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          Following administration of paliperidone palmitate the (+) and (-) enantiomers of paliperidone
          interconvert, reaching an AUC (+)to(-) ratio of approximately 1.6-1.8.

          Based on a population analysis, the apparent volume of distribution of paliperidone is 391 L. The
          plasma protein binding ofracemic paliperidone is 74%.

          Metabolism and Elimination
                                                 14
          In a study with oral immediate-release C-paliperidone, one week following administration of a
                                                        14
          single oral dose of 1 mg immediate-release C-paliperidone, 59% of the dose was excreted
          unchanged into urine, indicating that paliperidone is not extensively metabolized in the liver.
          Approximately 80% of the administered radioactivity was recovered in urine and 11 % in the
          feces . Four metabolic pathways have been identified in vivo, none of which accounted for more
          than 10% of the dose: dealkylation, hydroxylation, dehydrogenation, and benzisoxazole scission.
          Although in vitro studies suggested a role for CYP2D6 and CYP3A4 in the metabolism of
          paliperidone, there is no evidence in vivo that these isozymes play a significant role in the
          metabolism of paliperidone. Population pharrnacokinetics analyses indicated no discernible
          difference on the apparent clearance of paliperidone after administration of oral paliperidone
          between extensive metabolizers and poor metabolizers of CYP2D6 substrates.

          The median apparent half-life of paliperidone following INVEGA® SUSTENNA® single-dose
          administration over the dose range of 39 mg - 234 mg ranged from 25 days - 49 days.

          Long-Acting Paliperidone Palmitate Injection versus Oral Extended-Release
          Paliperidone
          INVEGA® SUSTENNA® is designed to deliver paliperidone over a monthly period while
          extended-release oral paliperidone is administered on a daily basis. The initiation regimen for
          INVEGA® SUSTENNA® (234 mg/156 mg in the deltoid muscle on Day 1/Day 8) was designed
          to rapidly attain steady-state paliperidone concentrations when initiating therapy without the use
          of oral supplementation.

          In general, overall initiation plasma levels with INVEGA® SUSTENNA® were within the
          exposure range observed with 6-12 mg extended-release oral paliperidone. The use of the
          INVEGA® SUSTENNA® initiation regimen allowed patients to stay in this exposure window of
          6-12 mg extended-release oral paliperidone even on trough pre-dose days (Day 8 and Day 36).
          The intersubject variability for paliperidone pharrnacokinetics following delivery from
          INVEGA® SUSTENNA® was lower relative to the variability determined from extended-release
          oral paliperidone tablets. Because of the difference in median pharmacokinetic profiles between
          the two products, caution should be exercised when making a direct comparison of their
          pharmacokinetic properties.

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          Table 13. Schizophrenia Short-term Studies
          Study                                                    Primary Efficacy Measure: PANSS Total Score
                         Treatment Group
          Number
                                                                                                           Placebo-subtracted
                                                             Mean Baseline          LS Mean Change             Difference•
                                                              Score (SD)           from Baseline (SE)
                                                                                                                 9S¾C
          Study 1       INVEGA SUSTENNA                          86.9 (11.99)        -11.2 (1.69)           -5.1 (-9.01 , -1.10)
                        (39 mg/4 weeks)•
                        INVEGAe SUSTENNAe                        86.2 ( I 0.77)      - 14.8 (1.68)        -8.7 (-12.62, -4.78)
                        (1 56 mg/4 weeks)•
                        INVEGA* SUSTENNA*                        88.4 ( I 1.70)      -15.9 (1.70)         -9.8 (-13.71 , -5.85)
                        (234 mg/4 weeks)•
                        Placebo                                  86.8 (I 0.31)        -6. 1 (1.69)
          Study 26      INVEGAIII SUSTENNA111                    89.9 (I 0.78)        -6.9 (2.50)          -3.5 (-8.73, 1.77)
                        (78 mg/4 weeks)
                        INVEGA* SUSTENNA*                        90.1 (11.66)         -10.4 (2.47)        -6.9 (-12. I 2, -1.68)
                        (156 mg/4 weeks)•
                        Placebo                                  92.4 (12.55)         -3.5 (2.15)
                                                 111
          Study 3       INVEGA111 SUSTENNA                       90.7 (12.25)        -19.8 (2.19)         -6.6 (-11.40, -1.73)
                        (39 mg/4 weeks)•
                        INVEGA*SUSTENNA*                         91.2 (12.02)         -19.2 (2.19)        -5.9 (-10.76, -1.07)
                        (78 mg/4 weeks)•
                        INVEGAe SUSTENNAe                        90.8 (11 .70)       -22.5 (2.18)         -9.2 (-14.07, -4.43)
                        (156 mg/4 weeks)•
                        Placebo                                  90.7 (12.22)        -13.3 (2.21)
                                  III            111
          Study 4       INVEGA SUSTENNA                          88.0 (12.39)         -4.6 (2.43)        -11.2 (-16.85, -5.57)
                        (78 mg/4 weeks)•
                        INVEGA* SUSTENNA*                        85.2 ( I 1.09)        -7.4 (2.45)       -14.0 (-19.51, -8.58)
                        (1 56 mg/4 weeks)*
                        Placebo                                  87.8 (13.90)           6.6 (2.45)
          SD: standard deviation; SE: standard error; LS Mean: least-squares mean; CI: unadjusted confidence interval.
          • Difference (drug minus placebo) in least-squares mean change from baseline.
          b Because an insufficient number of subjects received the 234 mg/4 weeks dose, results from this group are not
          included.
          • p<0.05 (Doses statistically significantly superior to placebo).



          Maintenance Monotherapy Treatment (Study 5: PSY-3001)
          The efficacy of INVEGA® SUSTENNA® in maintaining symptomatic control in schizophrenia
          was established in a longer-term double-blind, placebo-controlled, flexible-dose study involving
          adult subjects who met DSM-N criteria for schizophrenia. This study included a minimum
          12-week, fixed-dose stabilization phase, and a randomized, placebo-controlled phase to observe
          for relapse. During the double-blind phase, patients were randomized to either the same dose of
          INVEGA® SUSTENNA® they received during the stabilization phase, i.e., 39 mg, 78 mg, or
          156 mg administered every 4 weeks, or to placebo. A total of 410 stabilized patients were
          randomized to either INVEGA® SUSTENNA® or to placebo until they experienced a relapse of
          schizophrenia symptoms. Relapse was pre-defined as time to first emergence of one or more of
          the following: psychiatric hospitalization, ~ 25% increase (if the baseline score was > 40) or a
          IO-point increase (if the baseline score was :s; 40) in total PANSS score on two consecutive

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          assessments, deliberate self-injury, violent behavior, suicidal/homicidal ideation, or a score of
          ~ 5 (if the maximum baseline score was ~ 3) or ~ 6 (if the maximum baseline score was 4) on

          two consecutive assessments of the specific PANSS items. The primary efficacy variable was
          time to relapse. A pre-planned interim analysis showed a statistically significantly longer time to
          relapse in patients treated with INVEGA® SUSTENNA® compared to placebo, and the study
          was stopped early because maintenance of efficacy was demonstrated. Thirty-four percent (34%)
          of subjects in the placebo group and 10% of subjects in the INVEGA® SUSTENNA® group
          experienced a relapse event. There was a statistically significant difference between the
          treatment groups in favor of INVEGA® SUSTENNA®. A Kaplan-Meier plot of time to relapse
          by treatment group is shown in Figure 1. The time to relapse for subjects in the placebo group
          was statistically significantly shorter than for the INVEGA® SUSTENNA® group. An
          examination of population subgroups did not reveal any clinically significant differences in
          responsiveness on the basis of gender, age, or race.

          Figure 1: Kaplan-Meier Plot of Cumulative Proportion of Subj ects with Relapse Over Time
                    (Schizophrenia Study 5)



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               Original Investigation

               Efficacy and Safety of the 3-Month Formulation
               of Paliperidone Palmitate vs Placebo
               for Relapse Prevention of Schizophrenia
               A Randomized Clinical Trial
               Joris Berwaerts, MD; Vanning Liu, MS; Srihari Gopal, MD, MHS; Isaac Nuamah, PhD; Haiyan Xu, PhD;
               Adam Savitz, MD, PhD; Danielle Coppola, MD; Alain Schotte, PhD; Bart Remmerie, Chem Eng;
               Nataliya Maruta, MD, PhD; David W. Hough, MD



                                                                                                                           G; Editorial page 74S
                  IMPORTANCE Treatment nonadherence and relapse are common problems in patients with
                                                                                                                           GI Supplemental content at
                  schizophrenia. The long-acting 3-month formulation of paliperidone paImitate, owing to its                   jamapsychiatry.com
                  extended elimination half-life, may offer a valuable therapeutic option for these patients.
                                                                                                                           GI CMEQuizat
                                                                                                                               jamanetwor1<cme.com and
                  OBJECTIVE To evaluate the efficacy and safety of the 3-month formulation of paliperidone                     CME Questions page B56
                  palmitate vs placebo in delaying time to relapse of schizophrenia symptoms.

                  DESIGN, SETTING, AND PARTIOPANTS This randomized, multicenter trial conducted from April
                  26, 2012, through April 9, 2014, in 8 countries consisted of 4 phases: 3-week screening phase,
                  flexible-dose 17-week open-label transition phase, 12-week open-label maintenance phase,
                  and open-ended double-blind {DB) phase. Of the 506 patients enrolled {aged 18-70 years;
                  DSM·IV·TR diagnosis of schizophrenia), 305 were randomized to 3-month paliperidone
                  pa Imitate {n = 160) or placebo {n = 145) in the DB phase.

                  INTERVENTIONS Patients received once-monthly doses of the 1-month formulation of
                  paliperidone palmitate {50, 75, 100, or 150 mg eq) during the transition phase, followed by a
                  single dose of the 3-month formulation {3.5 times the stabilized dose of once-monthly
                  paliperidone palmitate) during the maintenance phase. Stabilized patients were randomized
                  to receive either a fixed dose of 3-month paliperidone palmitate (175, 263, 350, or 525 mg eq)
                  or placebo once every 3 months during the DB phase.

                  MAIN OUTCOMES AND MEASURES Time from randomization to the first relapse event {time to
                  relapse) in the DB phase.

                  RESULTS In the interim analysis, time to first relapse was significantly different in favor of the
                  paliperidone palmitate group vs the placebo group {hazard ratio= 3.45; 95% Cl, 1.73-6.88;
                  P < .001); median time to relapse was 274 days for placebo but not estimable for 3-month
                  paliperidone palmitate. An independent data monitoring committee recommended early
                                                                                                                           Author Atflllatlons: Janssen
                  study termination due to efficacy. In the DB phase, 183 of 305 patients {62% with 3-month                Research & Development, LLC,
                  paliperidone palmitate; 58% with placebo) had at least 1treatment-emergent adverse event;                Titusville, New Jersey (Berwaerts,
                  those noted more frequently in the group receiving paliperidone palmitate than in the                    Gopal, Nuamah, Xu, Savitz. Coppola,
                                                                                                                           Hough); Johnson & Johnson Medical
                  placebo group were headache {9% vs 4%), weight increased {9% vs 3%), nasopharyngitis                     (China) Ltd, Beijing, China (Liu);
                  {6% vs 1%), and akathisia {4% vs 1%).                                                                    Division of Janssen Pharmaceutica
                                                                                                                           NV, Janssen Research &
                  CONCLUSIONS AND RELEVANCE Compared with placebo, the 3-month formulation of                              Development, Bee<se, Belgium
                                                                                                                           (Schotte, Remmerie); Institute of
                  paliperidone palmitate administered 4 times yearly significantly delayed time to relapse in              Neurology. Psychiatry, and Nara,logy,
                  patients with schizophrenia. The 3-month formulation was generally tolerable and has a                   Academy of Medical Science of
                  safety profile consistent with other marketed paliperidone formulations.                                 Ukraine, Kharkiv, Ukraine (Maruta).
                                                                                                                           Corresponding Author: Joris
                                                                                                                           Berwaerts, MD, Janssen
                  TRIAL REGISTRATION clinicaltrials.gov Identifier: NCT01529515
                                                                                                                           Research & Development, LLC,
                                                                                                                           1125 Trenton-Harbourton Rd,
                  JAMA Psychiatry. 2015;72(8):830-839. doi:10.1001/jamapsychiatry.2015.0241                                Titusville, NJ 08560
                  Published online March 29, 2015.                                                                         fjberwaer@its.jnj .com).


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                 Paliperidone Pa Imitate 3-Month Formulation for Schizophrenia                                                     Original Investigation Research



                        elapse of schizophrenia symptoms, which can result                 ceive an injection of the 3-month formulation ofpaliperidone

                 R      from poor adherence to otherwise effective antipsy-
                        chotic therapy, may lead to treatment resistance, cog-
                nitive impairment, personal distress, and interference with re-
                                                                                           palmitate if still hospitalized at that time, ie, for a total of 17
                                                                                           weeks ofOL treatment with once-monthlypaliperidone palmi-
                                                                                           tate, regardless of their clinical presentation. Patients were al-
                habilitation efforts.,,. Each episode of worsening symptoms                lowed assistance from an identified support person to ensure
                presents with a risk of hospitalization, imposing significant              compliance with study treatment and procedures, including
                burden on health care resources.3-6 Patients with schizophre-              alerting trial staffto any signs ofimpending relapse. Major ex-
                nia commonly lack insight into their disease and the impor-                clusion criteria were the following: primary, active DSM-IV di-
                tance of medication, compromising treatment adherence and                  agnosis other than schizophrenia; significant risk ofsuicidal be-
                increasing relapse frequency. Long-acting injectable {LAI) an-             havior; history ofsubstance dependence within 6 months before
                tipsychotics eliminate the need for daily dosing, thus circum-             screening; involuntary status in a psychiatric hospital at screen-
                venting the problem ofnonadherence with antipsychotic medi-                ing; or history ofneuroleptic malignant syndrome, tardive dys-
                cations and reducing the risk ofrelapse and hospitalization due            kinesia, or any malignant neoplasm in the previous s years ex-
                to nonadherence among patients with schizophrenia.7•8                      cept basal cell carcinoma.
                     Paliperidone palmitate was originally formulated as a once-                The study protocol and amendments were approved by an
                monthly atypical antipsychotic LAI and is approved for treat-              independent ethics committee or institutional review board,
                ment ofschizophrenia in adults in numerous countries.••n The               as appropriate, for each site. All studies were conducted in com-
                acute and sustained efficacy and tolerability profile of once-             pliance with the Declaration ofHelsinki, consistent with Good
                monthly paliperidone palmitate has been shown in more than                 Clinical Practices and applicable regulatory requirements. Writ-
                3800 patients.n-zz Continued treatment with once-monthly                   ten informed consent was obtained from all patients before en-
                paliperidone palmitate in patients who initially responded to              rollment. The trial protocol is available in Supplement 1.
                it for acute worsening ofsymptoms resulted in a nearly 4-fold
                reduction in relapse risk compared with patients randomized                Study Design. Randomization, and Blinding
                to placebo.•• A recently developed 3-month formulation of-                 This randomized, DB, placebo-controlled study conducted from
                fers a substantially longer dosing interval: injections are ad-            April 26, 2012, through April 9, 2014, included patients from 64
                ministered once every 3 months. This extended dosing inter-                centers in 8 countries (Ukraine [36%], United States [31%], Ro-
                val offers the prospect offewer opportunities for nonadherence             mania [8%], Colombia [8%], Malaysia [6%], Mexico [6%], Tur-
                than currently available LAI formulations, thus reducing re-               key [3%], and South Korea (2%]). Investigators from all centers
                lapse risk as a result ofsubtherapeutic plasma concentrations              participated in the study (eAppendix 1 in Supplement 2). The
                and its associated negative consequences in patients with                  study consisted of4 phases: screening and oral tolerability test-
                schizophrenia.2 ,23.2•                                                     ing phase (,;3 weeks), OL transition phase, OL maintenance
                     This double-blind (DB), placebo-controlled, relapse pre-              phase, and DB phase. In the 17-week transition phase, all pa-
                vention study was designed to evaluate the efficacy and safety             tients except those switching from other LAI antipsychotics or
                 of the 3-month formulation ofpaliperidone palmitate vs pla-               those who were receiving once-monthly paliperidone palmi-
                cebo in delaying time to relapse of schizophrenia symptoms                 tate before study entry received once-monthly paliperidone pal-
                in patients previously treated with once-monthly paliperi-                 mitate for 120 days, with the following doses: day 1: 150 mg eq
                 done palmitate for at least 4 months.                                     (deltoid); day 8: 100 mg eq (deltoid); days 36 and 64: so, 75, 100,
                                                                                           or 150 mg eq flexillle doses (deltoid or gluteal); and day 92: same
                                                                                           dose of once-monthly paliperidone palmitate as on day 64. At
                                                                                           the start of the 12-week maintenance phase, patients received
                 Methods                                                                   asing!edoseof3-monthpaliperidonepalrnitateineitherthedel-
                 Patients                                                                  toid or gluteal muscle (dose of3-month paliperidone palmi-
                 Patients (men and women aged 18-70 years, inclusive) diag-                tatewas3.S-fold that ofthe final once-monthlypaliperidone pal-
                 nosed with schizophrenia (by DSM-IV-TR criteria) for at least 1           mitate dose administered on day 92).
                 year before screening and a Positive and Negative Syndrome                     Stabilized patients were then randomized (1:1 ratio; via a
                 Scale (PANSS) total score lower than 120 at screening and base-           sponsor-prepared computer-generated randomization scheme;
                 line were enrolled (Figure 1). Patients symptomatically stable            administered by an interactive voice/web response system) to
                 on other LAI antipsychotic treatments were eligible. A stable             receive either 3-month paliperidone palmitate or placebo in a
                 place of residence for the previous 3 months before screening             DB phase with variable length (fixed dose of3-month paliperi-
                 was mandatory. During initiation of the study and at subse-               done palmitate). The doses of3-month paliperidone palmi-
                 quent times, the investigators were instructed to seek autho-             tate were 175, 263, 350, or 525 mg eq. Patients assigned to
                 rization from medical monitors if they elected to keep indi-              3-month paliperidone palmitate in the DB phase received the
                 vidual patients in the hospital for longer than 10 consecutive            same dose that was administered on day 120 of the mainte-
                 days after enrollment in the study. The medical monitors en-              nance phase; this dose remained fixed throughout the DB phase
                 sured that patients did not remain in the hospital, if clinically         (eTable 1in Supplement 2). Randomization was balanced using
                 stable, beyond the second injection of once-monthly paliperi-             permuted blocks across the 2 treatment groups and stratified
                 done palrnitate on day 8 ofthe open-label (OL) transition phase.          by study center to ensure balance oftreatment allocation within
                 Patients were not to enter the OL maintenance phase and re-                a center. To maintain blinding during the DB phase, paliperi-

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               Research Original Investigation                                                                                Paliperidone Palmitate 3-Month Formulation for Sdlizophrenia



               Figure 1. CONSORT Flow Diagram ofStudy Design

                - - - - - - - - - -Open-labtl phostS                                   - - - - - - - - - - - - - - - -+ OOublt-blindphose
                 620 Patients In screening    !         506 Patitnts In tnnsition,l       379 Patlenb In maintenance                    305 Patienb in doublt-bUnd phos,
                ~ -pho
                    - "- - - - ~              !              phise
                                                                                              phos,                                         (variable duration)>


                           3wk                                                                       12wk
                                                                                                                 -,
                                                                                                                                                  305 Randomized
                                              i::::   f--rr..tment 17 wk1-mo
                                                                   with                    Trutment with 3-mo
                                                        lonnulation of pa Uperidone        formulation of paliperldone
                                                        palmitJte                          palmitatt
                                                                                                                                 160 Randomized to           145 Randomized to
                                                                                                                                     receive 3-mo                re<elvt placebo
               114 Excluded                           127 Excluded                        74 Excluded                                 formulation of
                   112 Scrttn hilures                     51 Withdrew consent                15 Withdrew consent                      paUperidon,
                                                                                                                                      palmi!Jle                       23 Excluded
                      2 Passed screening                  19 Lack of efficacy                13 Failed randomization
                        but withdrew before                19 Lost to follow-up                 criteria                                                                10 Withdrew consent
                        first injection of                 16 Adverse events                 10 Exposure to prohibited                                                     8 Other
                        once-monthly                                                            medication                   12 Excluded                                   1 Exposure to
                                                            9 Other                                                             7 Withdrew
                        paUperidone                                                          10 Adverse events                                                               prohibited
                        pa Imitate In                       8 hiled malntenince                                                   constnt                                    medication
                        transition phase                      phase crlttrfa                  9 Lack of efficacy
                                                                                                                                3 Lostto                                   1 Blind broken by
                                                            4 Exposure to prohibited          8 Other                             follow-up                                  Investigator
                                                              medication                      5 Lost to follow-up               2 Other                                    1 Pregnancy
                                                            1 o..th                           2 Study terminated by
                                                                                                sponsor                                                                    l Advenoevenb
                                                                                              2 Fililed maintenance                                                        1 Lost to follow-up
                                                                                                phase criteria'
                                                                                                                             134 Completed (n= 134)'               80 Completed"
                                                                                                                              14 Relapse (n= 14}                   42 Relapse


                                                                                                                                         270 Completed doublt-bUnd phose


               • Two patients failed to meet criteria to enter the maintenance phase but                       study was terminated for efficacy at the interim analysis (ocamence of
                 continued into the maintenance phase by mistake and received an injection of                  42 relapse events) or because of 70 relapse events being recorded.
                 the 3-month formulation of paliperidone palmitate at visit 8. These 2 patients              'The duration of exposure to the 3-month formulation of paliperidone
                 withdrew from the maintenance phase because they did not meet criteria to                     palmitate (maintenance and double-blind phases) ranged from 16 to 540
                 enter the maintenance phase.                                                                 days; the median treatment duration in the double-blind phase was 169 days.
               • Duration of the double-blind phase was variable, with the patients continuing               • The median duration of receiving placebo in the double-blind phase was
                 until they experienced a relapse event and completed all end-of-study                         146days.
                 assessments: met 1or more of the study discontinuation or withdrawal
                 aiteria: or had remained relapse free during the double-blind phase until the



               done palmitate and placebo were wrapped so the content was                                         An independent data monitoring committee performed on-
               not visible and were administered by a single person distinct                                 going safety monitoring and 1 efficacy interim analysis and pro-
               from other study personnel at the investigational site. The pa-                               vided recommendations about modifying, stopping, or con-
               tient was not allowed to view the syringe. The placebo (Intra-                                tinuing the study. The independent data monitoring committee
               lipid, 20%) had a similar appearance to the 1-month and                                       consisted of4 academic psychiatrists and 1statistician who in-
               3-month formulations of paliperidone palmitate. The study                                     dependently reviewed safety data on a periodic (quarterly) ba-
               drug administrator was appropriately medically trained to ad-                                 sis and performed 1 planned unblinded efficacy analysis. The
               minister an intramuscular medication and was the only per-                                    protocol planned for an interim analysis after 42 relapse events
               son responsible for drug accountability, receiving interactive                                and full analysis after70 relapse events had occurred if the study
               voice/web response system information and medication allo-                                    was not tenninated at the interim efficacy analysis. On recom-
               cation. Patients remained in the DB phase until they re-                                      mendation to terminate the study based on interim results, all
               lapsed, they withdrew from the study, or the study was                                        ongoing patients were brought in for end-of-study evaluation.
               tenninated.                                                                                   Results through the end of the DB phase after early termina-
                   Doses ofpaliperidone palmitate can be expressed both in                                   tion of the study (ie, cumulative data including those from be-
               terms of milligram equivalent of the pharmacologically ac-                                    fore the interim cutoff date) are reported herein as the final
               tive fraction, paliperidone, and in milligrams of paliperidone                                analysis, which confirmed the results ofthe interim analysis.
               palmitate. Thus, the doses expressed as 25, so, 75, 100, and 150
               mg eq of once-monthly paliperidone palmitate equate to 39,                                    Efficacy Assessments
               78, 117, 156, and 234 mg, respectively, of once-monthly pali-                                 The primary efficacy variable was time from randomization to
               peridone palmitate. Similarly, 175,263,350, and 525 mg eq of                                  the first relapse event in the DB phase. Relapse was based on the
               3-month paliperidone palmitate correspond to 273,410, 546,                                    definition by Csemansky et al25 and defined as at least 1 of the
               and 819 mg of 3-month paliperidone palmitate (eTable 2 in                                     following: (1) hospitalization for schizophrenia symptoms (in-
               Supplement 2).                                                                                voluntaryorvoluntary admission); (2) 25% increase in PANSS total

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                 Paliperidone Pa Imitate 3-Month Formulation for Schizophrenia                                                   Onglnal Investigation Research



                saire from randomization for 2 consecutive assessments between           (n = 145) in the DB phase. Of 305 randomized patients, a total
                3 and 7 days apart for patients sairing higher than 40 at random-        of270 (89%) completed the study (Figurei). The median treat-
                ization or a 10-point increase for patients scoring 40 or lower at       ment duration was 120 days for the transition phase, 85 days for
                randomization; (3) increase in distinct PANSS item scores {Pl [de-       the maintenance phase, and 169 days for the group receiving
                lusions], P2 [conceptual disorganization], P3 [hallucinatory be-         3-month paliperidone palmitate and 146 days for the placebo
                havior], P6 [suspiciousness/persecution], P7 [hostility], orG8 [un-      group in the DB phase. Demographic and baseline characteris-
                cooperativeness]) for 2 consecutive assessments between 3 and            tics were well balanced between the groups (Table 1). The most
                7 days apart; (4) clinically significant deliberate self-injury orvio-   common reason for discontinuation from this study was con-
                lent behavior resulting in suicide, injury, or significant damage;       sent withdrawal. A total ofn (2%), 42 (8%), 241 (48%), and 212
                or (S) suicidal or homicidal ideation and aggressive behavior. The       (42%) ofthe patients received the final dose ofso, 75, 100, and
                relapse oiteria were identical to those implemented in the re-           150 mg eq of once-monthly paliperidone palmitate, respec-
                lapse prevention studies ofextended-release paliperidone26 and           tively, in the transition phase, while 9 (2%), 36 (9%), 185 (49%),
                once-monthly paliperidone palmitate'6 in patients with schizo-           and 149(39%) ofthe patients received 175,263,350, and525 mg
                phrenia. Secondary efficacy end points included changes from             eq of3-month paliperidone palmitate, respectively, at week 17
                DB baseline to end point in PANSS total, subscale, ands-factor           in the maintenance phase. Of these, 6 (4%) of the patients re-
                scores,77 Clinical Global Impression-Severity score, and Personal        ceiving 175 mg eq, 15 (9%) receiving263 mg eq, 78 (49%) receiv-
                and Social Performance scores.                                           ing 350 mg eq, and 61 {38%) receiving 525 mg eq entered the DB
                                                                                         phase. A greater proportion of patients who entered the DB
                 Pharmacokinetic and Safety Assessments                                  phase receiving 525 mg eq of3-month paliperidone palmitate
                 The phannacoldnetic assessments are described in eAppen-                (14 of 61 patients [23%]) continued in the study to DB week 36
                 dix 2 in Supplement 2. Safety assessments included treatment-           vs other dose groups (175 mg eq: o of6 patients; 350 mg eq: 8 of
                 emergent adverse events (TEAEs), extrapyramidal symptom                 78 patients [10%]; 263 mg eq: 3 ofls patients [20%]).
                 (EPS) rating scales, clinical laboratory tests, vital sign mea-
                 surements, 12-lead electrocardiograms, physical examina-                 Efficacy
                 tion findings, and injection-site evaluations.                           Primary
                                                                                          The interim analysis (considered the primary analysis) was con-
                 Statistical Analysis                                                     ducted on data collected from April 26, 2012, through data cut-
                 The sample size determination is desoibed in eAppendix 2 in              off on January 24, 2014, The analysis set (DB) for the interim
                 Supplement 2.                                                            analysis included 283 patients (3-month paliperidone palmitate,
                     The Kaplan-Meier method was used to assess the primary ef-           n = 148; placebo, n = 135). The interim analysis revealed a signifi-
                 ficacy variable (time to relapse), and the log-rank test (2-Sided)       cant difference between the 2 treatment groups for time to re-
                 was used to compare treatment differences. Treatment compari-            lapse ofschizophrenia symptoms, in favor of3-month paliperi-
                 son between 3-month paliperidone palmitate and placebo in                done palmitate (hazard ratio = 3,45; 95% CI, 1.73-6.88;P < .001);
                 changes from baseline to end point ofPANSS total, subscale, and          the median time to relapse was 274 days for the placebo group
                 5-factorsaires, PersonalandSocialPerformancescores,andClini-             but was not estimable for the group receiving 3-month paliperi-
                 ca!Globallmpression-SeverityscoreduringtheDBphasewasper-                 done pa]mitate (Figure2A). Based on the interim analysis, 31 pa-
                 formed using an analysis-of-covariance model with treatment and          tients (23%) in the placebo group and n patients (7%) in the group
                 country as factors and DB baseline value as a covariate. All sec-        receiving3-month paliperidone pa]mitate experienced a relapse
                 ondary efficacy analyses were performed at the significance level        event during the DB phase (eTable 3 in Supplement 2). Conse-
                 ofa = .os (2-sided) across treatment groups with no adjustments          quently, the independent data monitoring committee recom-
                 for multiplicity. Cox proportional hazards models were con-              mended early study termination for efficacy.
                 structed to individually examine the effectofcovariates (age, sex,            The final analysis set (DB) included 305 patients
                 race, bodymassindex[BMI; calculatedasweightinkilogramsdi-                (3-month paliperidone palmitate: n = 160; placebo: n = 145).
                 vided by height in meters squared], and geographic region) on the        Final analysis results were consistent with that of interim
                 primary efficacy results. Least-squares estimates ofthe treatment        analysis, confirming superiority of 3-month paliperidone
                 differences and 95% confidence intervals were calculated.                palmitate over placebo for delaying time to relapse of schizo-
                      The study was to be stopped ifefficacy was established (at          phrenia symptoms (P < .001; hazard ratio = 3.81; 95% CI, 2.08-
                 a 2-sided significance level of a • .0101) at the preplanned in-         6.99); the median time to relapse was 395 days for the pla-
                 terim analysis (after 42 relapse events). If the study was not           cebo group but was not estimable for the group receiving
                 terminated due to nonsignificant results, the final analysis (af-        3-month paliperidone palmitate (Figure 2B). A total of 42 pa-
                 ter?O relapse events) was to be performed at a significance level        tients (29%) in the placebo group and 14 patients (9%) in the
                 ofa = .0464 (2-sided).                                                   group receiving 3-month paliperidone palmitate experienced
                                                                                          a relapse event during the DB phase (eTable 3 in Supplement
                                                                                          2). Additionally, based on Cox proportional hazards model, the
                                                                                           efficacy of3-month paliperidone palmitate with regard to time
                  Results                                                                  to relapse was consistent regardless of age, sex, race, BM!, or
                 Of the 506 patients enrolled, 305 (60%) were randomized to               region (P < .001 for all, regardless ofwhich factor is included
                 either 3-month paliperidone palmitate (n = 160) or placebo                in the model) (eTable 4 and eTable sin Supplement 2).

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               Research Original Investigation                                                               Paliperidone Palmitate3-Month Formulation for Schizophrenia



               Table 1. Demographic and Baseline Characteristics in the Double-Blind Phase
               for the Intent-to-Treat Analysis Set
                                                                                             3-mo
                                                                                             Pallperldone
                                                                            Placebo          Palmltate           Total
                Characteristic                                              (n =145)         (n =160)            (n =305)
                Age, mean (SD), y                                            38.5 (11.16)     37.1 (10.87)        37.8 (11.01)
                Male, No. (")                                               110(76)          118(74)             228 (75)
                Race, No. (")
                  White                                                      91 (63)         104 (65)            19S (64)
                  Black or African American                                  21 (14)          24 (15)             4S (IS)
                  Asian                                                      15 (10)          14 (9)              29 (10)
                  Other                                                      18 (12)          17 (11)             35 (11)
                  Multiple                                                    0                1 (1)               1 (<l)
                Weight, mean (SD), kg                                        77.1 (1S.S3)     78.1 (14.97)        77.6 (IS.22)
                BMI, mean (SD)                                               26.2 (4.S7)      26.2 (4.51)         26.2 (4.53)
                                                                                                                                    Abbreviations: BMI, body mass index
                Age at schizophrenia diagnosis, mean (SD), y                 27.7 (8.98)      26.3 (8.24)         26.9 (8.61)       (calculated as weight in kilograms
                Use of depot antipsychotics prior to study start, No. (")                                                           divided by height in meters squared);
                  Yes                                                        25 (17)          28 (18)             S3 (17)           CGI-S, Oinical Global
                                                                                                                                    lmp<ession-Severity; PANSS, Positive
                  No                                                        120 (83)         132 (83)            252 (83)           and Negative Syndrome Scale;
                No. of prior hospitalizations, No. (")'                     128              146                 274                PSP, Personal and Social
                  0                                                          51 (40)          48 (33)             99 (36)           Perfonmance.
                  1                                                          44 (34)          48 (33)             92 (34)           • Number of prior hospitalizations for
                                                                                                                                      psychosis within 24 months before
                  2                                                          18 (14)          25 (17)             43 (16)             study start.
                  3                                                           7 (5)           14 (10)             21 (8)            • Scores on the PANSS range from 30
                  ?4                                                          8 (6)           11 (8)              19 (7)              to 210, with higher scores indicating
                Score at double-blind phase baseline, mean (SD)'                                                                      more symptoms; CGI-S scores range
                                                                                                                                      from 1to 7, with higher scores
                  PANSS                                                      S4.2 (9.34)      S4.9 (9.9S)         54.5 (9.66)         indicating a more severe overall
                  CGl·S                                                       2.8 (0.6S)       2.7 (0.67)          2.7 (0.66)         dinical oondition; and PSP scores
                  PSP                                                                                                                 range from 1to 100, with highec
                                                                             68.6 (9.01)      68.8 (9.27)         68.7 (9.14)
                                                                                                                                      scores indicating better functioning.



               Secondary                                                                     Pharmacokinetics and Safety
               The mean (SD) PANSS total score at DB baseline was 54.9 (9.95)                The results for pharmacokinetics are described in eAppendix
               for patients randomized to 3-month paliperidone palmitate and                 3 and the eFigure in Supplement 2.
               54,2 (9.34) for those randomized to placebo. The mean PANSS                        Regarding safety, a totalof330 of506 patients (65%) in the
               total score remained stable during the DB phase for patients                  OL phase and 183 of305 patients (60%) in the DB phase (62%
               receiving 3-month paliperidone palmitate but increased in the                 of those receiving 3-month paliperidone palmitate vs 58% of
               placebo group, with a significant difference in change from the               those receiving placebo) had at least 1 TEAE. The most fre-
               DB baseline (mean [SD] change, - 0,5 [8.36) vs 6.7 [14.40), re-               quently reported TEAEs (~2%) in the group receiving 3-month
               spectively; P < .DOI; least-squares means difference, -7.2; 95%               paliperidone palmitate during the maintenance phase were
               CI, -9.87 to -4.60) (Figure 3). There were also significant dif-              anxiety (6%), insomnia (5%), weight increased (4%), and head-
               ferences (P s .005) in mean change from DB baseline to end                    ache (3%) (eTable 9 in Supplement 2). During the mainte-
               point between the group receiving 3-month paliperidone pal-                   nance phase, the TEAEs that led to study discontinuation in
               mitate and the placebo group for PANSS subscale and Marder                    more than 1 patient included psychiatric disorders (3 [1%)) and
               factor scores (except negative subscale and negative symp-                    schizophrenia (2 [0.5%)). The most commonly occurringEPS·
               toms factor), Clinical Global Impression-Severity score (mean                 related TEAEs (H%) were those grouped under hyperkinesia
               [SD) change, 0.1 [0.60) vs 0.4 [0.87), respectively;P < .001; least-          (6 [2%)) and parkinsonism (5 [1%)). One patient (0.3%) expe-
               squares means difference, -0.3; 95% CI, -0.50 to -0.18), and                  rienced a hyperglycemia-related TEAE oftype 2 diabetes melli-
               Personal and Social Performance scores (mean [SD) change,                     tus during the maintenance phase.
               -0.5 [6.63) vs -4.2 [9,70), respectively; P < .001; least-                         During the DB phase, the most common TEAEs occurring
               squares means difference, 3,8; 95% CI, 1.89 to 5,65) (eTable 6                more frequently in the group receiving 3-month paliperidone
               and eTable 7 in Supplement 2). Change in remitter status                      palmitate than in the placebo group were headache (9% vs 4%,
               (eTable 8 in Supplement 2) supports maintenance of efficacy                   respectively), weight increased (9% vs 3%, respectively), na-
               in the DB phase for those continuing treatment with 3-month                   sopharyngitis (6% vs 1%, respectively), and EPS-related TE-
               paliperidone palmitate compared with those randomized to                      AEs (8% vs 3%, respectively [akathisia, 4% vs 1%, respec-
               placebo.                                                                      tively)). The placebo group compared with the group receiving

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                Paliperidone Palmitate 3-Month Formulation for Schizophrenia                                                                                                     Originol lnwstlgatlon Research



                Figure 2. Kaplan-Meier Plot ofTime to Relapse During the Double-Blind Phase

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                                                       -    3-mo formubUon of i,allperkfone patmltatt (n• 1-48)
                                                            Pucebo (n• 135)
                                                       +    Censored
                                                      P<.001
                                                                                                                                                  o,y274


                                                                                100                               200                        300                                    400                            500
                                                                                                                  Time Since R1ndomization, d
                 Tlmt,d                          0     30       60             90      120       150        180      210       240       270           300       330    360      390       420       450
                 No. of P1tients left
                   3-mo formulation of          148   140      129             98       75        49         30       24        17           10                             2                 0         0
                     paliperidont palmiute
                   Pl>cebo                 135        127      114             81       54        37         22       16                     4                              2       0


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                                                       -    l•mo formul1tlon of p11iperidone pilmltate (n• 160)
                                                            Pucebo (n• 145)
                                                       +    Ctnsortd
                                                      P<.001
                                                                                                                                                                                        o,y395

                                                                                 100                              200                                  300                           400                            500
                                                                                                                  Time Since Randomization, d
                  Time,d                          0    30       60             90      120       150        180      210       240       270           300       330    360      390       420       450
                  No. of Patients left
                    3-mo formul1tlon of      160      151      143         131         121         93        67         47       30          22         17        10                4
                      pallperldone palmitate
                    Pl>cebo                  145      134      124         108           91        66        41         29       20          12          4                                               0


                 The median time to relapse indicates the time Con days) since randomization at                         the 160 patients randomized to 3-month palipericlone palmltate In the
                 which the rumulative survival function equals 0.5. Shaded areas indicate 95%                           double-blind phase (175 ms eq: 6 patients [4%): 263 ms eq: 15 patients [9%):
                 confidence lnte,val for the estimated proportion of patients who remained in                           350 mg eq: 78 patients [49%]: and 525 mg eq: 61 patients [38"D. a total of 25
                 the study without rel>pse at distinct times after randomization In the                                 patients (16%) continued at week 36. Agreater proportion of patients receiving
                 double-blind phase. A, Interim analysis. The median time to relapse was 274                            525 mg eq of 3-month paliperidone palmitate (14 of 61 patients [23%])
                 days for placebo and was not estimable for the 3-month formulation of                                  continued in the study to double-blind phase week 36 \IS other dose groups
                 paliperldone palmltate. B, Flnal analysls. The median time to relapse was 395                          (175 mg eq: 0 of 6 patients; 350 mg eq: 8 of78 patients [10%): 263 mg eq: 3 of
                 days for placebo and was not estimable for 3-month paliperldone palmitate. Of                          15 patients [20%D.



                 3-month paliperidone palmitate more commonly had anxi-                                                 in the group receiving 3-month paliperidone palmitate expe-
                 ety (11% vs 8%, respectively), insomnia (U% vs 7%, respec-                                             rienced a clinically significant increase in body weight (i?7%)
                 tively), and weight decreased (8% vs 1%, respectively) (Table 2).                                      from DB baseline to end point. Six patients (4%) in the group
                 A higher percentage of patients who received placebo (8 of145                                          receiving 3-month paliperidone palmitate reported injection
                 [6%]) vs those treated with J -month paliperidone palmitate (4                                         site-related TEAEs, of which injection site pain was most fre-
                 ofl6o [3%1) experienced glucose-related TEAEs. One of145 pa-                                           quently reported (2 patients [1%]). Prolactin-related TEAEs
                 tients (1%) in the placebo group and 15 of160 patients (10%)                                           (amenorrhea) occurred in 1 of 42 women (2%) in the group

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               Research Original lmiestigation                                                                        Paliperidone Palmitate 3-Month Formulation for Schizophrenia




               Figure 3. Positive and Negative Syndrome Scale (PANSS) Total Scores OVerTime

                       Transition and mainttninct phues                                     Double-blind ph•se
                  89           (open l>bel, 29 wk)

                  81




                               •   .
                          • Tnnsltlon and maintenance                         0 Pl>etbo (n•145)
                  41        (n=305)                                            • 3•mo formubtlon of pallperldone ~lmibte (n•l60)


                               9      13   17   21   25       4    8      u    ~    w       ~    n n       ~     ~   « «      ~    ~   ~

                                                                       Study Duration, wk
                                                                                                                                             Error bars indicate standard error.

               treated with 3-month paliperidone palmitate. A higher per-                             able antipsychotic formulations within which they can be en-
               centage of patients who received placebo than those treated                            couraged to become adherent before plasma concentrations
               with3-month paliperidone palmitate experienced a treatment-                            decrease below therapeutic thresholds.
               emergent abnormally high heart rate relative to the predose                                 In this study, the 3-month formulation of paliperidone pal-
               average (10 of141 [7%] vs 3 of155 [2%], respectively). Serious                         mitate sigrtificantly delayed time to relapse of schizophrenia
               TEA.Es occurred 4 times more often in the placebo group than                           symptoms vs placebo. Patients randomly assigned to placebo
               in the group receiving 3-month paliperidone palmitate (10%                             were nearly 4 times more likely to relapse during the DB phase
               vs 3%, respectively) and were mostly related to increase in psy-                       than those who continued to receive 3-month paliperidone pal-
               chiatric symptoms. Only 1 TEAE (increased transaminase lev-                            mitate. Even though comparisons across studies with similar
               els, in the placebo group) led to treatment discontinuation dur-                       design can be confounded for multiple reasons, the esti-
               ing the DB phase. No deaths were reported during the DB phase;                         mated median time to relapse for patients switched to pla-
               1 death (in a patient treated with once-monthly paliperidone                           cebo after stabilization on various formulations of paliperi-
               palmitate) was reported during the OL phase due to a TEAE of                           done show that 3-month paliperidone palmitate has a longer
               megacolon, which was considered not related to the study                               time to relapse compared with the estimates with once-
               agent by the investigator. Additional details are included in                          monthly paliperidone palmitate and oral extended-release pali-
               eTables 9 to 16 in Supplement 2.                                                       peridone (395 vs 172 and 58 days, respectively).'6 •26 Patients
                                                                                                      at risk for sudden discontinuation from treatment could there-
                                                                                                      fore benefit from 3-month paliperidone palmitate, providing
                                                                                                      protection from relapse for up to 1 year after the last dose.
               Discussion                                                                                  The secondary end point results corroborated the pri-
               Relapse episodes culminating in diminished functioning,                                mary efficacy findings. The use of a randomized withdrawal
               homelessness, incarceration, and increased societal costs3•5 are                       design mimics sudden discontinuation of treatment, which
               common downstream outcomes of poor adherence to poten-                                 commonly occurs under typical clinical conditions in pa-
               tially effective antipsychotic therapy in patients with                                tients with schizophrenia. A recent survey found that among
               schizophrenia.2 •6 •2 • In the United States, fewer than 50% of                        patients with schizophrenia who admit noncompliance, more
               Medicaid patients with schizophrenia were reported to be ad-                           than half reported stopping antipsychotic treatment without
               herent with their prescribed antipsychotic regimen between                             clinician knowledge or support.31
               1998 and 2000.28 Use ofLAis has resulted in increased treat-                                The results of this study were consistent with the effi-
               ment adherence, delaying symptom relapse and reducing the                              cacy and safety of once-monthly paliperidone palmitate in
               risk ofrehospitalization in patients with schizophrenia.1.9 ., 5,29,3o                 maintaining symptomatic control in a comparable relapse pre-
               This novel formulation of paliperidone palmitate with a re-                            vention study in patients with schizophrenia.'6 Within this
               duced dosing frequency of 1 injection every 3 months could                             study, the efficacy of3-month paliperidone palmitate with re-
               further mitigate the low treatment adherence in schizophre-                            gard to time to relapse was consistent across all subgroups as-
               nia and improve patients' and caregivers' quality of life. The                         sessed (age, sex, race, BMI, and geographic region). Patients
               reduced dosing frequency is likely to be of particular benefit                         enrolled in the study were first treated for 4 months with once-
               to patients with limited access to health care, eg, those who                          monthly paliperidone palmitate to establish safety and effi-
               live in an underserved rural or inner city setting and have dif-                       cacy of paliperidone released from once-monthly paliperi-
               ficulties coordinating biweekly or once-monthly transporta•                            done palmitate and to optimize the dose before the first
               tion for injection visits. When nonadherence is identified in                          injection of3-month paliperidone palmitate. This study was
               these patients, there is a wider window than with other avail-                         not designed to assess the efficacy or safety of distinct doses

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                Paliperidone Pa Imitate 3-Month Fonmulatlon for Schizophrenia                                                          Original Investigation Research



                of 3-month paliperidone palmitate; however, it is notewor-                 Table 2. SumnnaryofTEAEs Reported Ouring the Oouble•Blind Phase
                thy that a greater proportion of patients who were main-                   In the Safety Analysis Set°
                tained on 525 mg eq than on 350 mg eq remained in the DB
                                                                                                                                     No.(")
                phase beyond 36 weeks.
                                                                                                                                                      3-mo
                     The 3-month formulation ofpaliperidone palmitate has an                                                                          Pallperidone
                extended apparent elimination half-life that permits dosing                                                          Placebo          Palmltate
                                                                                            Variable                                 (n = 145)        (n = 160)
                once every 3 months {Paulien Ravenstijn, PhD, B.R., A. Savitz,              Patients with TEAEs                      84 (58)          99 (62)
                Mahesh N. Samtani, PhD, I.N., Cheng-Tao Chang, PhD, Marc                                                             27 (19)          54 (34)
                                                                                            Possibly drug-related TEAE
                De Meulder, MSc, D.W.H., and S.G., unpublished data, Febru-                                                           1 (1)            0
                                                                                            TEAE leading to drug withdrawal
                ary 29, 2008, to May 14, 2014), offering a potential new treat-
                                                                                            Patients with ?l serious TEAE            15 (10)           4 (3)
                ment option in schizophrenia. Steady-state paliperidone
                                                                                            TEAEs reported In ?2" of patients
                plasma concentrations during the maintenance and DB phases                  In either group
                were consistent with the observed steady-state exposure for                   Headache                                6 (4)           14 (9)
                corresponding doses of once-monthly paliperidone                              Anxiety                                16 (11)          13 (8)
                palmitate. 10•12 However, the number of plasma samples col-                   Insomnia                               17 (12)          11 (7)
                lected was limited, especially in the later part ofthe DB phase.              Nasopharyngltls                         2 (1)            9 (6)
                     The dose of3-month paliperidone palmitate determined by                  Upper respiratory tract Infection       3 (2)            6 (4)
                the prior dose ofonc:e-monthly paliperidone palmitate and a 3.5-              Cough                                   3 (2)            5 (3)
                fold dose conversion ratio was generally tolerable; safety find-              Urinary tract infection                 2 (1)            5 (3)
                ings of3-month paliperidone palmitate observed during the 12-
                                                                                              Influenza                               3 (2)            3 (2)
                week maintenance phase and the subsequent DB phase of                                                                                  2 (1)
                                                                                              Schizophrenia                          15 (10)
                variable duration were consistent with those observed in other
                                                                                              Weight decreased                       11 (8)            2 (1)
                clinical trials with paliperidone palmitate,17,,s.,o,n and no new
                                                                                              Agitation                               3 (2)            2 (1)
                safety signals were detected. The occurrenc:es ofEPS-related TE·
                                                                                              Decreased appetite                      3 (2)             1 (1)
                AEs in the DB phase were generally similar to those reported in
                                                                                              Irritability                            3(2)              1 (1)
                previous studies of once-monthly paliperidone
                                                                                              Suicidal ideation                       3 (2)            0
                palmitate. ••.17,2o,22 Akathisia occurred more frequently with
                                                                                            EPS·related TEAEs                         5 (3)           13 (8)
                3-month paliperidone palmitate relative to plac:ebo in this study
                {4% vs 1%, respectively) than in a previous, similarly designed               Akathisia                               1 (1)             7 (4)

                study {0.S% for once-monthly paliperidone palmitate vs none                 Diabetes mellitus- and                    8 (6)            4 (3)
                                                                                            hyperglycemia-related TEAEs
                forplac:ebo; D.W.H., S.G., Ujjwa!a Vijapurkar, PhD, Marissa Ber-              Blood glucose level Increased           3 (2)             3 (2)
                nstein, PhD, and Anna Mendlin, PhD, unpublished data, March                                                           4 (3)             0
                                                                                              Hyperglycemia
                4, 2005, through February 20, 2007). The mean bodyweight in-
                                                                                            Weight gain-related TEAEs                 5 (3)           1S (9)
                crease from OL baseline to DB end point observed for the group
                                                                                              Weight increased                        5 (3)           14 (9)
                receiving 3-month paliperidone palmitate compared with the
                                                                                            Injection site-related TEAEs              0                 6 (4)
                 placebo group in this study (2.38 vs 0.55 kg, respectively) was
                                                                                            Prolactin-related TEAEs                   0                 1 (1)
                consistent with that in the similarly designed study of once-
                                                                                              Amenorrhea                              0                 1(2)"
                monthly paliperidone palmitate (1.9 vs o.o kg, respectively).17
                 However, the proportion of patients with an abnormal in-                  Abbreviations: EPS, extrapyramidal symptom; TEAEs, treatment-emergent
                 crease in body weight (2:7%) from DB baseline to end point in             adverse events.

                 the group receiving 3-month paliperidone palmitate com-                   • The TEAEs reported herein occurred during the double-blind phase; if a
                                                                                             patient developed aTEAE during the open-label phase (either transition or
                 pared with the placebo group {10% vs 1%, respectively) was rela-            maintenance) and the TEAE did not worsen during the double-blind phase, it
                 tively higher than the proportion of patients in the once-                  would not be captured.
                monthly paliperidone palmitate group with the same body                    • Sample size was 42 women.
                 weight increase, in the similarly designed study of once-
                 monthly paliperidone palmitate compared with placebo {6% vs
                 3%, respectively).17 The di.fferenc:e in duration offollow-up dur-        group that is particularly vulnerable to relapse with alter-
                 ing the DB phase between the 2 studies could be a possible con-           nate, shorter-acting formulations of atypical antipsychotics.
                 found in the interpretation ofpopulation mean or individual pa-           The relapse prevention design was based on the principle of
                 tient data for changes in body weight. Consistent with the known          enrichment; clinical stability was required before entry into
                 pharmacology of paliperidone, mean prolactin levels in-                   maintenance and DB phases. Hence, results of the DB analy-
                 creased with treatment with 3-month paliperidone palmitate,               sis set may not reflect the true efficacy of 3-month paliperi-
                 more so in women than men; however, there were very few cor-              done palmitate for relapse prevention in all patients with
                 responding reports of potentially prolactin-related TEAEs.                schizophrenia irrespective of their initial response to once-
                      While interpreting these results, certain limitations should         monthly paliperidone palmitate as monotherapy in the treat-
                 be considered. As patients with a recent history of substance             ment of acute worsening of symptoms. The safety profiles of
                 dependence were excluded from enrollment in this study, data              the 1-month and 3-month formulations of paliperidone pal-
                 may not be directly generalizable to this important patient sub-          mitate within this study cannot be directly compared as the

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               Research Original Investigation                                                                        Paliperidone Pa Imitate 3-Month Formulation for Schizophrenia



               formulations were administered sequentially, ie, during dis-                         paliperidone for the treatment of patients with schizophre-
               tinct phases ofthe study, and once-monthly paliperidone pal-                         nia is completed (clinicaltrials.gov identifier NCT01515423).
               mitate was provided as OL treatment only. In addition, the
               fixed-dosing regimen implemented during the DB phase ofthis
               study prevents evaluation ofthe ratio ofbenefit to risk for dis-
               tinct dose levels of 3-month paliperidone palmitate for re-
                                                                                                    Conclusions
               lapse prevention. In clinical practice, dose selection of3-month                     Compared with placebo, the 3-month formulation ofpaliperi-
               paliperidone palmitate will be informed by the dose of once-                         done palmitate significantly delayed time to first relapse in pa-
               monthly paliperidone palmitate, affording an optimal ratio of                        tients with schizophrenia previously treated with once-
               benefit to risk as determined for individual patients in the pe-                     monthly paliperidone palmitate for at least 4 months.
               riod of prior treatment with once-monthly paliperidone pal-                          Furthermore, 3-month paliperidone palmitate was generally
               mitate. Because ofdifferences in duration of follow-up and ex-                       tolerable with a safety profile consistent with other marketed
               posure in the DB phase, comparison of data for secondary                             formulations of paliperidone. The 3-month formulation al-
               efficacy and safety end points between treatment groups, as                          lows patients to maintain therapeutic paliperidone plasma lev-
               based on changes in continuous or categorical variable over                          els with fewer injections, which could subsequently improve
               time (eg, body weight, BM!), should be interpreted with cau-                         functional outcome and quality of life with a sufficient fol-
               tion within this study and with reference to the similarly de-                       low-up period. The extended dosing interval may offer par-
               signed study ofonce-monthlypaliperidone palmitate. Data will                         ticular advantages for patients and their caregivers or fami-
               be available to compare the safety profiles ofthe 1-month and                        lies who are struggling with continuous treatment or have
               3-month formulations ofpaliperidone palmitate directly when                          limited health care access and are thus at increased relapse risk
               an ongoing noninferiority study of the 2 LAI formulations of                         from treatment discontinuation.


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               final revision received February 13, 2015; accepted     Additional Contributions: Shalini Nair, PhD, SIRO        during 1-yeartreatment with long-acting. injectable
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               Administrative, technical, or material support:         University of Louvain, Kortenberg. Belgium, and
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               Study supervision: Gopal, Coppola, Hough.                                                                        (suppl):18-23.
                                                                       of the independent data monitoring committee;
               Conflict of Interest Disclosures: Or Maruta was         they received a stipend from the contract research       9. Rossenu 5, Cleton A, Hough D. et al.
               the principal investigator for this st\Jdy and has      organization that administered the interim analysis.     Pharmacokinetic profile after multiple deltoid or
               received research support and worked as a               We thank the study participants, without whom            gluteal intramusa,lar injections of paliperidone
               consultant for Janssen Research & Development,          this study would never have been accomplished,           palmltate In patients with schizophrenia [published
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        4.3. Overview of Study Drug Administration

        An overview of the dosing administration schedule in the transition, maintenance and
        double-blind phases of the study is provided in Table 3.



Table 3. Dosing Administration Schedule
                                  Transition Phase                        Maintenance Phase               Double-blind Phase
Visit            2           3           4         5             6         8       9     10            11     12     13     Every
                 I.                                                                                                          12
Day                         8°          36          64           92         120      148    176       204    232 260
                                                                                                                           weeks
PPIM           150         100       50-150       50-150      50-150
Dose          mgeg.       mgeg.      mgeg.        mgeg.       mgeg.
Muscle          D           D        DorG         DorG        DorG        DorG                      DorG                       DorG
Flexible                             Flex.ible                                                      Fixedt                     Fixedt
               Fixed      Fixed                   Flexible    Fixedt      Fixedt
or Fixed
PP3M/
Placebo                                                                      X                         X                          X
Dose
*Refer to Table I& 2 respectively, for patients who are stable on PPIM at study entry and for patients who are switching from other
depot antipsychotics
tDose on this visit should be the same as given on Visit 5 (Day 64)
tThe dose of PP3M given will be a 3.5-fold multiple of the PPIM dose given on Visit 6 (Day 92)
D denotes deltoid muscle. G denotes gluteal muscle. PP IM denotes=paliperidone palmitate I month formulation. PP3M denotes
paliperidone palmitate 3 month formulation.


        4.3.1. Dose during Transition Phase
        During the transition phase, all patients will receive PPlM injections. All patients who are not
        switching from other depot antipsychotics will receive the first injection of 150 mg eq. on Day 1
        and the second injection of 100 mg eq. on Day 8, both in the deltoid muscle. Patients may be
        flexibly dosed on Days 36 and 64 with doses of 50, 75, 100, or 150 mg eq. At Day 92, patients
        are to receive the dose of PP lM that was administered at Day 64. The choice of the dose to be
        administered at Days 36 and 64 will be based on the severity of the patient's symptoms, safety
        and tolerability issues, and previous dose levels of antipsychotic medication needed to keep
        symptoms under control. After injection of PPlM on Days 1 and 8, subsequent doses can be
        administered in either the deltoid or gluteal muscle.


        4.3.2. Dose during Maintenance Phase
        During the 12-week maintenance phase, patients will receive a dose of PP3M that is a 3.5-fold
        multiple of the final PPlM dose administered on Day 92. During this phase, a single dose of
        PP3M will be administered on Day 120. The dosing conversion between PPl M and PP3M doses
        should be based upon that provided in Table 4.
                                                                                                                                      26


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Table 4. Conversion Between PPlM Dose and PP3M Doses Using 3.5-Fold Multiple

PPIM Dose                          PPIM Dose                   PP3M Dose                 PP3M Dose
(mg paliperidone                      (mg eq.                (mg paliperidone               (mg eq.
palmitate)                         paliperidone)                palmitate)               paliperidone)
78 mg                               50 mg eq.                    273 mg                   175 mg eq.
117mg                               75mgeq.                      410mg                    263mgeq.
156 mg                              100 mg eq.                   546 mg                   350 mg eq.
234 mg                              150 mg eq.                   819 mg                   525 mg eq.
PPIM denotes paliperidone palmitate I month formulation. PP3M denotes paliperidone palmitate 3 month formulation.



4.3.3. Dose during Double-blind Relapse Prevention Phase

During the double-blind phase, patients will receive fixed dose injections of either PP3M or
placebo (20% Intralipid solution) every 3 months. The dose range for PP3M will be 175, 263,
350, or 525 mg eq. Patients assigned to PP3M in the double-blind phase will receive the same
dose of study drug that was administered on Day 120 of the maintenance phase. Dosing during
the double-blind phase will be fixed. Changing of the dose during the double-blind phase will not
be allowed. Supplementation with oral antipsychotics will also not be allowed. The selected
muscle for injection will alternate between the left and the right sides. The injection site may be
changed (between deltoid and gluteal muscles) at the investigator's discretion if needed to
mitigate local tolerability concerns.


Injection Guidelines
It is critical to shake the syringe vigorously for 15 seconds before administration.


Needle Size
For deltoid injections, it is required that a 1.5 inch needle be used for patients ~200 lb (90 kg).
For patients <200 lb (90 kg), a 1 inch needle is to be used.

For gluteal injections all injections should be administered with a 1.5 inch needle (regardless of a
patient's weight).




                                                                                                                     27

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eTable 2. Conversion Between PP1M and PP3M Doses
PP1M Dose                             PP3M Dose                    PP1M Dose                    PP3M Dose
                                  (3.5-Fold Multiple)                                            (3.5-Fold
                                                                                                 Multiple)

             {mg paliperidone palmitate)                                   {mg eQ. paliperidone)
78 mo                               273 mo                          50 mo eQ.              175 mo eQ.
117 mg                              410 mg                          75 mg eq.              263 mg eq.
156 mg                              546 ma                          100 ma ea.             350 ma ea.
234mg                               819 mg                          150 mg eq.             525 mg eq.
      ..
Abbreviations: PP3M, pahpendone palmItate 3-month formulation; PP1M, pahpendone palm1tate 1 month formulation.




eTable 3. Frequency Distribution of Relapse Types and Reasons During
Double-Blind Phase-Interim and Final Analyses (Intent-to-Treat [DB]
Analysis Set)
                                                                         No.(%)
                                                Interim Analysis                          Final Analysis

                                         Placebo       PP3M         Total      Placebo        PP3M         Total
                                         (N=135)      (N=148)     (N=283)      (N=145)       (N=160)     (N=305)
Total patients with relapse               31 {23)       11 {7)      42 {15)     42 {29)        14 {9)    56 {18)
Psvchiatric hosoitalization                6 (4)        2 (1)        8 (3)       10 (7)        2 (1)     12 (4)
PANSS total score                         26 {19)       8 {5)       34 {12)     35 {24)        10 {6)    45 {15)
   Increase of ~25% in total              25 (19)       8 (5)       33 (12)     34 (23)       10 (6)    44 (14)
   PANSS score
  10-point increase in total                1(1)           0         1(<1)        1(1)           0         1(<1)
  PANSS score
Deliberate self-injury, violent             0 (0)        0 (0)       0 (0)        0 (0)        1 (1)       1 (<1)
behavior
Suicidal or homicidal ideation              1 (1)        2 (1)       3 (1)        2 (1)        3 (2)        5 (2)
PANSS items (P1 , P2, P3, P6,               5 (4)        1 (1)       6 (2)        7 (5)        1 (1)        8 (3)
P7, GB)
       . .                ..
Abbreviations: PANSS, PosItIve and Negative Syndrome scale; PP3M, pahpendone palmltate 3-month formulation.
For PANSS items P1 (delusions), P2 (conceptual disorganization), P3 (hallucinatory behavior), P6
(suspiciousness/persecution), P7 (hostility), and GB (uncooperativeness).




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                                                                              EXPERTS- MYL- 000307
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                                                                              US 20090163519Al
c19)   United States
c12)   Patent Application Publication                                  c10) Pub. No.: US 2009/0163519 Al
       Vermeulen et al.                                                (43) Pub. Date:                          Jun. 25, 2009

(54)   DOSING REGIMEN ASSOCIATED WITH                                             Related U.S. Application Data
       LONG ACTING INJECTABLE
       PALIPERIDOl\'E ESTERS                                    (60) Provisional application No. 61/0 14,918, filed on Dec.
                                                                     19, 2007, provisional application No. 61/ 120,276,
(76) Inventors:      An Vermeulen, Beerse (BE);                      filed on Dec. 5, 2008.
                     Alfons Wouters, Beerse (BE)                                     Publication Classification

       Correspondence Address:                                  (51) Int. Cl.
       PHILIP S. JOH!'iSON                                              A61K 31/519                  (2006.01)
       .JOHNSON & .JOHNSON                                              A61P 25118                   (2006.01)
       ONE JOHNSO!'i & JOHNSON PLAZA                            (52) U.S. Cl. .................................... 514/259.41; 977/915
       ~W BRUNSWICK, NJ 08933-7003 (US)
                                                                (57)                         ABSTRACT
(21 ) Appl. No.:     12/337,144                                 The present invention provides a method of treating patients
                                                                in need of treatment with long acting injectable paliperidone
(22)   Filed:        Dec.17, 2008                               paimitate formulations.




                                                                                          EXPERTS_MYL_002393
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                                                            FIG. 1

                                                         Plasma Concentration

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                                                                                           Days




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                                                                          FIG. 2

                                                                         Plasma Concentration

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                                                                       FIG. 3

                                                                  Plasma Concentration

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       DOSING REGIMEN ASSOCIATED WITH                             patients with paliperidone it is desirable to develop a dosing
           LONG ACTING IN.TECTABT ,F.                             regimen that fulfills this goal in patients in need of treatment.
            PALIPERIDONE ESTERS
                                                                              SUMMARY OF nm INVENTION
               FIELD OF THE INVENTION                             (0007] lo one embodiment of the present invention there is
                                                                  provided a dosing regimen for administering paliperidone
(0001) This invention relates to a method of treating
                                                                  esters to a psychiatric patient in need of treannent comprising
patients in need oftreannent with long acting injectable pali-
                                                                  administering intramuscularly in the deltoid a first loading
peridone palmitate formulations.
                                                                  dose from about IOOmg-eq. to about 150mg~. ofpaliperi-
                                                                  done as a paliperidone palmitate formulated in a sustained
          BACKGROUND OF THE INVENTION                             release formulation on the first day of treannent; administer-
                                                                  ing intramuscularly a second loading dose from about I 00 mg
 (0002] Antipsychotic medications are the mainstay in the
                                                                  to about 150 mg-eq ofpaliperidone as a paliperidone palmi-
treatment of schizophrenia, schizoaffective disorder, and
                                                                  tate formulated in a sustained release formulation between
schizophreniform disorders. Conventional antipsychotics
                                                                  about the 6th to I 0th day of treanneot; and administering
were introduced in the mid-I 950s. These typical or first gen-
                                                                  intramuscularly in the gluteal a maintenance dose ofabout 25
eration drugs nre usually effective in controlling the positive
symptoms of schizophrenia, but are less effective in moder-       to about I 50 mg-eq. of paliperidooe as a paliperidooe ester in
                                                                  a sustained release formulation on between about the 34d• and
ating the negative symptoms or the cognitive impairment
                                                                  about the 38th day of treatment.
associated with the disease. Atypical antipsychotics or sec-
                                                                  (0008) In one embodiment of the present invention there is
ond generntion drugs, typified by risperidone and olanzapine,
                                                                  provided a dosing regimen for administering paliperidooe
were developed in the 1990s, and are generally characterized
                                                                  esters to a psychiatric patient in need oftreatment comprising
by effectiveness against both the positive and negative symp-
                                                                  administering intramuscularly in the deltoid a first loading
toms associated with schizophrenia.
                                                                  dose from about 100 mg-eq. to about 150 mg-eq. ofpaliperi-
(0003) Paliperidone palmitate is the palmitate ester of pali-     dooe as a paliperidone palmitate formulated in a sustained
peridone (9-hydroxy-risperidone), a monoaminergic antago-         release formulation on the first day of treannent; administer-
nist that exhibits the characteristic dopamine D2 and seroto-     ing intramuscularly a second loading dose from about I 00 mg
nin (5-hydroxytryptamine type 2A) antagonism of the               to about 150 mg-eq ofpaliperidooe as a paliperidooe palmi-
second-generation, atypical antipsychotic drugs. Paliperi-        tate formulated in a sustained release formulation between
done is the major active metabolite of risperidone. Extended      about the 6th to 10th day of treannent; and administering
release (ER) osmotic controlled release oral delivery (OROS)      intramuscularly in the gluteal a maintenance dose ofabout 25
paliperidone, as a tablet formulation, is marketed in the         to about 150 mg-eq. ofpaliperidooe as a paliperidooe ester in
United States (U.S.) for the treannent of schizophrenia and       a sustained release formulation approximately monthly from
maintenance of effect.                                            the date of the second loading dose.
(0004) Paliperidone palmitate is being developed as a long-       (0009) In another embodiment of the present invention
acting, intramuscular (i.m.), injectable aqueous nanosuspen-      there is provided a dosing regimen for administering paliperi-
sion for the treannent ofschizophrenia and other diseases that    done palmitate to a psychiatric patient in need of treanneot
are normally treated with antipsychotic mediations. Because       comprising administering intramuscularly in the deltoid of a
of extreme low water solubility, paliperidone esters such as      patient in need of treatment a first loading dose from about
paliperidone palmitate dissolve slowly after an i.m. injection    100 mg-eq. to about 150 mg-cq ofpalipcridonc as palipcri-
before being hydrolyzed to paliperidone and made available        dooe palmitate formulated in a sustained release formulation
in the systemic circulation.                                      on the first day oftreannent; administering intramuscularly in
(00051 Many patients with these mental illnesses achieve          the deltoid muscle of the patient in need oftreatment a second
symptom stability with available oral antipsychotic medica-       loading dose from about 100 mg-eq. to about 150 mg-eq. of
tions; however, it is estimated that up to 7 5% have difficulty   paliperidone as paliperidone palmitatc formulated in a sus-
adhering to a daily oral treannent regimen, i.e. compliance       tained release formulation on the eighth day oftreanneot; and
problems. Problems with adherence often result in worsening       administering intramuscularly in the deltoid or gluteal muscle
of symptoms, suboptimal treannent response, frequent              of the patient in need of treatment a maintenance dose of
relapses and re-hospitalizations, and an inability to benefit     about 25 mg-eq. to about 75 mg-eq. of paliperidone as pali-
from rehabilitative and psychosocial therapies.                   peridooe palmitate in a sustained release formulation on
(0006) Paliperidone palmitate injection has been developed        between about the 34th day and the 38th day of treatment.
to provide sustained plasma concentrations of paliperidone        (001 OJ In another embodiment of the present invention
when administered once monthly, which may greatly                 there is provided a dosing regimen for administering paliperi-
enhance compliance with dosing. Paliperidone palmitate was        done palmitate to a psychiatric patient in need of treanneot
formulated as an aqueous nano suspension as is described in       comprising administering intramuscularly in the deltoid of a
U.S. Pat. Nos. 6,577,545 and 6,555,544. However, after the        patient in need of treatment a first loading dose of about 150
data was analyzed from the clinical trials of this formulation    mg-eq of paliperidooe as paliperidooe palmitate formulated
it was discovered that the absorption of paliperidone from        in a sustained release formulation on the first day of treat-
these injections was far more complex than was originally         ment; administering intramuscularly in the deltoid muscle of
anticipated. Additionally, attaining a potential therapeutic      the patient in need of treatment a second loading dose from
plasma level of paliperidone in patients was discovered to be     about 100 mg-eq. of paliperidooe as paliperidooe palmitate
dependent on the site of injection until steady state concen-     formulated in a sustained release formulation on the eighth
tration is reached. Due to the challenging nature of ensuring     day of treatment; and administering intramuscularly in the
an optimum plasma concentration-time profile for treating         deltoid or gluteal muscle ofthe patient in need of treatment a

                                                                                        EXPERTS_MYL_002397
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maintenance dose of about 25 mg-eq. to about 75 mg-eq. of               nance dose of from about 25 mg-eq. to about 50 mg-eq. of
paliperidone as paliperidone palmitate in a sustained release           paliperidone as paliperidone palmitate in a sustained release
fonnulation approximately monthly from the date of the sec-             formulation on about the 34th day and the 38th day of treat-
ond loading dose.                                                       ment.
(0011) In another embodiment of the present invention                   (0015) ln one embodiment of the present invention there is
there is provided a dosing regimen for administering paliperi-          provided a dosing regimen for administering paliperidone
done palmitate to a psychiatric patient in need of treatment            esters to a psychiatric patient in need oftreatment comprising
comprising administering intramuscularly in the deltoid of a            administering intramuscularly in the deltoid a first loading
patient in need of treatment a first loading dose of about 150          dose of about 150 mg-eq. of paliperidone as a paliperidone
mg-eq of paliperidone as paliperidone palmitate fonnulated              palrnitate formulated in a sustained release formulation on the
in a sustained release formulation on the first day of treat-           first day of treatment; thereafter administering intramuscu-
ment; administering intramuscularly in the deltoid muscle of            larly a second maintenance dose of from about 25 mg-eq. to
the patient in need of treatment a second loading dose from             about 100 mg-eq ofpaliperidone as a paliperidone palrnitate
about 100 mg-eq. of paliperidone as paliperidone palrnitate             fomrnlated in a sustained release fonnulation between about
fonnulated in a sustained release fo nnu lation on the eighth           the 6th to 10th day of treatment; and administering intramus-
day of treatment; and administering intramuscularly in the              cularly in the gluteal a maintenance dose of about 25 to about
deltoid or gluteal muscle ofthe patient in need oftreatment a           I 00 mg-eq. of paliperidone as a paliperidone palmitate in a
maintenance dose of about 75 mg-cq. of paliperidone as                  sustained release formulation on between about the 34,.. and
paliperidone palmitate in a sustained release formulation               about the 38th day of treatment.
approximately monthly from the date of the second loading               (0016) lo a further embodiment of the present invention
dose.                                                                   there is provided a dosing regimen for administering paliperi-
(0012] 1n yet another embodiment of the present invention               done palrnilate to a psychiatric patient in need of treatment
there is provided a dosing regimen for administering paliperi-          comprising administering intramuscularly in the deltoid of a
dune esters to a renally impaired psychiatric patient in nee<l of       patient in need of treatment a first loading dose from about
treatment comprising administering intramuscularly in the               150 mg-eq. ofpaliperidone as a paliperidone palrnitate ester
deltoid a first loading dose of about 75 mg-eq of paliperidone          in a sustained release formu lation on the first day of treat-
as a paliperidone palmitate formulated in a sustained release           ment; thereafter administering intramuscularly in the deltoid
formulation on the first day of treatment; administering intra-         muscle of the patient in need oftreatment a maintenance dose
muscularly a second loading dose of about 75 mg-eq of pali-             from about 25 mg-eq. to about I 00 mg-eq. of paliperidone as
peridone as a paliperidone palmilate formulated in a sus-               paliperidone palrnitate formulated in a sustained release for-
tained release formulation between about the 6th to I 0th day           mulation on the eighth day of treatment; and administering
oftreatment; and administering intramuscularly in the gluteal           intramuscularly in the deltoid or gluteal muscle of the patient
a maintenance dose of about 25 mg-eq. to about 75 mg-eq of              in need oftreatment a maintenancedoseofabout 25 mg-eq. to
paliperidoneasa paliperidone palmitate in a sustained release           about 100 mg-eq. of paliperidone as paliperidone paImitate in
fonnulation on between about the 34"' and about the 38th day            a sustained release formulation on about the 34th day and the
of treatment.                                                           38th day of treatment.
 (0013) In yet another embodiment of the present invention               [0017] This and other objects and advantages ofthe present
there is provided a dosing regimen for administering paliperi-          invention may be appreciated from a review of the present
done esters to a renally impaired psychiatric patient in need of        applications.
treatment comprising administering intramuscularly in the
deltoid a first loading dose of about 100 mg-eq of paliperi-                    DRIEI' DESCRIPTION or TIIE l'IGURES
done as a paliperidone palrnitate formulated in a sustained             (0018) FIG. 1 shows the observed versus the population
release funnulation on the first day of treatment; administer-          phannacokinetics model simulation for plasma paliperidone
 ing intramuscularly a second loading dose ofabout 75 mg-eq             concentrations for paliperidone pahnitate 150 mg eq. in the
of paliperidone as a paliperidone polrnitate formulated in a            deltoid on day 1, followed by 25 mg eq. in either the deltoid
sustained release formulation between about the 6th to I 0th            or gluteus on days 8, 36, and 64.
day of treatment; and administering intramuscularly in the              (0019) FIG. 2 shows the obse.rved versus the population
gluteal a maintenance dose of about 25 mg-eq. to about 75               pbarmacokinetics model simulation for plasma paliperidone
 mg-eq of paliperidone as a paliperidone palmitate in a sus-            concentrations for paliperidone palmitate 150 mg eq. in the
 tained release formulation approximately monthly from the              deltoid on day 1, followed by 100mg eq. in either the deltoid
 date of the second loading dose.                                       or gluteus on days 8, 36, and 64.
 (0014) In a further embodiment of the present invention                [0020) FIG. 3 shows the observed versus the population
 there is provided a dosing regimen for administering paliperi-         pbarmacokinetics model simulation for plasma paliperidone
 done palmitate to a psychiatric patient in need of treatment           concentrations for paliperidone palmitate 150 mg eq. in the
 comprising administering intramuscularly in the deltoid of a           deltoid on day 1, followed by 150 mg eq. in either the deltoid
 patient in need of treatment a first loading dose of about 75          or gluteus on days 8, 36, and 64.
 mg-eq. of paliperidone as paliperidooe palrnitate formulated
 in a sustained release formulation on the first day of treat-                          DETAJLED DESCRIPTION
 ment; administering intramuscularly in the deltoid muscle of
 the patient in need oftreatment a second loading dose ofabout          (0021) We have discovered after extensive analysis of the
 75 mg-eq of paliperidone as paliperidone palrnitate formu-             clinical data that paliperidone palrnitate due to its dissolution
 lated in a sustained release formulation on the eighth day of          rnte-limite<l absorption exhibits llip-Ilop kinetics, where the
 treatment; and administering intramuscularly in the deltoid or         apparent half-life is controlled by the absorption rate con-
 gluteal muscle of the patient in need of treatment a mainte-           stant. Additionally the volume of injected drug product also

                                                                                              EXPERTS- MYL- 002398
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 impacts the apparent rate constant. It was also discovered that         be admirustered a first dose on day 1, a second dose on day 8
deltoid injections result in a faster rise in initial plasma con-        and a third dose on day 36 of treatment. 'lbe first two doses
centration, facilitating a rapid attainment of potential thera-          will preferably be injected in the deltoid muscle. Thereafter
peutic concentrations. Consequently, to faci litate patients'            paliperidone palmitate will be admirustered by injection
attaining a rapid therapeutic concentration ofpaliperidone it            approximately once a month (e.g. one a month ±7 days or
is preferred to provide the initjal loading dose of paliperidone         once every four weeks) thereafter. For the purpose of this
palmitate in the deltoids. Toe loading dose should be from               patent application renal function is estimated by glomerular
about I 00 mg-eq. to about 150 mg-eq. of paliperidone pro-               filtration rate (GFR) usually measured by the creatinine clear-
vided in the form of paliperidone palm.itate. After the first or         ance (best calculated from a 24-hour urine collection). Cre-
more preferably after the second loading dose injection                  atine clearance may be estimated by the Cockcroft and Gault
patients will be approaching a steady state concentration of             method based on serum creatirune concentration, as
paliperidone in their plasma and may be injected in either the           described in Prediction of creatinine clearance fmm serum
deltoid or the gluteal muscle thereafter. However, it is pre-            creatinine. Nephron 1976; vol 16. pages 31-41. Patients with
ferred that the patients receive further injections in the gluteal       mild renal impairment have a creatinine clearance of 50 to
muscle.                                                                  <80 mUminutc.
 [0022) In view of these discoveries the recommended dos-                [0024) It is recommended that the second iojtiation dose of
ing regimen for patients to attain a therapeutic plasma level of         paliperidone palmitate be given about one week (6-10 days)
paliperidone is for patients to receive the first dose of pali-          after the first dose. To avoid a missed dose, patients may be
peridone palmitate on day I of treatment, followed by a                  given the second dose 2 days before or after the one-week
second dose between days 6 to JO of treatment, then a thlrd              time point. Sim;Jarly, the third and subsequent injections after
dose between days 34 to 38 of treatment or monthly :1:7 days             the initiation regimen are recommended to be given monthly.
after the second dose. More preferably the patients will be              To avoid a missed monthly dose, patients may be given the
admiojstered a first dose on day I , a second dose on day 8 and          injection up to 7 days before or after the monthly time point.
a third dose on or about day 36 of treatment or approximately            [0025) After ioj1iation, the recommended injection cycle of
monthly :1:3 days after the second dose. Toe first two doses             paliperidone palmitate is monthly. lfless than 6 weeks have
will preferably be injected in the deltoid muscle. Thereafter            elapsed since the last injection, then the previously stabilized
paliperidone palm.itate will be administered by injection
                                                                         dose should be admirustered as soon as possible, followed by
approximately once a month (e.g. monthly :1:7 days or                    injections at monthly intervals.
approximately once every four weeks) thereafter. To assure
that a potential therapeutic plasma level of paHperidone is              [0026) If more than 6 weeks have elapsed since the last
attained at least a first loading dose of 150 mg-eq ofpaliperi-          injection, reinitiation with the same dose the patient was
done as a paliperidone palmitate ester should be admirustered            previously stabilized to should be resumed in the following
on day one oftreatment. Preferably the first two doses will be           manner: 1) a deltoid injection as soon as practically possible,
loading dose of between from about 100 mg-eq. to about 150               followed by 2) another deltoid injection one week later, and 3)
mg-eq. of paliperidone as a paliperidone palmitate ester to              resumption of either deltoid or gluteal dosing at monthly
assure that a potential therapeutic plasma level of paliperi-            intervals.
done is attained by the patient. Toe subsequent doses there-             [0027] If more than 6 months have elapsed since the last
after will drop to a therapeutic maintenance dose of from                injection, it is recommended to re-iojtiate dosing as described
about 25 mg-eq. to 150 mg-eq. per month (:1:7 days). Prefer-             above.
ably the maintenance dose will be from about 25 mg eq. to                [0028) Additionally, in this patient population needle
about I 00 mg eq; more preferably the maintenance dose will              length and BMI index are two related variables that need to be
be from about 25 mg eq. to about 75 mg eq; and most pref-                considered to assure patients attain therapeutic concentration
erably the maintenance dose iojtially will be about 50 mg eq.,           of paliperidone in the desired time frame. Patients with high
or more preferably the maintenance dose iojtially will be                BMI had lower plasma concentration of palipcridonc and a
about 75 mg eq. whlch may be administered intramuscularly                lessened treatment response. The lower irutial plasma con-
into the deltoid or gluteal muscle, but more preforably will be          centration in high BMI patients was likely due to uruntended
admiojstered in the gluteal muscle. Those ofordinary skill in            partial or complete injection into arupose tissue, instead of
the art will understand that the maintenance dose may be                 deep injection into muscle. However, once steady-state
titrated up or down in view ofthe patientsconilition (response           plasma concentration are attained BMI no longer influenced
to the medication and renal function).                                   plasma concentrations or clinical efficacy. From these obser-
[0023) Since paliperidone is mainly eliminated through the               vations it was determined that for patients weighing <90 kg
kidneys, patients with renal impairment will have a higher               (<200 lb) a I-inch needle will beof adequate length to use in
total exposure to paliperidone after i.m. injections ofpaliperi-         injections to reach the muscle tissue for deltoid injections
done palmitate. For patients with renal impairment it would              with preferably a 23 gauge needle. However, for patients with
desirable to adjust the loading doses to account for the                 high DMls, s;90 kg (s;200 lb) a 1.5-inch needle should be
increased exposure levels of patients with renal impairment.             used for deltoid injections. For gluteal muscle injections o
For patients with mild renal impairment the loading doses                1.5-inch needle should be used. Preferably the 1.5-inch
should be reduced to 75 mg-eq. for the first two loading doses.          needle will be a 22-gauge needle.
The maintenance doses should range from about 25 mg-eq. to               [0029) Paliperidone esters are psychotic agents belonging
about 75 mg-eq. and more preferably with range from about                to the chemical class of benzisoxa?.Ole derivatives, which
25 mg-eq. to about 50 mg-eq. The doses would be admirus-                 contains a racemic mixture of(+)· and (-)-paliperidone,
tered on day I of treatment, followed by a second dose                   which are described in U.S . Pat. No. 5,254,556 (incorpornted
between days 6 to IO of treatment, then a third dose between             herein by reference). The chemical name for paliperidone
days 34 to 38 of treatment. More preferably the patients will            palmitate is ( +)-3-(2-(4-(6-fluoro-J ,2-benzisoxazol-3-yl)-1-

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piperidinyl)ethyl)-6,7,8,9-teuahydro-2-methyl-4-oxo-4H-                   ene sorbitan fatty acid esters, e.g., the commercially available
PYrido(l ,2-a]pyrimidin-9-yl hexadecanoate. The structural                TWEENS''"', polyethylene glycols, polyoxyethylene stear-
formula is:                                                               ates, colloidal silicon dioxide, phosphates, sodium dodecyl-
                                                                          sulfate, carboxymethylcellulose calcium, carboxymcthylcel-
                                                                          lulose sodium, methylcellulose, hydroxyethylcellulose,
                                                                          hydroxypropylcellulose,          hydroxypropylmethylcellulose
                                                                          phtalate, noncrystalline celluluse, magne~'ium aluminate sili-
                                                                          cate, triethanolamine, polyvinyl alcohol (PVA), poloxamers,
                                                                          tyloxapol and polyvinylpyrrolidone (PVP). Most of these
                                                                          excipients are described in detail in the Handbook of Phar-
                                                                          maceutical Excipients, published jointly by the American
                                                                          Pharmaceutical Association and The Pharmaceutical Sociery
                                                                          ofGreat Britain, the Pharmaceutical Press, 1986. The surface
                                                                          modifiers are commercially available and/or can be prepared
                                                                          by techniques known in the art. Two or more surface modifi-
                                                                          ers can be used in combination.
                                                                          (0034) Particularly preferred surface modifiers include
                                                                          polyvinylpyrrolidone; tyloxapol; poloxamers, such as PLU-
(0030) Paliperidone esters may be formulated with phar-                   RONJCrM. F68, F I08 and F127 which are block copolymers
maceutical excipients into injectable dosage forms as                     ofethylene oxide and propylene oxide available from BASF;
described in U.S. Pat. No. 5,254,556 and U.S. Pat. No. 6,077,             poloxamines, such as TETRONlC™ 908 (T908) which is a
843 (incorporated herein by reference). Injectable formula-               tetrafunctional block copolymer derived from sequential
tions may be formulated in aqueous carriers.                              addition of ethylene oxide and propylene oxide to ethylene-
(0031) Currently it is preferred to administer paliperidone               dinmine available from BASF; dextmn; lecithin; Aerosol
palmitate in a once monthly aqueous depot. Suitable aqueous               OT™ (AOT) which is a dioctyl ester ofsodium sulfosuccinic
depot formulations are described in U.S. Pat. No. 6,077,843               acid available from Cytec Industries; DUPONOL P which is
(incorporated herein by reference). The aqueous formulation               a sodium lauryl sulfate available from DuPont; TRITON
would preferably be a nano particle suspension ofwherein the              X-200 which is an all..-yl aryl polyether sulfonate available
nano particles would be of an averdges size of Jess than 2000             from Rohm and Haas; TWEEN™. 20, 40, 60 and 80 which
nm to about 100 nm. Preferably the nano particles would have              are polyoxyethylene sorbitan fany acid esters available from
an average particle size (d50) of from about 1600 nm to 400               !CI Specialty Chemicals; SPAN™ 20, 40, 60 and 80 which
nm and most preferably about 1400 nm to 900 nm. Preferably                are sorbitan esters offany acids; ARLACELTM 20, 40, 60 and
the d90 will be less than about 5000 nm and more preferably               80 which are sorbitan esters of fany acids available from
less than about 4400 nm. As used herein, an effective average              Hercules, Inc.; CARBOW.f,XTM 3550 and 934 which are
particle size (d50) of less than 2,000 nm means that at least             polyethylene glycols available from Union Carbide; CROD-
50% of the particles have a diameter of less than 2,000 nm                 ESTATM Fl IO which is a mixture of sucrose stearate and
when measured by art-known conventional techniques, such                   sucrose distearate available from Croda Inc.; CRODESTATM
as sedimentation field flow fractionation, photon correlation              SL-40 which is available from Croda, Inc.; hexyldecyl trim-
spectroscopy or disk centrifugation. With reference to the                 ethyl ammonium chloride (CfAC); bovine serum albumin
effective average particle size, it is preferred that at least 90%,        and SA90HCO which is C 18 H 17 CH2 (CON(CH3 )CH2
e.g. 5,000 nm. Most preferably, 90% of the particles have a                (CHOH)4 CH20 H),. The surface modifiers which hove been
size of less than 4,400 nm.                                                found to be particularly useful include tyloxapol and a polox-
 (0032) Suitable aqueous nano particle depot formulations                  amer, preferably, Pluronicn< FI08 and PluronicTM F68.
are described in U.S. Pot. No. 6,555,544 (incorporated herein              [0035) PluronicTM Fl 08 corresponds to poloxamer338 and
by reference). In one embodiment ofthe present invention the               is the polyoxyethylene, polyoxypropylene block copolymer
formulation would comprise nanoparticles, a surfactant, a                  that conforms generally to the formula HO[CH2 CH2OUCH
suspending agent, and optionally one or more additional                    (CH3 )CH2 O),,(CH2 CH2 OJ, Hin which the average values of
ingredients selected from the group consisting of preserva-                x, y and z are respectively 128, 54 and 128. Other commercial
tives, buffers and an isotonizing agents. Useful surface modi-             names of poloxamer 338 ore Hodng NONlONlC™ I 108-F
fiers are believed to include those that physically adhere to the          available from Hodag, and SYNPERONlC™ PE/FI08 avail-
surface ofthe active agent but do not chemically bond thereto.             able from IC! Americas.
 [0033) Suitable surface modifiers can preferably be                       [0036) The optimal relative amount of paliperidone palmi-
 selected from known organic and inorganic phannaceutical                  tate and the surface modifier depends on various parameters.
 excipients. Such excipients include various polymers, low                 The optimal amount of the surface modifier can depend, for
 molecular weight oligomers, natural products and surfac-                  example, upon the particular surface modifier selected, the
 tants. Preferred surface modifiers include nonionic and                   critical micelle concentration of the surface modifier if it
 anionic surfactants. Representative examples of excipients                forms micelles, the surface area of the antipsychotic agent,
 include gelatin, casein, lecithin (phosphatides), gum acacia,             etc. The specific surface modifier preferobly is present in an
 cholesteml, tragacanth, stearic acid, ben1alkonium chloride,              amount of 0.1 to I mg per square meter surface area of the
 calcium stearate, g)yceryl monostearate, cetostearyl alcohol,             paliperidone palmitate. It is preferred in the case of paliperi-
 celomacrogol emulsifying wax, sorbilan esters, polyoxyeth-                dont: palmitate (9-hydroxyrisperidone palmitate) to ust: PLU-
 ylenealkyl ethers, e.g., macrogol ethers such as cetomacrogol             RONlC™ I' 108 as a surface modifier, a relative amount
 I 000, polyoxyethylene castor oil derivatives, polyoxyethyl-              (w/w) of both ingredients of approximately 6:1 is preferred.

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 (0037] The particles of this invention can be prepared by a             more preferably, less than I mm. Such media desirably can
method comprising the steps of dispersing paliperidone                   provide the particles of the invention with shorter processing
palmitate in a liquid dispersion medium and applying                     times and impart less wear to the milling equipment. The
mechanical means in the presence of grinding media to                    selection ofthe material for the grinding media is believed not
reduce the particle size ofthe antipsychotic agent to an effec-          to be critical. However, 95% ZIO stabilized with magnesia,
tive average particle size ofless than 2,000 nm. The particles           zirconium silicate, and glass grinding media provide particles
can be reduced in size in the presence of a surface modifier.            having levels of contamination which are acceptable for the
Alternatively, the particles can be contacted with a surface             preparation of pharmaceutical compositions. Further, other
modifier after amition.                                                  media, such as polymeric beads, stainless steel, titania, alu-
 [0038] A general procedure for preparing the particles of               mina and 95% ZIO stabilized with ymium, are useful. Pre-
this invention includes (a) obtaining paliperidone paImitate in          ferred grinding media have a density greater than 2.5 g/cm.
micron.ized form; (b) adding the micronized paliperidone                 sup.3 and include 95% ZrO stabilized with magnesia and
palmitate to a liquid medium to form a premix; and (c) sub-              polymeric beads.
jecting the premix to mechanical means in the presence of a              [0045) The attrition time can vary widely and depends pri-
grinding medium to reduce the effective average particle size.           marily upon the particular mechanical means and processing
[0039) The paliperidonepalmitate in micronized form may                  conditions selected. For rolling mills, processing times of up
be prepared using techniques known in the art. It is preferred           to two days or longer may be required.
that the particle size of the micronized palipcridonc palmitatc          [0046] The particles must be reduced in size at a tempera-
be less than about 100 µmas determined by sieve analysis. If             ture which does not significantly degrade the antipsychotic
the particle size of the micronized paliperidone palmitate is            agent. Processing temperatures of less than 30° C. to 40° C.
greater than about 100 µm, then it is preferred that the par-            are ordinarily preferred. Ifdesired, the processing equipment
ticles ofpaliperidone palmitate be reduced in size to less than          may be cooled with conventional cooling equipment. The
 IOOµm.                                                                  method is conveniently carried out under conditions ofambi-
(0040] The micronized paliperidone palmitate can then be                 ent temperature and at processing pressures which are safe
added to a liquid medium in which it is essentially insoluble            and effective for the milling process.
to form a premix. The concentration ofpaliperidone palmitate             [0047] The surface modifier, if it was not present in the
in the liquid medium (weight by weight percentage) can vary              premix, must be added to the dispersion after attrition in an
widely and depends on the selected antipsychotic agent, the              amount as described for the premix above. Thereafter, the
selected surface modifier and other factors. Suitable concen-            dispersion can be mixed by, for example, shaking vigorously.
trations of paliperidone palmitate in compositions vary                  Optionally, the dispersion can be subjected to a sonication
between 0.1 to 60%, preferably is from 0.5 to 30%, and more              step using, for example, a ultrasonic power supply.
preferably, is approximately 7% (w/v). It is currently pre-              (0048) Aqueous compositions according to the present
ferred to use a concentration of about 100 mg eq of paliperi-            invention conveniently further comprise a suspending agent
done per ml or about 156 mgof paliperidone palmitate per ml.             and a buffer, and optionally one or more of a preservative and
(0041] A more preferred procedure involves the addition of               an isotonizing agent. Particular ingredients may function as
a surface modifier to the premix prior to its subjection to              two or more of these agents simultaneously, e.g. behave like
mechanical means to reduce the effective average particle                a preservative and a buffer, or behave like a buffer and an
size. The concentration of the surface modifier (weight by               isotonizing agent.
weight percentage) can vary from 0 .1% to 900/o, preferably              [0049) Suitable suspending agents for use in the aqueous
from 0.5% to 80%, and more preferably is approximately 7%                suspensions according to the present invention are cellulose
(w/v).                                                                   derivatives, e.g. methyl cellulose, sodium carboxymethyl cel-
(0042] The premix can be used directly by subjecting it to               lulose and hydroxypropyl methyl cellulose, polyvinylpyrroli-
mechanical means to reduce the effective average particle                done, alginates, chitosan, dextrans, gelatin, polyethylene gly-
size in the dispersion to less than 2,000 nm. It is preferred that       cols, polyoxycthylcnc- and polyoxy-propylcnc ethers.
the premix be used directly when a ball mill is used for                 Preferably sodium carboxymethyl cellulose is used in a con-
attrition. Alternatively, the antipsychotic agent and, option-           centration of 0.5 to 2%, most preforably 1% (w/v). Suitable
ally, the surface modifier, can be dispersed in the liquid               wetting agents for use in the aqueous suspensions according
medium using suitable agitation such as, for example, a roller           to the present invention are polyoxyethylene derivatives of
mill or a Cowles type mixer, until a homogeneous dispersion              sorbitan esters, e.g. polysorbate 20 and polysorbate 80, leci-
is achieved.                                                             thin, polyoxyethylene- and polyoxypropylene ethers, sodium
[0043) The mechanical means applied to reduce the effec-                 deoxycholate. Preferably polysorbate 20 is used in a concen-
tive average particle size of the anti psychotic conveniently            tration of0.5 to 3%, more preferably 0.5 to 2%, most prefer-
can rake the form of a dispersion mill. Suitable dispersion              ably 1.1 % (w/v).
mills include a ball mill, an attritor mill, a vibratory mill, a         [0050) Suitable buffering agents are salt of weak acids and
planetary mill, media mills--'.iuch as a sand mill and a bead            should be used in amount sufficient to render the dispersion
mill. A media mill is preferred due to the relatively shorter            neutral to very slightly basic (up to pH 8.5), preferably in the
milling time required to provide the desired reduction in                pH rnnge of 7 to 7.5. Particularly preferred is the use of a
particle size. For media milling, the apparent viscosity of the          mixture of disodium hydrogen phosphate (anhydrous) (typi-
premix preferably is anywhere between 0.1 and I Pa·s. .For               cally about 0.9% (w/v)) and sodium dihydrogen phosphate
ball milling, the apparent viscosity ofthe premix preferably is          monohydrate (typically about 0.6% (w/v)). This buffer also
anywhere between I and I 00 mPa·s.                                       renders the dispersion isotonic and, in addition, less prone to
[0044] The grinding media for the particle size reduction                flocculation of the ester suspended therein.
step can be selected from rigid media preferably spherical or            (0051) Preservatives are antimicrobials and anti-0xidants
particulate in form having an average size less than 3 mm and,           which can be selected from the group consisting of benzoic

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acid, benzyl alcohol, butylated hydroxyanisole, butylated                denced. Schizophrenia refers to conditions characterized as
hydmxytoluene, chlorbutol, a l!llllate, a hydroxybenzoate,               schizophrenia, schizoaJJective disorder and schizophreni-
EDTA, phenol, chlorocresol, metacresol, benzethonium                     form disorders, in OSM-TV-TR such as category 295.xx.
chloride, myristyl-gamma-piccolinium chloride, phenylmer-                Bipolar Disorder refers to a condition characterized as a
curic acetate and thimerosal. In particular, it is benzyl alcohol        Bipolar Disorder, in DSM-IV-TR such as category 296.xx
which can be used in a concentration up to 2% (w/v), prefer-             including Bipolar I and Bipolar Disorder II. The DSM-IV-TR
ably up to 1.5% (w/v).                                                   was prepared by the Task Force on Nomenclature and Statis-
(00S2) Isotonizing agents are, for example, sodium chlo-                 tics of the American Psychiatric Association, and provides
ride, dextrose, mannitol, sorbitol, lactose, sodium sulfate. The         clear descriptions of diagnostic categories. Pathologic psy-
suspensions conveniently comprise from Oto I 0% (w/v) iso-               chologicnl conditions, which nre psychoses or may be asso-
tonizing agent. Manni to I may be used in a concentration from           ciated with psychotic features include, but are not limited to
Oto 7% More preferably, however, from about I to about 3%                the following disorders that have been characterized in the
(w/v), especially from about 1.5 to about 2% (w/v) of one or             DSM-IV-TR. Diagnostic and Statistical Manual of Mental
more electrolytes are used to render the suspension isotonic,            Oisorders, Revised, 3rd F.d. (1994). The numbers in paren-
apparently because ions help to prevent flocculation of the
                                                                         tl1esis refer to the DSM-IV-TR categories. The skilled artisan
suspended ester. In particular, electrolytes ofthe buffer serve
                                                                         will recognize that there are alternative nomenclarures, noso-
as isotonizing agent.                                                    logies, and classification systems for pathologic psychologi-
(00S3] A particularly desirable feature for an injectable                cal conditions and that these systems evolve with medical
depot fonnulation relates to the ease with which it can be               scientific progress. Examples of pathologic psychological
administered. In particular such an injection should be fea-             conditions which may be treated include, but are not limited
sible using a needle as fine as possible in a span oftime which          to, Mild Mental Retardation (317), Moderate Mental Retar-
is as short as possible. This can be accomplished with the               dation (318.0), Severe Mental Retardation (318.1 ), Profound
aqueous suspensions of the present invention by keeping the              Mental Retardation (318.2), Mental Retardation Severity
viscosity below about 75 mPa·s, preferably below 60 mPa·s.               Unspecified (319), Autistic Disorders (299.00), Rett's Disor-
Aqueous suspensions of such viscosity or lower can both                  der (299 .80), Childhood Disintegrative Disorders (299 .I 0),
easily be taken up in a syringe (e.g. from a vial), and injected         Asperger's Disorder(299.80), Pervasive Developmental Dis-
through a fine needle (e.g a 21 G 11/2 inch, 22 G 2 inch, 22 G           order Not Otherwise Specified (299.80), Attention-Deficit/
I ¼ inch or 23 G I inch needle). The preferred needles for               Hyperactivity Disorder Combined Type (314.01), Attention-
injection are 22 G 22 G I½ inch regular wall and 23 G I 1/2              Dcficit/Hypcractivity Disorder Predominately Inattentive
inch regular wall needles.                                               Type (314.00),Attention-Deficit/Hyperactivity Disorder Pre-
(00S4] Ideally, aqueous suspensions according to the                     dominately Hyperactive-Impulsive Type (314.01 ), Attention-
present invention will comprise as much prodrug as can be                Deficit/Hyperactivity Disorder NOS (31 4.9), Conduct Disor-
tolerated so as to keep the injected volume to a minimum, and            der (Childhood-Onset and Adolescent Type 312.8),
as little ofthe other ingredients as possible. ln particular, such        Oppositional Defiant Disorder (313.81), Disruptive Behavior
a composition will comprise by weight based on the total                  Disorder Not Otherwise Specified (312.9), Solitary Aggres-
volume of the composition: (a) from 3 to 20% (w/v) of the                 sive Type (312.00), Conduct Disorder, Undifferentiated Type
prodrug; (b) from 0.5 to 2% (w/v) ofa wetting agent; (c) one              (3 12.90), Tourette's Disorder (307.23), Chronic Motor Or
or more buffering agents sufficient to render the composition            Vocal Tic Disorder (307.22), Transient Tic Disorder (307 .21 ),
neutral to very slightly basic (pH 8.5); (d) from 0.5 to 2%              Tic Disorder NOS (307.20), Alcohol Intoxication Delirium
(w/v) ofa suspending agent; (e)up to 2% (w/v) preservatives;              (291.0), Alcohol Withdrawal Delirium (291.0), Alcohol-In-
and (1) water q.s. ad I 00°/o. Preferably the aqueous suspension         duced Persisting Dementia (291.2), Alcohol-Induced Psy-
will be made under sterile conditions and no preservatives                chotic Disorder with Delusions (291.5), Alcohol-Induced
will be used.Appropriate methods to aseptically prepare pali-             Psychotic Disorder with Hallucinations (291.3), Amphet-
peridone palmitate are described in WO 2006/114384 which                  amine or Similarly Acting Sympathomimetic Intoxication
is hereby incorporated by reference herein.                               (292.89), Amphetamine or Similarly Acting Sympathomi-
 [OOSS] The preferred aqueous dosage form contains inac-                  mctic Delirium (292.81), Amphetamine or Similarly Acting
tive ingredients that are polysorbate 20, polyethylene glycol             Sympathomimetic Induced Psychotic with Delusions (292.
4000, citric acidmonohydrate, disodium hydrogen phosphate                 1 I ), Amphetamine or Similarly Acting Sympathomimetic
anhydrous, sodium dihydrogen phosphate monohydrate,                       Induced Psychotic with Hallucinations (292.12), Cannabis-
sodium hydroxide, and water for injection. The mg of com-                 Induced Psychotic Disorder with Delusions (292.11 ), Can-
pound delivered in such a dosage form to the patient may be               nabis-Induced Psychotic Disorder with Hallucinations (292.
from 25 to about 150mg (e.g. 25mg, 50mg, 75 mg, 100mg,                    12), Cocaine Intoxication (292.89), Cocaine Intoxication
 I 50 mg) injectable dosage form.                                         Delirium (292.81 ), Cocaine-Induced Psychotic Disorder
 (00S6] The term "psychiatric patient" as used herein, refers             with Delusions (292. I I), Cocaine-Induced Psychotic Disor-
 to a human, who has been the object of treatment, or experi-             der with Hallucinations (292.12), Hallucinogen Intoxication
 ment for a "mental disorder' and "mental illness" refer to               (292.89), Hallucinogen Intoxication Delirium (292.81), Hal-
 those provided in the Diagnostic and Statistical Manual                  lucinogen-Induced Psychotic disorder with Delusions (292.
 (DSM JV), American Psychological Association (APA).                      1 I ), Hallucinogen-Induced Psychotic disorder with Delu-
 Those ofordinary skill in the art will appreciate that paliperi-         sions (292.12), Hallucinogen-Induced Mood Disorder (292.
 done esters (e.g. paliperidone palmitate), can he administered           84), Hallucinogen-lnduced Anxiety Disorder (292.89),
 to psychiatric patients for all the known uses of risperidone.           Hallucinogen-Related Disorder Not Otherwise Specified
 Th~e mental disorders include, but are not limited to, schizo-           (292.9), Inhalant Intoxication (292.89), Inhalant Intoxication
 phrenia; bipolar disorder or other disease states in which               Delirium (292.81), Inhalant-Induced Persisting Dementia
 psychosis, aggressive behavior, anxiety or depression is evi-            (292.82), Inhalant-Induced Psychotic Disorder with Delu-

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sions (292. I 1), Inhalant-Induced Psychotic with Hallucina-        der, Mixed, Severe, with Psychotic Features (296.64), Bipo-
tions (292.12), Inhalant-Induced Mood Disorder (292.89),            lar Disorder, Manic, Severe, without Psychotic Features (296.
Inhalant-Induced Anxiety Disorder (292.89), Inhalant-Re-            43), Bipolar Disorder, Manic, Severe, with Psychotic
lated Disorder Not Otherwise Specified (292.9), Opioid              Features (296.44), Bipolar Disorder, Depressed, Severe,
Intoxication Delirium (292.81), Opioid-Induced Psychotic            without Psychotic Features (296.53), Bipolar Disorder,
Disorder with Delusions (292. 11 ), Opioid Intoxication             Depressed, Severe, with Psychotic Features (296.54), Bipolar
Delirium (292.81), Opioid-Induced Psychotic Disorder with           11 Disorder (296.89), Bipolar Disorder Not Otherwise Speci-
Hallucinations (292.12), Opioid-Induced Mood Disorder               fied (296.80), Personality D isorders, Paranoid (301.0), Per-
(292.84), Phencyclidine (PCP) or Similarly Acting Arylcy-           sonality Disorders, Schizoid (301.20), Personality Disorders,
clohexylamine Intoxication (292.89), Phencyclidine (PCP)
                                                                    Schizotypal (301 .22), Personality Disorders,Antisocial (301.
or Similarly Acting Arylcyclohexylamine Intoxication                7), and Personality Disorders, Borderline (301.83).
Delirium (292.81), Phencyclidine (PCP) or Similarly Acting
Arylcyclohexylamine Induced Psychotic Disorder with                 (0057] The following non-limiting examples are provided
Delusions (292.11), Phencyclidine (PCP) or Similarly Acting         to further illustrate the present invention.
Arylcyclohexylamine Induced Psychotic Disorder with Hal-            (0058) The term "therapeutically effective amount" as used
lucinations (292.12), Phencyclidine (PCP) or Similarly Act-         herein, means that amount of active compound or pharma-
ingArylcyclohexylamine Mood Disorder(292.84), Phencyc-              ceutical agent that elicits the biological ormedicinal response
lidine (PCP) or Similarly Acting Arylcyclohexylamine                in human that is being sought by a researcher, medical doctor
Induced Anxiety Disorder (292.89), Phencyclidine (PCP) or           orother clinician, which includes alleviation ofthe symptoms
Similarly ActingArylcyclohexylamine Related Disorder Not            of the disease or disorder being treated.
Otherwise Specified (292.9), Sedative, Hypnotic or Anxi-            (0059) Those of skill in the treatment of diseases could
olytic Intoxication (292.89), Sedation, Hypnotic or Anxi-           easily determine the effective amount of paliperidone to
olytic Intoxication Delirium (292.81), Sedation, Hypnotic or        administer for the treatment of the diseases listed above. In
Anxiolytic Withdrawal Delirium (292.81), Sedation, Hyp-             general it is contemplated that an effective amount of pali-
notic or Anxiolytic Induced Persisting Dementia (292.82),           peridone for the treatment of mental disorders would be from
Sedation, Hypnotic or Anxiolytic-Induced Psychotic Disor-           about O.oJ mg/kg to about 2 mg/kg body weight. For the
der with Delusions (292.11), Sedation, Hypnotic or Anxi-            present invention it is preferred to dose patients with 25
olytic-lnduced Psychotic Disorder with Hallucinations (292.         mg-eq. to about 150 mg eq. paliperidone. The amount of
12), Sedation, Hypnotic or Anxiolytic-Induced Mood                  paliperidone palmitate is provided in sufficient amount to
Disorder (292.84), Sedation, Hypnotic orAnxiolytic-lnduccd          provide the equivalent dose of palipcridone after the palmitic
Anxiety Disorder (292.89), Other (or Unknown) Substance             acid moiety is removed from the ester (e.g. 156 mg corre-
Intoxication (292.89), Other (or Unknown) Substance-In-             sponds to paliperidone I 00 mg). In one embodiment of
duced Delirium (292.81), Other (or Unknown) Substance-              present invention wherein paliperidone palmitate is adminis-
Induced Persisting Dementia (292.82), Other (or Unknown)            tered by intrnmuscular injection once per month is preferred.
Substance-Induced Psychotic Disorder with Delusions (292.
11), Other (or Unknown) Substance-Induced Psychotic Dis-
                                                                                               Example I
order with Hallucinations (292.12), Other (or Unknown)
Substance-Induced Mood Disorder (292.84), Other (or
                                                                                 Paliperidone Palmitate Formulations
Unknown) Substance-Induced Anxiety Disorder (292.89),
Other (or Unknown) Substance Disorder Not Otherwise                 a) Crystallization in Stainless Steel Reactor of 50 L
Specified (292.9), Obsessive Compulsive Disorder (300.3),
Post-traumatic Stress Disorder (309.81), Generalized Arnci-         (0060] All equipment was sterilized using dry heat steril-
ety Disorder (300.02), Anxiety Disorder Not Otherwise               ization.
Specified (300.00), Rody Dysmorphic Disorder (300.7),
Hypochondriasis (or Hypochondriacal Neurosis) (300.7),              (0061) A stainless steel reactor was charged with 3-(2-(4-
Somatization Disorder (300.81), Undifferentiated Somato-            (6-fluoro-l,2-benzisoxazol-3-yl)-l•piperidinyl)ethyl]-6,7,8,
form Disorder (300.81), Somatoform Disorder Not Other-              9-tetrahydro-9-hydroxy-2-methyl-4H-pyrido[l ,2-a)-pyrimi-
wise Specified (300.81), Intermittent Explosive Disorder            din-4-one palmitate ester and ethanol parenteral grade (8
(312.34), Kleptomania (312.32), Pathological Gambling               Ukg) and heated to reflux temperature (78-79° C.) while
(312.31), Pyromania (312.33), Trichotillomania (312.39),            stirring. The product dissolved at about 70° C. The solution
and Impulse Control Disorder NOS (312.30), Schizophrenia,           was filtered at 76° C. over a sterile 0.22 µm filter into a sterile
Paranoid Type, (295.30), Schizophrenia, Disorganized (295.          crystallization reactor. The sterile filter was then washed with
I 0), Schizophrenia, Catatonic Type, (295.20), Schizophrenia,       heated ethanol (I Ukg).
Undifferentiated Type (295.90), Schizophrenia, Residual             (0062) The filtrate was reheated to reflux and then cooled to
Type (295.60), Schizophreniform Disorder (295.40),                  room temperature whereupon the product crystallized. The
Schizoa.ffective Disorder (295.70), Delusional Disorder (297.       thus obtained suspension was reheated again. The solution
I ), Brief Psychotic Disorder (298.8), Shared Psychotic Dis-        was cooled using differing cooling gradients (in consecutive
order (297 .3), Psychotic Disorder Due to a General Medical         experiments, the mixture was reheated and cooled again; after
Condition with Delusions (293.81), Psychotic Disorder Due           each cooling gradient, a sample was taken and isolated using
to a General Medical Condition with Hallucinations (293 .82),       a filter. The crystals were dried in vacuo at 50° C. in Tyvek
Psychotic Disorders Not Otherwise Specified (298.9), Major          bags so as to prevent dust formation and the particle charac-
Depression, Single Episode, Severe, without Psychotic Fea-          teristics were determined.
tures (296.23), Major Depression, Recurrent, Severe, without        (0063] Different batches were run, yielding product with a
Psychotic features (296.33), Bipolar Disorder, Mixed,               particle size distribution measured by laser diffraction as
Severe, without Psychotic Features (296.63), Bipolar Disor-         shown in Table I .

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                                          TABLE I
                                     CQ'.!:tallization

               C'aJculaled                                                                Particle cize
                 cooling                   IWtst ...             start cooling            dist[jbution

Cooling         gradient     Tmax             !° C.J                (" C.)          dll0     dlSO    dl90

rstc           (" C./min) Trcactor Trcactor Tjscl:ct               Trcactor         (Jlm)    (Jlm)   (Jlm)

t • t Jmin        0.95        78         63.5        60.2              11.5         156         65    16
ASAP              3 .2        75.7       61.2        17.5              75           119         36     9.2
0.5° CJmi.o       0.48        15.7       63.8        62.7              75           192         80    20
0.S°CJmin         0.◄8        15.7       63.8        62.7              15           189         81    23
0.7°CJmi.o        0.81        75.7       61.7        58.9              75           113         41    11
1• CJmin          0.92        75.1       62. 1         S◄.9            75           128         52    13



b) Formulation of Composition                                                                   homogeneous. Tue suspension was milled aseptically in the
                                                                                                grinding chamber using Zirconium beads as grinding media
(0064) Table 2 provides the formulation for the F013 for-                                       until the required particle size was reached. "Jbe suspension
mulation. The FOi I formulation contained the same ingredi-                                     was filtered aseptically through a 40 µm filter into a sterilized
ents, with the exception of citric acid and NaOH, which were
                                                                                                SS containt:r
not present in the FOi I formulation. Since the FOi i formu-                                    (0073) Water for injections was transferred into a SS con-
lation docs not contain NaOH or citric acid, they arc not part
                                                                                                tainer, citric acid monohydrate parenteral, disodium hydro-
ofthe aqueous phase that is added to the milled concentrate of                                  gen phosphate anhydrous, sodium dihydrogen phosphate
the FOi i formulation. Therefore, the concentration of buffer                                   monohydrate, sodium hydroxide al l use, polyethylene glycol
salts in the aqueous phase ofthe FOi I formulation is slightly
                                                                                                4000 were added and mixed until dissolved. This solution was
different to make the formulation isotonic.                                                     sterilized by filtration through a sterile 0.2 µm filter and
                                                                                                transferred aseptically into the suspension. The final suspen-
                                TABLE2                                                          sion was mixed until homogeneous. The suspension was
                                                              Amount Required                   filled aseptically into sterile syringes. Tue target dose volume
                                                                                                was between 0.25 ml and 1.50 ml depending on the dose
                                                                          Quantity              needed.
Name                                                      Per ml          for 24 L

Paliperidcne pslmitste (sterile grade)                    156 mg              3.744 leg                                      TABLE3
Polysori>ste 20 paruitual                                  12 mg                288 g
Citric acid monohydrsle p~nleral                            S mg                120 g            Doscvolwne        Ta.rget limit   lower Jjmit        upper limit
Di1odium hydrogen phosphste anhydrous                       5 mg                120 g
pa.zcnteza.1                                                                                     0.25 ml-1.00 ml   identical to    wg<l limit -       target Iimit x
Sodium dihydrogen phosphstc monohydnte                        2.5 mg             60 g                              dose volwn,     (\&,get limit •    1.05
p41C.Dtcra.l                                                                                                                       0.05)
Sodium Hydroxide all use                                 2.84 mg                68 g             1.25ml-U0 ml      identical to    targ<t limit -     target limit •
Polyethylene Glycol 4000 p,.,..nteraJ                      30 mg               720g                                dcsc volume     (wget limit •      1.025
Water for injections q.s. set                            1000 µI                24 L                                               0.025)




Equipment                                                                                        Sterilization
(0065) stainless steel (SS) containers                                                           (0074) All aseptic manipulations and sterilization pro-
(0066) Grinding media (Zirconium beads)+stainless steel                                          cesses were canied out according to FDA and European
(SS) grinding chamber                                                                            regulatory guidelines.
(0067] 0.2 µm filters
(0068) 40 µm filter                                                                              Apparatus
(0069] Filling unit                                                                              (0075) Sterilization was done by steam sterilization
(0070) Autoclave                                                                                 (1' 0 0:15 of following equipment:
(0071) Dry heat oven                                                                             (0076) SS containers
                                                                                                 (0077) Zirconium bl!llds+grinding chambt:r
Manufacturing                                                                                    (0078) 0.2 µm filters
(0072) Zirconium beads were cleaned and rinsed using                                             (0079) 40 µm filter
water for injections and then depyrogenised by dry heat (I 20                                    (0080] filling pump
min at 260° C.). Water for injections was transferred into a SS                                  (0081] Immediate Container
container. Polysorbate 20 was added and dissolved by mix-                                        (0082) I ml long transparent plastic (COC) syringe with
ing. The solution was sterilized by fi ltration through a sterile                                lut:r lock.
0.2 µm fillt:r inlo a slt:rili:red SS containt:r. P-dlipt:ridont:                                (0083) rubber tip cap, FM257/2 dark grey
palrnitate ester (sterile grade) as prepared in the previous                                     (0084) rubber plunger stopper, I ml long, 4023/50, l'luoro-
examples was dispersed into the solution and mixed until                                         tec 8 2-40

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[0085] 2.25 mJ transparent plastic (COC) syringe with luer              similar IMax following four consecutive injections into the
lock.                                                                   deltoid versus gluteal muscle. Paliperidone palmitate JOO
(0086] rubber tip cap, FM257/2 dark grey                                mg-eq. was systemically and locally well tolerated in this
   (0087) rubber plunger stopper, 1-3 ml, 4023/50, Fluoro-              study.
      tec B2-40                                                                                  Example3
[0088) The empty syringes with pre-assembled tip-caps
                                                                             Assessment of the Dose Proportionality of Paliperi-
were sterilized by gamma-irradiation (dose i:25 kGy). The
                                                                             done Palmitate 25, 50, 100, and I SO mg eq. Follow-
rubber plunger stoppers were sterilized by means of steam
                                                                            ing Administration in the Deltoid or Gluteal Muscles
sterilization (F0 ii;IO.
                                                                        (0093) This study evaluated dose proportionality of pali-
                          Example2                                      peridone palmitate injectio ns when administered into either
                                                                        the gluteal or deltoid muscle.
    Evaluation of the Pbarmacokinetic Profile of Gluteal                Method
    Versus lJeltoid Intramuscular Injections of Paliperi-
     done Pa!mitate 100 mg Equivalent in Patients with                  (0094) A single-dose, open lahel, parallel-group study of
                                                                        201 randomized schizophrenia subjects was performed. The
                       Schizophrenia
                                                                        subjects were assigned into eight treatment groups: paliperi-
(0089) This study was performed to characterize and com-                done palmitate 25 (n=48), 50 (n=50), I 00 (n=5 I) or 150
pare the phannacokinetic profile of paliperidone palmitate              (n=52) mg-eq. injected into either the deltoid or gluteal
(formulated as described above) following four intramuscular            muscle. Serial plasma samples were collected for pharmaco-
injections in the deltoid or gluteal muscle.                            kinetic evaluation over 126-day period. The total paliperi-
                                                                        done concentration was calculated as the sum of both enan-
Method                                                                  tiomers. Dose proportionality was assessed by linear
                                                                        regression model, for each injection site, with log-trans-
(0090) In this multiple-dose, open-label, parallel-group                formed dose-normalized AUC. and C.,= as dependent vari-
study, patients with schizophrenia were randomized to                   ables and log-transformed dose as predictor, respectively of
receive four consecutive intramuscular injections (days I , 8,          C.,= and AUC. ratios of the enantiomers were documented.
36 and 64) ofpaliperidone palmitate I00 mg-eq. administered             Results
into either the deltoid (n=24) or gluteal muscle (n=25).
                                                                        (0095) Slopes for log-transformed dose-normalized AUC.
Plasma samples for pharmacokinetic analyses were col-
                                                                        were not significantly diJferent from zero for deltoid (slope
lected. The total palipcridone concentration was calculated as          --0.06; p=0.036) and gluteal injectfons (slope-0.02; p=0.760
the sum of both enantiomers.
                                                                        indicating a dose-proportional increase in AUC_, T.,..., was
                                                                        comparable between doses but slightly earlier for deltoid
Results
                                                                        (13-1 4 days) versus gluteal injections (13-17 days). Median
 (0091) The median CM= forpaliperidone was higher in the                c.,= was higher with deltoid (range 5.3-11.0 ng/mL) versus
deltoid versus the gluteal muscle after the second (31 .3 versus        gluteal (range 5.1-8.7 ng/mL) injections except for the 100
24.1 ng/mL) and fourth (23 .7 versus 22.3 ng/mL) injections.            mg-eq. deltoid (slope -0.22, pz().0062) and gluteal (slope
After four injections, median AUC. was similar for both                 --0.31; p<0.0001) injections, indicating a less than dose-pro-
injection sites; CM= and AUC.. for palipcridone were 30"/o              portional increase in C.,... Results of C.,.. and AUC were
(90% CT= I00.56%-168.93%) and 20"/o (90"/o CJ=93.09%-                   confirmed using pairwise comparisons. Plasma concentra-
154.69%) higher in deltoid versus gluteal muscle, respec-               tions of (+)-enantiomer were consistently higher than (-)·
tively. Median T.,= was similar between injection sites after           enantiomer; (+)/(- ) plasma concentrations ratio was approxi-
the second (10 day versus 10 day) and fourth injections (5              mately 2.4 shortly after administration and decreased to - 1.7
versus 6.5 days). After four injections, the median peak-to-            for both injection sites, independent of dose. After a single
trough ratio was higher (2.3 versus 1.9), with a larger inter-          dose of paliperidone palmitate, subjects received concomi-
subjt:et variability for deltoid versus gluteal injt:etion. An          tant oral antipsychotics. Treatment-emergent AEs (fEAs)
increase in median predose plasma concentration between                 included tachycardia (100/4), headache (7%), schizophrenia
days 8, 36 and 64 for both sites suggested subjects were not            (6%), insomnia (5%). Only 2%, of subjects discontinued due
completely at steady state after four injections. Relative expo-        to TEAs. No deaths were reported.
sure after the fourth injection was slightly lower than after the       Conclusion
second injection in both the deltoid and gluteal muscle. Most
commonly reported adverse events (combined injection sites)             (0096] AUC. increased proportionnlity with increasing
were onhostatic hypotension (24%), hypotension ( 14%),                  paliperidone palmitate doses (5-150 mg-eq.), regardless of
diastolic hypotension (12%) and injection site pain (14%).              gluteal or deltoid injection. Overall, deltoid injection was
There were four serious adverse events (worsening of psy-               associated with a higher CM=<except for 100 mg-eq.) and
chosis) that led to discontinuations. There were no deaths in           slightly earlier T.,= compared with gluteal injections.
the study. Paliperidone palmitate was well tolerated with                                           Example4
more favorable local tolerability profile in the gluteal versus              Comparison of the PK Profile in the Deltoid to that
deltoid; mean injection site pain VSA score was 3.3 for glu-                                      in the Gluteal
teal versus I 0.8 for deltoid muscle (day l , 8 hours after
injection.                                                              (0097] Toe plasma concentration-time profile of paliperi-
                                                                        done after single i.m. injection of the paliperidone palmitate
Conclusion                                                              formulation at 25-150 mg-eq. has been documented in several
                                                                        studio,s (Table 4 ). Details of how the comparison of injection
[0092) Paliperidone palmitate 100 mg-eq. injections                     sites study and the dose proportionality studies were per-
resulted in an increased AUC, higher c.,.., greater Fl, but             formed are provided in Examples 2 and 3 .

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                                                TABLE4
                                   Table ofClin.ica.J Studies Summarized

    SnJdy                  T>esign/Trearment/PK Objective
                      PHASE I STIJDIES IN SUBTECTS WITII SCHlZOPHRENL~

    R092670-INT-12         S.D., OL, ps.ra.llel group/single i.m. injection ofF011 • 125, SO, 100 or
    (dose-                 150 mgcqJdocwnent PK oftbe F011 • formulstion s.t different dotes,
    proponionality)        enantiomer disposition
    R092670-USA-3          M.D., OL, randomized, pan.llel groups/2 i.m. injections ofR092670
                           (FOi i ' ) 25 or 150 mg eq., gluteal or cleltoid, ,q,&nlled by I week/
                           compare the PK after deltoid and gluteal injections, explore tJ1e
                           n:l&Iionship between R092670 PK parameten &nd CYP P450
                           genotype,
    R092670-PSY-IOOI       M.D., OL,r&ndomiud,p&r.tllel groups/4 i.m. injections ofR092670
    (cornpuilOn of         (F0l3) 100 mg eq. in the gluteAI or deltoid muscle (on O&y I, 8, 36 and
    injection site)        64)/comp&n: the PK at ste&dy state between deltoid and gluteal
                           injection sites
    R092670-PSY-1004 S.D., OL, randomized, parallel groups/single i.m. injection of
    (dose-           R092670 (F013) 25, 50, 100 or 150 mg eq. in the glute&I or deltoid
    proponionality)  musclo'eva.luate dose proportions.lity of FOi 3 fonnulation over a. dose
                           range of 25-1S0 mg eq., comps.re the PK s.fte.rdeltoid and gluteal
                           injections

    S.O.: single dOK; M.D.: multiple dose; OL: opeu-label; DB: double blind; PK: pham1ACokinetic;
    PC: placebo-controlled; AC: acti..-e-controlled; pa.Ii ER: paliperidone extended n:lease; p•li IR:
    p.ilipcridone immediate rcle:i.se
    F011 • : Sterilized by gsmms-irndiation. Other~oise, steriliz.cd by aseptic crysta.llizarion.


    (0098) The total exposure (AUCm) of paliperidone                                                                    Examples
    increased proportionally with dose after single-dose injec-                                   Description of the PK Profile in the Gluteal After
    tions of 25 to I 50 mg eq. paliperidone palmitate in both the                                               Multiple Administrations
                                                                                            [0099] Paliperidone palmitate is a Jong-acting i.m. inject-
    deltoid and gluteal muscle. The increase in c.,ax was slightly
                                                                                            able, intended to release over a period of I month. In order to
    less than dose proportional for both injections sites at doses                          attain this Jong injection interval, an ester ofpaliperidone was
    greater than 50 mg eq. The apparent half-life (reflecting the                           prepared that has a limited solubility in a physiological envi-
                                                                                            ronment. The ester was subsequently formulated as an aque-
    absorption rate for this type of formulations) increased with                           ous suspension for i.m. injection. The rate of dissolution is
    dose from 25 days (median) after the 25 mg eq. dose to 40-49                            governed by the particle size distribution whereby ii was
    days (median) after the JOO and 150 mg eq. dose, for both                               experimentally determined that an optimal particle size range
                                                                                            is contained within xx-yy microm (d 0.). In fact, the rate of
    injection sites. The C.,"" of paljperidone was generally higher                         dissolution (and thus the particle size distribution) fully deter-
    after single-dose injection of paliperidone palmitate in the                            mines the in vivo behaviour, as was nicely demonstrated in
    deltoid muscle compared to the gluteal muscle (geometric                                study PSY-1002. It was found that the median c.,.~ increases
                                                                                            and t.,~, shortens with decreasing particle size, which is con-
    mean ratio ranging from 108.75% to 164.85%) whereas this                                sistent with the hypothesis that particle size is driving the
    was much less pronounced for AUCm(geometric mean ratio                                  release rate. The point estimates suggest that palipcridone
                                                                                            exposure (AUC, c.,._,) after injection ofpalipendone palmi-
    ranging from 103.00% to 117.83%). The median apparent                                   tate is similar between the to-be-marketed formulation FO 13
    half-life was comparable between injection sites.                                       and formulation FO I I.

                                                                                                                  TABLES
                                                                                              T&blo of Clinic.I Studies Sumnwizcd in Modulo 2.7.2

                                                                       Study                 Design{Tn:&tment/PK Objective
                                                                                         PHASE I STUDIES IN SUBJECTS WITH SCHIZOPHRENIA

                                                                       R092670-BEL·4           M.D., OL, sequential, pan.lie! groups/4-6 monthly i.m. injections of
                                                                       (pilot, dose-           F004, 50 mg eq. or 100 mg eq. or 150 mg cq./expl01e M.D. PK sod
                                                                       proponionality)         dose-proportionality
                                                                       R092670-BEL-7           M.D., OL, pMlllel groups/F004 fonnul&tion: P,.nel I: 100 mg cq.
                                                                       (dosing n:gimen)        i.m. followed by 3 monthly i.m. injections of 50 mg eq.; P&nel II: 200
                                                                                               mg eq. i.m. followed by 3 monthly i.m. injections of I00 mg eq.;
                                                                                               P&nel III: 300 mg eq. i.m. followed by 3 monthly i.m. injections of
                                                                                               150 mg cq.; P&nel IV: 50 mg cq. i.m. followed by 1 week later by 4
                                                                                               monthly i.m. injections of 50 mg eq.; Panel V: 1SO mg eq. i.m.
                                                                                               followed by I week later by 4 monthly i.m. injections of 150 mg eq/
                                                                                               explOIC the M.D. PK with vs.rious dosing regimens



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                                      'IABLE 5-continued
                      Table of Clinical Studies Summui2cd in Module 2.7.2

Snuiy                T>csign/Trc.armcnt/PK Ohjecr.ive
                 PHASE I STUDIES IN SUBJECTS WITH SCHIZOPHRENIA

R092670-INT-l l        M.D., DB, randomiud,. 4-group 2-way eross-ovcr/4 monthly i.m.
(comp= F004            injection, of F004 or FOil • , 2 x SO and 2 x I SO mg cq.lcomp= PK of
and FOIi)              F004 and F0l l" fonnulation1; compa.re S.D. and M.D. PK of both
                       fonnulations
R092670-PSY- I 002 S.D., Ot., mndomi1~, paTil.llel gmupW,ingle i.m. inject.ions of 1 mg
(NNC)              paliperidonc IR. followed by single i.m. injection of 50 mg eq.
                   R092670: 1 of 4 F013 fonnul.stions with different pa.niclc sizes, or
                   F0 11 fonnulMion with medium p&nicle sizdcxplorc IVIVC of 4
                   F0l3 fonnulations. com~ the PK ofF0l land F013 fonnulations
R0!>2670-PSY·IOOI M.D., OL, randomized, paniJlel groups/4 i.m. injections ofR092670
(compsruon of      (1'013) 100 mg eq. in the gluteal or deltoid muscle (on Day I, 8, 36
injection site)    and 64)/compare the PK at stesdy state between deltoid and gluteal
                   injection sitC6

S.D.: single dose; M.D.: multiple dose; OL: open-label; DB: double blind; PK: pbannacokinetic;
PC: placebo-controlled; AC: acti\'e•cont:rollcd; pali ER: palipcridone extended release; pali IR:
paliperidone immediate release
i:011 •: ~'terilized by gamma-irradiation. Otherwise, sterilized by aseptic c.rystdlliution.


(0100) Phannacokinetic theory also implies that for a for-                             were collected at several time points, a plasma concentration
mulation with such a long apparent half-life it takes 4-5 times                        of? .5 ng/mL was identified as the cut-off value above which
this half-li fe for steady-state to be achieved. For individual                        90% ofthe plasma concentrations were observed. The risk to
patients, this means that following the first few injections,                          develop EPS was clearly higher for dose above 9 mg Invega.
only subthernpeulic plasma concentrntions are achieved. In                             Calculating back, this roughly corresponds lo an exposure
order to overcome this problem, a loading dose regimen was                             level of 35-40 ng/mL at steady-state. lbis implies that there is
developed (BEL-7), that was subsequently used in phase 2                               ample evidence to support a target exposure efficacy range of
and 3 of drug development. The dosing regimen consisting of                            7 .5-40 ng/mL. lbis should be the target exposure range for
two initial i.m. injections separated by one week fo llowed by                         paliperidone after injection ofthe paliperidone palmitate for-
subsequent doses at monthly intervals resulted in a faster                             mulation.
attainment of apparent steady state compared with a dosing
regimen of one initial injection of twice the monthly dose                                                       Example?
followed by subsequent doses at monthly intervals. Some-
what higher peak-to-through flucruations were observed with                                               Optimal Way of Dosing
the first dosing regimen as compared with.the latter one. The
dosing regimen consisting of two initial i.m. injections sepa-                         (0103) During the development of paliperidone palmitate,
rated by one week followed by· subsequent doses at monthly                             as the result of an extensive population PK analysis (refer to
intervals was selected for further srudies and is also the rec-                        popPK report for paliperidone palmitate), several factors
ommended regimen for treatment.                                                        were found to slow down the release of paliperidone from the
                                                                                       formulation, resulting in a slower build-up of plasma concen-
                                 Example6                                              trations at the start of therapy and in more time required to
                                                                                       reach steady-state. One factor was body mass index: the
     Description of the Exposure Range Needed for Effi-                                higher the BM!, the slower the dissolution (probably related
                  cacy Using Invega Data                                               to local physiological factors such as diminished blood flow
[0101) All antipsychoticdrugs currently on the market have                             at the site of injection); the other one being volume adminis-
one feature in common: they antagonize the D2 receptor at the                          tered: the higher the volume injected, the slower the dissolu-
level of the brain. It has been empirically derived and is                             tion (probably related to the nonlinear relationship between
currently widely excepted that 65-700/o occupancy is needed                            surface area and volume). This has resulted in a lower than
for antipsychotics to show clinical efficacy (Fardc ct al.), i.e.                      expected exposure using the originally proposed loading dose
improvement on the PANSS scale. A too high occupancy                                   regimen, and the need to come up with an improved loading
(80-85%) will typically increase the risk to develop EPS. In                           dose scheme for all patients irrespective of BM! in order to
order to determine the central D 2 occupancy, PET trials in                            avoid drop-out due to lack of efficacy at the start of therapy.
human healthy volunteers are typical ly performed. 1\vo such                           The aim was to get patients as quickly as possible above the
studies have been done for paliperidone: SWE-1 and SJV-                                7 .5 ng/mL, certainly after 1 week for all doses considered (25
10 I , showing that the K D•PP for D2 occupancy was ranging                            mg-ilq. and above).
from 4.4 to 6.4 ng/mL. Using the 65-85% occupancy window,                              [0104) Simulation scenarios with the statistically signifi-
it can be calculated that the exposure range for efficacy with-                        cant covariates from the population PK analysis revealed the
out an increased risk to develop EPS as compared to placebo                            following features about the paliperidone PK aJler injt,elion
( <5% difference in probability) is contained in the window of                         of paliperidone palmitate:
7.5-40 ng/mL.                                                                              (0105) Compared to deltoid injections, repeated admin-
(0102) In addition, based on the results of the phase 3                                      istration in the gluteal muscle resulted in a delayed time
program of 6 mg paliperidone ER, in which plasma samples                                     to achieve steady-state (-4 wk longer), but did not influ-

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     ence the overall exposure (in terms of steady-state con-                 (0116) Assess the global improvement in severity of ill-
     centrations) to paliperidone.                                               ness associated with the use of paliperidone palmitate
  (0106] Deltoid injections resulted in a faster rise in initial                 compared with placebo;
     plasma concentrations, facilitating a rapid attainment of                (0117) Assess the dose-response and exposure-response
     potential therapeutic plasma concentrations. The deltoid                    relationships of paliperidone palmitate.
     injection site is therefore recommended as the initiation             (0118] METHODS: This was a randomized, double-blind,
     site for dosing paliperidone palmitate.                               placebo-controlled, parallel-group, multicenter, dose-re-
  (0107] Higher doses, associated with larger injection                    sponse study of men and women, 18 years of age and older,
     volumes, increased the apparent half-life of paliperi-                who had a Diagnostic and Statistical Manual of Mental Dis-
     done, which in tum increased the time to achieve steady-              orders, Fourth Edition (DSM-IV) diagnosis ofschizophrenia.
     state.                                                                The study included a screening period of up to 7 days and a
  (0108] Needle length was an important variable for the                   13-week double-blind treatment period. The screening period
     absorption kinetics from the deltoid injection-site and it            included a washout of disallowed psychotropic medications.
     is recommended to use a longer 1.5-inch needle for                    (0119) Subjects without source documentation of previous
     deltoid administration in heavy subjects (il:;90 kg).                 exposure to at least 2 doses oforal risperidone or paliperidone
     Simulations indicated that the use of a longer needle in              extended-release (ER), at least I dose of i.m. RISPERDAL®
     the deltoid muscle for the heavy individuals might be                 CONSTA® or paliperidone palmitate, or who were not cur-
     associated with an initial faster release of paliperidone             rently receiving an antipsychotic medication were given 4 to
     into the systemic circulation, which could help over-                 6 days of paliperidone ER 6 mg/day (or the option of oral
     come the slower absorption observed in heavier indi-                  rispcridonc 3 mg/day for subjects in Malaysia) for tolerability
     viduals described below.                                              testing. Subjects who had source documentation of previous
  (0109] The body size variable BMl was another impor-                     exposure to the above medications and were currently taking
     tant covariate forpaliperidonepalmitate. A slower rise in             another anti psychotic regimen continued their current treat-
     initial concentrations was observed in the obese popu-                ment through Day-I. At the beginning of the double-blind
     lation, which possibly occurred due to the reduced speed              treatment period, subjects were randomly assigned in a I: I :
     ofinitial influx from the injection site. Initiating the first        I: I ratio to I of 4 treatment groups: placebo or paliperidone
     two injections in the deltoid muscle and using a longer               palmitate 25 mg eq., 100 mg eq., or 150 mg eq. Study medi-
     1.5-inch needle for deltoid injection in heavy subjects               cation was administered as 4 doses: an initial i.m. injection of
     can mitigate this effect. These observations are consis-              150 mg eq. of paliperidone palmitate or placebo followed by
     tent with the expectation that in heavy subjects, admin-              3 fixed i.m. doses of placebo or paliperidone palmitate [25,
     istration into the adipose layer of the deltoid muscle can             100, or I 50 mgeq.) on Days 8, 36, and 64. The initial injection
     be avoided with the use of a longer injection needle.                 of study medication was given in the deltoid muscle. Subse-
Summarize what the optimized loading dose regimens would                   quent injections were given either in the deltoid or gluteal
be here:                                                                   muscle at the discretion ofthe investigator. Randomi1.ed sub-
  (0110] 150 deltoid (day J), JOO mg deltoid (day 8), then                 jects were to remain in the study for 28 days after the last
     every 4 weeks maintenance (gluteal or deltoid) (PSY-                  injection on Day 64 with the end of study visit scheduled for
     3006, simulatio~opPK report palmitate)                                Day 92 during the double-blind period. The entire study,
                                                                           including the screening period, lasted approximately 14
  (0111) JOO deltoid (day I), 100 mg deltoid (day 8), then
                                                                           weeks. San1ples for pharmacokinetic (PK) evaluation were
     every 4 weeks maintenance (gluteal or deltoid) (simula-
     lioru;-popPK report palmitate, proposoo for the label)                collected on Day 1, prior to the first injection and on Days 2,
                                                                           4, 6, 8, I 5, 22, 36, 64 and 92. Efficacy and safety were
  (0112] 150 mg deltoid day I, maintenance dose day 8
                                                                           evaluated regularly throughout the study. A phannacoge-
     and then every 4 weeks (gluteal or deltoid) (PSY-3007)
                                                                           nomic blood sample (10 mL) was collected from subjects
                                                                           who gave separate written informed consent for this part of
                           Example8                                        the study. Participation in the phannacogenolllic research was
                                                                           optional. Approximately 105 to I I 5 mL ofwhole blood was
[0113] T11LE OF STUDY: A Randomized, Double-Blind,                         collected during the study.
Placebo-Controlled, Parallel-Group, Dose-Response Study
                                                                            (0120] Number of Subjects (Planned and Analyzed): It was
to Evaluate the Efficacy and Safety of3 Fixed Doses (25 mg
eq., JOO mg eq., and 150 mg eq.) of Paliperidone Pa Imitate in             planned to include approximately 644 men and women in this
                                                                           study. A total of 652 eligible subjects from 72 centers in 8
Subjects With Schizophrenia
                                                                           countries were randomized and received at least I dose of
Phase of Development: Phase 3                                              double-blind study medication (sa1ety analysis set); 636 sub-
                                                                           jects had both baseline and post baseline efficacy data (intent-
[0114) OBJECTIVES: The primary objectives ofthis study                     to-treat analysis set).
were to evaluate the efficacy and safety of 3 fixed doses of                (0121] Diagnosis and Main Criteria for Inclusion: Male or
paliperidone palmitate administered intramuscularly (i.m.)                 female subjects ~ 18 years of age who met the DSM-IV
after an initial dose of 150 mg equivalent (eq.) in the deltoid            diagnostic criteria for schizophrenia for nt least I year before
muscle followed by either deltoid or gluteal injections for a              screening, had a Positive and Negative Syndrome Scale
total of 13 weeks of treatment as compared with placebo in                  (PANSS) total score at screening of between 70 and 120,
subjects with schizophrenia. The secondary objectives were                  inclusive, and at baseline of between 60 and 120, inclusive,
to:                                                                         and had a body mass index (BMl) of >17.0 kg/m 2 to <40
    (0115] Assess the benefits in personal and social func-                 kg/m 2 were eligible.
      tioning (key secondary endpoint) associated with the use              (0122) Test Product, Dose and Mode of Administration,
      of paliperidone palmitate compared with placebo;                      Batch No.: Paliperidone ER was supplied as a 6-mg capsule-

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shaped tablet for the oral tolerability test (batch number               the key secondary efficacy endpoint (change in PSP total
0617714/F40). Paliperidone palmitate was supplied as 25,                 score at end point) was controlled at the 2-sided 0.05 signifi-
I 00, or 150 mg eq. injectable suspension (batch numbers                 cance level. The 2 families of hypotheses (in each family, 3
06K22/Fl3 and 07D23/Fl3). For the oral tolerability test, a              comparisons for each of the paliperidone palmitate doses
6-mg tablet of paliperidone ER (or the option of oral risperi-           versus placebo) were tested using a parallel gatekeeping pro-
done 3 mg/day for subjects in Malaysia) was admirustered                 cedure that adjusts for multiplicity using Dunnen's method in
daily for 4 to 6 days. On Day I of the double-blind treatment            each family of hypotheses and using Bonferroru 's inequality
period, 150 mg eq. of paliperidone palmitate was injected in             between different families of hypotheses. This procedure is
the deltoid muscle followed by 25, I 00, or 150 mg eq. i.m.              referred to as the Dunnett-Donferroni-based parallel gate-
injections of paliperidone palmitate on Days 8, 36, and 64,              keeping procedure.
injected into the deltoid or gluteal muscle at the investigator's
discretion.                                                              [0129] The change from baseline in PANSS total score at
[0123] Reference "Jberapy, Dose and Mode ofAdmirustra-                   each visit and at end point was analyzed using an analysis of
tion, Batch No.: Placebo was supplied as 20% lntralipid (200             covariance (ANCOVA.) model. The last observation carried
mglmL) injectable emulsion (batch numbers 06KI 4/FOO and                 forward (LOCF) method was used. The model included treat-
07Fl2/FOO). An injection was given on Days I , 8, 36 and 64.             ment and country as factors and baseline PANSS total score as
(0124) Duration of Treatment: The study consisted of a                   a covariate. Treatment effect was based on the clifference in
screerung and washout phase of 7 days and a double-blind                 least-squares mean change. Dunnett's test was used to adjust
treatment period of 13 weeks, starting with the first injection          for multiple comparisons ofthe 3 paliperidone palmitate dos-
in the deltoid muscle followed by a second injection I week              ages versus placebo. Unadjusted 2-sided 95% confidence
later.All injections after Day I were given in either the deltoid        intervals were presented for the clifference in least-squares
or the gluteal muscle at the cliscretion ofthe investigator. Two         mean change of each paliperidone palmitate dosage group
subsequent injections were given at 4-week intervals.                    compared with placebo. Treatment-by-country and treat-
                                                                         ment-by-baseline PANSS total score interdctions were
Criteria for Evaluation:
                                                                         explored using the same ANCOVA model as the one for the
(0125) Pharmacokinetic Evaluations: A sparse blood sam-                  analysis of the primary endpoint. If either term was statisti-
pling procedure was fo llowed to study the paliperidone con-             cally significant at the predefined 2-sided sigruficance level of
centration-time profiles. Paliperidone plasma concentration-             0.10, further evaluations ofthe effect ofother covariates were
time data were subject to population PK analysis using                   to be performed to assess the nature of the interaction and
nonlinear mixed-effects modeling, and details are described              identify possible causes. In adclition, to address the dose-
in a separate report.                                                    response relationship and to facilitate the discussion of dos-
[0126] Efficacy Evaluations/Criteria: The primary end-                   age selection, an analysis to compare the 3 active paliperidone
point was the change in the PANSS total score from baseline              palmitate dosages with each other was performed without
(i.e., the start of double-blind treatment, Day I ) to the end of        adjustment for multiple comparisons.
the double-blind treatment period (i.e., Day 92 or the last post
ba~eline assessment). The key secondary efficacy endpoint                (0130) The analysis of the key secondary endpoint, change
was the change in the Personal and Social Performance Scale              in PSP score at end point, was conducted by means of an
(PSP) from baseline to the end of the double-blind treatment             ANCOVA model with treatment and country as factors and
period. The other secondary efficacy endpoint was the change             the baseline score as the covariate. The Dunnett-Bonferroru-
in the Clirucal Global Impression-Severity (CGJ-S) scores                based parallel gatekeeping approach was used to adjust for
from baseline to the end ofthe double-blind treatment period.            multiple testing.
Other endpoints included the change from baseline in subject             [0131] Between-group comparisons of CGI-S were per-
ratings ofsleep quality and daytime drowsiness using a visual            fonned by using an ANCOVA model on the ranks of change
analogue scale (VAS), the onset of therapeutic effect,                   from baseline, with treatment and country as factors and the
responder rate, and the change from baseline to end point in             baseline score as the covariate.
PANSS subscales and Marder factors.
                                                                         [0132] Change from baseline over time (observed case) in
(0127] Safety Evaluations: Safety was morutored by the
                                                                         the PANSS total score was explored using mixed effects
evaluation of adverse event~, extrapyramidal symptom (F.PS)
                                                                         linear models for repeated measures with time, treatment,
rating scales (Abnormal Involuntary Movement Scale
                                                                         country, and treatment-by-time as factors and baseline score
[AIMS], Barnes Akathisia Rating Scafo [BARS], Simpson
and Angus Rating Scale [SAS)) scores, clinical laboratory                as a covariate.
test results, vital signs measurements, electrocardiograms               (0133] The number and percentage of subjects with treat-
(ECGs), and physical examination finclings. In addition, the             ment-emergent adverse events were summarized. Adverse
tolerability of injections was assessed; the investigators               events of potential clirucal interest were summarized sepa-
evaluated injection sites and the subjects assessed injection            rately, including events related to EPS or changes in serum
pain.                                                                    glucose or prolactin levels.
(0128) STAilSTICAL METHODS: All randomized sub-                          [0134) Changes from baseline in clirucal laboratory tests,
jects who received at least 1 dose of double-blind study drug            vital sign measurements, ECGs, body weight, BMJ, and EPS
and had both baseline and at least one post baseline efficacy            scale scores were summarized by treatment group. Prolactin
measurement (PANSS, PSP, or CGT-S) during the double-                    levels were surnmari7.ed by sex. Subjects with potentially
blind treatment period were included in the intent-to-treat              abnormal values or changes in clirucal laboratory tests, vital
efficacy analyses. The over.ill type 1 error rnte for testing all        signs, orthostatic pardlileters, and ECG pardlileters were sum-
paliperidone palmitate doses versus placebo for both the pri-            marized based on predefined criteria. l'requency distributions
mary endpoint (change in PANSS total score at end point) and             were presented for the investigator's evaluation of the injec-

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lion site, and descriptive statistics were presented for VAS          peridone plasma concentrations on Day 8 were lower in sub-
scores corresponding to the suhject's evaluation of injection         jects with high l:lMI (il:25 to <30 kg/m 2 and il:30 kg/m2 ;
pain.                                                                 overweight/obese) compared to subjects with low FlMl (<25
                                                                      kg/m2 ) for the 3 dose groups. After Day 8, no consistent
Results:                                                              trends were observed for the 3 paliperidone palmitate dose
(0135] The majority of subjects in the paliperidone palmi-            groups with respect to paliperidone plasma concentrations as
tate treatment groups (56%-61 %) received all 4 injections            a function of baseline BM) classification.
compared with 48% ofthe placebo-treated subjects. Comple-              (0138) The mean and median paliperidone plasma ooncen-
tion rates were also higher for the paliperidone palmitate            trations on Day 64 for the 100 mg eq. treatment group were
groups (52%-55%) than for the placebo group (43%). More               approximately 2-fold higher than those for the 25 mg eq.
subjects were discontinued for lack of efficacy in the placebo        treatmt:11t group. Thus, the PK profile fur the 25 mg eq. and
group (27%) oompared with the paliperidone palmitate                   I 00 mg eq. dose groups appeared to be less than dose propor-
groups (14%-19%).                                                     tional, which is the result of the initial paliperidone palmitate
(01 36) Demographic and Baseline Characteristics: The                  150 mg cq. injection on Day I in all active treatment groups.
double-blind treatment groups were well matched with
                                                                      The mean and medinn paliperidone plasma concentrations on
respect to demographic and baseline disease characteristics
                                                                      Day 64 for the 100 mg eq. dose were apparently dose propor-
and psychiatric history. The 636 subjects who comprised the
                                                                      tional compared to the 150 mg eq. dose. A high inter-subject
intent-to-treat analysis set were mainly male (67%), racially
diverse (54% White,30%Black, 14%Asian, I %other races),               variability was observed in the paliperidone plasma concen-
and predominately between the ages of 26 and 50 years                 trations on Days I and 2 with a% CV of 118.9% (Day I) and
(75%). Most subjects had a primary diagnosis of paranoid               J53.1 % (Day 2). After Day 2, the inter-subject variability
schizophrenia (88%), and were highly symptomatic as indi-             decreased and the% CV ranged from 50.4 to 83.4%.
cated by a mean PANSS total score of87.l at baseline. There            [0139) Primary Efficacy Analysis: Adult subjects with
were notable differences between countries with respect to            schizophrenia achieved statistically significant improve-
BMI and gender, with subjects enrolled at centers in the U.S.         ments in the PANSS total score (primary efficacy endpoint)
being more likely to be male and obese (i.e., BMl~30 kg/m2)           with all 3 doses of paliperidone palmitate compared to pla-
than those from centers in other countries.                            cebo (25 mgeq.: p-0.034; IOOmgeq.: p<0.001 ; 150mgeq.:
 (0137] Pharmacokinerics: A total of488 subjects who were             p<0.001) based on the intent-to-treat LOCF analysis and the
randomly assigned to receive paliperidone palmitate treat-             Dunnett's test to control for multiplicity.



                                                                  Positive and Neg.mve Synd,ome Scale for Schizophrenia (PM"SS)
                                                                   Total Score - Change from Bsscline to End Point-LOCF with the
                                                                       Dun.nett-Bonfezroni-Bued Parallel Guekeeping Procedun:
                                                                        (Srudy R092670-PSY-3007: Intent-to-TrcatApal.ysis Set)

                                                                                                  R092670          R092670           R092670
                                                                                    Placebo       25 mgcq.        IOOmgcq.          I SO mgcq.
                                                                                   (N-160)        (N • ISS )      (N -161)           (N -1 60)

                                                      Baseline Mesn (SD)          86.8 (10.31)   86.9 (1 1.99)    86.2 (10.77)     88.4 (11.70)
                                                      End point Mean (SD)         83.9 (21.44)   78.8 (19.88)     74.6 (18.06)     75.2 (18.59)
                                                      Change from
                                                      Baseline
                                                      Mean (SD)                   -2.9 (19.26)   -8.0 (19.90)    -11.6 (17.63)    -13.2 (18.48)
                                                      P-vaJuc (minLLt                               0.034            <0.001          <0.001
                                                      Pl•cebo)"
                                                      DiffofLS Means                             -S.I (2.01)      -8.7 (2.00)      -9.8 (2.00)
                                                      (SE)

                                                      "Based on llllalysis of covariance (A.,'ICOVA) model with tnatm<nl (Placebo, R092670 2S
                                                      mg cq., R092670 100 mgeq., R092670 ISO mg oq.) and countJy u facton , and baseline
                                                      value as a covariate. P-values were adjusted for multiplicity for comparison with placebo
                                                      usins Dunnett's tea
                                                      Note:
                                                      Negative change in score indicates improvancnt.


ment had scheduled pharmacokinetic blood samples taken                (0140) Other Efficacy Results: There was a dose-response
over the course of the study. The meclian paliperidone predose        pattern with respect to the primary efficacy variable, with the
concentration for the 25 mg cq. trcabnent group was highest           mean decreases (improvement) in the PANSS total score at
on Day 8, which is the result of the initial 150mg eq. dose on        end point (LOCF).
Day I. After Day 8, paliperidone concentrations decreased             [0141) ?respecified treabnent-by-country and treatment-
and seemed io reach steady state levels on Day 92 based on            by-baseline PANSS total score interactions in the primary
visual inspection. The median paliperidone predose concen-            efficacy model were not statistically significant at the 0.10
tration for the I 00 mg eq. treatment group remained in the           level. An exploratory analysis additionally provided no sta-
same range from Day 8 onwards. The median predose oon-                tistical evidence for a BMI effect on treatment.
centration for the I 50 mg eq. treatment group seemed to              (0142) All 3 paliperidone palmitate dose groups showed a
increase up to the last study day, Day 92. The median pali-           statistically significant improvement over placebo in the

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change in PANSS total score as of Day 22 and at every                      injections at fixed doses of25 mg eq., 100 mg eq., or 150 mg
subsequent time point, and as early as Day 8 in the paliperi-              eq. on Days 8, 36, and 64, was generally well tolerated by
done palmitate 25 mg eq. and 150 mg eq. groups.                            adult subjects with schizophrenia during this 13-week study.
[0143] The mean improvements in the PSP score from                         Overall, the safety and tolerability results were consistent
baseline to end point, the key secondary efficacy outcome                  with previous clinical studies involving paliperidone palmi-
measure, showed a dose response among the 3 paliperidone                   tate, and no new safety signals were detected.
palmitategroups(25 mgeq.: 2.9; lOOmgeq.: 6.1; 150mgeq.:                    [0148] The overall summary of treatment-emergent
8.3); all were numerically higher than the mean improvement                adverse events is given below.



                                                                     Overall Summ&ry ofTreatment-Emergent Adverse Evcw
                                                                         {Srudy R092670-PSY-3007: Safety Anolysis Set)

                                                                                                R092670          R092670        R092670
                                                                               Placebo          25 ms eq.       IOOmgeq.       150mgeq.        Totsl
                                                                              (N • 164)         (N-16())        (N- 165)        CK • !63J    (N - 652)
                                                                                n(%)              n (%)           n(%)           n (%)         n (%)

                                            TEAE                              107 (65.2)        IOI (63.1)      99 (6().0)     103 (63.2)    410 (62.9)
                                            Possibly related TEAE•             47 (28.7)         45 (28.1)      49 (29.7)       51(31.3)     192 (29.4)
                                            TEAE lesding to death               0                 0              0               I (0.6)       I (0.2)
                                            1 or more serious TEAE             23 (14.0)         15 (9.4)       22 (13.3)       13(8.0J       73 (11.2)
                                            TEAE le.iding to pennanent         I I (6.7)         10 (6.3)       10 (6.1 )       13 (8.0)      44 (6.7)
                                            stop

                                            •srudy drug rcbtionships of possible, probAblc, and very likely &JC included in this category.
                                            Adverse events a.re coded using MedDRA version 10.1


in the PSP score seen in the placebo group (I .7). Based on the            [0149] There was I death in a subject in the paliperidone
intent-to-treat LOCF analysis of this key secondary efficacy               palmitate I 50 mg eq. group after withdrawal from the study
variable, using the Dunnett-Bonferroni-based parallel gale-                due to an adverse event (cerebrovascular accident) that began
keeping procedure to adjust for multiplicity, the improvement              during the study. "!bis subject received 2 injections of study
in the paliperidone palmitate 100 and 150 mg eq. treatment                 medication, with the last injection administered approxi-
groups reached statistical significance (I 00 mg eq.: p=0.007;             mately 2 weeks before lhe subject died. While Ibis event was
150 mg eq.: p<0.001) when compared with the placebo                        assessed as doubtfully related to study treatment by the inves-
group.                                                                     tigator, an unblinded review by the sponsor assessed this
[0144] The paliperidone palmitate 100 mg eq. and 150 mg                    event to be possibly related to study treatment.
eq. groups were statistically significantly superior to placebo            [01 50] The numberofsubjects who experienced treatment-
in improving the CGJ-S scores from baseline to end point                   emergent serious adverse events was higher in the placebo
(LOCF) (without multiplicity adjustment, 100 mg eq.: p=O.                  group than in any of the paliperidone palmita1e groups (see
005; I 50 mg eq.: p<0.001). Significantly more subjects                    table above). Most serious adverse events in all treatment
treated with paliperidone palmitate 25 mg eq. (33.5%; p=O.                 groups were psychiatric disorders (e.g., schizophrenia, psy-
007), 100mg eq. (41.0%; p<0.001), and 150mgeq. (40.0%,                     chotic disorder) that were likely the result of the natural
p<0.00 I) achieved responder status (30% or larger decrease                course ofthe underlying schizophrenia. Adverse events lead-
on PANSS total scores) than with placebo (20.0%).                          ing to srudy discontinuation occnrred at a similar low inci-
[0145] Based on the intent-to-treat LOCF analysis of the                   dence across treatment groups.
change from baseline to end point without statistical adjust-              [0151) Common treatment-emergent adverse events (e;;:2%
ment for multiplicity, the paliperidone palmitate I 00 and 150             of subjects in any treatment group) that occurred more fre-
mg eq. groups were statistically significantly superior to the             quently in the total paliperidone palmitate group (all 3 active
placebo group for all 5 PANSS Marder factors (p<0.010). Toe                dose groups combined) than in the placebo-treated subjects
improvements in both negative symptoms and disorganized                    (i.e., ~I% difference between the combined paliperidone
thoughts factor scores were statistically significantly greater            palmitate group and the placebo group) were: injection site
in the paliperidone palm.itate 25 mg eq. group compared with               pain, dizziness, sedation, pain in extremity, and myalgia. An
placebo (p=0.032).                                                         examination of treatment-emergent adverse events of poten-
[0146) Based on the intent-to-treat LOCF analysis using an                 tial clinical importance revealed no reports of seizure or con-
ANCOVA model with no adjustment for multiplicity, the                      vulsion, tardive dyskinesia, dermatologic events, neuroleptic
mean improvement in sleep quality in the paliperidone palm.i-              malignant ~-yndrome, hyperlhermia, anaphylactic reaction,
rate JOO mg eq. and 150 mg eq. groups were statistically                   rhabdomyolysis, syndrome of inappropriate secretion of
significant (p<0.001 and p=0.026, respectively) when com-                  antidiuretic hormone, ventricular tachycardia, ventricular
pared with placebo. The mean changes in daytime drowsiness                 fibrillation, or torsades de pointes.
in the paliperidone palmitate treatment groups were not sta-               [0152] In general, the type and incidence of treatment-
tistically significantly different from that in the placebo group          emergent adverse events did not differ as a function of base-
(25 mg eq.: p=0.541; JOO mg eq.: p=0.340; 150 mg eq.:                      line BM! categories (normal: <25 kg/m1 ; overweight: e;;:25 to
p=0.261).                                                                  <30 kg/m1; obese: ~30 kg/m2).
[0147] Safety Results Paliperidone palmitate, injected at a                [0153] The incidence of treatment-emergent EPS-related
dose of 150 mg eq. into the deltoid muscle followed by 3 i.m.              adverse events was low and comparable to placebo. Akathisia

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was the most frequently reported EPS-related adverse event              subjects, such as those from a particular country. An indepen-
(4.9"/4 for the placebo group and 1.:1%, 4.8%, 5.5% for the             dent, centrali7.ed blinded rating service was used for perform-
paliperidone palmitate 25, 100, and 150 mg eq. groups,                  ing all ratings of PANSS, PSP and CGJ-S for all subjects
respectively). None of the EPS-related adverse events                   enrolled at U.S. sites. The iuvestigators at these sites did not
reported in subjects receiving paliperidone palmitate were              complete any of the ratings, which would have provided a
serious or treatment limiting, and only I was severe (muscu-            reference for ratings provided by the rating service. Thus,
loskeletal stiffness). Results of EPS rating scales and use of          data from this study cannot be used to fully evaluate the utility
anti-EPS medication were consistent in indicating that pali-            of using blinded independent raters for detecting treatment
peridone palmitate was associated with a low incidence of               differences.
EPS.                                                                    (0161) CONCLUSION: All 3 doses of paliperidone palmi-
(0154) No clinically relevant mean changes from baseline                tate tested in th.is study-25, 100, and 150 mg eq. -were
to end point in supine or standing pulse rates were apparent            efficacious in adult subjects with schizophrenia who were
for any of the paliperidone palmitate doses. A similar, low             experiencing acutely exacerbated schizophrenia. Specifi-
percentage of subjects had pulse rate of~ 100 bpm with an               cally, the results of the primary efficacy endpoint (change
increase of~I5 bpm in the placebo and paliperidone palmi-               from baseline to end point in PANSS total score) demon-
tate groups (6% to 11% for standing measurements; 2% to 5%              strated statistical superiority of palipericlone pa Imitate 25 mg
for supine measurements).                                               eq., 100 mg eq., and 150 mg eq. over placebo. Significantly
(0155) Assessment of ECG data did not demonstrate evi-                  greater improvement in subjects' personal and social func-
dence of clinically significant QTc prolongation with pali-             tioning (as measured by the PSP score) was also seen for the
peridone palmitate at doses up to 150 mg eq. No subject had             paliperidone palmitate 100 mg eq. and 150 mg eq. doses
a maximum QTcLD value >480 ms or a maximal change in                    compared with placebo, and global improvement was V'dli-
QTcLD>60 ms during the study.                                           dated by a favorable and statistically significant CGI-S
[0156) The increases in body weight with paliperidone                   change for these 2 dose groups. There was a dose response in
palmitate over the 13-week double-blind treatment period                the primary and secondary efficacy endpoints (PANSS, PSP,
were modest in a dose-related manner, averaging 0.4, 0.7, and           and CGI-S). All 3 doses of paliperidone palmitate, including
1.4 kg for the 25 mgeq., IOOmgeq., and 150mgeq. groups,                 the highest dose of 150 mg eq., were well tolerated, suggest-
respectively (-0.2 kg for placebo); corresponding mean                  ing a positive benefit-risk ratio across the dose raugecurrently
changes in BMI from baseline to end point were 0.1, 0.3, and            studied. No new safety signal was detected.
0.5 kg/m2 , respectively (-0.I kg/m2 for placebo). A clinically
relevant weight increase ofat least 7¾ relative to baseline was                                    FIGURES
seen in 13% of subjects receiving the highest dose of pali-             [0162) FIGS. 1-3 graphically presents the observed versus
peridone palmitate (compared with 5% for placebo).                      population pharmacokinetics model simulation for plasma
 (0157] Consistent with the known pharmacology of pali-                 paliperidone concentrations. The line indicates the median
peridone, increases in pmlactin levels were observed with               values calculated from population pharmacokinetic simula-
greater frequency in subjects who received paliperidone                 tion. The shading indicates 90% prediction interval represent-
palmitate, with the largest increase seen in the 150 mg eq.             ing the between and within subject, variability obtained using
group. Overall, there was a low incidence of potentially pro-           the population pharmacokinetic simulation. The circles indi-
lactin-related adverse events, despite the known propensity of          cate observed plasma paliperidone concentrations. The
 paliperidone palmitate to increase serum prolactin levels.             arrows indicate the days when paliperidone palmitate injec-
This suggests that the clinical importance of this increase in          tion was given. As is apparent from the Figures the plasma
serum prolactin levels is ofquestiona hie clinical significance.        profiles provided by initiating paliperidone with 150 mg eq.
 [0158) Based on mean changes from baseline to end point                followed by a subsequent dose of 100 or ISO for days 1-36
 and the occurrence of treatment-emergent markedly abnor-               provide a rapid rise to a therapeutic dose levels. Most prefer-
mal laboratory test values and adverse events related to abnor-         ably the dosing of palipcriclone to patients should be main-
mal laboratory analyte findings, except for prolactin, the              tained within :25%, preferably 20"/o of the median plasma
effects of paliperidone palmitate on the results of chemistry           concentrations provided in these figures for days 1-36. For
and hematology laboratory tests (including liver and renal              patients whose dosing continues at I 00 mg eq. the preferably
function tests, serum lipid levels, and glucose levels) did not         the dosing of palipericlone to patients should be maintained
show clinically relevant differences 'from those of placebo.            within :25%, preferably 20% of the median plasma concen-
 (0159) Local injection site tolerability was good. Occur-              trations provided in FIG. 2 for days 1-64. For patients whose
 rences of induration, redness, or swelling as assessed by              dosing continues at 150 mg eq. the preferably the dosing of
 blinded study personnel were infrequent, generally mild,               paliperidone to patients should be maintained within :25%,
 decreasing over time, and similar in incidence for the pali-           preferably 20% of the median plasma concentrations pro-
 peridone palmitate and placebo groups. Investigator ratings            vided in FIG. 3 for days 1-64.
 of injection pain were similar for the placebo and paliperi-              We claim:
 done palmitate groups.                                                    1. A dosing regimen for administering paliperidone palmi-
 (0160) STUDY LIMJTATIONS: This study investigated                      tate lo a psychiatric patient in need oftreatment comprising
 the efficacy and safety of paliperidone palmitate for acute               (I) administering intramuscularly in the deltoid ofa patient
 treatment of schizophrenia over 13 weeks and does not pro-                   in need of treatment a first loading dose of from about
 vide information on longer term treatment. The study was not                 100 mg-eq. to about 150 mg-eq. ofpaliperidone as pali-
 designed to detect differences between doses of paliperidone                 peridone palmitate formulated in a sustained release
 palmitate; thus, dose-related trends in efficacy and safety can              formulation on the first day of treatment;
 only be described descriptively. The study was also not                   (2) administering intramuscularly in the deltoid muscle of
 designed to demonstrate efficacy for specific subgroups of                   the patient in need oftreatment a second loading dose of

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       from about JOO mg-eq. to about 150 mg-eq. ofpaliperi-             lion-Deficit/Hyperactivity Disorder Combined Type
       done as paliperidone palmitate formulated in a sustained          (314.0 I), Attention-Deficit/Hyperactivity Disorder l:>redomj.
       release fommlation on the 6th to about I 0th day of treat-        nately Inattentive Type (314.00), Attention-Deficit/Hyperac-
       ment; and                                                         tivity Disorder Predorinately Hyperactive-Impulsive Type
   (3) administering intramuscularly in the deltoid or gluteal           (314.01), Attention-Deficit/Hyperactivity Disorder NOS
       muscle of the patjent in need oftreatment a maintenance           (314.9), Conduct Disorder (Chlldhood-Onset and Adolescent
       doseofabout 25 mg-eq. to about 150mg-eq. ofpaliperi-              Type 312.8), Oppositional Defiant Disorder (313.81), Dis-
       done as paliperidone palntltate in a sustained release            ruptive Behavior Disorder Not Otherwise Specified (312.9),
       formulation on about the 34th to about the 38th day of            Solitary Aggressive Type (312.00), Conduct Disorder, Undif-
       treatment.                                                        ferentiated Type (3 12.90), Tourette's Disorder (307.23),
   2. The method ofclaim 1 wherein the mruntenance dose of
                                                                         Chronic Motor Or Vocal Tic Disorder (307 .22), Transient Tic
a sustained release formulation of paliperidone palritate is
adminjstered monthly in the deltoid or gluteal muscle of the             Disorder (307.21), Tic Disorder NOS (307.20), Alcohol
psychiatric patient in need after the 30'h day of treatment.             Intoxication Deljrium (291.0), Alcohol Withdrawal Delirium
   3. The method of claim 1 wherein the sustained release                (29 I .0),Alcohol-lnduced Persisting Dementia (291.2), Alco-
formulation is an aqueous oauopartjcle suspension.                       hol-Induced Psychotic Disorder with Delusions (291.5),
   4. A dosing regimen for admjn.istering paliperidooe palntl-           Alcohol-Induced Psychotic Disorder with Hallucinations
tate to a psychiatric patient in need of treatment comprising            (291.3), Amphetamine or Similarly Acting Sympathomi-
   (a) administering intramuscularly in the deltoid ofa patieut          metic Intoxication (292.89), Amphetamjoe or Sirilarly Act-
       in need of treatment a first loading dose of from about           ing Sympathorimetic Delirium (292.81), Amphetamjne or
       100 mg-eq. to about 150 mg-eq. ofpaliperi<looe as pali-           Sirilarly Acting Sympathorimetic Induced Psychotic with
       peridooe palntltate formulated in a sustained release             Delusional (292.1 1), Amphetamjne or Sirilarly Acting Sym-
       formulation on the first day of treatment;                        pathorimetic Induced Psychotic with Hallucinations (292.
   (b) admjn.isteriog intramuscularly in the deltoid muscle of           12), Cannabis-Induced Psychotic Disorder with Delusions
       the patient in need oftreatment a second loading dose of          (292.1 1), Cannabis-Induced Psychotic Disorder with Hallu-
       from about 100 mg-eq. to about 150 mg-eq. ofpaliperi-             cinations (292.12), Cocaine Intoxjcatioo (292.89), Cocaine
       dooe as paliperidooe palntltate formulated in a sustained         Intoxication Delirium (292.81), Cocaine-Induced Psychotic
       release formulation on the eighth day of treatment; and           Disorder with Delusions (292.11), Cocaine-Induced Psy-
                                                                         chotic Disorder with Hallucinations (292.12), Hallucinogen
   (c) administering intramuscularly in the deltoid or gluteal
       muscle of the patient in need oftreatment a maintenance           Intoxication (292.89), Hallucinogen Jotoxjcation Delirium
                                                                         (292.81), Hallucinogen-Induced Psychotic disorder with
       doseofabout 25 mg-eq. to about 150mg-eq. ofpaHperi-
                                                                         Delusions (292.1 1), Hallucinogen-Induced Psychotic disor-
       dooe as paHperidone palntltate in a sustained release
                                                                         der with Delusions (292.12), Hallucinogen-Induced Mood
       formulation on about the 36th day of treatment.
                                                                         Disorder (292.84), Hallucinogen-Induced Anxiety Disorder
   5. The method of claim 4 wherein the sustained release
                                                                         (292.89), Hallucinogen-Related Disorder Not Otherwise
formulation is an aqueous oanoparticlc suspension.
                                                                         Specified (292.9), Inhalant Intoxkation (292.89), Inhalant
    6. The method of clrum 4 wherein the first loading dose is
                                                                         Intoxication Delirium (292.81), Inhalant-Induced Persisting
150 mgs-eq. of paliperidooe as paliperidone pa)mjtate.                   Dementia (292.82), Inhalant-Induced Psychotic Disorder
   7. The method of claim 4 wherein the first loading dose is
                                                                         with Delusions (292.11), Inhalant-Induced Psychotic with
100 mg-eq. ofpaliperidooe as paliperidone palmitate.                     Hallucinations (292.12), Inhalant-Induced Mood Disorder
   8. The method ofclaim 4 wherein the second loading dose               (292.89), Inhalant-Induced Anxiety Disorder (292.89), Inhal-
is 150 mg-eq. of paliperi<lone as paHperi<lone palmitate.                ant-Related Disorder Not Otherwise Specified (292.9),
   9. The method ofclaim 4 wherein the second loading dose               Opioid lntoxjcatioo Delirium (292.81 ), Opioid-Induced Psy-
is I 00 mg-cq. of palipcridonc as palipcridonc paJmjtatc.                chotic Disorder with Delusions (292.11 ), Opioid Intoxication
   10. The method of clrum 4 wherein the first loading dose              Delirium (292.81), Opioid-Induced Psychotic Disorder with
and the second loading dose are 150 mg-eq. ofpaliperidone as             Hallucinations (292.12), Opioid-Induced Mood Disorder
paliperidone pa Imitate.                                                 (292.84), Phcncyclidinc (PCP) or Similarly Acting Arylcy-
   11. The method of claim 4 wherein the first loading dose              clohexylamine Intoxication (292.89), Phencyclidine (PCP)
and the second loading dose are 150 mg of paliperidone as                or Similarly Acting Arylcyclohexylamjoe lotoxjcatioo
paliperidooe palntltate.                                                 Delirium (292.81), Phencyclidine (PCP) or Sirilarly Acting
   12. The method of claim 4 wherein the psychiatric patient             Arylcyclohexylamfoe Induced Psychotic Disorder with
is in need of treatment for psychosis.                                   Delusions (292.1 1), Phencyclidine (PCP) or Sirilarly Acting
   13. The method of claim 4 wherein the psychiatric patient             Arylcyclohcxylamjnc Induced Psychotic Disorder with Hal-
is in need of treatment for schizophrenia.                               lucinations (292.12), Phencyclidine (PCP) or Simjlarly Act-
    14. The method of claim 4 wherein the psychiatric patient            ingArylcyclohexylamioe Mood Disorder(292.84), Phencyc-
is in need of treatment for bipolar disorder.                            liwne (PCP) or Sirilarly Acting Arylcyclohexylamjoe
    15. The method of claim 4 wherein the psychlatric patient            Induced Awtiety Disorder (292.89), Phencyclidine (PCP) or
is in need oftreatment for a mental disorder selected from the           Sirilarly ActingArylcyclohexylamjoe Related Disorder Not
group consisting ofMild Mental Retardation (317), Moderate               Otherwise Specified (292.9), Sedative, Hypnotic or Aoxj.
Mental Retardation (318.0), Severe Mental Retardation (3 I 8.            olytic Intoxication (292.89), Sedation, Hypnotic or Aruti-
1), Profound Mental Retardation (318.2), Mental Retardation              olytic Intoxication Delirium (292.81), Sedation, Hypnotic or
Severity Unspecified (319), Autistic Disorders (299.00),                 Auxjolytic Withdrawal Delirium (292.81 ), Sedation, Hyp-
Rell's Disorder (299 .80), Chll<lhoo<l Disintegrntive Disorders          notic or Anxiolytic Induced Persisting Dementia (292.82),
(299.10), Asperger's Disorder (299.80), Pervasive Develop-               Sedation, Hypnotic or Anxiolytic-Induced Psychotic Disor-
mental Disorder Not Otherwise Specified (299.80), Atten-                 der with Delusions (292.1 I), Sedation, Hypnotic or Aoxj.

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olytic-Ioduced Psychotic Disorder with Hallucinations (292.                        dose of about 25 mg-eq. to about 75 mg~q. of paliperi-
12), Sedation, Hypnotic or Anxiolytic-Jnduced Mood                                 done as paliperidone palmitate in a sustained release
Disorder(292.84), Sedation, Hypnotic or Anxiolytic-Induced                         formulation on about the 34th to about the 38th day of
Anxiety Disorder (292.89), Other (or Unknown) Substance                            treatment.
Intoxication (292.89), Other (or Unknown) Substance-In-                         18. The method of claim 17 wherein the maintenance dose
duced Delirium (292.81), Other (or Unknown) Substance-                      ofa sustained release formulation of paliperidone palmitate is
Induced Persisting Dementia (292.82), Other (or Unknown)                    administered monthly in the deltoid or gluteal muscle of the
Substance-Induced Psychotic Disorder with Delusions (292.                   psychiatric patient in need after the 30'" day of treatment.
11 ), Other (or Unknown) Substance-Induced Psychotic Dis-                       19. The method of claim 17 wherein the sustained release
order with Hallucinations (292.12), Other (or Unknown)                      formulation is an aqueous nanoparticle suspension.
Substance-Induced Mood Disorder (292.84), Other (or                             20. A dosing regimen for administering paliperidone
Unknown) Substance-Induced Anxiety Disorder (292.89),                       palmitate to a renally impaired psychiatric patient in need of
Other (or Unknown) Substance Disorder Not Otherwise                         treatment comprising
Specified (292.9), Obsessive Compulsive Disorder (300.3),                       (a) administering intramuscularly in the deltoid ofa renally
Post-traumatic Stress Disorder (309.81), Generali:red Amci-                        impaired psychiatric patient in need of treatment a first
ety Disorder (300.02), Anxiety Disorder Not Otherwise                              loading dose offrom about 75 mg-eq. of paliperidone as
Specified (300.00), Body Dysmorphic Disorder (300.7),                              paliperidone palmitate formulated in a sustained release
Hypochondriasis (or Hypochondriacal Neurosis) (300.7),                             formulation on the first day of treatment;
Somatization Disorder (300.81 ), Undifferentiated Somato-                       (b) administering intramuscularly in the deltoid muscle of
form Disorder (300.81), Somatoform Disorder Not Other-                             the patient in need oftreatment a second loawng dose of
wise Specified (300.81), Intermittent Explosive Disorder                           from about 75 mg~q. of paliperidone as paliperidone
(312.34), Kleptomania (312.32), Pathological Gambling                              palmitate formulated in a sustained relea~e formulation
(312.31), Pyromania (312.33), Trichotillomania (312.39),                           on the eighth day of treatment; and
and Impulse Control Disorder NOS (3 12.30), Schizophrenia,                      (c) ad.tnin.istering intrdliluscularly in the deltoid or gluteal
Paranoid Type, (295.30), Schi7-.0phrenia, Disorganized (295.                       muscle of the patient in need of treatment a maintenance
10), Schizophrenia, Catatonic Type, (295.20), Schizophrenia,                       dose of about 25 mg-eq. to about 50 mg~q. of paliperi-
Undifferentiated Type (295.90), Schizophrenia, Residual                            done as paliperidone palmitate in a sustained release
Type (295.60), Schizophreniform Disorder (295.40),                                 formulation on about the 36th day of treatment.
Schizoaffective Disorder (295.70), Delusional Disorder (297.                    21. The method of claim 20 wherein the sustained release
1), Brief Psychotic Disorder (298.8), Shared Psychotic Dis-                 formulation is an aqueous nanoparticle suspension.
order (297 .3), Psychotic Disorder Due to a General Medical                     22. The method ofclaim 20 wherein the psychiatric patient
Condition with Delusions (293.81), Psychotic Disorder Due                   is in need of treatment for psychosis.
to a General Medical Condition with Hallucinations (293 .82),                   23. The method of claim 4 wherein the psychiatric patient
Psychotic Disorders Not Otherwise Specified (298.9), Major                  is in need of treatment for schizophrenia.
Depression, Single Episode, Severe, without Psychotic Fea-
                                                                                24. The method ofclaim 4 wherein the psychiatric patient
tures (296.23), Major Depression, Recurrent, Severe, without                is in need of treatment for bipolar disorder.
Psychotic Features (296.33), Bipolar Disorder, Mixed,
                                                                                25. The method of claim 4 wherein the psychiatric patient
Severe, without Psychotic Features (296.63), Bipolar Disor-
                                                                            is in need oftreatment for a mental wsorder selected from the
der, Mixed, Severe, with Psychotic Features (296.64), Bipo-
                                                                            group consisting ofMild Mental Retardation (317), Moderate
lar Disorder, Manic, Severe, without Psychotic Features (296.
                                                                            Mental Retardation (318.0), Severe Mental Retardation (318.
43), Bipolar Disorder, Manic, Severe, with Psychotic
                                                                             1), Profound Mental Retardation (318.2), Mental Retardation
Features (296.44), Bipolar Disorder, Depressed, Severe,
                                                                             Severity Unspecified (319), Autistic Disorders (299.00),
without Psychotic Features (296.53), Bipolar Disorder,
                                                                             Rett's Disorder (299 .80), Childhood Disintegrative Disorders
Depressed, Severe, with Psychotic Features (296.54), Bipolar
                                                                             (299 .I 0), Asperger's Disorder (299 .80), Pervasive Develop-
II Disorder (296.89), Dipolar Disorder Not Otherwise Speci-
                                                                            mental Disorder Not Otherwise Specified (299.80), Atten-
fied (296.80), Personality Disorders, Paranoid (301.0), Per-
                                                                            tion-Deficit/Hyperactivity Disorder Combined Type
sonality Disorders, Schizoid (301.20), Personality Disorders,
                                                                             (314.01), Attention-Deficit/Hyperactivity Disorder Predomi-
Schizotypal (301 .22), Personality Disorders,Antisocial (301.
                                                                            nately Inattentive Type (314.00), Attention-Deficit/Hyperac-
7), and Personality Disorders, Borderline (301 .83).
                                                                             tivity Disorder Predominately Hyperactive-Impulsive Type
   17. A dosing regimen for administering paliperidone                       (314.01), Attention-Deficit/Hyperactivity Disorder NOS
palmitate to a renally impaired psychiatric patient in need of               (314.9), Conduct Disorder (Childhood-Onset and Adolescent
treatment comprising                                                         Type 312.8), Oppositional Defiant Disorder (313.81), Dis-
    (a)ad.tnin.istering intrdliluscularly in the deltoid ofa renally        ruptive Behavior Disorder Not Otherwise Specified (312.9),
       impaired psychiatric patient in need of treatment a first             Solitary Aggressive Type (312.00), Conduct Disorder, Undil~
       loading dose of from about 75 mg~q. ofpaliperidone as                 ferentiated Type (31 2.90), Tourette's Disorder (307.23),
       paliperidone palmitate formulated in a sustained release              Chronic Motor Or Vocal 1ic Disorder (307 .22), Transient 1ic
       formulation on the first day of treatment;                            Disorder (307.21), 1ic Disorder NOS (307.20), Alcohol
    (b) administering intramuscularly in the deltoid muscle of               Intoxication Delirium (291.0), Alcohol Withdrawal Delirium
       the patient in need of treatment a second loading dose of             (291 .0), Alcohol-Induced Persisting Dementia (291 .2), Alco-
       from about 75 mg~q. of paliperidone as paliperidone                   hol-1 nduced Psychotic Disorder with Delusions (291.5),
       palmitate formulated in a sustained release formulation               Alcohol-Induced Psychotic Disorder with Hallucinations
       on the 6'" to about 10th day of treatment; and                        (291.3), Amphelamine or Similarly Acting Sympathomi-
    (c) administering intramuscularly in the deltoid or gluteal              metic Intoxication (292.89), Amphetamine or Similarly Act-
       muscle ofthe patient in need oftreatment a maintenance                ing Sympathomimetic Delirium (292.81), Amphetamine or

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Similarly Acting Sympathomimetic Induced Psychotic with               form Disorder (300.81 ), Somatoform Disorder Not Other-
Delusional (292.11 ), Amphetamine or Similarly Acting Sym-            wise Specified (300.81 ), Intermittent Explosive Disorder
pathomimetic Induced Psychotic with Hallucinations (292.              (312.34), Kleptomania (312.32), Pathological Gambling
12), Cannabis-Induced Psychotic Disorder with Delusions               (312.31), Pyromania (312.33), Trichotillomania (312.39),
(292.J I), Cannabis-Induced Psychotic Disorder with Hallu-            and Impulse Control Disorder NOS (312.30), Schizophrenia,
cinations (292. 12), Cocaine Intoxication (292.89), Cocaine           Paranoid Type, (295.30), Schizophrenia, Disorganized (295.
Intoxication Delirium (292.81), Cocaine-Induced P,-ychotic            JO), ~chizo~hrenia, Catatonic Type, (295.20), Schizophrenia,
Disorder with Delusions (292.J I), Cocaine-Induced Psy-               Undifferen!Jated Type (295.90), Schizophrenia, Residual
chotic Disorder with llallucinations (292.1 2), Ilallucinogen         Type (295.60), Schizophreniform Disorder (295.40),
Intoxication (292.89), Hallucinogen Intoxication Delirium             Schizoaffective Disorder(295.70), Delusional Disorder (297.
                                                                      ! ), Brief Psychotic Disorder (298.8), Shared Psychotic Dis-
(292.81), Hallucinogen-Induced Psychotic disorder with
                                                                      order (297.3), Psychotic Disorder Due to a General Medical
Delusions (292.1 !), Hallucinogen-Induced Psychotic disor-            Condition with l)elusions (293.81), Psychotic l)isorder Oue
der w ith Delusions (292.12), Hallucinogen-Induced Mood               to a Gen~ral ~edical Condition with Hallucinations (293.82),
Disorder (292.84), Hallucinogen-Induced Anxiety Disorder              Psychotic Disorders Not Otherwise Specified (298.9), Major
(292.89), Hallucinogen-Related Disorder Not Otherwise                 Depression, Single Episode, Severe, without Psychotic Fea-
Specified (292.9), Inhalant Intoxication (292.89), Inhalant           tures (296.23), Major Depression, Recurrent, Severe without
Intoxica~on Delirium (292.81), Inhalant-Induced Persisting            Psychotic Features (296.33), Bipolar Disorder,' Mixed,
Dementia (292.82), Inhalant-Induced Psychotic Disorder                Severe, without Psychotic Features (296.63), Bipolar Disor-
with Delusions (292.I !), Inhalant-Induced Psychotic with
                                                                      der, Mixed, Severe, with Psychotic Features (296.64), Bipo-
Hallucinations (292.12), Inhalant-Induced Mood Disorder               lar Disorder, Manic, Severe, without Psychotic Features (296.
(292.89), Inhalant-Induced Anxiety Disorder (292.89), Inhal-          43), 13ipolar Disorder, Manic, Severe, with Psychotic
ant-Related Disorder Not Otherwise Specified (292.9),                 Features (296.44), Bipolar Disorder, Depressed, Severe
Opioid Intoxication Delirium (292.8 I), Opioid-Induced Psy-           without Psychotic Features (296.53), Bipolar Disorder'.
chotic Disorder with Delusions (292. 1! ), Opioid Intoxication        Depressed, Severe, with Psychotic Features (296.54), Bipolar
Delirium (292.81), Opioid-Induced Psychotic Disorder with             Tl Disorder (296.89), Bipolar Disorder Not Otherwise Speci-
Hallucinations (292.12), Opioid-Induced Mood Disorder                 fied (296.80), Personality Disorders, Paranoid (301.0), Per-
(292.84), Phencyclidine (PCP) or Similarly Acting Arylcy-
                                                                      son~lity Disorders, Schizoid (301 .20), Personality Disorders,
clohexylamine Intoxication (292.89), Phencyclidine (PCP)              Schizotypal (301 .22), Personality Disorders,Antisocial (301.
or Similarly Acting Arylcyclohcxylaminc Intoxication                  7), and Personality Disorders, Borderline (301.83).
Delirium (292.81), Phencyclidine (PCP) or Similarly Acting
                                                                          26. A dosing regimen for administering paliperidone
Arylcyclohexylamine Induced Psychotic Disorder with
                                                                      palmitate to a psychiatric patient in need of treatment com-
Delusions (292.11), Phencyclidine (PCP) or Similarly Acting
                                                                      prising
Arylcyclohexylamine Induced Psychotic Disorder with Hal-
                                                                          (a)_administering intramuscularly in the deltoid ofa patient
lucinations (292.12), Phencyclidine (PCP) or Similarly Act-
                                                                             m need of treatment a first loading dose of about 150
ingArylcyclohexylamine Mood Disorder (292.84), Phencyc-
                                                                             mg-eq. of paliperidone as paliperidone palmitate formu-
lidine (PCP) or Similarly Acting Arylcyclohexylamine
                                                                             lated in a sustained release formulation on the first day of
Induced Anxiety Disorder (292.89), Phencyclidine (PCP) or
                                                                             treatment;
Similarly ActingArylcyclohexylamine Related Disorder Not
Otherwise Specified (292.9), Sedative, Hypnotic or Anxi-                  (b) administering intramuscularly in the deltoid muscle of
olytic Intoxication (292.89), Sedation, Ilypnotic or Anxi-                   the patient in need of treatment a maintenance dose of
                                                                             from about 25 mg-eq. to about 100 mg-eq. of paliperi-
olyti_c Intoxication Delirium (292.81), Sedation, Hypnotic or
                                                                             done as paliperidone palmitate formulated in a sustained
Anxiolytic "".'ithdrawal Delirium (292.81), Sedation, Hyp-
notic _or Anx1olyt~c Induced Persisting Dementia (292.82),                   release formulation on the 6'" to about !Othday oftreat-
Sedauon, Hypnotic or Anxiolytic-lnduced Psychotic Disor-                     ment; and
der with Delusions (292.1 I), Sedation, Hypnotic or Anxi-                 (c) administering intramuscularly in the deltoid or gluteal
olytic-lnduccd Psychotic Disorder with Hallucinations (292.                  muscle ofthe patient in need of treatment a maintenance
12), Sedation, Hypnotic or Anxiolytic-lnduced Mood                           dose ofabout 25 mg-eq. to about I 00 mg-eq. of paliperi-
Disorder(292.84), Sedation, Hypnotic or Anxiolytic-lnduced                   done as paliperidone palmitate in a sustained release
Anxiety Disorder (292.89), Other (or Unknown) Substance                      formulation on about the 34th to about the 38th day of
Intoxication (292.89), Other (or Unknown) Substance-In-                      treatment.
duced Delirium (292.81), Other (or Unknown) Substance-                    27. The method of claim 26 wherein the maintenance dose
Induced Persisting Dementia (292.82), Other (or Unknown)              ofa sustained release formulation of paliperidone palmitate is
Substance-Induced Psychotic Disorder with Delusions (292.             administered monthly in the deltoid or gluteal muscle of the
11), Other (or Unknown) Substance-Induced Psychotic Dis-              psychiatric patient in need after the 30'h day of treatment.
order with Hallucinations (292.1 2), Other (or Unknown)                   28. The method of claim 26 wherein the sustained release
Substance-Induced Mood Disorder (292.84), Other (or                   formulation is an aqueous nanoparticle suspension.
Unknown) Substance-Induced Anxiety Disorder (292.89),                     29. A dosing regimen for administering paliperidone
Other (or Unknown) Substance Disorder Not Otherwise                   palmitate to a psychiatric patient in need of treatment com-
Specified (292.9), Obsessive Compulsive Disorder (300.3),             prising
Post-traumatic Stress Disorder (309.81), Generalized Anxi-                (a) administering intramuscularly in the deltoid ofa patient
ety Disorder (300.02), Anxiety Disorder Not Otherwise                        in need of treatment a first loading dose of about J50
Specified (3_00:00), Body Dysmorphic Disorder (300.7),                       mg-eq. of paliperidone as paliperidone palmitale formu-
llypoc_hon_drias,s (or llypochondriacal Neurosis) (300.7),                   lated in a sustained release formulation on the first day of
Somahzat1on Disorder (300.81), Undifferentiated Somato-                      treatment;

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    (b) administering intramuscularly in the deltoid muscle of         with Delusions (292.11 ), Inhalant-Induced Psychotic with
       the patient in need of treatment a maintenance dose of          Hallucinations (292.12), Jnhalant-lnduced Mood Disorder
       from about 25 mg-eq. to about I 00 mg-eq. of paliperi-          (292.89), Jnhalant-lnducedAnxiety Disorder (292.89), Inhal-
       done as paliperidone palmitate formulated in a sustained        ant-Related Disorder Not Otherwise Specified (292.9),
       release formulation on the eighth day of treatment; and         Opioid Intoxication Delirium (292.81), Opioid-Induced Psy-
    (c) administering intramuscularly in the deltoid or gluteal        chotic Disorder with Delusions (292.11 ), Opioid Intoxication
       muscle of the patient in need oftreatment a maintenance         Delirium (292.81), Opioid-Induced Psychotic Disorder with
       doseofabout 25 mg-eq. to about IOOmg-eq. ofpaliperi-            Hallucinations (292.12), Opioid-Induced Mood Disorder
       done as paliperidone palmitate in a sustained release           (292.84), Phencyclidine (PCP) or Similarly Acting Arylcy-
       formulation on about the 36th day of treatment.                 clohexylamine Intoxication (292.89), Phencyclidine (PCP)
    30. Tue method of claim 29 wherein the sustained release           or Similarly Acting Arylcyclohexylamine Intoxication
formulation is an aqueous nanoparticle suspension.                     Delirium (292.81 ), Phencyclidine (PCP) or Similarly Acting
    31. The method ofclaim 29 wherein the psychiatric patient          Arylcyclohexylamine Induced Psychotic Disorder with
is in need of treatment for psychosis.                                 Delusions (292.11 ), Phencyclidine (PCP) or Similarly Acting
    32. The method ofclaim 29 wherein the psychiatric patient          Arylcyclohexylamine Induced Psychotic Disorder with Hal-
is in need of treatment for schizophrenia.                             lucinations (292.12), Phencyclidine (PCP) or Similarly Act-
    33. The method ofclaim 29 wherein the psychiatric patient          ingArylcyclohexylarnine Mood Disorder (292.84), Phencyc-
is in need of treatment for bipolar disorder.                          lidine (PCP) or Similarly Acting Arylcyclohexylamine
    34. The method ofclaim 29 wherein the psychiatric patient          Induced Anxiety Disorder (292.89), Phencyclidine (PCP) or
is in need oftreatment for a mental disorder selected from the         Similarly Acting Arylcyclohexylamine Related Disorder Not
group consisting ofMild Mental Retardation (317), Moderate             Otherwise Specified (292.9), Sedative, Hypnotic or Anxi-
Mental Retardation (318.0), Severe Mental Retardation (318.            olytic Intoxication (292.89), Sedation, Hypnotic or Anxi-
I ), Profound Mental Retardation (318.2), Mental Retardation           olytic Intoxication Delirium (292.81), Sedation, Hypnotic or
Severity Unspecified (3 I 9), Autistic Disorders (299 .00),            Anxiolytic Withdrawal Delirium (292.81), Sedation, Hyp-
Rett's Disorder (299.80), Childhood Disintegrative Disorders           notic or Anxiolytic Induced Persisting Dementia (292.82),
(299.10), Aspeiger's Disorder (299.80), Pervasive Develop-             Sedation, Hypnotic or Anx.iolytic-!nduced Psychotic Disor-
mental Disorder Not Otherwise Specified (299.80), Atten-               der with Delusions (292.11), Sedation, Hypnotic or Anxi-
tion-Deficit/Hyperactivity Disorder Combined Type                      olytic-Induced Psychotic Disorder with Hallucinatjons (292.
(314.0 I), Attention-Deficit/Hyperactivity Disorder Predomi-            12), Scdatjon, Hypnotic or Anxiolytic-lnduccd Mood
nately Inattentive Type (314.00), Attention-Deficit/Hyperac-           Disorder (292.84), Sedation, Hypnotic or Anxiolytic-Induced
tivity Disorder Predominately Hyperactive-Impulsive Type               Anxiety Disorder (292.89), Other (or Unknown) Substance
(314.01), Attention-Deficit/Hyperactivity Disorder NOS                 Intoxication (292.89), Other (or Unknown) Substance-In-
(314.9), Conduct Disorder (Childhood-Onset widAdolescent               duced Delirium (292.81), Other (or Unknown) Substance-
Type 312.8), Oppositional Defiant Disorder (313.81), Dis-              Induced Persisting Dementia (292.82), Other (or Unknown)
ruptive Behavior Disorder Not Otherwise Specified (3 I 2.9),           Substance-Induced Psychotjc Disorder with Delusions (292.
Solitary Aggressive Type (312.00), Conduct Disorder, Undif-             11), Other (or Unknown) Substance-Induced Psychotic Dis-
ferentiated Type (312.90), Tourette's Disorder (307 .23),              order with Hallucinations (292.12), Other (or Unknown)
Chronic Motor Or Vocal Tic Disorder (307 .22), Transient Tic           Substance-Induced Mood Disorder (292.84), Other (or
Disorder (307.21), Tic Disorder NOS (307.20), Alcohol                  Unknown) Substance-Induced Anxiety Disorder (292.89),
Intoxication Delirium (291 .0), Alcohol Withdrawal Deliriunt           Other (or Unknown) Substance Disorder Not Otherwise
(291.0), Alcohol-Induced Persisting Dementia (291.2), Alco-            Specified (292.9), Obsessive Compulsive Disorder (300.3),
hol-Induced Psychotic Disorder with Delusions (291.5),                  Post-traumatic Stress Disorder (309.81), Generalized Anxi-
Alcohol-Induced Psychotic Disorder with Hallucinations                  ety Disorder (300.02), Anxiety Disorder Not Otherwise
(291.3), Amphetamine or Similarly Acting Sympathomi-                    Specified (300.00), Body Dysmorphic Disorder (300.7),
metic Intoxication (292.89), Amphetamine or Similarly Act-              Hypochondriasis (or Hypochondriacal Neurosis) (300.7),
 ing Sympathomimctic Delirium (292.81), Amphetamine or                  Somatization Disorder (300.8 I), Undifferentiated Somato-
Similarly Acting Sympathomimetic Induced Psychotic with                 form Disorder (300.81), Somatoform Disorder Not Other-
Delusional (292.11 ), Amphetamine or Similarly Acting Sym-             wise Specified (300.81 ), Intermittent Explosive Disorder
pathomimetic Induced Psychotic with Hallucinations (292.                (312.34), Kleptomania (312.32), Pathological Gambling
 12), Cannabis-Induced Psychotic Disorder with Delusions                (312.31), Pyromania (312.33), Trichotillomania (312.39),
(292.11 ), Cannabis-Induced Psychotic Disorder with Hallu-             and Impulse Control Disorder NOS (312.30), Schizophrenia,
cinations (292.12), Cocaine Intoxication (292.89), Cocaine              Paranoid Type, (295.30), Schizophrenia, Disorganized (295.
 Intoxication Delirium (292.81), Cocaine-Induced Psychotic              10), Schizophrenia, Catatonic Type, (295.20), Schizophrenia,
 Disorder with Delusions (292.11 ), Cocaine-Induced Psy-                Undifforentiated Type (295.90), Schizophrenia, Residual
chotic Disorder with Hallucinations (292.12), Hallucinogen              Type (295.60), Schizophreniform Disorder (295.40),
 Intoxication (292.89), Hallucinogen Intoxication Delirium              Schizoaffectjve Disorder (295. 70), Delusional Disorder (297.
 (292.81), Hallucinogen-Induced Psychotic disorder with                 I), Brief Psychotic Disorder (298.8), Shared Psychotic Dis-
 Delusions (292.1 1), Hallucinogen-Induced Psychotic disor-             order (297.3), Psychotic Disorder Due to a General Medical
der with Delusions (292.12), Hallucinogen-Induced Mood                  Condition with Delusions (293.81), Psychotic Disorder Due
 Disorder (292.84), Hallucinogen-Induced Anxiety Disorder               to a General Medical C,0ndition with Hallucinations (293.82),
 (292.89), Hallucinogen-Related Disorder Not Otherwise                  Psychotic Disorders Not Otherwise Specified (298.9), Major
 Specified (292.9), lnhalwit Intoxication (292.89), lnhalwil            Depression, Single Episode, Severe, without Psychotic Fea-
 Intoxication Delirium (292.81), Inhalant-Induced Persisting            tures (296.23), Major Depression, Recurrent, Severe, without
 Dementia (292.82), Inhalant-Induced Psychotic Disorder                 Psychotic Features (296.33 ), Bipolar Disorder, Mixed,

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Severe, without Psychotic Features (296.63), Bipolar Disor-          II Disorder (296.89), Bipolar Disorder Not Otherwise Speci-
der, Mixed, Severe, with Psychotic Features (296.64), Bipo-          fied (296.80), Personality Disorders, Paranoid (301 .0), Per-
lar Disorder, Manic, Severe, without Psychotic Features (296.        sonality Disorders, Schi1.oid (301.20), Penmnality Oisorders,
43), Bipolar Disorder, Manic, Severe, with Psychotic                 Schizotypal (301.22), Personality Disorders, Antisocial (301.
Features (296.44), Bipolar Disorder, Depressed, Severe,              7), and Personality Disorders, Borderline (301.83).
without Psychotic Features (296.53), Bipolar Disorder,
Depressed, Severe, with Psychotic Features (296.54), Bipolar                               • • • • •




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c12) Patent Application Publication                                         (10) Pub. No.: US 2011/0105536 Al
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(54)    DOSL~G REGIMEN ASSOCIATED WITH                                                   Publication Classification
        LONG-ACTING INJECTABLE
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        PALIPERIDOl\°E ESTERS
                                                                            A61K 31/519                    (2006.01 )
(76)    Inventors:       Peter B. Lewyn-Brlscoe,                            A61P 25/18                     (2006.01 )
                         Newtown, PA (US); Crlstlana
                         Gassmann-Maycr, Pennington, NJ
                         (US); Srlharl Gopal, Belle Meade,          (52)    U.S. C l. ................................................... 514/259.41
                         NJ (US); David W. Hough,
                         Wallingford, PA (US); Bart M .M.
                         Remmerle, Gent (BE); M11hesh N.            (57)                          ABSTRACT
                         Samtanl, l'lemington, NJ (US)
                                                                   "lbe present applicatfon provides a method for treating
(21 )   Appl. No.:       12/916,910
                                                                   patients in need of psychiatric treatment, wherein said patient
(22)    Filed:           Nov. I, 2010                              misses a stabilized dose ofa monthly maintenance regimen of
                 Related U.S. Appllcatlon Data                     paliperidone palmitate. The present application also provides
                                                                   a method for treating psychiatric patients in need ofa switch-
(60)    Provisional application No. 61/256,696, filed on Oct.      ing treatment to paliperidone palmitate in a sustained release
        30, 2009.                                                  formulation.




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                                   FIG. 1

                                            First-Order
                                             Process
    (1-F2 ) •Dose1M
                                                KA       Cp        V     CL
                 ALAG1           IM Depot   1----~         Central



                                         D2
                         F2 •Dose1M _ _ _ _ ____,
                                     Zero-Order
                                      Process




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                                                              FIG. 2
                                                          --25mgeq
                                                          --50mgeq
                                                          --100mgeq
                                                          - - 150mgeq

           Missed dose on Wf.. 4. Patient returns on Wk 5 Missed dose onWk 4. Patient returns on Wf.. 6
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                                                          FIG. 5

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                          mm DailyExtended Release Paliperidone (lnvega 6mg)
                          LW 6-mg lnvega switched to 150/100 mg eq. Pali-Palmitate

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                          [II] 6-mg lnvega switched over to 150 mg eq. Pali-Palmitate
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                                        FIG. 6

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      DOSING REGIMEN ASSOCIATED WITH                                10007) Paliperidone palmitate is an atypical antipsychotic
          T,ONG-ACTING TN,JF.CTART,E                                drug administered by injection. Paliperidone palmitate may
             PALIPERIDONE ESTERS                                    be administered at flexible injection sites including gluteal or
                                                                    deltoid muscle. Previous oil-based antipsychotic agents are
           CROSS REFERENCE TO RELATED                               indicated for gluteal muscle injection and may be associated
                  APPLICATJONS                                      with pain on injection, which may cause undesired effects of
                                                                    needle phobia and perceived injection pain. This may reduce
[0001] '!bis application claims the benefit of U.S. Provi-          patients' acceptance towards these medications and result in a
sional Application 61/256,696, filed on Oct. 30, 2009, which        negative influence on the clinical management of these
is incorpordle by reference herein in its entirety.
                                                                    patients. The administration ofpaliperidone palmitate at flex-
                                                                    ible injection sites mny improve patients' acceptance nod
               FJELD OF THE lNVENTION
                                                                    compliance to psychotic treatment.
[0002] '!bis invention relates to a method for treating             [0008] Jn addition, paliperidone palmitate provides ben-
patients in need of switching treatment from other antipsy-         efits of sustained dose release in plasma without significant
chotic drug to long-acting injectable paliperidone palmitate        concentration variation, regular monitor, reduced side effects
formulations.                                                       and increased treatment efficacy. The administration of pali-
                                                                    peridone palmitate may improve effectiveness of psychotic
          BACKGROUND OF THE INVENTION                               treatment.
                                                                    [0009] Therefore, there may be an increasing demand to
[0003) Antipsychotic medications are the mainstay in the            switch treatment of patients in need thereof from oral or
treatment of schizophrenia, schizoaffective disorder, and           injectable antipsychotic drugs 10 paliperidone palmitale. Fur-
schizophreniform disorders. Conventional antipsychotics
                                                                    ther, there is a need to reinitiate a dosing regimen for patients
were introduced in the mid-1950s. These typical or first gen-       who misses their maintenance or stabiliz.ed dose. Thus, the
eration drugs are usually effective in controlling the positive
                                                                    objective of the present application is to provide a dosing
symptoms of schizophrenia, but are less effective in moder-         regimen of paliperidone palmitate for patients in need of a
ating the negative symptoms or the cognitive impainnent             treatment switching from other antipsychotic agents to pali-
associated with the disease. Atypical antipsychotics or sec-
                                                                    peridone palmitate. Another objective of the present applica-
ond generation drugs, typified by risperidone and olanzapine,
                                                                    tion is to provide a dosing regimen of paliperidone palmitate
were developed in the 1990s, and are generally characterized        for patients who have missed the monthly maintenance or
by effectiveness against both the positive and negative symp-
                                                                     stabilized dosing regimen of paliperidone palmitate.
l0tns associated with schimphrenia.
(0004) Paliperidone palmitate is the palmitate ester of pali-                    SUMMARY OF THE INVENTION
peridone (9-hydroxy-risperidone), a monoaminergic antago-
nist that exhibits the characteristic dopamine D2 and seroto-       1001 OJ In one embodiment of the present application a dos-
nin (5-hydroxytryptamine type 2A) antagonism ofthe second           ing regimen is provided for administering paliperidone
generation, atypical antipsychotic drugs. Paliperidone is the       palmitate to a patient in need of psychiatric treatment,
major active metabolite of risperidone. Extended relea~e            wherein said patient misses a stabili7.ed monthly maintenance
(ER) osmotic controlled release oral delivery (OROS) pali-          dose for more than about 4 weeks and less than about 6 weeks,
peridone, as a tablet formulation, is mwketed in the United         comprising administering intr.unuscularly in the deltoid a
States (U.S.) for the treatment of schizophrenia and mainte-        first reinitiation loading dose of paliperidone as a paliperi-
nance of effect.                                                    done palmitate formulated in a sustained release formulation
 [0005) Paliperidone palmitate is being developed as a long-        on the first day of treatment; and administering intramuscu-
acting, intramuscular (i.m.), injectable aqueous nanosuspen-        larly in the gluteal a reinitiation maintenance dose ofpaliperi-
sion for the treatment of schizophrenia and other related           done as a paliperidone ester in a sustained release formulation
diseases that are normally treated with antipsychotic medica-       on the 23"' day to about the 37th day or between about 30%7
tions. Because of extreme low water solubility, paliperidone        day after said first day of treatment.
esters such as paliperidone palmitate dissolve slowly after an      10011) In another embodiment of the present application a
 i.m. injection before being hydrolyzed to paliperidone and         dosing regimen is provided for administering paliperidone
made available in the systemic circulation.                         esters to a patient in need of psychiatric treatment, wherein
 [0006] Many patients with the mental illnesses achieve             said patient misses a stabilized monthly maintenance dose for
symptom stability with available oral antipsychotic medica-         more than about 6 weeks, ~-omprising administering intrd•
tions; however, it is estimated that up to 75% have difficulty      muscularly in the deltoid a first reinitiation loading dose of
adhering to a daily oral treatment regimen, i.e. compliance         paliperidone as a paliperidone palmitate formulated in a sus-
 problems. Problems with adherence often result in worsening        tained release formulation on the first day of treatment;
of symptoms, suboptimal treatment response, frequent                administering intramuscularly in the deltoid a second reini-
relapses and re-hospitalizations, and an inability to benefit       tiation loading dose ofpaliperidone as a paliperidone palmi-
 from rehabilitative and psychosocial therapies. Paliperidone       tate formulated in a sustained release formulation I week
palmitate injection has been developed to provide sustained         later (on the eighth day of treatment); and administering
plasma concentrations of paliperidone when administered             intramuscularly in the gluteal a reinitiation maintenance dose
 once monthly, which may greatly enhance compliance with            of paliperidone as a paliperidone ester in a sustained release
 dosing. Paliperidone palmitate formulated as an aqueous            formulation on about the 23"' day to about the 37 th day or
nanosuspension is described in U.S. Pat. Nos. 6,577,545 and         between about 30%7 days after said first day of treatment.
 6,555,544. ln addition, a dosing regimen of paliperidone            (0012] According to the present application, the fm;t reini-
 palmitate for treating patients is disclosed in US Patent Appli-    tiation dose and the second reinitiaiton dose may be the same
 cation Publication No. 20090163519.                                dosing as the stabilized monthly maintenance dose. Further,
                                                                                                           MYL-PP3M056051
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                                                        Appx10498
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the first reinitiation dose, the second reinitiation dose and the       paliperidone palmitate on day 1 using the day l/day8 initia-
reinitiation maintenance dose of paliperidone as a paliperi-            tion. (B) Hatched area represents patients switched to pali-
done palmitate formulated in a sustained release formulation            peridone palmitate on day 1 using a single initiation dose
may range from about 39 mg to about 234 mg.                             alone. Lines & shaded/hatched areas represent median and
(0013) In yet another embodiment of the present applica-                about 90% prediction intervals; arrows indicate dosing times.
tion a dosing regimen is provided for administering paliperi-           [0023) FIG. 6. Switching from RlSPERDAL® CONSTA®
done palmitate to a psychiatric patient in need of a switching          to paliperidone palmitate. Top panel represents the low dose
treatment to paliperidone palmitate, wherein said patient has           and the bottom panel represents the high dose. Simulations
received injectable antipsychotic drugs other than paliperi-            for the middle dose are not shown because those results can be
done palmitate, comprising administering intramuscularly in             simply interpolated between the 2 panels. Lines and shaded
the deltoid of said patient a first loading dose of poliperidone        areas (violet region) represent medians and about 90% pre-
as a paliperidone palmitate formulated in a sustained release           diction intervals.
formulation on the first day of treatment; and administering
intramuscularly in the deltoid or gluteal muscle ofsaid patient                         DETAILED DESCRIPTION
a maintenance dose of paliperidone palmitate in a sustained
release formulation on about the 23"' day to about the37 th day         (0024) In one aspect the present application provides a
or between about 30%7 days after said first day of treatment.           dosing regimen for paliperidone palmitate comprising
(0014) Ina further embodiment ofthe present application a               administering a initial dosing at the first day oftreatment and
dosing regimen is provided for administering paliperidone               administering a maintenance dosing on between 30%7 days
palmitate to a psychiatric patient in need ofa switching treat-         after the first day of treatment.
ment lo paliperidone palmitate, wherein said patient has                (0025) Paliperidone palmitate is a long-acting intramuscu-
received injectable antipsychotic drugs other than paliperi-            lar injectable atypical antipsychotic. Paliperidone palmitate
done palmitate, comprising administering intramuscularly in             is an ester of paliperidone which has been approved in the US
the deltoid of said patient a first loading dose of paliperidone        and other countries for the acute and maintenance treatment
as a paliperidone palmitate formulated in a sustained release           of patients with schizophrenia. Following intramuscular
formulation on the first day oftreatment; administering intra-          injection, paliperidone is released into the systemic circula-
muscularly in the deltoid or gluteal muscle of said patient a           tion over an extended period of time, allowing for once-
maintenance dose of paliperidone.J'almitate in a sustained              monthly dosing without the need for oral supplementation.
release formulation on about the 23 day to about the 37'1' day          (0026) U.S. Patent Application No. 20090163519 has dis-
or between about 30%7 days after said first day of treatment;
                                                                        closed a dosing regimen for treating a psychiatric patient
and administering in the deltoid or gluteal muscle of said
                                                                        using paliperidone as a paliperidone palmitate ester in a sus-
patient said maintenance dose of paliperidone palmitate in a
                                                                        tained release formulation. To attain a therapeutic plasma
sustained release formulation monthly thereafter.
                                                                        level of paliperidone, patients arc administered to receive a
(0015) According to the present application, the first dose             first dose of paliperidone palmitate on day l of treatment,
and the maintenance dose of paliperidoneforthe switch treat-
                                                                        followed by a second dose between days 6 to lOoftreatment,
ment as a paliperidone palmitate formulated in a sustained              then a third dose between days 34 to 38 of treatment. It is
release formulation may range from about 39 mg to about 234             preferred that the patients will be administered the first dose
mg.
                                                                        on day 1, the second dose on day 8 after the first dose and the
(0016) Further according to the present application, the first
                                                                        third dose on day 36 of after the first dose. Toe first two doses
dose and the maintenance dose of pnliperidone for the switch            may be injected in the deltoid muscle. Thereafter paliperi-
treatment as a paliperidone palmitate formulated in a sus-              done palmitate may be administered by injection approxi-
tained release formulation may range from about 39 mg to
                                                                        mately once a month (e.g. once every four weeks). To assure
about 234 mg.                                                           a potential therapeutic plasma level of paliperidone is
[0017] This and other objects and advantages of the present             attained, at least the first loading dose ofabout 150 mg-eq. of
invention may be appreciated from a review of the present               pnliperidone as a paliperidone palmitate ester may be admin-
applications.
                                                                        istered on day 1 of treatment. To further assure a potential
                                                                        therapeutic plasma level of paliperidone is attained by the
        DETAILED DESCRJPTION OF FIGURES
                                                                        patient, the first loading dose and the second loading dose
[0018) FIG. 1. Diagram of the final model for paliperidone              ranging between from about 100 mg-eq. to about 150 mg-eq.
palmitate.                                                              of paliperidone as a paliperidone palmitate ester may be
(0019) FIG. 2. Simulations for reinitiation treatment of                administered. To maintain a therapeutic level in the plasma,
patients who missed the week 4 dose at about weeks 5, 6, 7,             the subsequent doses thereafter or the maintenance dose rang-
and 8 with a single maintenance dose of at day 1.                       ing from about 25 mg-eq. to 150 mg-eq. per month may be
(0020) FIG. 3. Simulation of reinitiation treatment of                  administered. Toe maintenance dose may be administered
patients who missed the week 4 dose at about weeks 5, 6, 7,             intramuscularly into the deltoid or gluteal muscle, and the
and 8 with two maintenance doses at day 1/day 8.                        gluteal muscle is preferred. Those of ordinary skill in the art
(0021) FIG. 4: Plasma concentration profiles of steady-                 will understand that the maintenance dose may be titrated up
state paliperidone palmitate following more than about 6                or down in view ofthe patients' conditions such as response to
months of treatment lapse, using various doses of paliperi-             the medication and renal function.
done palmitate.                                                          (0027) Due to the improved drug efficacy, long-acting sus-
(0022) FIG. 5. Switching treatment from oral paliperidone               tained release formulation, and reduced side effects of pali-
ER to paliperidone palmitate. Pink shaded areas represent               peridone palmitale, there may be clinical need and increasing
patients stabilized on oral ER paliperidone and continuing              demand to switch patients from previous antipsychotic drugs
oral therapy. (A) Hatched area represents patients switched to          to paliperidone palmitate.
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[0028) As described herein, various dosing regimen includ-              clozapine, olanzapine, quetiapine, risperidone active moiety,
ing switching treatment and reinitiation treatment for pali-            sertindole, ziprasidone and the like.
peridone palmitate is generated from comprehensive phanna-              [0032) For patient~ who have previously received inject-
colcinetic models or simulations based on clinical data. The            able antipsychotic drugs, a switching treatment to paliperi-
models or simulations provide useful, efficient and cost-ef-            done palmitate may comprise an initiation dosing regimen
fective treatment since there is no systematically collected            and a maintenance dosing regimen. The switching treatment
clinical data to specifically address switching schizophrenia           may be initiated in place ofthe next scheduled injection. It is
patients from other antipsychotics to paliperidone palmitate            found herein that one dosing of paliperidone palmitate may
or concerning concomitant administration with other antip-              be sufficient to attain the desired drug levels or plasma con-
sychotics. Based on the extensive analysis of Phases I, II and          centration of paliperidone during the initial dosing regimen.
III clinical trinls with schizophrenia patients, the phannaco-          Accordingly, the initiation dosing regimen for switching
lcinetic models provide an optimal effective regimen for                patients from other injectable antipsychotic may comprise
switching treatment of patients from other anti psychotic dn1g          administering a first loading dose of paliperidone palmitate.
to paliperidone palmitate and reinitiation treatment of                 Thereafter, the patients may be administered with the main-
patients missed their stabilized doses of paliperidone palmi-           tenance dosing regimen of paliperidone palmitate at a
tate.                                                                   monthly schedule. The maintenance dosing regimen may
[0029) The models have indicated that there may be flex-                comprise administering a maintenance dose of paliperidone
ibility in the duration of the second loading dose and the              palmitatc on between days 23 to 37 after the first loading
maintenance dose of the maintennnce dosing regimen. For                 dose.
example, the second loading dose may be administered                    [0033) The dose of the switching treatment from previous
within the duration of about the 8th day:1:2 days (or about I           injectable antipsychotic may be determined based on the
week:1:2 days) after administering of the first loading dose.           condition of the patient and/or the severity ofthe disease. The
Therefore, the second loading dose may be administered from             preferred first loading dose may range from about 156 mg to
about the 6th to about the I O'h day after the first loading dose       about 234 mg of paliperidone palmitate, and more preferably
of the initial dosing. Similarly, the maintenance dose may be           about 234 mg. The preferred monthly maintenance dose may
administered within the duration ofa bout the 30'• day:1:7 days         range from about 39 to about 234 mg, and more preferably
after administering of the first loading dose. Therefore, the           about 117 mg. Based on the patient tolerability and/or the
maintenance dose may be administered from about the 23rd                drug efficacy, the maintenance dose may be further adjusted
day to about the 37th day after administering of the first              monthly to achieve optimal treatment effectiveness.
loading dose of the initial dosing. The flexible administration          [0034] By wdy ofexample, a dosing regimen is provided to
timing provides additional treatment benefit for patients who           switch patients from other injectable antipsycbotic drug to
may require earlier administration or have missed their dose,           paliperidone palmitate comprising administering into the del-
within a short window, of the scheduled treatment without               toid muscle the initial dosing regimen comprising a first load-
affecting the treatment effectiveness.                                  ing dose of about 234 mg of paliperidone palmitate and
 [0030) The models or simulations also indicate that pali-              administering into the deltoid or gluteal muscle the mainte-
peridone palmitate may be administered by intramuscular                  nance regimen comprising a monthly maintenance dose of
injection into either deltoid or gluteal muscle. The first and          about 39 to about 234 mg of,faliperidone palmitate on about
second loading dose of the initiation regimen may be admin•              the 23rd day to about the 37 day after administering of the
istered in the deltoid muscle and the maintenance dose of the            first loading dose.
maintenance regimen may be administered in either the del-               [0035) For patients who have previously received oral
toid or gluteal muscle. The injection into the deltoid muscle            antjpsychotic dn1gs, a switching treatment to paliperidone
may be delivered by a I-inch 23-Gauge (G) or 1.5-inch 22-G               palmitate may comprise an initial dosing regimen and a
needle based on the patient's weight. For the patients whose             monthly dosing regimen. The initial dosing regimt:n may
body weights arc less than about 90 kg or 200 lb, a I-inch               comprise administering a first loading dose of paliperidone
23-G needle may be used for administration, and for those                polmitate and administering a second loading dose of poli-
body weights are equal or more than about 90 kg or 200 lb, a             peridone palmitate, and the maintenance dosing regimen may
 1.5-inch 22-G needle may be used for administration. The                comprise administering a maintenance dose of paliperidone
injection into the gluteal muscle may be delivered by a 1.5·             palmitate. Toe previous oral antipsychotics may be discon-
inch 22-G needle for all body weights.                                   tinued at the time of initiation of the switching treatment or
 [0031) One aspect of the present application provides a                 administration of the first loading dosing of paliperidone
 method or dosing regimen for treating patients switching                palmitate.
 from previous injectable or oral antipsychotic drug to pali-            [0036) To initiate switching treatment from oral antipsy-
 peridone palmitate. The previous injectable antipsychotic               chotic drug, paliperidone palmitate may be initiated with the
 drug may include but not limited to clopenthixol decanoate,             first loading dose on treatment day I and the second loading
 perphcnazine enanthate, pipothiazine palmitate, haloperidol             dose one week later, and maintained with the maintenance
 decanoate, fluspirilene, zuclopenthixol decanoate, flu -                dose at a monthly schedule. 1be dose may be determined
 penthixol decanoate, fluphenazine decanoate, fluphenazine               based on the condition ofthe patient and/or the severity ofthe
 enanthate, risperidone microspheres, olanzapine pamoate                 disease. The preferred first loading dose may range from
 and the like. The previous oral antipsychotic drug may                  about 156 mg to about 234 mg of paliperidone palmitate, and
 include oral typical antipsychotic such as chlorpmma7.ine,              more preferably about 234 mg. The preferred second loading
 flupenthixol, fluphenazine, haloperidol, loxapine, molin-               dose may range from about 78 mg to about I 56 mg, and more
 dont:, ~rphenazine, pimozide, prochlorperazine, thior-                  prefordbly about 156mg. Toe preferred monthly maintenanci,
 idazine, thiothixene, trifluoperazine or the like; and oral             dose may range from about 39 to about 234 mg, and more
 atypical antipsychotic drug such as amisulpride, aripiprazole,          preferably about 117 mg. Subsequently, based on the patient
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tolerability and/or the drug efficacy, the maintenance dose            (0041) The first dose and the maintenance dose may be the
may be funher adjusted monthly to achieve optimal treatment            same dosing amount as the previously stahili7.ed dose of the
effectiveness. The patients may he mnnitnred for several               maintenance regimen prior to the missed dose. Each of the
months to ensure the full effect of the dose adjustment                first and the maintenance doses of the reinitiation regimen for
because of the prolonged-release characteristic of paliperi-           less than about 6 weeks may range from about 39 mg to about
done palmitate.                                                        234 mg of paliperidone palmitate. Additionally, the mainte-
                                                                       nance dosing of the reinitiation regimen for less than about 6
[0037] Based on the pharmacokinetic simulations, patients
                                                                       weeks may be injected in either deltoid or gluteal muscle.
previonsly stabilized on paliperidone in oral tablets may
anain similar paliperidone steady-state exposure during                (0042] ln one embodiment, a method of reinitiation regi-
                                                                       men is provided for treating patients who have missed a dose
maintenance treatment with paliperidone palmitate intramus-
                                                                       for more than about 4 weeks and less than about 6 weeks,
cular injection monthly. For example, patients stabilized on
                                                                       comprising administering into the deltoid muscle a first load-
oral paliperidone of about 3 mg may attain similar paliperi-
                                                                       ing dose and administering into the deltoid or gluteal muscle
done steady-state exposure with the intramuscular injection            a maintenance dose on about the 23"' to about the 37,.,, day
of palipcridone palmitatc of about 39 mg to about 78 mg.               after the first loading dose. Thereafter, the maintenance may
Similarly, patients stabilized on oral paliperidone of about 6         be administered into the deltoid or gluteal muscle at a
mg and about 9 mg may attain similar paliperidone steady-              monthly schedule.
state exposure with the intramuscular injection of paliperi-           (0043) When more than 6 weeks and less than about 6
done palmitate of about 117 mg and about 234 mg, respec-               months have elapsed since a patient received the last dosing of
tively. Therefore, during the maintenance regimen, the                 palipcridonc palmitatc, the rcinitiation regimen may com-
patients previously stabilized on paliperidone in ordl tablets         prise a first loading dose, a second loading dose, and a main-
may be administered with the appropriate dose of paliperi-             tenance dose. The first dose of may be administered as soon as
done palmitate in injectable formula! ion corresponding to the         possible, the second dose may be administered at about the 8th
stabilized dose of oral paliperidone.                                  days (or about l week) aller the lln;t loading dose, and a
[0038) Another aspect ofthe present application provides a             maintenance dosing may be administered at about the 30'h
method for treating patients who have missed the stabilized            day after the first loading dose. Thereafter, the maintenance
dosing regimen. As generally recommended in the medical                dose may be administered at monthly intervals. The duration
field, a missed dose during treatment regimen should be                of the second loading dose and the maintenance dose may be
avoided. Because of the flexibility in the duration of the             flexible. For example, the second loading dose may be admin-
initiation dosing regimen and the maintenance dosing regi-             istered 8 days:t2 days or the 6,.,, day lo the 10,.,, day after the
men as discussed above, the second loading dose of the initial         first loading dose and the maintenance dose may be admin-
regimen may be administered at about the 8,.,, day:t.2 days (I         istered 30 day:1:7 days (or the 23"'day to the 37,.,, day) after the
weekz2 days) after administering of the first loading dose.            first loading dose. The first dose and the second dose of the
Similarly, the maintenance dose of the maintenance regimen             reinitiation regimen for more than about 6 weeks and less than
may be administered at about the 30'h day:t7 days after                6 months may be injected in deltoid muscle to provide a quick
administering of the first loading dose. This may avoid or             attainment to the desired drug levels or plasma concentrations
reduce the frequency ofa missed dose of paliperidone palmi-            of paliperidone. The first dose and the second dose may
tate during the treatment.                                             depend on the stabilized dose prior to the missed dose. By
[0039) Using the pharmacokinetic model or simulation, a                way of example, when the stabilized dose prior to the missed
dosing regimen is provided for the reinitiation regimen for            dose is less than about 234 mg ofpaliperidone palmitate, the
administering paliperidone palmitate to patients who have              first loading dose and the second loading dose may be the
missed the monthly maintenance dose by more than about 4               same dosing amount as the stabilized dose prior to the missed
weeks. The reinitiation regimen may depend upon the dura-              dose. For example, each of the first loading dose and the
tion of time lapsed since the last injection of palipcridone           second loading dose may range from about 39 mg to about
palmitate. By way of example, a reinitiation regimen may be            I 56 mg of paliperidone palmitate. By way of another
provided for treating patients who have missed a dose for              example, when the stabilized dose prior to the missed dose is
more than about 4 weeks and less than about 6 weeks, for               about 234 mg ofpaliperidooe palmitate, the first loading may
more than about 6 weeks and less than about 6 months, and for          be administered at about I 56 mg and the second loading dose
more than about 6 months.                                              may be administered at about I 56 mg. Thereafter, the main-
(0040) When more than about 4 weeks and less than about                tenance dosing may range from about 39 mg to about 234 mg
6 weeks have elapsed since a patie.nt received the last dosing         of paliperidone palmitate and may be injected in either del-
of palipcridone palmitatc, the rcinitiation regimen may com-           toid or gluteal muscle.
prise a first loading dose and a maintenance dose. The first           (0044) In another embodiment, a method of reinitiation
dose of may be administered as soon as possible and the                regimen is provided for treating patients who have missed a
maintenance dose may be administered at monthly intervals              dose for more than about 6 weeks and less than 6 months,
after the first loading dose. The duration of the maintenance          comprising administering into the deltoid muscle a first load-
dose may be flexible, e.g. the maintenance dose        mal    be       ing dose, administering into the deltoid muscle a second
administered 30 days:t7 days or the 23"' day to the 37' day            loading dose on about the 6"' day to the 10th day after the first
after the first loading dose. It is found herein that the admin-       loading dose, and administering into the deltoid or gluteal
istration of a single dose of paliperidnne palmitate at the            muscle a maintenance dose on about the 23"' day to the 37'h
treatment day I provides sufficient drug levels or plasma              day after the first loading dose. Thereafter, the maintenance
concentrations of paliperidooe. Therefore, a second loading            dose may be administered at monthly intervals.
dose at day 8 is not needed for treating the patients w ho              (0045) When more than about 6 months have elapsed since
missed stabilized dose for less than about 6 weeks.                    a patient received the last dosing of paliperidooe palmitate,
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the reinitiation regimen may comprise a first loading dose, a              herein by reference). The chemical name for paliperidone
second loading dose and a maintenance dose. The first dose                 palmitate is (±)-3-[2-l4-(6-fluoro-l ,2-benzisoxazol-3-yl)-I •
may be administered as soon as possible, the second dose may               piperidinyl]ethyl]-6,7,R,9-tetrahydro-2-methyl-4-oxo-4H-
be administered on about the 8th day after tbe first loading               pyrido( J,2-c]pyrimidin-9-yl hexadecanoate. The structural
dose, and a maintenance dosing may be administered on                      formula is:
about 30'h day after the first loading dose. The duration ofthe
second loading dose and the maintenance dose of the reini-
tiation regimen may be flexible. For example, the second
loading dose may be administered 7th day:i:2 days or the 6th
day to the I~ day after the first loading dose and the main-
tenance dose may be administered about 30 day±7 days or the
23"' day to the 37'h day after the loading dose.
(0046] The dose of the reinitiaiton regimen for more than
about 6 months may be determined based on the condition of
the patient and/or the severity of the disease. The preferred
first loading dose may range from about 156 mg to about 234
mg of paliperidone palmitate, and more preferably about 234
mg. The prcfcm:d second loading dose may range from about
78 mg to about 156 mg, and more preferably about 156 mg.
'!he preferred monthly maintenance dose may range from
about 39 to about 234 mg, and more preferably about 117 mg.                [0051] Paliperidone estt:n; may be formulated with phar-
Subsequt:nlly, based on tbt: palit:nl tolt:rability an<l/or lhe drug       maceutical excipients into injectable dosage forms as
efficacy, the maintenance dose may be further adjusted                     described in U.S. Pat. Nos. 5,254,556 and 6,077,843 both of
monthly to achieve optimal treatment effectiveness. The                    which are incorporated herein by reference. Injectable for-
patients may be monitored for several months to ensure the                 mulations may be fonnulated in aqueous carriers.
full effect of the dose adjustment because of the prolonged-               [0052) Suitable aqueous depot formulations are described
release characteristic of paliperidone palmitate. Further, the             in U.S. Pat. No. 6,077,843 which is incorporated herein by
first dose and the second dose of the reinitiation regimen for             reference. The aqueous fonnulation would preferably be a
patients who have missed the dose for more than about 6                    nano particle suspension ofwherein the nano particles would
months may be injected in deltoid muscle. The maintenance                  be ofan averages size ofless than about 2,000nm to about JOO
dose of the reinitiation regimen for patients who have missed              nm. Preferably the nano particles would have an average
the dose for more than about 6 weeks may he iojected in either             particle size (d50) of from about 1,600 nm to about 400 nm
deltoid or gluteal muscle.                                                 and most preferably about 1,400 nm to about 900 nm. Pref-
 [0047] In yet another embodiment, a method ofreinitiation                 erably the d90 will be less than about 5,000 nm and more
 regimen is provided for treating patients who have missed a               preferably less than about 4,400 nm. As used herein, an effec-
dose for more than about 6 months, comprising administering                tive average particle size ( d50) of less than about 2,000 nm
 into the deltoid muscle a first loading dose, administering into          means that at least 50% ofthe particles have a diameter ofless
 the deltoid muscle a second loading dose on about the 6th to              than about 2,000 nm when measured by art-known conven-
 about the I~ day and administering into the deltoid or glu-               tional techniques, such as sedimentation field flow fraction-
 teal muscle a maintenance dose on about the 23"'day to about              ation, photon correlation spectroscopy or disk centrifugation.
 the 37 th day after administering of the first loading dose.              With reference to the effective average particle size, it is
 Thereafter, the maintenance dose may be administered at                   preferred that at least about 90%, e.g. about 5,000 nm. Most
 monthly intervals.                                                        preferably, about 90% of the particles have a size ofless than
 (0048] As used herein, the term "stabilized dose" refers to               about 4,400 nm.
 the dose which is to be administered according the estab-                 [0053) Suitable aqueous nanoparticle depot formulations
 lished dosing regimen. Preferably, the stabilized dose may the            are described in U.S. Pat. No. 6,555,544 which is incorpo-
 maintenance dose of the monthly maintenance dosing regi-                  rated herein by reference. In one embodiment of the present
 men prior to a missed dose.                                               invention the fonnulation would comprise nanoparticles, a
 [0049] Also used herein, the tenns "the first loading dose of             surfactant, a suspending agent, and optionally one or more
 the reinitiation regimen", "the first dose of the reinitiation            additionnl ingredients selected from the group consisting of
 regimen", "the first reinitiation dose" or variant thereof refer          preservatives, buffers and an isotonizing agent.
 to the dose to be administered on day I when patients return               (0054) Useful surface modifiers arc believed to include
 to treatment. Similarly, the tenns "the second loading dose of            those that physically adhere to the surface of the active agent
 the reinitiation regimen", "the second dose of the reinitiation           but do not chemically bond thereto. Suitable surface modifi-
 regimen", "the second reinitiation dose" or variant thereof               ers can preferably be selected from known organic and inor-
 refer to the dose to be administered after a week after the               ganic pharmaceutical excipients. Such excipients include
 treatment day I; and the terms "the maintenance dose of the               various polymers, low molecular weight oligomers, natural
 reinitiation regimen", "the reinitiation maintenance dose" or             products and surfactants. Preferred swface modifiers include
 variant thereof refer to the dose to be administered monthly              nonionic and anionic surfactants. Representative examples of
 after the treatment day 1.                                                excipients include gelatin, casein, lecithin (phosphatides),
 [0050] Paliperidone esters are psychotic agents belonging                 gum acacia, cholesterol, tragacanth, stearic acid, benzalko-
 lo the chemical class of bt:nzisox<J:role dt:riv<Jtives, which            nium chloride, calcium slt:ar.ilt:, glyceryl monostear.ile, celo·
 contains a racemic mixture of ( +)- and (-)-paliperidone,                 stearyl alcohol, cetomacrogol emulsifying wax, sorbitan
 which are described in U.S. Pat. No. 5,254,556 (incorporated              esters, polyoxyetbylene all..-yl ethers, e.g., macrogol ethers
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such as cetomacrogol 1000, polyoxyethylene castor oil                   use PLURONIC™ FI08 as a surface modifier, a relative
derivatives, polyoxyethylene sorbitan fatty acid esters, e.g.,          amount (w/w) of both ingredients of approximately 6:1 is
the commercially available TWRRNS™, polyethylene gly-                   preferred.
cols, polyoxyethylene stearates, colloidal silicon dioxide,              (0058) The particles of this invention can be prepared by a
phosphates, sodium dodecylsulfate, carboxymethylcellulose               method comprising the steps of dispersing paliperidone
calcium, carboxymethylcellulose sodium, methylcellulose,                palmitate in a liquid dispersion medium and applying
hydroxyethylcellulose, hydruxyprupylcellulose, hydrox-                  mechanical means in the presence of grinding media to
ypropylmethylcellulose phtalate, noncrystalline cellulose,              reduce the particle size of the antipsychotic agent to an effec-
magnesium aluminate silicate, triethanolamine, polyvinyl                tive average particle size of less than about 2,000 nm. The
alcohol (PVA), poloxomers, tyloxopol and polyvinylpyrroli-              particles can be reduced in size in the presence of a surface
done (PVP). Most of these excipients are described in detail            modifier. Alternatively, the particles can be contacted with a
in the Handbook of Pharmaceutical Excipients, published                 surface modifier after attrition.
jointly by the American Pharmaceutical Association and The               [0059) A general procedure for preparing the particles of
Pharmaceutical Society of Great Britain, the Pharmaceutical             this invention includes (a) obtainingpaliperidone palmitate in
Press, I 986. The surface modifiers are commercially avail-             micronized form; (b) adding the micronized paliperidone
able and/or can be prepared by techniques known in the art.             palmitate to a liquid medium to form a premix; and (c) sub-
Two or more surface modifiers can be used in combination.               jecting the premix to mechanical means in the presence of a
(0055) Particularly preferred surface modifiers include                 grinding medium to reduce the effective average particle size.
polyvinylpyrrolidone; tyloxapol; poloxamers, such as PLU-                [0060) The paliperidone palmitate in micronized form may
RONIC™ F68, Fl08 and Fl27 which are block copolymers                    be prepared using techniques known in the art. It is preferred
of ethylene oxide and propylene oxide available from BASF;              that the particle size ofthe micronized paliperidone palmitate
                                                                        be less than about 100 µmas determined by sieve analysis. Tf
poloxamines, such as TEfRONIC™ 908 (T908) which is a
                                                                        the particle size of the micronized paliperidone palmitate is
letrafunctional block copolymer derived from sequential
                                                                        greater than about I 00 µm, then it is preferred that the par-
addition of ethylene oxide and propylene oxide to ethylene-
                                                                        ticles of paliperidone paImitate be reduced in size to less than
diamine available from BASF; dextran; lecithin; Aerosol                  IOOµm.
OT™ (AOT) which is a dioctyl ester of sodium sulfosuccinic
                                                                         (0061) The micronized paliperidone palmitate can then be
acid available from Cytec Industries; DUPONOL™ P which
                                                                        added to a liquid medium in which it is essentially insoluble
is a sodium lauryl sulfate available from DuPont; TRJTON™
                                                                        to form a premix. The concentration ofpaliperidone palmitate
X-200 which is an alkyl aryl polyether sulfonate available
                                                                        in the liquid medium (weight by weight percentage) can vary
from Rohm and Haas; TWEEN™ 20, 40, 60 ond 80 which are                  widely and depends on the selected antipsychotic agent, the
polyoxyethylene sorbitan fatty acid esters available from ICI           selected surface modifier and other factors. Suitable concen-
Speciality Chemicals; SPAN™ 20, 40, 60 and RO which are                 trations of paliperidone palmitate in compositions vary from
sorbitan esters of fatty acids; ARLACELT" 20, 40, 60 and 80             about 0.1 % to about 60%, preferably is from about 0.5% to
which are sorbitan esters of fatty acids available from Her-            about 30%, and more preferably, is approximately 7% (w/v).
cules, Inc.; CARBOWAXT" 3550 and 934 which are poly-                    lt is currently preferred to use a concentration of about 100
ethylene glycols available from Union Carbide; CROD-                    mg eq of paliperidone per ml or about 156 mg of paliperidone
ESTA™ Fl 10 which is a mixture of sucrose stearate and                  palmitate per ml.
sucrose distearate available from Croda Inc.; CRODESTATM                 [0062) A more preferred procedure involves the addition of
SL-40 which is available from Croda, Inc.; hcxyldccyl trim-             a surface modifier to the premix prior to its subjection to
ethyl ammonium chloride (CTAC); bovine serum albumin                    mechanical means to reduce the effective average particle
and SA90HCO which is C 18H 17CH,(CON(CH3 )CH2                           size. The concentration of the surface modifier (weight by
(CHOH)4 CH2OH)2 . The surface modifiers which have been                 weight percentage) can vary from about 0.1 % to about 90%,
found to be particularly useful include tyloxapol and a polox-          preferably from about 0.5% to about 80"/o, and more prefer-
amer, preferably, Pluronic".,.. FI08 and Pluronic™ F68.                 ably is approximately 7% (w/v).
(0056) Pluronic™ FI 08 corresponds to poloxamer 338 and                 (0063) The premix can be used directly by subjecting it to
is the polyoxyethylene, polyoxypropylene block copolymer                mechanical means to reduce the effective average particle
that conforms generally to the formula HO[CH 2 CH2 O),[CH               size in the dispersion to less than about 2,000 nm. It is pre-
(CH3 )CH,O])CH2CH2 OJ=H in which the overage values of                  ferred that the premix be used directly when a ball mill is used
x, y and z are respectively 128, 54 and 128. Other commercial           for anrition. Alternatively, the antipsychotic agent and,
names ofpoloxamer 338 are Hodag NONIONIC™ 1108-F                        optionally, the surface modifier, can be dispersed in the liquid
available from Hodag, and SYNPERONIC™ PF/FI 08 avail-                   medium using suitable agitation such as, for example, a roller
able from !CI Americas.                                                 mill or a Cowles type mixer, until a homogeneous dispersion
[0057) The optimal relative amount ofpaliperidone palmi-                is achieved.
tate and the surface modifier depends on various parameters.            (0064) The mechanical means applied to reduce the effec-
The optimal amount of the surface modifier can depend, for              tive average particle size of the antipsychotic conveniently
example, upon the particular surface modifier selected, the             can take the form of a dispersion mill. Suitable dispersion
critical micelle concentration of the surface modifier if it            mills include a ball mill, an anritor mill, a vibratory mill, a
forms micelles, the surface area of the anti psychotic agent,           planetary mill, media mills-such as a sand mill and a bead
etc. The specific surface modifier preferably is present in an          mill. A media mill is preferred due to the relatively shorter
amount of about 0.1 to about I mg per square meter surface              milling time required to provide the desired reduction in
area ofthe paliperidone palmitate. It is preferred in the case of       particle size. For media milling, the apparent viscosity of the
paliperidone palmitate (9-hydroxyrisperidone palmitate) to              premix preferably is anywhere between about 0.1 Pa·s and

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about I Pa·s. For ball milling, the apparent viscosity of the            preferred is the use of a mixture ofdisodium hydrogen phos-
premix preferably is anywhere between about I mPa·s and                  phllle (anhydrous) (typically about 0.9% (w/v)) and sodium
about 100 mPa·s.                                                         dihydmgen phosphate monohydrate (typically about 0.6%
[0065] The grinding mt:<lia for lht: particlt: size rt:<luclion          (w/v)). This buffer also renders the dispersion isotonic and, in
step can be selected from rigid media preferably spherical or            addition, less prone to Hocculation of the ester suspended
particulate in form having an nvernge size less than nbout 3             therein.
mm and, more preferably, less than about I mm. Such media                [00721 Preservatives are antimicrobials and anti-oxidants
desirably can provide the panicles of the invention with                 which can be selected from the group consisting of benzoic
shorter processing times and impan less wear to the milling
                                                                         acid, benzyl alcohol, butylated hydroxyanisole, butylated
equipmenl. The selection of lht: material for the grinding
                                                                         hydroxytoluene, chlorbutol, a gallate, a hydroxybenzoate,
media is believed not to be critical. However, about 95% ZrO
stabilized with magnesia, zirconium silicate, and glass grind-           EDTA, phenol, chlorocresol, melacresol, benzethonium
ing media provide panicles which are acceptable for the                  chloride, myristyl-gamma-piccolinium chloride, phenylmer-
preparation of pharmaceutical compositions. Further, other               curic acetate and thimerosal. In panicular, it is benzyl alcohol
media, such as polymeric beads, stainless steel, titania, alu-           which can be used in a concentration up to about 2% (w/v),
mina and about 95% ZrO stabilized with yttrium, are useful.              preferably up to about 1.5% (w/v).
Preferred grinding media have a density greater than about               [0073] Jsotonizing agents are, for example, sodium chlo-
2.5 yjcm3 and include about 95% ZrO stabilized with mag-                 ride, dextrose, mannitol, sorbitol, lactose, sodium sulfate. The
nesia and polymeric beads.                                               suspensions conveniently comprise from about 0% to about
[0066] 'lbe attrition time can vary widely and depends pri-              10% (w/v) isotonizing agent. Mannitol may be used in a
marily upon the panicular mechanical means and processing                concenlrdtion from about 0% to about 7% more preferdbly,
conditions seleclt:d. For rolling mills, processing times of up          however, from about l % to about 3% (w/v), especially from
to two days or longer may be required.                                   about 1.5% to about 2% (w/v) ofone or more electrolytes are
[0067] The particles must be reduced in size at a tempera-               used to render the suspension isotonic, apparently because
ture which does not significantly degrade the antipsychotic              ions help to prevent Hocculation of the suspended ester. In
agent. Processing temperatures of less than about 300 C. to              particular, electrolytes of the buffer serve as isotonizing
about 40° C. are ordinarily preferred. If desired, the process-          agent.
ing equipment may be cooled with conventional cooling                     (0074] A panicularly desirable feature for an injectable
equipment. The method is conveniently carried out under                  depot formulation relates to the ease with which it can be
conditions of ambient temperature and at processing pres•                administered. In particular such an injection should be fea-
sures which are safe and effective for the milling process.               sible using a needle as fine as possible in a span oftime which
[0068) The surface modifier, if it was not present in the                 is as short as possible. This can be accomplished with the
premix, must be added to the dispersion after attrition in an            aqueous suspensions of the present invention by keeping the
amount as described for the premix above. Thereafter, the                viscosity below about 75 mPa·s, preferably below about 60
dispersion can be mixed by, for example, shaking vigorously.             mPa·s. Aqueous suspensions of such viscosity or lower can
Optionally, the dispersion can be subjected to a sonication              both easily be taken up in a syringe (e.g. from a vial), and
step using, for example, an ultrasonic power supply.                     injected through a fine needle (e.g a 21 G I ½ inch, 22 G 2
[0069) Aqueous compositions according to the present                      inch, 22 G l ¼ inch or 23 G 1 inch needle). The preferred
 invention conveniently further comprise a suspending agent               needles for injection are 22 G 22 G 11h inch regular wall and
and a buffer, and optionally one or more of a preservative and            23 G I inch regular wall needles.
an isotonizing agent. Pal1icular ingredients may function as              [0075] Ideally, aqueous suspensions according to the
two or more of these agents simultaneously, e.g. behave like              present invention will comprise as much prodrug as can be
a preservative and a buffer, or behave like a buffer and an               tolerated so as to keep the injected volume to a minimum, and
 isotonizing agent.                                                       as little ofthe other ingredients as possible. In particular, such
 [0070) Suitable suspending agents for use in the aqueous                 a composition will comprise by weight based on the total
suspensions according to the present invention are cellulose              volume ofthe composition: (a) from about 3% to 20%, (w/v)
 derivatives, e.g. methyl cellulose, sodium carboxymethyl cel-            of the prodrug; (b) from about 0.5% to 2% (w/v) ofa wetting
 lulose and hydroxypropyl methyl eel lulose, polyvinylpyrroli-            agent; (c) one or more buffering agents sufficient to render the
 done, alginates, chitosan, dextrans, gelatin, polyethylene gly-          composition neutral to very slightly basic (pH 8.5); (d) from
 cols, polyoxyethylene- and polyoxy-propylene ethers.                     nbout 0.5% to about 2% (w/v) ofo suspending agent; (e) up to
 Preferably sodium cnrboxymethyl cellulose is used in n con-              about 2% (w/v) preservatives; and (f) water q.s. ad 100%.
 centration ofabout 0.5 to about 2%, most preferably about I%             Preferably the aqueous suspension will be made under sterile
 (w/v). Suitable weningagents foruse in the aqueous suspen-               conditions and no preservatives will be used. Appropriate
 sions according to the present invention are polyoxyetl1ylene            methods to aseptically prepare paliperidone palmitate are
 derivatives ofsorbitan esters, e.g. polysorbale 20and polysor-           described in WO 2006/114384 which is hereby incorporated
 bate 80, lecithin, polyoxyethylene- and polyoxypropylene                 by reference herein.
 ethers, sodium deoxycholnte. Preferably polysorbate 20 is                 [0076) The preferred aqueous dosage form contains inac-
 used in a concentration of about 0.5% to about 3%, more                   tive ingredients that are polysorbate 20, polyethylene glycol
 preferably about 0.5% to about 2%, most preferably about                 4000, citric acid monohydrate, disodium hydrogen phosphate
 1.1% (w/v).                                                              anhydrous, sodium dihydrogen phosphate monohydrate,
 (0071) Suitable buffering agents are salt of weak acids and               sodium hydroxide, and water for injection. The mg of com-
 should bt: ust:<l in amount sufficient lo render lhe di~i>ersion         pound delivered in such a dosage form lo lhe patient may be
 neutral to very slightly basic (up to the pll value ofabout 8.5),         from about 25 to about l 50mg(e.g. 25 mg, 50mg, 75 mg, 100
 preferably in the pH range ofabout 7 to about 7 .5. Particularly         mg, 150 mg) injectable dosage form.
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(0077] As used herein, a dose or dosing is expressed as                ciated with psychotic features include, but are not limited to
milligrams (mg) of paliperidone palmitate. Paliperidone                the following disorders that have been characterized in the
palmitate dosing may also be expressed as mg equivalents               DSM-IV-TR. Diagnostic and Statistical Manual of Mental
(mgeq.) ofpaliperidone with about 39, 78, 117, I 56, and 234           Disorders, Revised, 3rd Ed. (I 994). The skilled artisan will
mg of paliperidone palmitate being equivalent to about 25,             recognize that there are alternative nomenclatures, nosolo-
50, 75, 100 and 150 mg eq., of paliperidone, respectively.             gies, and classification systems for pathologic psychological
[0078) The term "antipsychotics" or "antipsychotic drug                conditions and that these systems evolve with medical scien-
medication" as used herein means any medication used to                tific progress. Examples of pathologic psychological condi-
decrease or ameliorate the symptoms of psychosis in a person           tions which may be treated include, but are not limited to,
with a psychotic disorder and includes, but is not limited to          Mild Mental Retardation (3 I 7), Moderate Mental Retarda-
the following compounds: Acetophenazine Maleate; Alente-               tion (3 I 8.0), Severe Mental Retardation (318. 1), Profound
mol Hydmbmmide; Alpertine; A7apemne; Flatelapine Male-                 Mental Retardation (318.2), Mental Retardation Severity
ate; Benperidol; Benzindopyrine Hydrochloride; Brofoxine;              Unspecified (319), Autistic Disorders (299.00), Rett's Disor-
Bromperidol; Bromperidol Decanoate; Butaclamol Hydro-                  der (299.80), Childhood Disintegrative Disorders (299.10),
chloride; Butapcrazinc; Butapcrazinc Malcate; Carphcnazinc             Asperger's Disorder (299.80), Pervasive Developmental Dis-
Maleate; Carvotroline Hydrochloride; Chlorprornazine;                  order Not Otherwise Specified (299.80), Attention-Deficit/
Chlorpromazine Hydrochloride; Chlorprothixene; Cin-                    Hyperactivity Disorder Combined Type (314.01), Attention-
perene; Cintriamide; Clomacran Phosphate; Clopenthixol;                Deficit/Hyperactivity Disorder Predominately Inattentive
Clopimozide; Clopipazan Mesylate; Cloroperone Hydro-                   Type (31 4.00), Attention-Deficit/Hyperactivity Disorder Pre-
chloride; Clothiapine; Clothixamid e Maleate; Clozapine;               dominately Hyperactive-Impulsive Type (314.01),Attention-
Cyclophenazinc Hydrochloride; propcridol; Etazolatc                    Deficit/Hyperactivity Disorder NOS (314.9), Conduct Disor-
Hydrochloride; Fenimide; Flucindole; Flumezapine;                      der (Childhood-Onset and Adolescent Type 312.8),
Fluphenazine       Decanoate; Fluphenazine Enanthate;                  Oppositional Defiant Disorder (313.81), Disruptive Behavior
Fluphenazine Hydrochloride; Fluspiperone; Fluspirilene;                Disorder Not Otherwise Specified (312.9), Solitary Aggres-
Flutroline; Gevotroline Hydrochloride; Halopemide; Halo-               sive Type (312.00), Conduct Disorder, Undifferentiated Type
peridol; Haloperidol Decanoate; Iloperidone; Imidoline                 (312.90), Tourette's Disorder (307.23), Chronic Motor Or
Hydrochloride; Lenperone; Mazapertine Succinate;                       Vocal Tic Disorder (307 .22), Transient Tic Disorder (307 .21 ),
Mesoridazine; Mesoridazine Besylate; Metiapine; Milenper-              Tic Disorder NOS (307.20), Alcohol Intoxication Delirium
one; Milipertine; Molindone Hydrochloride; Naranol Hydro-              (291.0), Alcohol Withdrawal Delirium (291.0), Alcohol-In-
chloride; Neflumozide Hydrochloride; Ocaperidone; Olanza-              duced Persisting Dementia (291.2), Alcohol-Induced Psy-
pine; Oxiperomide; Penfluridol; Pentiapine Maleate;                    chotic Disorder with Delusions (291.5), Alcohol-Induced
Perphenazine; Pimozide; Pinoxepin Hydrochloride; Pipam-                Psychotic Disorder with Hallucinations (291.3), Amphet-
perone; Piperacetazine; Pipotiazine Palmitate; Piquindone              amine or Similarly Acting Sympathomimetic Intoxication
Hydrochloride; Prochlorperazine Edisylate; Prochlorpera-               (292.89), Amphetamine or Similarly Acting Sympathomi-
zine Maleate; Pmmazine Hydrochloride; Quetiapine;                      metic Delirium (292.81 ), Amphetamine or Similarly Acting
Remoxipride; Remoxipride Hydrochloride; Risperidone;                   Sympathomimetic Induced Psychotic with Delusions (292.
Rimcazole Hydrochloride; Seperidol Hydrochloride; Sertin-              11), Amphetamine or Similarly Acting Sympathomimetic
dole; Setoperone; Spiperone; Thioridazine; Thioridazine                Induced Psychotic with Hallucinations (292.12), Cannabis-
Hydrochloride; Thiothixene; Thiothixene Hydrochloride;                 Induced Psychotic Disorder with Delusions (292.11), Can-
Tioperidone Hydrochloride; Tiospirone Hydrochloride; Tri-              nabis-Induced Psychotic Disorder with I Iallucinations (292.
fluoperazine Hydrochloride; Trifluperidol; Triflupromazine;            12), Cocaine Intoxication (292.89), Cocaine Intoxication
Triflupromazine Hydrochloride; and Ziprasidone Hydrochlo-              Delirium (292.81), Cocaine-Induced Psychotic Disorder
ride.                                                                  with Delusions (292.11 ), C,ocaine-Jnduced Psychotic Disor-
[0079) The term "psychiatric patient" as used herein, refers           der with Hallucinations (292.12), Hallucinogen Intoxication
to a human, who has been the object of treatment, or experi-           (292.89), Hallucinogen Intoxication Delirium (292.81), Hal-
ment for a "mental disorder" and "mental illness" refer to             lucinogen-Induced Psychotic disorder with Delusions (292.
those provided in the Diagnostic and Statistical Manual                11), Hallucinogen-Induced Psychotic disorder with Delu-
(DSM IV), American Psychological Association (APA).                    sions (292.12), Hallucinogen-Induced Mood Disorder (292.
Those ofordinary skill in the art will appreciate that paliperi-       84), Hallucinogen-Induced Anxiety Disorder (292.89),
done esters (e.g. paliperidone palmitate) can be administered          Hallucinogen-Related Disorder Not Otherwise Specified
to psychiatric patients for all the known uses of risperidone.         (292.9), Inhalant Intoxication (292.89), Inhalant Intoxication
These mental disorders include, but arc not limited to, schizo-        Delirium (292.81), Inhalant-Induced Persisting Dementia
phrenia; bipolar disorder or other disease states in which             (292.82), Inhalant-Induced Psychotic Disorder with Delu-
psychosis, aggressive behavior, anxiety or depression is evi-          sions (292.1 1), Inhalant-Induced Psychotic with Hallucina-
denced. Schizophrenia refers to conditions characterized as            tions (292.12), Inhalant-Induced Mood Disorder (292.89),
schizophrenia, schizoaffective disorder and schizophreni-              Inhalant-Induced Anxiety Disorder (292.89), Inhalant-Re-
form disorders, in DSM-IV-TR such as category 295.xx.                  lated Disorder Not Otherwise Specified (292.9), Opioid
Bipolar Disorder refers to a condition characterized as a              Intoxication Delirium (292.81), Opioid-Induced Psychotic
Bipolar Disorder, in DSM-IV-TR such as category 296.xx                 Disorder with Delusions (292.1 1), Opioid Intoxication
including Bipolar I and Bipolar Disorder JJ. The DSM-JV-TR             Delirium (292.81 ), Opioid-Induced Psychotic Disorder with
was prepared by the Task Force on Nomenclature and Statis-             Hallucinations (292.12), Opioid-Induced Mood Disorder
tics of the American Psychiatric Assodation, and provides              (292.84), Phencyclidine (PCP) or Similarly Acting Arylcy-
clear descriptions of diagnostic categories. Pathologic psy-           clohexylamine Intoxication (292.89), Phencyclidine (PCP)
chological conditions, which are psychoses or may be asso-             or Similarly Acting Arylcyclohexylamine Intoxication
                                                                                                             MYL-PP3M056058
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                                                                                                                             PTX-0116_0015
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Delirium (292.81), Phencyclidioe (PCP) or Similarly Acting           7), and Personality Disorders, Borderline (301 .83). The num-
Arylcyclohexylamine induced Psychotic Uisorder with                  bers in parenthesis refer to the DSM-N-TR categories.
Delusions (292.1I), Phencyclidine (PCP) or Similarly Acting          (0080) Toe term ·~berapeutically effective amount" as used
Arylcyclohexylamine Induced Psychotic Disorder with Hal-             herein, means that amount of active compound or pharma-
lucinations (292.12), Phencyclidine (PCP) or Similarly Act-          ceutical agent that elicits the biological or medicinal response
ingArylcyclohexylamine Mood Disorder(292.84), Phencyc-               in human that is being sought by a researcher, medical doctor
lidine (PCP) or Similarly Aeling Arykyclohexylamine                  or other clinician, which includes alleviatfon ofthe symptoms
Induced Anxiety Disorder (292.89), Phencyclidine (PCP) or            of the disease or disorder being treated.
                                                                     [0081) Those of skill in the treatment of diseases could
Similarly ActingArylcyclohexylamine Related Disorder Nol
                                                                     easily determine the effective amount of paliperidone to
Otherwise Specified (292.9), Sedative, Hypnotic or Anxi-
                                                                     administer for the treatment of the diseases listed above. By
olytic Intoxication (292.89), Sedation, Hypnotic or Anxi-            way of example, an effective amount of paliperidone for the
olytic Intoxication Delirium (292.81), Sedation, Hypnotic or         treatment of mental disorders would be from about 0.oI
Anxiolytic Withdrawal Delirium (292.81), Sedation, Hyp-              mg/kg to about 2 mg/kg body weight. For the present inven-
notic or Anxiolytic Induced Persisting Dementia (292.82),            tion it is preferred to dose patients with about 25 mg-eq. to
Sedation, Hypnotic or Anxiolytic-Jnduced Psychotic Disor-            about 150 mg eq. paliperidone or about 39 mg to about 234
der with Delusions (292.11 ), Sedation, Hypnotic or Anxi-            mg paliperidone palmitate. Toe amount of paliperidone
olytic-lndoced Psychotic Disorder with Hallucinations (292.          palmitate is provided in sufficient amount to provide the
12), Sedation, Hypnotic or Anxiolytic-Jnduced Mood                   equivalent dose ofpaliperidone after the palmitic acid moiety
Disorder (292.84), Sedation, Hypnotic or Anxiolytic-Jnduced          is removed from the ester (e.g. 156 mg corresponds 10 pali-
Anxiety Disorder (292.89), Other (or Unknown) Substance              peridone l 00 mg). In one embodiment of present invention
Intoxication (292.89), Other (or Unknown) Substance-In-              wherein paliperidone palm.itate is administered by intramus-
duced Delirium (292.81), Other (or Unknown) Substance-               cular injection once per month is preferred.
Induced Persisting Dementia (292.82), Other (or Unknown)             [0082) When asked, approximately half of patients in a
Substance-Induced Psychotic Disorder with Delusions (292.             13-week study stated that they preferred deltoid to gluteal
 11), Other (or Unknown) Substance-Induced Psychotic Dis-            injections, with the most common reasons for thjs preference
order with Hallucinations (292.12), Other (or Unknown)               being that it was easier, less embarrassing and faster than an
Substance-Induced Mood Disorder (292.84), Other (or                  injection in the gluteal muscle. Moreover, it may be beneficial
Unknown) Substance-Induced Anxiety Disorder (292.89),                for patients who favour only deltoid injections due to para-
Other (or Unknown) Substance Disorder Not Otherwise                  noia and other psychiatric symptomatology. When dosing
Specified (292.9), Obsessive Compulsive Disorder (300.3),            frequency, aqueous-based formulation and flexibility of
Post-traumatic Stress Disorder (309 .81), Generalized Anxi-          injection site to accommodate patients' preference are con-
ety Disorder (300.02), Anxiety Disorder Not Otherwise                sidered in combination, paliperidone palmitate may provide
Specified (300.00), Body Dysmorphic Disorder (300.7),                the advantages of improved convenience and acceptability
Hypochondriasis (or Hypochondriacal Neurosis) (300.7),               compared with previous antipsychotic medications. With the
Somatization Disorder (300.81 ), Undifferentiated Somato-            availability ofpaliperidone palmitate, the clinicians may need
form Disorder (300.81 ), Somaloform Disorder Not Other-              to manage patients switching treatment from other antipsy-
wise Specified (300.81), Tntermittent Explosive Disorder             chotic drugs to paliperidone palmitate.
 (312.34), Kleptomania (312.32), Pathological Gambling                (0083) Toe following non-limiting examples are provided
 (312.31), Pyromania (3 12.33), Trichotillomania (312.39),           to further illustrale the present invention.
and Impulse Control Disorder NOS (3 12.30), Schizophrenia,
 Paranoid Type, (295.30), Schizophrenia, Disorganized (295.                                    Example I
 10), Schizophrenia, Catatonic Type, (295.20), Schizophrenia,
Undifferentiated Type (295.90), Schizophrenia, Residual                                      Methodology
Type (295.60), Schizophreniform Disorder (295.40),                   Population Pharmacokinetics Models
 Schizoaffective Disorder(295.70), Delusional Disorder(297.
 I ), Brief Psychotic Disorder (298.8), Shared Psychotic Dis-        (0084) A comprehensive population pharmacokinctics
 order (297 .3), Psychotic Disorder Due to a General Medical         (PK) model was developed for paliperidone palmitate based
 Condition with Delusions (293.81 ), Psychotic Disorder Due          on data from previous studies ofsubjects with schizophrenia.
 to a General Medical Condition with Hallucinations (293 .82),       Briefly, a I-compartment model with first-order elimination
 Psychotic Disorders Nol Otherwise Specified (298.9), Major          best described the PK of paliperidone following intramuscu-
 Depression, Single Episode, Severe, without Psychotic Fea-          lar administration of the paliperidone palmitate ester. As
 tures (296.23), Major Depression, Recurrent, Severe, without        shown in FIG. 1, the absorption componcnl of the model
 Psychotic Features (296.33), Bipolar Disorder, Mixed,               allowed a fraction (F2) of the dose to enter the central com-
 Severe, without Psychotic Features (296.63), Bipolar Disor-         partment relatively quickly via a zero-order process with
 der, Mixed, Severe, with Psychotic Features (296.64), Bipo-         duration D2. After a cenain lag-time, the remaining fraction
 lar Disorder, Manic, Severe, without Psychotic Features (296.       (l-F2) entered the systemic circulation via a first-order pro-
 43), Bipolar Disorder, Manic, Severe, with Psychotic                cess (KA) that determines the shape ofthe plasma concentra-
 Features (296.44), Bipolar Disorder, Depressed, Severe,             tion-time curve following injection. NONMEM® Version V
 wilhout Psychotic Features (296.53), Bipolar Disorder,              Qcon Development Solutions, Ellicott City, Md.) running
 Depressed, Severe, with Psychotic Features (296.54), Bipolar        with NM-TRAN version TII was used to conduct all popula-
 II Disorder (296.89), Bipolar Disorder Not Otherwise Speci-         tion PK analyses and simulations in accordance to the NON-
 fied (296.80), Personality Disorders, Pardlloid (301.0), Per-       MEM Users Guides (Icon Development Solutions, Ellicoll
 sonality Disorders, Schizoid (301.20), Personality Disorders,       City, Md.). NONMEM was run using the J&JPRD computa-
 Schizotypal (301.22), Personality Disorders,Antisocial (301.        tional grid using Intel FORTRAN 9.0 compiler for W1Ddows.
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Generation of data sets for NONMEM simulations and visu-            parameters were obtained using clinical studies where inten-
alization ofresults were performed using S Plus® 6.0 profes-        sive blood sampling occurred in about 56 subjects. These
sional release 2 software (Insightful C,orporation, Seattle,        estimates were used as part of the second step in a non-
Wash.). The model building included pooled data from about          parametric approach to perform population simulations. For
1,795 subjects from six Phase 1 sturues and five Phase 2 and        the simulation data set, the parameters of interest were
3 studies. A total of 18,530 PK samples with valid concentra-       obtained by resampling the individual estimates (n=S,000
tion time-points were part ofthe population PK database. The        subjects) where the resampling unit was the subject. This
final model from the historical population PK analysis [(Pop        method was able to retain the joint distribution of subject-
PK Report Paliperidone Palmitate)], including all significant       specific parameters. It was also noted that a depiction of
subject covariates was used as simulation machinery for             inter-subject variability computed using this method would
assessing various dosing regimens for paliperidone palmitate        be an underestimate due to the small size that was used in
including missed dose treatment and switching treatment.            building this model. Therefore, the prediction interval for
Additionally, a comprehensive population PK model was               RJSPERDAL® CONSTA® simulations should be inter-
developed for the extended release oral formulation of pali-        preted with caution. To evaluate the outcome of the simula-
peridone or INVEGA. The model was constructed using                 tions, the population median and about 90"/o prediction inter-
pooled data from about 1,368 subjects with about 21,183             val of the simulated plasma concentration vs. time profiles
paliperidone concentrations from all phases of the INVEGA           were plotted together. Oral supplementation used during the
drug development. The PK ofpaliperidone in plasma was best          first few weeks of RISPERDAL® CONSTA® therapy is
captured using an open 2-compartment disposition model              ignored in this modeling to simpHfy this complex exercise.
with linear elimination from the central compartment. The           [0087] To add credence lo the simulation exercise for the
absorption was modeled with a sequential zero--0rder input          initiation regimens, model based projections were compared
into a depot compartment and first--0rder absorption with a         with the limited and/or sparse observed data from clinical
lag-time from the depot to the central compartment. The             studies.
relatively faster absorption ofpaliperidone from the oral route
allowed identification of the rustributive peripheral compart-                                Example2
ment, which is not discernible in the flip-flopped paliperidone
palmitate PK data. The final paliperidone model from this                                   Missed Doses
historical analysis, including all significant subject covari-
ates, was used for simulating PK exposure from oral paliperi-       [0088) To manage patients missed the dose of the treat-
done at various dose levels.                                        ment, simulations were used to evaluate reinitiation treatment
[0085] The PK profiles for about 5,000 subjects were simu-          in patients who had missed a week 4 dose of paliperidone
lated for subjects receiving injectable paliperidone palmitate      palmitate and returned to treatment at weeks 5, 6, 7 or 8. The
(INVEGA® SUSTENNA™) and oral paliperidone) (]N-                     simulations were also used to evaluate re-initiation treatment
VEGA®). For each data set, the covariates of interest were          in patients who had a prolonged lapse of more than about 6
obtained by resampling from the subject covariates (resam-          months. The patient may be administered a single dose at day
pling unit was the subject) available in the subject PK data-       1 using the maintenance one that would have been adminis-
base for paliperidone palmitate and the joint distribution of       tered at exactly the 4th week, or two doses at day I/day 8 using
subject-specific characteristics was maintained. To evaluate        the same dose as the maintenance dose. Both possibilities
the outcome of the simulations, the population median and           were investigated for the about 5, 6, 7, and 8 week scenarios
about 90"/o prediction interval of the simulated plasma con-        using the doses of about 39, 78, 117, 156, and 234 mg of
centration vs. time profiles were plotted together.                 paliperidone palmitate. The time point at which re-initiation
[0086) A compartmental model was also developed for                 with 2 doses could be appropriate was judged based on visual
RISPEROAL® CONSTA® which included a one-compart-                    inspection of simulated curves. The profiles after a missed
ment disposition submode] characterized by clearance and            dose were assessed empirically and proximity to the steady-
volume of distribution and three parallel absorption path-          state levels was the criterion for judging the utility of these
ways: an immediate pathway describing the absorption of             dosing schemes.
non-encapsulated risperidone, and a fast and a slow sus-            [0089] These results in FIGS. 2 to 4 indicated that the
tained-release pathway. For the model building, data for the        reinitiation treatment after patients missed their Week4 main-
RISPERDAL® CONSTA® originating only from the final                  tenance dose or the stabilized dose, re-initiation depended
20-kg manufacturing scale used in Phase-111 trials and "to be       upon the time lapse since the last injection. For example,
marketed" formulation was used as the source information. A         patients who missed their week 4 maintenance dose and
two stage approach had to adopted for modeling RISPER-              returned to re-initiation at week 5 or 6 (i.e., time lapse since
DAL® CONSTA® PK because the active moiety profile after             last injection is more than about 4 weeks and less than about
intramuscular admmistration of risperidone depot micro-             6 weeks) may be administered with single re-initiation dose at
sphere formulations was extremely complex (immediate                the previously stabilized dose followed by monthly injections
release of a small amount of non-encapsulated risperidone           (FIGS. 2 and 3). The doses may be administered in either the
followed by two sustained-release processes differing in the        deltoid muscle with a 1.0 inch 23-G needle for the patients
rate of release along with variable delay in release initiation).   weighting less than about 90 kg or a 1.5 inch 22-G for those
The model was fitted to individual concentration-time pro-          weighting equal or more than about 90 kg, nr the gluteal
files of active moiety. However, the mixed-effects version of       muscle with a 1.5-inch 22-G needle for all weights. Addition-
the model which included interindividual variability in             ally, [FIG. 6, Panel A and BJ This is recommended as the
par.11neters could not be fitted due to numerical problems with     models showed that reinitiation with two doses at day I/day 8
the NONMEM software. Thus, at the first stage, individual           resulted in a higher than desired plasma concentration (]'JG.
estimates of active moiety (risperidone+paliperidone) PK            3).
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10090] The simulations also showed that patients who                       day I. Afterward, the administration of the 2nd dose of about
missed their week 4 maintenance dose and returned to re-                   JOO mg-eq. dose on day I! maintained the drug levels in the
initiation at week 7 or 8 (i.e., time lapse since last injection is        desired therapeutic range.
more than about 6 weeks and less than about 6 months) may                  [0095) On the contrary, the results of FIG. SB showed that
be administered with two re-initiation doses at the previously             when the day 8 injection was skipped, the paliperidone
stabilized dose followed by monthly injections. The two                    plasma levels began to decline and became lower than the
doses at day ]/day 8 allow re-attainment of steady-state
                                                                           desired therapeutic range at about 2 weeks after the day l
plasma concentration quickly (FIG. 3). Additionally, the two
                                                                           injection. Therefore, the initiation regimen of day l /day 8 of
reinitiation doses were injected into the deltoid muscle with a
                                                                           paliperidone palmitate provided an effective treatment for
I .0 inch 23-G oeedle for the patients weighting less than
about 90 kg or a 1.5 inch 22-G for those weighting equal or                switching patients from oral antipsychotics.
more than about 90 kg. Each ofthe two re-initiation doses was              (0096] In addition to the simulation based analysis, a litera-
the previously stabilized dose, except when the patient was                ture search was performed to evaluate the pharmacokinetic
stabilized on a doseofabout 234 mg. For the patient stabilized             characteristics of other oral antipsychotics. The results of
on a dose of about 234 mg of paliperidone palmitate, the                   literature search for typical and atypical antipsychotics were
model recommended each ofthe first two doses of about 156                  summarized in Tables l and 2, respectively.
mg of paliperidone palmitate.
(0091] The simulations further recommended that patient                                                       TABLE I
who missed their week 4 maintenance dose and returned
                                                                                          Tcnnin.sl Half-life of Or.ii Typica.l Antipsychotics
more than about 6 months were required to re-initiate the
treatment de novo (FIG. 4). That is, patients were adminis-                       Ors.I Typical Antipsychotic                     Terminal Half-life
tered with paliperidooe palm.itate of about 234 mg ou day l
and about 156 mgon day 8. Each dose was administered into                         Chlorpromazine                                     8-35 hows•
                                                                                  Flupenthixol                                      22-36 hows•
the deltoid muscle with needle selection based upon patient                       Fluphcnazine                                      14-24 hours•
weight as discussed above. Toe re-initiation doses were fol-                      Halopcridol                                       12·36 hows•
lowed by monthly paliperidone palm.itate injections using                         Loxapine                                              4 houn•
                                                                                  Molindooe                                           1.5 hows•
maintenance dose recommendations as discussed above.                                                                                 8-21 hours•
                                                                                  Perphcna.zine
Finally, the simulation models indicated that there is a ::1:2 day                Pimozide                                            2-3 days•
dosing window for the administration of the second dose, if                       Prochlozpera:zinc                                   4-8 bows•
needed, and a±7 day dosing window for the administration of                       Thioridazine                                       9-30 bows•
                                                                                  Thiothixcne                                          34 bow.•
the monthly maintenance doses (data not shown).                                                                                     10-20 bows•
                                                                                  Trifluopcnzine

                           Example3                                        • &«bcfsky L. Pbarmacolcinctiu and CW1 idcnctiom: upcfiltc for new antip&ycbotjcl. J

         Switch Treatment from Oral Antipsychotic
                                                                           f~:i~~Z!c~J             !W.~~-~ Fr« Encyclopedia, Wi\:imedil fflmcfarion Inc
                                                                           [Encydop,d;. on•liD<); mri<Y<d Aug. 6, 2009.

(0092] Pharmacokinetic models or simulations were devel-
oped to examine drug levels when patients were switched                                                        TABLE2
from extended release (ER) oral paliperidone to paliperidone
palm.itate. The models also determined whether pervious oral                             ·1crminal H&Jf-life gfQTAIAtypical Antimchotics
antipsychotics such as paliperidone ER could be discontinued                    Oral Atypical Antipsychotic                           Terminal Half-life
at the time of initiation of treatment with paliperidone pahni-
                                                                                Aroisulpridc                                                 12 bOW'I"
tate.
                                                                                Aripiprazolc                                              47-68 hours '
(0093] Toe models examined patients who were treated                            Cloza.pine                                                 9-17 hours•
with a daily dosing of about 6 mg paliperidone ER and initi-                    Olanza.pine                                                  33 hours•
ated with paliperidone palmitate on the first day after the last                Paliperidone (9-hydroxy-rirperidone)                         25 hours'
                                                                                QuetiApine                                                    6 hout1'
oral dose of paliperidone ER. Toe simulated concentrations                                                                                   22 hours"
                                                                                R.icpe:ridone active moitty "
ofpaliperidooe from its palm.itateesterwere added to the drug                   Sertindole                                                   70 hours'
levels from paliperidone ER using the superposition prin-                       Zipruidonc                                                 8-10 hours'
ciples. Toe simulation models analyzed two scenarios: (A)
                                                                           ' M.uriMC, Voloo.,riLS,Coln..tiA, FiomrtiniA,O.Go,p,ri IF.~SR.Clini<al
patients switched from the dose of about 6 mg paliperidone
ER to pnliperidone palm.itate using the two initiation doses of            ~-===~~~c1:~:!m~.~~~s~~
                                                                           iVcrmeirM.N~kMl.Rc:mmcricB,~G,Hcochcl:xJ,Str:.1kcmP,T1lluriX.,Boom
about I 50 mg-eq. in the deltoid muscle on treatment day I and             S, &rdekem M, vu Olt.elaa- N, Octon A. Abeorptioa, mttabobtm, aad excretion of
about JOO mg-eq. in the deltoid muscle one week later; and                 rJ~~9     ~ncwmoao1minq;cam,oont.iDt.a~'-On.t&Mctabimpo.. lOOI April;

(B) patients switched from the dose of about 6 mg paliperi-                • Active moiety ii the sum o fpll'tDt <Ws pM 1,·, lldiYc mcubohtc 9--b)'droxy•rkpnidooc
done ER to paliperidone pahnitate using a single day I injt:e-
tion of about 150 mg-eq. dose. Toe results of the simulations              (0097) As shown in the tables, all oral antipsychotics have
were summarized in FIG. S.                                                 half-life ofless than about 3 days. Given the short half-life of
(0094] As shown in FIG. SA, the desired paliperidone                       the oral antipsychotics, the drug levels of the previous oral
plasma levels were maintained during the first week of the                 antipsychotic would be decline rapidly during the first week
switching treatment from about 6 mg paliperidone F.R to day                of initiation with paliperidone palmitate. Additionally, more
 I/day 8 initiation regimen ofpaliperidone palm.itate. Though              than about 75% of the drug from the oral therapy would be
the palperidone plasma levels dt:eline rdpidly from the ordl               washed out from the systemic circulation within the fin,t
treatment, the plasma levels orconce.ntratioo increased due to             week. These results further supported the simulations that a
the intramuscular administering of paliperidooe pahnitate at               second loading dose of paliperidone palmitate after 7 days or
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on the 8th day after the treatment day I would attain the
paliperidone concentrations within the desired therapeutic                                                 TABLE3
range.
                                                                              Summary of the properties: ofdepot intramuscu1ar antipsychotics

                                                                                                                    Admini1d:ration
                         Example4                                           Drug                                       interval                 •112 /


   Switch Treatment from Other Loog Acting Injectable                       Clopenthixol dccanoatc •                  2-4 weeks:                19 days
                                                                            Pezphenazi.ne enantlw.e •                   2 ~,eeks               4-6 days
                     Antipsychotic                                          Pipothia.zine pslmitate "                   4 weeks              15-16 days
                                                                            Haloperidol dccsooate •                     4 .... .ks              21 days
[0098] Pharmacokinetic models or simulations were also                      Flulipirilene •                             I week                   7 days
                                                                            Zuclopcnthixol dcc:woate"                 2-4 weeks                 19 day,
developed to exam.inc the drug levels when patients were                    Flupcnthixol decanoatc •                  2-4 weeks                 17 days
switched from RISPERDAL® CONSD\® to paliperidone                            Fluphcnazinc dccanoste b                  2-5 weeks                 14 day,
palmitate. The modeling also determined whether the treat-                  Fluphcnazinc enanthatc ,:                    1 week                  4 days
                                                                            Rispcridonc Micro,phctts 4                  2 weeks                4-6 days
ment with palipcridonc palmitate could be initiated at the next             Olan:upinc pamoatc '                      2-4 weeks                 30 days
scheduled injection of other injectable antipsychotic such as
                                                                       • Alwmn AC, Sauclla F, Santini~ MootJncrC, Fumaplli S, :Mundo :E. latramus,cular
RISPERDAL® CONSTA®.                                                    ~?.s'i'~' of1Dtipsycbotics: uses and relcvmoe io clinical pncticc. Orup. 2003; 63(5):
[0099] The models examined patients who were treated                   b Kane J M.A1u1lia E,Altamura A C,Ayuso Gutimu J       L. Bruncllo N, Flei1dihac.ktr WW,
                                                                       Cncbcl W, Gerlach J, Guelfi JD, Xissl i"& W, TA~e YD, J.illdstrilm F.., Mendlcwicz J,
with a bi-weekly administration schedule ofRISPERDAL®                  Racagoi G, Carolla L S, Schooler N R. Guidelines for depot mipcy,cbotic trHtmcnt io
                                                                       schizophrenia. Europea.a Ncuropychophonmcology CoDKmUsCoafercoce iD Simi, ItaJy.
CONSTA® and switched to paliperidone palmitate for about               Eur Ncuropsycbopharm1col 1998; 8(1 ): SS-66.
two weeks after their last RISPERDAL® CONSTA® injec-                   ,: Levron JC, Ropm R. Clinical pbanmcokinctics ofhalopcridol dccaooatc. Compuiloo
                                                                       with other prolonged-action newolepties.. Enc.cpbak. 1937; 13(2): 83-7.
tion. The simulated concentrations of paliperidone from its            • Gcl'\.·c:rt 0, Eril·uoo B, Pmson P, HcUdia I.., Bjcimer ~ Mamacrt E, Rem:neric B,
                                                                       Ecrdckeos M, Nyberg S. Pbarmacokizxtics and D2 rtcep(Or ~ or long-acting
palmitate ester were added to the active moiety profile from           iojectable risperidone {Rjspcrdal Comta) in pttiats with 5ebizopbrcoia. lat J Ncuropsy-
                                                                       chophmnacol. 2005; 8(1~ 27-36.
RISPERDAL® CONSD\® using the superposition prin-                       ' Eli Lilly. Zypadbcra. Sl.lnlml)' or product chanlctttiltia. The Netherlands: Eli Lilly
                                                                       Nederland B. V. 2008. Available Online at: :T;/1'.ww.emca.cmopuulln:maodocs'POFV
ciples, as RISPERDAL® CONSTA® has the same active
moiety as paliperidone palmitate.                                      Pi;-1!';~'!:~!:~ili~tt:::1c ~;°                        09
                                                                                                                                 •

(0100] Plasma concentrations were simulated with pali-                 (0103] The results in Table 3 showed that, for all depot
peridone palmitate injection at about two weeks after the last         antipsychotics, the administration interval was in the range of
RJSPERDAL® CONSTA® injection followed by monthly                       about 1-2 half-life for each product. Based on the simple
injections of paliperidone palmitate. The simulation models            first-order elimination pharmacokinetic principles, it may
analyzed two scenarios: (A) a low dose scenario where                  take about 4 to 5 half-life for such drugs to be eliminated from
patients were switched from about 25 mg RISPERDAL®                     the systemic circulation. Therefore, there would be sustained
                                                                       therapeutic levels ofthe prior drug in the systemic circulation
CONSTA® to about 50 mg-eq. paliperidone palmitate fol-
                                                                       when paliperidone palmitate is administered in place of the
lowed by monthly injections ofabout 50 mg-eq. paliperidone
                                                                       next scheduled injection ofthe previous antipsychotic. Given
palmitate; and (B) a high dose scenario where patients were            that significant levels oftlie previous antipsychotic would be
switched from about 50 mg RISPERDAL® CONSTA® to                        present in the systematic circulation, there would be no need
about 100 mg-eq. paliperidone palmitate followed by                    to use the 2"d initiation dose of paliperidone paImitate on day
monthly injections of about 100 mg cq. palipcridonc palmi-             8.
tate. These results were summarized in FIG. 6.
[0101] FIG. 6 showed that, for both low and high dose                     What is claimed is:
cases, the drug levels were maintained close to the steady-               1. A dosing regimen for administering an injectable pali-
state concentrations right after the switch from RISPER-               peridone palmitate depot to a patient in need of psychiatric
DAL® CONST.I\® to paliperidone palmitate. Additionally,                treatment that has been treated with a monthly injectable
after the last injection of RISPERDAL® CONSTA®, the                    paliperidone palmitate depot, wherein said patient misses the
                                                                       next scheduled maintenance dose of the monthly injectable
steady state concentrations were maintained for about 4-5
                                                                       paliperidone palmitate depot, comprising:
weeks and declined thereafter with a mean plasma half~lifo of
                                                                          (I) administering intramuscularly in the deltoid muscle of
about 4-6 days. "lherefore, at the time of switching treatment,
                                                                             said patient a first reinitiation loading dose of the
only a single injection of paliperidone palmitate was suffi-
                                                                             monthly injectable paliperidone palmitate depot; and
cient. This simulation indicated that when switching patients
                                                                          (2) administering intramuscularly in the deltoid or gluteal
from previous treatment ofother long-acting injectable antip-
                                                                             muscle of said patient a reinitiation maintenance dose of
sychotics, paliperidone palmitate therapy may be initiated in
                                                                             the monthly injectable paliperidone palmitate depot on
place of the next scheduled injection and continued at                       about the 23rd day to about the 37th day after adminis-
monthly intervals. Also, the simulation indicated that the                   tering of said first reinitiation loading dose.
second dose of initiation dosing regimen and oral supplement              2. T11e method of claim 1, further comprising administer-
were not required when switching from other Jong acting                ing in the deltoid or gluteal muscle of said patient said reioi-
injectable antipsychotics.                                             tiation maintenance dose monthly.
(0102] In addition to the simulation based analysis, a litera-            3. The method of claim 1, wherein said patient misses the
ture search was conducted to evaluate the pharmacokinetic              next scheduled maintenance dose of the monthly injectable
characteristics of other long acting injectable antipsychotics.        paliperidone palmitate depot for more than about 4 weeks and
The results were summaried in Table 3.                                 less than about 6 weeks.

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   4. The method ofclaim I , wherein said patient misses the            injectable paliperidone palmitate depot on about the 6th day
next scheduled maintenance dose of the monthly injectable               to about the 10th day after administering of said first reinitia-
paliperidone paImitate depot for more than about 6 weeks and            tion loading dose.
less than about 6 months.                                                  17. Toe method of claim 16, further comprising adminis-
   S. The method of claim 1, wherein said patient misses the            tering in the deltoid or gluteal muscle of said patient said
next scheduled maintenance dose of the monthly injectable               reinitiation maintenance dose monthly.
                                                                           18. The method of claim 16, wherein said first reinitiation
paliperidone palmitate depot for more than about 6 months.
                                                                        loading dose is about 39 mg to about 117 mg.
   6. The method of claim 3, wherein said first reinitiation               19. "!be method of claim 16, wherein said second reinitia-
loading dose is the same amount as said scheduled mainte-               tion loading dose is about 39 mg to about 117 mg.
nance dose.                                                                20. A dosing regimen for administering an injectable pali-
   7. The method of claim 3, wherein said first reinitiation            peridone palmitate depot to a patient in need of psychiatric
loading dose is about 39 mg to about 234 mg.                            treatment that has been treated with injectable antipsychotic
   8. The method of claim 3, wherein said reinitiation main-            drugs olbt:r than palipt:ridont: palmitatt:, wht:rdn said patit:nt
tenance loading dose is about 39 to about 234 mg.                       is switched from said injectable anti psychotic drugs to inject-
   9. Toe method ofclaim 3, wherein said patient is in need of          able paliperidone palmitate depot, comprising:
treatment for psychosis.                                                   (I) administering intramuscularly in the deltoid muscle of
                                                                              said patient a first loading dose of said injectable pali-
   10. The method ofclaim 3, wherein said patient is in need                  pcridone palmitate depot; and
of treatment for schizophrenia.                                            (2) administering intramuscularly in the deltoid or gluteal
   11. The method of claim 3, wherein said patient is in need                 muscle of said patient a maintenance dose ofsaid inject-
of treatment for bipolar disorder.                                            able paliperidone palmitate depot on about the 23rd day
   12. Toe method of claim 4, further comprising administer-                  to about the 37th day after administering of said first
ing intramuscularly in the deltoid or gluteal muscle of said                  reinitiation loading dose.
patient a second reinitiation loading dose of the monthly                  21. The method of claim 20, further comprising adminis-
injectable paliperidone palmitate depot on about the 6th day            tering in the deltoid or gluteal muscle of said patient said
to about the 10th day after administering ofsaid first reinitia-        maintenance dose monthly.
tion loading dose.                                                         22. The method ofclaim 20, wherein said first loading dose
                                                                        is about 78 mg to about 234 mg.
   13. Toe method of claim 12, further comprising adminis-
                                                                            23. Toe method of claim 20, wherein said maintenance
tering in the deltoid or gluteal muscle of said patient said
                                                                        dose is about 39 mg to about 234 mg.
reinitiation maintenance dose monthly.
                                                                            24. The method of claim 20, wherein said patient is in need
   14. Toe method of claim 12, wherein said first reinitiation          of treatment for psychosis.
loading dose is about 39 mg to about 117 mg.                                2S. The method of claim 20, wherein said patient is in need
   1S. Toe method of claim 12, wherein said second reinitia-            of treatment for schizophrenia.
tion loading dose is about 39 mg to about 117 mg.                           26. The method ofclaim 20, wherein said patient is in need
   16. Toe method of claim S, further comprising administer-            of treatment for bipolar disorder.
 ing intramuscularly in the deltoid or gluteal muscle of said
patient a second reinitiation loading dose of the monthly                                       • • • • •




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ORIGINAL RESEARCH ARTICLE                                                                                                           03 l 2-f/163/09-/$49.95/0
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Population Pharmacokinetics of Intramuscular
Paliperidone Palmitate in Patients with Schizophrenia
A Novel Once-Monthly, Long-Acting Formulation of an Atypical Antipsychotic
Mahesh N. Samtani,1 An Vermeulen2 and Kim Stuyckens2
1 Oinical Pharmacology, Advanced PK-PD Modeling & Simulation, Johnson & Johnson Pharmaceutical Research & Development,
  LLC, Raritan, New Jersey, USA
2 Oinical Pharmacology, Advanced PK-PD Modeling & Simulation, Johnson & Johnson Pharmaceutical Research & Development,
  a Division of Janssen Pharmaceutica NV, Beerse, Belgium



Abstract                Objectives: To characterize the population pharmacokinetics of paliperidone after intramuscular admin-
                        istration of its long-acting palmitate ester at various doses and at two different injection sites (deltoid and
                        gluteal muscle).
                        Methods: The retrospective analysis included pooled data from 1795 subjects from six phase I trials and five
                        phase II and ill trials. A total of 18 530 pharmacokinetic samples with valid concentration timepoints were
                        available for this analysis. Nonlinear mixed-effects modelling of the pooled data was conducted using
                        NONMEM"' software. The full dataset was divided into an index dataset (model development) and a
                        validation dataset. After validation both the index and validation datasets were combined and the final
                        model was re-run on the full dataset.
                        Results: The concentration-time data for paliperidone following intramuscular administration of its palmitate
                        ester were best fitted to a one-compartment model with first-order elimination. The absorption component of
                        the model allowed a fraction of the dose (f;i) to enter relatively quickly into the central compartment via a zero-
                        order process. After a lag time, the remaining fraction then entered the systemic circulation via a fust-order
                        process. Interindividual variability (IIV) in clearance (CL), central volume of distribution (VcJ and the ab-
                        sorption rate constant (le,.) were estimated at a 40%, 69% and 59% coefficient of variation (CV), respectively.
                        The IIV on f2 for paliperidone absorption via the dual-input process was fitted through logit transformation,
                        and its standard deviation (SD) was 0.064. Similarly, the interoccasion variability (IOV) on CL, Vd and f2 was
                        26% CV, 14% CV and 0.07 SD, respectively. An additive-error model with log-transformed data was used to
                        describe the residual variability (RV), and its SD was 0.22. The final covariate model indicated that the
                        following variables had a significant influence on k.: sex, age, injection volume (IVOL) and injection site
                        (INJS). Similarly, the following variables had a significant influence on f2 : sex, body mass index (BMI), needle
                        length (NDLL), INJS and IVOL. In addition, CL was related to creatinine clearance (CLc.J, whereas Vd was
                        related to BMI and sex.
                        Conclusions: A dual-absorption pharmacokinetic model best described the complex pharmacokinetics of
                        paliperidone after intramuscular administration of its palmitate ester. These results suggest that the phar-
                        macokinetics of paliperidone paImitate are mostly influenced by BMI, CLcR, INJS, IVOL and NDLL.



    Background                                                         comes.C 1•3-6J In part, to address this problem, sustained-release
                                                                       intramuscular formulations of older 'typical' antipsychotics,
   Atypical antipsychotic agents represent a treatment option          such as haloperidol and fluphenazine, were developed.
for many patients with schizophrenia.(J,lJ Compliance with oral           Paliperidone (9-hydroxy-risperidone) is an atypical antipsy-
antipsychotic medications is particularly problematic for pa-          chotic agent and is the major active metabolite of risperidone
tients with schizophrenia and can correlate with poor out-             with a receptor-binding profile similar to that of risperidone.

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586                                                                                                                            Samtani ti al.




Drug-drug interaction studies suggest that paliperidone, be-           Disorders diagnosis of schizophrenia.[! 11 In phase I trials, sub-
cause of its predominant renal route of elimination, is not            jects with similar psychotic disorders (e.g. schizophreniform or
expected to exhibit clinically significant pharmacokinetic inter-      schizoaffective disorder) were allowed to participate and were
actions, except with drugs that interact at the level of the kid-      therefore largely representative of the population studied in the
ney. In order to rapidly achieve therapeutic steady-state              phase III programme.
concentrations, two formulations of paliperidone have been                  A total of 1795 subjects from 11 trials were included in the
developed: paliperidone extended release (ER) tablets, which           population pharmacokinetic analysis of paliperidone. All
use an oral ER osmotic pump technology (OROS®), and a                  plasma samples with quantifiable concentrations of paliper-
long-acting injection, paliperidone palmitate, which is currently      idone, with date and time of sampling, including the last dose
under investigation for the treatment of schizophrenia.Pl The          administration, were used for the population pharmacokinetic
US FDA approved lnvega® Sustenna™ (paliperidone palmi-                 analysis. Measurements below the quantification limit and
tate) extended-release injectable suspension for the acute and         missing values were excluded from the analysis. Pharmaco-
maintenance treatment of schizophrenia in adults on July 31,            kinetic samples were analysed using a validated liquid chroma-
2009.C81 Similarly, Invega® (oral paliperidone ER tablets) is           tography coupled to tandem mass spectrometry method.l 121
approved for acute and maintenance treatment of schizo-                     Details of the 11 trials included in this analysis are presented
phrenia and acute treatment of schizoaffective disorder either          in table I. The dosing regimen for multiple-dose trials (except
as monotherapy or adjunctive therapy to mood stabilizers                Study INT-I I) consisted of two initial intramuscular injections
and/or antidepressants.C91                                              separated by I week, followed by subsequent doses at monthly
    Because paliperidone is combined with other excipients in           (every 4 weeks) intervals. This is also the proposed recom-
the injectable formulation, doses of paliperidone palmitate can         mended dosing regimen for the product that is to be marketed,
be expressed in terms of milligram equivalents (mg eq.) of              and is based on the principie that this regimen allows faster
the active moiety, paliperidone. Thus, paliperidone palmitate           attainment of apparent steady state, especially given the long
 156 mg is equivalent to paliperidone I 00 mg and is referred to as     apparent half-life of this product.
 I00mgeq.                                                                   Six paliperidone palmitate phase I trials were available with
    Paliperidone palmitate was formulated as an aqueous suspen-         sufficient information on the full plasma concentration-time
sion with a particle-size distribution that has sustained-release       profiles of paliperidone (n=459 subjects; 9935 pharmaco-
properties and thus facilitates once-monthly (every 4 weeks)            kinetic samples). Pharmacokinetic information was also
dosing. Based on its extremely low water solubility, paliper-           available from one phase II trial and four phase ill trials.
 idone palmitate dissolves slowly at the injection site after intra-    In total, 15 754 (85%) pharrnacokinetic samples were used
muscular injection and is then hydrolysed to paliperidone_[IOJ           to develop the population pharrnacokinetic model from 1401
 Once the ester is hydrolysed intramuscularly, paliperidone then         (78. 1%) subjects from nine trials, and this was referred to
 becomes available in the systemic circulation_[IOJ Paliperidone         as the index dataset. The model was validated using an exter-
 palmitate provides relatively constant plasma concentrations of         nal dataset that consisted of data from one phase I (PSY-1002
 paliperidone and may offer both an alternative to daily oral            trial) and one phase III (PSY-3002) trial. The validation
 dosing and an opportunity for enhanced compliance.                      studies included 394 (21.9%) subjects who contributed to 2776
    The purpose of this study was to characterize the population         (15%) plasma samples. Once the population pharmacokinetic
 pharmacokinetics of paliperidone after intramuscular admin-             model was validated, the index and validation datasets were
 istration of its palmitate ester at various doses and at two dif-       combined, and the final model was re-run on the full data-
 ferent injection sites (deltoid and gluteal muscle).                    set. The full dataset consisted of 18 530 samples from 1795
                                                                         subjects.
                                                                            Paliperidone palmitate was supplied as a sterile aqueous
      Methods                                                            suspension (I00mgeq./mL) for intramuscular injections at
                                                                         doses of25-150mgeq. with injection volume (IVOL) varying
                                                                         from 0.25 mL to 1.5 mL. In the database, two different for-
      Patient Population. Data Allocation, Bloanalysls
                                                                         mulations, F0 11 and F0 13, were used by 684 and 11 11 subjects,
      and Clinical Formulations
                                                                         respectively. The population pharmacokinetic analysis was
  All subjects in the phase II and III development programme             used to evaluate the similarity in pharmacokinetic parameters
met criteria for a Diagnostic and Statistical Manual of Mental           and systemic exposure between these two formulations.

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                                                                                                                                   PTX-0133
    HIGHLIGHTS OF PRESCRIBING INFORMATION                                         •     Mild renal impairment (creatinine clearance ~ 50 mUmin to < 80
    These highlights do not include all the infonnation needed to use                   mUmin): Adjust dosage and stabilize the patient using 1-month
    PALIPERIDONE PALMITATE EXTENDED-RELEASE INJECTABLE                                  paliperidone palmitate extended-release injectable suspension,
    SUSPENSION safely and effectively. See full prescribing                             then transition to 3-month paliperidone palmitate extended-release
    infonnation for PALIPERIDONE PALMITATE EXTENDED-                                    injectable suspension. See above table. (2.5)
    RELEASE INJECTABLE SUSPENSION.
                                                                                  --------------------DOSAGE FORMS AND STRENGTHS----------------------
    PALIPERIDONE         PALMITATE    extended-release            injectable      Extended-release injectable suspension: 819 mg (3)
    suspension, for intramuscular use
    Initial U.S. Approval: 2006                                                        · - - -------CONTRAINDICATIONS------------------
                                                                                  Known hypersensitivity to paliperidone, risperidone, or to any
        WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS                          excipients in paliperidone palmitate extended-release injectable
               WITH DEMENTIA-RELATED PSYCHOSIS                                    suspension. (4)
        See full prescribing information for complete boxed warning.                     ---WARNINGS AND PRECAUTIONS------------
                                                                                  •   Cerebrovascufar Adverse Reactions, Including Stroke, in Elderly
    Elderly patients with dementia-related psychosis treated with                     Patients with Dementia-Related Psychosis: Increased incidence of
    antipsychotic drugs are at an increased risk of death.                            cerebrovascular adverse reactions (e.g. stroke, transient ischemic
    Paliperidone palmitate is not approved for use in patients with                   attack, including fatalities). Paliperidone palmitate extended-release
    dementia-related psychosis. (5.1i                                                 injectable suspension is not approved for use in patients with
                                                                                      dementia-related psychosis (5.2)
        ------RECENT MAJOR CHANGES----                                            •   Neurofeptic Malignant Syndrome: Manage with immediate
    Warnings and Precau tions (5.3, 5.5) 2/2021                                       discontinuation of drug and close monitoring (5.3)
                                                                                  •   QT Prolongation: Avoid use with drugs that also increase QT
    -------1NDICATIONS AND USAGE------
                                                                                      interval and in patients with risk factors for prolonged QT interval
    Paliperidone palmitate extended-release injectable suspension, a 3-               (5.4)
    month injection, is an atypical antipsychotic indicated for the treatment     •   Tardive Dyskinesia: Discontinue drug if clinically appropriate (5.5)
    of schizophrenia in patients after they have been adequately treated
                                                                                  •   Metabolic Changes: Atypical antipsychotic drugs have been
    with 1-month paliperidone palmitate extended-release injectable
                                                                                      associated with metabolic changes that may increase
    suspension for at least four months. (1)
                                                                                      cardiovascularlcerebrovascular risk. These metabolic changes
                                                                                      include:
    ------uOSAGE AND ADMINISTRATION--- - - - - - -
                                                                                      o Hyperglycemia and Diabetes Melli/us: Monitor for symptoms of
    • Use 3-month paliperidone palmitate extended-release injectable
                                                                                          hyperglycemia including polydipsia, polyuria, polyphagia, and
      suspension only after the patient has been adequately treated with
                                                                                          weakness. Monitor glucose regularly in patients with diabetes or
      the 1-month paliperidone palmitate extended-release injectable
                                                                                          at risk for diabetes. (5.6)
      suspension for at least four months. (2.2)
                                                                                      o Dyslipidemia: Undesirable alterations have been observed. (5.6)
    • Paliperidone palmitate extended-release injectable suspension                   o Weight Gain: Significant weight gain has been reported . Monitor
      should be administered once every 3 months. (2.1)                                   weight gain. (5.6)
    • For intramuscular injection only. (2.1 )                                    •   Orthostatic Hypotension and Syncope: Use with caution in patients
    • Each injection must be administered only by a healthcare                        with known cardiovascular or cerebrovascular disease and patients
      professional. (2.1)                                                             predisposed to hypotension (5.7)
    • For deltoid injection: For patients weighing less than 90 kg, use the       •   Leukopenia, Neutropenia, and Agranufocytosis: Monitor complete
      1-inch 22 gauge thin wall needle. For patients weighing 90 kg or                blood count in patients with a history of a clinically significant low
      more, use the 1½-inch 22 gauge thin wall needle.                                white      blood     cell   count    (WBC)     or a       drug-induced
    • For gluteal injection: Regardless of patient weight, use the1 ½-inch            leukopenia/neutropenia. Consider discontinuation if clinically
      22 gauge thin wall needle.                                                      significant decline in WBC in the absence of other causative factors
    • Prior to administration, shake the prefilled syringe vigorously for at          (5.9)
      least 15 seconds within 5 minutes prior to administration to ensure a       •   Hyperprolactinemia: Prolactin elevations occur and persist during
      homogeneous suspension. (2.1)                                                   chronic administration (5. 10)
    • Initiate 3-month paliperidone palmitate when the next 1-month               •   Potential for Cognitive and Motor Impairment: Use caution when
      paliperidone palmitate dose is scheduled with a 3-month                         operating machinery (5.11)
      paliperidone palmitate dose based on the previous 1-month                   •   Seizures: Use cautiously in patients with a history of seizures or
      injection dose as shown below. (2.2)                                            with conditions that lower the seizure threshold (5.12)
        3-Month Paliperidone Palmitate Extended-Release Injectable                      - - - - - -------ADVERSE REACTIONS----
      Suspension Doses for Adult Patients Adequately Treated with 1-              The most common adverse reactions (incidence ~ 5% and occurring at
         Month Patiperidone Palmitate Extended-Release Injectable                 least twice as often as placebo) were injection site reaction, weight
                                Suspension                                        increased, headache, upper respiratory tract infection, akathisia, and
                                          Initiate 3-Month Paliperidone           parkinsonism. (6)
         If the Last Dose of 1-Month       Palmitate Extended-Release
     Paliperidone Palmitate Extended-     Injectable Suspension at the            To report SUSPECTED ADVERSE REACTIONS, contact Mylan at
     Release Injectable Suspension is:            Followina Dose:                 1-877-446-3679 (1-877-4-INFO-RX) or FDA at 1-800-FDA-1088 or
                     78 mq                             273 mq                     www.fda.gov/medwatch.
                    117 mg                             410 mq
                    156 ma                             546 ma                           ·-----------DRUG INTERACTIONS----------------------
                    234 ma                             819 ma                      Strong CYP3A4/P-g/ycoprotein (P-gp) inducers: Avoid using a strong
    Conversion from the pallperidone palm1tate extended-release                   inducer of CYP3A4 and/or P-gp (e.g., carbamazepine, rifampin , St
    injectable suspension 39 mg dose was not studied.                             John's Wort) during a dosing interval for paliperidone palmitate
                                                                                  extended-release injectable suspension. If administering a strong
    •     Missed Doses: Missing doses of paliperidone palmitate extended-         inducer is necessary, consider managing the patient using paliperidone
          release injectable suspension should be avoided. To manage              extended release tablets. (7.2, 12.3)
          missed doses on exceptional occasions, refer to the Full
          Prescribing Information. (2.3)                                          --------------------USE IN SPECIFIC POPULATIONS------
    •     Moderate to severe renal impairment (creatinine clearance < 50          Pregnancy: May cause extrapyramidal and/or withdrawal symptoms in
          mUmin): Paliperidone palmitate extended-release injectable              neonates with third trimester exposure. (8.1)
          suspension is not recommended. (2.5)

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Outside Attorney's Eyes Only                                                                                                                 MYL-PP3M063802

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              FULL PRESCRIBING INFORMATION

                       WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS WITH
                                    DEMENTIA-RELATED PSYCHOSIS

              Elderly patients with dementia-related psychosis treated with antipsychotic drugs are at
              an increased risk of death. Paliperidone palmitate is not approved for use in patients
              with dementia-related s chosis. see Warnin sand Precautions 5.1 .

              1 INDICATIONS AND USAGE

              Paliperidone palmitate extended-release injectable suspension, a 3-month injection, is indicated
              for the treatment of schizophrenia in patients after they have been adequately treated with I-
              month paliperidone palmitate extended-release injectable suspension for at least four months
              [see Dosage and Administration (2. 2) and Clinical Studies (14)].

              2 DOSAGE AND ADMINISTRATION

              2.1 Administration Instructions

              Paliperidone palmitate extended-release injectable suspension should be administered once every
              3 months.

              Each injection must be administered only by a healthcare professional.

              Parenteral drug products should be inspected visually for foreign matter and discoloration prior
              to administration. It is important to shake the syringe vigorously for at least 15 seconds to
              ensure a homogeneous suspension. Inject paliperidone palmitate extended-release
              injectable suspension within 5 minutes of shaking vigorously [see Dosage and Administration
              (2.8)}.

              Paliperidone palmitate extended-release injectable suspension is intended for intramuscular use
              only. Do not administer by any other route. Avoid inadvertent injection into a blood vessel.
              Administer the dose in a single injection; do not administer the dose in divided injections. Inject
              slowly, deep into the deltoid or gluteal muscle.

              Paliperidone palmitate extended-release injectable suspension must be administered using only
              the thin wall needles that are provided in the 3-month paliperidone palmitate extended-release
              injectable suspension pack. Do not use needles from the I-month paliperidone palmitate
              extended-release injectable suspension pack or other commercially-available needles to reduce
              the risk of blockage.

              Deltoid Injection

              The recommended needle size for administration of paliperidone palmitate extended-release
              injectable suspension into the deltoid muscle is determined by the patient's weight:


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             • For patients weighing less than 90 kg, the I-inch, 22 gauge thin wall needle is recommended.
             • For patients weighing 90 kg or more, the l ½-inch, 22 gauge thin wall needle is recommended.

              Administer into the center of the deltoid muscle. Deltoid injections should be alternated between
              the two deltoid muscles.

              Gluteal Injection

              Regardless of patient weight, the recommended needle size for administration of paliperidone
              palmitate extended-release injectable suspension into the gluteal muscle is the 1½-inch, 22 gauge
              thin wall needle. Administer into the upper-outer quadrant of the gluteal muscle. Gluteal
              injections should be alternated between the two gluteal muscles.

              Incomplete Administration

              To avoid an incomplete administration of paliperidone palmitate extended-release injectable
              suspension, ensure that the prefilled syringe is shaken vigorously for at least 15 seconds within
              5 minutes prior to administration to ensure a homogeneous suspension and ensure the
              needle does not get clogged during injection [see Dosage and Administration (2.8)}.

              However, in the event of an incompletely administered dose, do not re-inject the dose remaining
              in the syringe and do not administer another dose of paliperidone palmitate extended-release
              injectable suspension. Closely monitor and treat the patient with oral supplementation as
              clinically appropriate until the next scheduled 3-month injection of paliperidone palmitate
              extended-release injectable suspension.

              2.2 Schizophrenia

              Adults

              3-month paliperidone palmitate extended-release injectable suspension is to be used only after 1-
              month paliperidone palmitate extended-release injectable suspension has been established as
              adequate treatment for at least four months. 1n order to establish a consistent maintenance dose,
              it is recommended that the last two doses of 1-month paliperidone palmitate extended-release
              injectable suspension be the same dosage strength before starting 3-month paliperidone palmitate
              extended-release injectable suspension.

              Initiate 3-month paliperidone palmitate extended-release injectable suspension when the next 1-
              month paliperidone palmitate dose is scheduled with a 3-month paliperidone palmitate dose
              based on the previous I-month injection dose, using the equivalent 3.5-fold higher dose as shown
              in Table l. Paliperidone palmitate extended-release injectable suspension may be administered
              up to 7 days before or after the monthly time point of the next scheduled paliperidone palrnitate
              I-month dose.




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                                                                                                    PTX-0133 0005
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               Table 1. 3-Month Paliperidone Palmitate Extended-Release Injectable Suspension Doses
               for Adult Patients Adequately Treated with 1-Month Paliperidone Palmitate Extended-
                                              Release In_jectable Suspension
                 If the Last Dose of 1-Month Paliperidone         Initiate 3-Month Paliperidone Palmitate
                         Palmitate Extended-Release               Extended-Release Injectable Suspension
                           ln_jectable Suspension is:                       at the Followin2 Dose:
                                      78 mg                                         273 mg
                                     117 mg                                         410 mg
                                     156 mg                                         546 mg
                                     234 mg                                         819 mg
              Conversion from the paliperidone palmitate extended-release injectable suspension 39 mg dose
              was not studied.

              Following the initial paliperidone palmitate extended-release injectable suspension dose,
              paliperidone palmitate extended-release injectable suspension should be administered every 3
              months. If needed, dose adjustment can be made every 3 months in increments within the range
              of 273 mg to 819 mg based on individual patient tolerability and/or efficacy. Due to the long-
              acting nature of paliperidone palmitate extended-release injectable suspension, the patient's
              response to an adjusted dose may not be apparent for several months [see Clinical Pharmacology
              (12.3)].

              2.3 Missed Doses

              Dosing Window

              Missing doses of paliperidone palmitate extended-release injectable suspension should be
              avoided. If necessary, patients may be given the injection up to 2 weeks before or after the 3-
              month time point.

              Missed Dose 3½ Months to 4 Months Since Last Injection

              If more than 3½ months (up to but less than 4 months) have elapsed since the last injection of
              paliperidone palmitate extended-release injectable suspension, the previously administered
              paliperidone palmitate extended-release injectable suspension dose should be administered as
              soon as possible, then continue with the 3-month injections following this dose.

              Missed Dose 4 Months to 9 Months Since Last Injection

              If 4 months up to and including 9 months have elapsed since the last injection of paliperidone
              palmitate extended-release injectable suspension, do NOT administer the next dose of
              paliperidone palmitate extended-release injectable suspension. Instead, use the re-initiation
              regimen shown in Table 2.




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                   Table 2. Re-initiation Regimen After Missing 4 Months to 9 Months of Paliperidone
                                    Palmitate Extended-Release Injectable Suspension
               If the Last Dose of 3-     Administer I-month paliperidone               Then administer 3-month
               Month Paliperidone       palmitate extended-release injectable       paliperidone palmitate extended-
               Palmitate Extended-      suspension, two doses one week apart        release injectable suspension (into
                Release Injectable              (into deltoid muscle)                   deltoid" or eluteal muscle)
                  Suspension was:            Day 1               Day 8                     1 month after Day 8
                       273 mg                78 mg               78 mg                            273 mg
                       410mg                117 mg               117 mg                           410mg
                       546 mg               156 mg               156 mg                           546 mg
                       819 mg               156 mg               156 mg                           8 19 mg
                See Instructions for Use for deltoid injection needle selection based on body weight.

              Missed Dose Longer than 9 Months Since Last Injection

              If more than 9 months have elapsed since the last injection of paliperidone palmitate extended-
              release injectable suspension, re-initiate treatment with the I-month paliperidone palmitate
              extended-release injectable suspension as described in the prescribing information for that
              product. 3-month paliperidone palmitate extended-release injectable suspension can then be
              resumed after the patient has been adequately treated with the I-month paliperidone palmitate
              extended-release injectable suspension for at least 4 months.

              2.4 Use with Risperidone or with Oral Paliperidone

              Since paliperidone is the major active metabolite of risperidone, caution should be exercised
              when paliperidone palmitate extended-release injectable suspension is coadministered with
              risperidone or oral paliperidone for extended periods of time. Safety data involving concomitant
              use of paliperidone palmitate extended-release injectable suspension with other antipsychotics is
              limited.

              2.5 Dosage Adjustment in Renal Impairment

              Paliperidone palmitate extended-release injectable suspension has not been systematically
              studied in patients with renal impairment [see Clinical Pharmacology (12.3)}. For patients with
              mild renal impairment (creatinine clearance 2: 50 mL/min to < 80 mL/min [Cockcroft-Gault
              Formula]), adjust dosage and stabilize the patient using the I-month paliperidone palmitate
              extended-release injectable suspension, then transition to 3-month paliperidone palmitate
              extended-release injectable suspension [see Table 1, Dosage and Administration (2.2)]. /See also
              Use in Specific Populations (8. 6) and Clinical Pharmacology (J 2.3)}

              Paliperidone palmitate extended-release injectable suspension is not recommended in patients
              with moderate or severe renal impairment (creatinine clearance < 50 mL/min) [see Use in
              Specific Populations (8.6) and Clinical Pharmacology (J 2.3)} .




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              2.6 Switching from 3-Month Paliperidone Palmitate Extended-Release Injectable
              Suspension to the 1-Month Paliperidone Palmitate Extended-Release Injectable Suspension

              For switching from 3-month paliperidone palmitate extended-release injectable suspension to ]-
              month paliperidone palmitate extended-release injectable suspension, the I-month paliperidone
              palmitate extended-release injectable suspension should be started 3 months after the last
              paliperidone palmitate extended-release injectable suspension dose, using the equivalent 3.5-fold
              lower dose as shown in Table 3. The I-month paliperidone palmitate extended-release injectable
              suspension should then continue, dosed at monthly intervals.

                Table 3. Conversion From 3-Month Paliperidone Palmitate Extended-Release Injectable
                Suspension to 1-Month Paliperidone Palmitate Extended-Release In_jectable Suspension
                 If the Last Dose of 3-Month Paliperidone              Initiate" I-Month Paliperidone Palmitate
                 Palmitate Extended-Release Injectable                Extended-Release Injectable Suspension 3
                                Suspension is:                             Months Later at the Following Dose:
                                    273 mg                                               78 mg
                                    410 mg                                               117 mg
                                    546mg                                                156mg
                                    819 mg                                              234 mg
                     . ..                                         . .
              a The m1tiation dosing as descnbed m the prescnbmg mformat10n for ]-month pahpendone palnutate
              extended-release injectable suspension is not required

              2.7 Switching from 3-Month Paliperidone Palmitate Extended-Release Injectable
              Suspension to Oral Paliperidone Extended-Release Tablets

              For switching from 3-month paliperidone palmitate extended-release injectable suspension to
              oral paliperidone extended-release tablets, the daily dosing of the paliperidone extended-release
              tablets should be statted 3 months after the last paliperidone palmitate extended-release
              injectable suspension dose and transitioned over the next several months following the last
              paliperidone palmitate extended-release injectable suspension dose as described in Table 4.
              Table 4 provides dose conversion regimens to allow patients previously stabilized on different
              doses of paliperidone palmitate extended-release injectable suspension to attain similar
              paliperidone exposure with once daily paliperidone extended-release tablets.

               Table 4. Paliperidone Palmitate Extended-Release Injectable Suspension Doses and Once-
                 Daily Paliperidone Extended-Release Conversion Regimens Needed to Attain Similar
                                                Paliperidone Exposures
                                                 Weeks Since Last Paliperidone Palmitate Extended-Release
                                                                 Injectable Suspension Dose
                                                  3 months to 18       Longer than 18       Longer than 24
                                                      weeks          weeks to 24 weeks           weeks
                 Last Paliperidone Palmitate
                 Extended-Release Injectable         Doses of oral paliperidone extended-release tablets
                       Suspension Dose
                            273 mg                    3 mg                  3 mg                 3 mg
                            410 mg                    3 mg                  3 mg                 6 mg
                            546mg                     3mg                   6mg                  9mg

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                                                                                                                                PTX-0162
HIGHLIGHTS OF PRESCRIBING INFORMATION                                                 then transition to 3-month paliperidone palmitate extended-release
These highlights do not include all the information needed to use                     injectable suspension. See above table. (2.5)
PALIPERIDONE PALMITATE EXTENDED-RELEASE INJECTABLE
SUSPENSION s afely and effectively. See full prescribing                        -----DOSAGE FORMS AND STRENGTHS·-··-··----
information for PALIPERIDONE PALMITATE                EXTENDED-                 Extended-release injectable suspension: 546 mg (3)
RE LEASE INJECTABLE SUSPENSION.
                                                                                ------·----CONTRAINDICATIONS-------------·----·---
PALIPERIDONE        PAL MITATE    extended-release             injectable       Known hypersensitivity to paliperidone, risperidone, or to any
suspension, for intramuscular use                                               excipients in paliperidone palmitate extended-release injectable
Initial U.S. Approval: 2006                                                     suspension. (4)

  WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS                              -----WARNINGS AND PRECAUTION::.------
         WIT H DEMENTIA-RELATED PSYCHOSIS                                       "" Cerebrovascular Adverse Reactions, Including Stroke, in Elderly
                                                                                   Patients with Dementia-Related Psychosis: Increased incidence of
  See full prescribing information for complete boxed warning.                     cerebrovascular adverse reactions (e.g. stroke, transient ischemic
                                                                                   attack, including fatalities). Paliperidone palmitate extended-release
Elderly patients with dementia-related psychosis treated with                      injectable suspension is not approved for use in patients with
antipsychotic drugs are at an increased risk of death.                             dementia-related psychosis (5.2)
Paliperidone palmitate is not approved for use in patients with                 oo Neuroleptic Malignant         Syndrome: Manage with immediate
dementia-related psychosis. (5.1 )                                                 discontinuation of drug and close monitoring (5.3)
                                                                                co QT Prolongation: Avoid use with drugs that also increase QT
- - - - - ----INDICATIONS AND USAGE---------                                       interval and in patients with risk factors for prolonged QT interval
Paliperidone palmitate extended-release injectable suspension, a 3-                (54)
month injection, is an atypical antipsychotic indicated for the treatment
                                                                                "' Tardive Dyskinesia: Discontinue drug if clinically appropriate (5.5)
of schizophrenia in patients after they have been adequately treated
                                                                                oo Metabolic Changes: Atypical antipsychotic drugs have been
wit h 1-month paliperidone palmitate extended-release injectable
                                                                                   associated with metabolic changes that may increase
suspension for at least four months. (1)
                                                                                   cardiovascular/cerebrovascular risk. These metabolic changes
                                                                                   include:
----------------------DOSAGE AND ADMINISTRATION-------------------------
                                                                                   o Hyperglycemia and Diabetes Melli/us: Monitor for symptoms of
co Use 3-month paliperidone palmitate extended-release injectable
                                                                                       hyperglycemia including polydipsia, polyuria, polyphagia, and
    suspension only after the patient has been adequately treated with                 weakness. Monitor glucose regularly in patients w ith diabetes or
    the 1-month paliperidone palmitate extended-release injectable                    at risk for diabetes. (5.6)
    suspension for at least four months. (2.2)                                     o Dyslipidemia: Undesirable alterations have been observed. (5.6)
co Paliperidone palmitate extended-release injectable suspension
                                                                                   o Weight Gain: Significant weight gain has been reported. Monitor
    should be administered once every 3 months. (2. 1)                                weight gain. (5.6)
oo For intramuscular injection only. (2.1)                                      co Orthostatic Hypotension and Syncope: Use with caution in patients
oo Each injection must be administered only by a health care                       with known cardiovascular or cerebrovascular disease and patients
    professional. (2.1)                                                            predisposed to hypotension (5.7)
co For deltoid injection : For patients weighing less than 90 kg, use the
                                                                                "' Leukopenia, Neutropenia, and Agranulocytosis: Monitor complete
    1-inch 22 gauge thin wall needle. For patients weighing 90 kg or               blood count in patients with a history of a clinically significant low
    more, use the 1½-inch 22 gauge thin wall needle.                               white     blood     cell    count     (WBC)    or    a    drug-induced
oo For gluteal injection: Regardless of patient weight, use the1½-inch             leukopenia/neutropenia. Consider discontinuation if clinically
    22 gauge thin wall needle.                                                     significant decline in WBC in the absence of other causative factors
o:i Prior to administration , shake the prefilled syringe vigorously for at        (5.9)
    least 15 seconds within 5 minutes prior to administration to ensure a       oo Hyperprolactinemia: Prolactin elevations occur and persist during
    homogeneous suspension. (2.1)                                                  chronic administration (5.10)
oo Initiate 3-month paliperidone palmitate when the next 1-month                co Potential for Cognitive and Motor Impairment: Use caution when
    paliperidone palmitate dose is scheduled with a 3-month                        operating machinery (5.11)
    paliperidone palmitate dose based on the previous 1-month                   "' Seizures: Use cautiously in patients with a history of seizures or
    injection dose as shown below. (2.2)                                           with conditions that lower the seizure threshold (5.12)
    3-Month Paliperidone Palmitate Extended-Release Injectable                  - -- - -----·-·--ADVERSE REACTION::.-- - - - -
 Suspension Doses for Adult Patients Adequately Treated with 1-                  The most common adverse reactions (incidence 2' 5% and occurring at
     Month Paliperidone Palmitate Extended-Release Injectable
                                                                                least twice as often as placebo) were injection site reaction, weight
                            Suspension
                                                                                increased, headache, upper respiratory tract infection, akathisia, and
                                      Initiate 3-Month Paliperidone
     If the Last Dose of 1-Month                                                parkinsonism. (6)
                                       Palmitate Extended-Release
  Paliperidone Palmitate Extended-    Injectable Suspension at the
 Release Injectable Suspension is:                                              To report SUSPECTED ADVERSE REACTIONS, contact Mylan at
                                              Following Dose:
                                                                                1-877-446-3679 (1-877-4-INFO-RX) or FDA at 1-800-FDA-1088 or
                 78mq                              273mq
                11 r mg                            41 u mg                      www. fda.govlmedwatch.
                156mg                              546mg
                234 mg                             819 mg                       -------------DRUG INTERACTION1s--------
 Conversion from the pahpendone palm1tate extended-release                       Strong CYP3A4/P-glycoprotein (P-gp) inducers: Avoid using a strong
injectable suspension 39 mg dose was not studied.                               inducer of CYP3A4 and/or P-gp (e.g., carbamazepine, rifampin, St
                                                                                John's Wort) during a dosing interval for paliperidone palmitate
                                                                                extended-release injectable suspension. If administering a strong
o:iMissed Doses: Missing doses of paliperidone palmitate extended-
                                                                                inducer is necessary, consider managing the patient using paliperidone
   release injectable suspension should be avoided. To manage
                                                                                extended release tablets. (7.2, 12.3)
   missed doses on exceptional occasions, refer to the Full
   Prescribing Information. (2.3)
                                                                                - - - - - U S E IN SPECIFIC POPULATION::.-----
"' Moderate to severe renal impairment (creatinine clearance < 50
                                                                                Pregnancy: May cause extrapyramidal and/or withdrawal symptoms in
   m Umin): Paliperidone palmitate extended-release injectable
                                                                                neonates with third trimester exposure. (8. 1)
   suspension is not recommended. (2.5)
oo Mild renal impairment (creatinine clearance 2' 50 mUmin to < 80              See 17 for PATIENT COUNSELING INFORMATION and FDA-
   mUmin): Adjust dosage and stabilize the patient using 1-month                approved patient labeling.
   paliperidone palmitate extended-release injectable suspension,

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FULL PRESCRIBING INFORMATION

          WARNING: INCREASED MORTALITY IN ELDERLY PATIENTS WITH
                       DEMENTIA-RELATED PSYCHOSIS

Elderly patients with dementia-related psychosis treated with antipsychotic drugs are at
an increased risk of death. Paliperidone palmitate is not approved for use in patients
with dementia-related psychosis. [see Warnings and Precautions (5.1)].

1 INDICATIONS AND USAGE

Paliperidone palmitate extended-release injectable suspension, a 3-month injection, is indicated
for the treatment of schizophrenia in patients after they have been adequately treated with 1-
month paliperidone palmitate extended-release injectable suspension for at least four months
[see Dosaf?e and Administration (2.2) and Clinical Studies (14)].

2 DOSAGE AND ADMINISTRATION

2.1 Administration Instructions

Paliperidone palmitate extended-release injectable suspension should be administered once every
3 months.

Each injection must be administered only by a health care professional.

Parenteral dmg products should be inspected visually for foreign matter and discoloration prior
to administration. It is important to shake the syringe vigorously for at least 15 seconds to
ensure a homogeneous suspension. Inject paliperidone palmitate extended-release
injectable suspension within 5 minutes of shaking vigorously [see Dosage and Administration
(2.8)}.

Paliperidone palmitate extended-release injectable suspension is intended for intramuscular use
only. Do not administer by any other route. Avoid inadvertent injection into a blood vessel.
Administer the dose in a single injection; do not administer the dose in divided injections. Inject
slowly, deep into the deltoid or gluteal muscle.

Paliperidone palmitate extended-release injectable suspension must be administered using only
the thin wall needles that are provided in the 3-month paliperidone palmitate extended-release
injectable suspension pack. Do not use needles from the 1-month paliperidone palmitate
extended-release injectable suspension pack or other commercially-available needles to reduce
the risk of blockage.

Deltoid Injection

The recommended needle size for administration of paliperidone palmitate extended-release
injectable suspension into the deltoid muscle is determined by the patient' s weight:

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• For patients weighing less than 90 kg, the 1-inch, 22 gauge thin wall needle is recommended.
• For patients weighing 90 kg or more, the 1½-inch, 22 gauge thin wall needle is recommended.

Administer into the center of the deltoid muscle. Deltoid injections should be alternated between
the two deltoid muscles.

Gluteal Injection

Regardless of patient weight, the recommended needle size for administration of paliperidone
palmitate extended-release injectable suspension into the gluteal muscle is the 1½-inch, 22 gauge
thin wall needle. Administer into the upper-outer quadrant of the gluteal muscle. Gluteal
injections should be alternated between the two gluteal muscles.

Incomplete Administration

To avoid an incomplete administration of paliperidone palmitate extended-release injectable
suspension, ensure that the prefilled syringe is shaken vigorously for at least 15 seconds within
5 minutes prior to administration to ensure a homogeneous suspension and ensure the
needle does not get clogged during injection [see Dosage and Administration (2.8)].

However, in the event of an incompletely administered dose, do not re-inject the dose remaining
in the syringe and do not administer another dose of paliperidone palrnitate extended-release
injectable suspension. Closely monitor and treat the patient with oral supplementation as
clinically appropriate until the next scheduled 3-month injection of paliperidone palmitate
extended-release injectable suspension.

2.2 Schizophrenia

Adults

3-month paliperidone palmitate extended-release injectable suspension is to be used only after 1-
month paliperidone palmitate extended-release injectable suspension has been established as
adequate treatment for at least four months. In order to establish a consistent maintenance dose,
it is recommended that the last two doses of 1-month paliperidone palmitate extended-release
injectable suspension be the same dosage strength before starting 3-month paliperidone palmitate
extended-release injectable suspension.

Initiate 3-month paliperidone palmitate extended-release injectable suspension when the next 1-
month paliperidone palmitate dose is scheduled with a 3-month paliperidone palmitate dose
based on the previous 1-month injection dose, using the equivalent 3.5-fold higher dose as shown
in Table 1. Paliperidone palmitate extended-release injectable suspension may be administered
up to 7 days before or after the monthly time point of the next scheduled paliperidone palmitate
] -month dose.




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 Table 1. 3-Month Paliperidone Palmitate Extended-Release Injectable Suspension Doses
 for Adult Patients Adequately Treated with 1-Month Paliperidone Palmitate Extended-
                               Release Injectable Suspension
   If the Last Dose of I-Month Paliperidone       Initiate 3-Month Paliperidone Palmitate
           Palmitate Extended-Release             Extended-Release Injectable Suspension
            Injectable Suspension is:                       at the Followin2 Dose:
                      78 mg                                         273mg
                     117 mg                                         410mg
                     156 mg                                         546 mg
                     234 mg                                         819 mg
Conversion from the paliperidone palmitate extended-release injectable suspension 39 mg dose
was not studied.

Following the initial paliperidone palmitate extended-release injectable suspension dose,
paliperidone palmitate extended-release injectable suspension should be administered every 3
months. lf needed, dose adjustment can be made every 3 months in increments within the range
of 273 mg to 819 mg based on individual patient tolerability and/or efficacy. Due to the long-
acting nature of paliperidone paJmjtate extended-release injectable suspension, the patient's
response to an adjusted dose may not be apparent for several months [see Clinical Pharmacology
(12.3)].

2.3 Missed Doses

Dosing Window

Missing doses of paliperidone palmjtate extended-release injectable suspension should be
avoided. If necessary, patients may be given the injection up to 2 weeks before or after the 3-
month time point.

Missed Dose 3½ Months to 4 Months Since Last Injection

If more than 3V2 months (up to but less than 4 months) have elapsed since the last injection of
paliperidone palmitate extended-release injectable suspension, the previously administered
paliperidone palmitate extended-release injectable suspension dose should be administered as
soon as possible, then continue with the 3-month injections following this dose.

Missed Dose 4 Months to 9 Months Since Last Injection

If 4 months up to and including 9 months have elapsed since the last injection of paliperidone
palmitate extended-release injectable suspension, do NOT administer the next dose of
paliperidone palmitate extended-release injectable suspension. Instead, use the re-initiation
regimen shown in Table 2.




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    Table 2. Re-initiation Regimen After Missing 4 Months to 9 Months of Paliperidone
                     Palmitate Extended-Release Injectable Suspension
If the Last Dose of 3-     Administer I-month paliperidone               Then administer 3-month
Month Paliperidone       palmitate extended-release injectable       paliperidone palmitate extended-
Palmitate Extended-      suspension, two doses one week apart        release injectable suspension (into
 Release Injectable              (into deltoid muscle)                   deltoida or gluteal muscle)
   Suspension was:            Dav 1               Dav 8                     1 month after Dav 8
        273 mg                78 mg               78 mg                            273 mg
        410mg                117 mg               117 mg                           410mg
       546 mg                156mg                156 mg                           546mg
        819 mg               156 mg               156 mg                           819 mg
 See Instructions for Use for deltoid injection needle selection based on body weight.

Missed Dose Longer than 9 Months Since Last Injection

If more than 9 months have elapsed since the last injection of paliperidone palmitate extended-
release injectable suspension, re-initiate treatment with the I-month paliperidone palmitate
extended-release injectable suspension as described in the prescribing information for that
product. 3-month paliperidone palmitate extended-release injectable suspension can then be
resumed after the patient has been adequately treated with the I-month paliperidone palmitate
extended-release injectable suspension for at least 4 months.

2.4 Use with Risperidone or with Oral Paliperidone

Since paliperidone is the major active metabolite of risperidone, caution should be exercised
when paliperidone palmitate extended-release injectable suspension is coadministered with
risperidone or with oral paliperidone for extended periods of time. Safety data involving
concomitant use of paliperidone palmitate extended-release injectable suspension with other
antipsychotics is limited.

2.5 Dosage Adjustment in Renal Impairment

Paliperidone palmitate extended-release injectable suspension has not been systematically
studied in patients with renal impairment [see Clinical Pharmacology (12.3 )} . For patients with
mild renal impairment (creatinine clearance ~ 50 mL/min to < 80 mL/min [Cockcroft-Gault
Fmmula]), adjust dosage and stabilize the patient using the 1-month paliperidone palmitate
extended-release injectable suspension, then transition to 3-month paliperidone palmitate
extended-release injectable suspension [see Table 1, Dosage and Administration (2.2)}. [See also
Use in Specific Populations (8.6) and Clinical Pharmacology (12.3 )]

Paliperidone palmitate extended-release injectable suspension is not recommended in patients
with moderate or severe renal impailment (creatinine clearance < 50 mL/min) [see Use in
Specific Populations (8.6) and Clinical Pharmacology (12.3 )].




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2.6 Switching from 3-Month Paliperidone Palmitate Extended-Release Injectable
Suspension to the 1-Month Paliperidone Palmitate Extended-Release Injectable Suspension

For switching from 3-month paliperidone palmitate extended-release injectable suspension to !-
month paliperidone palmitate extended-release injectable suspension, the 1-month paliperidone
palmitate extended-release injectable suspension should be started 3 months after the last
paliperidone palmitate extended-release injectable suspension dose, using the equivalent 3.5-fold
lower dose as shown in Table 3. The I-month paliperidone palmitate extended-release injectable
suspension should then continue, dosed at monthly intervals.

 Table 3. Conversion From 3-Month Paliperidone Palmitate Extended-Release Injectable
 Suspension to 1-Month Paliperidone Palmitate Extended-Release Injectable Suspension
  If the Last Dose of 3-Month Paliperidone   Initiate• 1-Month Paliperidone Palmitate
  Palmitate Extended-Release Injectable    Extended-Release Injectable Suspension 3
                Suspension is:                   Months Later at the Following Dose:
                    273 mg                                              78 mg
                    410mg                                              117 mg
                    546 mg                                             156 mg
                    819 mg                                             234 mg
      . ..                                    . .
• The m1Liat10n dosing as descnbed m the prescnbmg mformallon for I-month paltpendone palnutate
extended-release injectable suspension is not required

2.7 Switching from 3-Month Paliperidone Palmitate Extended-Release Injectable
Suspension to Oral Paliperidone Extended-Release Tablets

For switching from 3-month paliperidone palmitate extended-release injectable suspension to
oral paliperidone extended-release tablets, the daily dosing of the paliperidone extended-release
tablets should be staited 3 months after the last paliperidone palmitate extended-release
injectable suspension dose and transitioned over the next several months following the last
paliperidone palmitate extended-release injectable suspension dose as described in Table 4.
Table 4 provides dose conversion regimens to allow patients previously stabilized on different
doses of paliperidone palmitate extended-release injectable suspension to attain similar
paliperidone exposure with once daily paliperidone extended-release tablets.

Table 4. Paliperidone Palmitate Extended-Release Injectable Suspension Doses and Once-
  Daily Paliperidone Extended-Release Conversion Regimens Needed to Attain Similar
                                Paliperidone Exposures
                                 Weeks Since Last Paliperidone Palmitate Extended-Release
                                                  Injectable Suspension Dose
                                   3 months to 18       Longer than 18       Longer than 24
                                       weeks          weeks to 24 weeks           weeks
  Last Paliperidone Palmitate
  Extended-Release Injectable         Doses of oral paliperidone extended-release tablets
        Suspension Dose
              273 mg                      3mg                  3 mg                 3 mg
              410mg                       3 mg                 3 m_g                6mg
              546mg                       3 mg                 6mg                  9mg

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Baseline characteristics and treatment patterns
of patients with schizophrenia initiated on once-
every-three-months paliperidone palmitate in a
real-world setting

Kruti Joshi, Marie-Helene Lafeuille, Brianne Brown, Willy Wynant, Bruno
Emond, Patrick Lefebvre & Neeta Tandon

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ORIGINAL ARTICLE

Baseline characteristics and treatment patterns of patients with schizophrenia
initiated on once-every-three-months paliperidone palmitate in a
real-world setting
Kruti Joshi", Marie-Helene Lafeuillet>, Brianne Brown", Willy Wynantb, Bruno Emondb, Patrick lefebvreb and
Neeta Tandona
'Janssen Scientific Affairs LLC, T1tusville, NJ, US,\; bGroupe d'analyse Ltee, Montreal, QC, Canada


    A8:STlfACI"                                                                                                           AR11Cll! HISTORY
    Objectives: Sfnee May 201:S, .adult patients with S<;hizophrenla adequately tr~ted with once monthly                   Rec,eM!d 28 June 2017
    paliperidone palmitate (PP1M) may be transitioned to once-eveiy-three-months paliperidone palmitate                    Revised 18 July 2017
    (PP3MJ. This study aims to describe baseline characterl.stics and treatment pattems of patients with                   Accepted 21 JIiiy 2017
    schizophrenia Initiated on PP3M In a real-world setting.
    Methods: Pharmacy and medical claims from May 2-014 to Sept~mber 2016 for adult patients with                         KEYWORJJS
    schtzophrenla fnltiated on PP3M (Index date) in the Symphony Health ,Solutions database were ana-                      Pa llperidone palmltate;
    lyzed. The cohort consisting of .all patients and the one restrfcted to th"°5e transitioning from PPl M as            ,schizophrenia; adherence;
    per prescribing guideline rec;ommendations were ,c;onsidered. 8aseline characteristics were asse5Sed                   healthcare resource
    during the 12 month baseline period. PPlM treatment patterns, proportion of days <overed (POO by                       utilization; tr~trnent
    mental-health-related medications. and healthcare resource utilization (HRU) patterns were evaluated                   patterns
    for each baseline quarter. PP3M t.reatment patterns were assessed post-index.
     Results: Among the 15:45 adult patients Initiated on PP3M who formed the fir.st cohort, 68.8% t ransi-
    tioned frO!ll PP1 M ba$e<I on prestribing guidelines and on an <1daptation of the strict c;linical trial
    protocol for PP1 M to PP3M transition1 formtng the second .cohort In both .cohorts, the pr-0p0rtion of
    patients with a PDC ~80% for antlpsychotlcs, antidepressants, ,mxiolytics, and mood stabillzer1
    increased while the proportion of patients• with ~ 1 emergency room, inpatient. or outpatient visit
    decreased jn baseline quarters-closer to PP3M initiation, Among patients with .::4 months of follow-up
    after the first dose:, 85-88% had a second dose. Similarly; among those with ~ 4 months of follow-Up
    after tbe secoo.d dose, 87--90% received a third dose.
    Co.ndusions: Patients initiated on PP3M demonstrated decreased HRU and Increased adherence in
    quarters <:loser to PP3M initiation, and were petsistent on •their PP3M. treatment.




Introduction                                                                determinant of effective management of schizophrenla symp-
                                                                            toms and relapse contro1 7. However, adherence to AP medi·
Schizophrenia Is a severe mental illness characterized by a
                                                                            cation has already been shown to be poor'-11 .
breakdown of thought processes, poor emotional responsive-
                                                                            Nonadherence to medication has a negative Impact on the
ness, and symptoms such as hallucinations and delusions 1. It               course of illness, resulting in relapse, rehospitalization, longer
ranks among the top 10 causes of disability in developed
                                                                            time to remission, and attempted suicide, all of which con-
countries worldwide2 and is associated with a significant eco-              tribute to the already high costs of the disease to healthcare
nomic burden estimated at $155.7 billion in 20133 . While dir-              systems 12-16_
ect healthcare costs represent almost 25% of this burden,                      It has been shown that reduced dosing frequency
non-healthcare costs and Indirect costs such as unemploy-                   Improves adherence In chronic dlseases17..i2. For example,
ment are important contributors3. Followlng a first episode,                among Medicaid patients with history of non-adherence
85%--90% of patients experience further episodes4 whereas,                  before a schizophrenia-related hospitalization, those who
with each relapse, remission of symptoms may be slower and                  received a long-acting injectable (LAI) within 30 days post-ols-
the course of illness worse5A highlighting the need for effect-             charge were more likely to be adherent to their medication
ive treat ments.                                                            compared to those who received an oral Ar23. Compared
   Antipsychotlcs (APs) are the mainstay pharmacologlc treat-               with the oral formulations, the LAI formulations of APs have
ment for patients with schizophrenia, The chronic nature of                 the advantage of a sustained release profile and lower fre-
the dise<1se means that most patients require lifelong AP                   quency of administration24, This eliminates the need for dally
medications and their consistent use is the leading                         oral medication and could Improve treatment adherence.

CONTACT Marie Helene Lafeuille @ Marie Helene.Lafeullle@analysisgroup.com Q Groupe d'analyse Ltee, 1000 De La Gauchetiere West, Suite 1200. Montreal,
QC H38 4WS, Canada
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    Onc:e monthly paliperidone palmitate (PPl M) is an atypical    particular patient) or lack of available follow-up data (data
LAI for the maintenance treatment of schizophrenia in              cut-off date Is 30 September 2016), whichever occurred first.
adults25. It has been associated with significant reductions In       Two cohorts were investigated: first,. the cohort of all
treatment nonadherence, treatment discontinuation, schizo-         patients initiating PP3M (overall PP3M cohort) and second,
phrenia-related rehospitalization, and longer time to relapse      the cohort of patients initiating PP3M who transitioned from
relative to oral APs 23•2.,..30 .                                  PPl M based on prescribing guidelines and on an adaptation
    A once-every-three-months paliperidone palmitate (PP3M)        of the strict clinical trial protocol for PPl M to PP3M transi-
formulation was recently approved by the FDA for the treat-        tion32 (per label PP3M cohort).
ment of schizophrenia In adult patients adequately treated
with PP1 M3 ' for at least 4 months. The safety and efficacy of
PP3M were demonstrated in two double-blind, randomized             Patient selection
clinical trials32•33. However, there is a need to better under-    Patients were included in the overall PP3M cohort if they
stand the characteristics and treatments patterns of patients      were at least 18 years old, had at least one final approved
initiating PP3M In a real-world setting.                           pharmacy/medical claim for PP3M (the first being defined as
    To fulfill this gap, this study assessed patient demographic   the Index date), had at least one claim with a diagnosis for
and dlnical characteristics of adult patients with schizophre-     schizophrenia (ICD--9: 295.XX (excluding 295.7], ICD-10:
nia initiating PP3M, as well as adherence to mental health-        F20.XX, F21) anytime during the study period, a.nd at least 12
related medications, healthcare resource utilization (HRU),        months of continuous clinical activity before the index date
and PPl M treatment patterns prior to PP3M initiation. This        (baseline period). Patients were Included in the per label
study also aims at measuring PP3M treatment patterns,              PP3M cohort if, in addition, they had no gap of > 45 days in
Including adherence to and persistence with PP3M                   PPl M coverage 4 months prior to PP3M initiation, had the
treatment.                                                         same dosage strength for the last two PPl M claims prior to
                                                                   PP3M initiation, and had the appropriate dosage conversion
Methods                                                            between the last PP1M and the first PP3M claims
                                                                   (78mg--273mg,      117mg-410mg,        156mg-546mg,         or
Data sources                                                       234mg-8t 9mg}, as per prescribing guidelines.
Pharmacy and medical claims from May .2014 to September
2016 for adult patients with schizophrenia initiated on PP3M       Study endpoints
in the Symphony Health Solutions' (SHS) Patient
Transactional Datasets were analyzed. The SHS database is a        For the two cohorts, baseline demographic and cllntcal char-
provider-based, longitudinal patient data source which cap-        acteristics were assessed during the 12 month baseline
tures adjudicated prescription claims across the United States     period and included age, g.ender, US region, insurance plan,
and covers ail payment types, including commercial plans,          number of unique mental health diagnoses, use of mental
Medicare Part D, cash, assistance programs, and Medicaid.          health-related medications. and the Charlson comorbidity
SHS links healthcare data for the US population from three         index (CCI).
basic sources: pharmacy point of service; switch/network               PP1 M treatment patterns before transitioning to PP3M
transactions; and additional direct prescription (Rx), medical,    were also assessed during the 12 month baseline period for
and hospital claims data. This database reflects pharmacy          both cohorts and included the number of PPl M claims, the
claims in final (paid) form and submitted medical claims.          length of exposure to PP1M treatment. the number of days
Patients are linked between the different pharmacy and clinic      between PPlM claims, the assessment of appropriate transi-
networks through a unique patient ID created based on              tion from PP1 M to PP3M, the proportion of days covered
patients' demographic characteristics, including first name,       (PDC) by PPIM, and the dose of the last PP1M and the first
last name, date of birth, z:ip code and gender.                    PP3M claims. For each quarter of the 12 month baseline
   All data collected from the database i.s de-Identified In       period,. the PDC by any AP treatment, antidepressants, anxio-
compliance with the patient confidentiality requirement of         lytics or mood stabllizers, as well as HRU patterns (i.e. out·
the Health Insurance Portability and Accountability Act            patient (OP], inpatient [IP], and emergency room [ER] visits)
(HIPAA).                                                           were evaluated.
                                                                       PP3M treatment patterns were assessed for both cohorts
                                                                   starting at the Index date and included the duration of con-
Study design
                                                                   tinuous PP3M therapy (defined as having a gap of no more
A retrospective longitudinal cohort study design was used.         than 45 days between the end of supply of a PP3M claim
The index date was defined as the date of the first final          and the start of a new PP3M claim), the number of PP3M
approved claim for PP3M. The baseline period was defined as        claims, the number of days between PP3M claims, dose
the 12 months of continuous clinical activity prior to the         strength, and the use of mental-health-related medications
index date. The observation (follow-up) period for assessment      during exposure to PP3M treatment. Adherence to PP3M
of the utilization and dosing patterns spanned from the            therapy was evaluated using PDC and the medication posses-
index date up until the end of clinical aetivity (defined as the   sion ratio (MPR). The PDC was calculated as the number of
date of the last medical or drug claim In the database for a       non-overlapping days of supply over a fixed period of time




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                                                                               TREATMENT PAmRNS WITH 3 MONlHLY PALIPERIOONE PALMITATE               9 1765
(i.e. 6 months) among patients with ~ 6 months of observa-                         All statistical ,maly.;es were conducted using SAS 9.3 (SAS
tion period. The MPR was calculated as the number of days                          Institute inc., Cary, NC, USA).
of S\Jpply over treatment duration (i.e. the period between
the first and the last dispensing of the index medication) and
                                                                                   Results
was calculated among patients with 2:2 PP3M claims.
Adherence to therapy was defined using a threshold of                              Baseline characteristics
~ 0.80 for PDC and MPR. Persistence was evaluated as the
                                                                                   Among 7160 adult patients with at least one approved PP3M
proportion of patients with a second or third dose, among
                                                                                   daim, 5362 (74.9%) had continuous clinical activity for at
those with sufficient observation period (2:4 months after
                                                                                   least 12 months prior to the index date and 1545 (21.6%)
the previous dose}.
                                                                                   also had at least one schizophrenia diagnosis anytime during
                                                                                   the study period (Figure 1). Among these 1545 patients
                                                                                   (overall PP3M cohort), 1063 (68.8%) transitioned from PP1 M
Statistical analysis
                                                                                   to PP3M as per prescribing guidelines and PP3M clinical trial
Descriptive statistics were used to report demographic and                         (per label PP3M cohort).
clinical characteristics and PP1M treatment patterns at base-                         Basellne characteristics are presented in Table 1. In both
line as well as PP3M treatment patterns during the observa-                        cohorts, most patients were under 3S years of age (overall
tion period. Means, standard deviations (SDs), and medians                         PP3M cohort: 33..8%; per label PP3M cohort: 34.1 %), were
were used to describe continuous variables; frequencies                            male (overall PP3M cohort: 64.7%; per label PP3M cohort:
and percentages were reported for categorical variables.                           66.1%), were from the south region of the US (overall PP3M


                        Patients 2: 18 ye-ars of age with continuous clinical activity :md 2: I approved PPJM claim,
                                       with the date of the first apprm•ecl PP3M being the inde."t date
                                                                         N=7,160




                           Continuous cliuical activity for 2: l2 monlhs prior Lo (baseline period) the index date

                                                                    N=S,.362 (74.9%)

                                                                               1
                                            Patients with ~ l schizophrenia di.agnosls at any time
                                         (lCO-9: 295.XX lexcludjng 295.7]; ICD- 1.0: F2-0.XX. F21)
                                                           (Overall PP3M coh-0rt)
                                                               N=1,545 (28.8%)


                                                                               l
                                                      ~ I PPlM c.laim prior to PP3M illitiation

                                                                    N""l,429 (92.5%)


                                                                               l
                      No gap of>45 days in PP I M coverage four mond1s prior to PP3M initiation AND same dose
                                         strength for tbe last two PPIM claims prior to PP3M initiation
                                                                      =1,152 (80 ..6%)


                                                                               l               3
                                                              Dose transition as labeled
                                                               (Per lubcl PP3M. coh.o rt)
                                                                    N=l.063 (92.3%)

Flgur11 1. ldt!ntificatlon of the sll!dy population. Abbreviation$. PPIM, once every month pafipeJidone palmltate; PP3M, once every thr...e months pal!perldone
palmIt.lie. "correspondence betM!en the dose strength (mg) of the last PP1 M claim and the first PP3M claim; 78 mg 273 mg, 117 mg 410 mg, 1Sli mg 546 mg or
234 mg 819 mg.




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Table 1. Demographic and cllnlcal characteristics evalllated during the 12        cohort: 45.9%; per label PP3M cohort: 47.3%), <1nd had
month baseline period.                                                            Medicare (47.6% in both cohorts} or Medicaid (overall PP3M
Characteristics                             Overall PP3M Per label PP3M
                                                cohort
                                                                                  cohort: 41.4%; per label PP3M cohort: 42.1%) coverage at the
                                                                 cohort
                                              (N 1S4S)         (N 1063)           index date. The mean CCI was 0.6 (SD= 1.2) In both cohorts
Age categories, n (%)                                                             and the mean number of unique mental health diagnoses
  18 34                                          522 (33.8)       363 (34.1)      was 2.8 and 2.7 in the overall PP3M cohort and In the per
  3S 44                                          3S9 (23.2)       243 (22.9)      label PP3M cohort. respectively (SD= 3.1 in both cohorts).
   45 54                                         32S (21.01       224 (21.1)
   c:SS                                          339 (21,9)       233 121.9)
Gender, n (%)
   Male                                         1000 (64.7)       703 (66.1)
                                                                  360 (33.9)
                                                                                  PP1 M treatment patterns before transitioning to PP3M
   Female                                        545 (35.3)
!JS reg ion, n I%)
                                                 709 (45.9)       S03 (47.3)
                                                                                  Among the 1545 patients In the. overall PP3M cohort, 1429
   South
   Midwest                                       280 (18.1)       191 (18.0)      (92.5%) had at least one PPl M claim before transitioning to
   West                                          223 (1 4.4)      145 (13.6)      PP3M, The overall PP3M cohort received on average 8.9
   Nonheast                                      131 (8.5)         92 (8.7)
   Unknown                                       202 (13.1)       132 (12.4)
                                                                                  (SD = 3.8) PPl M claims with 33.7 (SD = 17.5) days between
Primary Insurance plan at Index date, n 1%)                                       consecutive PP1M claims and were exposed to PP1 M treat-
   Medicare                                      736 (47.6)       506 (47.6)      ment for 284.9 (SD = 93.9) days, whlle the subset of patients
   Medicaid                                      640 (41.4)       448 (42.1)
   Commercial                                    163 (10.6)       104 (9.8)
                                                                                  in the per label PP3M cohort received 9.8 (SO = 3.3) PPlM
   Other                                           6 (0.4)          S (0.5)       claims with 315 (SD = 7.6) days between consecutive claims
Quan CCL mean± SO [median}                     0.6± 1.2 (O.OJ   0.6:t 1.2 CO.OJ   and were e'Xposed to PP1M treatment for 302.1 (SD = 90.7)
Number of unique mental health diagnoses, 2.8± 3,1 [2.0J        2.7± 3.1 [2.0]
   mean± SD (median!
                                                                                  days {Table 2 ).
Baseline mental health related medication use, n (%)                                  Among the overall PP3M cohort, 87.2% had the same
   APs                                          1511 (97.8)     1063 (100.0)      dose strength for the last two PPl M claims prior t o PP3M ini-
      Oral typical                               231 (15.0)       159 (15.0}
      Oral atypical                              868 (56.2)       583 (54.8)      tiation, 839% had a correspondence between the dose
      Typical LAI                                 70 (4.S)         54 (S.1)       strength of the last PPlM claim and the first PP3M claim as
      Atypical LAI                              1438 (93.1)     1063 (100.oJ      recommended and 75.9% had no gap > 45 days in PPl M
         Paliperidone palmitate (PPl M)         1429 (92.5)     1063 (100.0)
      Pol}'Pharmacy                              480 (31.1)       391 (36.8)
                                                                                  coverage 4 months prior to PP3M initiation (Table 2}.
   Antidepressa~                                 823 (S'i.3)      558 (525)       Therefore, the main reason for not transitioning from PP1 M
   Anxiolytlcs                                   461 (29.8)       310 {29.2)      to PP3M adequately was the criteria of no gap > 45 days In
   Mood stabilizer                               594 (38.4)       388 (36.5)
                                                                                  PPl M coverage 4 months prior to PP3M initiation.
Abbreviations. AP, antipsychotic; CC~ Cnarlson comorbidity index; LA~ long
acting Injectable therapy; PPl M, once every month pallperidone palmitate;            The most prevalent dosage for the last PP1 M claim was
PP3M. once every three months pafiperidone palmitate; SO, siandard                234 mg for both cohorts (overal I PP3M cohort with prior
deviation.                                                                        PP1 M use: 53.8%; per label PP3M cohort: 56.0%), followed by

Tabl~ 2. PPl M treatment patterns during the 12 month baseline perlod (before transitioning to PP3M).
                                                                                                         OveraU PP3M cohort         Per label PP3M cohort
                                                                                                              (N   1545)                  fN. 1063)
Patients with PPIM use In the baselirie period. n [%)                                                         1429 (92.S)               1063 (100.0)
Number of patients transitioning from PPl M to PP3M as per label recommendatlons•, n (%)                      1063 (68.8)               1063 (100.0)
  No gap of > 45 days In PP1 M coverage 4 months prior to PP3M Initiation                                     1173 (75.9)               1063 (100.0)
  Same dose strength for the last two PP1 M claims prior to PP3M Initiation                                   1347 (87.2)               1063 (100.0)
  Recommended transition between PP1 M and PP3M dosages                                                       1297 (83.9)               1063 (100.0)

Among patients with prior PPlM use                                                                             N   1429                   N 1063
Number of PPlM clalrnsb, mean±SD (median]                                                                   8.9 .t 3.8 I10.0J          9.8 :t 3.3 [11.0)
Base6ne exposure to PPI M (days), mean± SO (median)                                                       284.9 ± 93.9 (338.01       302 1 ± 90] (364,0)
Number of days between two consecutive PPI M dispensings, mean± SD [median)                                33.7 ± 175 (30.1]          315 ± 7.6 (29.9)
Proportion of days covered (PDQb, n (%)
  PDC < 0.80                                                                                                   900 !63.0l                541 (50.9)
  PDC 2:0.80                                                                                                   529 (37.0)                522 (49.1)
Dose strength (mg) of the last PP1 M claim before transitioning to PP3M. n (%}
  39mg                                                                                                           0 (0.0)                   0 (0.o)
  78mg                                                                                                          19 0.3)                   11 (1.0)
  117mg                                                                                                        192 (13.4)                136 (12.8)
  IS6mg                                                                                                        449 (31.4)                321 (30.2)
  234mg                                                                                                        769 (53.8)                595 (56.0)
Correspondence between the dose strength {mg) of the last PPl M claim and tile first PP3M claim, n (%)
  Recommended transitions                                                                                     1297 (90.8)               1063 (100.0)
     78 mg 273 mg                                                                                               13 (0.9)                  11 (1.0)
     117 mg 410mg                                                                                              162 111.3)                136 (12.8)
     156mg 546mg                                                                                               400 (28.0)                321 (30.2)
     234 mg 819 mg                                                                                             722 (505)                 595 (.56.0)
    Non recommended transitions                                                                                   132 (91)
Abbreviations. PPl M, once every month palipericlone palmitate; PP3M. once every three months paHperidone palmitate; SD, standard deviation.
1
  Defined as having no gap of > 45 days In PPIM coverage 4 months prior to PP3M initiation, having tile same dosage strength for the last two PPlM claims
  prior to PP3M initiation, and an appropriate dosage conveflion between the last PP1 M and the first PP3M claims (78 mg 273 mg, 117 mg 410 mg,
  156mg 546mg, or 234mg 819mg).
bevaluatl!d during the baseline period,



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                                                                                             TREATMENT PAmRNS WITH 3 MONlHLY PALIPERIOONE PALMITATE                               9 1767
156 mg (overall PP3M <;ohort with prior PPl M use; 31,4%; per                                   Baseline healthcare resource utilization patterns by
label PP3M cohort; 30.2%), 117 mg (overall PP3M cohort with                                     quarter
prior PP 1M use: 13.4%; per label PP3M cohort: 12.8%), and
                                                                                                There was a decrease in the proportion of patients with ;?:1
78 mg (overall PP3M cohort with prior PPl M use: 1.3%;· per
                                                                                                ER visit in baseline quarters doser to PP3M Initiation in the
label PP3M cohort: 1.0%; Table 2).
   Adherence to PP1M prior to PP3M initiation (12 month                                         overall PP3M cohort (from 14.7% at the fourth quarter to
                                                                                                11.1% at the first quarter prior to PP3M initiation) and in the
baseHne period) was seen to be higher for patients in the
per label PP3M cohort compared to patients In the overall                                       per label PP3M cohort (from 13.4% to 9.2%). A decreasing
                                                                                                trend was also observed in the proportion of patients with
PP3M cohort with prior PPlM use (proportion of patients
                                                                                                ;?: 1 IP visit (from 6.6% to 3.2% in the overall PP3M cohort
with a PDC by PPl M ~ 0.80: 49.1% vs. 37 .0%; Table 2).
                                                                                                and from 6.5% to 2.5% In the per label PP3M cohort) as well
                                                                                                as in the proportion of patients with ~ 1 OP visit (from 50.9%
Baseline adherence to mental-health•related medication                                          to 48.1% in the overall PP3M c-ohort and from 48.9% to
by quarter                                                                                      47.5% In the per label PP3M cohort; Figure 3).
                                                                                                     Similarly, In baseline quarters closer to PP3M initiation, a
In baseline quarters closer to PP3M Initiation, the proportion
                                                                                                decrease in the mean number of monthly ER visit s (from 0.09
of patients in the overall PP3M cohort with a PDC by any AP
                                                                                                at the fourth quarter to 0.07 at the first quarter prior to
~ 80% increased from 66.7% at the fourth quarter to 742%
                                                                                                PP3M initiation In the overall PP3M cohort and from 0.08 to
at the first quarter prior to PP3M Initiation. Furthermore,
                                                                                                0.06 in the per label PP3M cohort) and monthly IP visits
among the subset of patients in the per label PP3M cohort.                                      (from 0.03 to 0.02 In the overall PP3M cohort and from 0.03
the proportion achieving PDC by any AP 2:80% was generally
                                                                                                to 0.01 In the per label PP3M cohort) was observed.
higher at each quarter relative to the overall PP3M cohort                                      A decreasing trend was also observed In the mean number
and increased from 71.3% to 82.3% (Figure 2).                                                   of OP visits per month (from 0.74 to 0.68 In the overall PP3M
    Similarly, In baseUne quarters doser to PP3M initiation,
                                                                                                cohort and from 0.73 to 0.69 In t he per label PP3M cohort;
the proportion of patient s in the overall PP3M cohort with                                     Figure 4).
a PDC by antidepressants 2:,80%, a PDC by anxiolytics
:2;80%, and a PDC by mood stabilizers :2;80% Increased
from 54.6% to 62.5%, from 41.0% to 50.2%, and from 54.7%                                        PP3M treatment patterns
to 64.9%, respectively. The proportion of patients with a
PDC ~ 0.80 was consistently higher at each quarter and the                                      There was on average 26.9 (SD = 13.9) days between the last
same trend was observed in the per label PP3M cohort                                            PPl M and the first PP3M claims for patients in the per label
(Figure 2).                                                                                     PP3M cohort. In contrast, there were on average 40.0 days
                                                                                                (SD= 45.6) in the overall PP3M cohort (Table 3).


                   100%
                                                    O••era!I PPlM c,<>llorl                                                  hr lllbel l'J>JM cohort
                    90%
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             :iR
             o 80%                                                                       74,2%
             ':e1                                 71.3%
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                                10 PP31!          1n PPJM            10 PP3'.M         It> PPJM           I<> PP3M          10 PP.3M           10 PPJ).1         to PP3~1

Figuri! 2, Adherence to antipsychotics and mental hi!alth related medication for each quarter of the baseline period




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                    25%                                                                                                               54%
                                   Overall P1'3;\tl cohort                                   Per Is bel PP3:vl cohorr




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                                           ...,_.ERvi:;jts    -+-IP visits           ---OP visits
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                         4th quarter 3rd quarter 2ud quu11er 1st {jllllltl!r 4th quurter 3rd quurtl'f 2nd quarter l &t quarter
                             prior          prior          prior         prior         prior          pnor    prior   prior
                          to PP3M 10PP3M toPP3M                        toPP3M        ro PPJM        to PPJM toPP3M to PP3M
Figure 3. Proportion of patients with ER, IP and OP visits for ea<h quarter of the baseline period.



                                                                                                                                      0.80
                                       Overall PPJM cohort                                       Per l11be.l PPJM cobort
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                          prior         prior          prior         prior         prior          prior        prior         prior
                       to PP3M        lo .PP3M       to PP3M       toPP3M        to PP3M        to PP3M       to PP3M      t>PP3M
Figure 4. Mean number of ER, IP and OP visits per month for ea<h quarter d the baseftne period.



    The most commonly used first PP3M dose was 819mg                                    Among patients in the overall PP3M cohort with 2:2 PP3M
(overall PP3M cohort: 52.7%; per label PP3M cohort: 56.0%)                           claims (N = 1066), the mean MPR was 0.97 (SD = 0.08) and
followed by 546mg (overall PP3M cohort: 31 .7%; per label                            95.6% of the pati-ents had an MPR ;:::o.a. Similarly, among
PP3M cohort 30.2%), 410 mg (overall PP3M cohort 13.2%;                               those in the per label PP3M cohort with ? 2 PP3M claims
per label PP3M cohort: 12.8%), and 273 mg (overall PP3M                              (N = 76n, the mean MPR was 0.97 (SD = 0,08) and 96.6% had
cohort: 2.5%; per label PP3M cohort: 1.0%; Table 3}.                                 an MPR ;:::o.8 (Table 3). The proportion of patients with a




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                                                                           TREATMENT PAmRNS WITH 3 MONlHLY PALIPERIOONE PALMITATE              9 1769
      Table 3. PP3M treatment patterns.
                                                                            Overall PP3M cohort (N         1545)   Per label PP3M cohort (N 1063)
      Duration ci continuous PP3M therapy', days, mean± SO (medianl              1   n 3 ± 109.9 1162.01                186.S± 112.8 [174.0]
      Number of PP3M dalm~ mean± SO (median}                                           25± l.4 (2.0]                       2.6 ± 1.4 [2.0)
      Distribution of the number of PP3M dai~ n (%)
        1                                                                               479 {3 1.0)                          296 (27.8)
        2                                                                               376 (24.3)                           241 (23.2)
        3 or more                                                                       690 (44.7)                           520 (48.9)
      Dosing patterns
        First dose
          Patients with a first dose, n (%)                                            154S (100.0)                         1063 (100.0)
          Days since last PP1 Mdose, mean± SO (median]                               40.0±4S,6 [28.0J                     26.9 ± 13.9 [28.0]
          Dose stn!ngth (mg), n (%)
             273                                                                         38 (2.5}                              11 (1.0)
             410                                                                        204 (13.2)                           136 (12.8)
             546                                                                        489 (31.7)                           321 {30.2)
             819                                                                        814 (52.7)                           595 (56.0)
        Second dose
          Patients with > 4 months of follow up after first dose, n (%)                1136 (73.s)                           794 (74.7)
          Patients with a second dose, n ('!6)                                          968 (85.2)                           698 (87.9)
          Days since last PP3M dose, me.an± SO (med'ianJ                             89.2± 29.7 l8&0l                     89.8 ± 29.1 [88.0]
            2:120 days, n ('!6)                                                          58 (6.0)                              36 (5.2)
          Dose strength (mg), n (%)
             213                                                                         1S {1.5)                              S (0.7)
             410                                                                        134 {13.8)                            91 (13.0)
             546                                                                        308 (31.8)                           215 (30.8)
             819                                                                        511 (S2.8)                           387 (5S,4)
          Change from first dose to second dose, n ('!6)
             Increase                                                                    17 (1.8)                              7 (1.0)
             Same dose                                                                  945 (97.6)                           686 (983)
             Decrease                                                                     6 (0.6)                              5 (0.7)
        Third dose
          Patients with > 4 months of follow up after second dose, n (%)                695 (45.0)                           513 (483)
          Patlen ts with a third dose, n f'Jbl                                           007 (87.3)                          459 (89.5)
          Days since last PP3M dose, mean± SD (median)                               84.S ± 22.3 [85.0l                   86.6 ± 21.4 [85.0J
             2:120 days,. n (%)                                                           28 (4.6)                             19 (4.1)
          Dose strength (mg), n ('!6)
             273                                                                          7 (1.2)                              3 10.n
             410                                                                         79 (13.0)                            54 (11.8)
             546                                                                        200 (32.9)                           149 (32.5)
             819                                                                        321 (52.9)                            253 (55.1)
          Change from secQ!ld dose to third dose, n ('16)
             Increase                                                                    15 (2.5}                               11 (2.4)
             Same dose                                                                  58S (96.4)                            443 (96.5)
              Decrease                                                                    7 (1 ,2}                               5 (1.1)
      Days between subsequent dosesb, mean :t SO (median]                           87.4 ± 19.6 [86.01                     87.0± 18.S [86,0]
      Adherenai to PP3M
        MPR<, me.an±SD (median]                                                     0.97± 0.08 {1.00)                      0.97 ± 0.08 [1.00)
        MPR' 2: 0.80, n (%)                                                           1019 (95.6)                              741 (96.6)
        pocd at 6 months, n (%)                                                         907 (58.7)                            651 (61.2)
           POC, mean±SO [median]                                                    0.89±0.18 [0.981                       0.90± 0.17 [0.98]
           POC 2:0.80, n (%)                                                            741 (8 1.7)                           549 (843)
      Abbreviations. PDC. proportion d days covered, PP1 M. once every mor.th paliperidone palmitate. PP3M, once every three months paHperidone
      palmitate; MPR, medication possession ratio; SD, standard deviation.
      "Continuous PP3M therapy was defined as having a gap of no more than 45 days between the end of supply of a PP3M dalm and the st.art of a
       new PP3M clalm, starting from the index date.
      "Among patients with more than three PP3M claims and at least 4 months of follow up between claims.
      <MPR was cakulated amo<!g patients with at least two claims of PP3M. A MPR higher than 1 was truncated to 1.
      dppc was calculated as the sum of the number of unique <lays during which the patient had PP3M, divided by a fixed time ln~rval.


PDC :::::o .8 at 6 months was 81 .7% in the overall PP3M cohort             date. (June- September 2016} and no second dose (data not
and 84.3% in t he per label PP3M cohort (Table 3).                          shown}. Only 40 (14.9%) patients received their index PP3M
    Almost t hree-quarters of the patients had :2::4 months of              prior to June 2016 and did not have a second dose.
follow-up after the first dose In bot h cohorts, of which 852%                  Sfmilarly, among the 4S.0% (per label PP3M cohort: 48.3%)
of the overall PP3M cohott (87.9% of the per label PP3M                     of patients with 2'.4 months of follow-up after the se<:ond
cohort) had a second dose (Table 3). The strength of this                   dose, 87.3% (per label PP3M cohort: 89.5%) of them had a
second dose was Identical to the first one in 97.6% (per label              third dose in both cohorts. The third dose had the same
PP3M cohort: 98.3%) of the cases (Table 3). Among patfents                  strength as the second dose for 96.4% (per label PP3M cohort:
with < 4 months of follow up after the first dose in the per                96.5%) of the patients (Table 3). Among patients with < 4
                          =
label PP3M cohort (N 269), 69 patients (25.7%) still had a                  months of follow up after the second dose In the per label
second dose and 160 patients (59.5%) received their index                   PP3M cohort (N = 18S pat ients), 61 patients (33.0%) still had a
injection within the last 3 months before the data cutoff                   third dose and 100 patients (54.1%) received their index




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Figure .5. Menttl health related med1cation use during exposure to PP3M.

injection within the last 6 months before the data cutoff date                               80% of the population having a PDC at 6 months 2:0.80 and
(March- September 2016) and no third dose. Only 24 (13.0%)                                   most of the patients having subsequent PP3M claims within
patients received their index PP3M prior to March 2016 and                                   4 months of interval.
did not have a third dose.                                                                       The vast majority of patients (68.8%) transitioned from
    Fi nally, 42.6% (per label PP3M cohort: 45.2%) of the                                    PPl M to PP3M based on the prescribing guidelines and on
patients had ~ 8 months of follow-up after the first dose, of                                an adaptation of the strict cllnlcal trlal protocol for PP1 M to
whom 75.1 % (per label PP3M cohort: 79.0%) had a third                                       PP3M transitlon32. The main reason for not transitioning as
dose in the overall PP3M cohort and the per label PP3M                                       recommended was the presence of gaps > 45 days in PPl M
cohort, respectively (data not shown). The third dose had the                                coverage 4 months prior to PP3M initiation, which was used
same .strength as the first dose for 95.5% (per label PP3M                                   to define patients being •adequately treated with the
cohort: 96.1%) of the patients.                                                              1-month paliperidone palmitate extended-release injectable
    During exposure to PP3M treatment the most commonly                                      suspension for at least four months• from the prescribing
used mental-health-related medications were antidepressants                                  guldelines31 . This algorithm has been developed to mimic
(overall PP3M cohort: 445%; per label PP3M cohort: 44,8%),                                   the PP3M clinical trial protocol in which patients received
atypical oral APs (overall PP3M cohort: 37.4%; per label PP3M                                PP1 M for 120 days at the following schedule: day 1, 8, 36,
                                                                                             64, and 92. However, treating healthcare providers may have
cohort: 37.7%), mood stabilizers (overall PP3M cohort: 30.8%;
                                                                                             clinical reasons for not conforming with the guidelfnes in cer-
per label PP3M cohort: 29.6%), and anxiolytlcs (overall PP3M
                                                                                             tain circumstances where individualized patient care Is
cohort: 21.2%; per label PP3M cohort: 20.7%; Frgure 5).
                                                                                             required. For example, a psychiatrist may consider a patient
                                                                                             to be adequately treated with PP1M for at least 4 months to
Discussion                                                                                   be transitioned to PP3M while gaps of more than 45 days
                                                                                             occurred during the PP1M coverage. Hence, observed find-
This retrospective observational study found that PP3M was                                   ings may differ from the prescribing guidellnes in the rea l-
generally administered to schizophrenia patients following                                   world practice of psychiatry. It is also possible that some of
the prescribing guidelines. The most common first PP3M                                       the initial claims for PP1 M were not captured In the data
dose strength was 819 mg (the highest dosage available) and                                  (e.g. samples). However, it is important to note that there
most patients had a consistent dose for their first three                                    were no substantial differences In the baseline characteristics
PP3M claims. The average number of days between subse-                                       or the treatment patterns between the overall PP3M cohort
quent PP3M claims was also consistent with the recommen-                                     and the per label PP3M cohort.
dations. In the overall PP3M cohort, as well as the per label                                    The proportion of patients receiving a second or third
PP3M cohort, patients demonstrated stabilization observed                                    d.ose was calculated among patients with ::::4 months of fol-
through improvement in adherence and reduction in health-                                    low-tip after their first or second PP3M dose to allow suffi-
care resource utilization by quarters leading up to PP3M initi·                              cient time to observe this additional dose. The vast maj ority
ation. Finally, a high proportion of patients were persistent                                of the excluded patients either stlll received an additional
with and adherent to their PP3M treatment. with more than                                    dose or did not have ~ 4 months of follow-up because of the




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                                                                    TREATMENT PAmRNS WITH 3 MONlHLY PALIPERIOONE PALMITATE            9 1771
data cutoff date. Only less than 15% of the patients with <4         for one injection is independent of any further action by
months of follow-up received their first/second PP3M dose            the patient. Finally, we could not assess any trend on health-
soon enough to potentially have ~ 4 months of follow-up              i;:are resource utilization and associated costs after PP3M Initi-
but did not have a subsequent PP3M claim.                            ation given the limited sample with sufficient follow-up after
   To the best of our knowledge this is the first study to           index date.
assess the transition between PP1 M and PP3M In a real-world              Despite these limitations, SHS is a robust source of data
setting. However, results of the current st1,1cly are consistent     which captures a high proportion of the prescription transac-
with previous literature with respect to adherence and HRU.          tions In the US and provides access to recent Information (up
Indeed, since lower dosing frequency has already been asso-          to September 2016). The SHS database thus offers the advan-
ciated with better adherence17·' 8 •26• 34, high adherence with 1    tage of broad and timely access to data on the uttlization of
and 3 month LAls was to be expected. tn addition, a system-          new drugs and provides a much larger sample size of PP3M
atic review fovnd that poor adherence to AP treatment was
                                35                                   users compared to other available claims or Electronic
associated w fth Increased HRU . In this study, a trend was
                                                                     Medlcal Records (EMR} databases.
observed with an Increased adherence In the baseline quar-
ters prior to PP3M initiation and a decrease In inpatient, out-
patient, and emergency-room visits.                                  Conclusions
   A retrospective claims-based study on Medicaid patients
after discharge from a schizophrenia-related hospitallzatlon         Patients initiated on PP3M demonstrated decreased HRU and
mentioned that 51.0% of the patients had a PDC by PPl M at           Increased adherence in quarters closer to PP3M Initiation.
6 months higher than 0.80 and 48.2% had a PDC by any LAI             The results also suggest optimal adherence and persistency
at 6 months higher than 0.8023. In our study, we found a             with PP3M, the only 3 month antlpsychot ic therapy option
substantially higher proportion of patients with a PDC by            for patients suffering with schizophrenia. Further research
PP3M at 6 months higher than 0.80 (59% and 61.9% depend-             with longer follow-up is needed to confirm findings on PP3M
Ing on the cohort). These results are therefore in line with         treatment patterns and adherence.
the hypothesis that a lower dose frequency may increase
adherence to AP medication .. Higher adherence, along with
longer half-life, may be associated with better outcomes,            Transparency
Including time to relapse36.
    Further research could also consider cost analyses. Some         Declaration of funding
studies have already shown that PP1M results In lower med-           This research was funded by Janssen Scientific Affairs LLC.
ical costs when compared to oral APs34•37- 39. The drug cost
of PP3M is in parity to PPl M. However, It Is expected that
PP3M utilization will incur reduced costs related to drug            Declaration of financial/other relationship$
administration compared to PPl M due to decreased dosing             K.J. 8.8. and N.T. have disclosed that they are employees of Janssen
frequency.                                                           Scientific Aff.tirs LLC and Johnson & Johnson. M. H.L. W.W. B.E. ,md P.L
   This study was subject to some limitations. First, SHS is a       haw disclosed that they are employees of Analysis Group Inc., a consult
provider-based data source and a unique patient ID is cre-           Ing company that has received research funds from JanS&en Scientific
ated based on patients' f irst name, last name, date of birth,       Affairs LLC.
                                                                         CMRO peer reviewers on this manuscript have received an honorar
zip code and gender to link the information collected from
                                                                     l um from CMRO for their review work. but have no relevant financial o r
the different pharmacy and clinic networks. The database will
                                                                     other relatlonshlps to disclose.
nor capture the services patients received from a provider               Janssen Scientific Affairs, LLC
that is outside of the SHS network. This explains why a high
proportion of patients were removed in the selection process
bec.ause they did not have at least one schizophrenia diagno-        Acknowledgment
sis (Figure 1}. This does not mean that the excluded patients
                                                                     No assistance in the preparation of this article is to be declared. Part of
did not have schizophrenia, but that the diagnosis may not           the material in this manuscript has been presenb!d at the 29th Annual
have been captured in the Symphony database. Also, based             US l¾ychtatric and Mental Health Congress (October 21 24, 2016, San
on previous analyses using SHS database, even ff patients            Antonio, TX) and at the 2017 American Psychiatric Association Annual
may change providers for obtaining their different medica-           Meeting (May 20 24, 2017, San Diego, CA).
tions, they tend to obtain the same medication through the
same provider, therefore enabling us to analyze treatment
                                                                     References
patterns of a specific medication. Second, as with all real-
world data sovrces, this data were subject to billing inaccura-       I.   World Health Organization. Schizophrenia: Fact sheet #397. .2014.
cies and missing data. Third, adherence measures such as                   Available at: httpi/www.who.int/mediacentre/factsheets/ [L~t
PDC or MPR do not accourit for whether the drugs dispensed                 accessed 20 March 2017']
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were actually taken as prescribed. This may overestimate                   Harvard School d Public Health. The Global Burden of Disease:
patient adherence, especially for oral medication, for which               A Comprehensive Assessment of Mortality and Disability from
we assumed that patients take their medication as prescribed               Diseases, Injuries, and Risk Factors in 1990 and Projected to 2020:
(e.g. one pill pet day), whereas for LAI; the duration of effect           Summary. Geneva: World Health Organlz.ition, 1996




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                                                        Appx12882
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1m    @ K. JOSHI ET AL

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      2004;65:354 60                                                               antipsychotlcs. J Med Econ 2015;18:357 65
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      patients with schizophrenia Initiated on a first or second gener             and costs of California Medicaid patients with schizophrenia
      atlon long acting Injectable wrsus oral antlpsychotlc. Patient               treated with paUperidone palmltate once monthly or atypical oral
      Prefer Adherence 2017; 11:619 29                                             antipsychotlc treatment. Curr Med Res Opin 2017;33:723 31




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\                   APPX14094 - APPX14196

            CONTAIN MATERIALS SUBJECT TO
              THE PROTECTIVE ORDER AND
             HAVE BEEN OMITTED IN THEIR
                      ENTIRETY




                  Appx14094 - Appx14196
            CONFIDENTIAL MATERIAL REDACTED
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I hereby certify that this conespondence is being transmitted via the Patent Office electrnn.ic filing system in accordance with 37 CFR l.6(a)(4).

     DawnH. Wilson                                              /Dawn H. Wilsoul                                               Februaw 20. 2018
          (Nru.ne)                                                 (Signature)                                                 (Date of Signature)




                     IN THE UNITED STATES PATENT AND TRADE.M ARK OFFICE

  Applicants                    Gopal, et al.                                        Docket No.: JPI500 I USNP

  Serial No.                    15/090,889                                           ArtUnit: 1621

  Filed                         April 5, 2016                                        Examiner:          BAEK, BONG-SOOK

  Title                         Dosing Regimen For Missed Doses for Long-Acting Injectable
                                 Paliperidone Esters

  Mail Stop Amendment
  Commissioner for Patents
  P 0. Box 1450
  Alexandria, VA 223 13-1450

                                     RESPONSE TO NON-FINAL OFFICE ACTION


  Dear Sir:

             In response to the Non-Final Office Action having a Notification date of November
  20, 2017 ("Office Action:"), applicants submit the following remarks. No fee is believed to
  be due for this submission.


  Amendments to the Claims begin on page 2 of this paper

  Remarks begin on page 8 of this paper.




                                                                                               EXPERTS MYL 002 135


                                                          Appx14445
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                                                                       Docket No.: JPIS00IUSNP




Amendments to the Claims:


The listing of the claims will replace all previous versions, and listings, of the claims.



1. (Currently Amended) A dosing regimen for administering an inj ectable paliperidone
palmitate depot to a patient in need of psychiatric treatment that has been treated with a
3-month injectable paliperidone palmitate depot (PPJM), wherein said patient had been
last administered a PP3M injection more than 9 months ago, misses for a period of nine
rnoaths or ]eager the next scheduled maintenance dose of the PP3M should be
administered 3 n1oath inj eetaele fJalif)eriaofl.e palmitate depot, comprising:
    ( 1) administering intramuscularly in the deltoid muscle of said patient a first
        reinitiation loading dose of 150 mg eq. of the monthly inj ectable paliperidone
       palmitate depot (PP lM);
    (2) administering intramuscularly in the deltoid muscle of said patient a second
        reinitiation loading dose of 100 mg eq. of PPlM .i:te R'lonthly injeetaele
        paliperidoae palrnitate depot on about the 4th day to about the 12th day after
        administering ef said first reinitiation loading dose;
    (3) administering intramuscularly in the deltoid or gluteal muscle of said patient a
       first reinitiation maintenance dose of 50 mg eq. to about 150 mg eq. of PPlM the
        monthly injeetable paliperidone palmitate depot on about the 23th day to about
       the 37th re day after administering ef said second reinitiation loading dose;
    (4) administering intramuscularly in the deltoid or gluteal muscle of said patient a
        second reinitiation maintenance dose of from about 50 mg eq. to about 150 mg eq.
        of PP IM ffl:ORthly isjectable paliperidoae 13alffl:itate de13ot on about the 23rd day to
        about the 37th day after administering ef the first reinitiation maintenance
        adElitional dose;
    (5) administering intramuscularly in the deltoid or gluteal muscle of said patient a
        third reinitiation maintenance dose of from about 50 mg eq. to about 150 mg eq.


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                                                                  EXPERTS MYL 002136


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       of PP JM A'lOfltAly iAjeetable paliperiEloAe palmiffrte Elepot on about the 23rd day to
       about the 37th day after administering ef the second reinitiation maintenance
       dose; and
   (6) administering intramuscularly in the deltoid or gluteal muscle of said patient from
       about 175 mg eq. to about 525 mg eq. of PP3M the 3 moBth form1:1latioB of
       paliperiEloAe palraitate on about the 23rd day to about the 37th day after
       administering of the thffil a last reinitiation maintenance dose of monthly
       injectable paliperidone palmitate.


2. (Original) The method of claim l , wherein said patient is in need of treatment for
psychosis.


3. (Original) The method of claim 2, wherein said patient is in need of treatment for
schizophrenia.


4. (Original) The method of claim 2, wherein said patient is in need of treatment for
bipolar disorder.


5. (Currently Amended) A dosing regimen for administering an inj ectable paliperidone
palmitate depot to a patient in need of psychiatric treatment that has been treated with
PP3M a 3 moAth ifljeetable paliperiEloAe palraitate Elepot, wherein said patient had been
last administered a PP3M injection 4 to 9 months ago misses for a perioa of more dum or
equal to four moflths a0EI up to flifle rnoflths the next scheduled maintenance dose of
PP3M should be administered the 3 rnoflth ifljectable paliperidofle palmitate depot,
comprising:
   ( 1) administering intramuscularly in the deltoid muscle of said patient a first
       reinitiation loading dose of PPJM the monthly iAjeetable paliperidoAe palmitate


   (2) administering intramuscularly in the deltoid or glttteal muscle of said patient a
       second reinitiation loading dose of PP1M ti:ie fflontl:tly iRjeetable paliperidoRe


                                             3
                                                               EXPERTS MYL 002137


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              palffiitate Elepot on about the 4th day to about the 12th day after administering of
              said first reinitiation loading dose; and
         (3) administer administering intramuscularly in the deltoid or gluteal muscle of said
              patient the~ reinitiation dose of PP3M 3 month formulation of paliperidone
              paltftit-ate in the range of about 175tftg eq. to about 525 ffig eq. on about the 23rd
              day to about the 37th day after administering the second reinitiation loading dose
              of PP 1M ffiOflthly ifljeetal:lle paliperidofle palmitate wherein said first and second
              reinitiation loading eese doses and the reinitiation PP3M 3 ffionth. formula-ti on of
              paliperidofle palmit:a-te dose are selected from the table below based on the
              amount of the missed dose
   Missed           ,•..dminister PPlM, h'l'O doses one week        Then ttdmiuister PPJM
   Dase                    ftf)ttft (int:o deltoid musele)          (int:o tleltoit111 or glutettl musele)
                        Doy 1                    Day 8              1 month ofter day 8
    175 mg eq.        50 mg eq.     +        50 mg eq.      +       175 mg eq.
    263 mg eq.        75 mg eq.     +        75 mg eq       +       263 mg eq.
    350 mg eq.        100 mg eq.    +        100 mg eq.     +       350 mg eq.
    525 mg eq.        100 mg eq.    +        100 mg eq.     +       525 mg eq.



Missed Dose of PP3M        Reinitiation Doses of PP IM          Reinitiation Dose of PP3M
175 mg eg.                 50 mg eg.                            175 mg eg.
263 mg eg.                 75 mg eg .                           263 mg eg .
350 mg eg .                100 mg eg.                           350 mg eg.
525 mg eg.                 100 mg eg.                           525 mg eg .



     6 . (Original) The method of claim 5, w herein said patient is in need of treatment for
     psychosis.


     7. (Original) The method of claim 5, w herein said patient is in need of treatment for
     schizophrenia.




                                                     4
                                                                       EXPERTS MYL 002138


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8. (Original) The method of cl aim 5, wherein said patient is in need of treatment for
bipolar disorder.


9. (New) The method of claim 5 wherein the second reinitiation dose of PPlM is
administered about 7 days after administering said first reinitiation loading dose of
PPlM.


10. (New) The method of claim 9 wherein the second reinitiation dose of PPlM is
administered 7 days after administering said first reinitiation loading dose of PPl M.


11. (New) The method of claim 5 wherein the reinitiation dose of PP3M is administered
about 30 days after administering said second reinitiation loading dose of PPl M .


12. (New) The method of claim 11 wherein the reinitiation dose of PP3M is
administered 30 days after administering said second reinitiation loading dose of PPl M.


13. (New) The method of claim 5 wherein the reinitiation dose of PP3M is administered
about a month after administering said second reinitiation loading dose of PPl M.


14. (New) The method of claim 11 wherein the reinitiation dose of PP3M is
administered a month after administering said second reinitiation loading dose of PPlM.


15. (New) The method of claim I wherein the second reinitiation loading dose of PPlM
is administered about 7 days after administering said first reinitiation loading dose of
PP l M.


16. (New) The method of claim 9 wherein the second reinitiation loading dose of PP lM
is administered 7 days after administering said first reinitiation loading dose of PP l M.




                                              5
                                                               EXPERTS MYL 002139


                                      Appx14449
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17. (New) The method of claim 1 wherein the first reinitiation maintenance dose of
PPlM is administered about 30 days after administering said second reinitiation loading
dose of PPlM.


18. (New) The method of claim 1 wherein the first reinitiation maintenance dose of
PP lM is administered 30 days after administering said second reinitiation loading dose of
PPlM.


19. (New) The method of claim 1 wherein the second reinitiation maintenance of PPlM
is administered about 30 days after administering said first reiniti ation maintenance dose
ofPPlM.


20. (New) The method of claim 1 wherein the second reinitiation maintenance of PPlM
is administered 30 days after administering said first reinitiation maintenance dose of
PPIM.


2 1. (New) The method of claim 1 wherein the third reinitiation maintenance of PPlM is
administered about 30 days after administering said second reinitiation maintenance dose
ofPPlM.


22. (New) The method of claim I wherein the third reinitiation maintenance of PPIM is
administered 30 days after administering said second reinitiation maintenance dose of
PPlM.


23. (New) The method of claim 1 wherein PP3M is administered about 30 days after
administering said last reinitiation maintenance of PPlM.


24. (New) The method of claim I wherein PP3M is administered 30 days after
administering said last reinitiation maintenance of PPlM.




                                             6
                                                              EXPERTS MYL 002140


                                      Appx14450
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25. (New) The method of claim 1 wherein PP3M is administered about a month after
administering said last reinitiation maintenance of PPlM.


26. (New) The method of claim 1 wherein PP3M is administered a month after
administering said last reinitiation maintenance of PPlM.


27. (New) The method of claim 1 further comprising administering intramuscularly in
the deltoid or gluteal muscle of said patient a fourth reinitiation maintenance dose of from
about 50 mg eq. to about 150 mg eq. of PPlM on about the 23rd day to about the 37th
day after administering the third reinitiation maintenance dose


28. (New) The method of claim 27 wherein said fourth reinitiation maintenance of
PPlM is administered about 30 days after administering said third reinitiation
maintenance dose of PP IM.


29. (New) The method of claim 28 wherein said fourth reinitiation maintenance of
PPlM is administered 30 days after administering said third reinitiation maintenance
dose of PPl M.




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                                                              EXPERTS MYL 002141


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                                      RE:MARKS
       Claims 1-29 are pending in the application.
       New claims 9-29 have been added. No new matter has been added.
       Claims I and 5 have been amended. No new matter has been added.


                                     Claim Obiections
       Claim 5 is objected to for typographical errors. Applicants have corrected the
error identified by the Examiner.
       Thus, Applicants respectfully request withdrawal of the objection


                        Claim Rejections Under 35 U.S.C. §103


       Claims 1-8 are rejected under 35 U.S.C. §103 as being unpatentable over
US201 l/0105536 ('"536 publication") in view of Osborne et al., 2012, Health and Quality
of Life Outcomes 10:35 ("Osborne"). Applicants respectfully disagree.
       The currently pending claims are directed to methods of getting patients back onto a
3-month injectable paliperidone palmitate depot medication (PP3M) when a dose has
been missed by a month or more. In that situation, the patient cannot just be given a
PP3M injection and continue with the medication. A reinitiation dosing regimen must be
administered that includes some administration of I-month injectable paliperidone
palmitate depot medication (PPlM) before getting back onto PP3M.
       PPIM and PP3M have the same active agent (paliperidone palmitate) that has
been made into nanoparticles. Upon injection in to the body, the nanoparticles dissolve
and the active agent is released into circulation. The difference between PPlM and
PP3M is the size of the nanoparticles administered. The larger PP3M nanoparticles take
longer to fully dissolve thus allowing there to be 3 months between dose administration.
The smaller PP JM nanoparticles fully dissolve in one month necessitating monthly
administration.




                                            8
                                                             EXPERTS MYL 002142


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        Patients initially getting onto a long acting injectable paliperidone palm itate must
first start by getting onto PPlM. There is a specific initiation dosing regimen needed to
have patients get a therapeutic plasma levels of the active agent quickly without oral
supplementation. This initiation dosing regimen is disclosed in US Patent No. 9,439,906
(the "906 patent"). It was discovered that administration of PPIM into the deltoids
results in a faster rise in the initial plasma concentration, thereby facilitating a rapid
attainment of potential therapeutic concentrations. Example 7 of the ' 906 patent
describes the factors which lead to switch from administering gluteal initiation doses
(which would be the normal method of administering long acting injectables) to deltoid
administration. The modeling described in Example 7 of the '906 patent points to the
desirability of day 1, 150mg eq. followed by day 8, 100 mg. eq. doses for initiation of
treatment to achieve a therapeutic level of paliperidone faster in patients receiving
treatment. These factors were identified after a failed Phase III clinical study with a more
conventional dosing regimen. A large amount of money and effort was invested to
conduct the initial Phase Ill trial. Such investments would not have been made if it was
obvious that the more conventional dosing would fail.
        For a patient to get onto PP3M, there is no equivalent initiation dosing. A patient
must first be treated and stable on PPlM for at least 4 months. A PP3M injection is then
given at the time that the patient would have received their next PPlM injection.
Subsequent injections of PP3M are then administered every 3 months± 2 weeks. If a
maintenance dose of PP3M is missed, there are different methods disclosed in the instant
application for how to get a patient back onto PP3M safely.
        Pending claims 5-14 describe the methods to be used to get a patient back onto
PP3M if the last dose of PP3M administered to the patient was given 4-9 months ago.
Pending claims 1-4 and 15-29 describe the methods to be used to get a patient back onto
PP3M if the last dose of PP3M administered to the patient was given more than 9 months
ago. Both methods include giving two reinitiation doses of PPlM. For patients that have
last been administered PP3M more than 9 months ago, they must also receive at least 3
reinitiation maintenance doses of PPlM before getting back onto PP3M.




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                                                                 EXPERTS MYL 002143


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       The '536 publication a dosing regimen for a patient to get back onto PPlM after a
missed dose of PPlM. This regimen includes either (1) one reinitiation loading dose of
PPIM and one reinitiation maintenance dose of PPlM before continuing with monthly
injections of PPIM or (2) two reinitiation loading doses of PPIM and one reinitiation
maintenance dose of PPIM before continuing with monthly injections of PPlM. This is
different than either methods described in the present application. Neither of the presently
claimed methods use just one reinitiation loading dose of PPlM or just one reinitiation
maintenance dose of PPlM.        In fact, the methods in claims 5-14 do not include any
reinitiation maintenance doses of PPl M.
       One skilled in the art would not have any understanding of how to get a patient back
onto PP3M form the disclosure of the ' 536 publication.         The inventors of the instant
application had to distinguish the different patient populations (i.e., those that had a PP3M
dose 4-9 months ago vs those that had a PP3M dose more than 9 months ago) and how to
treat them differently. The exact number of reinitiation loading doses and their amounts
could not be learned from the ' 536 publication. In fact, the ' 536 publication does not even
mention and other long acting paliperidone palmitate than PPIM. It is not the situation
where one can just do 3x whatever was done for PP IM to get an idea of what to do for
PP3M. While it is true that the same active is present in each, the different nanoparticle
sizes make these vastly different formulations that behave differently in the body.
       Osborne does nothing to remedy the deficiencies on the ' 536 publication. Osborne
examines data for outcomes of schizophrenic patients when they are long acting injectables
versus daily oral medication. It was seen that as patients have to take medications less
frequently their schizophrenia is better controlled. This has nothing to do with how to get
onto or stay onto the long acting injectables. It also does not discuss what to do if a patient
misses a dose of a long acting injectable medication and wishes to get back onto that
medication. Osborne merely points out that there may be a benefit of having a patient
switch to a long acting injectable medication.   The fact that Osborne advises that the best
interval for medication administration is 3 months has nothing do to with dealing with
missed doses.
       Thus, Appli cants respectfully request withdrawal of the rejection.



                                                                EXPERTS MYL 002144


                                       Appx14454
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                                                              Application Number: 15/090,889
                                                                    Docket No.: JPIS00IUSNP




                                 Double Patenting Rejection
         Claims 1-8 are rejected on the ground of nonstatutory obviousness-type double
patenting as being unpatentable over claims 1-16 of US 9,439,906 in view of Osborne.
Applicants respectfully disagree.
         As discussed above, the '906 patent discloses an initiation dosing regimen to get
onto PP 1M. No such initiation dosing regimen is required for PP3M. The '906 patent does
not disclose a dosing regimen for when a dose of PPl M is missed - much less than when a
dose ofPP3M is missed.
         Granting the pending claims in the instant application would not extend the
exclusivity that the ' 906 patent affords the initiation dosing regimen for PPlM as claimed in
the '906 patent. The instant claims are solely directed to what patients should do ifa dose of
PP3M is missed and they desire getting back on the medication. These methods are
patentable distinct from how a patient should initially get onto PPl M. Osborne does not
remedy the deficiencies of the ' 906 patent with respect to what to do about missed PP3M
doses.
         Thus, Applicants respectfully request withdrawal of the rejection.




                                              11
                                                                EXPERTS MYL 002145


                                       Appx14455
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                                                             Application Number: 15/090,889
                                                                   Docket No.: JPIS00IUSNP



                                      CONCLUSION
       A pplicants respectfully submit that the pending claims are in condition for
allowance.
       Applicants believe that no fee is due for the filing of this submission. However, the
Commissioner is hereby authorized to charge any deficiency or credit any overpayments
necessitated by this Amendment to Deposit Account No. 10-0750/JABS00lUSNP/MW.



                                                      Respectfully submitted,


                                                  By: /Melissa Wenk Reg. No. 53,759/
                                                        Melissa Wenk
                                                        Attorney for Applicants
                                                        Reg. No. 53,759

Johnson & Johnson
One Johnson & Johnson Plaza
New Brunswick, NJ 08933-7003
Tel. No.: (732) 524-5352
Dated: February 20, 2018




                                             12
                                                               EXPERTS MYL 002 146


                                      Appx14456
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Antipsychotics: How Best to Individualize Treatment




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       Pharmacodynamics of Long-acting
           Injectable Antipsychotics:
    How Best to Individualize Treatment


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                    Case: 23-2042                          Document: 22                                 Page: 533     Filed: 03/11/2024




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                                          Quick Case
        • BG is a 42-year-old female admitted
          yesterday for a return of psychosis
        • She had been taking an LAI antipsychotic
          medication dosed once a month
                       She is currently receiving the lowest dose of the
                       injection
                       She has been on the LAI for the past 3 years
                       She missed her last injection that was supposed
                       to be given 2 weeks ago
        • What should you do?


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                       Case: 23-2042                     Document: 22                                    Page: 534    Filed: 03/11/2024




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Examining the Pharmacokinetics and Pharmacodynamlcs of LAI
Antipsychotics: How Best to Individualize Treatment



                      What would you do?
       ■ Restabilize her on oral meds then
         switch back to LAI
         Give her an injection of her usual
       ■ dose plus oral overlap
         Give her a higher dose of her usual
       ■ LAI antipsychotic
       ■ Switch LAI anti psychotics
         Unsure


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              Case: 23-2042          Document: 22      Page: 535       Filed: 03/11/2024



                     Janssen Pharmaceuticals, Inc. et al. v. Mylan Laboratories Ltd.

                         U.S. DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

                                     Case No. 20-cv-13103 (EP) (LDW)

    JANSSEN’S AND MYLAN’S COMBINED DESIGNATIONS OF DEPOSITION TESTIMONY OF
                          KATIE REED (FEBRUARY 2, 2022)



   27:12       Q.        And what are the timing

        13                  considerations that shape the

        14                  decision on whether to move forward

        15                  with the product?

        18                      A.    So that discussion would

        19                  vary.    R&D may say that it's going

        20                  to take them 12 years to develop

        21                  something and we need it, you know,

   27:22             within two years.       They may say that

        23                  in terms of all the other things

        24                  that they are working on, you know,

        25                  they can't get to it.      Or they may

     28: 1                            REED - CONFIDENTIAL

          2                 tell us it's something that they can

          3                 get to relatively quickly based on

          4                 our previous experience.




   32:19            Q.      And how do you determine

        20                  what that point that Mylan enters

        21                  the market will be for your

        22                  forecast?

   33: 1                             REED - CONFIDENTIAL

          4                     A.    The guidance would come

          5                 from legal.

          6                     Q.    Is there any other guidance



Katie Reed, February 2, 2022                                                               Page 1 of 17

                                              Appx22423
              Case: 23-2042         Document: 22   Page: 536     Filed: 03/11/2024



        19             product?

        23                     A.   We don't talk to doctors

        24             and patients.      A copy of our FDA

        25             approval labeling will be

   204: 1                           REED - CONFIDENTIAL

          2            distributed with the product when

          3            it's distributed to our customers.

          4                    Q.   So it's the case that Mylan

          5            does not plan to provide any

          6            instructions regarding the use of

          7            its product beyond the FDA approved

          8            label?

          9                    A.   I don't have any knowledge

        10             of anything else being generated

        11             beyond the label.

        12                     Q.   And so Mylan intends for

        13             its product to be used in accordance

        14             with that label?

        19                     A.   Again, we would provide the

        20             label with the product to our

        21             customers and -- I mean they can use

        22             it accordingly, but I would assume

        23             they are going to use it according

        24             to the label that's provided.




   211: 3         Q.    Other than replacing the

          4            words "Invega Trinza" with the

          5            generic description Paliperidone

          6            Palmitate extended-release

          7            injectable suspension, these missed

          8            dose instructions are identical,


Katie Reed, February 2, 2022                                                    Page 13 of 17

                                           Appx22435
         Case: 23-2042    Document: 22    Page: 537   Filed: 03/11/2024




                         CERTIFICATE OF SERVICE

      I hereby certify that I caused a copy of the foregoing document to be

filed on March 11, 2024, with the Clerk of the Court for the United States

Court of Appeals for the Federal Circuit using the Court’s electronic filing

system, which will send a notice of electronic filing to all attorneys appearing

in this matter.

                                           /s/ Deepro R. Mukerjee
